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 12                               UNITED STATES DISTRICT COURT
 13                              CENTRAL DISTRICT OF CALIFORNIA
                                       WESTERN DIVISION
 14
 15 UNIVERSAL CABLE                                     CASE NO. 2:16-cv-4435-PA-MRW
    PRODUCTIONS LLC, a Delaware
 16 limited liability company, and                      REVISED JOINT EXHIBIT
 17 NORTHERN ENTERTAINMENT                              STIPULATION
    PRODUCTIONS LLC, a Delaware
 18 limited liability company,
 19
                  Plaintiffs,
 20
          v.
 21
    ATLANTIC SPECIALTY
 22 INSURANCE COMPANY, a New
 23 York insurance company,
 24                    Defendant.
 25
 26
 27
 28

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  1            Joint Statement Regarding Revised Joint Exhibit List Stipulation
  2           The parties met-and-conferred in-person on January 14, 2020, at
  3 approximately 9:15 a.m.
  4           The day before the parties’ meet-and-confer, Plaintiffs send Defendant their
  5 revised exhibit list, shortening it from 705 exhibits to 364 exhibits.
  6           Defendant represented during in-person conference that it intends to shorten
  7 its exhibit list and adjust the formatting so that the exhibit numbers would be legible.
  8           Plaintiffs and Defendants agreed to create the below pleading explaining in
  9 non-boilerplate (1) their high priority objections to categories of exhibits (and listing,
 10 to the best of their ability, the exhibits that fall into each category) and (2) any
 11 response to such high priority objections.
 12          Plaintiffs’ High Priority Objections to Defendant’s Exhibit List and
 13                                 Defendant’s Responses
 14
      Plaintiffs’ Introductory Statement:
 15
              Plaintiffs identify the below high-priority objections to categories of
 16
      Defendant’s exhibits. Plaintiffs were unable to list the particular exhibits that fall
 17
      within each category when they sent Defendant the category objections—at 5:00
 18
      p.m. the night before this noon filing—because the exhibit list that Defendant had
 19
      provided was formatted such that the exhibit numbers were not legible. In addition,
 20
      Defendant had not yet shortened its list of approximately 1,440 of exhibits. At
 21
      approximately 6:00 p.m. the night before this noon filing, Defendant sent a revised
 22
      exhibit list with numbering and represented that its list now contains approximately
 23
      615 exhibits. Plaintiffs have attempted in good faith to match example exhibits to
 24
      the categories below in time for filing. Plaintiff acknowledges that Defendant did
 25
      not have the opportunity to respond to Plaintiffs’ lists of exhibits in each category
 26
      prior to filing.
 27
 28
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  1 Defendant’s Response:
  2           All Parties have worked diligently to comply with the Court’s recent order.
  3 See Dkt. No. 186. However, Plaintiffs bear the burden of proof in this case: ASIC’s
  4 obligation is to defend against Plaintiffs’ claims. As such, ASIC relies upon
  5 Plaintiffs’ identification of issues, witnesses, exhibits, and other elements in order to
  6 know how to ensure its proper defense while complying with the Court’s order.
  7           Prior to the joint meeting between the Parties on Tuesday, January 14, 2020,
  8 ASIC identified exhibits to withdraw from its proposed exhibit list. However, ASIC
  9 could not make material reductions prior to the meeting in the event Plaintiffs
 10 intended to maintain certain issues for the pre-trial conference. During the joint
 11 meeting, Plaintiffs identified key ways in which they intended to reduce the issues
 12 in the case. As a result, ASIC committed to deliver its exhibit list to Plaintiffs as
 13 soon as reasonably possible, but by no later than end-of-day.
 14           ASIC worked diligently throughout the day and delivered its substantially
 15 reduced exhibit list to Plaintiffs at 5:57pm PST (from ~1400 exhibits down to ~620
 16 exhibits). Any attempt to inject such complaints into the record has no bearing on
 17 ASIC’s evidence, or Plaintiffs’ objections thereto. Furthermore, ASIC finds it highly
 18 unlikely that Plaintiffs could not identify its categories of objections prior to the time
 19 ASIC sent its list to them last evening.
 20 Category 1:
 21           The Policy and exhibits regarding the drafting, negotiation, profitability,
 22 renewal, and nonrenewal of the Policy
 23 Plaintiffs’ Objections:
 24           Plaintiffs are willing to withdraw any previous relevance objections to these
 25 exhibits.
 26 Defendant’s Response:
 27           Noting Plaintiffs’ wiliness to withdraw its relevance objections, the Defendant
 28 will respond to the remaining objections from the Plaintiffs. As to Plaintiffs’
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  1 objection to these documents as substantially more prejudicial than probative and
  2 therefore inadmissible under Federal Rule of Evidence 403, the Defendant disagrees.
  3 The statements contained within these documents is not unfairly prejudicial to
  4 Plaintiffs, not confusing, misleading or cumulative evidence. The probative value
  5 of these documents is not substantially outweighed by their prejudicial effect to the
  6 Plaintiff. These documents are offered to rebut the Plaintiffs’ claim that the
  7 defendant acted in bad faith. The jury should hear the evidence contained in these
  8 documents and the Defendant should be allowed to offer them. Indeed, if these
  9 documents were excluded it would cause substantial prejudice to the Defendant and
 10 severely limit its ability to rebut the claims presented by the Plaintiff.
 11 Category 2:
 12           Exhibits regarding the security situation in Jerusalem and Tel Aviv that
 13 Defendant did not review at or near the time of denial.
 14 Plaintiffs’ Objections:
 15           Plaintiffs object to these exhibits on relevance grounds, Fed. R. Evid. 402,
 16 403, because documents that Defendant did not review at or near the time of denial
 17 could not have factored into Defendant’s decision to deny coverage. In addition,
 18 documents that Defendant did not rely on in its Denial-of-Coverage letter and that
 19 colloquially referred to the potential for “war” are irrelevant given that Defendant’s
 20 Denial-of-Coverage Letter was not based on the plain and ordinary meaning of
 21 “war” but rather a special meaning requiring sovereignty. Exhibits in this category
 22 include news articles, broadcasts, websites, and secondary sources that there is no
 23 evidence Defendant relied upon in its Denial-of-Coverage Letter, as well as
 24 Plaintiffs’ internal emails that were never forwarded to Defendant, such as security
 25 updates from NBCU Head of Security Stephen Smith.
 26           As will be explained in Plaintiffs’ Motion in Limine to Preclude Defendant
 27 from Contradicting its Denial-of-Coverage Letter and Plaintiffs’ Motion in Limine
 28 to Bar Evidence or Argument that Defendant’s Denial was Reasonable Because of
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  1 Israel’s Conduct Directed Toward Gaza, these documents are factually and legally
  2 irrelevant under Rule 402 and substantially more prejudicial than probative,
  3 cumulative, and a waste of time under Rule 403. First, documents Defendant never
  4 reviewed have no bearing on its bad faith denial of Plaintiffs’ claim. Second, to the
  5 extent these exhibits use the term “war” in the colloquial sense and Defendant
  6 intends to offer such statements to rebut Plaintiffs’ bad faith claim, these exhibits
  7 should be excluded because Defendant’s own denial letter applied the specialized,
  8 industry meaning of the war exclusions and not their plain and ordinary meaning.
  9 Third, to the extent these exhibits discuss Israel’s actions directed toward Gaza, the
 10 exhibits are not relevant because Israel’s actions in Gaza were not the proximate
 11 cause of Plaintiffs’ decision to relocate. See Universal Cable Prods., LLC v. Atl.
 12 Specialty Ins. Co., 929 F.3d 1143, 1161 (9th Cir. 2019). These exhibits are also
 13 irrelevant and substantially more prejudicial than probative because those actions
 14 largely transpired after Plaintiffs decided to relocate Dig.
 15           Plaintiffs’ examples of Defendant’s exhibits that fall into this category are
 16 below. Plaintiff acknowledges that Defendant did not have the opportunity to review
 17 these examples before filing.
 18           DX 45
 19           DX 457
 20           DX 354
 21           DX 227
 22           DX 228
 23 Defendant’s Response:
 24      While an insurer may not rely upon policy provisions it failed to raise in a
 25 coverage denial to defend against a bad faith claim, insurers may defend bad faith
 26 claims with facts, law, or other information relied upon during the claim decision
 27 process. See Couch on Insurance 3d. § 204:43 (“Bad faith generally requires an
 28 inquiry into the circumstances underlying the insurer’s denial of policy benefits, and,
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  1 as such, is generally left as a question for the jury…”) Therefore, ASIC may offer
  2 certain documents as evidence to support the reasonableness of its claims decision.
  3 Such evidence is highly relevant to establishing the objective reasonableness of its
  4 behavior, and presents only the prejudice caused by the jury hearing the full story.
  5 Furthermore, all parties agree that the relevant Ninth Circuit opinion, and the
  6 findings contained therein, was not law at the time ASIC made its coverage decision.
  7 See Universal Cable Prods., LLC v. Atlantic Specialty Ins. Co., 929 F.3d 1143, 1154
  8 (9th Cir. 2019). As such, ASIC could not have relied upon this holding when
  9 evaluating Plaintiffs’ claim. However, it is clear from all evidence, testimony, and
 10 briefing in this case that ASIC based its claim decision upon the plain, ordinary
 11 meaning of various policy terms. Indeed, various ASIC employees testified that they
 12 considered the plain, ordinary meaning of policy terms in lieu of controlling
 13 authority, and consulted numerous sources to determine whether the relevant
 14 exclusions applied to Plaintiffs’ claim, (e.g. dictionaries, government reports, other
 15 public information, communications with the insured, news publications, Plaintiff-
 16 affiliate company news broadcasts). Furthermore, ASIC employees testified as to
 17 what they believed to be the proximate cause of Plaintiffs’ insurance claim.
 18 Therefore, a jury must consider all other information ASIC relied upon to make such
 19 determination in order to determine whether ASIC acted in good faith. See Couch
 20 on Insurance 3d. § 204:43.
 21 Category 3:
 22           The      Dig     claim notification,   Plaintiffs’   and   their   representatives’
 23 communications with Defendant regarding the claim, and Defendant’s subsequent
 24 denial.
 25 Plaintiffs’ Objections:
 26           Plaintiffs are willing to withdraw any previous relevance objections to these
 27 exhibits.
 28 Defendant’s Response:
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  1           Noting Plaintiffs’ wiliness to withdraw its relevance objections, the Defendant
  2 will respond to the remaining objections from the Plaintiffs. As to Plaintiffs’
  3 objection to these documents as substantially more prejudicial than probative and
  4 therefore inadmissible under Federal Rule of Evidence 403, the Defendant disagrees.
  5 The statements contained within these documents is not unfairly prejudicial to
  6 Plaintiffs, not confusing, misleading or cumulative evidence. The probative value
  7 of these documents is not substantially outweighed by their prejudicial effect to the
  8 Plaintiff. These documents are offered to rebut the Plaintiffs’ claim that the
  9 defendant acted in bad faith. The jury should hear the evidence contained in these
 10 documents and the Defendant should be allowed to offer them. Indeed, if these
 11 documents were excluded it would cause substantial prejudice to the Defendant and
 12 severely limit its ability to rebut the claims presented by the Plaintiff.
 13 Category 4:
 14           Exhibits concerning Plaintiffs’ projected and actual budgets for Dig, with the
 15 exception of tax-related documents (see Category 5).
 16 Plaintiffs’ Objections:
 17           Plaintiffs are willing to withdraw any previous relevance objections to these
 18 exhibits.
 19 Defendant’s Response:
 20           Noting Plaintiffs’ wiliness to withdraw its relevance objections, the Defendant
 21 will respond to the remaining objections from the Plaintiffs. As to hearsay, these
 22 exhibits are records of payment and costs of production and are admissible under the
 23 business records exemption. The financial information included in these documents
 24 was made by a person with knowledge, as these documents were created by
 25 employees of the Plaintiffs, who at the time were acting the ordinary course of
 26 business when creating these documents. Further, these documents were recorded,
 27 in most cases simultaneously, by the Plaintiffs employees and their recording of
 28 these documents would have been done in the regular course of business. Under
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  1 Federal Rule of Evidence 803(6) documents such as these, are considered business
  2 records and are exceptions to the hearsay rule, and may be admitted to prove the
  3 truth of the assertions contained in them.
  4           Plaintiffs also object to these documents on the grounds they are substantially
  5 more prejudicial than probative and therefore should be excluded under Federal Rule
  6 of Evidence 403. The statements contained within these documents is not unfairly
  7 prejudicial to Plaintiffs, not confusing, misleading or cumulative evidence. The
  8 probative value of these documents is not substantially outweighed by their
  9 prejudicial effect to the Plaintiff. These documents are offered to rebut the Plaintiffs’
 10 claim that they suffered damages as a result of the alleged bad faith actions of the
 11 Defendant. The jury should hear the evidence contained in these documents and the
 12 Defendant should be allowed to offer them. Indeed, if these documents were
 13 excluded it would cause substantial prejudice to the Defendant and severely limit its
 14 ability to rebut the claims presented by the Plaintiff.
 15 Category 5:
 16           Exhibits concerning taxes Plaintiffs owed or expected to owe in relation to
 17 Dig and exhibits concerning any tax benefits Plaintiffs experienced or expected to
 18 receive in relation to Dig.
 19 Plaintiffs’ Objections:
 20           Plaintiffs object to these exhibits as irrelevant and substantially more
 21 prejudicial than probative. Fed. R. Evid. 402, 403. As will be explained in Plaintiffs’
 22 Motion in Limine to Bar Evidence or Argument that Plaintiffs’ Damages may be
 23 Offset by Tax Credits, “tax consequences should not be considered as a mitigating
 24 factor in compensatory damage calculations in breach of contract cases” under
 25 California law. DePalma v. Westland Software House, 225 Cal. App. 3d 1534, 1536
 26 (1990). In addition, the Policy itself—specifically, its definition of “Loss” and
 27 “Insurable Production Cost”—does not permit covered losses to be reduced or offset
 28 based on tax credits received. As such, exhibits concerning taxes are irrelevant and
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  1 would only serve to confuse the jury when taxes cannot be included in either party’s
  2 damages calculation.
  3           Plaintiffs’ examples of Defendant’s exhibits that fall into this category are
  4 below. Plaintiff acknowledges that Defendant did not have the opportunity to review
  5 these examples before filing.
  6           DX 612
  7           DX 1034
  8           DX 1437
  9           DX 1417
 10           DX 1412
 11           DX 1411
 12 Defendant’s Response:
 13      These documents are plainly relevant as they are evidence pertaining to the
 14 Plaintiffs’ claim for damages against ASIC and are directly relevant to the
 15 underlying facts of loss. They directly address an element, damages, that the jury
 16 must consider in its determination of the facts in this case and these exhibits tend to
 17 make the fact that the Plaintiffs’ did not suffer damages to the extent they are claim
 18 more likely.
 19           Plaintiffs did not relocate production of DIG as a result of any alleged breach
 20 by ASIC. Rather, Plaintiffs re-located production due to the existence of an armed
 21 conflict that allegedly jeopardized the safety of Plaintiffs’ employees and
 22 contractors. As a result, California law does not preclude ASIC from introducing
 23 evidence regarding these tax credits. DePalma v. Westland Software House, 225
 24 Cal.App.3d 1534 (1990) (emphasis added) (citing Powers v. Powers, 714 S.W.2d
 25 384, 389 (Tex. App.—Corpus Christi-Edinburg 1986, no writ) (“We are unaware of
 26 any principle or authority which would allow an offset to the party who has breached
 27 a contract for a ‘tax savings’ the non-breaching party ‘realized’ as a result of the
 28 breach”) (emphasis added). Furthermore, Plaintiffs’ statement regarding the
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   1 Policy’s preclusion of coverage for tax credits is fundamentally flawed. For further
   2 discussion of this issue, please refer to ASIC’s Response to Plaintiffs’ Motion in
   3 Limine regarding evidence, testimony, and argument regarding tax credits Plaintiffs’
   4 received from the State of Israel, Canada, Croatia, and New Mexico.
   5 Category 6:
   6           This Court’s first summary judgment order, Dkt. 124, 128, 128.
   7 Plaintiffs’ Objections:
   8           These exhibits would be unduly prejudicial to Plaintiffs for the reasons that
   9 will be explained in Plaintiffs’ Motion in Limine to Bar Evidence and Argument
 10 About the Court’s First Summary Judgment Order. These exhibits have limited
 11 probative value, given that (1) the Order was reversed on appeal and (2) Defendant
 12 did not have the Order available at the time it denied coverage, and its actions cannot
 13 be measured with the benefit of hindsight under California law. In addition, the
 14 Order was based on the “plain and ordinary” meaning of “war” and “warlike action,”
 15 while Defendant’s denial-of-coverage letter incorporated the definition requiring
 16 sovereignty. Moreover, the danger of unfair prejudice substantially outweighs any
 17 minimal probative value the Order might have and will convert the trial into a
 18 referendum on the reasonableness of the presiding judge—rather than the
 19 reasonableness of the Defendant’s decision to deny coverage.
 20            Plaintiffs’ examples of Defendant’s exhibits that fall into this category are
 21 below. Plaintiff acknowledges that Defendant did not have the opportunity to review
 22 these examples before filing.
 23            DX 483, Dkt. 124
 24            DX 484, Dkt. 128
 25            DX 485, Dkt. 129
 26            DX 486, Dkt. 133
 27 Defendant’s Response:
 28
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   1           In this case, the Honorable Court reached the same conclusion that ASIC did
   2 when it evaluated the Policy and other evidence in this case. Introduction of such
   3 facts is not a hindsight consideration of information ASIC did not have at the time it
   4 made its coverage decision. See Austero v. Nat’l Cas. Co., 84 Cal.App.3d 1, 32
   5 (1978), overruled on other grounds by Egan v. Mut. Of Ohama Ins. Co., 24 Cal.3d
   6 809, 820 (1979). Rather, it is a prima facie evidence that ASIC’s considerations and
   7 decisions were reasonable in light of the information and law it had at the time it
   8 denied coverage. Morris 109 Cal.App.4th at 972. Such evidence is highly probative
   9 as a matter of law and, therefore, should be admitted in this case. Id.
 10            Additionally, Plaintiffs have indicated their intention to inform the jury of the
 11 Ninth Circuit’s ruling and opinion. Regardless of whether this occurs via evidence
 12 or jury instruction, introducing such information into the trial opens the door to allow
 13 ASIC to explain the context of the Ninth Circuit’s ruling and opinion. Denying ASIC
 14 the opportunity to explain the prior findings of The Honorable Court would work an
 15 unfair prejudice to ASIC by hiding the full truth from the jury.
 16            To the extent Plaintiffs fear undue prejudice from having the Honorable Court
 17 testify at trial, ASIC does not propose that the Court should testify. Fed. R. Evid.
 18 605. Nor has ASIC listed the Honorable Court as a witness. Rather, ASIC suggests
 19 that the Court’s opinion vis-à-vis Plaintiffs’ breach of contract claim should be read
 20 verbatim to the jury. This should eliminate Plaintiffs’ concerns regarding any
 21 undue prejudice that might arise from opinions regarding ultimate issues entering the
 22 case.
 23            ASIC does not plan to do anything more than to tell the jury of the text of
 24 Court’s ruling vis-à-vis Plaintiffs’ breach of contract claims (e.g. “A court found
 25 that…”). ASIC would not presume to bring the Honorable Court into the fray.
 26 However, the fact that an impartial factfinder agreed with ASIC’s prior claims
 27 decision is a highly probative that the jury should consider in evaluating the
 28
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   1 reasonableness of ASIC’s actions. The text of the Court’s ruling is the best evidence
   2 of what a fair and impartial individual would say about ASIC’s reasonableness.
   3 Category 7:
   4           Inadmissible hearsay offered by Defendant, including Defendant’s expert
   5 reports,        affidavits       and   declarations,   and   Defendant’s   internal   e-mail
   6 communications.
   7 Plaintiffs’ Objections:
   8           Plaintiffs intend to limit their hearsay objections substantially when
   9 Defendant is able to provide an exhibit list of reasonable length, but Plaintiffs
 10 currently maintain their hearsay objections. Defendant’s expert reports, affidavits
 11 and declarations from witnesses (such as Pamela Johnson and Peter Williams), and
 12 Defendant’s internal e-mail communications when offered by Defendant to prove
 13 the truth of the matter asserted are all inadmissible hearsay.
 14            Plaintiffs’ examples of Defendant’s exhibits that fall into this category are
 15 below. Plaintiff acknowledges that Defendant did not have the opportunity to review
 16 these examples before filing.
 17            DX 491
 18            DX 513
 19            DX 181
 20            DX 339
 21            DX 180
 22            DX 178
 23 Defendant’s Response:
 24      The Defendant has provided the Plaintiffs with an exhibit list of reasonable
 25 length, and awaits the Plaintiffs limiting their hearsay objections to these exhibits.
 26 However, Plaintiffs’ limitation on their own hearsay objections is irrelevant, because
 27 these exhibits are not hearsay. Any assertions made within these exhibits are not
 28 being offered to prove the truth of any matter, they are being offered to show
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   1 knowledge and information acted upon. A hearsay statement is an out of court
   2 statement offered to prove the truth of the matter asserted. Therefore, these exhibits
   3 by definition are not hearsay. Further, even if these exhibits were being offered for
   4 the truth, these exhibits would demonstrate the state of the mind of the declarant.
   5 Specifically, their the declarant’s then existing intent or plan while making a
   6 determination as to coverage. Thus, these exhibits would be exception to the hearsay
   7 rule under 803(3) as evidence of a then existing state of mind.
   8           Additionally, the internal communications included in these documents were
   9 made by a person with knowledge, as these documents were created by employees
 10 of the Defendant, who at the time was acting the ordinary course of business when
 11 creating these documents. These documents were recorded, in most cases
 12 simultaneously, by the Defendant and their recording of these documents would
 13 have been done in the regular course of business. Under Federal Rule of Evidence
 14 803(6) documents such as these, are considered business records and are exceptions
 15 to the hearsay rule, and may be admitted to prove the truth of the assertions contained
 16 in them.
 17            Finally, these documents are relevant to rebut the Plaintiffs theory that
 18 OneBeacon acted in bad faith in making their claim decision. Further, these exhibits
 19 are offered to show what the defendant relied upon in making its claim decision and
 20 are directly relevant to the underlying facts of loss. They directly address an element
 21 that the jury must consider when making their ultimate determination in this action,
 22 and tend to make the Plaintiffs’ assertion that the Defendant acted in bad faith less
 23 likely.
 24
 25              Defendant’s High Priority Objections to Plaintiffs’ Exhibit List
 26                                and Plaintiffs’ Responses
 27
       I.      ASIC’s Objections to Plaintiffs’ Proposed Trial Exhibits
 28
               A.       Objections to Documents Based on Relevance (Scope or Topic)
                                                13
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   1 Plaintiffs seek to introduce dozens of documents addressing dates, events, or topics
   2 that fall outside the facts giving rise to Plaintiffs claims (e.g. underwriting, policy
   3 drafting, etc.) These have no bearing on evaluating whether ASIC’s handling of
   4 Plaintiffs’ claims gives rise to liability for breach of the duty of good faith.
   5 Plaintiffs only claims against ASIC are (1) breach of contract, (2) breach of the
   6 duty of good faith for failure to pay policy benefit, and (3) breach of the duty of
   7 good faith for failure to properly investigate a claim. Nothing in Plaintiffs’ First
   8 Amended Complaint, or any other relevant document, addresses any other alleged
   9 improper conduct. Evaluating these causes of action requires an objective
 10 perspective: did ASIC, or did ASIC not, breach these duties vis-à-vis Plaintiffs?
 11 Accordingly, any information relating to events other than handling of Plaintiffs’
 12 claim has no tendency to make any fact in this case any more or less probable.
 13 Accusations as to motive, state of mind, or other theories regarding the basis for
 14 ASIC’s claims handling decision are nothing more than speculation. Alternatively,
 15 any minimal probative value that these documents contain is outweighed by the
 16 prejudice that these documents would create for ASIC. Therefore, the following
 17 exhibits be excluded under Fed. R. Evid. 401, 402, or 403:
 18       • PX Williams 5 – 6, 9
 19           • PX Crosby 30(b)(6) 1
 20           • PX Crosby 2, 7 – 8, 10
 21           • PX Stone 3
 22           • PX Garber 10
 23           • PX Garber 23
 24           • PX Weiss 45
 25           • PX Ford 290
 26           • PX Ford 318 - 322
 27           • PX Ridgers 408 - 416
 28           • PX Phillips 422 - 428
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   1           • PX 484
   2           • PX 486 – 487
   3           • PX 489
   4           • PX 511
   5           • PX 531
   6           • PX 534
   7           • PX 671 - 675
   8           • PX 697, 699 - 702
   9           • PX 729 – 736
 10            • PX 804, 808, 810
 11 It bears mention that the admissibility of many of these documents may be
 12 addressed via the Court’s ruling on several motions in limine. As such, ASIC
 13 requests that the Court refrain on entering rulings on the admissibility of these
 14 exhibits until after the Court issues such rulings.
 15 Plaintiffs’ Response:
 16 This category of documents should not be excluded for the reasons stated in
 17 Plaintiffs’ Opposition to Defendant’s Motion in Limine to Exclude Extrinsic
 18 Evidence, which Plaintiffs understand will be filed in a joint motion format on or
 19 before January 17, 2020. Underwriting and drafting documents show that the
 20 parties clearly intended for terrorism like Hamas’s conduct to be covered by the
 21 Policy—and not to treat such conduct as “war” or “warlike.” These documents are
 22 relevant to Plaintiffs’ bad faith claim and resulting damages under California law.
 23 For instance, the drafting history demonstrates that Plaintiffs deleted a terrorism
 24 exclusion from the draft Policy—one that would have read much more closely on
 25 Hamas’s conduct than the war exclusions on which Defendant relied in denying
 26 coverage. Yet Defendant’s claims adjusters did not consult this drafting history as
 27 part of their investigation into Plaintiffs’ Dig claim. Century Surety Co. v. Polisso,
 28 139 Cal. App. 4th 922, 949 (2006) (noting bad faith can be shown where the
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   1 insurer “unfairly frustrates the agreed common purposes and disappoints the
   2 reasonable expectations of the other party thereby depriving that party of the
   3 benefits of the agreement”). See also Universal Cable Prods., LLC v. Atl. Specialty
   4 Ins. Co., 929 F.3d 1143, 1153, 1154 (9th Cir. 2019) (noting the parties had “actual
   5 or constructive notice of the customary usage” of the war exclusions).
   6 Such documents are also relevant to showing the reasonable expectations of the
   7 parties at the time of contracting, including what damages “the breaching party
   8 should have known” would be covered. Archdale v. Am. Int’l Specialty Lines Ins.
   9 Co., 154 Cal. App. 4th 449, 469 (2007) (explaining that recoverable damages “are
 10 those that could fairly and reasonably be seen as arising naturally from a breach”).
 11 To the extent Defendant suggests breach of contract as a claim still in dispute, the
 12 Court has decided as a matter of law that Defendant breached the contract and has
 13 advised that motions in limine should not be disguised motions for reconsideration.
 14 See Dkt. 157, 186. Defendant’s continued efforts to relitigate issues already
 15 decided is a waste of time. Fed. R. Evid. 403.
 16 Because Plaintiffs received Defendant’s categories of high priority objections at
 17 approximately 8:55 pm PST the night before the noon filing deadline today,
 18 Plaintiffs are unable to respond in detail to all of the exhibits listed above and
 19 reserve their right to explain their objection in greater detail once they have had a
 20 fair opportunity to review Defendant’s belated submission.
 21
 22 B.     ASIC Objects to Untimely Produced Attorneys’ Fees Evidence.
 23 Plaintiffs seek to introduce evidence to support their claim for attorneys’ fees.
 24 Specifically, Plaintiffs seek to introduce hundreds of pages of invoices for
 25 Plaintiffs’ legal fees from August 2014 to November 2019, reflecting over $2.9
 26 million in legal fees. However, Plaintiffs did not timely produce many of these
 27 attorneys’ fee bills or information. Furthermore, any evidence regarding a
 28 contingent fee contract has no evidentiary value and only serves to confuse or
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   1 prejudice the jury. Therefore, these documents should be excluded from evidence
   2 on the basis of untimely disclosure and relevance (Fed. R. Evid. 401, 402, 403).
   3 These documents may also be resolved via the Court’s ruling on motions in limine.
   4           • PX 611
   5           • PX 805 – 807
   6 As noted above, the admissibility of many of these documents may be addressed
   7 via the Court’s ruling on several motions in limine. As such, ASIC requests that
   8 the Court refrain on entering rulings on the admissibility of these exhibits until
   9 after the Court issues such rulings.
 10 Plaintiffs’ Response:
 11            This category of documents should not be excluded for the reasons stated in
 12 Plaintiffs’ Opposition to Defendant’s Motion in Limine Regarding Untimely
 13 Disclosure of Expert and Document Production, which Plaintiff understands will
 14 be filed in a joint motion format on or before January 17, 2020.
 15        Plaintiffs timely disclosed the category of documents they would rely upon
 16 to prove entitlement to attorneys’ fees in their Rule 26 disclosures in September
 17 2016. Plaintiffs then timely produced invoices reflecting their attorneys’ fees that
 18 had been incurred before the close of fact discovery. The day after fact discovery
 19 closed—and after Plaintiffs had produced their invoices—the Court entered
 20 summary judgment against Plaintiffs and the case subsequently was litigated on
 21 appeal. Once the case was remanded—and this Court spread the mandate—
 22 Plaintiffs timely supplemented their production with evidence of attorneys’ fees
 23 that had been incurred after the fact discovery cut-off (including Plaintiffs’
 24 subsequent contingency fee agreement with Susman Godfrey L.L.P.). Such
 25 evidence could not have been produced prior to the fact discovery cut-off because
 26 it did not yet exist.
 27        Faced with Plaintiffs’ timely production, Defendant apparently suggests that
 28 Plaintiffs should have been required to produce their attorneys’ invoices on a
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   1 rolling and real-time basis to their litigation opponent throughout discovery. But
   2 that is not the law. See Lobatz v. U.S. West Cellular of California, Inc., 222 F.3d
   3 1142, 1148 (9th Cir. 2000) (declining “to adopt a rule that a district court must
   4 grant a request for discovery of contemporaneous time records in every case in
   5 which attorney fees are sought”); Los Angeles Cty. Bd. of Supervisors v. Superior
   6 Court, 2 Cal. 5th 282, 288 (2016) (“[I]nvoices for work in pending and active legal
   7 matters are so closely related to attorney-client communications that they implicate
   8 the heartland of the privilege.”).
   9 Defendant’s assertion that the contingent fee contract is of no evidentiary value is
 10 incorrect. Plaintiffs are entitled to recover their attorneys’ contingent fee as Brandt
 11 fees in connection with their bad faith claim. See Cassim v. Allstate Ins. Co., 33
 12 Cal.4th 780, 811-12 (2004) (addressing the “method of calculating Brandt fees,”
 13 namely “the method of calculating such damages in a contingent fee context”).
 14 And Plaintiffs are entitled to try attorney fees to the jury. See id. at 819.
 15 Because Plaintiffs received Defendant’s categories of high priority objections at
 16 approximately 8:55 pm PST the night before the noon filing deadline today,
 17 Plaintiffs are unable to respond in detail to all of the exhibits listed above and
 18 reserve their right to explain their objection in greater detail once they have had a
 19 fair opportunity to review Defendant’s belated submission.
 20 C.     ASIC Objects to Certain Portions of Plaintiffs’ Damages Evidence.
 21 ASIC further objects to other documents purporting to support Plaintiffs’ damages
 22 model on the grounds that such documents are improper summaries that have yet
 23 to properly authenticated (Fed. R. Evid. 901). These documents also constitute
 24 hearsay, as they constitute statements made out of court and are offered for the
 25 truth of the matter asserted (Fed. R. Evid. 801, 802). Furthermore, many of these
 26 documents cannot constitute business records, as they were created after the denial
 27 of Plaintiffs’ claim and, therefore, were created in anticipation of litigation (i.e. not
 28 regular course of business). Finally, it is possible that the sponsor of these
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   1 documents has no personal knowledge of the contents of these documents, much
   2 less their accuracy (Fed. R. Evid. 602). Therefore, ASIC objects to the following:
   3           • PX 535 – 542
   4           • PX 547 – 560
   5           • PX 562
   6           • PX 565 - 603
   7           • PX 778 – 803
   8 Despite its objection to these proposed exhibits, ASIC acknowledges that its
   9 experts have relied upon these documents as a means to rebut Plaintiffs’ damages
 10 claims. Therefore, to the extent the Court allows these exhibits into evidence,
 11 ASIC does not waive its right to rely upon these exhibits or to use them as
 12 evidence at trial.
 13 Plaintiffs’ Response:
 14 Summaries are admissible to prove their contents. Fed. R. Evid. 1006. Plaintiffs
 15 are entitled to the opportunity to prove their damages, and sustaining Defendant’s
 16 objection would require Plaintiffs to present voluminous receipts and other records,
 17 at the expense of this Court’s and the juror’s valuable time. Cf. Fed. R. Evid. 1006
 18 Advisory Committee Notes. This is not what the Federal Rules of Evidence
 19 require. United States v. Rizk, 660 F.3d 1125, 1131 (9th Cir. 2011) (holding that
 20 district court did not abuse its discretion in permitting admission of summary
 21 exhibits of financial records). Defendant’s objection that “it is possible” that the
 22 sponsor of these records has no personal knowledge of their contents is
 23 speculative. Any summaries will be properly authenticated at trial.
 24 Because Plaintiffs received Defendant’s categories of high priority objections at
 25 approximately 8:55 pm PST the night before the noon filing deadline today,
 26 Plaintiffs are unable to respond in detail to all of the exhibits listed above and
 27 reserve their right to explain their objection in greater detail once they have had a
 28 fair opportunity to review Defendant’s belated submission.
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   1 D.       ASIC Objects to Evidence of OneBeacon Financial Information.
   2 ASIC objects to the introduction of any financial information that Plaintiffs seek to
   3 introduce regarding OneBeacon Insurance Group, Intact Financial, or other
   4 affiliates of ASIC on the basis of relevance (Fed. R. Evid. 401, 402). There is
   5 nothing in these documents that is likely to make any fact in this case any more or
   6 less probable. Additionally, Plaintiffs do not have any witness who can testify
   7 regarding these documents (Fed. R. Evid. 901, 602). Plaintiffs’ economic damages
   8 expert, Robert Wunderlich, did not opine regarding the amount of punitive
   9 damages that would be proper in this case, or any factors the jury should consider
 10 in evaluating punitive damages. Therefore, these documents should be excluded
 11 from testimony:
 12       • PX 613 – 615
 13           • PX 669
 14           • PX 774 – 777
 15           Similarly, Plaintiffs have designated several documents purporting to
 16 contain the financial information for an entity named “White Mountains Insurance
 17 Group, LTD.” ASIC objects to these exhibits on the basis of relevance (Fed. R.
 18 Evid. 401, 402) White Mountains Insurance Group, LTD. is not a party to the
 19 instant suit, and is not involved in any of the facts giving rise to the causes of
 20 action at issue in this case. Therefore, nothing about White Mountains Insurance
 21 Group, LTD.’s financial data has any tendency to make a fact at issue in this case
 22 any more or less probable. Furthermore, all facts and data contained therein are
 23 necessarily hearsay (Fed. R. Evid. 801, 802). Therefore, the Court should exclude
 24 these exhibits from this case:
 25        • PX 617 – 621
 26 Plaintiffs’ Response:
 27       Evidence of Defendant’s financial condition is relevant to support the
 28 amount of punitive damages the jury should award Plaintiffs. Century Sur. Co. v.
                                                    20
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   1 Polisso, 139 Cal. App. 4th 922, 960 (2006), as modified on denial of reh’g (June
   2 16, 2006); Mike Davidov Co. v. Issod, 78 Cal. App. 4th 597, 607 (2000).
   3           Defendant Atlantic is a OneBeacon Insurance Group company, which
   4 operates Atlantic and various OneBeacon entities including OneBeacon
   5 Entertainment. Defendant has admitted that all of the individuals at any of the
   6 OneBeacon entities or Atlantic who were involved in underwriting, issuing, and
   7 handling the insurance policy at issue were, at the time of their involvement, acting
   8 on behalf of Atlantic. OneBeacon Insurance Group had been a subsidiary of White
   9 Mountains Insurance Group, Ltd., until late 2017.
 10            Financial filings, such as 10-Ks, for White Mountain and OneBeacon reflect
 11 relevant information about Defendant’s financial condition for purposes of punitive
 12 damages. SEC filings are self-authenticating public records and Plaintiffs can
 13 examine Defendant’s current or former employees or corporate representative. See,
 14 e.g., Dreiling v. Am. Exp. Co., 458 F.3d 942, 946 n.2 (9th Cir. 2006) (taking
 15 judicial notice of “SEC filings”); L.A. Triumph, Inc. v. Ciccone, 2011 WL
 16 13217374, at * n.5 (C.D. Cal. Feb. 16, 2011) (holding the “Exhibits are, however,
 17 self-authenticating public records” and “tak[ing] judicial notice of their
 18 existence”).
 19            PX669 is the case OneBeacon Ins. Co. v. T. Wade Welch & Assocs., 841
 20 F.3d 669, 674 (5th Cir. 2016). This document is relevant to showing Defendant’s
 21 pattern and practice of denying covered claims in bad faith. See, e.g., Moore v.
 22 American United Life Ins. Co., 150 Cal. App. 3d 610, 624-25 (1984) (holding
 23 evidence was “relevant to establishing a pattern or practice of unreasonable (indeed
 24 fraudulent) behavior in the review of insured’s claims”).
 25 Because Plaintiffs received Defendant’s categories of high priority objections at
 26 approximately 8:55 pm PST the night before the noon filing deadline today,
 27 Plaintiffs are unable to respond in detail to all of the exhibits listed above and
 28
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   1 reserve their right to explain their objection in greater detail once they have had a
   2 fair opportunity to review Defendant’s belated submission.
   3 E.       ASIC Objects to Evidence regarding Policy Non-Renewal.
   4 Plaintiffs seek to introduce evidence of ASIC’s discussions regarding non-renewal
   5 Plaintiffs’ insurance policies. To the extent applicable, ASIC incorporates all
   6 arguments regarding inadmissibility of documents that fall outside the time or
   7 scope of Plaintiffs’ claims on the basis of relevance (Fed. R. Evid. 401, 402, 403).
   8 However, These documents are separate from those listed above under Section A
   9 because they are dated at or near the time of ASIC’s handling of Plaintiffs’ claims.
 10 These documents are irrelevant to the causes of action Plaintiffs pleaded. These
 11 documents may go to support Plaintiffs’ speculation as to ASIC’s motives for
 12 denying their insurance claim. However, they do not demonstrate any claims
 13 handling by ASIC. Therefore, they are irrelevant and should be excluded from
 14 admission at trial:
 15           • PX Duffy 9
 16           • PX 725 – 726
 17
 18 Plaintiffs’ Response:
 19       These documents should not be excluded for the reasons stated in Plaintiffs’
 20 Opposition to Defendant’s Motion in Limine to Exclude Extrinsic Evidence, which
 21 Plaintiffs understand will be filed in a joint motion format on or before January 17,
 22 2020.
 23 Evidence of Defendant’s non-renewal of the Policy is relevant to Plaintiffs’ bad
 24 faith and punitive damages claims because it goes to Defendant’s motive in
 25 denying the claim. See Grimshaw v. Ford Motor Co., 119 Cal. App. 3d 757, 819
 26 (Ct. App. 1981) (holding that “a conscious and callous disregard of public safety in
 27 order to maximize corporate profits” can support a punitive damages award),
 28 disapproved of on other grounds by Kim v. Toyota Motor Corp., 6 Cal. 5th 21, 424
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   1 P.3d 290 (2018). A jury can infer from Defendant’s non-renewal that Defendant
   2 was less motivated to be fair to a client it was not worried about retaining. These
   3 documents further support the narrative that Defendant was losing money on
   4 Plaintiffs’ policy and was eager to stop the bleeding.
   5
   6 F.        ASIC Objects to Miscellaneous Evidence re: Policy Interpretation.
   7 Plaintiffs seek to introduce into evidence documents to support their contention
   8 that the conflict at issue did not constitute a war, or that Hamas does not qualify as
   9 a sovereign or quasi-sovereign, or, ultimately, that it was unreasonable for ASIC to
 10 deny Plaintiffs’ claim. However, there is no testimony or disclosure to support the
 11 proposition that ASIC reviewed or considered any of this information in reaching
 12 its claims decision. Therefore, these exhibits have no tendency to make the
 13 reasonableness of ASIC’s claims decision any more or less likely (Fed. R. Evid.
 14 401, 402). Furthermore, Plaintiffs have not identified any witness who either relied
 15 upon these exhibits or can authenticate these exhibits (Fed. R. Evid. 901). Lastly,
 16 these documents contain out-of-court statements offered for the truth of the matter
 17 asserted (Fed. R. Evid. 801, 802). They do not go to show state of mind of any
 18 ASIC employees at the time they were evaluating Plaintiffs’ insurance claim.
 19 Therefore, ASIC moves that the court exclude the following documents:
 20       • PX Stone 12, 14 - 15
 21            • PX 501 – 508
 22            • PX 512 - 513
 23            • PX 514 - 529
 24            • PX 604 – 609
 25            • PX 678 – 696
 26 Plaintiffs’ Response:
 27 Defendant seeks to have it both ways: it desires to introduce evidence of the
 28 supposed common meaning of “war” through documents it never reviewed or
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   1 relied upon but asks that Plaintiffs be prevented from presenting evidence that
   2 supports the conclusion that Hamas is not a sovereign or quasi-sovereign and that
   3 the conflict did not constitute a war. Plaintiffs agree that documents that
   4 Defendant did not review or consider when making its claim decision are not
   5 relevant to Defendant’s defense of bad faith, for the reasons that will be explained
   6 in Plaintiffs’ Motion in Limine to Preclude Defendant from Contradicting its
   7 Denial-of-Coverage Letter. But Plaintiffs are free to show that had Defendant
   8 conducted a reasonable investigation, they should have uncovered or considered
   9 additional evidence making clear that Hamas is not a sovereign. It is self-evident
 10 that an insurer cannot bury its head in the sand, refuse to consider relevant
 11 evidence to a claim, and then prevent the insured from introducing the evidence it
 12 should have considered at trial in order to demonstrate bad faith. See, e.g.,
 13 Mariscal v. Old Republic Life Ins. Co., 42 Cal. App. 4th 1617, 1624 (1996) (“An
 14 insurance company may not ignore evidence which supports coverage. If it does
 15 so, it acts unreasonably toward its insured and breaches the covenant of good faith
 16 and fair dealing.”); Frommoethelydo v. Fire Ins. Exchange, 42 Cal.3d 208, 214-15
 17 (1986) (“[A]n insurer cannot reasonably and in good faith deny payments to its
 18 insured without fully investigating the grounds for its denial.”).
 19 Defendant has stipulated to the authenticity of documents produced from
 20 Defendant’s own files. Dkt. 56.
 21 Because Plaintiffs received Defendant’s categories of high priority objections at
 22 approximately 8:55 pm PST the night before the noon filing deadline today,
 23 Plaintiffs are unable to respond in detail to all of the exhibits listed above and
 24 reserve their right to explain their objection in greater detail once they have had a
 25 fair opportunity to review Defendant’s belated submission.
 26 G.     ASIC Objects to Introduction of Pleadings or Discovery Responses.
 27 Plaintiffs seek to introduce into evidence various pleadings or discovery responses
 28 exchanged by the Parties prior to trial. However, ASIC objects to these documents
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   1 on the basis that they are not proper evidence, lack relevance in light of the fact
   2 that they all came after the facts giving rise to Plaintiffs’ claim (Fed. R. Evid. 401,
   3 402), lack foundation (Fed. R. Evid. 901), and present a prejudicial value that far
   4 outweighs any probative value they might provide. Indeed, any point Plaintiffs
   5 wish to make with these exhibits can be made with information contained within
   6 these documents can be proven up by other exhibits. Therefore, for the above-
   7 referenced above, ASIC moves to exclude the following:
   8           • PX Duffy 5
   9           • PX 656 – 666
 10
 11 Plaintiffs’ Response:
 12       PX Duffy 5 is Defendant’s own sworn interrogatory responses. This is
 13 sworn testimony, an admission by a party opponent (Fed. R. Evid. 801), and
 14 plainly admissible. Defendant’s boilerplate above fails to articulate any reason why
 15 such evidence is inadmissible or any authority for the notion that Plaintiffs must
 16 use “other exhibits” rather than Defendant’s own sworn admissions before the jury.
 17            PX 645-656 are (1) Plaintiffs’ Requests for Admission propounded to
 18 Defendant and (2) Defendant’s responses to those Request for Admission. For the
 19 same reason, they are admissible and Defendant offers absolutely zero authority to
 20 the contrary.
 21 Because Plaintiffs received Defendant’s categories of high priority objections at
 22 approximately 8:55 pm PST the night before the noon filing deadline today,
 23 Plaintiffs are unable to respond in detail to all of the exhibits listed above and
 24 reserve their right to explain their objection in greater detail once they have had a
 25 fair opportunity to review Defendant’s belated submission.
 26 II.        Specific Proposed Exhibits Documents to which ASIC Objects.
 27        • PX Garber 25: 7/11/14 email from Andrea Garber to Kurt Ford Re: call
 28            with Peter (UCP000859)
                                                     25
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   1 Plaintiffs seek to introduce this document into evidence However, it contains
   2 characterizations of statements made by ASIC employees regarding plaintiffs’
   3 claim. The inadmissible statements contained herein are not words from the
   4 employees, but rather plaintiffs’ characterizations of the employees’ words.
   5 Therefore, these are classic out of court statements offered for the truth of the
   6 matter asserted, and there is no exception. Please refer to ASIC’s objection to PX
   7 Garber 25, and Plaintiffs’ corresponding response, for a concise description of
   8 ASIC’s objections.
   9
 10 Plaintiffs’ Response:
 11 This internal e-mail between Andrea Garber and Kurt Ford on July 11, 2014, is not
 12 being offered to prove the truth of the matter asserted. Rather, it is relevant to show
 13 Plaintiffs’ state of mind—namely, when and why they decided to “push”
 14 production. Defendant’s concern can be easily addressed with a limiting
 15 instruction. Moreover, this e-mail was sent in the ordinary course of business and
 16 reflects present sense impressions. The statements that Defendant’s employees
 17 made and that are reflected in the e-mail are admissions by a party opponent.
 18
 19        • PX Garber 26: 7/11/14 Email From Jeff Wachtel to Mark Binke Re:
 20            “Dig” S1 Insurance Claim/Imminent Peril Ucp018048-49
 21
 22 Plaintiffs seek to introduce this document into evidence However, it contains
 23 characterizations of statements made by ASIC employees regarding plaintiffs’
 24 claim. The inadmissible statements contained herein are not words from the
 25 employees, but rather plaintiffs’ characterizations of the employees’ words.
 26 Therefore, these are classic out of court statements offered for the truth of the
 27 matter asserted, and there in no exception. Please refer to ASIC’s objection to PX
 28
                                                     26
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   1 Garber 26, and Plaintiffs’ corresponding response, for a concise description of
   2 ASIC’s objections.
   3
   4 Plaintiffs’ Response:
   5 As with Exhibit 25 above, this e-mail exchange is offered for a non-hearsay
   6 purpose—namely to show when and why Plaintiffs decided to “push” production
   7 of Dig. The document itself is a business record and reflects present sense
   8 impressions. Moreover, statements that Defendant’s employees made—including
   9 that the claim would be covered as “imminent peril”—are admissions by a party
 10 opponent.
 11
 12
 13        • PX Gutterman 19/PX 610: 8/13/14 Coverage Letter ATL 000087-93
 14
 15 Plaintiffs seek to introduce into evidence a letter from its attorney, Lucia Coyoca,
 16 to ASIC dated on or about August 13, 2014. In this letter, Plaintiffs’ attorney states
 17 reasons why she believes Plaintiffs’ claim should not have been denied, and sets
 18 out both facts and legal authority to support her contention. This document is
 19 inadmissible for several reasons, including, but not limited to, the fact that it was
 20 drafted after ASIC denied Plaintiffs’ insurance claim. Therefore, it has no
 21 probative value vis-à-vis Plaintiffs’ claims in this case. Additionally, the document
 22 contains hearsay, inadmissible opinion. Please refer to ASIC’s objection to PX
 23 Gutterman 19/PX 610, and Plaintiffs’ corresponding response, for a concise
 24 description of ASIC’s objections.
 25
 26 Plaintiffs’ Response:
 27       Plaintiffs’ counsel’s letter to ASIC explaining why Plaintiffs’ Dig claim
 28 should have been covered—and explaining why ASIC’s prior letter denying
                                                     27
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   1 coverage contained numerous errors—is relevant to Plaintiffs’ bad faith claim. The
   2 fact that Plaintiffs pointed out the reasons why their claim was covered and
   3 Defendant failed to reconsider its position or conduct an adequate investigation
   4 into the facts identified in that letter is relevant to demonstrating that Defendant
   5 acted in bad faith. An insurer’s “early closure of investigation and unwillingness to
   6 reconsider a denial when presented with evidence of factual errors will fortify a
   7 finding of bad faith.” Shade Foods, Inc. v. Innovative Prods. Sales & Marketing,
   8 Inc., 78 Cal. App. 4th 847, 880 (2000).
   9
 10 Moreover, PX610 is a letter concerning Plaintiffs’ attorney fees. Defendant’s
 11 objections are non-responsive to PX610.
 12
 13
 14        • PX Gutterman 21: File Note History ATL 000001-000161
 15
 16
 17 ASIC has listed portions of its claim file on its own exhibit list. However, Plaintiffs
 18 have listed pages or documents contained within the claim file that ASIC believes
 19 are not admissible. Please refer to ASIC’s objection to PX Gutterman 21, and
 20 Plaintiffs’ corresponding response, for a concise description of ASIC’s objections.
 21 Plaintiff’s Response:
 22       Defendant’s claim file is unquestionably (1) admissible as an admission by a
 23 party opponent, Fed. R. Evid. 801 and (2) relevant to demonstrating Defendant’s
 24 bad faith in denying Plaintiffs’ claim. Defendant fails to offer any persuasive
 25 argument to the contrary—nor could it, as its own claims file is directly relevant
 26 evidence of its handling of Plaintiffs’ claim. Defendant’s objection above—and the
 27 boilerplate in its chart—fail to identify what supposed “portions” or “pages” are
 28 irrelevant or inadmissible.
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*1      EXHIBIT NO. 2                     DESCRIPTION                BATES NO.              OBJECTION             RESPONSE TO
                                                                                                                   OBJECTION
        PX WILLIAMS 1                Policy                      ATL003073-3127        No objection.             Deemed admitted.

*       PX WILLIAMS 5                12/3/13 email from W.       ATL000794-796         Relevance (F.R.E. 401, Relevant and
                                     Phillips to P. Williams re:                       402) – Preliminary        admissible to prove
                                     Tentative 2014 Production –                       discussions regarding damages and bad
                                     “Dig”                                             potential production      faith.
                                                                                       has no bearing on what
                                                                                       coverage was afforded
                                                                                       to Plaintiffs, or on how
                                                                                       ASIC handled
                                                                                       Plaintiffs’ claim at
                                                                                       issue in this case.
                                                                                       Nothing about renewal
                                                                                       of Plaintiffs’ policy has
                                                                                       any tendency to make
                                                                                       any fact at issue in this
                                                                                       case any more or less
                                                                                       probable.
                                                                                       More prejudicial than
                                                                                       probative; waste of


    1
      * Indicates that Plaintiffs only intend to use the exhibit if the need arises.
    2
      In accordance with Local Rule 16.6.1, exhibits numbered at a deposition are referenced by the same exhibit number
    herein. References to witnesses are for purposes of exhibit identification only; Plaintiffs reserve the right to ask any
    witness at trial about any exhibit designated herein.
                                                                    30
                                                       PLAINTIFFS’ EXHIBIT LIST
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*1      EXHIBIT NO. 2                     DESCRIPTION                   BATES NO.           OBJECTION             RESPONSE TO
                                                                                                                   OBJECTION
                                                                                        time; unnecessarily
                                                                                        cumulative. [FRE 403].
*       PX WILLIAMS 6                12/12/13 email from A.        AONNBCU0001478 Hearsay [FRE 801,              Offered for a non-
                                     Garber to B. Milinovic re:    -1483,         802]; Relevance                hearsay purpose;
                                     “Dig” Season 1                AONNBCU0001568 (F.R.E. 401, 402) –            business record;
                                     Application/Declaration                      Preliminary                    relevant and
                                                                                  discussions regarding          admissible to prove
                                                                                  potential production           damages and bad
                                                                                  and underwriting has           faith.
                                                                                  no bearing on what
                                                                                  coverage was afforded
                                                                                  to Plaintiffs, or on how
                                                                                  ASIC handled
                                                                                  Plaintiffs’ claim at
                                                                                  issue in this case.
                                                                                  Nothing about
                                                                                  negotiation of
                                                                                  Plaintiffs’ policy has
                                                                                  any tendency to make
                                                                                  any fact at issue in this
                                                                                  case any more or less
                                                                                  probable. More
                                                                                  prejudicial than
                                                                                  probative; waste of


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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION             RESPONSE TO
                                                                                                                  OBJECTION
                                                                                       time; unnecessarily
                                                                                       cumulative. [FRE 403].

*       PX WILLIAMS 9                7/10/14 email from W.        AONNBCU0000145 Relevance (F.R.E. 401,         Relevant and
                                     Phillips to S. Weiss, P.     -150           402) – Facts discussed         admissible to prove
                                     Williams, D. Kizner Re:                     in this email chain            damages.
                                     Urgent – NBCU’s “Dig”                       have only minimal              Documents
                                     Claim Question                              relevance to the facts         Plaintiffs’
                                                                                 giving rise to this case,      investment in
                                                                                 and do not serve as the        permanent sets in
                                                                                 basis for any cause of         Israel.
                                                                                 action that Plaintiffs
                                                                                 assert. Interruption
                                                                                 caused by the medical
                                                                                 condition of a
                                                                                 production crew
                                                                                 member is not at issue
                                                                                 in this case.

*       PX WILLIAMS 10               7/15/14 email from M.       AONNBCU0000128 No objection.                   Deemed admitted.
                                     Arevalo to S. Weiss cc P.   -130
                                     Williams, D. Kizner Re:
                                     NBCU’s “DIG” Season 1 –
                                     Imminent claim notification

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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION             RESPONSE TO
                                                                                                                  OBJECTION
        PX WILLIAMS 11               7/16/14 email from D.       ATL001132-1137,       No objection.            Deemed admitted.
                                     Gutterman to P. Johnson, P. ATL001138-1192
                                     Williams cc D. Gutterman
                                     Re: NBCU’s “DIG” Season
                                     1 – Imminent claim
                                     notification
*       PX WILLIAMS 12               7/16/14 email from P.       ATL001101-1105        No objection.            Deemed admitted.
                                     Johnson to P. Williams, D.
                                     Gutterman cc D. Gutterman
                                     re: “DIG” Season 1 –
                                     Imminent Peril claim
                                     notification (Also Richmond
                                     358)
        PX GUTTERMAN 15 General Claims Practices                  ATL000735-744        No objection.            Deemed admitted.

        PX GUTTERMAN 16 Core Principles                           ATL000731-732        No objection.            Deemed admitted.

        PX GUTTERMAN 18 7/28/14 coverage letter                   ATL000094-101        No objection.            Deemed admitted.

        PX GUTTERMAN 19 8/13/14 Coverage Letter                   ATL000087-93         Relevance (FRE 401,      Plaintiffs’ response
                                                                                       402), hearsay (FRE       to Defendant’s
                                                                                       801, 802), improper      initial coverage
                                                                                       opinions (FRE 701,       letter is relevant to
                                                                                       702), more prejudicial   bad faith and

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*1   EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION             RESPONSE TO
                                                                                                               OBJECTION
                                                                                    than probative,          damages. Plaintiffs
                                                                                    cumulative, and likely   explained to
                                                                                    to confuse the jury      Defendant why the
                                                                                    (FRE 403), lack of       war exclusions did
                                                                                    foundation (FRE 901).    not apply but
                                                                                                             Defendant
                                                                                                             nonetheless
                                                                                                             continued to deny
                                                                                                             coverage.

                                                                                                             Offered for a non-
                                                                                                             hearsay purpose;
                                                                                                             admission by a
                                                                                                             party opponent;
                                                                                                             business record;
                                                                                                             Atlantic-produced
                                                                                                             document
                                                                                                             admissible to prove
                                                                                                             bad faith; premature
                                                                                                             objection, witness
                                                                                                             will authenticate;
                                                                                                             document is self-
                                                                                                             authenticating (FRE
                                                                                                             902), document
                                                                                                             deemed authentic if

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*1   EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION          RESPONSE TO
                                                                                                            OBJECTION
                                                                                                          produced from
                                                                                                          opponent’s files.
     PX GUTTERMAN 20 9/19/14 Coverage Letter                   ATL000705-708        No objection.         Deemed admitted.

     PX GUTTERMAN 21 File Note History                         ATL000001-000161 Objections to portions Defendant’s file for
                                                                                of claim notes, and      the Dig claim is
                                                                                contents thereof, on the relevant to damages
                                                                                basis of relevance       and bad faith. How
                                                                                (FRE 401, 402),          Defendant handled
                                                                                hearsay (FRE 801,        the Dig claim goes
                                                                                802), improper           to the heart of bad
                                                                                opinions (FRE 701,       faith and, by
                                                                                702), more prejudicial extension, punitive
                                                                                than probative,          damages.
                                                                                cumulative, and likely
                                                                                to confuse the jury      Admission by party
                                                                                (FRE 403), lack of       opponent; offered
                                                                                foundation (FRE 901). for a non-hearsay
                                                                                Also object to ATL       purpose; business
                                                                                0001-0005 as             record; deemed
                                                                                irrelevant in light of   authentic if
                                                                                the fact that all notes  produced from
                                                                                come long after the      opponent’s files;
                                                                                facts giving rise to the Atlantic-produced
                                                                                claim, or ASIC’s         document
                                                               35
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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION            RESPONSE TO
                                                                                                                 OBJECTION
                                                                                       handling thereof.        admissible to prove
                                                                                       Further object to 0010 bad faith; document
                                                                                       – 0086 on the basis that is self-
                                                                                       pleading are not proper authenticating (FRE
                                                                                       evidence; further        902); premature
                                                                                       object to 0087-0093 on objection; witness
                                                                                       the basis of relevance will authenticate to
                                                                                       (FRE 401, 402),          the extent needed.
                                                                                       hearsay (FRE 801,
                                                                                       802), improper
                                                                                       opinions (FRE 701,
                                                                                       702), more prejudicial
                                                                                       than probative,
                                                                                       cumulative, and likely
                                                                                       to confuse the jury
                                                                                       (FRE 403), lack of
                                                                                       foundation (FRE 901);
                                                                                       finally object to 107-
                                                                                       161 as cumulative and
                                                                                       contained in other
                                                                                       exhibits.
*       PX GUTTERMAN 22 7/16/14 email from D.                     ATL001391-1396       No objection.           Deemed admitted.
                        Gutterman to D. Gutterman
                        re: “DIG” Season 1 –


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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION          RESPONSE TO
                                                                                                               OBJECTION
                                     Imminent Peril claim
                                     notification
*       PX GUTTERMAN 23 7/17/14 email from P.                     AONNBCU0003252 No objection.               Deemed admitted.
                        Johnson to S. Weiss, A.                   -3255
                        Garber, D. Gutterman cc P.
                        Williams re: Claim
                        Acknowledgment for
                        NBCU’s “DIG” Season 1 –
                        Imminent Peril claim
                        notification
*       PX GUTTERMAN 24 7/17/14 calendar invite from ATL001723                         No objection.         Deemed admitted.
                        D. Gutterman to D.
                        Gutterman re: Dig Conf Call
                        Dial In
*       PX GUTTERMAN 25 7/22/14 email from P.                     AONNBCU0003242 No objection.               Deemed admitted.
                        Johnson to S. Weiss, A.                   -3243
                        Garber, D. Gutterman re:
                        Claim 0AB097918 NBCU
                        Dig
*       PX GUTTERMAN 26 7/20/14 John Kerry                                             No objection.         Deemed admitted.
                        Interview (Cited in Tab 96
                        Coverage Letter)
*       PX GUTTERMAN 27 7/15/14 John Kerry Press                                       No objection.         Deemed admitted.
                        Statement – U.S. Condemns
                                                                  37
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*1      EXHIBIT NO. 2                     DESCRIPTION                   BATES NO.           OBJECTION         RESPONSE TO
                                                                                                               OBJECTION
                                     Kidnapping of Three Israeli
                                     Teenagers (Cited in Tab 96
                                     Coverage Letter)
        PX GUTTERMAN 28 7/3/16 email draft to P.                   ATL003211            No objection.        Deemed admitted.
                        Johnson re: 0AB097918
        PX GUTTERMAN 29 7/16/14 email from W.                      ATL001547-1550       No objection.        Deemed admitted.
                        Phillips to D. Gutterman cc
                        R. McFadden re: NBCU’s
                        “Dig”
        PX GUTTERMAN 30 7/16/14 email from P.       ATL001077-1081                      No objection.        Deemed admitted.
                        Johnson to D. Gutterman re:
                        “DIG” Season 1 – Imminent
                        Peril claim notification
*       PX GOOLEY 31                 7/17/14 email from T.        ATL001571-1572        No objection.        Deemed admitted.
                                     Gooley to P. Johnson re: Act
                                     of War exclusion – Are you
                                     available for a short call?
*       PX GOOLEY 32                 7/18/14 email from S. Duffy ATL001800-1801         No objection.        Deemed admitted.
                                     to T. Gooley re: Privileged
                                     and Confidential
*       PX GOOLEY 33                 7/28/14 email from P.         ATL001847-1855       No objection.        Deemed admitted.
                                     Johnson to T. Gooley, P.
                                     Williams cc C. Paar re:

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*1      EXHIBIT NO. 2                     DESCRIPTION                    BATES NO.          OBJECTION             RESPONSE TO
                                                                                                                   OBJECTION
                                     NBC Coverage
                                     determination – they want it
                                     this morning
*       PX GOOLEY 34       7/28/14 email from T.       ATL001858-1866                   No objection.            Deemed admitted.
                           Gooley to P. Johnson re:
                           NBC – DIG – coverage
                           determination.docx
*       PX CROSBY 30(b)(6) 5/5/17 Amended Notice of                                     Relevance (F.R.E. 401, Relevant and
        1                  Rule 30(b)(6) Deposition of                                  402) – Deposition        admissible to prove
                           Defendant Atlantic                                           Notice has no            bad faith and
                           Specialty Insurance                                          relevance to the jury    damages. Relevant
                           Company                                                      vis-à-vis what facts     to explaining to the
                                                                                        were known at the time jury witness’s role
                                                                                        of the claim, or ASIC as corporate
                                                                                        handling of Plaintiffs’ representative.
                                                                                        claim, or any causes of
                                                                                        action asserted in this
                                                                                        matter.
*       PX CROSBY 2                  2/17/16 One Beacon             ATL006957- 6988     Hearsay (801, 802);      Admission by a
                                     Insurance Group                                    Relevance (401, 402). party opponent;
                                     PowerPoint Presentation                            Document was not         offered for a non-
                                     Dated February 17,                                 created at or before the hearsay purpose;
                                     2015(Also Crosby 3)                                time of the facts        business record;
                                                                                        serving as the basis for relevant and
                                                                                        Plaintiffs’ claims. Has admissible to prove
                                                                    39
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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION              RESPONSE TO
                                                                                                                   OBJECTION
                                                                                       no tendency to make       bad faith and
                                                                                       any fact at issue in this damages.
                                                                                       case more or less
                                                                                       probable.
*       PX CROSBY 4                  7/23/14 E-mail from Dennis   ATL001829-1831       No objection.             Deemed admitted.
                                     Crosby to Peter Williams
*       PX CROSBY 5                  7/23/14 E-mail from Dennis   ATL006946-6948       No objection.               Deemed admitted.
                                     Crosby to Sean Duffy
*       PX CROSBY 6                  7/31/14 E-mail from          ATL001923-1938       No objection.               Deemed admitted.
                                     Theresa Gooley to Kristin
                                     Boller
*       PX CROSBY 7                  6/5/15 E-mail from Peter     ATL002507-2508       Irrelevant [FRE 401,        Defendant’s
                                     Williams to Susan Weiss                           402], more prejudicial      decision not to
                                                                                       than probative [FRE         renew the Policy is
                                                                                       403], hearsay [FRE          relevant to bad faith
                                                                                       801]. Discussions of        and, by extension,
                                                                                       renewal that date long      punitive damages.
                                                                                       after the claim have no
                                                                                       bearing on Plaintiffs’      Admission by a
                                                                                       claims, ASIC’s              party opponent;
                                                                                       handling thereof, or        offered for a non-
                                                                                       any causes of action        hearsay purpose;
                                                                                       asserted in this lawsuit.   business record.



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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION               RESPONSE TO
                                                                                                                    OBJECTION
*       PX CROSBY 8                  6/8/48 E-mail from Peter     ATL002514-515        Irrelevant [FRE 401,      Defendant’s
                                     Williams to Dennis Crosby                         402], more prejudicial decision not to
                                                                                       than probative [FRE       renew the Policy is
                                                                                       403], hearsay [FRE        relevant to bad faith
                                                                                       801]. Discussions of      and, by extension,
                                                                                       renewal that came after punitive damages.
                                                                                       the claim have no
                                                                                       bearing on Plaintiffs’    Relevant and
                                                                                       claims, ASIC’s            admissible to prove
                                                                                       handling thereof, or      damages and bad
                                                                                       any causes of action      faith; admission by
                                                                                       asserted in this lawsuit. a party opponent;
                                                                                                                 offered for a non-
                                                                                                                 hearsay purpose;
                                                                                                                 business record.
*       PX CROSBY 10                 6/4/15 E-mail from Dennis    ATL006949            Irrelevant [FRE 401,      Defendant’s
                                     Crosby to Michael Miller                          402], more prejudicial decision not to
                                                                                       than probative [FRE       renew the Policy
                                                                                       403], hearsay [FRE        and that Defendant
                                                                                       801]. Discussions of      lost money on the
                                                                                       renewal that came after Policy are relevant
                                                                                       the claim have no         to bad faith and, by
                                                                                       bearing on Plaintiffs’    extension, punitive
                                                                                       claims, ASIC’s            damages.
                                                                                       handling thereof, or
                                                                                                                 Relevant and
                                                                  41
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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION               RESPONSE TO
                                                                                                                    OBJECTION
                                                                                       any causes of action      admissible to prove
                                                                                       asserted in this lawsuit. damages and bad
                                                                                                                 faith; admission by
                                                                                                                 a party opponent;
                                                                                                                 offered for a non-
                                                                                                                 hearsay purpose;
                                                                                                                 business record.
*       PX CROSBY 11                 7/23/14 E-mail from Peter    ATL001832-1834       No objection.             Deemed admitted.
                                     Williams to Dennis Crosby
*       PX STONE 3                   12/17/12 DICE Producers                           Irrelevant [FRE 401,    Exhibit contains
                                     Portfolio Declarations                            402], improper parol or alternative wording
                                                                                       extrinsic evidence      of the war
                                                                                       [Estate of Black, 211   exclusions from
                                                                                       Cal. App. 2d 75, 84     which jury could
                                                                                       (Cal. Ct. App. 1962)]. draw inferences
                                                                                       Exhibit is declarations regarding their
                                                                                       page that long pre-     customary meaning
                                                                                       dates policy period,    in the insurance
                                                                                       and has no relevant to industry.
                                                                                       the claim or causes of
                                                                                       action at issue in this Relevant and
                                                                                       case. More prejudicial admissible to prove
                                                                                       than probative; waste damages and bad
                                                                                       of time; unnecessarily faith.
                                                                                       cumulative. [FRE 403].

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*1      EXHIBIT NO. 2                     DESCRIPTION                   BATES NO.           OBJECTION            RESPONSE TO
                                                                                                                  OBJECTION

*       PX STONE 11                  CWS Notes                     ATL000733-734        No objection.          Deemed admitted.
*       PX STONE 12                  Atlantic Exclusion of Other   ATL005269-5274       Irrelevant [FRE 401,   Exhibit contains
                                     Acts of Terrorism                                  402], more prejudicial terrorism exclusions
                                     Committed Outside of the                           than probative [FRE    from Defendant's
                                     United States; Cap on                              403], improper         files that Defendant
                                     Losses from Certified Acts                         extrinsic or parol     could have sought
                                     of Terrorism                                       evidence. Estate of    to add to Plaintiffs'
                                                                                        Black, 211 Cal. App.   Policy but did not.
                                                                                        2d 75, 84 (Cal. Ct.
                                                                                        App. 1962). ISO Forms Relevant and
                                                                                        not used on policy at  admissible to prove
                                                                                        issue in this case.    damages and bad
                                                                                                               faith.
*       PX STONE 14                  Electronic Data Processing    ATL005278-5281       Irrelevant [FRE 401,   Exhibit contains
                                                                                        402], more prejudicial alternative wording
                                                                                        than probative [FRE    of the war
                                                                                        403], improper         exclusions from
                                                                                        extrinsic or parol     which jury could
                                                                                        evidence. Estate of    draw inferences
                                                                                        Black, 211 Cal. App.   regarding their
                                                                                        2d 75, 84 (Cal. Ct.    customary meaning
                                                                                        App. 1962). ISO Forms in the insurance
                                                                                        not used on policy at  industry.
                                                                                        issue in this case.
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*1      EXHIBIT NO. 2                     DESCRIPTION                   BATES NO.           OBJECTION            RESPONSE TO
                                                                                                                  OBJECTION
                                                                                                               Relevant and
                                                                                                               admissible to prove
                                                                                                               damages and bad
                                                                                                               faith.
*       PX STONE 15                  Production Portfolio Policy   ATL005275-5276       Irrelevant [FRE 401,   Exhibit contains
                                                                                        402], more prejudicial alternative wording
                                                                                        than probative [FRE    of the war
                                                                                        403], improper         exclusions from
                                                                                        extrinsic or parol     which jury could
                                                                                        evidence. Estate of    draw inferences
                                                                                        Black, 211 Cal. App.   regarding their
                                                                                        2d 75, 84 (Cal. Ct.    customary meaning
                                                                                        App. 1962). ISO Forms in the insurance
                                                                                        not used on policy at  industry.
                                                                                        issue in this case.
                                                                                                               Relevant and
                                                                                                               admissible to prove
                                                                                                               damages and bad
                                                                                                               faith.
*       PX DUFFY 5                   4/18/17 Defendant Atlantic                         Discovery requests and Relevant and
                                     Specialty Insurance                                responses are not      admissible to prove
                                     Company’s Third Amended                            proper evidence; lack damages and bad
                                     Responses To First Set Of                          of relevance (401,     faith; FRE 901
                                     Interrogatories #1-17                              402); more prejudicial objection is
                                     Propounded By Plaintiffs                           than probative,        premature, witness

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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION             RESPONSE TO
                                                                                                                   OBJECTION
                                     Universal Cable Productions                       cumulative, confusing    will authenticate;
                                     LLC And Northern                                  and wasting the jury’s   admission by party
                                     Entertainment Productions                         time (403); lack of      opponent.
                                     LLC                                               foundation (901).
*       PX DUFFY 9                   Excel Spreadsheet           ATL001695-1709        Hearsay [FRE 801],       Admission by party
                                     “Discontinued Opps”                               irrelevant [FRE 401,     opponent; offered
                                                                                       402], more prejudicial   for a non-hearsay
                                                                                       than probative, likely   purpose; business
                                                                                       to confuse the jury      record; document
                                                                                       (FRE 403).               deemed authentic if
                                                                                                                produced from
                                                                                                                opponent’s files;
                                                                                                                relevant and
                                                                                                                admissible to prove
                                                                                                                bad faith and
                                                                                                                damages.
*       PX DUFFY 11                  7/22/14 E-mail from          ATL001826-1827       No objection.            Deemed admitted.
                                     Theresa Gooley to Sean
                                     Duffy
*       PX DUFFY 13                  7/23/14 E-mail from Sean     ATL001835-1836       No objection.            Deemed admitted.
                                     Duffy to Theresa Gooley
*       PX JOHNSON 2                 7/15/14 E-mail from          ATL000982-985        No objection.            Deemed admitted.
                                     Michael Arevalo to Pamela
                                     Johnson

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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION          RESPONSE TO
                                                                                                               OBJECTION
*       PX JOHNSON 3                 7/15/14 E-mail from Pamela   ATL000304-309        No objection.         Deemed admitted.
                                     Johnson to Daniel
                                     Gutterman
*       PX JOHNSON 4                 Internet Archive: Wayback                         No objection.         Deemed admitted.
                                     Machine, Israel Travel
                                     Advice Accessed January
                                     30, 2017
*       PX JOHNSON 6                 Israel, The West Bank and                         No objection.         Deemed admitted.
                                     Gaza Travel Warning
*       PX JOHNSON 7                 7/16/14 E-mail from Pamela   ATL01529-1530        No objection.         Deemed admitted.
                                     Johnson to Pamela Johnson
*       PX JOHNSON 12                7/28/14 E-mail from Pamela   AONNBCU0003085 No objection.               Deemed admitted.
                                     Johnson to Susan Weiss and   -3093
                                     Andrea Garber
*       PX JOHNSON 13                9/30/14 E-mail from Pamela   ATL002217-2222       No objection.         Deemed admitted.
                                     Johnson to Lucia Coyoca
*       PX GARBER 6                  4/24/14 email from A.        AONNBCU0000787 No objection.               Deemed admitted.
                                     Gerber to T. Peete and S.
                                     Weiss RE: Policy
                                     #MP00163-04 for /NBC
                                     Universal T_MP00163-
                                     04_14_Full.pdf
*       PX GARBER 8                  12/11/13 email from Andrea AONNBCU0001748 No objection.                 Deemed admitted.
                                     Garber to Bernadette       -50
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*1      EXHIBIT NO. 2                     DESCRIPTION                   BATES NO.          OBJECTION           RESPONSE TO
                                                                                                                OBJECTION
                                     Milinovic and Wanda
                                     Phillips Re: “Dig” Season 1
                                     Application/Declaration
*       PX GARBER 9                  12/12/13 email from           AONNBCU0001494 No objection.              Deemed admitted.
                                     Bernadette Milinovic to       -97
                                     Andrea Garber Re: “Dig”
                                     Season 1
                                     Application/Declaration
*       PX GARBER 10                 12/12/13 email from           AONNBCU0001501 Irrelevant [FRE 401,      Relevant to the
                                     Bernadette Milinovic to       -02            402], improper parol or parties' reasonable
                                     Andrea Garber Re: “Dig”                      extrinsic evidence        expectations and
                                     Season 1                                     [Estate of Black, 211     understanding of the
                                     Application/Declaration                      Cal. App. 2d 75, 84       Policy. Admissible
                                                                                  (Cal. Ct. App. 1962)]. for the reasons
                                                                                  Discussions of            explained in
                                                                                  underwriting concerns Plaintiffs'
                                                                                  pre-date the facts        opposition to
                                                                                  giving rise to Plaintiffs Defendant's motion
                                                                                  claim or causes of        in limine re
                                                                                  action, and do not        extrinsic evidence.
                                                                                  evidence anything
                                                                                  relevant to ASIC’s        Relevant and
                                                                                  handling of Plaintiffs’ admissible to prove
                                                                                  claims. More              damages and bad
                                                                                  prejudicial than          faith.
                                                                   47
                                                   REVISED JOINT EXHIBIT STIPULATION
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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION             RESPONSE TO
                                                                                                                  OBJECTION
                                                                                       probative; waste of
                                                                                       time; unnecessarily
                                                                                       cumulative. [FRE 403]. There is no reason
                                                                                                              for Defendant to
                                                                                                              object to this exhibit
                                                                                                              but not object to PX
                                                                                                              GARBER 8 and 9.
*       PX GARBER 11                 12/13/13 email from M.       AONNBCU0001558 No objection.                 Deemed admitted.
                                     Binke to A. Garber, R.       -1561
                                     Richmond cc. K. Ford, C.
                                     Williams Re: “Dig”
                                     potential Morocco shoot
*       PX GARBER 19                 11/15/13 email from Wanda AONNBCU0000341 No objection.                    Deemed admitted.
                                     Phillips to Susan Weiss and -351
                                     others with attachments Re:
                                     NBC 2013 Renewal Quote
                                     as of 11-13-13
*       PX GARBER 25                 7/11/14 email from Andrea UCP000859               Hearsay (FRE 801,       Offered for a non-
                                     Garber to Kurt Ford Re: call                      802).                   hearsay purpose;
                                     with Peter                                                                business records.
*       PX GARBER 26                 7/11/14 email from Jeff      UCP018048-49         Hearsay (FRE 801,       Offered for a non-
                                     Wachtel to Mark Binke Re:                         802).                   hearsay purpose;
                                     “Dig” S1 Insurance                                                        business records.
                                     Claim/Imminent Peril
                                                                  48
                                                   REVISED JOINT EXHIBIT STIPULATION
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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION          RESPONSE TO
                                                                                                               OBJECTION
*       PX GARBER 31                 2014 - 6/30/2015 NBCU TV ATL00459                 No objection.         Deemed admitted.
                                     Claims – OneBeacon
*       PX GARBER 33                 7/17/14 email from Mark    UCP000440              Hearsay (FRE 801,     Offered for a non-
                                     Binke to Andrea Garber Re:                        802).                 hearsay purpose;
                                     Security update TIMELY                                                  business record.
*       PX GARBER 34                 7/17/14 email from Pamela UCP000455-57            No objection.         Deemed admitted.
                                     Johnson to Susan Weiss and
                                     others Re: Claim
                                     Acknowledgement for
                                     NBCU’s “DIG” Season 1 –
                                     Imminent Peril claim
                                     notification
*       PX GARBER 36                 7/28/14 email from Pamela    UCP000374-82         No objection.         Deemed admitted.
                                     Johnsons to Susan Weiss
                                     and Andrea Garber Re:
                                     NBC – DIG – coverage
                                     determination letter
*       PX GARBER 37                 7/28/14 email from P.        AONNBCU0002769 No objection.               Deemed admitted.
                                     Johnson to S. Weiss and A.   -2777
                                     Garber, Cc. D. Gutterman,
                                     DIG - coverage
                                     determination
*       PX GARBER 38                 Motion Picture/Television    ATL001575-1629       No objection.         Deemed admitted.
                                     Producers Portfolio
                                                                  49
                                                   REVISED JOINT EXHIBIT STIPULATION
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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION             RESPONSE TO
                                                                                                                  OBJECTION
                                     Declarations OneBeacon
                                     Insurance
*       PX GARBER 39                 11/24/09 email from Susan    AONNBCU0000916 No objection.                  Deemed admitted.
                                     Weiss to George Walden       -946
                                     and Rafael Rivera Re:
                                     Policy Language
*       PX WEISS 42                  12/16/09 email from Martin AONNBCU0003965 No objection.                    Deemed admitted.
                                     Ridgers to George Walden, -66
                                     Susan Weiss Re: Martin’s
                                     Final Form Policy
*       PX WEISS 45                  3/11/10 email from Susan    AONNBCU0001109        Hearsay (FRE 801,         Relevant to the
                                     Weiss to Wanda Phillips Re: -1115                 802); Irrelevant [FRE parties' reasonable
                                     NBCU Policy Form                                  401, 402], improper       expectations and
                                     mistakes                                          parol or extrinsic        understanding of the
                                                                                       evidence [Estate of       Policy. Admissible
                                                                                       Black, 211 Cal. App.      for the reasons
                                                                                       2d 75, 84 (Cal. Ct.       explained in
                                                                                       App. 1962)].              Plaintiffs'
                                                                                       Discussions contained opposition to
                                                                                       in this exhibit long pre- Defendant's motion
                                                                                       date Plaintiffs’ claim, in limine re
                                                                                       and therefore has no      extrinsic evidence.
                                                                                       relevance to the facts
                                                                                       giving rise to Plaintiffs Offered for a non-

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                                                   REVISED JOINT EXHIBIT STIPULATION
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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION            RESPONSE TO
                                                                                                                 OBJECTION
                                                                                       claim or causes of      hearsay purpose;
                                                                                       action, and do not      business record;
                                                                                       evidence anything       relevant and
                                                                                       relevant to ASIC’s      admissible to prove
                                                                                       handling of Plaintiffs’ bad faith and
                                                                                       claims. More            damages.
                                                                                       prejudicial than
                                                                                       probative; waste of
                                                                                       time; unnecessarily
                                                                                       cumulative. [FRE 403].

*       PX SMITH 157                 7/8/14 email from S. Smith UCP001669              No objection.           Deemed admitted.
                                     to R. Richmond, E.
                                     Noordeloos cc M. Binke Re:
                                     DIG tel aviv in the morning
                                     (Also Richmond 379)
*       PX JOHNSON 246               7/15/14 E-mail from Pamela ATL000393-397          No objection.           Deemed admitted.
                                     Johnson to Peter Williams,
                                     Daniel Gutterman
*       PX JOHNSON 253               7/31/14 E-mail from Andrea ATL001917-1918         No objection.           Deemed admitted.
                                     Garber to Pamela Johnson
                                     copying Susan Weiss and
                                     Daniel Gutterman


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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION            RESPONSE TO
                                                                                                                 OBJECTION
*       PX FORD 290                  10/31/14 email from K.       ATL002421-423        Irrelevant [FRE 402],  Admission by party
                                     Ford to P. Williams RE:                           improper parol or      opponent; offered
                                     DIG Insurance Meeting                             extrinsic evidence     for a non-hearsay
                                                                                       [Estate of Black, 211  purpose; business
                                                                                       Cal. App. 2d 75, 84    record; relevant and
                                                                                       (Cal. Ct. App. 1962)]. admissible to prove
                                                                                       Discussions contained  bad faith and
                                                                                       in this exhibit addressdamages.
                                                                                       events that occurred
                                                                                       after Plaintiffs’ claim
                                                                                       and ASIC’s handling
                                                                                       thereof. Nothing
                                                                                       contained herein has
                                                                                       any relevance to the
                                                                                       facts giving rise to
                                                                                       Plaintiffs’ claim, or to
                                                                                       any causes of action
                                                                                       that Plaintiffs assert.
                                                                                       More prejudicial than
                                                                                       probative; waste of
                                                                                       time; unnecessarily
                                                                                       cumulative. [FRE 403].
*       PX FORD 294                  12/10/13 email from R.       UCP_003149 - 151     No objection.            Deemed Admitted
                                     Richmond to A. Garber, K.
                                     Ford, and C. Williams RE:

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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION             RESPONSE TO
                                                                                                                  OBJECTION
                                     “Dig” - “cast” insurance
                                     concerns
*       PX FORD 304                  7/10/14 email from M.        UCP_003312 - 313     No Objection             Deemed admitted.
                                     Binke to K. Ford Fw:
                                     Security Summary
*       PX FORD 314                  7/25/14 email from B.        UCP000458            No Objection             Deemed admitted.
                                     Markus to A. Garber RE:
                                     Dig - Insurance claim
*       PX FORD 318                  Collection of documents of   UCP000310 - 315      Irrelevant [FRE 401,     Amounts Plaintiffs
                                     photocopies of a cancelled                        402], improper parol or paid for coverage
                                     check, an invoice, an                             extrinsic evidence       are relevant to bad
                                     Authority of Payment                              [Estate of Black, 211    faith and damages.
                                     document, email, and a                            Cal. App. 2d 75, 84
                                     document entitled,                                (Cal. Ct. App. 1962)]. .
                                     “Regarding Compensation                           Discussions contained
                                     and Taxes”                                        in this exhibit address
                                                                                       events that have no
                                                                                       bearing on the facts
                                                                                       giving rise to
                                                                                       Plaintiffs’ claim, or to
                                                                                       any causes of action
                                                                                       that Plaintiffs assert.
                                                                                       The amount of a
                                                                                       brokerage check does
                                                                                       not make any of
                                                                  53
                                                   REVISED JOINT EXHIBIT STIPULATION
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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION              RESPONSE TO
                                                                                                                   OBJECTION
                                                                                       Plaintiffs’ causes of
                                                                                       action more likely than
                                                                                       not, nor does it have
                                                                                       any bearing on the
                                                                                       facts giving rise thereto
                                                                                       since this document
                                                                                       comes after ASIC’s
                                                                                       claims decision. More
                                                                                       prejudicial than
                                                                                       probative; waste of
                                                                                       time; unnecessarily
                                                                                       cumulative. [FRE 403].
*       PX FORD 319                  Collection of documents of   UCP000296 - 302      Irrelevant [FRE 401,      Amounts Plaintiffs
                                     photocopies of a cancelled                        402], improper parol or paid for coverage
                                     check, an invoice, an                             extrinsic evidence        are relevant to bad
                                     Authority of Payment                              [Estate of Black, 211     faith and damages.
                                     document, email, and a                            Cal. App. 2d 75, 84
                                     document entitled,                                (Cal. Ct. App. 1962)].
                                     “Regarding Compensation                           Discussions contained
                                     and Taxes”                                        in this exhibit address
                                                                                       events that have no
                                                                                       bearing on the facts
                                                                                       giving rise to
                                                                                       Plaintiffs’ claim, or to
                                                                                       any causes of action
                                                                                       that Plaintiffs assert.
                                                                  54
                                                   REVISED JOINT EXHIBIT STIPULATION
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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION              RESPONSE TO
                                                                                                                   OBJECTION
                                                                                       The amount of a
                                                                                       brokerage check does
                                                                                       not make any of
                                                                                       Plaintiffs’ causes of
                                                                                       action more likely than
                                                                                       not, nor does it have
                                                                                       any bearing on the
                                                                                       facts giving rise thereto
                                                                                       since this document
                                                                                       comes after ASIC’s
                                                                                       claims decision. More
                                                                                       prejudicial than
                                                                                       probative; waste of
                                                                                       time; unnecessarily
                                                                                       cumulative. [FRE 403].
*       PX FORD 320                  Collection of documents of   UCP000303 - 309      Irrelevant [FRE 401,      Amounts Plaintiffs
                                     photocopies of a cancelled                        402], improper parol or paid for coverage
                                     check, an invoice, an                             extrinsic evidence        are relevant to bad
                                     Authority of Payment                              [Estate of Black, 211     faith and damages.
                                     document, email, and a                            Cal. App. 2d 75, 84
                                     document entitled,                                (Cal. Ct. App. 1962)].
                                     “Regarding Compensation                           Discussions contained
                                     and Taxes”                                        in this exhibit address
                                                                                       events that have no
                                                                                       bearing on the facts
                                                                                       giving rise to
                                                                  55
                                                   REVISED JOINT EXHIBIT STIPULATION
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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION              RESPONSE TO
                                                                                                                   OBJECTION
                                                                                       Plaintiffs’ claim, or to
                                                                                       any causes of action
                                                                                       that Plaintiffs assert.
                                                                                       The amount of a
                                                                                       brokerage check does
                                                                                       not make any of
                                                                                       Plaintiffs’ causes of
                                                                                       action more likely than
                                                                                       not, nor does it have
                                                                                       any bearing on the
                                                                                       facts giving rise thereto
                                                                                       since this document
                                                                                       comes after ASIC’s
                                                                                       claims decision. More
                                                                                       prejudicial than
                                                                                       probative; waste of
                                                                                       time; unnecessarily
                                                                                       cumulative. [FRE 403].
*       PX FORD 321                  Collection of documents of   UCP000316 - 322      Irrelevant [FRE 401,      Amounts Plaintiffs
                                     photocopies of a cancelled                        402], improper parol or paid for coverage
                                     check, an invoice, an                             extrinsic evidence        are relevant to bad
                                     Authority of Payment                              [Estate of Black, 211     faith and damages.
                                     document, email, and a                            Cal. App. 2d 75, 84
                                     document entitled,                                (Cal. Ct. App. 1962)].
                                     “Regarding Compensation                           Discussions contained
                                     and Taxes”                                        in this exhibit address
                                                                  56
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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION              RESPONSE TO
                                                                                                                   OBJECTION
                                                                                       events that have no
                                                                                       bearing on the facts
                                                                                       giving rise to
                                                                                       Plaintiffs’ claim, or to
                                                                                       any causes of action
                                                                                       that Plaintiffs assert.
                                                                                       The amount of a
                                                                                       brokerage check does
                                                                                       not make any of
                                                                                       Plaintiffs’ causes of
                                                                                       action more likely than
                                                                                       not, nor does it have
                                                                                       any bearing on the
                                                                                       facts giving rise thereto
                                                                                       since this document
                                                                                       comes after ASIC’s
                                                                                       claims decision. More
                                                                                       prejudicial than
                                                                                       probative; waste of
                                                                                       time; unnecessarily
                                                                                       cumulative. [FRE 403].
*       PX FORD 322                  Collection of documents of   UCP000329 - 327      Irrelevant [FRE 401,      Amounts Plaintiffs
                                     photocopies of a cancelled                        402], improper parol or paid for coverage
                                     check, an invoice, an                             extrinsic evidence        are relevant to bad
                                     Authority of Payment                              [Estate of Black, 211     faith and damages.
                                     document, email, and a                            Cal. App. 2d 75, 84
                                                                  57
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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION            RESPONSE TO
                                                                                                                 OBJECTION
                                     document entitled,                                (Cal. Ct. App. 1962)].
                                     “Regarding Compensation                           Discussions contained
                                     and Taxes”                                        in this exhibit address
                                                                                       events that have no
                                                                                       bearing on the facts
                                                                                       giving rise to
                                                                                       Plaintiffs’ claim, or to
                                                                                       any causes of action
                                                                                       that Plaintiffs assert.
                                                                                       The amount of a
                                                                                       brokerage check does
                                                                                       not make any of
                                                                                       Plaintiffs’ causes of
                                                                                       action more likely than
                                                                                       not, nor does it have
                                                                                       any bearing on the
                                                                                       facts giving rise thereto
                                                                                       since this document
                                                                                       comes after ASIC’s
                                                                                       claims decision. More
                                                                                       prejudicial than
                                                                                       probative; waste of
                                                                                       time; unnecessarily
                                                                                       cumulative. [FRE 403].
*       PX MARKUS-                   6/12/14 email form B.        UCP005411 - 5506     No Objection              Deemed admitted.
        CAFFREY 342                  Markus to M. Binke FW:
                                                                  58
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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.          OBJECTION           RESPONSE TO
                                                                                                               OBJECTION
                                     DIG - LOCKED BUDGETS
                                     - AMORT, PATTERN,
                                     PILOT
*       PX MARKUS-                   8/14/14 email from R.          UCP009963 - 965    No Objection          Deemed admitted.
        CAFFREY 343                  Richmond to D. Cleaver,
                                     DIG budget notes
*       PX MARKUS-                   “DIG - New Mexico Season UCP018226 - 227          No Objection          Deemed admitted.
        CAFFREY 344                  1 - First 5 episodes”
*       PX RICHMOND 355              6/16/14 email from R.          UCP001082          No Objection          Deemed admitted.
                                     Richmond to M. Binke and
                                     R. Rothstein, Dig issues !!!!!
*       PX RICHMOND 365              7/2/14 email from R.           UCP000925 - 926    No Objection          Deemed admitted.
                                     Richmond to S. Smith, Cc.
                                     M. Binke, Re: Dig locations
*       PX RICHMOND 376              7/8/14 email from R.           UCP000953          No Objection          Deemed admitted.
                                     Richmond to S. Smith, Cc.
                                     M. Binke, DIG !!!!!!
*       PX RICHMOND 377              7/8/14 email from R.           UCP002802 - 803    No Objection          Deemed admitted.
                                     Richmond to M. Binke, E.
                                     Noordeloos, Cc. S. Smith,
                                     Re: quick call
*       PX RICHMOND 378              7/8/14 email from R.           UCP_003498 - 499   No Objection          Deemed admitted.
                                     Richmond to A. Nawi, Cc.
                                     L. Benasuly, M.

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*1      EXHIBIT NO. 2                     DESCRIPTION                    BATES NO.         OBJECTION          RESPONSE TO
                                                                                                               OBJECTION
                                     Winemaker, A. Navon, S.
                                     Smith, M. Binke, DIG alert
                                     Tel Aviv tonight !!
*       PX RICHMOND 380              7/8/14 email from R.           UCP000652           No Objection         Deemed admitted.
                                     Richmond to J. Footlik, M.
                                     Binke, R. Smotkin, RE:
                                     Sirens in Jerusalem
*       PX RICHMOND 381              7/8/14 email from R.           UCP000994           No Objection         Deemed admitted.
                                     Richmond to S. Smith, E.
                                     Noordeloos, Cc. M. Binke,
                                     Dig today!!!
*       PX RICHMOND 385              7/9/14 email from R.           UCP001068 - 069     No Objection         Deemed admitted.
                                     Rothstein to R. Richmond,
                                     Cc. M. Binke, S. O’Neill, S.
                                     Fung, Re: more DIG CAST
*       PX RICHMOND 388              7/9/14 email from R.           UCP000992           No Objection         Deemed admitted.
                                     Richmond to J. Footlik, M.
                                     Binke, and R. Smotkin Re:
                                     Sirens in Tel Aviv
*       PX RICHMOND 390              7/9/14 email from R.           UCP000767 - 768     No Objection         Deemed admitted.
                                     Richmond to J. Footlik, M.
                                     Binke, Cc. R. Smotkin, R.
                                     Rothstein, S. Dolcemaschio,
                                     Re: Sirens in Tel Aviv

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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION           RESPONSE TO
                                                                                                               OBJECTION
*       PX RICHMOND 393 7/10/14 email form M.       UCP_003585 - 586                   No Objection          Deemed admitted.
                        Binke to R. Richmond, Re:
                        DIG scenarios
*       PX RICHMOND 394 7/11/14 email form T.       UCP_003493                         No Objection          Deemed admitted.
                        Cowley to R. Richmond, B.
                        Grey, M. Cowley, A. Grey,
                        Cc. Bob Scwartz, Coming
                        home form Israel
*       PX RICHMOND 395 7/11/14 email from M.       UCP_003951                         No Objection          Deemed admitted.
                        Binke to A. Garber, J.
                        Wachtel, Cc. R. Richmond,
                        T. McCarthy, and K. Ford,
                        RE: “Dig” S1 Insurance
                        Claim/Imminent Peril
*       PX RICHMOND 396 7/14/14 email from R.       UCP_003356 - 357                   No Objection          Deemed admitted.
                        Richmond to M. Binke and
                        B. Markus, RE: DIG costs
*       PX RICHMOND 401 7/21/14 email from S. Smith UCP001606                          No Objection          Deemed admitted.
                        to R. Richmond, Re: DIG
                        Security
*       PX RICHMOND 403 7/25/14 email from B.       UCP000880                          No Objection          Deemed admitted.
                        markus ot A. Garber, Cc. M.
                        Binke, R. Richmond, and B.
                        Markus, Dig - insurance
                        claim
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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION          RESPONSE TO
                                                                                                               OBJECTION
*       PX RIDGERS 408               12/7/09 email from G.        AONNBCU0003795 Irrelevant [FRE 401,      Relevant and
                                     Walden to G. Walden RE:      -3865           402], improper parol or admissible to prove
                                     NBC Wording – Coverage                       extrinsic evidence       bad faith and
                                     Summary/Affidavit Form                       [Estate of Black, 211    damages.
                                                                                  Cal. App. 2d 75, 84      Relevant to the
                                                                                  (Cal. Ct. App. 1962)]. parties' reasonable
                                                                                  Discussions contained expectations and
                                                                                  in this exhibit address understanding of the
                                                                                  events that occurred     Policy. Admissible
                                                                                  prior to Plaintiffs’     for the reasons
                                                                                  claim and ASIC’s         explained in
                                                                                  handling thereof.        Plaintiffs'
                                                                                  Nothing contained        opposition to
                                                                                  herein has any           Defendant's motion
                                                                                  relevance to the facts   in limine re
                                                                                  giving rise to           extrinsic evidence.
                                                                                  Plaintiffs’ claim, or to
                                                                                  any causes of action
                                                                                  that Plaintiffs assert.
                                                                                  More prejudicial than
                                                                                  probative; waste of
                                                                                  time; unnecessarily
                                                                                  cumulative. [FRE 403].
*       PX RIDGERS 409               12/17/09 email from G.       AONNBCU         Irrelevant [FRE 401,     Relevant and
                                     Walden to W. Phillips, M.    0004125-0004131 402], improper parol or admissible to prove
                                                                                  extrinsic evidence       bad faith and
                                                                  62
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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION             RESPONSE TO
                                                                                                                   OBJECTION
                                     Ridgers RE: NBC Martin                            [Estate of Black, 211   damages.
                                     12-16 final                                       Cal. App. 2d 75, 84     Relevant to the
                                                                                       (Cal. Ct. App. 1962)].  parties' reasonable
                                                                                       Discussions contained   expectations and
                                                                                       in this exhibit address understanding of the
                                                                                       events that occurred    Policy. Admissible
                                                                                       prior to Plaintiffs’    for the reasons
                                                                                       claim and ASIC’s        explained in
                                                                                       handling thereof.       Plaintiffs'
                                                                                       Nothing contained       opposition to
                                                                                       herein has any          Defendant's motion
                                                                                       relevance to the facts  in limine re
                                                                                       giving rise to          extrinsic evidence.
                                                                                       Plaintiffs’ claim, or to
                                                                                       any causes of action
                                                                                       that Plaintiffs assert.
                                                                                       More prejudicial than
                                                                                       probative; waste of
                                                                                       time; unnecessarily
                                                                                       cumulative. [FRE 403].
*       PX RIDGERS 413               12/16/09 email from G.       AONNBCU              Irrelevant [FRE 401,     Relevant and
                                     Walden to M. Ridgers RE:     0004090-0004124      402], improper parol or admissible to prove
                                     Martin’s_Final_Form_12-                           extrinsic evidence       bad faith and
                                     15-09 (2). Doc                                    [Estate of Black, 211    damages.
                                                                                       Cal. App. 2d 75, 84      Relevant to the
                                                                                       (Cal. Ct. App. 1962)]. parties' reasonable
                                                                  63
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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION              RESPONSE TO
                                                                                                                    OBJECTION
                                                                                       Discussions contained expectations and
                                                                                       in this exhibit address understanding of the
                                                                                       events that occurred     Policy. Admissible
                                                                                       prior to Plaintiffs’     for the reasons
                                                                                       claim and ASIC’s         explained in
                                                                                       handling thereof.        Plaintiffs'
                                                                                       Nothing contained        opposition to
                                                                                       herein has any           Defendant's motion
                                                                                       relevance to the facts   in limine re
                                                                                       giving rise to           extrinsic evidence.
                                                                                       Plaintiffs’ claim, or to Exhibit contains
                                                                                       any causes of action     alternative wording
                                                                                       that Plaintiffs assert.  of the war
                                                                                       More prejudicial than exclusions from
                                                                                       probative; waste of      which jury could
                                                                                       time; unnecessarily      draw inferences
                                                                                       cumulative. [FRE 403]. regarding their
                                                                                                                customary meaning
                                                                                                                in the insurance
                                                                                                                industry.
*       PX RIDGERS 414               12/16/09 email from M.       AONNBCU              Irrelevant [FRE 401,     Relevant and
                                     Ridgers to G. Walden , S.    0003965-0003997      402], improper parol or admissible to prove
                                     Weiss RE:                                         extrinsic evidence       bad faith and
                                     Martin’s_Final_Form Rev                           [Estate of Black, 211    damages.
                                     1_2009 1216.doc                                   Cal. App. 2d 75, 84      Relevant to the
                                                                                       (Cal. Ct. App. 1962)]. parties' reasonable
                                                                  64
                                                   REVISED JOINT EXHIBIT STIPULATION
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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION              RESPONSE TO
                                                                                                                    OBJECTION
                                                                                       Discussions contained expectations and
                                                                                       in this exhibit address understanding of the
                                                                                       events that occurred     Policy. Admissible
                                                                                       prior to Plaintiffs’     for the reasons
                                                                                       claim and ASIC’s         explained in
                                                                                       handling thereof.        Plaintiffs'
                                                                                       Nothing contained        opposition to
                                                                                       herein has any           Defendant's motion
                                                                                       relevance to the facts   in limine re
                                                                                       giving rise to           extrinsic evidence.
                                                                                       Plaintiffs’ claim, or to Exhibit contains
                                                                                       any causes of action     alternative wording
                                                                                       that Plaintiffs assert.  of the war
                                                                                       More prejudicial than exclusions from
                                                                                       probative; waste of      which jury could
                                                                                       time; unnecessarily      draw inferences
                                                                                       cumulative. [FRE 403]. regarding their
                                                                                                                customary meaning
                                                                                                                in the insurance
                                                                                                                industry.
*       PX RIDGERS 415               12/17/09 email from S.       AONNBCU              Irrelevant [FRE 401,     Relevant and
                                     Weiss to G. Walden RE:       0003998-0004030      402], improper parol or admissible to prove
                                     NBC Martin 12-16 final                            extrinsic evidence       bad faith and
                                     THIS IS IT                                        [Estate of Black, 211    damages.
                                                                                       Cal. App. 2d 75, 84      Relevant to the
                                                                                       (Cal. Ct. App. 1962)]. parties' reasonable
                                                                  65
                                                   REVISED JOINT EXHIBIT STIPULATION
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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION              RESPONSE TO
                                                                                                                    OBJECTION
                                                                                       Discussions contained expectations and
                                                                                       in this exhibit address understanding of the
                                                                                       events that occurred     Policy. Admissible
                                                                                       prior to Plaintiffs’     for the reasons
                                                                                       claim and ASIC’s         explained in
                                                                                       handling thereof.        Plaintiffs'
                                                                                       Nothing contained        opposition to
                                                                                       herein has any           Defendant's motion
                                                                                       relevance to the facts   in limine re
                                                                                       giving rise to           extrinsic evidence.
                                                                                       Plaintiffs’ claim, or to Exhibit contains
                                                                                       any causes of action     alternative wording
                                                                                       that Plaintiffs assert.  of the war
                                                                                       More prejudicial than exclusions from
                                                                                       probative; waste of      which jury could
                                                                                       time; unnecessarily      draw inferences
                                                                                       cumulative. [FRE 403]. regarding their
                                                                                                                customary meaning
                                                                                                                in the insurance
                                                                                                                industry.
*       PX RIDGERS 416               12/17/09 email from G.       AONNBCU              Irrelevant [FRE 401,     Relevant and
                                     Walden to G. Walden RE:      0004132-0004195      402], improper parol or admissible to prove
                                     Martin’s_Final_Form Rev                           extrinsic evidence       bad faith and
                                     1_2009 1217.doc                                   [Estate of Black, 211    damages.
                                                                                       Cal. App. 2d 75, 84      Relevant to the
                                                                                       (Cal. Ct. App. 1962)]. parties' reasonable
                                                                  66
                                                   REVISED JOINT EXHIBIT STIPULATION
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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION              RESPONSE TO
                                                                                                                    OBJECTION
                                                                                       Discussions contained expectations and
                                                                                       in this exhibit address understanding of the
                                                                                       events that occurred     Policy. Admissible
                                                                                       prior to Plaintiffs’     for the reasons
                                                                                       claim and ASIC’s         explained in
                                                                                       handling thereof.        Plaintiffs'
                                                                                       Nothing contained        opposition to
                                                                                       herein has any           Defendant's motion
                                                                                       relevance to the facts   in limine re
                                                                                       giving rise to           extrinsic evidence.
                                                                                       Plaintiffs’ claim, or to Exhibit contains
                                                                                       any causes of action     alternative wording
                                                                                       that Plaintiffs assert.  of the war
                                                                                       More prejudicial than exclusions from
                                                                                       probative; waste of      which jury could
                                                                                       time; unnecessarily      draw inferences
                                                                                       cumulative. [FRE 403]. regarding their
                                                                                                                customary meaning
                                                                                                                in the insurance
                                                                                                                industry.
*       PX PHILLIPS 422              1/15/2010 email from W.      AONNBCU              Hearsay [FRE 801,        Offered for a non-
                                     Phillips to S. Weiss NBC     0004383-0004410      802]; Irrelevant [FRE hearsay purpose;
                                     Studios Policy-Draft                              401, 402], improper      business record;
                                                                                       parol or extrinsic       relevant and
                                                                                       evidence [Estate of      admissible to prove
                                                                                       Black, 211 Cal. App.     bad faith and
                                                                  67
                                                   REVISED JOINT EXHIBIT STIPULATION
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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION             RESPONSE TO
                                                                                                                   OBJECTION
                                                                                       2d 75, 84 (Cal. Ct.     damages.
                                                                                       App. 1962)].            Relevant to the
                                                                                       Discussions contained   parties' reasonable
                                                                                       in this exhibit address expectations and
                                                                                       events that occurred    understanding of the
                                                                                       prior to Plaintiffs’    Policy. Admissible
                                                                                       claim and ASIC’s        for the reasons
                                                                                       handling thereof.       explained in
                                                                                       Nothing contained       Plaintiffs'
                                                                                       herein has any          opposition to
                                                                                       relevance to the facts  Defendant's motion
                                                                                       giving rise to          in limine re
                                                                                       Plaintiffs’ claim, or toextrinsic evidence.
                                                                                       any causes of action
                                                                                       that Plaintiffs assert.
                                                                                       More prejudicial than
                                                                                       probative; waste of
                                                                                       time; unnecessarily
                                                                                       cumulative. [FRE 403].
*       PX PHILLIPS 423              12/3/13 email from W.       AONNBCU               Irrelevant [FRE 401,     Relevant and
                                     Phillips to A. Garber RE:   0003622-0003625       402], improper parol or admissible to prove
                                     Tentative 2014 Production –                       extrinsic evidence       bad faith and
                                     “Dig”                                             [Estate of Black, 211    damages.
                                                                                       Cal. App. 2d 75, 84      Relevant to the
                                                                                       (Cal. Ct. App. 1962)]. parties' reasonable
                                                                                       Discussions contained expectations and
                                                                  68
                                                   REVISED JOINT EXHIBIT STIPULATION
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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION             RESPONSE TO
                                                                                                                   OBJECTION
                                                                                       in this exhibit address understanding of the
                                                                                       events that occurred    Policy. Admissible
                                                                                       prior to Plaintiffs’    for the reasons
                                                                                       claim and ASIC’s        explained in
                                                                                       handling thereof.       Plaintiffs'
                                                                                       Nothing contained       opposition to
                                                                                       herein has any          Defendant's motion
                                                                                       relevance to the facts  in limine re
                                                                                       giving rise to          extrinsic evidence.
                                                                                       Plaintiffs’ claim, or toBudget estimates
                                                                                       any causes of action    are relevant to
                                                                                       that Plaintiffs assert. damages.
                                                                                       More prejudicial than
                                                                                       probative; waste of
                                                                                       time; unnecessarily
                                                                                       cumulative. [FRE 403].
*       PX PHILLIPS 424              12/13/13 email from A.       AONNBCU              Irrelevant [FRE 401,     Relevant and
                                     Garber to W. Phillips RE:    0001747              402], improper parol or admissible to prove
                                     “Dig” S1                                          extrinsic evidence       bad faith and
                                                                                       [Estate of Black, 211    damages.
                                                                                       Cal. App. 2d 75, 84      Relevant to the
                                                                                       (Cal. Ct. App. 1962)]. parties' reasonable
                                                                                       Discussions contained expectations and
                                                                                       in this exhibit address understanding of the
                                                                                       events that occurred     Policy. Admissible
                                                                                       prior to Plaintiffs’     for the reasons
                                                                  69
                                                   REVISED JOINT EXHIBIT STIPULATION
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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION            RESPONSE TO
                                                                                                                 OBJECTION
                                                                                   claim and ASIC’s          explained in
                                                                                   handling thereof.         Plaintiffs'
                                                                                   Nothing contained         opposition to
                                                                                   herein has any            Defendant's motion
                                                                                   relevance to the facts    in limine re
                                                                                   giving rise to            extrinsic evidence.
                                                                                   Plaintiffs’ claim, or to
                                                                                   any causes of action
                                                                                   that Plaintiffs assert.
                                                                                   More prejudicial than
                                                                                   probative; waste of
                                                                                   time; unnecessarily
                                                                                   cumulative. [FRE 403].
*       PX PHILLIPS 425              10/13/14 email from B.       ATL002231-002211 Hearsay (FRE 801,        Admission by party
                                     Milinovic to D. Kizner, W.                    802); Irrelevant [FRE opponent; offered
                                     Phillips RE: DIG “state of                    401, 402], improper      for a non-hearsay
                                     the union” 9-19                               parol or extrinsic       purpose; business
                                                                                   evidence [Estate of      record; relevant and
                                                                                   Black, 211 Cal. App.     admissible to prove
                                                                                   2d 75, 84 (Cal. Ct.      bad faith and
                                                                                   App. 1962)].             damages. Budget
                                                                                   Discussions contained estimates are
                                                                                   in this exhibit address relevant to damages.
                                                                                   events that occurred
                                                                                   after ASIC’s handling
                                                                                   of Plaintiffs’ claim.
                                                                  70
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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION            RESPONSE TO
                                                                                                                OBJECTION
                                                                                    Nothing contained
                                                                                    herein has any
                                                                                    relevance to the facts
                                                                                    giving rise to
                                                                                    Plaintiffs’ claim, or to
                                                                                    any causes of action
                                                                                    that Plaintiffs assert.
                                                                                    More prejudicial than
                                                                                    probative; waste of
                                                                                    time; unnecessarily
                                                                                    cumulative. [FRE 403].
*       PX PHILLIPS 427              11/7/14 email from J.        ATL 002439-002444 Hearsay (FRE 801,        Admission by party
                                     Morris to B. Milinovic RE:                     802); Irrelevant [FRE opponent; offered
                                     DIG state of the union 10-29                   401, 402], improper      for a non-hearsay
                                     revised                                        parol or extrinsic       purpose; business
                                                                                    evidence [Estate of      record; relevant and
                                                                                    Black, 211 Cal. App.     admissible to prove
                                                                                    2d 75, 84 (Cal. Ct.      bad faith and
                                                                                    App. 1962)].             damages. Budget
                                                                                    Discussions contained estimates are
                                                                                    in this exhibit address relevant to damages.
                                                                                    events that occurred
                                                                                    after ASIC’s handling
                                                                                    of Plaintiffs’ claim.
                                                                                    Nothing contained
                                                                                    herein has any
                                                                  71
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*1   EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION           RESPONSE TO
                                                                                                            OBJECTION
                                                                               relevance to the facts
                                                                               giving rise to
                                                                               Plaintiffs’ claim, or to
                                                                               any causes of action
                                                                               that Plaintiffs assert.
                                                                               More prejudicial than
                                                                               probative; waste of
                                                                               time; unnecessarily
                                                                               cumulative. [FRE 403].
     PX PHILLIPS 428              One Beacon Insurance        ATL006989-007020 Irrelevant [FRE 401,      Relevant and
                                  Group PowerPoint                             402], more prejudicial admissible to prove
                                  Presentation Dated February                  than probative [FRE       bad faith and
                                  17, 2016                                     403], hearsay [FRE        damages; statement
                                                                               801]. Discussions of      by party opponent;
                                                                               renewal that date long offered for non-
                                                                               after the claim have no hearsay purpose.
                                                                               bearing on Plaintiffs’    Admissible for the
                                                                               claims, ASIC’s            reasons explained in
                                                                               handling thereof, or      Plaintiffs'
                                                                               any causes of action      opposition to
                                                                               asserted in this lawsuit. Defendant's motion
                                                                                                         in limine re
                                                                                                         extrinsic evidence.
                                                                                                         Defendant’s
                                                                                                         decision not to
                                                                                                         renew the Policy
                                                              72
                                                REVISED JOINT EXHIBIT STIPULATION
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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.         OBJECTION             RESPONSE TO
                                                                                                                OBJECTION
                                                                                                             and that Defendant
                                                                                                             lost money on the
                                                                                                             Policy are relevant
                                                                                                             to bad faith and, by
                                                                                                             extension, punitive
                                                                                                             damages.
*       PX 484                       12/13/13 E-mail from         AONNBCU0001747 Hearsay (FRE 801,           Offered for a non-
                                     Andrea Garber to Wanda                      802); Irrelevant [FRE       hearsay purpose;
                                     Phillips confirming                         401, 402], improper         business record;
                                     coverage under renewal                      parol or extrinsic          relevant and
                                     policy 1/1/14                               evidence [Estate of         admissible to prove
                                                                                 Black, 211 Cal. App.        bad faith and
                                                                                 2d 75, 84 (Cal. Ct.         damages. Relevant
                                                                                 App. 1962)].                to the parties'
                                                                                 Discussions contained       reasonable
                                                                                 in this exhibit address     expectations and
                                                                                 events that occurred        understanding of the
                                                                                 prior to Plaintiffs’        Policy. Admissible
                                                                                 claim and ASIC’s            for the reasons
                                                                                 handling thereof.           explained in
                                                                                 Nothing contained           Plaintiffs'
                                                                                 herein has any              opposition to
                                                                                 relevance to the facts      Defendant's motion
                                                                                 giving rise to              in limine re
                                                                                 Plaintiffs’ claim, or to    extrinsic evidence.

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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION              RESPONSE TO
                                                                                                                   OBJECTION
                                                                                       any causes of action
                                                                                       that Plaintiffs assert.
                                                                                       More prejudicial than
                                                                                       probative; waste of
                                                                                       time; unnecessarily
                                                                                       cumulative. [FRE 403].
*       PX 486                       12/20/13 E-mail chain        AONNBCU0001462 Hearsay (FRE 801,               Offered for a non-
                                     between Andrea Garber,       -1466          802); Irrelevant [FRE           hearsay purpose;
                                     Wanda Phillips and                          401, 402], improper             business record;
                                     Bernadette Milinovic                        parol or extrinsic              relevant and
                                                                                 evidence [Estate of             admissible to prove
                                                                                 Black, 211 Cal. App.            bad faith and
                                                                                 2d 75, 84 (Cal. Ct.             damages.
                                                                                 App. 1962)].
                                                                                 Discussions contained
                                                                                 in this exhibit address
                                                                                 events that occurred
                                                                                 prior to Plaintiffs’
                                                                                 claim and ASIC’s
                                                                                 handling thereof.
                                                                                 Nothing contained
                                                                                 herein has any
                                                                                 relevance to the facts
                                                                                 giving rise to
                                                                                 Plaintiffs’ claim, or to

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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION              RESPONSE TO
                                                                                                                   OBJECTION
                                                                                       any causes of action
                                                                                       that Plaintiffs assert.
                                                                                       More prejudicial than
                                                                                       probative; waste of
                                                                                       time; unnecessarily
                                                                                       cumulative. [FRE 403].
*       PX 487                       1/13/14 E-mail and           AONNBCU0001567 Hearsay (FRE 801,               Offered for a non-
                                     attachment to from Andrea    -1568          802); Irrelevant [FRE           hearsay purpose;
                                     Garber to Bernadette                        401, 402], improper             business record;
                                     Milinovic                                   parol or extrinsic              relevant and
                                                                                 evidence [Estate of             admissible to prove
                                                                                 Black, 211 Cal. App.            bad faith and
                                                                                 2d 75, 84 (Cal. Ct.             damages.
                                                                                 App. 1962)].
                                                                                 Discussions contained
                                                                                 in this exhibit address
                                                                                 events that occurred
                                                                                 prior to Plaintiffs’
                                                                                 claim and ASIC’s
                                                                                 handling thereof.
                                                                                 Nothing contained
                                                                                 herein has any
                                                                                 relevance to the facts
                                                                                 giving rise to
                                                                                 Plaintiffs’ claim, or to

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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION             RESPONSE TO
                                                                                                                  OBJECTION
                                                                                       any causes of action
                                                                                       that Plaintiffs assert.
                                                                                       More prejudicial than
                                                                                       probative; waste of
                                                                                       time; unnecessarily
                                                                                       cumulative. [FRE 403].
*       PX 489                       01/29/15 Dig Planned and     UCP018245            Irrelevant [FRE 401,     Relevant and
                                     Actual Shoot Schedule                             402], improper parol or admissible to prove
                                                                                       extrinsic evidence       bad faith and
                                                                                       [Estate of Black, 211    damages.
                                                                                       Cal. App. 2d 75, 84
                                                                                       (Cal. Ct. App. 1962)].
                                                                                       Nothing contained
                                                                                       herein has any
                                                                                       relevance to the facts
                                                                                       giving rise to
                                                                                       Plaintiffs’ claim, or to
                                                                                       any causes of action
                                                                                       that Plaintiffs assert.
                                                                                       This schedule is
                                                                                       developed after facts
                                                                                       giving rise to
                                                                                       Plaintiffs’ claims.
                                                                                       More prejudicial than
                                                                                       probative; waste of

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*1      EXHIBIT NO. 2                     DESCRIPTION                   BATES NO.           OBJECTION             RESPONSE TO
                                                                                                                   OBJECTION
                                                                                        time; unnecessarily
                                                                                        cumulative. [FRE 403].
*       PX 490                       7/09/14 E-mail chain among UCP002521-2522          No Objection.            Deemed admitted.
                                     Stephen Smith, Randi
                                     Richmond and Mark Binke
*       PX 491                       U.S. Dept of State Listing of UCP000162-165        No objection.            Deemed admitted.
                                     Foreign Terrorist
                                     Organization
*       PX 492                       U.S. Dept. of Treasury Press UCP000178-182         No objection.            Deemed admitted.
                                     Release Titled “U.S.
                                     Designates Five Charities
                                     Funding Hamas and Six
                                     Senior Hamas Leaders as
                                     Terrorist Entities
*       PX 493                       U.S. Department of State      UCP000183-200        No objection.            Deemed admitted.
                                     Fact Sheet
*       PX 494                       U.S. Department of State      UCP035240 – 35243 No objection.               Deemed admitted.
                                     Travel Warning Re Travel
                                     to Israel, The West Bank
                                     and Gaza, updated
                                     02/03/2014
*       PX 495                       6/18/14 U.S. Dept of State    UCP000201-215        No objection.            Deemed admitted.
                                     Daily Press Briefing

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*1      EXHIBIT NO. 2                     DESCRIPTION                   BATES NO.           OBJECTION               RESPONSE TO
                                                                                                                     OBJECTION
*       PX 496                       6/30/14 U.S. Dept of State    UCP000216-229        No objection.              Deemed admitted.
                                     Daily Press Briefing
*       PX 497                       7/09/14 U.S. Dept of State    UCP000166-177        No objection.              Deemed admitted.
                                     Daily Press Briefing
*       PX 498                       7/08/14 U.S. Dept of State    UCP000230-245        No objection.              Deemed admitted.
                                     Daily Press Briefing
*       PX 499                       7/08/14 Daily Briefing by     UCP000246-273        No objection.              Deemed admitted.
                                     the Department of State
                                     Press Secretary
*       PX 500                       7/16/14 U.S. Dept. of State   UCP000279-291        No objection.              Deemed admitted.
                                     Daily Press Briefing
*       PX 501                       Sample of OneBeacon           UCP035244-35315      Irrelevant [Fre 401,       Relevant and
                                     Insurance Policy                                   402], Improper Parol       admissible to prove
                                                                                        Or Extrinsic Evidence      bad faith and
                                                                                        [Estate Of Black, 211      damages.
                                                                                        Cal. App. 2d 75, 84
                                                                                        (Cal. Ct. App. 1962)],
                                                                                        Not Yet Properly
                                                                                        Authenticated [Fre
                                                                                        901]. Sample Policy is
                                                                                        not the Policy at issue,
                                                                                        and has no tendency to
                                                                                        make any fact at issue

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*1      EXHIBIT NO. 2                     DESCRIPTION                   BATES NO.           OBJECTION             RESPONSE TO
                                                                                                                   OBJECTION
                                                                                        in this case more or
                                                                                        less likely.
*       PX 502                       Merriam Webster               UCP035316            Irrelevant [401, 402],   Relevant and
                                     Dictionary Definition of                           Not Yet Properly         admissible to prove
                                     “War”                                              Authenticated [Fre       bad faith; self-
                                                                                        901].                    authenticating (FRE
                                                                                                                 902).
*       PX 503                       Encyclopedia Britannic        UCP035317-35326      Irrelevant [Fre 401,     Relevant and
                                     Online Definition of                               402], Not Yet Properly   admissible to prove
                                     “Atomic Bomb”                                      Authenticated [Fre       bad faith self-
                                                                                        901], Hearsay [Fre       authenticating (FRE
                                                                                        801-802].                902); offered for a
                                                                                                                 non-hearsay
                                                                                                                 purpose; business
                                                                                                                 record.
*       PX 504                       U.S. Nuclear Regulatory       UCP035327            Irrelevant [Fre 401,     Relevant and
                                     Commission Glossary                                402], Not Yet Properly   admissible to prove
                                     Definition of                                      Authenticated [Fre       bad faith self-
                                     “Radioactivity”                                    901], Hearsay [Fre       authenticating (FRE
                                                                                        801-802].                902); offered for a
                                                                                                                 non-hearsay
                                                                                                                 purpose; business
                                                                                                                 record.


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*1      EXHIBIT NO. 2                     DESCRIPTION                   BATES NO.           OBJECTION             RESPONSE TO
                                                                                                                   OBJECTION
*       PX 505                       U.S. Nuclear Regulatory       UCP035328            Irrelevant [Fre 401,     Relevant and
                                     Commission Glossary                                402], Not Yet Properly   admissible to prove
                                     Definition of “Atomic                              Authenticated [Fre       bad faith self-
                                     Energy”                                            901], Hearsay [Fre       authenticating (FRE
                                                                                        801-802].                902); offered for a
                                                                                                                 non-hearsay
                                                                                                                 purpose; business
                                                                                                                 record.
*       PX 506                       Article “How Much did the     UCP035329-35330      Hearsay (FRE 801,        Offered for a non-
                                     September 11 Terrorist                             802); Irrelevant [Fre    hearsay purpose;
                                     attack cost America”                               401, 402], More          business record;
                                                                                        Prejudicial Than         relevant and
                                                                                        Probative [Fre 403],     admissible to prove
                                                                                        Improper Parol Or        bad faith; self-
                                                                                        Extrinsic Evidence       authenticating
                                                                                        [Estate Of Black, 211    (902).
                                                                                        Cal. App. 2d 75, 84
                                                                                        (Cal. Ct. App. 1962)],
                                                                                        Not Yet Properly
                                                                                        Authenticated [Fre
                                                                                        901], Hearsay [Fre
                                                                                        801-802].
*       PX 507                       Article Timeline: Terror      UCP035331-35337      Hearsay (FRE 801,        Offered for a non-
                                     Attacks Linked to Islamists                        802); Irrelevant [Fre    hearsay purpose;
                                     Since 9/11                                         401, 402], More          business record;
                                                                   80
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*1      EXHIBIT NO. 2                     DESCRIPTION                   BATES NO.           OBJECTION             RESPONSE TO
                                                                                                                   OBJECTION
                                                                                        Prejudicial Than         relevant and
                                                                                        Probative [Fre 403],     admissible to prove
                                                                                        Improper Parol Or        bad faith; self-
                                                                                        Extrinsic Evidence       authenticating
                                                                                        [Estate Of Black, 211    (902).
                                                                                        Cal. App. 2d 75, 84
                                                                                        (Cal. Ct. App. 1962)],
                                                                                        Not Yet Properly
                                                                                        Authenticated [Fre
                                                                                        901], Hearsay [Fre
                                                                                        801-802].
*       PX 508                       7/16/14 Remarks of the      UCP000274-278          If Properly              Objection is
                                     President on Foreign Policy                        Authenticated [Fre       premature; witness
                                                                                        901], No Objection.      will authenticate;
                                                                                                                 self-authenticating
                                                                                                                 (FRE 902).
*       PX 509                       7/21/14 US Department of      UCP000292-295        No objection.            Deemed admitted.
                                     State Travel Warning
                                     entitled “Israel, The West
                                     Bank and Gaza Travel
                                     Warning.
*       PX 510                       Hamas Founding Charter        UCP035336-35346      No Objection.            Deemed admitted.
                                     (1988)


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*1      EXHIBIT NO. 2                     DESCRIPTION                   BATES NO.       OBJECTION            RESPONSE TO
                                                                                                              OBJECTION
                                     The Covenant of the Islamic
                                     Resistance Movement
*       PX 511                       12/13/09 E-mail from      AONNBCU0003902 Irrelevant [FRE 401,     Relevant and
                                     Martin Ridgers to George  -3903          402], improper parol or admissible to prove
                                     Walden and Wanda Phillips                extrinsic evidence       bad faith and
                                                                              [Estate of Black, 211    damages.
                                                                              Cal. App. 2d 75, 84
                                                                              (Cal. Ct. App. 1962)].
                                                                              Discussions contained
                                                                              in this exhibit address
                                                                              events that occurred
                                                                              prior to Plaintiffs’
                                                                              claim and ASIC’s
                                                                              handling thereof.
                                                                              Nothing contained
                                                                              herein has any
                                                                              relevance to the facts
                                                                              giving rise to
                                                                              Plaintiffs’ claim, or to
                                                                              any causes of action
                                                                              that Plaintiffs assert.
                                                                              More prejudicial than
                                                                              probative; waste of
                                                                              time; unnecessarily
                                                                              cumulative. [FRE 403].

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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION               RESPONSE TO
                                                                                                                    OBJECTION
*       PX 512                       Insurance Service Office     UCP035347-           Irrelevant [401, 402],     Relevant and
                                     form number CG 00 02 04      UCP035374            Improper Parol Or          admissible to prove
                                     13                                                Extrinsic Evidence         bad faith and
                                                                                       [Estate Of Black, 211      damages.
                                                                                       Cal. App. 2d 75, 84
                                                                                       (Cal. Ct. App. 1962)],
                                                                                       Not Yet Properly
                                                                                       Authenticated [Fre
                                                                                       901]. ISO Form has no
                                                                                       tendency to make any
                                                                                       of Plaintiffs’ causes of
                                                                                       action any more or less
                                                                                       true. Plaintiffs do not
                                                                                       allege any cause of
                                                                                       action against ASIC
                                                                                       arising out of the
                                                                                       coverage afforded to
                                                                                       them, or that ASIC
                                                                                       acted in bad faith by
                                                                                       writing a policy
                                                                                       containing different
                                                                                       language from that
                                                                                       used in the ISO form.
                                                                                       More prejudicial than
                                                                                       probative; waste of

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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION               RESPONSE TO
                                                                                                                    OBJECTION
                                                                                       time; unnecessarily
                                                                                       cumulative. [FRE 403].
*       PX 513                       Insurance Service Office     UCP035375-           Irrelevant [401, 402],     Relevant and
                                     form number CG00 20 03       UCP035397            Improper Parol Or          admissible to prove
                                     10                                                Extrinsic Evidence         bad faith and
                                                                                       [Estate Of Black, 211      damages.
                                                                                       Cal. App. 2d 75, 84
                                                                                       (Cal. Ct. App. 1962)],
                                                                                       Not Yet Properly
                                                                                       Authenticated [Fre
                                                                                       901]. ISO Form has no
                                                                                       tendency to make any
                                                                                       of Plaintiffs’ causes of
                                                                                       action any more or less
                                                                                       true. Plaintiffs do not
                                                                                       allege any cause of
                                                                                       action against ASIC
                                                                                       arising out of the
                                                                                       coverage afforded to
                                                                                       them, or that ASIC
                                                                                       acted in bad faith by
                                                                                       writing a policy
                                                                                       containing different
                                                                                       language from that
                                                                                       used in the ISO form.

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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION             RESPONSE TO
                                                                                                                  OBJECTION
                                                                                       More prejudicial than
                                                                                       probative; waste of
                                                                                       time; unnecessarily
                                                                                       cumulative. [FRE 403].
*       PX 514                       10/28/72 Richard Nixon:      UCP035398-35399      Irrelevant [401, 402],   Relevant and
                                     Campaign Statement About                          More Prejudicial Than    admissible to prove
                                     Crime and Drug Abuse                              Probative [Fre 403],     bad faith and
                                                                                       Not Yet Properly         damages; objection
                                                                                       Authenticated [Fre       is premature;
                                                                                       901], Hearsay [Fre       witness will
                                                                                       801-802].                authenticate;
                                                                                                                document is self-
                                                                                                                authenticating (FRE
                                                                                                                902); offered for a
                                                                                                                non-hearsay
                                                                                                                purpose; business
                                                                                                                record.
*       PX 515                       10/02/82 Ronald Reagan      UCP035400-35401       Irrelevant [401, 402],   Relevant and
                                     Radio Address to the Nation                       More Prejudicial Than    admissible to prove
                                     on Federal Drug Policy                            Probative [Fre 403],     bad faith and
                                                                                       Not Yet Properly         damages; objection
                                                                                       Authenticated [Fre       is premature;
                                                                                       901], Hearsay [Fre       witness will
                                                                                       801-802].                authenticate;
                                                                                                                document is self-
                                                                  85
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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION             RESPONSE TO
                                                                                                                  OBJECTION
                                                                                                                authenticating (FRE
                                                                                                                902); offered for a
                                                                                                                non-hearsay
                                                                                                                purpose; business
                                                                                                                record.
*       PX 516                       01/08/64 Lyndon B.           UCP035402-35406      Irrelevant [401, 402],   Relevant and
                                     Johnson Annual Message to                         More Prejudicial Than    admissible to prove
                                     the Congress on the State of                      Probative [Fre 403],     bad faith and
                                     the Union                                         Not Yet Properly         damages; objection
                                                                                       Authenticated [Fre       is premature;
                                                                                       901], Hearsay [Fre       witness will
                                                                                       801-802].                authenticate;
                                                                                                                document is self-
                                                                                                                authenticating (FRE
                                                                                                                902); offered for a
                                                                                                                non-hearsay
                                                                                                                purpose; business
                                                                                                                record.
*       PX 517                       12/15/16 Bill O’ Reilly: War UCP 035407           Irrelevant [401, 402],   Relevant and
                                     on Christmas won by the                           More Prejudicial Than    admissible to prove
                                     good guys, but insurgents                         Probative [Fre 403],     bad faith and
                                     remain                                            Not Yet Properly         damages; objection
                                                                                       Authenticated [Fre       is premature;
                                                                                       901], Hearsay [Fre       witness will
                                                                                       801-802].                authenticate;
                                                                  86
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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION             RESPONSE TO
                                                                                                                  OBJECTION
                                                                                                                document is self-
                                                                                                                authenticating (FRE
                                                                                                                902); offered for a
                                                                                                                non-hearsay
                                                                                                                purpose; business
                                                                                                                record.
*       PX 518                       12/22/16 Article: Three      UCP035408-35409      Irrelevant [401, 402],   Relevant and
                                     reasons why the New York                          More Prejudicial Than    admissible to prove
                                     Times’ War on Christmas                           Probative [Fre 403],     bad faith and
                                     denial is all wrong                               Not Yet Properly         damages; objection
                                                                                       Authenticated [Fre       is premature;
                                                                                       901], Hearsay [Fre       witness will
                                                                                       801-802].                authenticate;
                                                                                                                document is self-
                                                                                                                authenticating (FRE
                                                                                                                902); offered for a
                                                                                                                non-hearsay
                                                                                                                purpose; business
                                                                                                                record.
*       PX 519                       12/19/16 How the War on   UCP035410-35415         Irrelevant [401, 402],   Relevant and
                                     Christmas Controversy Was                         More Prejudicial Than    admissible to prove
                                     Created                                           Probative [Fre 403],     bad faith and
                                                                                       Not Yet Properly         damages; objection
                                                                                       Authenticated [Fre       is premature;
                                                                                                                witness will
                                                                  87
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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION             RESPONSE TO
                                                                                                                  OBJECTION
                                                                                       901], Hearsay [Fre       authenticate;
                                                                                       801-802].                document is self-
                                                                                                                authenticating (FRE
                                                                                                                902); offered for a
                                                                                                                non-hearsay
                                                                                                                purpose; business
                                                                                                                record.
*       PX 520                       Attack on America: The       UCP035416-35424      Irrelevant [Fre 401,     Relevant and
                                     Insurance Coverage Issue                          402], More Prejudicial   admissible to prove
                                                                                       Than Probative [Fre      bad faith and
                                                                                       403], Improper Parol     damages; objection
                                                                                       Or Extrinsic Evidence    is premature;
                                                                                       [Estate Of Black, 211    witness will
                                                                                       Cal. App. 2d 75, 84      authenticate;
                                                                                       (Cal. Ct. App. 1962)],   document is self-
                                                                                       Not Yet Properly         authenticating (FRE
                                                                                       Authenticated [Fre       902); offered for a
                                                                                       901], Hearsay [Fre       non-hearsay
                                                                                       801-802].                purpose; business
                                                                                                                record.
*       PX 521                       09/17/01 LA Times Article    UCP035425            Irrelevant [Fre 401,     Relevant and
                                     Act of War Exclusion                              402], More Prejudicial   admissible to prove
                                     Doesn’t Apply to Attacks                          Than Probative [Fre      bad faith and
                                     Insurers Say                                      403], Lack Of Personal   damages; objection
                                                                                       Knowledge [Fre 602],     is premature;
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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION            RESPONSE TO
                                                                                                                 OBJECTION
                                                                                       Speculative,            witness will
                                                                                       Conclusory, Improper authenticate;
                                                                                       Parol Or Extrinsic      document is self-
                                                                                       Evidence [Estate Of     authenticating (FRE
                                                                                       Black, 211 Cal. App.    902); offered for a
                                                                                       2d 75, 84 (Cal. Ct.     non-hearsay
                                                                                       App. 1962)], Not Yet purpose; business
                                                                                       Properly Authenticated record.
                                                                                       [Fre 901], Hearsay [Fre
                                                                                       801-802].
*       PX 522                       Insurance Journal – A look UCP035426              Irrelevant [Fre 401,    Relevant and
                                     at Invoking War Exclusions                        402], More Prejudicial admissible to prove
                                                                                       Than Probative [Fre     bad faith and
                                                                                       403], Lack Of Personal damages; objection
                                                                                       Knowledge [Fre 602], is premature;
                                                                                       Speculative,            witness will lay
                                                                                       Conclusory, Improper proper foundation;
                                                                                       Parol Or Extrinsic      witness will
                                                                                       Evidence [Estate Of     authenticate;
                                                                                       Black, 211 Cal. App.    document is self-
                                                                                       2d 75, 84 (Cal. Ct.     authenticating (FRE
                                                                                       App. 1962)], Not Yet 902); offered for a
                                                                                       Properly Authenticated non-hearsay
                                                                                       [Fre 901], Hearsay [Fre purpose; business
                                                                                       801-802].               record.

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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION             RESPONSE TO
                                                                                                                  OBJECTION
*       PX 523                       7/18/14 E-mail from Daniel   ATL00294             No Objection.            Deemed admitted.
                                     Gutterman to Himself
*       PX 524                       7/16/14 E-mail chain among ATL000501              No Objection.            Deemed admitted.
                                     Daniel Gutterman and
                                     Pamela Johnson
*       PX 525                       7/16/14 E-mail chain among ATL001560-1561         No Objection.            Deemed admitted.
                                     Daniel Gutterman and
                                     Pamela Johnson
*       PX 526                       7/17/14 Westlaw Cover E-     ATL001635            No Objection.            Deemed admitted.
                                     mail to Pamela Johnson re
                                     War Exclusion
*       PX 527                       8/28/14 Foreign Policy –     UCP035432-35433      Irrelevant [Fre 401,     Relevant and
                                     Take Away Their Guns –                            402], More Prejudicial   admissible to prove
                                     Then We’ll Talk                                   Than Probative [Fre      damages and bad
                                                                                       403], Not Yet Properly   faith; objection is
                                                                                       Authenticated [Fre       premature; witness
                                                                                       901], Hearsay [Fre       will authenticate the
                                                                                       801-802].                document; self-
                                                                                                                authenticating (FRE
                                                                                                                902); offered for a
                                                                                                                non-hearsay
                                                                                                                purpose; business
                                                                                                                record.

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*1      EXHIBIT NO. 2                     DESCRIPTION                   BATES NO.           OBJECTION             RESPONSE TO
                                                                                                                   OBJECTION
*       PX 528                       8/9/14 National Post –        UCP035434-35436      Irrelevant [Fre 401,     Relevant and
                                     Gaza’s Marvels Of                                  402], More Prejudicial   admissible to prove
                                     Engineering; Hamas                                 Than Probative [Fre      damages and bad
                                     Gunmen Can Live In                                 403], Not Yet Properly   faith; objection is
                                     Tunnels For Weeks                                  Authenticated [Fre       premature; witness
                                                                                        901], Hearsay [Fre       will authenticate the
                                                                                        801-802].                document; self-
                                                                                                                 authenticating (FRE
                                                                                                                 902); offered for a
                                                                                                                 non-hearsay
                                                                                                                 purpose; business
                                                                                                                 record.
*       PX 529                       1/7/14 Jerusalem Post – IDF UCP035437-35439        Irrelevant [Fre 401,     Relevant and
                                     Announces Major Operation                          402], More Prejudicial   admissible to prove
                                     in Gaza as Rocket Fire                             Than Probative [Fre      damages and bad
                                     Escalates in South                                 403], Not Yet Properly   faith; objection is
                                                                                        Authenticated [Fre       premature; witness
                                                                                        901], Hearsay [Fre       will authenticate the
                                                                                        801-802].                document; self-
                                                                                                                 authenticating (FRE
                                                                                                                 902); offered for a
                                                                                                                 non-hearsay
                                                                                                                 purpose; business
                                                                                                                 record.


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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION            RESPONSE TO
                                                                                                                 OBJECTION
*       PX 531                       12/16/09 E-mail from         AONNBCU0004055 Irrelevant [Fre 401,          Relevant and
                                     Martin Ridgers to George     -4089          402], More Prejudicial        admissible to prove
                                     Walden, Susan Weiss and                     Than Probative [Fre           damages and bad
                                     Wanda Phillips                              403], Improper Parol          faith.
                                                                                 Or Extrinsic Evidence
                                                                                 [Estate Of Black, 211
                                                                                 Cal. App. 2d 75, 84
                                                                                 (Cal. Ct. App. 1962)].
                                                                                 Discussions contained
                                                                                 in this exhibit address
                                                                                 events that occurred
                                                                                 prior to Plaintiffs’
                                                                                 claim and ASIC’s
                                                                                 handling thereof.
                                                                                 Nothing contained
                                                                                 herein has any
                                                                                 relevance to the facts
                                                                                 giving rise to
                                                                                 Plaintiffs’ claim, or to
                                                                                 any causes of action
                                                                                 that Plaintiffs assert.
*       PX 534                       3/26/10 E-mail from Susan    UCP032892-32935      Hearsay (FRE 801,       Offered for a non-
                                     Weiss to Kurt Ford                                802); Irrelevant [Fre   hearsay purpose;
                                                                                       401, 402], Improper     business record;
                                                                                       Parol Or Extrinsic      relevant and

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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION             RESPONSE TO
                                                                                                                  OBJECTION
                                                                                       Evidence [Estate Of      admissible to prove
                                                                                       Black, 211 Cal. App.     bad faith and
                                                                                       2d 75, 84 (Cal. Ct.      damages.
                                                                                       App. 1962)].
                                                                                       Discussions contained
                                                                                       in this exhibit address
                                                                                       events that occurred
                                                                                       prior to Plaintiffs’
                                                                                       claim and ASIC’s
                                                                                       handling thereof.
                                                                                       Nothing contained
                                                                                       herein has any
                                                                                       relevance to the facts
                                                                                       giving rise to
                                                                                       Plaintiffs’ claim, or to
                                                                                       any causes of action
                                                                                       that Plaintiffs assert.
                                                                                       More prejudicial than
                                                                                       probative; waste of
                                                                                       time; unnecessarily
                                                                                       cumulative. [FRE 403].
*       PX 535                       Ledger Detail (17.54‐01002 UCP018225              Not Properly            Objection is
                                     thru 01006,                                       Authenticated [FRE      premature; witness
                                     01080,01085,01086,01088)                          901], Hearsay [FRE      will authenticate the
                                                                                       801-802], Lack Of       document;

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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION           RESPONSE TO
                                                                                                                OBJECTION
                                                                                       Personal Knowledge     document is self-
                                                                                       [FRE 602], Improper    authenticating;
                                                                                       Summary Of             offered for a non-
                                                                                       Voluminous Materials   hearsay purpose;
                                                                                       [FRE 1006].            business record;
                                                                                                              premature objection,
                                                                                                              witness will lay
                                                                                                              foundation;
                                                                                                              document is not a
                                                                                                              summary created for
                                                                                                              trial, it is a business
                                                                                                              record.
*       PX 536                       DIG ‐ CROATIA Cost      UCP018223                 Not Properly           Objection is
                                     Report 11 TOPSHEET ‐ PE                           Authenticated [FRE     premature, witness
                                     06242016                                          901], Hearsay [FRE     will authenticate;
                                                                                       801-802], Lack Of      document is self-
                                                                                       Personal Knowledge     authenticating (FRE
                                                                                       [FRE 602], Improper    902); offered for a
                                                                                       Summary Of             non-hearsay
                                                                                       Voluminous Materials   purpose; business
                                                                                       [FRE 1006].            record; premature
                                                                                                              objection, witness
                                                                                                              will lay foundation;
                                                                                                              document is not a
                                                                                                              summary created for

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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION           RESPONSE TO
                                                                                                                OBJECTION
                                                                                                              trial, it is a business
                                                                                                              record.
*       PX 537                       Dig Croatia (06 24 16 Cost   UCP018224            Not Properly           Objection is
                                     Report)                                           Authenticated [FRE     premature, witness
                                                                                       901], Hearsay [FRE     will authenticate;
                                                                                       801-802], Lack Of      document is self-
                                                                                       Personal Knowledge     authenticating (FRE
                                                                                       [FRE 602], Improper    902); offered for a
                                                                                       Summary Of             non-hearsay
                                                                                       Voluminous Materials   purpose; business
                                                                                       [FRE 1006].            record; premature
                                                                                                              objection, witness
                                                                                                              will lay foundation;
                                                                                                              document is not a
                                                                                                              summary created for
                                                                                                              trial, it is a business
                                                                                                              record.
*       PX 538                       (8297428‐2)                  UCP000001            Not Properly           Objection is
                                                                                       Authenticated [FRE     premature, witness
                                                                                       901], Hearsay [FRE     will authenticate;
                                                                                       801-802], Lack Of      document is self-
                                                                                       Personal Knowledge     authenticating (FRE
                                                                                       [FRE 602], Improper    902); offered for a
                                                                                       Summary Of             non-hearsay
                                                                                                              purpose; business
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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION           RESPONSE TO
                                                                                                                OBJECTION
                                                                                       Voluminous Materials   record; premature
                                                                                       [FRE 1006].            objection, witness
                                                                                                              will lay foundation;
                                                                                                              document is not a
                                                                                                              summary created for
                                                                                                              trial, it is a business
                                                                                                              record.
*       PX 539                       DIG ‐ Croatia Locked         UCP013943            Not Properly           Objection is
                                     Budget ‐ 09022014                                 Authenticated [FRE     premature, witness
                                                                                       901], Hearsay [FRE     will authenticate;
                                                                                       801-802], Lack Of      document is self-
                                                                                       Personal Knowledge     authenticating (FRE
                                                                                       [FRE 602], Improper    902); offered for a
                                                                                       Summary Of             non-hearsay
                                                                                       Voluminous Materials   purpose; business
                                                                                       [FRE 1006].            record; premature
                                                                                                              objection, witness
                                                                                                              will lay foundation;
                                                                                                              document is not a
                                                                                                              summary created for
                                                                                                              trial, it is a business
                                                                                                              record.
*       PX 540                       DIG - Day Cost Workbook - UCP018222               Not Properly           Objection is
                                     10282014                                          Authenticated [FRE     premature, witness
                                                                                       901], Hearsay [FRE     will authenticate;
                                                                  96
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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION           RESPONSE TO
                                                                                                                OBJECTION
                                                                                       801-802], Lack Of      document is self-
                                                                                       Personal Knowledge     authenticating (FRE
                                                                                       [FRE 602], Improper    902); offered for a
                                                                                       Summary Of             non-hearsay
                                                                                       Voluminous Materials   purpose; business
                                                                                       [FRE 1006].            record; premature
                                                                                                              objection, witness
                                                                                                              will lay foundation;
                                                                                                              document is not a
                                                                                                              summary created for
                                                                                                              trial, it is a business
                                                                                                              record.
*       PX 541                       DIG U.S. - Cast Salary       UCP035215            Not Properly           Objection is
                                     spreadsheet                                       Authenticated [FRE     premature, witness
                                                                                       901], Hearsay [FRE     will authenticate;
                                                                                       801-802], Lack Of      document is self-
                                                                                       Personal Knowledge     authenticating (FRE
                                                                                       [FRE 602], Improper    902); offered for a
                                                                                       Summary Of             non-hearsay
                                                                                       Voluminous Materials   purpose; business
                                                                                       [FRE 1006].            record; premature
                                                                                                              objection, witness
                                                                                                              will lay foundation;
                                                                                                              document is not a
                                                                                                              summary created for

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*1      EXHIBIT NO. 2                     DESCRIPTION                   BATES NO.           OBJECTION           RESPONSE TO
                                                                                                                 OBJECTION
                                                                                                               trial, it is a business
                                                                                                               record.
*       PX 542                       Israel Estimated Salary       UCP035216                                   Objection is
                                     spreadsheet                                                               premature, witness
                                                                                                               will authenticate;
                                                                                        Not Properly           document is self-
                                                                                        Authenticated [FRE     authenticating (FRE
                                                                                        901], Hearsay [FRE     902); offered for a
                                                                                        801-802], Lack Of      non-hearsay
                                                                                        Personal Knowledge     purpose; business
                                                                                        [FRE 602], Improper    record; premature
                                                                                        Summary Of             objection, witness
                                                                                        Voluminous Materials   will lay foundation;
                                                                                        [FRE 1006].            document is not a
                                                                                                               summary created for
                                                                                                               trial, it is a business
                                                                                                               record.
*       PX 547                       Ledgers.xlsx                  UCP036901            Not Properly           Objection is
                                                                                        Authenticated [FRE     premature, witness
                                                                                        901], Hearsay [FRE     will authenticate;
                                                                                        801-802], Lack Of      document is self-
                                                                                        Personal Knowledge     authenticating (FRE
                                                                                        [FRE 602], Improper    902); offered for a
                                                                                        Summary Of             non-hearsay
                                                                                                               purpose; business
                                                                   98
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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION           RESPONSE TO
                                                                                                                OBJECTION
                                                                                       Voluminous Materials   record; premature
                                                                                       [FRE 1006].            objection, witness
                                                                                                              will lay foundation;
                                                                                                              document is not a
                                                                                                              summary created for
                                                                                                              trial, it is a business
                                                                                                              record.
*       PX 548                       DIG Croatia - Cast           UCP 18228-18236      Not Properly           Objection is
                                                                                       Authenticated [FRE     premature, witness
                                                                                       901], Hearsay [FRE     will authenticate;
                                                                                       801-802], Lack Of      document is self-
                                                                                       Personal Knowledge     authenticating (FRE
                                                                                       [FRE 602], Improper    902); offered for a
                                                                                       Summary Of             non-hearsay
                                                                                       Voluminous Materials   purpose; business
                                                                                       [FRE 1006].            record; premature
                                                                                                              objection, witness
                                                                                                              will lay foundation;
                                                                                                              document is not a
                                                                                                              summary created for
                                                                                                              trial, it is a business
                                                                                                              record. Document
                                                                                                              was also included
                                                                                                              on Defendant’s
                                                                                                              exhibit list.

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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION           RESPONSE TO
                                                                                                               OBJECTION
*       PX 549                      DIG Croatia - Fringe         UCP 18237-18238      Not Properly           Objection is
                                                                                      Authenticated [FRE     premature, witness
                                                                                      901], Hearsay [FRE     will authenticate;
                                                                                      801-802], Lack Of      document is self-
                                                                                      Personal Knowledge     authenticating (FRE
                                                                                      [FRE 602], Improper    902); offered for a
                                                                                      Summary Of             non-hearsay
                                                                                      Voluminous Materials   purpose; business
                                                                                      [FRE 1006].            record; premature
                                                                                                             objection, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record. Document
                                                                                                             was also included
                                                                                                             on Defendant’s
                                                                                                             exhibit list.




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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION           RESPONSE TO
                                                                                                               OBJECTION
*       PX 550                      DIG Croatia - Stunts         UCP 18239-18243      Not Properly           Objection is
                                                                                      Authenticated [FRE     premature, witness
                                                                                      901], Hearsay [FRE     will authenticate;
                                                                                      801-802], Lack Of      document is self-
                                                                                      Personal Knowledge     authenticating (FRE
                                                                                      [FRE 602], Improper    902); offered for a
                                                                                      Summary Of             non-hearsay
                                                                                      Voluminous Materials   purpose; business
                                                                                      [FRE 1006].            record; premature
                                                                                                             objection, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record. Document
                                                                                                             was also included
                                                                                                             on Defendant’s
                                                                                                             exhibit list.
*       PX 551                      Financial document           UCP 18022            Not Properly           Objection is
                                                                                      Authenticated [FRE     premature, witness
                                                                                      901], Hearsay [FRE     will authenticate;
                                                                                      801-802], Lack Of      document is self-
                                                                                      Personal Knowledge     authenticating (FRE
                                                                                      [FRE 602], Improper    902); offered for a
                                                                                      Summary Of             non-hearsay

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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION             RESPONSE TO
                                                                                                                 OBJECTION
                                                                                      Voluminous Materials    purpose; business
                                                                                      [FRE 1006].             record; premature
                                                                                                              objection, witness
                                                                                                              will lay foundation;
                                                                                                              document is not a
                                                                                                              summary created for
                                                                                                              trial, it is a business
                                                                                                              record. Document
                                                                                                              was also included
                                                                                                              on Defendant’s
                                                                                                              exhibit list.
*       PX 552                      Financial document           UCP 18003-18021      Failure to produce       Ceritified
                                                                                      financial document in translation will be
                                                                                      English or provide a     available at trial;
                                                                                      certified translation of objection is
                                                                                      the document, Martini premature, witness
                                                                                      E. Ricci Iamino S.P.A. will authenticate;
                                                                                      – Consortile Societa     document is self-
                                                                                      Agricola v. Trinity      authenticating (FRE
                                                                                      Fruit Sales Co., 30 F. 902); document is
                                                                                      Supp. 3d 954, 964        relevant and
                                                                                      (E.D. Cal. 2014),        admissible to prove
                                                                                      unreliable, not properly damages and bad
                                                                                      authenticated [FRE       faith; offered for a
                                                                                      901], prejudicial [FRE non-hearsay

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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION           RESPONSE TO
                                                                                                               OBJECTION
                                                                                      403], hearsay [FRE     purpose; business
                                                                                      801-802], lack of      record; premature
                                                                                      personal knowledge     objection, witness
                                                                                      [FRE 602].             will lay foundation.
*       PX 553                      COA Listing Report           UCP 4048-4075        Not Properly           Premature
                                                                                      Authenticated [FRE     objection, witness
                                                                                      901], Hearsay [FRE     will authenticate;
                                                                                      801-802], Lack Of      document is self-
                                                                                      Personal Knowledge     authenticating (FRE
                                                                                      [FRE 602], Improper    902); offered for a
                                                                                      Summary Of             non-hearsay
                                                                                      Voluminous Materials   purpose; business
                                                                                      [FRE 1006].            record; relevant and
                                                                                                             admissible to prove
                                                                                                             bad faith and
                                                                                                             damages; document
                                                                                                             is not a summary
                                                                                                             created for trial, it is
                                                                                                             a business record.
*       PX 554                      Financial document           UCP 18125-18221      Not Properly           Premature
                                                                                      Authenticated [FRE     objection, witness
                                                                                      901], Hearsay [FRE     will authenticate;
                                                                                      801-802], Lack Of      document is self-
                                                                                      Personal Knowledge     authenticating (FRE
                                                                                      [FRE 602], Improper    902); offered for a
                                                                103
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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION           RESPONSE TO
                                                                                                                OBJECTION
                                                                                       Summary Of             non-hearsay
                                                                                       Voluminous Materials   purpose; business
                                                                                       [FRE 1006].            record; objection is
                                                                                                              premature, witness
                                                                                                              will lay foundation;
                                                                                                              document is not a
                                                                                                              summary created for
                                                                                                              trial, it is a business
                                                                                                              record.
*       PX 555                      Pilot Locked                  UCP 14882-14928      Not Properly           Premature
                                                                                       Authenticated [FRE     objection, witness
                                                                                       901], Hearsay [FRE     will authenticate;
                                                                                       801-802], Lack Of      document is self-
                                                                                       Personal Knowledge     authenticating (FRE
                                                                                       [FRE 602], Improper    902); offered for a
                                                                                       Summary Of             non-hearsay
                                                                                       Voluminous Materials   purpose; business
                                                                                       [FRE 1006].            record; objection is
                                                                                                              premature, witness
                                                                                                              will lay foundation;
                                                                                                              document is not a
                                                                                                              summary created for
                                                                                                              trial, it is a business
                                                                                                              record.


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*1      EXHIBIT NO. 2                     DESCRIPTION                    BATES NO.           OBJECTION           RESPONSE TO
                                                                                                                  OBJECTION
*       PX 556                      Pattern Locked                  UCP 14836-14881      Not Properly           Premature
                                                                                         Authenticated [FRE     objection, witness
                                                                                         901], Hearsay [FRE     will authenticate;
                                                                                         801-802], Lack Of      document is self-
                                                                                         Personal Knowledge     authenticating (FRE
                                                                                         [FRE 602], Improper    902); offered for a
                                                                                         Summary Of             non-hearsay
                                                                                         Voluminous Materials   purpose; business
                                                                                         [FRE 1006].            record; objection is
                                                                                                                premature, witness
                                                                                                                will lay foundation;
                                                                                                                document is not a
                                                                                                                summary created for
                                                                                                                trial, it is a business
                                                                                                                record.
*       PX 557                      Amort Locked                    UCP 14780-14818      Not Properly           Premature
                                                                                         Authenticated [FRE     objection, witness
                                                                                         901], Hearsay [FRE     will authenticate;
                                                                                         801-802], Lack Of      document is self-
                                                                                         Personal Knowledge     authenticating (FRE
                                                                                         [FRE 602], Improper    902); offered for a
                                                                                         Summary Of             non-hearsay
                                                                                         Voluminous Materials   purpose; business
                                                                                         [FRE 1006].            record; objection is
                                                                                                                premature, witness

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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION           RESPONSE TO
                                                                                                               OBJECTION
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record.
*       PX 558                      Financial document           UCP 5398-5405        Not Properly           Premature
                                                                                      Authenticated [FRE     objection, witness
                                                                                      901], Hearsay [FRE     will authenticate;
                                                                                      801-802], Lack Of      document is self-
                                                                                      Personal Knowledge     authenticating (FRE
                                                                                      [FRE 602], Improper    902); offered for a
                                                                                      Summary Of             non-hearsay
                                                                                      Voluminous Materials   purpose; business
                                                                                      [FRE 1006].            record; objection is
                                                                                                             premature, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record.
*       PX 559                      Financial document           UCP 15850            Not Properly           Premature
                                                                                      Authenticated [FRE     objection, witness
                                                                                      901], Hearsay [FRE     will authenticate;
                                                                                      801-802], Lack Of      document is self-
                                                                                      Personal Knowledge     authenticating (FRE
                                                                106
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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION           RESPONSE TO
                                                                                                               OBJECTION
                                                                                      [FRE 602], Improper    902); offered for a
                                                                                      Summary Of             non-hearsay
                                                                                      Voluminous Materials   purpose; business
                                                                                      [FRE 1006].            record; objection is
                                                                                                             premature, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record. Document
                                                                                                             was also included
                                                                                                             on Defendant’s
                                                                                                             exhibit list.
*       PX 560                      DIG ALL SERIES               UCP014765-014779 Not Properly               Premature
                                    LOCKED BUDGET                                 Authenticated [FRE         objection, witness
                                                                                  901], Hearsay [FRE         will authenticate;
                                                                                  801-802], Lack Of          document is self-
                                                                                  Personal Knowledge         authenticating (FRE
                                                                                  [FRE 602], Improper        902); offered for a
                                                                                  Summary Of                 non-hearsay
                                                                                  Voluminous Materials       purpose; business
                                                                                  [FRE 1006].                record; objection is
                                                                                                             premature, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a

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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.         OBJECTION             RESPONSE TO
                                                                                                               OBJECTION
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record. Document
                                                                                                             was also included
                                                                                                             on Defendant’s
                                                                                                             exhibit list.
*       PX 562                      DIG HOLIDAY_HIATUS           UCP014819-014835 Not Properly               Premature
                                    LOCKED BUDGET                                 Authenticated [FRE         objection, witness
                                    6_8_14                                        901], Hearsay [FRE         will authenticate;
                                                                                  801-802], Lack Of          document is self-
                                                                                  Personal Knowledge         authenticating (FRE
                                                                                  [FRE 602], Improper        902); offered for a
                                                                                  Summary Of                 non-hearsay
                                                                                  Voluminous Materials       purpose; business
                                                                                  [FRE 1006].                record; objection is
                                                                                                             premature, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record. Document
                                                                                                             was also included
                                                                                                             on defendant’s
                                                                                                             exhibit list.


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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.         OBJECTION             RESPONSE TO
                                                                                                               OBJECTION
*       PX 565                      DIG PREP PUSH LOCKED UCP014929-014953 Not Properly                       Premature
                                    BUDGET                                Authenticated [FRE                 objection, witness
                                                                          901], Hearsay [FRE                 will authenticate;
                                                                          801-802], Lack Of                  document is self-
                                                                          Personal Knowledge                 authenticating (FRE
                                                                          [FRE 602], Improper                902); offered for a
                                                                          Summary Of                         non-hearsay
                                                                          Voluminous Materials               purpose; business
                                                                          [FRE 1006].                        record; objection is
                                                                                                             premature, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record. Document
                                                                                                             also appeared on
                                                                                                             Defendant’s exhibit
                                                                                                             list.
*       PX 566                      DIG WRAP LOCKED              UCP014954-014972 Not Properly               Premature
                                    BUDGET                                        Authenticated [FRE         objection, witness
                                                                                  901], Hearsay [FRE         will authenticate;
                                                                                  801-802], Lack Of          document is self-
                                                                                  Personal Knowledge         authenticating (FRE
                                                                                  [FRE 602], Improper        902); offered for a
                                                                                  Summary Of                 non-hearsay

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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION           RESPONSE TO
                                                                                                               OBJECTION
                                                                                      Voluminous Materials   purpose; business
                                                                                      [FRE 1006].            record; objection is
                                                                                                             premature, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record. Document
                                                                                                             also appeared on
                                                                                                             defendant’s exhibit
                                                                                                             list.
*       PX 567                      PATTERN BUDGET-S1            UCP014973-014995 Not Properly               Premature
                                    Amort                                         Authenticated [FRE         objection, witness
                                                                                  901], Hearsay [FRE         will authenticate;
                                                                                  801-802], Lack Of          document is self-
                                                                                  Personal Knowledge         authenticating (FRE
                                                                                  [FRE 602], Improper        902); offered for a
                                                                                  Summary Of                 non-hearsay
                                                                                  Voluminous Materials       purpose; business
                                                                                  [FRE 1006].                record; objection is
                                                                                                             premature, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business

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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.         OBJECTION             RESPONSE TO
                                                                                                               OBJECTION
                                                                                                             record. Document
                                                                                                             also appeared on
                                                                                                             defendant’s exhibit
                                                                                                             list.
*       PX 568                      PATTERN BUDGET-S1            UCP014996-015023 Not Properly               Premature
                                    B4 Amort                                      Authenticated [FRE         objection, witness
                                                                                  901], Hearsay [FRE         will authenticate;
                                                                                  801-802], Lack Of          document is self-
                                                                                  Personal Knowledge         authenticating (FRE
                                                                                  [FRE 602], Improper        902); offered for a
                                                                                  Summary Of                 non-hearsay
                                                                                  Voluminous Materials       purpose; business
                                                                                  [FRE 1006].                record; objection is
                                                                                                             premature, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record. Document
                                                                                                             also appeared on
                                                                                                             defendant’s exhibit
                                                                                                             list.
*       PX 569                      PATTERN BUDGET-S1            UCP015024-015083 Not Properly               Premature
                                    B4 Series Pattern                             Authenticated [FRE         objection, witness
                                                                                  901], Hearsay [FRE         will authenticate;
                                                                111
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                                                              #:24378




*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION           RESPONSE TO
                                                                                                               OBJECTION
                                                                                      801-802], Lack Of      document is self-
                                                                                      Personal Knowledge     authenticating (FRE
                                                                                      [FRE 602], Improper    902); offered for a
                                                                                      Summary Of             non-hearsay
                                                                                      Voluminous Materials   purpose; business
                                                                                      [FRE 1006].            record; objection is
                                                                                                             premature, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record. Document
                                                                                                             also appeared on
                                                                                                             defendant’s exhibit
                                                                                                             list.
*       PX 570                      PATTERN BUDGET-S1            UCP015084-015117 Not Properly               Premature
                                    Prep                                          Authenticated [FRE         objection, witness
                                                                                  901], Hearsay [FRE         will authenticate;
                                                                                  801-802], Lack Of          document is self-
                                                                                  Personal Knowledge         authenticating (FRE
                                                                                  [FRE 602], Improper        902); offered for a
                                                                                  Summary Of                 non-hearsay
                                                                                  Voluminous Materials       purpose; business
                                                                                  [FRE 1006].                record; objection is
                                                                                                             premature, witness

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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.         OBJECTION             RESPONSE TO
                                                                                                               OBJECTION
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record. Document
                                                                                                             also appeared on
                                                                                                             defendant’s exhibit
                                                                                                             list.
*       PX 571                      PATTERN BUDGET-S1            UCP015118-015178 Not Properly               Premature
                                    Series Pattern Ep.2-6                         Authenticated [FRE         objection, witness
                                                                                  901], Hearsay [FRE         will authenticate;
                                                                                  801-802], Lack Of          document is self-
                                                                                  Personal Knowledge         authenticating (FRE
                                                                                  [FRE 602], Improper        902); offered for a
                                                                                  Summary Of                 non-hearsay
                                                                                  Voluminous Materials       purpose; business
                                                                                  [FRE 1006].                record; objection is
                                                                                                             premature, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record. Document
                                                                                                             also appeared on


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                                                              #:24380




*1      EXHIBIT NO. 2                     DESCRIPTION                   BATES NO.       OBJECTION             RESPONSE TO
                                                                                                               OBJECTION
                                                                                                             defendant’s exhibit
                                                                                                             list.
*       PX 572                      PATTERN BUDGET-S1             UCP015179-015208 Not Properly              Premature
                                    Wrap                                           Authenticated [FRE        objection, witness
                                                                                   901], Hearsay [FRE        will authenticate;
                                                                                   801-802], Lack Of         document is self-
                                                                                   Personal Knowledge        authenticating (FRE
                                                                                   [FRE 602], Improper       902); offered for a
                                                                                   Summary Of                non-hearsay
                                                                                   Voluminous Materials      purpose; business
                                                                                   [FRE 1006].               record; objection is
                                                                                                             premature, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record. Document
                                                                                                             also appeared on
                                                                                                             defendant’s exhibit
                                                                                                             list.
*       PX 573                      DIG - Israel Series Recap -   UCP016315-016367 Not Properly              Premature
                                    04292015                                       Authenticated [FRE        objection, witness
                                                                                   901], Hearsay [FRE        will authenticate;
                                                                                   801-802], Lack Of         document is self-
                                                                                   Personal Knowledge        authenticating (FRE
                                                                  114
                                                   REVISED JOINT EXHIBIT STIPULATION
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                                                              #:24381




*1      EXHIBIT NO. 2                     DESCRIPTION                   BATES NO.          OBJECTION           RESPONSE TO
                                                                                                                OBJECTION
                                                                                       [FRE 602], Improper    902); offered for a
                                                                                       Summary Of             non-hearsay
                                                                                       Voluminous Materials   purpose; business
                                                                                       [FRE 1006].            record; objection is
                                                                                                              premature, witness
                                                                                                              will lay foundation;
                                                                                                              document is not a
                                                                                                              summary created for
                                                                                                              trial, it is a business
                                                                                                              record. Document
                                                                                                              also appeared on
                                                                                                              defendant’s exhibit
                                                                                                              list.
*       PX 574                      DIG - Israel Series Recap -   UCP016368-016420 Not Properly               Premature
                                    PE 10222015                                    Authenticated [FRE         objection, witness
                                                                                   901], Hearsay [FRE         will authenticate;
                                                                                   801-802], Lack Of          document is self-
                                                                                   Personal Knowledge         authenticating (FRE
                                                                                   [FRE 602], Improper        902); offered for a
                                                                                   Summary Of                 non-hearsay
                                                                                   Voluminous Materials       purpose; business
                                                                                   [FRE 1006].                record; objection is
                                                                                                              premature, witness
                                                                                                              will lay foundation;
                                                                                                              document is not a

                                                                  115
                                                   REVISED JOINT EXHIBIT STIPULATION
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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.         OBJECTION             RESPONSE TO
                                                                                                               OBJECTION
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record. Document
                                                                                                             also appeared on
                                                                                                             defendant’s exhibit
                                                                                                             list.
*       PX 575                      DIG - New Mexico Series      UCP016421-016482 Not Properly               Premature
                                    Recap - PE 03192015                           Authenticated [FRE         objection, witness
                                                                                  901], Hearsay [FRE         will authenticate;
                                                                                  801-802], Lack Of          document is self-
                                                                                  Personal Knowledge         authenticating (FRE
                                                                                  [FRE 602], Improper        902); offered for a
                                                                                  Summary Of                 non-hearsay
                                                                                  Voluminous Materials       purpose; business
                                                                                  [FRE 1006].                record; objection is
                                                                                                             premature, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record. Document
                                                                                                             also appeared on
                                                                                                             defendant’s exhibit
                                                                                                             list.


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                                                  REVISED JOINT EXHIBIT STIPULATION
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                                                              #:24383




*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.         OBJECTION             RESPONSE TO
                                                                                                               OBJECTION
*       PX 576                      DIG - New Mexico Series      UCP016483-016542 Not Properly               Premature
                                    Recap - PE 04172015                           Authenticated [FRE         objection, witness
                                                                                  901], Hearsay [FRE         will authenticate;
                                                                                  801-802], Lack Of          document is self-
                                                                                  Personal Knowledge         authenticating (FRE
                                                                                  [FRE 602], Improper        902); offered for a
                                                                                  Summary Of                 non-hearsay
                                                                                  Voluminous Materials       purpose; business
                                                                                  [FRE 1006].                record; objection is
                                                                                                             premature, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record. Document
                                                                                                             also appeared on
                                                                                                             defendant’s exhibit
                                                                                                             list.
*       PX 577                      DIG - New Mexico Series      UCP016543-016602 Not Properly               Premature
                                    Recap - PE 04272015                           Authenticated [FRE         objection, witness
                                                                                  901], Hearsay [FRE         will authenticate;
                                                                                  801-802], Lack Of          document is self-
                                                                                  Personal Knowledge         authenticating (FRE
                                                                                  [FRE 602], Improper        902); offered for a
                                                                                  Summary Of                 non-hearsay

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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION           RESPONSE TO
                                                                                                               OBJECTION
                                                                                      Voluminous Materials   purpose; business
                                                                                      [FRE 1006].            record; objection is
                                                                                                             premature, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record. Document
                                                                                                             also appeared on
                                                                                                             defendant’s exhibit
                                                                                                             list.
*       PX 578                      DIG - New Mexico Series      UCP016603-016662 Not Properly               Premature
                                    Recap - PE 05082015                           Authenticated [FRE         objection, witness
                                                                                  901], Hearsay [FRE         will authenticate;
                                                                                  801-802], Lack Of          document is self-
                                                                                  Personal Knowledge         authenticating (FRE
                                                                                  [FRE 602], Improper        902); offered for a
                                                                                  Summary Of                 non-hearsay
                                                                                  Voluminous Materials       purpose; business
                                                                                  [FRE 1006].                record; objection is
                                                                                                             premature, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business

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                                                              #:24385




*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.         OBJECTION             RESPONSE TO
                                                                                                               OBJECTION
                                                                                                             record. Document
                                                                                                             also appeared on
                                                                                                             defendant’s exhibit
                                                                                                             list.
*       PX 579                      DIG - New Mexico Series      UCP016663-016722 Not Properly               Premature
                                    Recap - PE 05142015                           Authenticated [FRE         objection, witness
                                                                                  901], Hearsay [FRE         will authenticate;
                                                                                  801-802], Lack Of          document is self-
                                                                                  Personal Knowledge         authenticating (FRE
                                                                                  [FRE 602], Improper        902); offered for a
                                                                                  Summary Of                 non-hearsay
                                                                                  Voluminous Materials       purpose; business
                                                                                  [FRE 1006].                record; objection is
                                                                                                             premature, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record. Document
                                                                                                             also appeared on
                                                                                                             defendant’s exhibit
                                                                                                             list.
*       PX 580                      DIG - New Mexico Series      UCP016723-016781 Not Properly               Premature
                                    Recap - PE 06142015                           Authenticated [FRE         objection, witness
                                                                                  901], Hearsay [FRE         will authenticate;
                                                                119
                                                  REVISED JOINT EXHIBIT STIPULATION
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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION           RESPONSE TO
                                                                                                               OBJECTION
                                                                                      801-802], Lack Of      document is self-
                                                                                      Personal Knowledge     authenticating (FRE
                                                                                      [FRE 602], Improper    902); offered for a
                                                                                      Summary Of             non-hearsay
                                                                                      Voluminous Materials   purpose; business
                                                                                      [FRE 1006].            record; objection is
                                                                                                             premature, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record. Document
                                                                                                             also appeared on
                                                                                                             defendant’s exhibit
                                                                                                             list.
*       PX 581                      DIG - New Mexico Series      UCP016782-016842 Not Properly               Premature
                                    Recap - PE 06272015                           Authenticated [FRE         objection, witness
                                                                                  901], Hearsay [FRE         will authenticate;
                                                                                  801-802], Lack Of          document is self-
                                                                                  Personal Knowledge         authenticating (FRE
                                                                                  [FRE 602], Improper        902); offered for a
                                                                                  Summary Of                 non-hearsay
                                                                                  Voluminous Materials       purpose; business
                                                                                  [FRE 1006].                record; objection is
                                                                                                             premature, witness

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                                                  REVISED JOINT EXHIBIT STIPULATION
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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.         OBJECTION             RESPONSE TO
                                                                                                               OBJECTION
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record. Document
                                                                                                             also appeared on
                                                                                                             defendant’s exhibit
                                                                                                             list.
*       PX 582                      DIG - New Mexico Series      UCP016843-016904 Not Properly               Premature
                                    Recap - PE 07062016                           Authenticated [FRE         objection, witness
                                                                                  901], Hearsay [FRE         will authenticate;
                                                                                  801-802], Lack Of          document is self-
                                                                                  Personal Knowledge         authenticating (FRE
                                                                                  [FRE 602], Improper        902); offered for a
                                                                                  Summary Of                 non-hearsay
                                                                                  Voluminous Materials       purpose; business
                                                                                  [FRE 1006].                record; objection is
                                                                                                             premature, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record. Document
                                                                                                             also appeared on


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                                                  REVISED JOINT EXHIBIT STIPULATION
    02065\015825\7079898-1/15/20
                            Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 122 of 1099 Page ID
                                                              #:24388




*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.         OBJECTION             RESPONSE TO
                                                                                                               OBJECTION
                                                                                                             defendant’s exhibit
                                                                                                             list.
*       PX 583                      DIG - New Mexico Series      UCP016905-016966 Not Properly               Premature
                                    Recap - PE 08112016                           Authenticated [FRE         objection, witness
                                                                                  901], Hearsay [FRE         will authenticate;
                                                                                  801-802], Lack Of          document is self-
                                                                                  Personal Knowledge         authenticating (FRE
                                                                                  [FRE 602], Improper        902); offered for a
                                                                                  Summary Of                 non-hearsay
                                                                                  Voluminous Materials       purpose; business
                                                                                  [FRE 1006].                record; objection is
                                                                                                             premature, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record. Document
                                                                                                             also appeared on
                                                                                                             defendant’s exhibit
                                                                                                             list.
*       PX 584                      DIG - New Mexico Series      UCP016967-017025 Not Properly               Premature
                                    Recap - PE 08222015                           Authenticated [FRE         objection, witness
                                                                                  901], Hearsay [FRE         will authenticate;
                                                                                  801-802], Lack Of          document is self-
                                                                                  Personal Knowledge         authenticating (FRE
                                                                122
                                                  REVISED JOINT EXHIBIT STIPULATION
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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION           RESPONSE TO
                                                                                                               OBJECTION
                                                                                      [FRE 602], Improper    902); offered for a
                                                                                      Summary Of             non-hearsay
                                                                                      Voluminous Materials   purpose; business
                                                                                      [FRE 1006].            record; objection is
                                                                                                             premature, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record. Document
                                                                                                             also appeared on
                                                                                                             defendant’s exhibit
                                                                                                             list.
*       PX 585                      DIG - New Mexico Series      UCP017026-017084 Not Properly               Premature
                                    Recap - PE 09042015                           Authenticated [FRE         objection, witness
                                                                                  901], Hearsay [FRE         will authenticate;
                                                                                  801-802], Lack Of          document is self-
                                                                                  Personal Knowledge         authenticating (FRE
                                                                                  [FRE 602], Improper        902); offered for a
                                                                                  Summary Of                 non-hearsay
                                                                                  Voluminous Materials       purpose; business
                                                                                  [FRE 1006].                record; objection is
                                                                                                             premature, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a

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                                                              #:24390




*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.         OBJECTION             RESPONSE TO
                                                                                                               OBJECTION
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record. Document
                                                                                                             also appeared on
                                                                                                             defendant’s exhibit
                                                                                                             list.
*       PX 586                      DIG - New Mexico Series      UCP017085-017146 Not Properly               Premature
                                    Recap - PE 11222015                           Authenticated [FRE         objection, witness
                                                                                  901], Hearsay [FRE         will authenticate;
                                                                                  801-802], Lack Of          document is self-
                                                                                  Personal Knowledge         authenticating (FRE
                                                                                  [FRE 602], Improper        902); offered for a
                                                                                  Summary Of                 non-hearsay
                                                                                  Voluminous Materials       purpose; business
                                                                                  [FRE 1006].                record; objection is
                                                                                                             premature, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record. Document
                                                                                                             also appeared on
                                                                                                             defendant’s exhibit
                                                                                                             list.


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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.        OBJECTION             RESPONSE TO
                                                                                                               OBJECTION
*       PX 587                      DIG Israel Series recap 12    UCP017147-017200 Not Properly              Premature
                                    30 14                                          Authenticated [FRE        objection, witness
                                                                                   901], Hearsay [FRE        will authenticate;
                                                                                   801-802], Lack Of         document is self-
                                                                                   Personal Knowledge        authenticating (FRE
                                                                                   [FRE 602], Improper       902); offered for a
                                                                                   Summary Of                non-hearsay
                                                                                   Voluminous Materials      purpose; business
                                                                                   [FRE 1006].               record; objection is
                                                                                                             premature, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record. Document
                                                                                                             also appeared on
                                                                                                             defendant’s exhibit
                                                                                                             list.
*       PX 588                      Dig Series recap NM           UCP017201-017254 Not Properly              Premature
                                    010915                                         Authenticated [FRE        objection, witness
                                                                                   901], Hearsay [FRE        will authenticate;
                                                                                   801-802], Lack Of         document is self-
                                                                                   Personal Knowledge        authenticating (FRE
                                                                                   [FRE 602], Improper       902); offered for a
                                                                                   Summary Of                non-hearsay

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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION           RESPONSE TO
                                                                                                               OBJECTION
                                                                                      Voluminous Materials   purpose; business
                                                                                      [FRE 1006].            record; objection is
                                                                                                             premature, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record. Document
                                                                                                             also appeared on
                                                                                                             defendant’s exhibit
                                                                                                             list.
*       PX 589                      Dig Series recap NM 12114 UCP017255-017308 Not Properly                  Premature
                                                                               Authenticated [FRE            objection, witness
                                                                               901], Hearsay [FRE            will authenticate;
                                                                               801-802], Lack Of             document is self-
                                                                               Personal Knowledge            authenticating (FRE
                                                                               [FRE 602], Improper           902); offered for a
                                                                               Summary Of                    non-hearsay
                                                                               Voluminous Materials          purpose; business
                                                                               [FRE 1006].                   record; objection is
                                                                                                             premature, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business

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                                                              #:24393




*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.         OBJECTION             RESPONSE TO
                                                                                                               OBJECTION
                                                                                                             record. Document
                                                                                                             also appeared on
                                                                                                             defendant’s exhibit
                                                                                                             list.
*       PX 590                      Dig Series recap NM          UCP017309-017362 Not Properly               Premature
                                    012315                                        Authenticated [FRE         objection, witness
                                                                                  901], Hearsay [FRE         will authenticate;
                                                                                  801-802], Lack Of          document is self-
                                                                                  Personal Knowledge         authenticating (FRE
                                                                                  [FRE 602], Improper        902); offered for a
                                                                                  Summary Of                 non-hearsay
                                                                                  Voluminous Materials       purpose; business
                                                                                  [FRE 1006].                record; objection is
                                                                                                             premature, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record. Document
                                                                                                             also appeared on
                                                                                                             defendant’s exhibit
                                                                                                             list.
*       PX 591                      Dig Series recap NM          UCP017363-017416 Not Properly               Premature
                                    020415                                        Authenticated [FRE         objection, witness
                                                                                  901], Hearsay [FRE         will authenticate;
                                                                127
                                                  REVISED JOINT EXHIBIT STIPULATION
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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION           RESPONSE TO
                                                                                                               OBJECTION
                                                                                      801-802], Lack Of      document is self-
                                                                                      Personal Knowledge     authenticating (FRE
                                                                                      [FRE 602], Improper    902); offered for a
                                                                                      Summary Of             non-hearsay
                                                                                      Voluminous Materials   purpose; business
                                                                                      [FRE 1006].            record; objection is
                                                                                                             premature, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record. Document
                                                                                                             also appeared on
                                                                                                             defendant’s exhibit
                                                                                                             list.
*       PX 592                      Dig Series recap NM          UCP017417-017468 Not Properly               Premature
                                    021315                                        Authenticated [FRE         objection, witness
                                                                                  901], Hearsay [FRE         will authenticate;
                                                                                  801-802], Lack Of          document is self-
                                                                                  Personal Knowledge         authenticating (FRE
                                                                                  [FRE 602], Improper        902); offered for a
                                                                                  Summary Of                 non-hearsay
                                                                                  Voluminous Materials       purpose; business
                                                                                  [FRE 1006].                record; objection is
                                                                                                             premature, witness

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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.         OBJECTION             RESPONSE TO
                                                                                                               OBJECTION
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record. Document
                                                                                                             also appeared on
                                                                                                             defendant’s exhibit
                                                                                                             list.
*       PX 593                      Dig Series recap NM          UCP017469-017520 Not Properly               Premature
                                    110114                                        Authenticated [FRE         objection, witness
                                                                                  901], Hearsay [FRE         will authenticate;
                                                                                  801-802], Lack Of          document is self-
                                                                                  Personal Knowledge         authenticating (FRE
                                                                                  [FRE 602], Improper        902); offered for a
                                                                                  Summary Of                 non-hearsay
                                                                                  Voluminous Materials       purpose; business
                                                                                  [FRE 1006].                record; objection is
                                                                                                             premature, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record. Document
                                                                                                             also appeared on


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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.         OBJECTION             RESPONSE TO
                                                                                                               OBJECTION
                                                                                                             defendant’s exhibit
                                                                                                             list.
*       PX 594                      Dig Series recap NM          UCP017521-017572 Not Properly               Premature
                                    110614                                        Authenticated [FRE         objection, witness
                                                                                  901], Hearsay [FRE         will authenticate;
                                                                                  801-802], Lack Of          document is self-
                                                                                  Personal Knowledge         authenticating (FRE
                                                                                  [FRE 602], Improper        902); offered for a
                                                                                  Summary Of                 non-hearsay
                                                                                  Voluminous Materials       purpose; business
                                                                                  [FRE 1006].                record; objection is
                                                                                                             premature, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record. Document
                                                                                                             also appeared on
                                                                                                             defendant’s exhibit
                                                                                                             list.
*       PX 595                      Dig Series recap NM          UCP017573-017624 Not Properly               Premature
                                    110814                                        Authenticated [FRE         objection, witness
                                                                                  901], Hearsay [FRE         will authenticate;
                                                                                  801-802], Lack Of          document is self-
                                                                                  Personal Knowledge         authenticating (FRE
                                                                130
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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION           RESPONSE TO
                                                                                                               OBJECTION
                                                                                      [FRE 602], Improper    902); offered for a
                                                                                      Summary Of             non-hearsay
                                                                                      Voluminous Materials   purpose; business
                                                                                      [FRE 1006].            record; objection is
                                                                                                             premature, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record. Document
                                                                                                             also appeared on
                                                                                                             defendant’s exhibit
                                                                                                             list.
*       PX 596                      Dig Series recap NM          UCP017625-017679 Not Properly               Premature
                                    111414                                        Authenticated [FRE         objection, witness
                                                                                  901], Hearsay [FRE         will authenticate;
                                                                                  801-802], Lack Of          document is self-
                                                                                  Personal Knowledge         authenticating (FRE
                                                                                  [FRE 602], Improper        902); offered for a
                                                                                  Summary Of                 non-hearsay
                                                                                  Voluminous Materials       purpose; business
                                                                                  [FRE 1006].                record; objection is
                                                                                                             premature, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a

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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.         OBJECTION             RESPONSE TO
                                                                                                               OBJECTION
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record. Document
                                                                                                             also appeared on
                                                                                                             defendant’s exhibit
                                                                                                             list.
*       PX 597                      Dig Series recap NM          UCP017680-017734 Not Properly               Premature
                                    120614                                        Authenticated [FRE         objection, witness
                                                                                  901], Hearsay [FRE         will authenticate;
                                                                                  801-802], Lack Of          document is self-
                                                                                  Personal Knowledge         authenticating (FRE
                                                                                  [FRE 602], Improper        902); offered for a
                                                                                  Summary Of                 non-hearsay
                                                                                  Voluminous Materials       purpose; business
                                                                                  [FRE 1006].                record; objection is
                                                                                                             premature, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record. Document
                                                                                                             also appeared on
                                                                                                             defendant’s exhibit
                                                                                                             list.


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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.         OBJECTION             RESPONSE TO
                                                                                                               OBJECTION
*       PX 598                      Dig Series recap NM          UCP017735-017789 Not Properly               Premature
                                    121314                                        Authenticated [FRE         objection, witness
                                                                                  901], Hearsay [FRE         will authenticate;
                                                                                  801-802], Lack Of          document is self-
                                                                                  Personal Knowledge         authenticating (FRE
                                                                                  [FRE 602], Improper        902); offered for a
                                                                                  Summary Of                 non-hearsay
                                                                                  Voluminous Materials       purpose; business
                                                                                  [FRE 1006].                record; objection is
                                                                                                             premature, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record. Document
                                                                                                             also appeared on
                                                                                                             defendant’s exhibit
                                                                                                             list.
*       PX 599                      Dig Series recap NM          UCP017790-017842 Not Properly               Premature
                                    122014                                        Authenticated [FRE         objection, witness
                                                                                  901], Hearsay [FRE         will authenticate;
                                                                                  801-802], Lack Of          document is self-
                                                                                  Personal Knowledge         authenticating (FRE
                                                                                  [FRE 602], Improper        902); offered for a
                                                                                  Summary Of                 non-hearsay

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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION           RESPONSE TO
                                                                                                               OBJECTION
                                                                                      Voluminous Materials   purpose; business
                                                                                      [FRE 1006].            record; objection is
                                                                                                             premature, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record. Document
                                                                                                             also appeared on
                                                                                                             defendant’s exhibit
                                                                                                             list.
*       PX 600                      Israel DIG Nov 22nd Recap UCP017843-017892 Not Properly                  Premature
                                                                               Authenticated [FRE            objection, witness
                                                                               901], Hearsay [FRE            will authenticate;
                                                                               801-802], Lack Of             document is self-
                                                                               Personal Knowledge            authenticating (FRE
                                                                               [FRE 602], Improper           902); offered for a
                                                                               Summary Of                    non-hearsay
                                                                               Voluminous Materials          purpose; business
                                                                               [FRE 1006].                   record; objection is
                                                                                                             premature, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business

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*1      EXHIBIT NO. 2                     DESCRIPTION                    BATES NO.       OBJECTION            RESPONSE TO
                                                                                                               OBJECTION
                                                                                                             record. Document
                                                                                                             also appeared on
                                                                                                             defendant’s exhibit
                                                                                                             list.
*       PX 601                      Israel DIG Nov 1 Recap-1       UCP017893-018001 Not Properly             Premature
                                                                                    Authenticated [FRE       objection, witness
                                                                                    901], Hearsay [FRE       will authenticate;
                                                                                    801-802], Lack Of        document is self-
                                                                                    Personal Knowledge       authenticating (FRE
                                                                                    [FRE 602], Improper      902); offered for a
                                                                                    Summary Of               non-hearsay
                                                                                    Voluminous Materials     purpose; business
                                                                                    [FRE 1006].              record; objection is
                                                                                                             premature, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record. Document
                                                                                                             also appeared on
                                                                                                             defendant’s exhibit
                                                                                                             list.
*       PX 602                      Series recap 11.14.14 Israel   UCP018002-036890 Not Properly             Premature
                                                                                    Authenticated [FRE       objection, witness
                                                                                    901], Hearsay [FRE       will authenticate;
                                                                   135
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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION           RESPONSE TO
                                                                                                               OBJECTION
                                                                                      801-802], Lack Of      document is self-
                                                                                      Personal Knowledge     authenticating (FRE
                                                                                      [FRE 602], Improper    902); offered for a
                                                                                      Summary Of             non-hearsay
                                                                                      Voluminous Materials   purpose; business
                                                                                      [FRE 1006].            record; objection is
                                                                                                             premature, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record.
*       PX 603                      Cost and Variance Reports    UCP015209-16223      Not Properly           Premature
                                                                                      Authenticated [FRE     objection, witness
                                                                                      901], Hearsay [FRE     will authenticate;
                                                                                      801-802], Lack Of      document is self-
                                                                                      Personal Knowledge     authenticating (FRE
                                                                                      [FRE 602], Improper    902); offered for a
                                                                                      Summary Of             non-hearsay
                                                                                      Voluminous Materials   purpose; business
                                                                                      [FRE 1006].            record; objection is
                                                                                                             premature, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for

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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.         OBJECTION            RESPONSE TO
                                                                                                               OBJECTION
                                                                                                             trial, it is a business
                                                                                                             record. Document
                                                                                                             also appeared on
                                                                                                             defendant’s exhibit
                                                                                                             list.
*       PX 604                      AL-ASQSA TV Filler            UCP036891-036892 Unreliable, not           Premature
                                    Tallies Terror Attacks by                      properly authenticated    objection, witness
                                    Hamas (Memri TV)                               [FRE 901], irrelevant     will authenticate;
                                                                                   [FRE 401, 402], highly    document is self-
                                                                                   prejudicial [FRE 403],    authenticating (FRE
                                                                                   hearsay [FRE 801-         902); relevant and
                                                                                   802], failure to timely   admissible to prove
                                                                                   produce.                  damages and bad
                                                                                                             faith; offered for a
                                                                                                             non-hearsay
                                                                                                             purpose; business
                                                                                                             record; produced at
                                                                                                             a reasonable time.
*       PX 605                      Hamas TV Children’s Show UCP036893-036894 Unreliable, not                Premature
                                    Encourages Killing of Jews                properly authenticated         objection, witness
                                    (Memri TV)                                [FRE 901], irrelevant          will authenticate;
                                                                              [FRE 401, 402], highly         document is self-
                                                                              prejudicial [FRE 403],         authenticating (FRE
                                                                              hearsay [FRE 801-              902); relevant and
                                                                                                             admissible to prove
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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION              RESPONSE TO
                                                                                                                  OBJECTION
                                                                                      802], failure to timely   damages and bad
                                                                                      produce.                  faith; offered for a
                                                                                                                non-hearsay
                                                                                                                purpose; business
                                                                                                                record; produced at
                                                                                                                a reasonable time.
*       PX 606                      Hamas TV Song in Hebrew: UCP036895-036896 Unreliable, not                   Premature
                                    Annihilate All the Zionists               properly authenticated            objection, witness
                                    Exterminate the                           [FRE 901], irrelevant             will authenticate;
                                    Cockroaches’ Nest (Memri                  [FRE 401, 402], highly            document is self-
                                    TV)                                       prejudicial [FRE 403],            authenticating (FRE
                                                                              hearsay [FRE 801-                 902); relevant and
                                                                              802], failure to timely           admissible to prove
                                                                              produce.                          damages and bad
                                                                                                                faith; offered for a
                                                                                                                non-hearsay
                                                                                                                purpose; business
                                                                                                                record; produced at
                                                                                                                a reasonable time.
*       PX 607                      Hamas PM Haniya Extols    UCP036897-036898 Unreliable, not                  Premature
                                    Martyrdom, Says: We Shall                  properly authenticated           objection, witness
                                    Rock Tel Aviv (Memri TV)                   [FRE 901], irrelevant            will authenticate;
                                                                               [FRE 401, 402], highly           document is self-
                                                                               prejudicial [FRE 403],           authenticating (FRE
                                                                               hearsay [FRE 801-                902); relevant and
                                                                138
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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION              RESPONSE TO
                                                                                                                  OBJECTION
                                                                                      802], failure to timely   admissible to prove
                                                                                      produce.                  damages and bad
                                                                                                                faith; offered for a
                                                                                                                non-hearsay
                                                                                                                purpose; business
                                                                                                                record; produced at
                                                                                                                a reasonable time.
*       PX 608                      A Mickey Mouse Character     UCP036899-036325 Unreliable, not               Premature
                                    on Hamas TV Teaches                           properly authenticated        objection, witness
                                    Children About Islamic                        [FRE 901], irrelevant         will authenticate;
                                    Rule of the World (Memri                      [FRE 401, 402], highly        document is self-
                                    TV)                                           prejudicial [FRE 403],        authenticating (FRE
                                                                                  hearsay [FRE 801-             902); relevant and
                                                                                  802], failure to timely       admissible to prove
                                                                                  produce.                      damages and bad
                                                                                                                faith; offered for a
                                                                                                                non-hearsay
                                                                                                                purpose; business
                                                                                                                record; produced at
                                                                                                                a reasonable time.
*       PX 609                      First Amended Complaint in UCP036326-036525       Irrelevant [FRE 401,      Premature
                                    the case of Federal                               402], more prejudicial    objection, witness
                                    Insurance Company, et al. v.                      than probative [FRE       will authenticate;
                                    Al Qaida, et al., Case No.                        403], failure to timely   document is self-
                                                                                                                authenticating (FRE
                                                                139
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*1      EXHIBIT NO. 2                     DESCRIPTION                    BATES NO.         OBJECTION              RESPONSE TO
                                                                                                                   OBJECTION
                                    1:03-cv-06978-GBD-SN                               produce, hearsay [FRE 902); relevant and
                                    S.D.N.Y.)                                          801 and 802].         admissible to prove
                                                                                                             damages and bad
                                                                                                             faith; offered for a
                                                                                                             non-hearsay
                                                                                                             purpose; business
                                                                                                             record; timely
                                                                                                             produced.
*       PX 610                      08/12/2014 Letter from     UCP036526-036527        Hearsay [FRE 801-         Offered for a non-
                                    Tania Hoff, NBCUniversal                           802], failure to timely   hearsay purpose;
                                    to Lucia Coyoca, Mitchell                          produce, irrelevant       business record;
                                    Silberberg & Knupp LLP re:                         [FRE 401, 402], not       produced at a
                                    DIG Insurance Claim/One                            properly authenticated    reasonable time;
                                    Beacon                                             [FRE 901]; improper       relevant and
                                                                                       opinions (FRE 701,        admissible to prove
                                                                                       702), more prejudicial    damages and bad
                                                                                       than probative,           faith.
                                                                                       cumulative, and likely
                                                                                       to confuse the jury
                                                                                       (FRE 403).
*       PX 611                      Mitchell, Silberberg &         UCP036528-036890 Hearsay [FRE 801-            Offered for a non-
                                    Knupp invoices to NBC                           802], failure to timely      hearsay purpose;
                                    Universal for legal fees and                    produce, irrelevant          business record;
                                    costs re: Dig matter                            [FRE 401, 402], not          timely produced;
                                                                                                                 relevant and
                                                                   140
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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION             RESPONSE TO
                                                                                                                 OBJECTION
                                                                                      properly authenticated   admissible to prove
                                                                                      [FRE 901].               damages and bad
                                                                                                               faith.
*       PX 613                      OneBeacon 2011 Form 10-      UCP036083-036325 Hearsay [FRE 801-          Offered for a non-
                                    K Statement                                   802], failure to timely hearsay purpose;
                                                                                  produce, irrelevant        business record;
                                                                                  [FRE 401, 402], not        timely produced;
                                                                                  properly authenticated objection is
                                                                                  [FRE 901]. Nothing         premature, witness
                                                                                  about OneBeacon’s          will authenticate;
                                                                                  financial data has any self-authenticating
                                                                                  tendency to make a         (FRE 902); relevant
                                                                                  fact at issue in this case and admissible to
                                                                                  more or less likely.       prove bad faith and
                                                                                  More prejudicial than damages.
                                                                                  probative, waste of
                                                                                  time, cumulative (FRE
                                                                                  403).
*       PX 614                      Atlantic Specialty Insurance UCP035834-036082 Hearsay [FRE 801-            Offered for a non-
                                    Company Annual Statement                      802], failure to timely      hearsay purpose;
                                    2014                                          produce, irrelevant          business record;
                                                                                  [FRE 401, 402], not          timely produced;
                                                                                  properly authenticated       objection is
                                                                                  [FRE 901]. Nothing           premature, witness
                                                                                  about ASIC’s financial       will authenticate;
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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION              RESPONSE TO
                                                                                                                  OBJECTION
                                                                                      data has any tendency     self-authenticating
                                                                                      to make a fact at issue   (FRE 902); relevant
                                                                                      in this case more or      and admissible to
                                                                                      less likely. More         prove bad faith and
                                                                                      prejudicial than          damages.
                                                                                      probative, waste of
                                                                                      time, cumulative (FRE
                                                                                      403).
*       PX 615                      Atlantic Specialty Insurance UCP035440-035633 Hearsay [FRE 801-             Offered for a non-
                                    Company Annual Statement                      802], failure to timely       hearsay purpose;
                                    2015                                          produce, irrelevant           business record;
                                                                                  [FRE 401, 402], not           statement by party
                                                                                  properly authenticated        opponent; objection
                                                                                  [FRE 901]. Nothing            is premature,
                                                                                  about ASIC’s financial        witness will
                                                                                  data has any tendency         authenticate; self-
                                                                                  to make a fact at issue       authenticating (FRE
                                                                                  in this case more or          902); relevant and
                                                                                  less likely. More             admissible to prove
                                                                                  prejudicial than              bad faith and
                                                                                  probative, waste of           damages.
                                                                                  time, cumulative (FRE
                                                                                  403).



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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.          OBJECTION              RESPONSE TO
                                                                                                                  OBJECTION
*       PX 617                      2018-12-31 10-K White                             Hearsay [FRE 801-          Offered for a non-
                                    Mountains Insurance Group,                        802], failure to timely hearsay purpose;
                                    LTD.                                              produce, irrelevant        business record;
                                                                                      [FRE 401, 402], not        objection is
                                                                                      properly authenticated premature, witness
                                                                                      [FRE 901]. White           will authenticate;
                                                                                      Mountains Insurance        self-authenticating
                                                                                      Group, LTD. is not a       (FRE 902); relevant
                                                                                      party to the instant suit, and admissible to
                                                                                      and has no                 prove bad faith and
                                                                                      involvement in any of damages.
                                                                                      the facts giving rise to
                                                                                      the causes of action at
                                                                                      issue in this case. More
                                                                                      prejudicial than
                                                                                      probative, waste of
                                                                                      time, cumulative (FRE
                                                                                      403).
*       PX 618                      2017-12-31 10-K White                             Hearsay [FRE 801-         Offered for a non-
                                    Mountains Insurance Group,                        802], failure to timely   hearsay purpose;
                                    LTD.                                              produce, irrelevant       business record;
                                                                                      [FRE 401, 402], not       objection is
                                                                                      properly authenticated    premature, witness
                                                                                      [FRE 901]. White          will authenticate;
                                                                                      Mountains Insurance       self-authenticating

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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.          OBJECTION              RESPONSE TO
                                                                                                                  OBJECTION
                                                                                      Group, LTD. is not a       (FRE 902); relevant
                                                                                      party to the instant suit, and admissible to
                                                                                      and has no                 prove bad faith and
                                                                                      involvement in any of damages.
                                                                                      the facts giving rise to
                                                                                      the causes of action at
                                                                                      issue in this case. More
                                                                                      prejudicial than
                                                                                      probative, waste of
                                                                                      time, cumulative (FRE
                                                                                      403).
*       PX 619                      2016-12-31 10-K White                             Hearsay [FRE 801-          Offered for a non-
                                    Mountains Insurance Group,                        802], failure to timely hearsay purpose;
                                    LTD.                                              produce, irrelevant        business record;
                                                                                      [FRE 401, 402], not        objection is
                                                                                      properly authenticated premature, witness
                                                                                      [FRE 901]. White           will authenticate;
                                                                                      Mountains Insurance        self-authenticating
                                                                                      Group, LTD. is not a       (FRE 902); relevant
                                                                                      party to the instant suit, and admissible to
                                                                                      and has no                 prove bad faith and
                                                                                      involvement in any of damages.
                                                                                      the facts giving rise to
                                                                                      the causes of action at
                                                                                      issue in this case. More

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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.          OBJECTION              RESPONSE TO
                                                                                                                  OBJECTION
                                                                                      prejudicial than
                                                                                      probative, waste of
                                                                                      time, cumulative (FRE
                                                                                      403).
*       PX 620                      2015-12-31 10-K White                             Hearsay [FRE 801-          Offered for a non-
                                    Mountains Insurance Group,                        802], failure to timely hearsay purpose;
                                    LTD.                                              produce, irrelevant        business record;
                                                                                      [FRE 401, 402], not        objection is
                                                                                      properly authenticated premature, witness
                                                                                      [FRE 901]. White           will authenticate;
                                                                                      Mountains Insurance        self-authenticating
                                                                                      Group, LTD. is not a       (FRE 902); relevant
                                                                                      party to the instant suit, and admissible to
                                                                                      and has no                 prove bad faith and
                                                                                      involvement in any of damages.
                                                                                      the facts giving rise to
                                                                                      the causes of action at
                                                                                      issue in this case. More
                                                                                      prejudicial than
                                                                                      probative, waste of
                                                                                      time, cumulative (FRE
                                                                                      403).
*       PX 621                      2014-12-31 10-K White                             Hearsay [FRE 801-         Offered for a non-
                                    Mountains Insurance Group,                        802], failure to timely   hearsay purpose;
                                    LTD.                                              produce, irrelevant       business record;
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*1      EXHIBIT NO. 2                     DESCRIPTION                   BATES NO.         OBJECTION              RESPONSE TO
                                                                                                                  OBJECTION
                                                                                      [FRE 401, 402], not        objection is
                                                                                      properly authenticated premature, witness
                                                                                      [FRE 901]. White           will authenticate;
                                                                                      Mountains Insurance        self-authenticating
                                                                                      Group, LTD. is not a       (FRE 902); relevant
                                                                                      party to the instant suit, and admissible to
                                                                                      and has no                 prove bad faith and
                                                                                      involvement in any of damages.
                                                                                      the facts giving rise to
                                                                                      the causes of action at
                                                                                      issue in this case. More
                                                                                      prejudicial than
                                                                                      probative, waste of
                                                                                      time, cumulative (FRE
                                                                                      403).
*       PX 640                      6/12/14 Dig Locked Critical   UCP007998           No Objection               Deemed admitted.
                                    Assumptions
*        PX 641                     6/5/14 “Dig” Locked Pilot     UCP005460-5506      No Objection             Deemed admitted.
*        PX 642                     4/30/14 Production Recap      UCP004488           No Objection             Deemed admitted.
                                    Report, Israel Unit
*        PX 643                     10/23/15 Production Recap     UCP006123           No Objection             Deemed admitted.
                                    Report, Israel Unit
*        PX 644                     7/8/16 Production Recap       UCP010735-736       No Objection             Deemed admitted.
                                    Report, First 5 Episodes

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*1      EXHIBIT NO. 2                     DESCRIPTION                BATES NO.           OBJECTION            RESPONSE TO
                                                                                                               OBJECTION
*        PX 645                     8/11/16 Production Recap     UCP004503-504        No Objection           Deemed admitted.
                                    Report, First 5 Episodes
*        PX 647                     Black’s Law Dictionary                            No Objection           Deemed admitted.
                                    (10th ed. 2014), definition
                                    of “war”
*        PX 648                     Black’s Law Dictionary                            No Objection           Deemed admitted.
                                    (10th ed. 2014), definition
                                    of “mixed war”
*        PX 649                     BLACK’S LAW                                       No Objection           Deemed admitted.
                                    DICTIONARY (10th ed.
                                    2014), definition of
                                    “military”
*        PX 650                     BLACK’S LAW                                       No Objection           Deemed admitted.
                                    DICTIONARY (10th ed.
                                    2014), definition of
                                    “authority”
*        PX 651                     Military & Armed Forces,                          No Objection           Deemed admitted.
                                    MERRIAM-WEBSTER’S
                                    COLLEGIATE
                                    DICTIONARY (11th ed.
                                    2003), definition of
                                    “military”
*        PX 652                     10A COUCH ON                                      No Objection           Deemed admitted.
                                    INSURANCE § 152:3 (3d
                                    ed. 2017), Definition of War
                                                                 147
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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION             RESPONSE TO
                                                                                                                 OBJECTION
*        PX 653                     10A COUCH ON                                      No Objection             Deemed admitted.
                                    INSURANCE § 152:4 (3d
                                    ed. 2017), Definition of
                                    Warlike Operations
*        PX 654                     10A COUCH ON                                      No Objection             Deemed admitted.
                                    INSURANCE § 152:18 (3d
                                    ed. 2017), War Risk
                                    Exclusion in the Context of
                                    Terrorism, In General
*        PX 655                     6/24/15 UN Report of the     ATL004914-5097       No objection.            Deemed admitted.
                                    Independent Commission of
                                    Inquiry Established Pursuant
                                    to Human Rights Council
                                    resolution S-21/1
*        PX 656                     2/10/17 Plaintiff Universal                       Discovery requests and   Relevant and
                                    Cable Productions Llc’s                           responses are not        admissible to prove
                                    First Set Of Requests For                         proper evidence; lack    bad faith and
                                    Admissions #1-33 To                               of relevance (401,       damages; objection
                                    Defendant                                         402); more prejudicial   is premature,
                                    Atlantic Specialty Insurance                      than probative,          witness will
                                    Company                                           cumulative, confusing    authenticate; self-
                                                                                      and wasting the jury’s   authenticating (FRE
                                                                                      time (403); lack of      902).
                                                                                      foundation (901).


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*1      EXHIBIT NO. 2                     DESCRIPTION                   BATES NO.         OBJECTION            RESPONSE TO
                                                                                                                 OBJECTION
*        PX 657                     3/13/17 Defendant Atlantic                        Discovery requests and Relevant and
                                    Specialty Insurance                               responses are not      admissible to prove
                                    Company’s Objections And                          proper evidence; lack bad faith and
                                    Responses To Plaintiff                            of relevance (401,     damages; objection
                                    Universal Cable                                   402); more prejudicial is premature,
                                    Productions Llc’s First Set                       than probative,        witness will
                                    Of Requests For Admissions                        cumulative, confusing authenticate; self-
                                    #1-33                                             and wasting the jury’s authenticating (FRE
                                                                                      time (403); lack of    902).
                                                                                      foundation (901).
*        PX 658                     3/6/17 Plaintiff Universal                        Discovery requests and Relevant and
                                    Cable Productions Llc’s                           responses are not      admissible to prove
                                    Second Set Of Requests For                        proper evidence; lack bad faith and
                                    Admissions #34-35 To                              of relevance (401,     damages; objection
                                    Defendant Atlantic                                402); more prejudicial is premature,
                                    Specialty Insurance                               than probative,        witness will
                                    Company                                           cumulative, confusing authenticate; self-
                                                                                      and wasting the jury’s authenticating (FRE
                                                                                      time (403); lack of    902).
                                                                                      foundation (901).
*        PX 659                     4/7/17 Defendant Atlantic                         Discovery requests and Relevant and
                                    Specialty Insurance                               responses are not      admissible to prove
                                    Company’s Objections And                          proper evidence; lack bad faith and
                                    Responses To Plaintiff                            of relevance (401,     damages; objection
                                    Universal Cable Productions                       402); more prejudicial is premature,

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*1      EXHIBIT NO. 2                     DESCRIPTION                     BATES NO.         OBJECTION             RESPONSE TO
                                                                                                                    OBJECTION
                                    Llc’s Second Set Of                                 than probative,          witness will
                                    Requests For Admissions #                           cumulative, confusing    authenticate; self-
                                    34-35                                               and wasting the jury’s   authenticating (FRE
                                                                                        time (403); lack of      902).
                                                                                        foundation (901).
*        PX 660                     10/5/16 Plaintiffs’ First Set                       Discovery requests and   Relevant and
                                    Of Interrogatories #1-17 To                         responses are not        admissible to prove
                                    Defendant Atlantic                                  proper evidence; lack    bad faith and
                                    Specialty Insurance                                 of relevance (401,       damages; objection
                                    Company                                             402); more prejudicial   is premature,
                                                                                        than probative,          witness will
                                                                                        cumulative, confusing    authenticate; self-
                                                                                        and wasting the jury’s   authenticating (FRE
                                                                                        time (403); lack of      902).
                                                                                        foundation (901).
*        PX 661                     11/11/16 Defendant Atlantic                         Discovery requests and   Relevant and
                                    Specialty Insurance                                 responses are not        admissible to prove
                                    Company’s Responses To                              proper evidence; lack    bad faith and
                                    First Set Of Interrogatories                        of relevance (401,       damages; objection
                                    #1-17 Propounded By                                 402); more prejudicial   is premature,
                                    Plaintiffs Universal Cable                          than probative,          witness will
                                    Productions Llc And                                 cumulative, confusing    authenticate; self-
                                    Northern Entertainment                              and wasting the jury’s   authenticating (FRE
                                    Productions Llc                                     time (403); lack of      902).
                                                                                        foundation (901).

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*1      EXHIBIT NO. 2                     DESCRIPTION                    BATES NO.         OBJECTION            RESPONSE TO
                                                                                                                  OBJECTION
*        PX 662                     12/13/16 Defendant Atlantic                        Discovery requests and Relevant and
                                    Specialty Insurance                                responses are not      admissible to prove
                                    Company’s First Amended                            proper evidence; lack bad faith and
                                    Responses To First Set Of                          of relevance (401,     damages; objection
                                    Interrogatories #1-17                              402); more prejudicial is premature,
                                    Propounded By Plaintiffs                           than probative,        witness will
                                    Universal Cable Productions                        cumulative, confusing authenticate; self-
                                    Llc And Northern                                   and wasting the jury’s authenticating (FRE
                                    Entertainment Productions                          time (403); lack of    902).
                                    Llc                                                foundation (901).
*        PX 663                     2/20/17 Defendant Atlantic                         Discovery requests and Relevant and
                                    Specialty Insurance                                responses are not      admissible to prove
                                    Company’s Second                                   proper evidence; lack bad faith and
                                    Amended Responses To                               of relevance (401,     damages; objection
                                    First Set Of Interrogatories                       402); more prejudicial is premature,
                                    #1-17 Propounded By                                than probative,        witness will
                                    Plaintiffs Universal Cable                         cumulative, confusing authenticate; self-
                                    Productions Llc And                                and wasting the jury’s authenticating (FRE
                                    Northern Entertainment                             time (403); lack of    902).
                                    Productions Llc                                    foundation (901).
*        PX 664                     2/10/17 Plaintiff Universal                        Discovery requests and Relevant and
                                    Cable Productions Llc’s                            responses are not      admissible to prove
                                    Second Set Of                                      proper evidence; lack bad faith and
                                    Interrogatories #18-25 To                          of relevance (401,     damages; objection
                                    Defendant Atlantic                                 402); more prejudicial is premature,

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*1      EXHIBIT NO. 2                     DESCRIPTION                   BATES NO.         OBJECTION             RESPONSE TO
                                                                                                                  OBJECTION
                                    Specialty Insurance                               than probative,          witness will
                                    Company                                           cumulative, confusing    authenticate; self-
                                                                                      and wasting the jury’s   authenticating (FRE
                                                                                      time (403); lack of      902).
                                                                                      foundation (901).
*        PX 665                     3/13/17 Defendant Atlantic                        Discovery requests and   Relevant and
                                    Specialty Insurance                               responses are not        admissible to prove
                                    Company’s Responses To                            proper evidence; lack    bad faith and
                                    Second Set Of                                     of relevance (401,       damages; objection
                                    Interrogatories #18-25                            402); more prejudicial   is premature,
                                    Propounded By Plaintiffs                          than probative,          witness will
                                    Universal Cable Productions                       cumulative, confusing    authenticate; self-
                                    Llc And Northern                                  and wasting the jury’s   authenticating (FRE
                                    Entertainment Productions                         time (403); lack of      902).
                                    Llc                                               foundation (901).
*        PX 666                     OneBeacon Ins. Co. v. T.                          Hearsay [FRE 801],       Offered for a non-
                                    Wade Welch & Assocs., 841                         irrelevant [FRE 401,     hearsay purpose;
                                    F.3d 669, 674 (5th Cir.                           402]. Nothing from       relevant and
                                    2016)                                             this case is likely to   admissible to prove
                                                                                      make any fact at issue   bad faith and
                                                                                      in this case more or     damages.
                                                                                      less likely. More
                                                                                      prejudicial than
                                                                                      probative; waste of


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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION          RESPONSE TO
                                                                                                               OBJECTION
                                                                                       time; unnecessarily
                                                                                       cumulative. [FRE 403].
*        PX 667                     2/10/15 Congressional         ATL005135-5183       No objection.          Deemed admitted.
                                    Research Service, The
                                    Palestinians: Background
                                    and U.S. Relations
*        PX 669                     Atlantic’s profit / paid      ATL005268      Irrelevant [FRE 401,        Relevant and
                                    claims figures in                            402]. Nothing               admissible to prove
                                    connection with the                          contained herein has        bad faith and
                                    Insured’s policies for the                   any relevance to the        damages.
                                    years 2010 through 2015.                     facts giving rise to
                                                                                 Plaintiffs’ claim, or to
                                                                                 any causes of action
                                                                                 that Plaintiffs assert.
                                                                                 More prejudicial than
                                                                                 probative, waste of
                                                                                 time, cumulative (FRE
                                                                                 403).
*        PX 671                     “Form policy” including       AONNBCU0004134 Irrelevant [FRE 401,        Relevant and
                                    prong 4 of war exclusion      -164           401, 402] Nothing           admissible to prove
                                                                                 contained in this           bad faith and
                                                                                 exhibit has any             damages.
                                                                                 relevance to the facts
                                                                                 giving rise to
                                                                                 Plaintiffs’ claim, or to
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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION               RESPONSE TO
                                                                                                                   OBJECTION
                                                                                      any causes of action
                                                                                      that Plaintiffs assert.
                                                                                      More prejudicial than
                                                                                      probative, waste of
                                                                                      time, cumulative (FRE
                                                                                      403).
*        PX 673                     11/15/13 email from W.       ATL000764-766        Irrelevant [FRE 401,       Relevant and
                                    Phillips to S. Weiss, A.                          401, 402] Discussions      admissible to prove
                                    Garber, and T. Peete, NBC                         contained in this          bad faith and
                                    2013 Renewal Quote as of                          exhibit address events     damages.
                                    11-13-2013                                        that occurred prior to
                                                                                      Plaintiffs’ claim and
                                                                                      ASIC’s handling
                                                                                      thereof. Nothing
                                                                                      contained herein has
                                                                                      any relevance to the
                                                                                      facts giving rise to
                                                                                      Plaintiffs’ claim, or to
                                                                                      any causes of action
                                                                                      that Plaintiffs assert.
                                                                                      More prejudicial than
                                                                                      probative, waste of
                                                                                      time, cumulative (FRE
                                                                                      403).


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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION               RESPONSE TO
                                                                                                                   OBJECTION
*        PX 674                     12/11/13 email from B.      ATL000405-406         Irrelevant [FRE 401,       Relevant and
                                    Milinovic to A. Garber, RE:                       401, 402] Discussions      admissible to prove
                                    “Dig” Season 1                                    contained in this          bad faith and
                                    Application/Declaration                           exhibit address events     damages.
                                                                                      that occurred prior to
                                                                                      Plaintiffs’ claim and
                                                                                      ASIC’s handling
                                                                                      thereof. Nothing
                                                                                      contained herein has
                                                                                      any relevance to the
                                                                                      facts giving rise to
                                                                                      Plaintiffs’ claim, or to
                                                                                      any causes of action
                                                                                      that Plaintiffs assert.
                                                                                      More prejudicial than
                                                                                      probative, waste of
                                                                                      time, cumulative (FRE
                                                                                      403).
*        PX 675                     1/13/14 email from B.       ATL000438             Irrelevant [FRE 401,       Relevant and
                                    Milinovic to A. Garber, RE:                       401, 402] Discussions      admissible to prove
                                    “Dig” S1 - 2014                                   contained in this          bad faith and
                                    Application/Declaration                           exhibit address events     damages.
                                                                                      that occurred prior to
                                                                                      Plaintiffs’ claim and
                                                                                      ASIC’s handling
                                                                                      thereof. Nothing
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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION            RESPONSE TO
                                                                                                                OBJECTION
                                                                                      contained herein has
                                                                                      any relevance to the
                                                                                      facts giving rise to
                                                                                      Plaintiffs’ claim, or to
                                                                                      any causes of action
                                                                                      that Plaintiffs assert.
                                                                                      More prejudicial than
                                                                                      probative, waste of
                                                                                      time, cumulative (FRE
                                                                                      403).
*        PX 676                     7/17/14 Event invitaiton    ATL001567             No Objection             Deemed admitted.
                                    organized by P. Johnson,
                                    “Canceled: War Exclusion -
                                    Israel/Hamas Conflict”
*        PX 677                     7/17/14 Event invitaiton    ATL001568             No Objection           Deemed admitted.
                                    organized by P. Johnson,
                                    “War Exclusion -
                                    Israel/Hamas Conflict”
*        PX 678                     Background & Overview of                          Hearsay [FRE 801],     Offered for a non-
                                    Hamas                                             irrelevant [FRE 401,   hearsay purpose;
                                    <http://www.jewishvirtualli                       402].                  relevant to prove
                                    brary.org/background-and-                                                bad faith and
                                    overview-of-hamas)>                                                      damages.



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*1      EXHIBIT NO. 2                     DESCRIPTION                     BATES NO.         OBJECTION            RESPONSE TO
                                                                                                                  OBJECTION
*        PX 679                     Designated Foreign                                  Hearsay [FRE 801],     Offered for a non-
                                    Terrorist Organizations                             irrelevant [FRE 401,   hearsay purpose;
                                    <http://www.state.gov/j/ct/rl                       402].                  relevant to prove
                                    s/other/des/123085.htm>                                                    bad faith and
                                                                                                               damages.
*        PX 680                     Australian National Security                        Hearsay [FRE 801],     Offered for a non-
                                    - Terrorist Organizations                           irrelevant [FRE 401,   hearsay purpose;
                                    <https://www.nationalsecuri                         402].                  relevant to prove
                                    ty.gov.au/Listedterroristorga                                              bad faith and
                                    nisations/Pages/HamassIzzal                                                damages.
                                    -Dinal-
                                    QassamBrigades.aspx>
*        PX 681                     https://www.publicsafety.gc.                        Hearsay [FRE 801],     Offered for a non-
                                    ca/cnt/ntnl-scrt/cntrtrrrsm/                        irrelevant [FRE 401,   hearsay purpose;
                                    lstd-ntts/crrnt-lstd-ntts-                          402].                  relevant to prove
                                    en.aspx                                                                    bad faith and
                                                                                                               damages.
*        PX 682                     http://eur-                                         Hearsay [FRE 801],     Offered for a non-
                                    lex.europa.eu/legalcontent/                         irrelevant [FRE 401,   hearsay purpose;
                                    EN/TXT/PDF/?uri=CELEX:                              402].                  relevant to prove
                                    32017D0154&from=EN                                                         bad faith and
                                                                                                               damages.
*        PX 683                     List of Terrorist                                   Hearsay [FRE 801],     Offered for a non-
                                    Organizations and                                   irrelevant [FRE 401,   hearsay purpose;
                                    Individuals (Israel)                                402].                  relevant to prove
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*1      EXHIBIT NO. 2                     DESCRIPTION                    BATES NO.         OBJECTION           RESPONSE TO
                                                                                                                OBJECTION
                                    <http://www.justice.gov.il/E                                              bad faith and
                                    n/Units/FBPS/DNFBPDutie                                                   damages.
                                    s/Pages/List-of-Terrorist-
                                    Organizations-and-
                                    Individuals.aspx>
*        PX 684                     Implementation of the                              Hearsay [FRE 801],     Offered for a non-
                                    Measures including the                             irrelevant [FRE 401,   hearsay purpose;
                                    Freezing of Assets against                         402].                  relevant to prove
                                    Terrorists and the Like                                                   bad faith and
                                    (Japan)                                                                   damages.
                                    <http://www.mofa.go.jp/ann
                                    ounce/announce/2002/7/070
                                    5.html>
*        PX 685                     Q&A: What is Hamas?                                Hearsay [FRE 801],     Offered for a non-
                                    <http://www.cnn.com/2012/                          irrelevant [FRE 401,   hearsay purpose;
                                    11/16/world/meast/hamas-                           402].                  relevant to prove
                                    explainer/>                                                               bad faith and
                                                                                                              damages.
*        PX 686                     The National                                       Hearsay [FRE 801],     Offered for a non-
                                    Counterterroism Center                             irrelevant [FRE 401,   hearsay purpose;
                                    <https://www.nctc.gov/site/                        402].                  relevant to prove
                                    groups/hamas.html>                                                        bad faith and
                                                                                                              damages.
*        PX 687                     7/16/14 email from P.          ATL001555           No Objection           Deemed admitted.
                                    Johnson to T. Gooley, Act
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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION           RESPONSE TO
                                                                                                               OBJECTION
                                    of War exclusion - Are you
                                    available for a short call?
*        PX 688                     Holiday Inns Inc. v. Aetna   ATL001636-686        No objection.          Deemed admitted.
                                    Insurance Company et al
*        PX 689                     No longer on website--U.S.                        Hearsay [FRE 801],     Offered for a non-
                                    Department of State, Daily                        irrelevant [FRE 401,   hearsay purpose;
                                    Press Briefing, Washington,                       402].                  relevant to prove
                                    DC, June 16, 2014                                                        bad faith and
                                    <http://www.state.gov/r/pa/p                                             damages.
                                    rs/dpb/2014/07/229360.htm
                                    >
*        PX 690                     The White House, Remarks                          Hearsay [FRE 801],     Offered for a non-
                                    by the President on Foreign                       irrelevant [FRE 401,   hearsay purpose;
                                    Policy, July 16, 2014                             402].                  relevant to prove
                                    <https://www.whitehouse.go                                               bad faith and
                                    v/the-press-                                                             damages.
                                    office/2014/07/16/remarkspr
                                    esident-
                                    foreign-policy link expired
                                    but available at
                                    https://www.politico.com/st
                                    ory/2014/07/obamas-
                                    foreign-policy-remarks-
                                    transcript-video-109014 >


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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION           RESPONSE TO
                                                                                                               OBJECTION
*        PX 691                     7/18/14 email to/from D.     ATL000294            No objection.          Deemed admitted.
                                    Gutterman
*        PX 692                     The Impact of 9/11 on                             Hearsay [FRE 801],     Offered for a non-
                                    Politics and War: The Day                         irrelevant [FRE 401,   hearsay purpose;
                                    that Changed Everything?                          402].                  relevant to prove
                                    Palgrave Macmillan. p. 222.                                              bad faith and
                                    ISBN 0-230-60763-2.                                                      damages.
                                    Carter, Shan; Cox, A. “One
                                    9/11 Tally: $3.3 Trillion.”
                                    Retrieved September 14,
                                    2015.
*        PX 693                     Wikipedia- Sponsors of                            Hearsay [FRE 801],     Offered for a non-
                                    Terrorism                                         irrelevant [FRE 401,   hearsay purpose;
                                    <https://en.wikipedia.org/wi                      402].                  relevant to prove
                                    ki/State_Sponsors_of_Terro                                               bad faith and
                                    rism>                                                                    damages.
*        PX 694                     Hamas: Government or                              Hearsay [FRE 801],     Offered for a non-
                                    Terrorist Organization                            irrelevant [FRE 401,   hearsay purpose;
                                    (NPR)                                             402].                  relevant to prove
                                    <http://www.npr.org/2006/1                                               bad faith and
                                    2/06/6583080/hamas-                                                      damages.
                                    government-or-
                                    terroristorganization>



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*1      EXHIBIT NO. 2                     DESCRIPTION                    BATES NO.         OBJECTION                RESPONSE TO
                                                                                                                     OBJECTION
*        PX 695                     Op-ed: Hamas has the blood                         Hearsay [FRE 801],         Offered for a non-
                                    of three young boys on its                         irrelevant [FRE 401,       hearsay purpose;
                                    hands, dated 7/5/14 (Ted                           402].                      relevant to prove
                                    Cruz)                                                                         bad faith and
                                    <https://www.cruz.senate.go                                                   damages.
                                    v/?p=press_release&id=186
                                    0>
*        PX 696                     Wikipedia- War as a                                Hearsay [FRE 801],         Offered for a non-
                                    metaphor                                           irrelevant [FRE 401,       hearsay purpose;
                                    <https://en.wikipedia.org/wi                       402].                      relevant to prove
                                    ki/War_as_metaphor>                                                           bad faith and
                                                                                                                  damages.
*        PX 697                     Television Insurance           ATL000437           Hearsay [FRE 801,          Admission by party
                                    Application                                        802]; Relevance            opponent; offered
                                                                                       (F.R.E. 401, 402) –        for a non-hearsay
                                                                                       Preliminary                purpose; business
                                                                                       discussions regarding      record; relevant and
                                                                                       potential production       admissible to prove
                                                                                       and underwriting has       bad faith and
                                                                                       no bearing on what         damages.
                                                                                       coverage was afforded
                                                                                       to Plaintiffs, or on how
                                                                                       ASIC handled
                                                                                       Plaintiffs’ claim at
                                                                                       issue in this case.

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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION             RESPONSE TO
                                                                                                                 OBJECTION
                                                                                      Nothing about
                                                                                      negotiation of
                                                                                      Plaintiffs’ policy has
                                                                                      any tendency to make
                                                                                      any fact at issue in this
                                                                                      case any more or less
                                                                                      probable. More
                                                                                      prejudicial than
                                                                                      probative; waste of
                                                                                      time; unnecessarily
                                                                                      cumulative. [FRE 403].
*        PX 698                     7/15/14 email from P.       ATL000518-523         No Objection.             Deemed admitted.
                                    Johnson to P. Williams, FW:
                                    NBCU’s “DIG” season 1 -
                                    Imminent Peril claim
                                    application
*        PX 699                     11/15/13 email from W.      ATL000749-751         Irrelevant [FRE 401,     Relevant and
                                    Philips to A. Garber, S.                          401, 402] Discussions    admissible to prove
                                    Weiss, and T. Peete, FW                           contained in this        bad faith and
                                    NBV 2013 Renewal Quote                            exhibit address events   damages.
                                    as of 11-13-2013                                  that occurred prior to
                                                                                      Plaintiffs’ claim and
                                                                                      ASIC’s handling
                                                                                      thereof. Nothing
                                                                                      contained herein has

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*1      EXHIBIT NO. 2                     DESCRIPTION                BATES NO.          OBJECTION             RESPONSE TO
                                                                                                               OBJECTION
                                                                              any relevance to the
                                                                              facts giving rise to
                                                                              Plaintiffs’ claim, or to
                                                                              any causes of action
                                                                              that Plaintiffs assert.
                                                                              More prejudicial than
                                                                              probative, waste of
                                                                              time, cumulative (FRE
                                                                              403).
*        PX 700                     12/10/13 email from R.     AONNBCU0001399 Hearsay (FRE 801,              Offered for a non-
                                    Richmond to A. Garber, K. -1401           802); Irrelevant [FRE          hearsay purpose;
                                    Ford, and C. Williams, RE:                401, 401] Discussions          business record;
                                    “Dig” - “cast” insurance                  contained in this              relevant and
                                    concerns                                  exhibit address events         admissible to prove
                                                                              that occurred prior to         bad faith and
                                                                              Plaintiffs’ claim and          damages.
                                                                              ASIC’s handling
                                                                              thereof. Nothing
                                                                              contained herein has
                                                                              any relevance to the
                                                                              facts giving rise to
                                                                              Plaintiffs’ claim, or to
                                                                              any causes of action
                                                                              that Plaintiffs assert.
                                                                              More prejudicial than
                                                                              probative, waste of
                                                               163
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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.         OBJECTION             RESPONSE TO
                                                                                                               OBJECTION
                                                                               time, cumulative (FRE
                                                                               403).
*        PX 701                     12/13/13 email from A.      AONNBCU0001516 Hearsay (FRE 801,             Offered for a non-
                                    Garber to R. Richmond, RE: -519            802); Irrelevant [FRE         hearsay purpose;
                                    “Dig” potential Morocco                    401, 402] Discussions         business record;
                                    shoot                                      contained in this             relevant and
                                                                               exhibit address events        admissible to prove
                                                                               that occurred prior to        bad faith and
                                                                               Plaintiffs’ claim and         damages.
                                                                               ASIC’s handling
                                                                               thereof. Nothing
                                                                               contained herein has
                                                                               any relevance to the
                                                                               facts giving rise to
                                                                               Plaintiffs’ claim, or to
                                                                               any causes of action
                                                                               that Plaintiffs assert.
                                                                               More prejudicial than
                                                                               probative, waste of
                                                                               time, cumulative (FRE
                                                                               403).
*        PX 702                     2/20/14 email from B.       ATL000402-403  Irrelevant [FRE 401,          Relevant and
                                    Milinovic to A. Garber, RE:                402] Discussions              admissible to prove
                                    “Dig” - Further production                 contained in this             bad faith and
                                    dates                                      exhibit address events        damages.

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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION            RESPONSE TO
                                                                                                                OBJECTION
                                                                                      that occurred prior to
                                                                                      Plaintiffs’ claim and
                                                                                      ASIC’s handling
                                                                                      thereof. Nothing
                                                                                      contained herein has
                                                                                      any relevance to the
                                                                                      facts giving rise to
                                                                                      Plaintiffs’ claim, or to
                                                                                      any causes of action
                                                                                      that Plaintiffs assert.
                                                                                      More prejudicial than
                                                                                      probative, waste of
                                                                                      time, cumulative (FRE
                                                                                      403).
*        PX 703                     7/15/14 email from P.    ATL000295-299            No Objection             Deemed admitted.
                                    Johnson to D. Gutterman,
                                    RE: NBCU’s “DIG” Season
                                    1 - Imminent Peril claim
                                    notification
*        PX 704                     7/15/14 email from D.    ATL000300-303            No Objection           Deemed admitted.
                                    Williams to D. Gutterman
                                    Re: NBCU’s “DIG” Season
                                    1 - Imminent Peril claim
                                    notification


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*1      EXHIBIT NO. 2                     DESCRIPTION                BATES NO.           OBJECTION            RESPONSE TO
                                                                                                               OBJECTION
*        PX 705                     7/15/14 Email from D.     ATL000325-328           No Objection           Deemed admitted.
                                    Gutterman to P. Johnson
                                    FW: NBCU’s “DIG” Season
                                    1 - Imminent Peril claim
                                    notification
*        PX 706                     7/15/14 email from M.     ATL000986-989           No Objection           Deemed admitted.
                                    Arevalo to S. Weiss FW:
                                    NBCU’s “DIG” Season 1 -
                                    Imminent Peril claim
                                    notification
*        PX 707                     7/16/14 email from P.     ATL000322               No Objection           Deemed admitted.
                                    Johnson to D. Gutterman,
                                    “Sources on Israel/Hamas
                                    conflict”
*        PX 708                     7/16/14 email from D.     ATL001111-115           No Objection           Deemed admitted.
                                    Williams to D. Gutterman
                                    RE: NBCU’s “DIG” Season
                                    1 - Imminent Peril claim
                                    notification
*        PX 709                     7/16/14 Email to/from D.  ATL001329-335           No Objection           Deemed admitted.
                                    Gutterman, FW: NBCU’s
                                    “DIG” Season 1 - Imminent
                                    Peril claim notification
*        PX 710                     7/16/14 Email to/from P.  ATL001529-530           No Objection           Deemed admitted.
                                    Johnson, Hamas
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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.          OBJECTION            RESPONSE TO
                                                                                                               OBJECTION
*        PX 711                     7/16/14 Invitation from D.  ATL001531             No Objection           Deemed admitted.
                                    Gutterman, NBC - DIG
                                    Claim
*        PX 712                     7/16/14 Invitation from S.  ATL001565             No Objection           Deemed admitted.
                                    Duffy, Accepted: War
                                    Exclusion - Israel/Hamas
                                    Conflict
*        PX 713                     7/17/14 email from S. Weiss ATL000310-311         No Objection           Deemed admitted.
                                    to D. Gutterman and P.
                                    Johnson, FW: Claim
                                    Acknowledgement for
                                    NBCU’s “DIG” Season 1 -
                                    Imminent Peril claim
                                    notification
*        PX 714                     7/17/14 Invitation from T.  ATL001566             No Objection           Deemed admitted.
                                    Gooley, “Declined: War
                                    Exclusion - Israel/Hamas
                                    conflict”
*        PX 715                     NBCU’s Insurance Policy     ATL001744-1798        No Objection           Deemed admitted.
*        PX 716                     7/18/14 email to/from D.    ATL000502             No Objection           Deemed admitted.
                                    Gutterman
*        PX 717                     7/20/14, MSNBC search:      ATL000312-319         No Objection           Deemed admitted.
                                    “gaza war”


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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.          OBJECTION            RESPONSE TO
                                                                                                               OBJECTION
*        PX 718                     7/21/14 Invitation from P.  ATL001808             No Objection           Deemed admitted.
                                    Johnson to T. Gooley, “Call
                                    to discuss War Exclusion”
*        PX 719                     7/23/14 email from D.       ATL001828             No Objection           Deemed admitted.
                                    Gutterman to P. Johnson,
                                    “Some interesting
                                    articles…”
*        PX 720                     7/25/14 email from P.       ATL000323-324         No Objection           Deemed admitted.
                                    Johnson to S. Weiss RE:
                                    0AB097918 NBCU “Dig”
*        PX 721                     7/25/14 email from S. Weiss ATL000398-399         No Objection           Deemed admitted.
                                    to P. Johnson RE:
                                    0AB097918 NBCU “Dig”
*        PX 722                     7/28/14 email from P.       ATL000384             No Objection           Deemed admitted.
                                    Johnson to S. Weiss and A.
                                    Garber, “DIG - coverage
                                    determination”
*        PX 723                     7/28/14 email from P.       ATL000503             No Objection           Deemed admitted.
                                    Johnson to S. Weiss and A.
                                    Garber, “NBC - DIG -
                                    coverage determination
                                    letter”
*        PX 724                     7/28/14 Email to/from P.    ATL001877             No Objection           Deemed admitted.
                                    Johnson, “DIG”

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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION            RESPONSE TO
                                                                                                                OBJECTION
*        PX 725                     7/29/14 email from P.        ATL001907            Hearsay [FRE 801],     Admission by party
                                    Johnson to T. Gooley,                             irrelevant [FRE 401,   opponent; offered
                                    “OBE- LLRT - July                                 402].                  for a non-hearsay
                                    2014.xlsm”                                                               purpose; business
                                                                                                             record; relevant and
                                                                                                             admissible to prove
                                                                                                             bad faith and
                                                                                                             damages.
*        PX 726                     OBE - LLRT - July            ATL001908-909        Hearsay [FRE 801],     Admission by party
                                    2014.xlsm                                         irrelevant [FRE 401,   opponent; offered
                                                                                      402].                  for a non-hearsay
                                                                                                             purpose; business
                                                                                                             record; relevant and
                                                                                                             admissible to prove
                                                                                                             bad faith and
                                                                                                             damages.
*        PX 727                     7/30/14 email from A.      ATL000512              Hearsay (FRE 801,      Admission by party
                                    Garber to P. Johnson, “NBC                        802), improper         opponent; offered
                                    - DIG - coverage                                  opinions (FRE 701,     for a non-hearsay
                                    determination letter”                             702), more prejudicial purpose; business
                                                                                      than probative,        record; Atlantic-
                                                                                      cumulative, and likely produced document
                                                                                      to confuse the jury    admissible to prove
                                                                                      (FRE 403), lack of     bad faith; relevant
                                                                                      foundation (FRE 901). and admissible to

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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION               RESPONSE TO
                                                                                                                    OBJECTION
                                                                                                                prove bad faith and
                                                                                                                damages; objection
                                                                                                                is premature;
                                                                                                                witness will
                                                                                                                authenticate; self-
                                                                                                                authenticating (FRE
                                                                                                                902).
*        PX 728                     7/30/14 email from P.        ATL001910            No Objection              Deemed admitted.
                                    Johnson to S. Weiss,
                                    “NBCU - DIG claim”
*        PX 729                     9/10/14 email from W.        ATL000267-268        Hearsay (FRE 801,         Admission by party
                                    Philips to D. Kizner, RE:                         802); Irrelevant [FRE     opponent; offered
                                    “DIG” - Season 1 -update                          401, 402], improper       for non-hearsay
                                    Croatia/Albuquerque                               parol or extrinsic        purpose; business
                                                                                      evidence [Estate of       record; relevant and
                                                                                      Black, 211 Cal. App.      admissible to prove
                                                                                      2d 75, 84 (Cal. Ct.       bad faith and
                                                                                      App. 1962)].              damages.
                                                                                      Discussions contained
                                                                                      in this exhibit address
                                                                                      events that occurred
                                                                                      after ASIC’s handling
                                                                                      of Plaintiffs’ claim.
                                                                                      Nothing contained
                                                                                      herein has any

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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION             RESPONSE TO
                                                                                                                 OBJECTION
                                                                                      relevance to the facts
                                                                                      giving rise to
                                                                                      Plaintiffs’ claim, or to
                                                                                      any causes of action
                                                                                      that Plaintiffs assert.
                                                                                      More prejudicial than
                                                                                      probative; waste of
                                                                                      time; unnecessarily
                                                                                      cumulative. [FRE 403].
*        PX 730                     9/10/14 email from B.      ATL000269-271          Hearsay (FRE 801,        Admission by party
                                    Milinovic to W. Phillips,                         802); Irrelevant [FRE opponent; offered
                                    FW: “DIG” - Season 1 -                            401, 402], improper      for non-hearsay
                                    update Croatia/Albuquerque                        parol or extrinsic       purpose; business
                                                                                      evidence [Estate of      record; relevant and
                                                                                      Black, 211 Cal. App.     admissible to prove
                                                                                      2d 75, 84 (Cal. Ct.      bad faith and
                                                                                      App. 1962)].             damages.
                                                                                      Discussions contained
                                                                                      in this exhibit address
                                                                                      events that occurred
                                                                                      after ASIC’s handling
                                                                                      of Plaintiffs’ claim.
                                                                                      Nothing contained
                                                                                      herein has any
                                                                                      relevance to the facts
                                                                                      giving rise to
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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION             RESPONSE TO
                                                                                                                 OBJECTION
                                                                                      Plaintiffs’ claim, or to
                                                                                      any causes of action
                                                                                      that Plaintiffs assert.
                                                                                      More prejudicial than
                                                                                      probative; waste of
                                                                                      time; unnecessarily
                                                                                      cumulative. [FRE 403].
*        PX 731                     9/12/14 email from B.      ATL000276-278          Hearsay (FRE 801,        Admission by party
                                    Milinovic to W. Phillips,                         802); Irrelevant [FRE opponent; offered
                                    FW: “DIG” - Season 1 -                            401, 402], improper      for non-hearsay
                                    update Croatia/Albuquerque                        parol or extrinsic       purpose; business
                                                                                      evidence [Estate of      record; relevant and
                                                                                      Black, 211 Cal. App.     admissible to prove
                                                                                      2d 75, 84 (Cal. Ct.      bad faith and
                                                                                      App. 1962)].             damages.
                                                                                      Discussions contained
                                                                                      in this exhibit address
                                                                                      events that occurred
                                                                                      after ASIC’s handling
                                                                                      of Plaintiffs’ claim.
                                                                                      Nothing contained
                                                                                      herein has any
                                                                                      relevance to the facts
                                                                                      giving rise to
                                                                                      Plaintiffs’ claim, or to
                                                                                      any causes of action
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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION             RESPONSE TO
                                                                                                                 OBJECTION
                                                                                      that Plaintiffs assert.
                                                                                      More prejudicial than
                                                                                      probative; waste of
                                                                                      time; unnecessarily
                                                                                      cumulative. [FRE 403].
*        PX 732                     9/15/14 email from P.        ATL002139-145        Hearsay (FRE 801,        Admission by party
                                    Johnson to S. Weiss, RE:                          802); Irrelevant [FRE opponent; offered
                                    DIG Extra Expense Claim                           401, 402], improper      for non-hearsay
                                                                                      parol or extrinsic       purpose; business
                                                                                      evidence [Estate of      record; relevant and
                                                                                      Black, 211 Cal. App.     admissible to prove
                                                                                      2d 75, 84 (Cal. Ct.      bad faith and
                                                                                      App. 1962)].             damages.
                                                                                      Discussions contained
                                                                                      in this exhibit address
                                                                                      events that occurred
                                                                                      after ASIC’s handling
                                                                                      of Plaintiffs’ claim.
                                                                                      Nothing contained
                                                                                      herein has any
                                                                                      relevance to the facts
                                                                                      giving rise to
                                                                                      Plaintiffs’ claim, or to
                                                                                      any causes of action
                                                                                      that Plaintiffs assert.
                                                                                      More prejudicial than
                                                                173
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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION             RESPONSE TO
                                                                                                                 OBJECTION
                                                                                      probative; waste of
                                                                                      time; unnecessarily
                                                                                      cumulative. [FRE 403].
*        PX 733                     10/10/14 email from B.       ATL000453-455        Hearsay (FRE 801,        Admission by party
                                    Milinovic to D. Kizner and                        802); Irrelevant [FRE opponent; offered
                                    W. Philips RE: DIG ‘state of                      401, 402], improper      for non-hearsay
                                    the union’ 9-19                                   parol or extrinsic       purpose; business
                                                                                      evidence [Estate of      record; relevant and
                                                                                      Black, 211 Cal. App.     admissible to prove
                                                                                      2d 75, 84 (Cal. Ct.      bad faith and
                                                                                      App. 1962)].             damages.
                                                                                      Discussions contained
                                                                                      in this exhibit address
                                                                                      events that occurred
                                                                                      after ASIC’s handling
                                                                                      of Plaintiffs’ claim.
                                                                                      Nothing contained
                                                                                      herein has any
                                                                                      relevance to the facts
                                                                                      giving rise to
                                                                                      Plaintiffs’ claim, or to
                                                                                      any causes of action
                                                                                      that Plaintiffs assert.
                                                                                      More prejudicial than
                                                                                      probative; waste of

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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION             RESPONSE TO
                                                                                                                 OBJECTION
                                                                                      time; unnecessarily
                                                                                      cumulative. [FRE 403].
*        PX 734                     11/6/14 email from J.        ATL000460            Hearsay (FRE 801,        Admission by party
                                    Morris to B. Milinovic RE:                        802); Irrelevant [FRE opponent; offered
                                    DIG state of the union 10-29                      401, 402], improper      for non-hearsay
                                    revised                                           parol or extrinsic       purpose; business
                                                                                      evidence [Estate of      record; relevant and
                                                                                      Black, 211 Cal. App.     admissible to prove
                                                                                      2d 75, 84 (Cal. Ct.      bad faith and
                                                                                      App. 1962)].             damages.
                                                                                      Discussions contained
                                                                                      in this exhibit address
                                                                                      events that occurred
                                                                                      after ASIC’s handling
                                                                                      of Plaintiffs’ claim.
                                                                                      Nothing contained
                                                                                      herein has any
                                                                                      relevance to the facts
                                                                                      giving rise to
                                                                                      Plaintiffs’ claim, or to
                                                                                      any causes of action
                                                                                      that Plaintiffs assert.
                                                                                      More prejudicial than
                                                                                      probative; waste of
                                                                                      time; unnecessarily
                                                                                      cumulative. [FRE 403].
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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.          OBJECTION             RESPONSE TO
                                                                                                                 OBJECTION
*        PX 735                     Television Insurance         ATL000293            Hearsay (FRE 801,       Admission by party
                                    Application                                       802); Irrelevant [FRE   opponent; offered
                                                                                      401, 402], improper     for non-hearsay
                                                                                      parol or extrinsic      purpose; business
                                                                                      evidence [Estate of     record; relevant and
                                                                                      Black, 211 Cal. App.    admissible to prove
                                                                                      2d 75, 84 (Cal. Ct.     bad faith and
                                                                                      App. 1962)].            damages.
                                                                                      Discussions contained
                                                                                      in this exhibit address
                                                                                      events that occurred
                                                                                      before ASIC’s
                                                                                      handling of Plaintiffs’
                                                                                      claim. Nothing
                                                                                      contained herein has
                                                                                      any relevance to the
                                                                                      facts giving rise to
                                                                                      Plaintiffs’ claim, or to
                                                                                      any causes of action
                                                                                      that Plaintiffs assert.
                                                                                      More prejudicial than
                                                                                      probative; waste of
                                                                                      time; unnecessarily
                                                                                      cumulative. [FRE 403].
*        PX 736                     12/20/13 email from A.       ATL000407-411        Hearsay (FRE 801,        Admission by party
                                    Garber to B. Milinovic RE:                        802); Irrelevant [FRE opponent; offered
                                                                 176
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*1      EXHIBIT NO. 2                     DESCRIPTION                   BATES NO.         OBJECTION                RESPONSE TO
                                                                                                                    OBJECTION
                                    “Dig” Season 1                                    401, 401, 402]             for non-hearsay
                                    Application/Declaration                           Discussions contained      purpose; business
                                                                                      in this exhibit address    record; relevant and
                                                                                      events that occurred       admissible to prove
                                                                                      prior to Plaintiffs’       bad faith and
                                                                                      claim and ASIC’s           damages.
                                                                                      handling thereof.
                                                                                      Nothing contained
                                                                                      herein has any
                                                                                      relevance to the facts
                                                                                      giving rise to
                                                                                      Plaintiffs’ claim, or to
                                                                                      any causes of action
                                                                                      that Plaintiffs assert.
                                                                                      More prejudicial than
                                                                                      probative, waste of
                                                                                      time, cumulative (FRE
                                                                                      403).
*        PX 774                     OneBeacon 2013 Form 10-                           Not Properly               Objection is
                                    K Statement                                       Authenticated [FRE         premature; witness
                                    <http://www.annualreports.c                       901], Hearsay [FRE         will authenticate;
                                    om/HostedData/AnnualRep                           801-802], Lack Of          document is self-
                                    ortArchive/o/NYSE_OB_20                           Personal Knowledge         authenticating (FRE
                                    13.pdf>                                           [FRE 602], Improper        902); offered for a
                                                                                      Summary Of                 non-hearsay
                                                                                      Voluminous Materials       purpose; business
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*1      EXHIBIT NO. 2                     DESCRIPTION                   BATES NO.         OBJECTION                RESPONSE TO
                                                                                                                    OBJECTION
                                                                                      [FRE 1006]; Irrelevant record; premature
                                                                                      [FRE 401, 402, 403].       objection, witness
                                                                                      Nothing about              will lay foundation;
                                                                                      OneBeacon’s financial document is not a
                                                                                      data or status has any summary created for
                                                                                      tendency to make any trial, it is a business
                                                                                      fact at issue in this case record; relevant and
                                                                                      more or less likely.       admissible to prove
                                                                                                                 bad faith and
                                                                                                                 damages.
*        PX 775                     OneBeacon 2014 Form 10-                           Not Properly               Objection is
                                    K Statement                                       Authenticated [FRE         premature; witness
                                    <http://www.annualreports.c                       901], Hearsay [FRE         will authenticate;
                                    om/HostedData/AnnualRep                           801-802], Lack Of          document is self-
                                    ortArchive/o/NYSE_OB_20                           Personal Knowledge         authenticating (FRE
                                    14.pdf>                                           [FRE 602], Improper        902); offered for a
                                                                                      Summary Of                 non-hearsay
                                                                                      Voluminous Materials purpose; business
                                                                                      [FRE 1006]; Irrelevant record; premature
                                                                                      [FRE 401, 402, 403].       objection, witness
                                                                                      Nothing about              will lay foundation;
                                                                                      OneBeacon’s financial document is not a
                                                                                      data or status has any summary created for
                                                                                      tendency to make any trial, it is a business
                                                                                      fact at issue in this case record; relevant and
                                                                                      more or less likely.       admissible to prove
                                                                  178
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*1      EXHIBIT NO. 2                     DESCRIPTION                   BATES NO.         OBJECTION                RESPONSE TO
                                                                                                                    OBJECTION
                                                                                                                 bad faith and
                                                                                                                 damages.
*        PX 776                     OneBeacon 2015 Form 10-                           Not Properly               Objection is
                                    K Statement                                       Authenticated [FRE         premature; witness
                                    <http://www.annualreports.c                       901], Hearsay [FRE         will authenticate;
                                    om/HostedData/AnnualRep                           801-802], Lack Of          document is self-
                                    ortArchive/o/NYSE_OB_20                           Personal Knowledge         authenticating (FRE
                                    15.pdf>                                           [FRE 602], Improper        902); offered for a
                                                                                      Summary Of                 non-hearsay
                                                                                      Voluminous Materials purpose; business
                                                                                      [FRE 1006]; Irrelevant record; premature
                                                                                      [FRE 401, 402, 403].       objection, witness
                                                                                      Nothing about              will lay foundation;
                                                                                      OneBeacon’s financial document is not a
                                                                                      data or status has any summary created for
                                                                                      tendency to make any trial, it is a business
                                                                                      fact at issue in this case record; relevant and
                                                                                      more or less likely.       admissible to prove
                                                                                                                 bad faith and
                                                                                                                 damages.
*        PX 777                     OneBeacon 2016 Form 10-                           Not Properly               Objection is
                                    K Statement                                       Authenticated [FRE         premature; witness
                                    <http://www.annualreports.c                       901], Hearsay [FRE         will authenticate;
                                    om/HostedData/AnnualRep                           801-802], Lack Of          document is self-
                                                                                      Personal Knowledge         authenticating (FRE

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*1      EXHIBIT NO. 2                     DESCRIPTION                BATES NO.           OBJECTION           RESPONSE TO
                                                                                                              OBJECTION
                                    orts/PDF/NYSE_OB_2016.                      [FRE 602], Improper        902); offered for a
                                    pdf>                                        Summary Of                 non-hearsay
                                                                                Voluminous Materials purpose; business
                                                                                [FRE 1006]; Irrelevant record; premature
                                                                                [FRE 401, 402, 403].       objection, witness
                                                                                Nothing about              will lay foundation;
                                                                                OneBeacon’s financial document is not a
                                                                                data or status has any summary created for
                                                                                tendency to make any trial, it is a business
                                                                                fact at issue in this case record; relevant and
                                                                                more or less likely.       admissible to prove
                                                                                                           bad faith and
                                                                                                           damages.
*        PX 778                     Receipts for expenses from UCP020063-032749 Not Properly               Objection is
                                    New Mexico and Croatia                      Authenticated [FRE         premature; witness
                                                                                901], Hearsay [FRE         will authenticate;
                                                                                801-802], Lack Of          document is self-
                                                                                Personal Knowledge         authenticating (FRE
                                                                                [FRE 602], Improper        902); offered for a
                                                                                Summary Of                 non-hearsay
                                                                                Voluminous Materials purpose; business
                                                                                [FRE 1006].                record; premature
                                                                                                           objection, witness
                                                                                                           will lay foundation;
                                                                                                           document is not a
                                                                                                           summary created for
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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION            RESPONSE TO
                                                                                                                  OBJECTION
                                                                                                              trial, it is a business
                                                                                                              record.
*        PX 779                     New Mexico Taxation &         UCP018019            Not Properly           Objection is
                                    Revenue Division audit                             Authenticated [FRE     premature; witness
                                    report                                             901], Hearsay [FRE     will authenticate;
                                                                                       801-802], Lack Of      document is self-
                                                                                       Personal Knowledge     authenticating (FRE
                                                                                       [FRE 602], Improper    902); offered for a
                                                                                       Summary Of             non-hearsay
                                                                                       Voluminous Materials   purpose; business
                                                                                       [FRE 1006].            record; premature
                                                                                                              objection, witness
                                                                                                              will lay foundation;
                                                                                                              document is not a
                                                                                                              summary created for
                                                                                                              trial, it is a business
                                                                                                              record..
*        PX 780                     8/14/14 Croatia invoice       UCP033019            Not Properly           Objection is
                                                                                       Authenticated [FRE     premature; witness
                                                                                       901], Hearsay [FRE     will authenticate;
                                                                                       801-802], Lack Of      document is self-
                                                                                       Personal Knowledge     authenticating (FRE
                                                                                       [FRE 602], Improper    902); offered for a
                                                                                       Summary Of             non-hearsay
                                                                                                              purpose; business

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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.          OBJECTION            RESPONSE TO
                                                                                                                 OBJECTION
                                                                                      Voluminous Materials   record; premature
                                                                                      [FRE 1006].            objection, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record.
*        PX 781                     Receipts for expenses from   UCP033020-3041       Not Properly           Objection is
                                    Croatia                                           Authenticated [FRE     premature; witness
                                                                                      901], Hearsay [FRE     will authenticate;
                                                                                      801-802], Lack Of      document is self-
                                                                                      Personal Knowledge     authenticating (FRE
                                                                                      [FRE 602], Improper    902); offered for a
                                                                                      Summary Of             non-hearsay
                                                                                      Voluminous Materials   purpose; business
                                                                                      [FRE 1006].            record; premature
                                                                                                             objection, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record.
*        PX 782                     9/15/14 Croatia Cost         UCP033601-3603       Not Properly           Objection is
                                    Breakdown                                         Authenticated [FRE     premature; witness
                                                                                      901], Hearsay [FRE     will authenticate;

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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION            RESPONSE TO
                                                                                                                 OBJECTION
                                                                                      801-802], Lack Of      document is self-
                                                                                      Personal Knowledge     authenticating (FRE
                                                                                      [FRE 602], Improper    902); offered for a
                                                                                      Summary Of             non-hearsay
                                                                                      Voluminous Materials   purpose; business
                                                                                      [FRE 1006].            record; premature
                                                                                                             objection, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record.
*        PX 783                     9/15/14 Receipts from        UCP033604-3668       Not Properly           Objection is
                                    Croatia                                           Authenticated [FRE     premature; witness
                                                                                      901], Hearsay [FRE     will authenticate;
                                                                                      801-802], Lack Of      document is self-
                                                                                      Personal Knowledge     authenticating (FRE
                                                                                      [FRE 602], Improper    902); offered for a
                                                                                      Summary Of             non-hearsay
                                                                                      Voluminous Materials   purpose; business
                                                                                      [FRE 1006].            record; premature
                                                                                                             objection, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for

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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.          OBJECTION            RESPONSE TO
                                                                                                                 OBJECTION
                                                                                                             trial, it is a business
                                                                                                             record.
*        PX 784                     Receipts for expenses from   UCP033669-3724       Not Properly           Objection is
                                    Croatia                                           Authenticated [FRE     premature; witness
                                                                                      901], Hearsay [FRE     will authenticate;
                                                                                      801-802], Lack Of      document is self-
                                                                                      Personal Knowledge     authenticating (FRE
                                                                                      [FRE 602], Improper    902); offered for a
                                                                                      Summary Of             non-hearsay
                                                                                      Voluminous Materials   purpose; business
                                                                                      [FRE 1006].            record; premature
                                                                                                             objection, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record.
*        PX 785                     9/15/14 Croatia Cost         UCP033725            Not Properly           Objection is
                                    Breakdown                                         Authenticated [FRE     premature; witness
                                                                                      901], Hearsay [FRE     will authenticate;
                                                                                      801-802], Lack Of      document is self-
                                                                                      Personal Knowledge     authenticating (FRE
                                                                                      [FRE 602], Improper    902); offered for a
                                                                                      Summary Of             non-hearsay
                                                                                                             purpose; business

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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.          OBJECTION            RESPONSE TO
                                                                                                                 OBJECTION
                                                                                      Voluminous Materials   record; premature
                                                                                      [FRE 1006].            objection, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record.
*        PX 786                     Receipts for expenses from   UCP033726-3750       Not Properly           Objection is
                                    Croatia                                           Authenticated [FRE     premature; witness
                                                                                      901], Hearsay [FRE     will authenticate;
                                                                                      801-802], Lack Of      document is self-
                                                                                      Personal Knowledge     authenticating (FRE
                                                                                      [FRE 602], Improper    902); offered for a
                                                                                      Summary Of             non-hearsay
                                                                                      Voluminous Materials   purpose; business
                                                                                      [FRE 1006].            record; premature
                                                                                                             objection, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record.
*        PX 787                     9/15/14 Croatia Cost         UCP033751            Not Properly           Objection is
                                    Breakdown                                         Authenticated [FRE     premature; witness
                                                                                      901], Hearsay [FRE     will authenticate;

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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.          OBJECTION            RESPONSE TO
                                                                                                                 OBJECTION
                                                                                      801-802], Lack Of      document is self-
                                                                                      Personal Knowledge     authenticating (FRE
                                                                                      [FRE 602], Improper    902); offered for a
                                                                                      Summary Of             non-hearsay
                                                                                      Voluminous Materials   purpose; business
                                                                                      [FRE 1006].            record; premature
                                                                                                             objection, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record.
*        PX 788                     Receipts for expenses from   UCP033752-3762       Not Properly           Objection is
                                    Croatia                                           Authenticated [FRE     premature; witness
                                                                                      901], Hearsay [FRE     will authenticate;
                                                                                      801-802], Lack Of      document is self-
                                                                                      Personal Knowledge     authenticating (FRE
                                                                                      [FRE 602], Improper    902); offered for a
                                                                                      Summary Of             non-hearsay
                                                                                      Voluminous Materials   purpose; business
                                                                                      [FRE 1006].            record; premature
                                                                                                             objection, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for

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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.          OBJECTION            RESPONSE TO
                                                                                                                 OBJECTION
                                                                                                             trial, it is a business
                                                                                                             record.
*        PX 789                     9/15/14 Croatia Cost         UCP033763            Not Properly           Objection is
                                    Breakdown                                         Authenticated [FRE     premature; witness
                                                                                      901], Hearsay [FRE     will authenticate;
                                                                                      801-802], Lack Of      document is self-
                                                                                      Personal Knowledge     authenticating (FRE
                                                                                      [FRE 602], Improper    902); offered for a
                                                                                      Summary Of             non-hearsay
                                                                                      Voluminous Materials   purpose; business
                                                                                      [FRE 1006].            record; premature
                                                                                                             objection, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record.
*        PX 790                     Receipts for expenses from   UCP033764-3772       Not Properly           Objection is
                                    Croatia                                           Authenticated [FRE     premature; witness
                                                                                      901], Hearsay [FRE     will authenticate;
                                                                                      801-802], Lack Of      document is self-
                                                                                      Personal Knowledge     authenticating (FRE
                                                                                      [FRE 602], Improper    902); offered for a
                                                                                      Summary Of             non-hearsay
                                                                                                             purpose; business

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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION            RESPONSE TO
                                                                                                                 OBJECTION
                                                                                      Voluminous Materials   record; premature
                                                                                      [FRE 1006].            objection, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record.
*        PX 791                     9/15/14 Croatia Cost         UCP033773-3774       Improper summary of    Document is not a
                                    Breakdown                                         voluminous materials   summary created for
                                                                                      [FRE 1006].            trial, it is a business
                                                                                                             record.
*        PX 792                     9/15/14 receipts for         UCP033775-3827       Not Properly           Objection is
                                    expenses from Croatia                             Authenticated [FRE     premature; witness
                                                                                      901], Hearsay [FRE     will authenticate;
                                                                                      801-802], Lack Of      document is self-
                                                                                      Personal Knowledge     authenticating (FRE
                                                                                      [FRE 602], Improper    902); offered for a
                                                                                      Summary Of             non-hearsay
                                                                                      Voluminous Materials   purpose; business
                                                                                      [FRE 1006].            record; premature
                                                                                                             objection, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for


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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.          OBJECTION            RESPONSE TO
                                                                                                                 OBJECTION
                                                                                                             trial, it is a business
                                                                                                             record.
*        PX 793                     Receipts for expenses from   UCP033828-3885       Not Properly           Objection is
                                    Croatia                                           Authenticated [FRE     premature; witness
                                                                                      901], Hearsay [FRE     will authenticate;
                                                                                      801-802], Lack Of      document is self-
                                                                                      Personal Knowledge     authenticating (FRE
                                                                                      [FRE 602], Improper    902); offered for a
                                                                                      Summary Of             non-hearsay
                                                                                      Voluminous Materials   purpose; business
                                                                                      [FRE 1006].            record; premature
                                                                                                             objection, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record.
*        PX 794                     Receipt for expenses from    UCP033886            Not Properly           Objection is
                                    Croatia                                           Authenticated [FRE     premature; witness
                                                                                      901], Hearsay [FRE     will authenticate;
                                                                                      801-802], Lack Of      document is self-
                                                                                      Personal Knowledge     authenticating (FRE
                                                                                      [FRE 602], Improper    902); offered for a
                                                                                      Summary Of             non-hearsay
                                                                                                             purpose; business

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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION            RESPONSE TO
                                                                                                                  OBJECTION
                                                                                       Voluminous Materials   record; premature
                                                                                       [FRE 1006].            objection, witness
                                                                                                              will lay foundation;
                                                                                                              document is not a
                                                                                                              summary created for
                                                                                                              trial, it is a business
                                                                                                              record.
*        PX 795                     9/30/14 Croatia cost          UCP033887            Not Properly           Objection is
                                    breakdown                                          Authenticated [FRE     premature; witness
                                                                                       901], Hearsay [FRE     will authenticate;
                                                                                       801-802], Lack Of      document is self-
                                                                                       Personal Knowledge     authenticating (FRE
                                                                                       [FRE 602], Improper    902); offered for a
                                                                                       Summary Of             non-hearsay
                                                                                       Voluminous Materials   purpose; business
                                                                                       [FRE 1006].            record; premature
                                                                                                              objection, witness
                                                                                                              will lay foundation;
                                                                                                              document is not a
                                                                                                              summary created for
                                                                                                              trial, it is a business
                                                                                                              record.
*        PX 796                     9/30/14 receipts for          UCP033888-3890       Not Properly           Objection is
                                    expenses from Croatia                              Authenticated [FRE     premature; witness
                                                                                       901], Hearsay [FRE     will authenticate;

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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION            RESPONSE TO
                                                                                                                  OBJECTION
                                                                                       801-802], Lack Of      document is self-
                                                                                       Personal Knowledge     authenticating (FRE
                                                                                       [FRE 602], Improper    902); offered for a
                                                                                       Summary Of             non-hearsay
                                                                                       Voluminous Materials   purpose; business
                                                                                       [FRE 1006].            record; premature
                                                                                                              objection, witness
                                                                                                              will lay foundation;
                                                                                                              document is not a
                                                                                                              summary created for
                                                                                                              trial, it is a business
                                                                                                              record.
*        PX 797                     9/30/14 Croatia cost          UCP033891            Not Properly           Objection is
                                    breakdown                                          Authenticated [FRE     premature; witness
                                                                                       901], Hearsay [FRE     will authenticate;
                                                                                       801-802], Lack Of      document is self-
                                                                                       Personal Knowledge     authenticating (FRE
                                                                                       [FRE 602], Improper    902); offered for a
                                                                                       Summary Of             non-hearsay
                                                                                       Voluminous Materials   purpose; business
                                                                                       [FRE 1006].            record; premature
                                                                                                              objection, witness
                                                                                                              will lay foundation;
                                                                                                              document is not a
                                                                                                              summary created for

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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION            RESPONSE TO
                                                                                                                  OBJECTION
                                                                                                              trial, it is a business
                                                                                                              record.
*        PX 798                     9/17/14 Croatia cost          UCP033892-3894       Not Properly           Objection is
                                    breakdown                                          Authenticated [FRE     premature; witness
                                                                                       901], Hearsay [FRE     will authenticate;
                                                                                       801-802], Lack Of      document is self-
                                                                                       Personal Knowledge     authenticating (FRE
                                                                                       [FRE 602], Improper    902); offered for a
                                                                                       Summary Of             non-hearsay
                                                                                       Voluminous Materials   purpose; business
                                                                                       [FRE 1006].            record; premature
                                                                                                              objection, witness
                                                                                                              will lay foundation;
                                                                                                              document is not a
                                                                                                              summary created for
                                                                                                              trial, it is a business
                                                                                                              record.
*        PX 799                     9/30/14 Croatia receipts and UCP033896-3918        Not Properly           Objection is
                                    cost breakdown                                     Authenticated [FRE     premature; witness
                                                                                       901], Hearsay [FRE     will authenticate;
                                                                                       801-802], Lack Of      document is self-
                                                                                       Personal Knowledge     authenticating (FRE
                                                                                       [FRE 602], Improper    902); offered for a
                                                                                       Summary Of             non-hearsay
                                                                                                              purpose; business

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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.          OBJECTION            RESPONSE TO
                                                                                                                 OBJECTION
                                                                                      Voluminous Materials   record; premature
                                                                                      [FRE 1006].            objection, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record.
*        PX 800                     9/15/14 Croatia Cost         UCP033919            Improper summary of    Document is not a
                                    Breakdown                                         voluminous materials   summary created for
                                                                                      [FRE 1006].            trial, it is a business
                                                                                                             record.
*        PX 801                     Receipts for expenses from   UCP033920-3958       Not Properly           Objection is
                                    Croatia                                           Authenticated [FRE     premature; witness
                                                                                      901], Hearsay [FRE     will authenticate;
                                                                                      801-802], Lack Of      document is self-
                                                                                      Personal Knowledge     authenticating (FRE
                                                                                      [FRE 602], Improper    902); offered for a
                                                                                      Summary Of             non-hearsay
                                                                                      Voluminous Materials   purpose; business
                                                                                      [FRE 1006].            record; premature
                                                                                                             objection, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for


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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.          OBJECTION            RESPONSE TO
                                                                                                                 OBJECTION
                                                                                                             trial, it is a business
                                                                                                             record.
*        PX 802                     Receipts for expenses from   UCP033959-3998       Not Properly           Objection is
                                    Croatia                                           Authenticated [FRE     premature; witness
                                                                                      901], Hearsay [FRE     will authenticate;
                                                                                      801-802], Lack Of      document is self-
                                                                                      Personal Knowledge     authenticating (FRE
                                                                                      [FRE 602], Improper    902); offered for a
                                                                                      Summary Of             non-hearsay
                                                                                      Voluminous Materials   purpose; business
                                                                                      [FRE 1006].            record; premature
                                                                                                             objection, witness
                                                                                                             will lay foundation;
                                                                                                             document is not a
                                                                                                             summary created for
                                                                                                             trial, it is a business
                                                                                                             record.
*        PX 803                     10/15/14 receipts and        UCP034792-4850       Not Properly           Objection is
                                    expenses from Croatia                             Authenticated [FRE     premature; witness
                                                                                      901], Hearsay [FRE     will authenticate;
                                                                                      801-802], Lack Of      document is self-
                                                                                      Personal Knowledge     authenticating (FRE
                                                                                      [FRE 602], Improper    902); offered for a
                                                                                      Summary Of             non-hearsay
                                                                                                             purpose; business

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                                                              #:24461




*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION        RESPONSE TO
                                                                                                             OBJECTION
                                                                                Voluminous Materials record; premature
                                                                                [FRE 1006].              objection, witness
                                                                                                         will lay foundation;
                                                                                                         document is not a
                                                                                                         summary created for
                                                                                                         trial, it is a business
                                                                                                         record.
*        PX 804                     11/29/09 email from G.       AONNBCU0004275 Hearsay (FRE 801,        Offered for a non-
                                    Walden to M. Ridgers and     -4312          802); Irrelevant [401, hearsay purpose;
                                    W. Philipps, corrected nbc                  402], improper parol or business record;
                                    form                                        extrinsic evidence       relevant and
                                                                                [Estate of Black, 211    admissible to prove
                                                                                Cal. App. 2d 75, 84      bad faith and
                                                                                (Cal. Ct. App. 1962)], damages.
                                                                                not yet properly
                                                                                authenticated [FRE
                                                                                901]. Exhibit dates to
                                                                                far beyond when the
                                                                                Policy at issue placed,
                                                                                when Plaintiffs’ made
                                                                                their claim, or when
                                                                                ASIC adjusted and
                                                                                handled Plaintiffs’
                                                                                claim. Therefore, it has
                                                                                no tendency to make
                                                                                any fact re: Plaintiffs’
                                                                 195
                                                   REVISED JOINT EXHIBIT STIPULATION
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*1      EXHIBIT NO. 2                     DESCRIPTION                  BATES NO.           OBJECTION             RESPONSE TO
                                                                                                                  OBJECTION
                                                                                       causes of action any
                                                                                       more or less true. More
                                                                                       prejudicial than
                                                                                       probative, cumulative
                                                                                       (FRE 403)
*       PX 805                      01/22/2018 Susman Godfrey UCP037494-37513           Barred by the Court’s Produced at the
                                    Fee Agreement                                       11/30/2019 Order and earliest opportunity
                                                                                        untimely as not        given Susman
                                                                                        produced in discovery, Godfrey’s retention,
                                                                                        irrelevant [FRE 401,   appeal, and remand;
                                                                                        402], more prejudicial relevant and
                                                                                        than probative [FRE    admissible to prove
                                                                                        403], hearsay [FRE     damages and bad
                                                                                        801-802], lacks        faith; offered for a
                                                                                        foundation and not     non-hearsay
                                                                                        properly authenticated purpose; business
                                                                                        [FRE 901].             records; objection is
                                                                                                               premature, witness
                                                                                                               will authenticate;
                                                                                                               self-authentication
                                                                                                               (FRE 902).
*       PX 806                      MSK Invoices                  UCP036902-37493      Irrelevant [FRE 401,    Relevant and
                                                                                       402], more prejudicial
                                                                                       than probative [FRE     admissible to prove
                                                                                       403], hearsay [FRE      bad faith and
                                                                                       801-802], lacks         damages; offered
                                                                                       foundation and not
                                                                 196
                                                   REVISED JOINT EXHIBIT STIPULATION
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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION              RESPONSE TO
                                                                                                                  OBJECTION
                                                                                      properly authenticated   for a non-hearsay
                                                                                      [FRE 901], barred as
                                                                                      untimely produced.       purpose; business
                                                                                                               records; premature
                                                                                                               objection; witness
                                                                                                               will lay foundation;
                                                                                                               objection premature,
                                                                                                               witness will
                                                                                                               authenticate; self-
                                                                                                               authenticating (FRE
                                                                                                               902); produced at
                                                                                                               earliest opportunity
                                                                                                               given Susman
                                                                                                               Godfrey’s retention,
                                                                                                               appeal, and remand.
*       PX 807                      MSK Invoice Summary          UCP037514            Irrelevant [FRE 401,     Relevant and
                                    Chart                                             402], more prejudicial   admissible to prove
                                                                                      than probative [FRE      bad faith and
                                                                                      403], hearsay [FRE       damages; offered
                                                                                      801-802], lacks          for a non-hearsay
                                                                                      foundation and not       purpose; business
                                                                                      properly authenticated   records; premature
                                                                                      [FRE 901], improper      objection; witness
                                                                                      summary of               will lay foundation;
                                                                                      voluminous materials     objection premature,
                                                                                      [FRE 1006], barred as    witness will
                                                                                      untimely produced.       authenticate; self-
                                                                197
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*1      EXHIBIT NO. 2                     DESCRIPTION                BATES NO.          OBJECTION        RESPONSE TO
                                                                                                          OBJECTION
                                                                                                       authenticating (FRE
                                                                                                       902); proper
                                                                                                       summary under
                                                                                                       FRE 1006;
                                                                                                       Plaintiffs made
                                                                                                       summary and
                                                                                                       underlying
                                                                                                       documents available
                                                                                                       to Defendant at a
                                                                                                       reasonable time;
                                                                                                       produced at earliest
                                                                                                       opportunity given
                                                                                                       Susman Godfrey’s
                                                                                                       retention, appeal,
                                                                                                       and remand.
*       PX 808                      11/27/10 email from G.      AONNBCU0004201 Hearsay (FRE 801,       Offered for a non-
                                    Walden to M. Ridgers and    -4266          802); Irrelevant [401, hearsay purpose;
                                    W. Philips, Cc. G. Walden,                 402], improper parol or business record;
                                    L. Comerfield, S. Weiss, F.                extrinsic evidence      relevant and
                                    Milstein, and S. Carroll,                  [Estate of Black, 211   admissible to prove
                                    NBC Form.                                  Cal. App. 2d 75, 84     bad faith and
                                                                               (Cal. Ct. App. 1962)], damages.
                                                                               not yet properly
                                                                               authenticated [FRE
                                                                               901]. Exhibit dates to
                                                                               far beyond when the
                                                                198
                                                  REVISED JOINT EXHIBIT STIPULATION
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*1      EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION             RESPONSE TO
                                                                                                                 OBJECTION
                                                                                      Policy at issue placed,
                                                                                      when Plaintiffs’ made
                                                                                      their claim, or when
                                                                                      ASIC adjusted and
                                                                                      handled Plaintiffs’
                                                                                      claim. Therefore, it has
                                                                                      no tendency to make
                                                                                      any fact re: Plaintiffs’
                                                                                      causes of action any
                                                                                      more or less true. More
                                                                                      prejudicial than
                                                                                      probative, cumulative
                                                                                      (FRE 403)
*       PX 810                      12/17/09 email from A.     UCP032855-2887         Hearsay (FRE 801,        Offered for a non-
                                    Garber to K. Ford, FW: (No                        802); Irrelevant [401, hearsay purpose;
                                    subject).                                         402], improper parol or business record;
                                                                                      extrinsic evidence       relevant and
                                                                                      [Estate of Black, 211    admissible to prove
                                                                                      Cal. App. 2d 75, 84      bad faith and
                                                                                      (Cal. Ct. App. 1962)], damages.
                                                                                      not yet properly
                                                                                      authenticated [FRE
                                                                                      901]. Exhibit dates to
                                                                                      far beyond when the
                                                                                      Policy at issue placed,
                                                                                      when Plaintiffs’ made
                                                                199
                                                  REVISED JOINT EXHIBIT STIPULATION
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*1   EXHIBIT NO. 2                     DESCRIPTION                 BATES NO.           OBJECTION              RESPONSE TO
                                                                                                               OBJECTION
                                                                                   their claim, or when
                                                                                   ASIC adjusted and
                                                                                   handled Plaintiffs’
                                                                                   claim. Therefore, it has
                                                                                   no tendency to make
                                                                                   any fact re: Plaintiffs’
                                                                                   causes of action any
                                                                                   more or less true. More
                                                                                   prejudicial than
                                                                                   probative, cumulative
                                                                                   (FRE 403)




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                                                   #:24467



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                        14   Facsimile: (214) 420-5501
                        15   Attorneys for Defendant
                             Atlantic Specialty Insurance Company
                        16
                                                   UNITED STATES DISTRICT COURT
                        17
                                    CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                        18
                             UNIVERSAL CABLE                          Case No. 2:16-cv-04435-PA-MRW
                        19   PRODUCTIONS LLC, a Delaware
                             limited liability company, and
                        20   NORTHERN ENTERTAINMENT                   ATLANTIC SPECIALTY
                             PRODUCTIONS LLC, a Delaware              INSURANCE COMPANY’S TRIAL
                        21   limited liability company,               EXHIBIT LIST AS OF DECEMBER
                                                                      27, 2019
                        22                Plaintiffs,
                                   vs.
                        23
                             ATLANTIC SPECIALTY                       Pretrial Conference: January 17, 2020
                        24   INSURANCE COMPANY, a New                 Time: 1:30 p.m.
                             York insurance company,                  Place: Courtroom 9A
                        25                                            Judge: Honorable Percy Anderson
                                          Defendant.                  Trial: February 18, 2020
                        26
     Freeman Mathis
       & Gary, LLP
                        27
     Attorneys at Law
                        28
nknown document
name.                                    ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF DECEMBER 27, 2019
                        Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 202 of 1099 Page ID
Exhibit          Description                  Objection   #:24468                           Response to
No.                                                                                            Objection
DX 1    07/16/10 Email string between       Object To The Relevance Depending    Plaintiff has listed exhibit on its list
        Andrea Garber, Val Beckles          On Purpose For Which The Evidence    and, therefore, exhibit should be
        and Kurt Ford (Garber Depo Ex       Is Proffered At Trial (F.R.E. 401);  admitted as agreed. Should
        1) (AONNBCU0001064-1065)            Object On The Grounds That Probative Plaintiffs withdraw the exhibit,
                                            Value Is Substantially Outweighed By ASIC’s response is as follows:
                                            Risk Of Unfair Prejudice, Confusing
                                            The Issues, Misleading The Jury,     F.R.E. 401 – Objection is
                                            Undue Delay, Wasting Time, Or        conditional, and therefore not
                                            Needlessly Presenting Cumulative     binding as to general admissibility.
                                            Evidence, Depending On Purpose For   Objection also fails to state why or
                                            Which Evidence Is Proffered At Trial in what context exhibit is
                                            (F.R.E. 403).                        irrelevant. Furthermore, exhibit is
                                                                                 relevant to establish state of mind
                                                                                 of all parties involved at time of
                                                                                 claim (NBC, ASIC, Aon, etc.).


                                                                                     F.R.E. 403 – Objection is
                                                                                     conditional, and therefore not
                                                                                     binding as to general admissibility.
                                                                                     Objection also fails to state why
                                                                                     exhibit is unfairly prejudicial; or
                                                                                     why such alleged unfair prejudice
                                                                                     outweighs its probative value; or
                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
   Error! Unknown document                                           2
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
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                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.

DX 2      10/03/13 Email string between    Object to the relevance depending on      Plaintiff has listed exhibit on its list
          Susan Weiss and Andrea           purpose for which the evidence is         and, therefore, exhibit should be
          Garber, et al (Garber Depo Ex    proffered at trial (F.R.E. 401); Object   admitted as agreed. Should
          2) (AONNBCU0000229-0231)         on the grounds that probative value is    Plaintiffs withdraw the exhibit,
                                           substantially outweighed by risk of       ASIC’s response is as follows:
                                           unfair prejudice, confusing the issues,
                                           misleading the jury, undue delay,         F.R.E. 401 – Objection is
                                           wasting time, or needlessly presenting    conditional, and therefore not
                                           cumulative evidence, depending on         binding as to general admissibility.
                                           purpose for which evidence is             Objection also fails to state why or
                                           proffered at trial (F.R.E. 403).          in what context exhibit is
                                                                                     irrelevant. Furthermore, exhibit is
                                                                                     relevant to establish state of mind
                                                                                     of all parties involved at time of
                                                                                     claim (NBC, ASIC, Aon, etc.).


                                                                                     F.R.E. 403 – Objection is
                                                                                     conditional, and therefore not
                                                                                     binding as to general admissibility.
                                                                                     Objection also fails to state why
                                                                                     exhibit is unfairly prejudicial; or
  Error! Unknown document                                           3
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                         AS OF JANUARY 14, 2020
                       Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 204 of 1099 Page ID
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                                                                                     why such alleged unfair prejudice
                                                                                     outweighs its probative value; or
                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.

DX 3      11/26/13 Email from Susan        Object to the relevance depending on      Plaintiff has listed exhibit on its list
          Weiss to Kurt Ford, with         purpose for which the evidence is         and, therefore, exhibit should be
          attachment (Garber Depo Ex 3)    proffered at trial (F.R.E. 401); Object   admitted as agreed. Should
          (AONNBCU0000232-0240)            on the grounds that probative value is    Plaintiffs withdraw the exhibit,
                                           substantially outweighed by risk of       ASIC’s response is as follows:
                                           unfair prejudice, confusing the issues,
                                           misleading the jury, undue delay,         F.R.E. 401 – Objection is
                                           wasting time, or needlessly presenting    conditional, and therefore not
                                           cumulative evidence, depending on         binding as to general admissibility.
                                           purpose for which evidence is             Objection also fails to state why or
                                           proffered at trial (F.R.E. 403).          in what context exhibit is
                                                                                     irrelevant. Furthermore, exhibit is
                                                                                     relevant to establish state of mind

  Error! Unknown document                                           4
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                         AS OF JANUARY 14, 2020
                       Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 205 of 1099 Page ID
                                                         #:24471




                                                                                     of all parties involved at time of
                                                                                     claim (NBC, ASIC, Aon, etc.).


                                                                                     F.R.E. 403 – Objection is
                                                                                     conditional, and therefore not
                                                                                     binding as to general admissibility.
                                                                                     Objection also fails to state why
                                                                                     exhibit is unfairly prejudicial; or
                                                                                     why such alleged unfair prejudice
                                                                                     outweighs its probative value; or
                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.

DX 4      04/24/14 Email string between    Object to the relevance depending on      Plaintiff has listed exhibit on its list
          Andrea Garber, Toni Peete and    purpose for which the evidence is         and, therefore, exhibit should be
          Susan Weiss (Garber Depo Ex      proffered at trial (F.R.E. 401); Object   admitted as agreed. Should
          6) (AONNBCU0000787-0788)         on the grounds that probative value is    Plaintiffs withdraw the exhibit,
                                           substantially outweighed by risk of       ASIC’s response is as follows:
  Error! Unknown document                                            5
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                         AS OF JANUARY 14, 2020
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                                         unfair prejudice, confusing the issues,   Plaintiff has listed exhibit on its list
                                         misleading the jury, undue delay,         and, therefore, exhibit should be
                                         wasting time, or needlessly presenting    admitted as agreed. Should
                                         cumulative evidence, depending on         Plaintiffs withdraw the exhibit,
                                         purpose for which evidence is             ASIC’s response is as follows:
                                         proffered at trial (F.R.E. 403).          F.R.E. 401 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why or
                                                                                   in what context exhibit is
                                                                                   irrelevant. Furthermore, exhibit is
                                                                                   relevant to establish state of mind
                                                                                   of all parties involved at time of
                                                                                   claim (NBC, ASIC, Aon, etc.).


                                                                                   F.R.E. 403 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why
                                                                                   exhibit is unfairly prejudicial; or
                                                                                   why such alleged unfair prejudice
                                                                                   outweighs its probative value; or
                                                                                   why exhibit confuses the issue,
                                                                                   misleads the jury, wastes time, or
                                                                                   is cumulative. Furthermore, high
                                                                                   probative value re: state of mind of
Error! Unknown document                                           6
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
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                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.

DX 5      12/06/13 Email from Andrea       Object to the relevance depending on      Plaintiff has listed exhibit on its list
          Garber to Kurt Ford, Randi       purpose for which the evidence is         and, therefore, exhibit should be
          Richmond and Curt Williams       proffered at trial (F.R.E. 401); Object   admitted as agreed. Should
          (Garber Depo Ex 7)               on the grounds that probative value is    Plaintiffs withdraw the exhibit,
          (AONNBCU0001564-1565)            substantially outweighed by risk of       ASIC’s response is as follows:
                                           unfair prejudice, confusing the issues,   F.R.E. 401 – Objection is
                                           misleading the jury, undue delay,         conditional, and therefore not
                                           wasting time, or needlessly presenting    binding as to general admissibility.
                                           cumulative evidence, depending on         Objection also fails to state why or
                                           purpose for which evidence is             in what context exhibit is
                                           proffered at trial (F.R.E. 403).          irrelevant. Furthermore, exhibit is
                                                                                     relevant to establish state of mind
                                                                                     of all parties involved at time of
                                                                                     claim (NBC, ASIC, Aon, etc.).


                                                                                     F.R.E. 403 – Objection is
                                                                                     conditional, and therefore not
                                                                                     binding as to general admissibility.
                                                                                     Objection also fails to state why
  Error! Unknown document                                           7
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                         AS OF JANUARY 14, 2020
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                                                         #:24474




                                                                                     exhibit is unfairly prejudicial; or
                                                                                     why such alleged unfair prejudice
                                                                                     outweighs its probative value; or
                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.

DX 6      12/11/13 Email from Andrea       Object to the relevance depending on      Plaintiff has listed exhibit on its list
          Garber to Bernadetta Milinovic   purpose for which the evidence is         and, therefore, exhibit should be
          and Wanda Phillips (Garber       proffered at trial (F.R.E. 401); Object   admitted as agreed. Should
          Depo Ex 8)                       on the grounds that probative value is    Plaintiffs withdraw the exhibit,
          AONNBCU0001748-1750)             substantially outweighed by risk of       ASIC’s response is as follows:
                                           unfair prejudice, confusing the issues,   F.R.E. 401 – Objection is
                                           misleading the jury, undue delay,         conditional, and therefore not
                                           wasting time, or needlessly presenting    binding as to general admissibility.
                                           cumulative evidence, depending on         Objection also fails to state why or
                                           purpose for which evidence is             in what context exhibit is
                                           proffered at trial (F.R.E. 403).          irrelevant. Furthermore, exhibit is
                                                                                     relevant to establish state of mind

  Error! Unknown document                                           8
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     of all parties involved at time of
                                                                                     claim (NBC, ASIC, Aon, etc.).
                                                                                     F.R.E. 403 – Objection is
                                                                                     conditional, and therefore not
                                                                                     binding as to general admissibility.
                                                                                     Objection also fails to state why
                                                                                     exhibit is unfairly prejudicial; or
                                                                                     why such alleged unfair prejudice
                                                                                     outweighs its probative value; or
                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.

DX 7      12/11-12/13 Email string         If offered to prove the truth thereof,    Plaintiff has listed exhibit on its list
          between Bernadette Milinovic,    inadmissible hearsay and no exception     and, therefore, exhibit should be
          Andrea Garber and Wanda          is applicable (F.R.E. 801, 802); Object   admitted as agreed. Should
          confidential Phillips (Garber    to the relevance depending on purpose     Plaintiffs withdraw the exhibit,
          Depo Ex 9)                       for which the evidence is proffered at    ASIC’s response is as follows:
          (AONNBCU0001494-1497)            trial (F.R.E. 401); Object on the         F.R.E. 801/802 – (1) Plaintiff fails
                                           grounds that probative value is           to state what portion of exhibit is
  Error! Unknown document                                             9
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         substantially outweighed by risk of       hearsay; (2) statements not offered
                                         unfair prejudice, confusing the issues,   for the truth, but rather to show
                                         misleading the jury, undue delay,         information acted upon/state of
                                         wasting time, or needlessly presenting    mind of parties or individuals
                                         cumulative evidence, depending on         identified in exhibits; (3) several
                                         purpose for which evidence is             statements made by party-
                                         proffered at trial (F.R.E. 403).          opponent, NBC, and agents
                                                                                   affiliated with NBC and operating
                                                                                   within the scope of their agency
                                                                                   (e.g. Aon) and, therefore, are not
                                                                                   hearsay under F.R.E. 801; (4) all
                                                                                   communications of OneBeacon are
                                                                                   records made at or near to the time
                                                                                   of the events or conditions at issue
                                                                                   in this case by persons with
                                                                                   knowledge of those events or
                                                                                   conditions; these communications
                                                                                   are also made and kept in the
                                                                                   regular course of business and,
                                                                                   therefore, are an exception to
                                                                                   hearsay under F.R.E. 803(6).
                                                                                   F.R.E. 401 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why or
                                                                                   in what context exhibit is
                                                                                   irrelevant. Furthermore, exhibit is
Error! Unknown document                                           10
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       relevant to establish state of mind
                                                                                       of all parties involved at time of
                                                                                       claim (NBC, ASIC, Aon, etc.).


                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
                                                                                       Objection also fails to state why
                                                                                       exhibit is unfairly prejudicial; or
                                                                                       why such alleged unfair prejudice
                                                                                       outweighs its probative value; or
                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.

DX 8      12/12-13/13 Email string           Object to the relevance depending on      Plaintiff has listed exhibit on its list
          between Mark Binke and             purpose for which the evidence is         and, therefore, exhibit should be
          Andrea Garber, et al (Garber       proffered at trial (F.R.E. 401); Object   admitted as agreed. Should
                                             on the grounds that probative value is
  Error! Unknown document                                             11
  property name.                         ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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        Depo Ex 11)                      substantially outweighed by risk of       Plaintiffs withdraw the exhibit,
        (AONNBCU0001558-1561)            unfair prejudice, confusing the issues,   ASIC’s response is as follows:
                                         misleading the jury, undue delay,         F.R.E. 401 – Objection is
                                         wasting time, or needlessly presenting    conditional, and therefore not
                                         cumulative evidence, depending on         binding as to general admissibility.
                                         purpose for which evidence is             Objection also fails to state why or
                                         proffered at trial (F.R.E. 403).          in what context exhibit is
                                                                                   irrelevant. Furthermore, exhibit is
                                                                                   relevant to establish state of mind
                                                                                   of all parties involved at time of
                                                                                   claim (NBC, ASIC, Aon, etc.).


                                                                                   F.R.E. 403 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why
                                                                                   exhibit is unfairly prejudicial; or
                                                                                   why such alleged unfair prejudice
                                                                                   outweighs its probative value; or
                                                                                   why exhibit confuses the issue,
                                                                                   misleads the jury, wastes time, or
                                                                                   is cumulative. Furthermore, high
                                                                                   probative value re: state of mind of
                                                                                   all parties involved at the time of
                                                                                   the claim. Finally, jury is entitled
                                                                                   to know what information NBC,
Error! Unknown document                                           12
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.

DX 9      06/15-16/14 Email string         If offered to prove the truth thereof,    Plaintiff has listed exhibit on its list
          between Andrea Garber and        inadmissible hearsay and no exception     and, therefore, exhibit should be
          Susan Weiss, et al (Garber       is applicable (F.R.E. 801, 802); Object   admitted as agreed. Should
          Depo Ex 13)                      to the relevance depending on purpose     Plaintiffs withdraw the exhibit,
          (AONNBCU0000106-110)             for which the evidence is proffered at    ASIC’s response is as follows:
                                           trial (F.R.E. 401); Object on the         F.R.E. 801/802 – (1) Plaintiff fails
                                           grounds that probative value is           to state what portion of exhibit is
                                           substantially outweighed by risk of       hearsay; (2) statements not offered
                                           unfair prejudice, confusing the issues,   for the truth, but rather to show
                                           misleading the jury, undue delay,         information acted upon/state of
                                           wasting time, or needlessly presenting    mind of parties or individuals
                                           cumulative evidence, depending on         identified in exhibits; (3) several
                                           purpose for which evidence is             statements made by party-
                                           proffered at trial (F.R.E. 403).          opponent, NBC, and agents
                                                                                     affiliated with NBC and operating
                                                                                     within the scope of their agency
                                                                                     (e.g. Aon) and, therefore, are not
                                                                                     hearsay under F.R.E. 801; (4) all
                                                                                     communications of OneBeacon are
                                                                                     records made at or near to the time
                                                                                     of the events or conditions at issue
                                                                                     in this case by persons with
                                                                                     knowledge of those events or
  Error! Unknown document                                          13
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                conditions; these communications
                                                                                are also made and kept in the
                                                                                regular course of business and,
                                                                                therefore, are an exception to
                                                                                hearsay under F.R.E. 803(6).


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
Error! Unknown document                                         14
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.

DX 10     06/15-16/14 Email string           If offered to prove the truth thereof,    Plaintiff has listed exhibit on its list
          between Andrea Garber and          inadmissible hearsay and no exception     and, therefore, exhibit should be
          Curt Williams, et al (Garber       is applicable (F.R.E. 801, 802); Object   admitted as agreed. Should
          Depo Ex 14)                        to the relevance depending on purpose     Plaintiffs withdraw the exhibit,
          (AONNBCU0000102-105)               for which the evidence is proffered at    ASIC’s response is as follows:
                                             trial (F.R.E. 401); Object on the         F.R.E. 801/802 – (1) Plaintiff fails
                                             grounds that probative value is           to state what portion of exhibit is
                                             substantially outweighed by risk of       hearsay; (2) statements not offered
                                             unfair prejudice, confusing the issues,   for the truth, but rather to show
                                             misleading the jury, undue delay,         information acted upon/state of
                                             wasting time, or needlessly presenting    mind of parties or individuals
                                             cumulative evidence, depending on         identified in exhibits; (3) several
                                             purpose for which evidence is             statements made by party-
                                             proffered at trial (F.R.E. 403).          opponent, NBC, and agents
                                                                                       affiliated with NBC and operating
                                                                                       within the scope of their agency
                                                                                       (e.g. Aon) and, therefore, are not
                                                                                       hearsay under F.R.E. 801.

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  property name.                         ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time


Error! Unknown document                                         16
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.

DX 11     07/01/14 and 06/15-16/14         If offered to prove the truth thereof,    Plaintiff has listed exhibit on its list
          Email string between Susan       inadmissible hearsay and no exception     and, therefore, exhibit should be
          Weiss and Kurt Ford, et al       is applicable (F.R.E. 801, 802); Object   admitted as agreed. Should
          (Garber Depo Ex 15)              to the relevance depending on purpose     Plaintiffs withdraw the exhibit,
          (UCP000475-479)                  for which the evidence is proffered at    ASIC’s response is as follows:
                                           trial (F.R.E. 401); Object on the         F.R.E. 801/802 – (1) Plaintiff fails
                                           grounds that probative value is           to state what portion of exhibit is
                                           substantially outweighed by risk of       hearsay; (2) statements not offered
                                           unfair prejudice, confusing the issues,   for the truth, but rather to show
                                           misleading the jury, undue delay,         information acted upon/state of
                                           wasting time, or needlessly presenting    mind of parties or individuals
                                           cumulative evidence, depending on         identified in exhibits; (3) several
                                           purpose for which evidence is             statements made by party-
                                           proffered at trial (F.R.E. 403).          opponent, NBC, and agents
                                                                                     affiliated with NBC and operating
                                                                                     within the scope of their agency
                                                                                     (e.g. Aon) and, therefore, are not
                                                                                     hearsay under F.R.E. 801.
                                                                                     F.R.E. 401 – Objection is
                                                                                     conditional, and therefore not
                                                                                     binding as to general admissibility.
                                                                                     Objection also fails to state why or
                                                                                     in what context exhibit is
                                                                                     irrelevant. Furthermore, exhibit is
  Error! Unknown document                                          17
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     relevant to establish state of mind
                                                                                     of all parties involved at time of
                                                                                     claim (NBC, ASIC, Aon, etc.).


                                                                                     F.R.E. 403 – Objection is
                                                                                     conditional, and therefore not
                                                                                     binding as to general admissibility.
                                                                                     Objection also fails to state why
                                                                                     exhibit is unfairly prejudicial; or
                                                                                     why such alleged unfair prejudice
                                                                                     outweighs its probative value; or
                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.

DX 12     07/01/14 and 06/15-16/14         Object on the grounds that probative      Plaintiff has listed exhibit on its list
          Email string between Susan       value is substantially outweighed by      and, therefore, exhibit should be
          Weiss and Kurt Ford, et al       risk of unfair prejudice, confusing the   admitted as agreed. Should
                                           issues, misleading the jury, undue
  Error! Unknown document                                           18
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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          (Garber Depo Ex 16)               delay, wasting time, or needlessly        Plaintiffs withdraw the exhibit,
          (UCP000361-366)                   presenting cumulative evidence,           ASIC’s response is as follows:
                                            depending on purpose for which            F.R.E. 403 – Objection is
                                            evidence is proffered at trial (F.R.E.    conditional, and therefore not
                                            403).                                     binding as to general admissibility.
                                                                                      Objection also fails to state why
                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.

DX 13     07/01-02/14 and 06/15-16/14       If offered to prove the truth thereof,    Plaintiff has listed exhibit on its list
          Email string between Malika       inadmissible hearsay and no exception     and, therefore, exhibit should be
          Adams and Kurt Ford, et al        is applicable (F.R.E. 801, 802); Object   admitted as agreed. Should
          (Garber Depo Ex 17)               to the relevance depending on purpose     Plaintiffs withdraw the exhibit,
          (UCP000860-866)                   for which the evidence is proffered at    ASIC’s response is as follows:
                                            trial (F.R.E. 401); Object on the         F.R.E. 801/802 – (1) Plaintiff fails
                                            grounds that probative value is           to state what portion of exhibit is
  Error! Unknown document                                             19
  property name.                        ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         substantially outweighed by risk of       hearsay; (2) statements not offered
                                         unfair prejudice, confusing the issues,   for the truth, but rather to show
                                         misleading the jury, undue delay,         information acted upon/state of
                                         wasting time, or needlessly presenting    mind of parties or individuals
                                         cumulative evidence, depending on         identified in exhibits; (3) several
                                         purpose for which evidence is             statements made by party-
                                         proffered at trial (F.R.E. 403).          opponent, NBC, and agents
                                                                                   affiliated with NBC and operating
                                                                                   within the scope of their agency
                                                                                   (e.g. Aon) and, therefore, are not
                                                                                   hearsay under F.R.E. 801.
                                                                                   F.R.E. 401 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why or
                                                                                   in what context exhibit is
                                                                                   irrelevant. Furthermore, exhibit is
                                                                                   relevant to establish state of mind
                                                                                   of all parties involved at time of
                                                                                   claim (NBC, ASIC, Aon, etc.).


                                                                                   F.R.E. 403 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why
                                                                                   exhibit is unfairly prejudicial; or
Error! Unknown document                                           20
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.

DX 14     07/01-03/14 and 06/15-16/14       If offered to prove the truth thereof,    Plaintiff has listed exhibit on its list
          Email string between Malika       inadmissible hearsay and no exception     and, therefore, exhibit should be
          Adams and Kurt Ford, et al        is applicable (F.R.E. 801, 802); Object   admitted as agreed. Should
          (Garber Depo Ex 18)               to the relevance depending on purpose     Plaintiffs withdraw the exhibit,
          (UCP000870-877)                   for which the evidence is proffered at    ASIC’s response is as follows:
                                            trial (F.R.E. 401); Object on the         F.R.E. 801/802 – (1) Plaintiff fails
                                            grounds that probative value is           to state what portion of exhibit is
                                            substantially outweighed by risk of       hearsay; (2) statements not offered
                                            unfair prejudice, confusing the issues,   for the truth, but rather to show
                                            misleading the jury, undue delay,         information acted upon/state of
                                            wasting time, or needlessly presenting    mind of parties or individuals
                                            cumulative evidence, depending on         identified in exhibits; (3) several
                                            purpose for which evidence is             statements made by party-
                                            proffered at trial (F.R.E. 403).          opponent, NBC, and agents
  Error! Unknown document                                           21
  property name.                        ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                affiliated with NBC and operating
                                                                                within the scope of their agency
                                                                                (e.g. Aon) and, therefore, are not
                                                                                hearsay under F.R.E. 801.
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
Error! Unknown document                                         22
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.

DX 15     11/15/13 Email from Wanda         Object to the relevance depending on      Plaintiff has listed exhibit on its list
          Phillips to Susan Weiss, Andrea   purpose for which the evidence is         and, therefore, exhibit should be
          Garber and Toni Peete, with       proffered at trial (F.R.E. 401); Object   admitted as agreed. Should
          attachment (Garber Depo Ex        on the grounds that probative value is    Plaintiffs withdraw the exhibit,
          19) (AONNBCU0000341-351)          substantially outweighed by risk of       ASIC’s response is as follows:
                                            unfair prejudice, confusing the issues,   F.R.E. 401 – Objection is
                                            misleading the jury, undue delay,         conditional, and therefore not
                                            wasting time, or needlessly presenting    binding as to general admissibility.
                                            cumulative evidence, depending on         Objection also fails to state why or
                                            purpose for which evidence is             in what context exhibit is
                                            proffered at trial (F.R.E. 403).          irrelevant. Furthermore, exhibit is
                                                                                      relevant to establish state of mind
                                                                                      of all parties involved at time of
                                                                                      claim (NBC, ASIC, Aon, etc.).


                                                                                      F.R.E. 403 – Objection is
                                                                                      conditional, and therefore not
                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why
                                                                                      exhibit is unfairly prejudicial; or
  Error! Unknown document                                            23
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                         #:24490




                                                                                     why such alleged unfair prejudice
                                                                                     outweighs its probative value; or
                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.

DX 16     03/23/15 Email from Susan        Object to the relevance depending on      Plaintiff has listed exhibit on its list
          Weiss to Wendy Diaz (Garber      purpose for which the evidence is         and, therefore, exhibit should be
          Depo Ex 20) (ATL 000003-         proffered at trial (F.R.E. 401); Object   admitted as agreed. Should
          000004)                          on the grounds that probative value is    Plaintiffs withdraw the exhibit,
                                           substantially outweighed by risk of       ASIC’s response is as follows:
                                           unfair prejudice, confusing the issues,   F.R.E. 401 – Objection is
                                           misleading the jury, undue delay,         conditional, and therefore not
                                           wasting time, or needlessly presenting    binding as to general admissibility.
                                           cumulative evidence, depending on         Objection also fails to state why or
                                           purpose for which evidence is             in what context exhibit is
                                           proffered at trial (F.R.E. 403).          irrelevant. Furthermore, exhibit is
                                                                                     relevant to establish state of mind
                                                                                     of all parties involved at time of
                                                                                     claim (NBC, ASIC, Aon, etc.).
  Error! Unknown document                                           24
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     F.R.E. 403 – Objection is
                                                                                     conditional, and therefore not
                                                                                     binding as to general admissibility.
                                                                                     Objection also fails to state why
                                                                                     exhibit is unfairly prejudicial; or
                                                                                     why such alleged unfair prejudice
                                                                                     outweighs its probative value; or
                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.


DX 17     Chart: NBCUniversal Ground       Object to the relevance depending on      Plaintiff has listed exhibit on its list
          Up Scripted TV Losses –          purpose for which the evidence is         and, therefore, exhibit should be
          Actual Deductibles – March       proffered at trial (F.R.E. 401); Object   admitted as agreed. Should
          2015 (Garber Depo Ex 22)         on the grounds that probative value is    Plaintiffs withdraw the exhibit,
          (ATL 000011-000016)              substantially outweighed by risk of       ASIC’s response is as follows:
                                           unfair prejudice, confusing the issues,   F.R.E. 401 – Objection is
                                           misleading the jury, undue delay,         conditional, and therefore not
  Error! Unknown document                                           25
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         wasting time, or needlessly presenting   binding as to general admissibility.
                                         cumulative evidence, depending on        Objection also fails to state why or
                                         purpose for which evidence is            in what context exhibit is
                                         proffered at trial (F.R.E. 403).         irrelevant. Furthermore, exhibit is
                                                                                  relevant to establish state of mind
                                                                                  of all parties involved at time of
                                                                                  claim (NBC, ASIC, Aon, etc.).


                                                                                  F.R.E. 403 – Objection is
                                                                                  conditional, and therefore not
                                                                                  binding as to general admissibility.
                                                                                  Objection also fails to state why
                                                                                  exhibit is unfairly prejudicial; or
                                                                                  why such alleged unfair prejudice
                                                                                  outweighs its probative value; or
                                                                                  why exhibit confuses the issue,
                                                                                  misleads the jury, wastes time, or
                                                                                  is cumulative. Furthermore, high
                                                                                  probative value re: state of mind of
                                                                                  all parties involved at the time of
                                                                                  the claim. Finally, jury is entitled
                                                                                  to know what information NBC,
                                                                                  ASIC, and other parties had at time
                                                                                  of the facts giving rise to Plaintiffs’
                                                                                  claims.


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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 18     07/15/14 Max Security               If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
          Intelligence Email to Stephen       inadmissible hearsay and no exception      and, therefore, exhibit should be
          Smith (Garber Depo Ex 24)           is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
          (UCP002094-2098)                    evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                              as to the identity of the author or that   ASIC’s response is as follows:
                                              he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                              factual matter stated (F.R.E. 602).        to state what portion of exhibit is
                                                                                         hearsay; (2) statements not offered
                                                                                         for the truth, but rather to show
                                                                                         information acted upon/state of
                                                                                         mind of parties or individuals
                                                                                         identified in exhibits; (3) several
                                                                                         statements made by party-
                                                                                         opponent, NBC, and agents
                                                                                         affiliated with NBC and operating
                                                                                         within the scope of their agency
                                                                                         (e.g. Aon) and, therefore, are not
                                                                                         hearsay under F.R.E. 801.


                                                                                         F.R.E. 602 – Witnesses has
                                                                                         personal knowledge of what
                                                                                         information NBC received before,
                                                                                         during, and after the events giving
                                                                                         rise to the claim, including this
                                                                                         exhibit. Witness does not need
                                                                                         personally to have been in Israel in
  Error! Unknown document                                              27
  property name.                          ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     order to testify regarding what
                                                                                     information NBC received
                                                                                     regarding what was going on in
                                                                                     Israel.


DX 19     07/14/14 9:31 a.m. Email from    Object to the relevance depending on      Plaintiff has listed exhibit on its list
          Randi Richmond to Andrea         purpose for which the evidence is         and, therefore, exhibit should be
          Garber (Garber Depo Ex 27)       proffered at trial (F.R.E. 401); Object   admitted as agreed. Should
          (UCP000604)                      on the grounds that probative value is    Plaintiffs withdraw the exhibit,
                                           substantially outweighed by risk of       ASIC’s response is as follows:
                                           unfair prejudice, confusing the issues,
                                           misleading the jury, undue delay,         F.R.E. 401 – Objection is
                                           wasting time, or needlessly presenting    conditional, and therefore not
                                           cumulative evidence, depending on         binding as to general admissibility.
                                           purpose for which evidence is             Objection also fails to state why or
                                           proffered at trial (F.R.E. 403).          in what context exhibit is
                                                                                     irrelevant. Furthermore, exhibit is
                                                                                     relevant to establish state of mind
                                                                                     of all parties involved at time of
                                                                                     claim (NBC, ASIC, Aon, etc.).


                                                                                     F.R.E. 403 – Objection is
                                                                                     conditional, and therefore not
                                                                                     binding as to general admissibility.
                                                                                     Objection also fails to state why
  Error! Unknown document                                           28
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     exhibit is unfairly prejudicial; or
                                                                                     why such alleged unfair prejudice
                                                                                     outweighs its probative value; or
                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.


DX 20     07/14/14 9:41 a.m. Email from    Object to the relevance depending on      Plaintiff has listed exhibit on its list
          Andrea Garber to Randi           purpose for which the evidence is         and, therefore, exhibit should be
          Richmond (Garber Depo Ex 28)     proffered at trial (F.R.E. 401); Object   admitted as agreed. Should
          (UCP001793)                      on the grounds that probative value is    Plaintiffs withdraw the exhibit,
                                           substantially outweighed by risk of       ASIC’s response is as follows:
                                           unfair prejudice, confusing the issues,   F.R.E. 401 – Objection is
                                           misleading the jury, undue delay,         conditional, and therefore not
                                           wasting time, or needlessly presenting    binding as to general admissibility.
                                           cumulative evidence, depending on         Objection also fails to state why or
                                           purpose for which evidence is             in what context exhibit is
                                           proffered at trial (F.R.E. 403).          irrelevant. Furthermore, exhibit is
                                                                                     relevant to establish state of mind
  Error! Unknown document                                           29
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     of all parties involved at time of
                                                                                     claim (NBC, ASIC, Aon, etc.).


                                                                                     F.R.E. 403 – Objection is
                                                                                     conditional, and therefore not
                                                                                     binding as to general admissibility.
                                                                                     Objection also fails to state why
                                                                                     exhibit is unfairly prejudicial; or
                                                                                     why such alleged unfair prejudice
                                                                                     outweighs its probative value; or
                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.


DX 21     07/14/14 Email string between    Object to the relevance depending on      Plaintiff has listed exhibit on its list
          Mark Binke, Andrea Garber        purpose for which the evidence is         and, therefore, exhibit should be
          and Randi Richmond (Garber       proffered at trial (F.R.E. 401); Object   admitted as agreed. Should
          Depo Ex 29) (UCP000418)          on the grounds that probative value is    Plaintiffs withdraw the exhibit,
                                           substantially outweighed by risk of       ASIC’s response is as follows:
  Error! Unknown document                                             30
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         unfair prejudice, confusing the issues,   F.R.E. 401 – Objection is
                                         misleading the jury, undue delay,         conditional, and therefore not
                                         wasting time, or needlessly presenting    binding as to general admissibility.
                                         cumulative evidence, depending on         Objection also fails to state why or
                                         purpose for which evidence is             in what context exhibit is
                                         proffered at trial (F.R.E. 403)           irrelevant. Furthermore, exhibit is
                                                                                   relevant to establish state of mind
                                                                                   of all parties involved at time of
                                                                                   claim (NBC, ASIC, Aon, etc.).


                                                                                   F.R.E. 403 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why
                                                                                   exhibit is unfairly prejudicial; or
                                                                                   why such alleged unfair prejudice
                                                                                   outweighs its probative value; or
                                                                                   why exhibit confuses the issue,
                                                                                   misleads the jury, wastes time, or
                                                                                   is cumulative. Furthermore, high
                                                                                   probative value re: state of mind of
                                                                                   all parties involved at the time of
                                                                                   the claim. Finally, jury is entitled
                                                                                   to know what information NBC,
                                                                                   ASIC, and other parties had at time


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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.


DX 22     07/14/14 Email string between    Object to the relevance depending on      Plaintiff has listed exhibit on its list
          Andrea Garber, Mark Binke        purpose for which the evidence is         and, therefore, exhibit should be
          and Randi Richmond (Garber       proffered at trial (F.R.E. 401); Object   admitted as agreed. Should
          Depo Ex 30) (UCP000442-443)      on the grounds that probative value is    Plaintiffs withdraw the exhibit,
                                           substantially outweighed by risk of       ASIC’s response is as follows:
                                           unfair prejudice, confusing the issues,   Plaintiff has listed exhibit on its list
                                           misleading the jury, undue delay,         and, therefore, exhibit should be
                                           wasting time, or needlessly presenting    admitted as agreed. Should
                                           cumulative evidence, depending on         Plaintiffs withdraw the exhibit,
                                           purpose for which evidence is             ASIC’s response is as follows:
                                           proffered at trial (F.R.E. 403).          F.R.E. 401 – Objection is
                                                                                     conditional, and therefore not
                                                                                     binding as to general admissibility.
                                                                                     Objection also fails to state why or
                                                                                     in what context exhibit is
                                                                                     irrelevant. Furthermore, exhibit is
                                                                                     relevant to establish state of mind
                                                                                     of all parties involved at time of
                                                                                     claim (NBC, ASIC, Aon, etc.).


                                                                                     F.R.E. 403 – Objection is
                                                                                     conditional, and therefore not
                                                                                     binding as to general admissibility.
  Error! Unknown document                                           32
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     Objection also fails to state why
                                                                                     exhibit is unfairly prejudicial; or
                                                                                     why such alleged unfair prejudice
                                                                                     outweighs its probative value; or
                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.
DX 23     Chart: 2014 – 6/30/2015          Object to the relevance depending on      Plaintiff has listed exhibit on its list
          NBCU TV Claims – One             purpose for which the evidence is         and, therefore, exhibit should be
          Beacon – Last Updated            proffered at trial (F.R.E. 401); Object   admitted as agreed. Should
          12/29/16 (Garber Depo Ex 31)     on the grounds that probative value is    Plaintiffs withdraw the exhibit,
          (ATL004549)                      substantially outweighed by risk of       ASIC’s response is as follows:
                                           unfair prejudice, confusing the issues,   F.R.E. 401 – Objection is
                                           misleading the jury, undue delay,         conditional, and therefore not
                                           wasting time, or needlessly presenting    binding as to general admissibility.
                                           cumulative evidence, depending on         Objection also fails to state why or
                                           purpose for which evidence is             in what context exhibit is
                                           proffered at trial (F.R.E. 403).          irrelevant. Furthermore, exhibit is
                                                                                     relevant to establish state of mind
  Error! Unknown document                                           33
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      of all parties involved at time of
                                                                                      claim (NBC, ASIC, Aon, etc.).


                                                                                      F.R.E. 403 – Objection is
                                                                                      conditional, and therefore not
                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why
                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 24     07/28/14 Email from Pamela         If Offered To Prove The Truth Thereof,   Plaintiff has listed exhibit on its list
          Johnson to Susan Weiss and         Inadmissible Hearsay And No              and, therefore, exhibit should be
          Andrea Garber, with attached       Exception Is Applicable (F.R.E. 801,     admitted as agreed. Should
                                             802); Object To The Relevance            Plaintiffs withdraw the exhibit,
                                             Depending On Purpose For Which The       ASIC’s response is as follows:
  Error! Unknown document                                            34
  property name.                         ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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        letter (Garber Depo Ex 36)       Evidence Is Proffered At Trial (F.R.E.   F.R.E. 801/802 – (1) Plaintiff fails
        (UCP000374-382)                  401); Object On The Grounds That         to state what portion of exhibit is
                                         Probative Value Is Substantially         hearsay; (2) statements not offered
                                         Outweighed By Risk Of Unfair             for the truth, but rather to show
                                         Prejudice, Confusing The Issues,         information acted upon/state of
                                         Misleading The Jury, Undue Delay,        mind of parties or individuals
                                         Wasting Time, Or Needlessly              identified in exhibits; (3) several
                                         Presenting Cumulative Evidence,          statements made by party-
                                         Depending On Purpose For Which           opponent, NBC, and agents
                                         Evidence Is Proffered At Trial (F.R.E.   affiliated with NBC and operating
                                         403).                                    within the scope of their agency
                                                                                  (e.g. Aon) and, therefore, are not
                                                                                  hearsay under F.R.E. 801; (4) all
                                                                                  communications of OneBeacon are
                                                                                  records made at or near to the time
                                                                                  of the events or conditions at issue
                                                                                  in this case by persons with
                                                                                  knowledge of those events or
                                                                                  conditions; these communications
                                                                                  are also made and kept in the
                                                                                  regular course of business and,
                                                                                  therefore, are an exception to
                                                                                  hearsay under F.R.E. 803(6).
                                                                                  F.R.E. 401 – Objection is
                                                                                  conditional, and therefore not
                                                                                  binding as to general admissibility.
                                                                                  Objection also fails to state why or
Error! Unknown document                                          35
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                  in what context exhibit is
                                                                                  irrelevant. Furthermore, exhibit is
                                                                                  relevant to establish state of mind
                                                                                  of all parties involved at time of
                                                                                  claim (NBC, ASIC, Aon, etc.).


                                                                                  F.R.E. 403 – Objection is
                                                                                  conditional, and therefore not
                                                                                  binding as to general admissibility.
                                                                                  Objection also fails to state why
                                                                                  exhibit is unfairly prejudicial; or
                                                                                  why such alleged unfair prejudice
                                                                                  outweighs its probative value; or
                                                                                  why exhibit confuses the issue,
                                                                                  misleads the jury, wastes time, or
                                                                                  is cumulative. Furthermore, high
                                                                                  probative value re: state of mind of
                                                                                  all parties involved at the time of
                                                                                  the claim. Finally, jury is entitled
                                                                                  to know what information NBC,
                                                                                  ASIC, and other parties had at time
                                                                                  of the facts giving rise to Plaintiffs’
                                                                                  claims.


DX 25     07/28/14 Email from Pamela       Object To The Relevance Depending      Plaintiff has listed exhibit on its list
          Johnson to Susan Weiss and       On Purpose For Which The Evidence      and, therefore, exhibit should be
  Error! Unknown document                                        36
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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        Andrea Garber, with attached       Is Proffered At Trial (F.R.E. 401);    admitted as agreed. Should
        letter (Garber Depo Ex 37)         Object On The Grounds That Probative   Plaintiffs withdraw the exhibit,
        (AONNBCU0002769-2777)              Value Is Substantially Outweighed By   ASIC’s response is as follows:
                                           Risk Of Unfair Prejudice, Confusing    F.R.E. 401 – Objection is
                                           The Issues, Misleading The Jury,       conditional, and therefore not
                                           Undue Delay, Wasting Time, Or          binding as to general admissibility.
                                           Needlessly Presenting Cumulative       Objection also fails to state why or
                                           Evidence, Depending On Purpose For     in what context exhibit is
                                           Which Evidence Is Proffered At Trial   irrelevant. Furthermore, exhibit is
                                           (F.R.E. 403).                          relevant to establish state of mind
                                                                                  of all parties involved at time of
                                                                                  claim (NBC, ASIC, Aon, etc.).


                                                                                  F.R.E. 403 – Objection is
                                                                                  conditional, and therefore not
                                                                                  binding as to general admissibility.
                                                                                  Objection also fails to state why
                                                                                  exhibit is unfairly prejudicial; or
                                                                                  why such alleged unfair prejudice
                                                                                  outweighs its probative value; or
                                                                                  why exhibit confuses the issue,
                                                                                  misleads the jury, wastes time, or
                                                                                  is cumulative. Furthermore, high
                                                                                  probative value re: state of mind of
                                                                                  all parties involved at the time of
                                                                                  the claim. Finally, jury is entitled
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property name.                         ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                   to know what information NBC,
                                                                                   ASIC, and other parties had at time
                                                                                   of the facts giving rise to Plaintiffs’
                                                                                   claims.


DX 26     Motion Picture/Television        No Objection Other Than That This       Plaintiff has listed exhibit on its list
          Producers Portfolio              Exhibit Is Duplicative Of Plaintiffs’   and, therefore, exhibit should be
          Declarations, Policy Number      Exhibit (F.R.E. 403).                   admitted as agreed. Should
          MP00163-04, Period 01/01/14                                              Plaintiffs withdraw the exhibit,
          to 06/30/15 (Garber Depo Ex                                              ASIC’s response is as follows:
          38) (ATL001575-1629)                                                     Exhibit is not duplicative, or, if so,
          (referenced in Johnson’s                                                 Plaintiffs fail to identify what
          Deposition).                                                             document is duplicative. If
                                                                                   document is truly duplicative, but
                                                                                   there is no other objection, then
                                                                                   there is no merit-based objection to
                                                                                   this exhibit.


DX 27     10/26/09 and 11/24/09 Email      Object To The Relevance Depending       Plaintiff has listed exhibit on its list
          string between Susan Weiss and   On Purpose For Which The Evidence       and, therefore, exhibit should be
          Kurt Ford, with attachments      Is Proffered At Trial (F.R.E. 401);     admitted as agreed. Should
          (Garber Depo Ex 39)              Object On The Grounds That Probative    Plaintiffs withdraw the exhibit,
          (AONNBCU0000916-946)             Value Is Substantially Outweighed By    ASIC’s response is as follows:
                                           Risk Of Unfair Prejudice, Confusing     F.R.E. 401 – Objection is
                                           The Issues, Misleading The Jury,        conditional, and therefore not
  Error! Unknown document                                           38
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         Undue Delay, Wasting Time, Or          binding as to general admissibility.
                                         Needlessly Presenting Cumulative       Objection also fails to state why or
                                         Evidence, Depending On Purpose For     in what context exhibit is
                                         Which Evidence Is Proffered At Trial   irrelevant. Furthermore, exhibit is
                                         (F.R.E. 403).                          relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.


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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 28     07/17/14 Email string between    Object To The Relevance Depending      Plaintiff has listed exhibit on its list
          Susan Weiss and Andrea           On Purpose For Which The Evidence      and, therefore, exhibit should be
          Garber (Garber Depo Ex 40)       Is Proffered At Trial (F.R.E. 401);    admitted as agreed. Should
          (UCP000367-368)                  Object On The Grounds That Probative   Plaintiffs withdraw the exhibit,
                                           Value Is Substantially Outweighed By   ASIC’s response is as follows:
                                           Risk Of Unfair Prejudice, Confusing    F.R.E. 401 – Objection is
                                           The Issues, Misleading The Jury,       conditional, and therefore not
                                           Undue Delay, Wasting Time, Or          binding as to general admissibility.
                                           Needlessly Presenting Cumulative       Objection also fails to state why or
                                           Evidence, Depending On Purpose For     in what context exhibit is
                                           Which Evidence Is Proffered At Trial   irrelevant. Furthermore, exhibit is
                                           (F.R.E. 403).                          relevant to establish state of mind
                                                                                  of all parties involved at time of
                                                                                  claim (NBC, ASIC, Aon, etc.).


                                                                                  F.R.E. 403 – Objection is
                                                                                  conditional, and therefore not
                                                                                  binding as to general admissibility.
                                                                                  Objection also fails to state why
                                                                                  exhibit is unfairly prejudicial; or
                                                                                  why such alleged unfair prejudice
                                                                                  outweighs its probative value; or
                                                                                  why exhibit confuses the issue,
                                                                                  misleads the jury, wastes time, or
                                                                                  is cumulative. Furthermore, high
                                                                                  probative value re: state of mind of
  Error! Unknown document                                         40
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                  all parties involved at the time of
                                                                                  the claim. Finally, jury is entitled
                                                                                  to know what information NBC,
                                                                                  ASIC, and other parties had at time
                                                                                  of the facts giving rise to Plaintiffs’
                                                                                  claims.


DX 29     Motion Picture/Television        Object To The Relevance Depending      Plaintiff has listed exhibit on its list
          Producers Portfolio              On Purpose For Which The Evidence      and, therefore, exhibit should be
          Declarations for Period          Is Proffered At Trial (F.R.E. 401);    admitted as agreed. Should
          01/01/14 to 06/30/15 (Weiss      Object On The Grounds That Probative   Plaintiffs withdraw the exhibit,
          Depo Ex 20-A) (ATL 000021-       Value Is Substantially Outweighed By   ASIC’s response is as follows:
          75)                              Risk Of Unfair Prejudice, Confusing    F.R.E. 401 – Objection is
                                           The Issues, Misleading The Jury,       conditional, and therefore not
                                           Undue Delay, Wasting Time, Or          binding as to general admissibility.
                                           Needlessly Presenting Cumulative       Objection also fails to state why or
                                           Evidence, Depending On Purpose For     in what context exhibit is
                                           Which Evidence Is Proffered At Trial   irrelevant. Furthermore, exhibit is
                                           (F.R.E. 403).                          relevant to establish state of mind
                                                                                  of all parties involved at time of
                                                                                  claim (NBC, ASIC, Aon, etc.).


                                                                                  F.R.E. 403 – Objection is
                                                                                  conditional, and therefore not
                                                                                  binding as to general admissibility.
                                                                                  Objection also fails to state why
  Error! Unknown document                                         41
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                    exhibit is unfairly prejudicial; or
                                                                                    why such alleged unfair prejudice
                                                                                    outweighs its probative value; or
                                                                                    why exhibit confuses the issue,
                                                                                    misleads the jury, wastes time, or
                                                                                    is cumulative. Furthermore, high
                                                                                    probative value re: state of mind of
                                                                                    all parties involved at the time of
                                                                                    the claim. Finally, jury is entitled
                                                                                    to know what information NBC,
                                                                                    ASIC, and other parties had at time
                                                                                    of the facts giving rise to Plaintiffs’
                                                                                    claims.


DX 30     Email from Martin Ridgers to     Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
          George Walden and Susan          Which The Evidence Is Proffered At       and, therefore, exhibit should be
          Weiss (Weiss Depo Ex 42)         Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
          (AONNBCU0003965-3966)            Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
                                           Unfair Prejudice, Confusing The          ASIC’s response is as follows:
                                           Issues, Misleading The Jury, Undue       F.R.E. 801/802 – (1) Plaintiff fails
                                           Delay, Wasting Time, Or Needlessly       to state what portion of exhibit is
                                           Presenting Cumulative Evidence,          hearsay; (2) statements not offered
                                           Depending On Purpose For Which           for the truth, but rather to show
                                           Evidence Is Proffered At Trial (F.R.E.   information acted upon/state of
                                           403). If Offered To Prove The Truth      mind of parties or individuals
                                           Thereof, Inadmissible Hearsay And No     identified in exhibits; (3) several
  Error! Unknown document                                         42
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         Exception Is Applicable (F.R.E. 801,   statements made by party-
                                         802).                                  opponent, NBC, and agents
                                                                                affiliated with NBC and operating
                                                                                within the scope of their agency
                                                                                (e.g. Aon) and, therefore, are not
                                                                                hearsay under F.R.E. 801; (4) all
                                                                                communications of OneBeacon are
                                                                                records made at or near to the time
                                                                                of the events or conditions at issue
                                                                                in this case by persons with
                                                                                knowledge of those events or
                                                                                conditions; these communications
                                                                                are also made and kept in the
                                                                                regular course of business and,
                                                                                therefore, are an exception to
                                                                                hearsay under F.R.E. 803(6).
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     F.R.E. 403 – Objection is
                                                                                     conditional, and therefore not
                                                                                     binding as to general admissibility.
                                                                                     Objection also fails to state why
                                                                                     exhibit is unfairly prejudicial; or
                                                                                     why such alleged unfair prejudice
                                                                                     outweighs its probative value; or
                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.
DX 31     01/17/10 Email from Susan        If Offered To Prove The Truth Of Facts    Plaintiff has listed exhibit on its list
          Weiss to Wanda Phillips (Weiss   Stated Therein, Inadmissible Hearsay      and, therefore, exhibit should be
          Depo Ex 44)                      And No Exception Is Applicable            admitted as agreed. Should
          (AONNBCU0001048)                 (F.R.E. 801, 802); Improper Lay           Plaintiffs withdraw the exhibit,
                                           Opinion (F.R.E. 701); No Evidence         ASIC’s response is as follows:
                                           Sufficient To Support A Finding As To     F.R.E. 801/802 – (1) Plaintiff fails
                                           The Identity Of The Author Or That        to state what portion of exhibit is
                                           He/She Has Personal Knowledge Of          hearsay; (2) statements not offered
                                           The Factual Matter Stated (F.R.E. 602);   for the truth, but rather to show
  Error! Unknown document                                          44
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         Irrelevant (F.R.E. 401, 402); Any      information acted upon/state of
                                         Probative Value Is Substantially       mind of parties or individuals
                                         Outweighed By Risk Of Unfair           identified in exhibits; (3) several
                                         Prejudice, Confusing The Issues,       statements made by party-
                                         Misleading The Jury, Undue Delay,      opponent, NBC, and agents
                                         Wasting Time, Or Needlessly            affiliated with NBC and operating
                                         Presenting Cumulative Evidence         within the scope of their agency
                                         (F.R.E. 403).                          (e.g. Aon) and, therefore, are not
                                                                                hearsay under F.R.E. 801.
                                                                                F.R.E. 701 – Unclear what
                                                                                opinions are offered by any
                                                                                declarant in exhibit; all testimony
                                                                                rationally based on information
                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702.


                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
Error! Unknown document                                         45
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
Error! Unknown document                                         46
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 32     Motion Picture Television          Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
          Portfolio General Conditions       Which The Evidence Is Proffered At       and, therefore, exhibit should be
          (Weiss Depo Ex 47)                 Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
          (AONNBC&0004043-4050)              Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
                                             Unfair Prejudice, Confusing The          ASIC’s response is as follows:
                                             Issues, Misleading The Jury, Undue       F.R.E. 801/802 – (1) Plaintiff fails
                                             Delay, Wasting Time, Or Needlessly       to state what portion of exhibit is
                                             Presenting Cumulative Evidence,          hearsay; (2) statements not offered
                                             Depending On Purpose For Which           for the truth, but rather to show
                                             Evidence Is Proffered At Trial (F.R.E.   information acted upon/state of
                                             403). If Offered To Prove The Truth      mind of parties or individuals
                                             Thereof, Inadmissible Hearsay And No     identified in exhibits; (3) several
                                             Exception Is Applicable (F.R.E. 801,     statements made by party-
                                             802).                                    opponent, NBC, and agents
                                                                                      affiliated with NBC and operating
                                                                                      within the scope of their agency
                                                                                      (e.g. Aon) and, therefore, are not
                                                                                      hearsay under F.R.E. 801.

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  property name.                         ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time


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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                    of the facts giving rise to Plaintiffs’
                                                                                    claims.


DX 33     About Aon                        Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
          (http://www.aon.com/about-       Which The Evidence Is Proffered At       and, therefore, exhibit should be
          aon/about-aon.jsp) (Weiss        Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
          Depo Ex 48) (ATL005253-          Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
          5254)                            Unfair Prejudice, Confusing The          ASIC’s response is as follows:
                                           Issues, Misleading The Jury, Undue       F.R.E. 801/802 – (1) Plaintiff fails
                                           Delay, Wasting Time, Or Needlessly       to state what portion of exhibit is
                                           Presenting Cumulative Evidence,          hearsay; (2) statements not offered
                                           Depending On Purpose For Which           for the truth, but rather to show
                                           Evidence Is Proffered At Trial (F.R.E.   information acted upon/state of
                                           403).                                    mind of parties or individuals
                                                                                    identified in exhibits; (3) several
                                                                                    statements made by party-
                                                                                    opponent, NBC, and agents
                                                                                    affiliated with NBC and operating
                                                                                    within the scope of their agency
                                                                                    (e.g. Aon) and, therefore, are not
                                                                                    hearsay under F.R.E. 801.
                                                                                    F.R.E. 401 – Objection is
                                                                                    conditional, and therefore not
                                                                                    binding as to general admissibility.
                                                                                    Objection also fails to state why or
                                                                                    in what context exhibit is
  Error! Unknown document                                          49
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                  irrelevant. Furthermore, exhibit is
                                                                                  relevant to establish state of mind
                                                                                  of all parties involved at time of
                                                                                  claim (NBC, ASIC, Aon, etc.).


                                                                                  F.R.E. 403 – Objection is
                                                                                  conditional, and therefore not
                                                                                  binding as to general admissibility.
                                                                                  Objection also fails to state why
                                                                                  exhibit is unfairly prejudicial; or
                                                                                  why such alleged unfair prejudice
                                                                                  outweighs its probative value; or
                                                                                  why exhibit confuses the issue,
                                                                                  misleads the jury, wastes time, or
                                                                                  is cumulative. Furthermore, high
                                                                                  probative value re: state of mind of
                                                                                  all parties involved at the time of
                                                                                  the claim. Finally, jury is entitled
                                                                                  to know what information NBC,
                                                                                  ASIC, and other parties had at time
                                                                                  of the facts giving rise to Plaintiffs’
                                                                                  claims.


DX 34     06/07/14 Email string between    Object To The Relevance Depending      Plaintiff has listed exhibit on its list
          Susan Weiss and Andrea           On Purpose For Which The Evidence      and, therefore, exhibit should be
                                           Is Proffered At Trial (F.R.E. 401);    admitted as agreed. Should
  Error! Unknown document                                           50
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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        Garber (Weiss Depo Ex 53)        Object On The Grounds That Probative   Plaintiffs withdraw the exhibit,
        (AONNBCU0000188-189)             Value Is Substantially Outweighed By   ASIC’s response is as follows:
                                         Risk Of Unfair Prejudice, Confusing    F.R.E. 401 – Objection is
                                         The Issues, Misleading The Jury,       conditional, and therefore not
                                         Undue Delay, Wasting Time, Or          binding as to general admissibility.
                                         Needlessly Presenting Cumulative       Objection also fails to state why or
                                         Evidence, Depending On Purpose For     in what context exhibit is
                                         Which Evidence Is Proffered At Trial   irrelevant. Furthermore, exhibit is
                                         (F.R.E. 403).                          relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
Error! Unknown document                                         51
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                    ASIC, and other parties had at time
                                                                                    of the facts giving rise to Plaintiffs’
                                                                                    claims.


DX 35     06/07-26/14 Email string         Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
          between Randi Richmond and       Which The Evidence Is Proffered At       and, therefore, exhibit should be
          Susan Weiss, et al (Weiss Depo   Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
          Ex 54) (AONNBCU0000181-          Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
          185)                             Unfair Prejudice, Confusing The          ASIC’s response is as follows:
                                           Issues, Misleading The Jury, Undue       F.R.E. 401 – Objection is
                                           Delay, Wasting Time, Or Needlessly       conditional, and therefore not
                                           Presenting Cumulative Evidence,          binding as to general admissibility.
                                           Depending On Purpose For Which           Objection also fails to state why or
                                           Evidence Is Proffered At Trial (F.R.E.   in what context exhibit is
                                           403).                                    irrelevant. Furthermore, exhibit is
                                                                                    relevant to establish state of mind
                                                                                    of all parties involved at time of
                                                                                    claim (NBC, ASIC, Aon, etc.).


                                                                                    F.R.E. 403 – Objection is
                                                                                    conditional, and therefore not
                                                                                    binding as to general admissibility.
                                                                                    Objection also fails to state why
                                                                                    exhibit is unfairly prejudicial; or
                                                                                    why such alleged unfair prejudice
  Error! Unknown document                                          52
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 36     07/01/14 and 06/15-16/14           Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
          Email string between Susan         Which The Evidence Is Proffered At       and, therefore, exhibit should be
          Weiss, Kurt Ford and Andrea        Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
          Garber, et al (Weiss Depo Ex       Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
          55) (UCP000413-417)                Unfair Prejudice, Confusing The          ASIC’s response is as follows:
                                             Issues, Misleading The Jury, Undue       F.R.E. 801/802 – (1) Plaintiff fails
                                             Delay, Wasting Time, Or Needlessly       to state what portion of exhibit is
                                             Presenting Cumulative Evidence,          hearsay; (2) statements not offered
                                             Depending On Purpose For Which           for the truth, but rather to show
                                             Evidence Is Proffered At Trial (F.R.E.   information acted upon/state of
                                             403). If Offered To Prove The Truth      mind of parties or individuals
                                             Thereof, Inadmissible Hearsay And No     identified in exhibits; (3) several
                                             Exception Is Applicable (F.R.E. 801,     statements made by party-
                                             802).                                    opponent, NBC, and agents
  Error! Unknown document                                           53
  property name.                         ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                affiliated with NBC and operating
                                                                                within the scope of their agency
                                                                                (e.g. Aon) and, therefore, are not
                                                                                hearsay under F.R.E. 801; (4) all
                                                                                communications of OneBeacon are
                                                                                records made at or near to the time
                                                                                of the events or conditions at issue
                                                                                in this case by persons with
                                                                                knowledge of those events or
                                                                                conditions; these communications
                                                                                are also made and kept in the
                                                                                regular course of business and,
                                                                                therefore, are an exception to
                                                                                hearsay under F.R.E. 803(6).
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why
                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 37     07/01/14 and 06/15-16/14           Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
          Email string between Susan         Which The Evidence Is Proffered At       and, therefore, exhibit should be
          Weiss, Kurt Ford and Andrea        Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
          Garber, et al (Weiss Depo Ex       Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
          56) (UCP000344-349)                Unfair Prejudice, Confusing The          ASIC’s response is as follows:
                                             Issues, Misleading The Jury, Undue       F.R.E. 801/802 – (1) Plaintiff fails
                                             Delay, Wasting Time, Or Needlessly       to state what portion of exhibit is
                                             Presenting Cumulative Evidence,          hearsay; (2) statements not offered
                                             Depending On Purpose For Which           for the truth, but rather to show
                                             Evidence Is Proffered At Trial (F.R.E.   information acted upon/state of
  Error! Unknown document                                            55
  property name.                         ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         403). If Offered To Prove The Truth    mind of parties or individuals
                                         Thereof, Inadmissible Hearsay And No   identified in exhibits; (3) several
                                         Exception Is Applicable (F.R.E. 801,   statements made by party-
                                         802).                                  opponent, NBC, and agents
                                                                                affiliated with NBC and operating
                                                                                within the scope of their agency
                                                                                (e.g. Aon) and, therefore, are not
                                                                                hearsay under F.R.E. 801.
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
Error! Unknown document                                         56
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.


DX 38     07/14/14 Email between Susan     If Offered To Prove The Truth Of Facts    Plaintiff has listed exhibit on its list
          Weiss, Andrea Garber and         Stated Therein, Inadmissible Hearsay      and, therefore, exhibit should be
          Deborah Kizner, with             And No Exception Is Applicable            admitted as agreed. Should
          attachment (Weiss Depo Ex 57)    (F.R.E. 801, 802); Improper Lay           Plaintiffs withdraw the exhibit,
          (AONNBCU0001874)                 Opinion (F.R.E. 701); No Evidence         ASIC’s response is as follows:
                                           Sufficient To Support A Finding As To     F.R.E. 801/802 – (1) Plaintiff fails
                                           The Identity Of The Author Or That        to state what portion of exhibit is
                                           He/She Has Personal Knowledge Of          hearsay; (2) statements not offered
                                           The Factual Matter Stated (F.R.E. 602);   for the truth, but rather to show
                                           Irrelevant (F.R.E. 401, 402); Any         information acted upon/state of
                                           Probative Value Is Substantially          mind of parties or individuals
                                           Outweighed By Risk Of Unfair              identified in exhibits; (3) several
                                           Prejudice, Confusing The Issues,          statements made by party-
                                           Misleading The Jury, Undue Delay,         opponent, NBC, and agents
                                           Wasting Time, Or Needlessly               affiliated with NBC and operating
                                                                                     within the scope of their agency
  Error! Unknown document                                          57
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         Presenting Cumulative Evidence         (e.g. Aon) and, therefore, are not
                                         (F.R.E. 403).                          hearsay under F.R.E. 801.
                                                                                F.R.E. 701 – Unclear what
                                                                                opinions are offered by any
                                                                                declarant in exhibit; all testimony
                                                                                rationally based on information
                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702.


                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.



Error! Unknown document                                         58
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time


Error! Unknown document                                         59
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.


DX 39     07/14/14 Email string between    If Offered To Prove The Truth Of Facts    Plaintiff has listed exhibit on its list
          Susan Weiss, Andrea Garber       Stated Therein, Inadmissible Hearsay      and, therefore, exhibit should be
          and Deborah Kizner, with         And No Exception Is Applicable            admitted as agreed. Should
          attachment (Weiss Depo Ex 58)    (F.R.E. 801, 802); Improper Lay           Plaintiffs withdraw the exhibit,
          (AONNBCU0002087-2089)            Opinion (F.R.E. 701); No Evidence         ASIC’s response is as follows:
                                           Sufficient To Support A Finding As To     F.R.E. 801/802 – (1) Plaintiff fails
                                           The Identity Of The Author Or That        to state what portion of exhibit is
                                           He/She Has Personal Knowledge Of          hearsay; (2) statements not offered
                                           The Factual Matter Stated (F.R.E. 602);   for the truth, but rather to show
                                           Irrelevant (F.R.E. 401, 402); Any         information acted upon/state of
                                           Probative Value Is Substantially          mind of parties or individuals
                                           Outweighed By Risk Of Unfair              identified in exhibits; (3) several
                                           Prejudice, Confusing The Issues,          statements made by party-
                                           Misleading The Jury, Undue Delay,         opponent, NBC, and agents
                                           Wasting Time, Or Needlessly               affiliated with NBC and operating
                                           Presenting Cumulative Evidence            within the scope of their agency
                                           (F.R.E. 403).                             (e.g. Aon) and, therefore, are not
                                                                                     hearsay under F.R.E. 801.
                                                                                     F.R.E. 701 – Unclear what
                                                                                     opinions are offered by any
                                                                                     declarant in exhibit; all testimony
                                                                                     rationally based on information
                                                                                     received and acted upon; no
  Error! Unknown document                                          60
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702.


                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind


Error! Unknown document                                         61
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     of all parties involved at time of
                                                                                     claim (NBC, ASIC, Aon, etc.).


                                                                                     F.R.E. 403 – Objection is
                                                                                     conditional, and therefore not
                                                                                     binding as to general admissibility.
                                                                                     Objection also fails to state why
                                                                                     exhibit is unfairly prejudicial; or
                                                                                     why such alleged unfair prejudice
                                                                                     outweighs its probative value; or
                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.


DX 40     07/14/14 Email from Variety      If Offered To Prove The Truth Of Facts Plaintiff has listed exhibit on its list
          Daily Headlines to Susan         Stated Therein, Inadmissible Hearsay   and, therefore, exhibit should be
          Weiss, with attachment (Weiss    And No Exception Is Applicable         admitted as agreed. Should
                                           (F.R.E. 801, 802); Improper Lay
                                           Opinion (F.R.E. 701); No Evidence
  Error! Unknown document                                          62
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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        Depo Ex 59)                      Sufficient To Support A Finding As To     Plaintiffs withdraw the exhibit,
        (AONNBCU0003788-3789)            The Identity Of The Author Or That        ASIC’s response is as follows:
                                         He/She Has Personal Knowledge Of          F.R.E. 801/802 – (1) Plaintiff fails
                                         The Factual Matter Stated (F.R.E. 602);   to state what portion of exhibit is
                                         Irrelevant (F.R.E. 401, 402); Any         hearsay; (2) statements not offered
                                         Probative Value Is Substantially          for the truth, but rather to show
                                         Outweighed By Risk Of Unfair              information acted upon/state of
                                         Prejudice, Confusing The Issues,          mind of parties or individuals
                                         Misleading The Jury, Undue Delay,         identified in exhibits; (3) several
                                         Wasting Time, Or Needlessly               statements made by party-
                                         Presenting Cumulative Evidence            opponent, NBC, and agents
                                         (F.R.E. 403).                             affiliated with NBC and operating
                                                                                   within the scope of their agency
                                                                                   (e.g. Aon) and, therefore, are not
                                                                                   hearsay under F.R.E. 801.
                                                                                   F.R.E. 701 – Unclear what
                                                                                   opinions are offered by any
                                                                                   declarant in exhibit; all testimony
                                                                                   rationally based on information
                                                                                   received and acted upon; no
                                                                                   testimony based on scientific,
                                                                                   technical, or other specialized
                                                                                   knowledge within the scope of
                                                                                   F.R.E. 702.



Error! Unknown document                                          63
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
Error! Unknown document                                         64
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                    exhibit is unfairly prejudicial; or
                                                                                    why such alleged unfair prejudice
                                                                                    outweighs its probative value; or
                                                                                    why exhibit confuses the issue,
                                                                                    misleads the jury, wastes time, or
                                                                                    is cumulative. Furthermore, high
                                                                                    probative value re: state of mind of
                                                                                    all parties involved at the time of
                                                                                    the claim. Finally, jury is entitled
                                                                                    to know what information NBC,
                                                                                    ASIC, and other parties had at time
                                                                                    of the facts giving rise to Plaintiffs’
                                                                                    claims.


DX 41     07/14-15/14 Email string         Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
          between Michael Arevalo and      Which The Evidence Is Proffered At       and, therefore, exhibit should be
          Susan Weiss (Weiss Depo Ex       Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
          60) (AONNBCU0000128-130)         Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
                                           Unfair Prejudice, Confusing The          ASIC’s response is as follows:
                                           Issues, Misleading The Jury, Undue       F.R.E. 801/802 – (1) Plaintiff fails
                                           Delay, Wasting Time, Or Needlessly       to state what portion of exhibit is
                                           Presenting Cumulative Evidence,          hearsay; (2) statements not offered
                                           Depending On Purpose For Which           for the truth, but rather to show
                                           Evidence Is Proffered At Trial (F.R.E.   information acted upon/state of
                                           403). If Offered To Prove The Truth      mind of parties or individuals
                                           Thereof, Inadmissible Hearsay And No     identified in exhibits; (3) several
  Error! Unknown document                                         65
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         Exception Is Applicable (F.R.E. 801,   statements made by party-
                                         802).                                  opponent, NBC, and agents
                                                                                affiliated with NBC and operating
                                                                                within the scope of their agency
                                                                                (e.g. Aon) and, therefore, are not
                                                                                hearsay under F.R.E. 801; (4) all
                                                                                communications of OneBeacon are
                                                                                records made at or near to the time
                                                                                of the events or conditions at issue
                                                                                in this case by persons with
                                                                                knowledge of those events or
                                                                                conditions; these communications
                                                                                are also made and kept in the
                                                                                regular course of business and,
                                                                                therefore, are an exception to
                                                                                hearsay under F.R.E. 803(6).
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                    F.R.E. 403 – Objection is
                                                                                    conditional, and therefore not
                                                                                    binding as to general admissibility.
                                                                                    Objection also fails to state why
                                                                                    exhibit is unfairly prejudicial; or
                                                                                    why such alleged unfair prejudice
                                                                                    outweighs its probative value; or
                                                                                    why exhibit confuses the issue,
                                                                                    misleads the jury, wastes time, or
                                                                                    is cumulative. Furthermore, high
                                                                                    probative value re: state of mind of
                                                                                    all parties involved at the time of
                                                                                    the claim. Finally, jury is entitled
                                                                                    to know what information NBC,
                                                                                    ASIC, and other parties had at time
                                                                                    of the facts giving rise to Plaintiffs’
                                                                                    claims.


DX 42     07/14-15/14 Email string         Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
          between Andrea Garber and        Which The Evidence Is Proffered At       and, therefore, exhibit should be
          Susan Weiss (Weiss Depo Ex       Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
          61) (AONNBCU0003640-             Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
          3643)                            Unfair Prejudice, Confusing The          ASIC’s response is as follows:
                                           Issues, Misleading The Jury, Undue       F.R.E. 401 – Objection is
                                           Delay, Wasting Time, Or Needlessly       conditional, and therefore not
                                           Presenting Cumulative Evidence,          binding as to general admissibility.
  Error! Unknown document                                          67
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         Depending On Purpose For Which           Objection also fails to state why or
                                         Evidence Is Proffered At Trial (F.R.E.   in what context exhibit is
                                         403).                                    irrelevant. Furthermore, exhibit is
                                                                                  relevant to establish state of mind
                                                                                  of all parties involved at time of
                                                                                  claim (NBC, ASIC, Aon, etc.).


                                                                                  F.R.E. 403 – Objection is
                                                                                  conditional, and therefore not
                                                                                  binding as to general admissibility.
                                                                                  Objection also fails to state why
                                                                                  exhibit is unfairly prejudicial; or
                                                                                  why such alleged unfair prejudice
                                                                                  outweighs its probative value; or
                                                                                  why exhibit confuses the issue,
                                                                                  misleads the jury, wastes time, or
                                                                                  is cumulative. Furthermore, high
                                                                                  probative value re: state of mind of
                                                                                  all parties involved at the time of
                                                                                  the claim. Finally, jury is entitled
                                                                                  to know what information NBC,
                                                                                  ASIC, and other parties had at time
                                                                                  of the facts giving rise to Plaintiffs’
                                                                                  claims.



Error! Unknown document                                          68
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 43     07/16-17/14 Email string         Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
          between Susan Weiss and          Which The Evidence Is Proffered At       and, therefore, exhibit should be
          Danny Gutterman, et al (Weiss    Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
          Depo Ex 62) (UCP000854-855)      Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
                                           Unfair Prejudice, Confusing The          ASIC’s response is as follows:
                                           Issues, Misleading The Jury, Undue       F.R.E. 801/802 – (1) Plaintiff fails
                                           Delay, Wasting Time, Or Needlessly       to state what portion of exhibit is
                                           Presenting Cumulative Evidence,          hearsay; (2) statements not offered
                                           Depending On Purpose For Which           for the truth, but rather to show
                                           Evidence Is Proffered At Trial (F.R.E.   information acted upon/state of
                                           403). If Offered To Prove The Truth      mind of parties or individuals
                                           Thereof, Inadmissible Hearsay And No     identified in exhibits; (3) several
                                           Exception Is Applicable (F.R.E. 801,     statements made by party-
                                           802).                                    opponent, NBC, and agents
                                                                                    affiliated with NBC and operating
                                                                                    within the scope of their agency
                                                                                    (e.g. Aon) and, therefore, are not
                                                                                    hearsay under F.R.E. 801; (4) all
                                                                                    communications of OneBeacon are
                                                                                    records made at or near to the time
                                                                                    of the events or conditions at issue
                                                                                    in this case by persons with
                                                                                    knowledge of those events or
                                                                                    conditions; these communications
                                                                                    are also made and kept in the
                                                                                    regular course of business and,

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  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                therefore, are an exception to
                                                                                hearsay under F.R.E. 803(6).
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
Error! Unknown document                                         70
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 44     07/17/14 Max Security Email to   If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
          Stephen Smith (Atlantic/Smith    inadmissible hearsay and no exception      and, therefore, exhibit should be
          Depo Ex 102) (UCP018093-         is applicable (F.R.E. 801, 802); No        admitted as agreed. Should
          18097)                           evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                           as to the identity of the author or that   ASIC’s response is as follows:
                                           he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                           factual matter stated (F.R.E. 602);        to state what portion of exhibit is
                                           Irrelevant (F.R.E. 401, 402); Likely to    hearsay; (2) document is not
                                           mislead or confuse, waste time (F.R.E.     offered for the truth, but rather to
                                           403).                                      show information acted upon/state
                                                                                      of mind of NBC or AON at the
                                                                                      time; (3) document not offered for
                                                                                      the truth, but rather to show
                                                                                      information acted upon/state of
                                                                                      mind of other witnesses.


                                                                                      F.R.E. 602 – Witnesses has
                                                                                      personal knowledge of what
                                                                                      information NBC received before,
                                                                                      during, and after the events giving
                                                                                      rise to the claim, including this
  Error! Unknown document                                           71
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
Error! Unknown document                                         72
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 45     07/09/14 Travel Tracker          If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
          Proactive Email to Stephen       inadmissible hearsay and no exception      and, therefore, exhibit should be
          Smith (Atlantic/Smith Depo Ex    is applicable (F.R.E. 801, 802); No        admitted as agreed. Should
          103) (UCP002306-2307)            evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                           as to the identity of the author or that   ASIC’s response is as follows:
                                           he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                           factual matter stated (F.R.E. 602).        to state what portion of exhibit is
                                                                                      hearsay; (2) document is not
                                                                                      offered for the truth, but rather to
                                                                                      show information acted upon/state
                                                                                      of mind of NBC or AON at the
                                                                                      time; (3) document not offered for
                                                                                      the truth, but rather to show
                                                                                      information acted upon/state of
                                                                                      mind of other witnesses.


  Error! Unknown document                                           73
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      F.R.E. 602 – Witness has personal
                                                                                      knowledge of what information
                                                                                      NBC received before, during, and
                                                                                      after the events giving rise to the
                                                                                      claim, including this exhibit.
                                                                                      Witness does not need personally
                                                                                      to have been in Israel in order to
                                                                                      testify regarding what information
                                                                                      NBC received regarding what was
                                                                                      going on in Israel.
DX 46     Travel Tracker Proactive Email   If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
          to Stephen Smith                 inadmissible hearsay and no exception      and, therefore, exhibit should be
          (Atlantic/Smith Depo Ex 104)     is applicable (F.R.E. 801, 802); No        admitted as agreed. Should
          (UCP002606-2607)                 evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                           as to the identity of the author or that   ASIC’s response is as follows:
                                           he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                           factual matter stated (F.R.E. 602).        to state what portion of exhibit is
                                                                                      hearsay; (2) document is not
                                                                                      offered for the truth, but rather to
                                                                                      show information acted upon/state
                                                                                      of mind of NBC or AON at the
                                                                                      time; (3) document not offered for
                                                                                      the truth, but rather to show
                                                                                      information acted upon/state of
                                                                                      mind of other witnesses.

  Error! Unknown document                                           74
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      F.R.E. 602 – Witnesses has
                                                                                      personal knowledge of what
                                                                                      information NBC received before,
                                                                                      during, and after the events giving
                                                                                      rise to the claim, including this
                                                                                      exhibit. Witness does not need
                                                                                      personally to have been in Israel in
                                                                                      order to testify regarding what
                                                                                      information NBC received
                                                                                      regarding what was going on in
                                                                                      Israel.


DX 47     05/01/14 and 04/30/14 Email      Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
          string between Stephen Smith     which the evidence is proffered at trial   and, therefore, exhibit should be
          and Randi Richmond               (F.R.E. 401); Probative value is           admitted as agreed. Should
          (Atlantic/Smith Depo Ex 105)     substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
          (UCP003562-3564)                 confusing the issues, wasting time, or     ASIC’s response is as follows:
                                           needlessly presenting cumulative           F.R.E. 401 – Objection is
                                           evidence, depending on purpose for         conditional, and therefore not
                                           which evidence is proffered at trial       binding as to general admissibility.
                                           (F.R.E. 403).                              Objection also fails to state why or
                                                                                      in what context exhibit is
                                                                                      irrelevant. Furthermore, exhibit is
                                                                                      relevant to establish state of mind
  Error! Unknown document                                           75
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                         AS OF JANUARY 14, 2020
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                                                                                      of all parties involved at time of
                                                                                      claim (NBC, ASIC, Aon, etc.).


                                                                                      F.R.E. 403 – Objection is
                                                                                      conditional, and therefore not
                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why
                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 48     05/22/14 Email string between    Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
          Stephen Smith and Randi          which the evidence is proffered at trial   and, therefore, exhibit should be
          Richmond, with attachment        (F.R.E. 401); Probative value is           admitted as agreed. Should
                                           substantially outweighed by risk of
                                           confusing the issues, wasting time, or
  Error! Unknown document                                           76
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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        (Atlantic/Smith Depo Ex 106)     needlessly presenting cumulative       Plaintiffs withdraw the exhibit,
        (UCP001877-2887)                 evidence, depending on purpose for     ASIC’s response is as follows:
                                         which evidence is proffered at trial   F.R.E. 401 – Objection is
                                         (F.R.E. 403).                          conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
Error! Unknown document                                          77
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 49     06/14/14 Email string between    Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
          Randi Richmond, Stephen          which the evidence is proffered at trial   and, therefore, exhibit should be
          Smith and Jay Footlik            (F.R.E. 401); If offered to prove the      admitted as agreed. Should
          (Atlantic/Smith Depo Ex 107)     truth of facts stated therein,             Plaintiffs withdraw the exhibit,
          (UCP001873-1876)                 inadmissible hearsay and no exception      ASIC’s response is as follows:
                                           is applicable (F.R.E. 801, 802);           F.R.E. 801/802 – (1) Plaintiff fails
                                           Improper lay opinion (F.R.E. 701); No      to state what portion of exhibit is
                                           evidence sufficient to support a finding   hearsay; (2) statements not offered
                                           as to the identity of the author or that   for the truth, but rather to show
                                           he/she has personal knowledge of the       information acted upon/state of
                                           factual matter stated (F.R.E. 602); Any    mind of parties or individuals
                                           probative value is substantially           identified in exhibits; (3) several
                                           outweighed by risk of confusing the        statements made by party-
                                           issues, wasting time, or needlessly        opponent, NBC, and agents
                                           presenting cumulative evidence,            affiliated with NBC and operating
                                           depending on purpose for which             within the scope of their agency
                                           evidence is proffered at trial (F.R.E.     (e.g. Aon) and, therefore, are not
                                           403).                                      hearsay under F.R.E. 801.
                                                                                      F.R.E. 701 – Unclear what
                                                                                      opinions are offered by any
                                                                                      declarant in exhibit; all testimony
                                                                                      rationally based on information
  Error! Unknown document                                           78
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702.
                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).
Error! Unknown document                                         79
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                          F.R.E. 403 – Objection is
                                                                                          conditional, and therefore not
                                                                                          binding as to general admissibility.
                                                                                          Objection also fails to state why
                                                                                          exhibit is unfairly prejudicial; or
                                                                                          why such alleged unfair prejudice
                                                                                          outweighs its probative value; or
                                                                                          why exhibit confuses the issue,
                                                                                          misleads the jury, wastes time, or
                                                                                          is cumulative. Furthermore, high
                                                                                          probative value re: state of mind of
                                                                                          all parties involved at the time of
                                                                                          the claim. Finally, jury is entitled
                                                                                          to know what information NBC,
                                                                                          ASIC, and other parties had at time
                                                                                          of the facts giving rise to Plaintiffs’
                                                                                          claims.


DX 50     06/13/14 The Times of Israel       If offered to prove the truth of facts       Plaintiff has listed exhibit on its list
          article: PM to Kerry: Feared       stated therein, inadmissible hearsay and     and, therefore, exhibit should be
          abductions a result of Hamas       no exception is applicable (F.R.E. 801,      admitted as agreed. Should
          entry into government              802); Improper lay opinion (F.R.E.           Plaintiffs withdraw the exhibit,
          (Atlantic/Smith Dep Ex 108)        701); No evidence sufficient to support      ASIC’s response is as follows:
          (No Bates Stamp)                   a finding as to the identity of the author   F.R.E. 801/802 – (1) Plaintiff fails
                                             or that he/she has personal knowledge        to state what portion of exhibit is
  Error! Unknown document                                              80
  property name.                         ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         of the factual matter stated (F.R.E.      hearsay; (2) statements not offered
                                         602); Irrelevant (F.R.E. 401, 402); Any   for the truth, but rather to show
                                         probative value is substantially          information acted upon/state of
                                         outweighed by risk of unfair prejudice,   mind of parties or individuals
                                         confusing the issues, misleading the      identified in exhibits; (3) several
                                         jury, undue delay, wasting time, or       statements made by party-
                                         needlessly presenting cumulative          opponent, NBC, and agents
                                         evidence (F.R.E. 403).                    affiliated with NBC and operating
                                                                                   within the scope of their agency
                                                                                   (e.g. Aon) and, therefore, are not
                                                                                   hearsay under F.R.E. 801.
                                                                                   F.R.E. 701 – Unclear what
                                                                                   opinions are offered by any
                                                                                   declarant in exhibit; all testimony
                                                                                   rationally based on information
                                                                                   received and acted upon; no
                                                                                   testimony based on scientific,
                                                                                   technical, or other specialized
                                                                                   knowledge within the scope of
                                                                                   F.R.E. 702.


                                                                                   F.R.E. 602 – Witnesses has
                                                                                   personal knowledge of what
                                                                                   information NBC received before,
                                                                                   during, and after the events giving
                                                                                   rise to the claim, including this
Error! Unknown document                                          81
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
Error! Unknown document                                         82
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 51     06/15/14 Max Security            If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
          Intelligence Email to Stephen    inadmissible hearsay and no exception      and, therefore, exhibit should be
          Smith                            is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
          (Atlantic/Smith Depo Ex 111)     evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
          (UCP 002524 – 2529)              as to the identity of the author or that   ASIC’s response is as follows:
                                           he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                           factual matter stated (F.R.E. 602).        to state what portion of exhibit is
                                                                                      hearsay; (2) statements not offered
                                                                                      for the truth, but rather to show
                                                                                      information acted upon/state of
                                                                                      mind of parties or individuals
                                                                                      identified in exhibits; (3) several
                                                                                      statements made by party-
                                                                                      opponent, NBC, and agents
                                                                                      affiliated with NBC and operating
                                                                                      within the scope of their agency

  Error! Unknown document                                           83
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      (e.g. Aon) and, therefore, are not
                                                                                      hearsay under F.R.E. 801.
                                                                                      F.R.E. 602 – Witnesses has
                                                                                      personal knowledge of what
                                                                                      information NBC received before,
                                                                                      during, and after the events giving
                                                                                      rise to the claim, including this
                                                                                      exhibit. Witness does not need
                                                                                      personally to have been in Israel in
                                                                                      order to testify regarding what
                                                                                      information NBC received
                                                                                      regarding what was going on in
                                                                                      Israel.


DX 52     06/15/14 Email string between    Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
          Randi Richmond and Stephen       which the evidence is proffered at trial   and, therefore, exhibit should be
          Smith (Atlantic/Smith Depo Ex    (F.R.E. 401); Probative value is           admitted as agreed. Should
          112) (UCP 002160 – 2161)         substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                           confusing the issues, wasting time, or     ASIC’s response is as follows:
                                           needlessly presenting cumulative           F.R.E. 401 – Objection is
                                           evidence, depending on purpose for         conditional, and therefore not
                                           which evidence is proffered at trial       binding as to general admissibility.
                                           (F.R.E. 403).                              Objection also fails to state why or
                                                                                      in what context exhibit is
                                                                                      irrelevant. Furthermore, exhibit is
  Error! Unknown document                                           84
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      relevant to establish state of mind
                                                                                      of all parties involved at time of
                                                                                      claim (NBC, ASIC, Aon, etc.).


                                                                                      F.R.E. 403 – Objection is
                                                                                      conditional, and therefore not
                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why
                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 53     06/15/14 Email string between    Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
          Randi Richmond and Stephen       which the evidence is proffered at trial   and, therefore, exhibit should be
                                           (F.R.E. 401); Probative value is           admitted as agreed. Should
                                           substantially outweighed by risk of
  Error! Unknown document                                           85
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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        Smith (Atlantic/Smith Depo Ex    confusing the issues, wasting time, or   Plaintiffs withdraw the exhibit,
        113) (UCP001091-001092)          needlessly presenting cumulative         ASIC’s response is as follows:
                                         evidence, depending on purpose for       F.R.E. 401 – Objection is
                                         which evidence is proffered at trial     conditional, and therefore not
                                         (F.R.E. 403).                            binding as to general admissibility.
                                                                                  Objection also fails to state why or
                                                                                  in what context exhibit is
                                                                                  irrelevant. Furthermore, exhibit is
                                                                                  relevant to establish state of mind
                                                                                  of all parties involved at time of
                                                                                  claim (NBC, ASIC, Aon, etc.).


                                                                                  F.R.E. 403 – Objection is
                                                                                  conditional, and therefore not
                                                                                  binding as to general admissibility.
                                                                                  Objection also fails to state why
                                                                                  exhibit is unfairly prejudicial; or
                                                                                  why such alleged unfair prejudice
                                                                                  outweighs its probative value; or
                                                                                  why exhibit confuses the issue,
                                                                                  misleads the jury, wastes time, or
                                                                                  is cumulative. Furthermore, high
                                                                                  probative value re: state of mind of
                                                                                  all parties involved at the time of
                                                                                  the claim. Finally, jury is entitled
                                                                                  to know what information NBC,
Error! Unknown document                                           86
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 54     06/15/14 Email string between    If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
          Stephen Smith and Max            inadmissible hearsay and no exception      and, therefore, exhibit should be
          Security (Smith Depo Ex 114)     is applicable (F.R.E. 801, 802); No        admitted as agreed. Should
          (UCP002491-2495)                 evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                           as to the identity of the author or that   ASIC’s response is as follows:
                                           he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                           factual matter stated (F.R.E. 602).        to state what portion of exhibit is
                                                                                      hearsay; (2) statements not offered
                                                                                      for the truth, but rather to show
                                                                                      information acted upon/state of
                                                                                      mind of parties or individuals
                                                                                      identified in exhibits; (3) several
                                                                                      statements made by party-
                                                                                      opponent, NBC, and agents
                                                                                      affiliated with NBC and operating
                                                                                      within the scope of their agency
                                                                                      (e.g. Aon) and, therefore, are not
                                                                                      hearsay under F.R.E. 801.
                                                                                      F.R.E. 602 – Witnesses has
                                                                                      personal knowledge of what
                                                                                      information NBC received before,
                                                                                      during, and after the events giving
  Error! Unknown document                                           87
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                        rise to the claim, including this
                                                                                        exhibit. Witness does not need
                                                                                        personally to have been in Israel in
                                                                                        order to testify regarding what
                                                                                        information NBC received
                                                                                        regarding what was going on in
                                                                                        Israel.


DX 55     06/15/14 Email string between    If offered to prove the truth of facts       Plaintiff has listed exhibit on its list
          Stephen Smith and Randi          stated therein, inadmissible hearsay and     and, therefore, exhibit should be
          Richmond (Smith Depo Ex          no exception is applicable (F.R.E. 801,      admitted as agreed. Should
          115) (UCP000815-817)             802); Improper lay opinion (F.R.E.           Plaintiffs withdraw the exhibit,
                                           701); No evidence sufficient to support      ASIC’s response is as follows:
                                           a finding as to the identity of the author   F.R.E. 801/802 – (1) Plaintiff fails
                                           or that he/she has personal knowledge        to state what portion of exhibit is
                                           of the factual matter stated (F.R.E.         hearsay; (2) statements not offered
                                           602); Irrelevant (F.R.E. 401, 402); Any      for the truth, but rather to show
                                           probative value is substantially             information acted upon/state of
                                           outweighed by risk of unfair prejudice,      mind of parties or individuals
                                           confusing the issues, misleading the         identified in exhibits; (3) several
                                           jury, undue delay, wasting time, or          statements made by party-
                                           needlessly presenting cumulative             opponent, NBC, and agents
                                           evidence (F.R.E. 403).                       affiliated with NBC and operating
                                                                                        within the scope of their agency


  Error! Unknown document                                            88
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                (e.g. Aon) and, therefore, are not
                                                                                hearsay under F.R.E. 801.
                                                                                F.R.E. 701 – Unclear what
                                                                                opinions are offered by any
                                                                                declarant in exhibit; all testimony
                                                                                rationally based on information
                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702.


                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
Error! Unknown document                                         89
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.



Error! Unknown document                                         90
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 56     06/15-16/14 Email string         If offered to prove the truth of facts       Plaintiff has listed exhibit on its list
          between Stephen Smith and        stated therein, inadmissible hearsay and     and, therefore, exhibit should be
          Randi Richmond (Smith Depo       no exception is applicable (F.R.E. 801,      admitted as agreed. Should
          Ex 116)(UCP001165-1168)          802); Improper lay opinion (F.R.E.           Plaintiffs withdraw the exhibit,
                                           701); No evidence sufficient to support      ASIC’s response is as follows:
                                           a finding as to the identity of the author   F.R.E. 801/802 – (1) Plaintiff fails
                                           or that he/she has personal knowledge        to state what portion of exhibit is
                                           of the factual matter stated (F.R.E.         hearsay; (2) statements not offered
                                           602); Irrelevant (F.R.E. 401, 402); Any      for the truth, but rather to show
                                           probative value is substantially             information acted upon/state of
                                           outweighed by risk of unfair prejudice,      mind of parties or individuals
                                           confusing the issues, misleading the         identified in exhibits; (3) several
                                           jury, undue delay, wasting time, or          statements made by party-
                                           needlessly presenting cumulative             opponent, NBC, and agents
                                           evidence (F.R.E. 403).                       affiliated with NBC and operating
                                                                                        within the scope of their agency
                                                                                        (e.g. Aon) and, therefore, are not
                                                                                        hearsay under F.R.E. 801.
                                                                                        F.R.E. 602 – Witnesses has
                                                                                        personal knowledge of what
                                                                                        information NBC received before,
                                                                                        during, and after the events giving
                                                                                        rise to the claim, including this
                                                                                        exhibit. Witness does not need
                                                                                        personally to have been in Israel in
                                                                                        order to testify regarding what
  Error! Unknown document                                            91
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 701 – F.R.E. 701 – Unclear
                                                                                what opinions are offered by any
                                                                                declarant in exhibit or, if any,
                                                                                which opinions are objectionable;
                                                                                all testimony rationally based on
                                                                                information received and acted
                                                                                upon; no testimony based on
                                                                                scientific, technical, or other
                                                                                specialized knowledge within the
                                                                                scope of F.R.E. 702.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                         F.R.E. 403 – Objection is
                                                                                         conditional, and therefore not
                                                                                         binding as to general admissibility.
                                                                                         Objection also fails to state why
                                                                                         exhibit is unfairly prejudicial; or
                                                                                         why such alleged unfair prejudice
                                                                                         outweighs its probative value; or
                                                                                         why exhibit confuses the issue,
                                                                                         misleads the jury, wastes time, or
                                                                                         is cumulative. Furthermore, high
                                                                                         probative value re: state of mind of
                                                                                         all parties involved at the time of
                                                                                         the claim. Finally, jury is entitled
                                                                                         to know what information NBC,
                                                                                         ASIC, and other parties had at time
                                                                                         of the facts giving rise to Plaintiffs’
                                                                                         claims.


DX 57     06/06/14 Max Security               If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
          Intelligence Email to Stephen       inadmissible hearsay and no exception      and, therefore, exhibit should be
          Smith (Smith Depo Ex                is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
          117)(UCP002337-2340)                evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                              as to the identity of the author or that   ASIC’s response is as follows:
                                              he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                              factual matter stated (F.R.E. 602).        to state what portion of exhibit is
                                                                                         hearsay; (2) statements not offered
  Error! Unknown document                                              93
  property name.                          ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      for the truth, but rather to show
                                                                                      information acted upon/state of
                                                                                      mind of parties or individuals
                                                                                      identified in exhibits; (3) several
                                                                                      statements made by party-
                                                                                      opponent, NBC, and agents
                                                                                      affiliated with NBC and operating
                                                                                      within the scope of their agency
                                                                                      (e.g. Aon) and, therefore, are not
                                                                                      hearsay under F.R.E. 801.


                                                                                      F.R.E. 602 – Witnesses has
                                                                                      personal knowledge of what
                                                                                      information NBC received before,
                                                                                      during, and after the events giving
                                                                                      rise to the claim, including this
                                                                                      exhibit. Witness does not need
                                                                                      personally to have been in Israel in
                                                                                      order to testify regarding what
                                                                                      information NBC received
                                                                                      regarding what was going on in
                                                                                      Israel.
DX 58     06/16/14 Email string between    If offered to prove the truth of facts   Plaintiff has listed exhibit on its list
          Stephen Smith, Paige Potter,     stated therein, inadmissible hearsay and and, therefore, exhibit should be
          Whitney Hallock and Warren       no exception is applicable (F.R.E. 801, admitted as agreed. Should
                                           802); Improper lay opinion (F.R.E.
  Error! Unknown document                                            94
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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        Yass (Smith Depo Ex 118)         701); No evidence sufficient to support      Plaintiffs withdraw the exhibit,
        (UCP001155-1157)                 a finding as to the identity of the author   ASIC’s response is as follows:
                                         or that he/she has personal knowledge        F.R.E. 801/802 – (1) Plaintiff fails
                                         of the factual matter stated (F.R.E.         to state what portion of exhibit is
                                         602); Irrelevant (F.R.E. 401, 402); Any      hearsay; (2) statements not offered
                                         probative value is substantially             for the truth, but rather to show
                                         outweighed by risk of unfair prejudice,      information acted upon/state of
                                         confusing the issues, misleading the         mind of parties or individuals
                                         jury, undue delay, wasting time, or          identified in exhibits; (3) several
                                         needlessly presenting cumulative             statements made by party-
                                         evidence (F.R.E. 403).                       opponent, NBC, and agents
                                                                                      affiliated with NBC and operating
                                                                                      within the scope of their agency
                                                                                      (e.g. Aon) and, therefore, are not
                                                                                      hearsay under F.R.E. 801.
                                                                                      F.R.E. 701 – Unclear what
                                                                                      opinions are offered by any
                                                                                      declarant in exhibit; all testimony
                                                                                      rationally based on information
                                                                                      received and acted upon; no
                                                                                      testimony based on scientific,
                                                                                      technical, or other specialized
                                                                                      knowledge within the scope of
                                                                                      F.R.E. 702.



Error! Unknown document                                            95
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
Error! Unknown document                                         96
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 59     06/17/14 Email string between    Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
          Stephen Smith and Randi          which the evidence is proffered at trial   and, therefore, exhibit should be
          Richmond (Smith Depo Ex          (F.R.E. 401); Probative value is           admitted as agreed. Should
          119) (UCP001129-1130)            substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                           confusing the issues, wasting time, or     ASIC’s response is as follows:
                                           needlessly presenting cumulative           F.R.E. 401 – Objection is
                                           evidence, depending on purpose for         conditional, and therefore not
                                           which evidence is proffered at trial       binding as to general admissibility.
                                           (F.R.E. 403).                              Objection also fails to state why or
                                                                                      in what context exhibit is
                                                                                      irrelevant. Furthermore, exhibit is
                                                                                      relevant to establish state of mind
  Error! Unknown document                                           97
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                         of all parties involved at time of
                                                                                         claim (NBC, ASIC, Aon, etc.).


                                                                                         F.R.E. 403 – Objection is
                                                                                         conditional, and therefore not
                                                                                         binding as to general admissibility.
                                                                                         Objection also fails to state why
                                                                                         exhibit is unfairly prejudicial; or
                                                                                         why such alleged unfair prejudice
                                                                                         outweighs its probative value; or
                                                                                         why exhibit confuses the issue,
                                                                                         misleads the jury, wastes time, or
                                                                                         is cumulative. Furthermore, high
                                                                                         probative value re: state of mind of
                                                                                         all parties involved at the time of
                                                                                         the claim. Finally, jury is entitled
                                                                                         to know what information NBC,
                                                                                         ASIC, and other parties had at time
                                                                                         of the facts giving rise to Plaintiffs’
                                                                                         claims.


DX 60     06/22/14 Max Security               If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
          Intelligence Email to Stephen       inadmissible hearsay and no exception      and, therefore, exhibit should be
          Smith (Smith Depo Ex 120)           is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
          (UCP001860-1863)                    evidence sufficient to support a finding
                                              as to the identity of the author or that
  Error! Unknown document                                                98
  property name.                          ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         he/she has personal knowledge of the   Plaintiffs withdraw the exhibit,
                                         factual matter stated (F.R.E. 602).    ASIC’s response is as follows:
                                                                                F.R.E. 801/802 – (1) Plaintiff fails
                                                                                to state what portion of exhibit is
                                                                                hearsay; (2) statements not offered
                                                                                for the truth, but rather to show
                                                                                information acted upon/state of
                                                                                mind of parties or individuals
                                                                                identified in exhibits; (3) several
                                                                                statements made by party-
                                                                                opponent, NBC, and agents
                                                                                affiliated with NBC and operating
                                                                                within the scope of their agency
                                                                                (e.g. Aon) and, therefore, are not
                                                                                hearsay under F.R.E. 801.


                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received

Error! Unknown document                                         99
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      regarding what was going on in
                                                                                      Israel.


DX 61     06/23/14 and 06/19/14 Email      Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
          string between Randi             which the evidence is proffered at trial   and, therefore, exhibit should be
          Richmond, Stephen Smith and      (F.R.E. 401); Probative value is           admitted as agreed. Should
          Mark Binke                       substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
          (Smith Depo Ex 121)              confusing the issues, wasting time, or     ASIC’s response is as follows:
          (UCP002576-2578)                 needlessly presenting cumulative           F.R.E. 401 – Objection is
                                           evidence, depending on purpose for         conditional, and therefore not
                                           which evidence is proffered at trial       binding as to general admissibility.
                                           (F.R.E. 403).                              Objection also fails to state why or
                                                                                      in what context exhibit is
                                                                                      irrelevant. Furthermore, exhibit is
                                                                                      relevant to establish state of mind
                                                                                      of all parties involved at time of
                                                                                      claim (NBC, ASIC, Aon, etc.).


                                                                                      F.R.E. 403 – Objection is
                                                                                      conditional, and therefore not
                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why
                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
  Error! Unknown document                                           100
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                         why exhibit confuses the issue,
                                                                                         misleads the jury, wastes time, or
                                                                                         is cumulative. Furthermore, high
                                                                                         probative value re: state of mind of
                                                                                         all parties involved at the time of
                                                                                         the claim. Finally, jury is entitled
                                                                                         to know what information NBC,
                                                                                         ASIC, and other parties had at time
                                                                                         of the facts giving rise to Plaintiffs’
                                                                                         claims.


DX 62     06/23/14 Max Security               If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
          Intelligence Email to Stephen       inadmissible hearsay and no exception      and, therefore, exhibit should be
          Smith (Smith Depo Ex 122)           is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
          (UCP_003782-3785)                   evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                              as to the identity of the author or that   ASIC’s response is as follows:
                                              he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                              factual matter stated (F.R.E. 602).        to state what portion of exhibit is
                                                                                         hearsay; (2) statements not offered
                                                                                         for the truth, but rather to show
                                                                                         information acted upon/state of
                                                                                         mind of parties or individuals
                                                                                         identified in exhibits; (3) several
                                                                                         statements made by party-
                                                                                         opponent, NBC, and agents
                                                                                         affiliated with NBC and operating
  Error! Unknown document                                             101
  property name.                          ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                         within the scope of their agency
                                                                                         (e.g. Aon) and, therefore, are not
                                                                                         hearsay under F.R.E. 801.
                                                                                         F.R.E. 602 – Witnesses has
                                                                                         personal knowledge of what
                                                                                         information NBC received before,
                                                                                         during, and after the events giving
                                                                                         rise to the claim, including this
                                                                                         exhibit. Witness does not need
                                                                                         personally to have been in Israel in
                                                                                         order to testify regarding what
                                                                                         information NBC received
                                                                                         regarding what was going on in
                                                                                         Israel.


DX 63     06/24/14 Max Security               If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
          Intelligence Email to Stephen       inadmissible hearsay and no exception      and, therefore, exhibit should be
          Smith (Smith Depo Ex 123)           is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
          (UCP002205-2207)                    evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                              as to the identity of the author or that   ASIC’s response is as follows:
                                              he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                              factual matter stated (F.R.E. 602).        to state what portion of exhibit is
                                                                                         hearsay; (2) statements not offered
                                                                                         for the truth, but rather to show
                                                                                         information acted upon/state of
  Error! Unknown document                                             102
  property name.                          ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                         mind of parties or individuals
                                                                                         identified in exhibits; (3) several
                                                                                         statements made by party-
                                                                                         opponent, NBC, and agents
                                                                                         affiliated with NBC and operating
                                                                                         within the scope of their agency
                                                                                         (e.g. Aon) and, therefore, are not
                                                                                         hearsay under F.R.E. 801.
                                                                                         F.R.E. 602 – Witnesses has
                                                                                         personal knowledge of what
                                                                                         information NBC received before,
                                                                                         during, and after the events giving
                                                                                         rise to the claim, including this
                                                                                         exhibit. Witness does not need
                                                                                         personally to have been in Israel in
                                                                                         order to testify regarding what
                                                                                         information NBC received
                                                                                         regarding what was going on in
                                                                                         Israel.


DX 64     06/29/14 Max Security               If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
          Intelligence Email to Stephen       inadmissible hearsay and no exception      and, therefore, exhibit should be
          Smith (Smith Depo Ex 124)           is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
          (UCP002704-2706)                    evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                              as to the identity of the author or that   ASIC’s response is as follows:

  Error! Unknown document                                             103
  property name.                          ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         he/she has personal knowledge of the   F.R.E. 801/802 – (1) Plaintiff fails
                                         factual matter stated (F.R.E. 602).    to state what portion of exhibit is
                                                                                hearsay; (2) statements not offered
                                                                                for the truth, but rather to show
                                                                                information acted upon/state of
                                                                                mind of parties or individuals
                                                                                identified in exhibits; (3) several
                                                                                statements made by party-
                                                                                opponent, NBC, and agents
                                                                                affiliated with NBC and operating
                                                                                within the scope of their agency
                                                                                (e.g. Aon) and, therefore, are not
                                                                                hearsay under F.R.E. 801.
                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.



Error! Unknown document                                         104
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 65     06/30/14 Email from Randi        Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
          Richmond to Stephen Smith        which the evidence is proffered at trial   and, therefore, exhibit should be
          (Smith Depo Ex 125)              (F.R.E. 401); Probative value is           admitted as agreed. Should
          (UCP002518)                      substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                           confusing the issues, wasting time, or     ASIC’s response is as follows:
                                           needlessly presenting cumulative           F.R.E. 401 – Objection is
                                           evidence, depending on purpose for         conditional, and therefore not
                                           which evidence is proffered at trial       binding as to general admissibility.
                                           (F.R.E. 403).                              Objection also fails to state why or
                                                                                      in what context exhibit is
                                                                                      irrelevant. Furthermore, exhibit is
                                                                                      relevant to establish state of mind
                                                                                      of all parties involved at time of
                                                                                      claim (NBC, ASIC, Aon, etc.).


                                                                                      F.R.E. 403 – Objection is
                                                                                      conditional, and therefore not
                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why
                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
  Error! Unknown document                                          105
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                         all parties involved at the time of
                                                                                         the claim. Finally, jury is entitled
                                                                                         to know what information NBC,
                                                                                         ASIC, and other parties had at time
                                                                                         of the facts giving rise to Plaintiffs’
                                                                                         claims.


DX 66     06/30/14 Max Security               If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
          Intelligence Email to Stephen       inadmissible hearsay and no exception      and, therefore, exhibit should be
          Smith (Smith Depo Ex126)            is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
          (UCP002579-2582)                    evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                              as to the identity of the author or that   ASIC’s response is as follows:
                                              he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                              factual matter stated (F.R.E. 602).        to state what portion of exhibit is
                                                                                         hearsay; (2) statements not offered
                                                                                         for the truth, but rather to show
                                                                                         information acted upon/state of
                                                                                         mind of parties or individuals
                                                                                         identified in exhibits; (3) several
                                                                                         statements made by party-
                                                                                         opponent, NBC, and agents
                                                                                         affiliated with NBC and operating
                                                                                         within the scope of their agency
                                                                                         (e.g. Aon) and, therefore, are not
                                                                                         hearsay under F.R.E. 801.

  Error! Unknown document                                             106
  property name.                          ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      F.R.E. 602 – Witnesses has
                                                                                      personal knowledge of what
                                                                                      information NBC received before,
                                                                                      during, and after the events giving
                                                                                      rise to the claim, including this
                                                                                      exhibit. Witness does not need
                                                                                      personally to have been in Israel in
                                                                                      order to testify regarding what
                                                                                      information NBC received
                                                                                      regarding what was going on in
                                                                                      Israel.


DX 67     06/30/14 Email string between    Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
          Stephen Smith and Randi          which the evidence is proffered at trial   and, therefore, exhibit should be
          Richmond (Smith Depo Ex          (F.R.E. 401); Probative value is           admitted as agreed. Should
          127) (UCP002092-2093)            substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                           confusing the issues, wasting time, or     ASIC’s response is as follows:
                                           needlessly presenting cumulative           F.R.E. 401 – Objection is
                                           evidence, depending on purpose for         conditional, and therefore not
                                           which evidence is proffered at trial       binding as to general admissibility.
                                           (F.R.E. 403).                              Objection also fails to state why or
                                                                                      in what context exhibit is
                                                                                      irrelevant. Furthermore, exhibit is
                                                                                      relevant to establish state of mind


  Error! Unknown document                                           107
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      of all parties involved at time of
                                                                                      claim (NBC, ASIC, Aon, etc.).


                                                                                      F.R.E. 403 – Objection is
                                                                                      conditional, and therefore not
                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why
                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 68     06/30/14 Email from Max          If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
          Security to Stephen Smith        inadmissible hearsay and no exception      and, therefore, exhibit should be
          (Smith Depo Ex 128)              is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
          (UCP002503-2506)                 evidence sufficient to support a finding
                                           as to the identity of the author or that
  Error! Unknown document                                            108
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         he/she has personal knowledge of the   Plaintiffs withdraw the exhibit,
                                         factual matter stated (F.R.E. 602)     ASIC’s response is as follows:
                                                                                F.R.E. 801/802 – (1) Plaintiff fails
                                                                                to state what portion of exhibit is
                                                                                hearsay; (2) statements not offered
                                                                                for the truth, but rather to show
                                                                                information acted upon/state of
                                                                                mind of parties or individuals
                                                                                identified in exhibits; (3) several
                                                                                statements made by party-
                                                                                opponent, NBC, and agents
                                                                                affiliated with NBC and operating
                                                                                within the scope of their agency
                                                                                (e.g. Aon) and, therefore, are not
                                                                                hearsay under F.R.E. 801.
                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.
Error! Unknown document                                         109
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 69     07/01/14 Email from Chris          If offered to prove the truth of facts       Plaintiff has listed exhibit on its list
          Biggs to Stephen Smith, with       stated therein, inadmissible hearsay and     and, therefore, exhibit should be
          attachment (Smith Depo Ex          no exception is applicable (F.R.E. 801,      admitted as agreed. Should
          129) (UCP002790-2800)              802); Improper lay opinion (F.R.E.           Plaintiffs withdraw the exhibit,
                                             701); No evidence sufficient to support      ASIC’s response is as follows:
                                             a finding as to the identity of the author   F.R.E. 801/802 – (1) Plaintiff fails
                                             or that he/she has personal knowledge        to state what portion of exhibit is
                                             of the factual matter stated (F.R.E.         hearsay; (2) statements not offered
                                             602); Irrelevant (F.R.E. 401, 402); Any      for the truth, but rather to show
                                             probative value is substantially             information acted upon/state of
                                             outweighed by risk of unfair prejudice,      mind of parties or individuals
                                             confusing the issues, misleading the         identified in exhibits; (3) several
                                             jury, undue delay, wasting time, or          statements made by party-
                                             needlessly presenting cumulative             opponent, NBC, and agents
                                             evidence (F.R.E. 403).                       affiliated with NBC and operating
                                                                                          within the scope of their agency
                                                                                          (e.g. Aon) and, therefore, are not
                                                                                          hearsay under F.R.E. 801.
                                                                                          F.R.E. 701 – Unclear what
                                                                                          opinions are offered by any
                                                                                          declarant in exhibit; all testimony
                                                                                          rationally based on information
                                                                                          received and acted upon; no
                                                                                          testimony based on scientific,
                                                                                          technical, or other specialized


  Error! Unknown document                                             110
  property name.                         ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                knowledge within the scope of
                                                                                F.R.E. 702.


                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


Error! Unknown document                                        111
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                         F.R.E. 403 – Objection is
                                                                                         conditional, and therefore not
                                                                                         binding as to general admissibility.
                                                                                         Objection also fails to state why
                                                                                         exhibit is unfairly prejudicial; or
                                                                                         why such alleged unfair prejudice
                                                                                         outweighs its probative value; or
                                                                                         why exhibit confuses the issue,
                                                                                         misleads the jury, wastes time, or
                                                                                         is cumulative. Furthermore, high
                                                                                         probative value re: state of mind of
                                                                                         all parties involved at the time of
                                                                                         the claim. Finally, jury is entitled
                                                                                         to know what information NBC,
                                                                                         ASIC, and other parties had at time
                                                                                         of the facts giving rise to Plaintiffs’
                                                                                         claims.


DX 70     07/01/14 Max Security               If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
          Intelligence Email to Stephen       inadmissible hearsay and no exception      and, therefore, exhibit should be
          Smith (Smith Depo Ex 130)           is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
          (UCP002473-2476)                    evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                              as to the identity of the author or that   ASIC’s response is as follows:
                                              he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                              factual matter stated (F.R.E. 602).        to state what portion of exhibit is
                                                                                         hearsay; (2) statements not offered
  Error! Unknown document                                             112
  property name.                          ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      for the truth, but rather to show
                                                                                      information acted upon/state of
                                                                                      mind of parties or individuals
                                                                                      identified in exhibits; (3) several
                                                                                      statements made by party-
                                                                                      opponent, NBC, and agents
                                                                                      affiliated with NBC and operating
                                                                                      within the scope of their agency
                                                                                      (e.g. Aon) and, therefore, are not
                                                                                      hearsay under F.R.E. 801.
                                                                                      F.R.E. 602 – Witnesses has
                                                                                      personal knowledge of what
                                                                                      information NBC received before,
                                                                                      during, and after the events giving
                                                                                      rise to the claim, including this
                                                                                      exhibit. Witness does not need
                                                                                      personally to have been in Israel in
                                                                                      order to testify regarding what
                                                                                      information NBC received
                                                                                      regarding what was going on in
                                                                                      Israel.


DX 71     07/01/14 and 06/30/14 Email      Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
          string between Mark Binke and    which the evidence is proffered at trial   and, therefore, exhibit should be
                                           (F.R.E. 401); Probative value is           admitted as agreed. Should
                                           substantially outweighed by risk of
  Error! Unknown document                                          113
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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        Stephen Smith (Smith Depo Ex     confusing the issues, wasting time, or   Plaintiffs withdraw the exhibit,
        131) (UCP001971-1972)            needlessly presenting cumulative         ASIC’s response is as follows:
                                         evidence, depending on purpose for       F.R.E. 401 – Objection is
                                         which evidence is proffered at trial     conditional, and therefore not
                                         (F.R.E. 403).                            binding as to general admissibility.
                                                                                  Objection also fails to state why or
                                                                                  in what context exhibit is
                                                                                  irrelevant. Furthermore, exhibit is
                                                                                  relevant to establish state of mind
                                                                                  of all parties involved at time of
                                                                                  claim (NBC, ASIC, Aon, etc.).


                                                                                  F.R.E. 403 – Objection is
                                                                                  conditional, and therefore not
                                                                                  binding as to general admissibility.
                                                                                  Objection also fails to state why
                                                                                  exhibit is unfairly prejudicial; or
                                                                                  why such alleged unfair prejudice
                                                                                  outweighs its probative value; or
                                                                                  why exhibit confuses the issue,
                                                                                  misleads the jury, wastes time, or
                                                                                  is cumulative. Furthermore, high
                                                                                  probative value re: state of mind of
                                                                                  all parties involved at the time of
                                                                                  the claim. Finally, jury is entitled
                                                                                  to know what information NBC,
Error! Unknown document                                          114
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                         ASIC, and other parties had at time
                                                                                         of the facts giving rise to Plaintiffs’
                                                                                         claims.


DX 72     07/01/14 Email from Stephen       If offered to prove the truth of facts       Plaintiff has listed exhibit on its list
          Smith to Mark Binke (Smith        stated therein, inadmissible hearsay and     and, therefore, exhibit should be
          Depo Ex 132) (UCP001065-          no exception is applicable (F.R.E. 801,      admitted as agreed. Should
          1067)                             802); Improper lay opinion (F.R.E.           Plaintiffs withdraw the exhibit,
                                            701); No evidence sufficient to support      ASIC’s response is as follows:
                                            a finding as to the identity of the author   F.R.E. 801/802 – (1) Plaintiff fails
                                            or that he/she has personal knowledge        to state what portion of exhibit is
                                            of the factual matter stated (F.R.E.         hearsay; (2) statements not offered
                                            602); Irrelevant (F.R.E. 401, 402); Any      for the truth, but rather to show
                                            probative value is substantially             information acted upon/state of
                                            outweighed by risk of unfair prejudice,      mind of parties or individuals
                                            confusing the issues, misleading the         identified in exhibits; (3) several
                                            jury, undue delay, wasting time, or          statements made by party-
                                            needlessly presenting cumulative             opponent, NBC, and agents
                                            evidence (F.R.E. 403).                       affiliated with NBC and operating
                                                                                         within the scope of their agency
                                                                                         (e.g. Aon) and, therefore, are not
                                                                                         hearsay under F.R.E. 801.
                                                                                         F.R.E. 701 – Unclear what
                                                                                         opinions are offered by any
                                                                                         declarant in exhibit; all testimony
                                                                                         rationally based on information
  Error! Unknown document                                            115
  property name.                        ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702.


                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind

Error! Unknown document                                        116
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      of all parties involved at time of
                                                                                      claim (NBC, ASIC, Aon, etc.).


                                                                                      F.R.E. 403 – Objection is
                                                                                      conditional, and therefore not
                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why
                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 73     07/01/14 Country Risk Forecast   If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
          and Travel Email to Stephen      inadmissible hearsay and no exception      and, therefore, exhibit should be
          Smith (Smith Depo Ex 133)        is applicable (F.R.E. 801, 802); No        admitted as agreed. Should
          (UCP002519-2520)                 evidence sufficient to support a finding
                                           as to the identity of the author or that
  Error! Unknown document                                            117
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         he/she has personal knowledge of the   Plaintiffs withdraw the exhibit,
                                         factual matter stated (F.R.E. 602).    ASIC’s response is as follows:
                                                                                F.R.E. 801/802 – (1) Plaintiff fails
                                                                                to state what portion of exhibit is
                                                                                hearsay; (2) document is not
                                                                                offered for the truth, but rather to
                                                                                show information acted upon/state
                                                                                of mind of NBC or AON at the
                                                                                time; (3) document not offered for
                                                                                the truth, but rather to show
                                                                                information acted upon/state of
                                                                                mind of other witnesses.


                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


Error! Unknown document                                         118
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 74     07/01/14 Max Security               If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
          Intelligence Email to Stephen       inadmissible hearsay and no exception      and, therefore, exhibit should be
          Smith (Smith Depo Ex 134)           is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
          (UCP002240-2242)                    evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                              as to the identity of the author or that   ASIC’s response is as follows:
                                              he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                              factual matter stated (F.R.E. 602).        to state what portion of exhibit is
                                                                                         hearsay; (2) document is not
                                                                                         offered for the truth, but rather to
                                                                                         show information acted upon/state
                                                                                         of mind of NBC or AON at the
                                                                                         time; (3) document not offered for
                                                                                         the truth, but rather to show
                                                                                         information acted upon/state of
                                                                                         mind of other witnesses.


                                                                                         F.R.E. 602 – Witnesses has
                                                                                         personal knowledge of what
                                                                                         information NBC received before,
                                                                                         during, and after the events giving
                                                                                         rise to the claim, including this
                                                                                         exhibit. Witness does not need
                                                                                         personally to have been in Israel in
                                                                                         order to testify regarding what
                                                                                         information NBC received

  Error! Unknown document                                             119
  property name.                          ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                        regarding what was going on in
                                                                                        Israel.


DX 75     07/02/154 Email from Chris       If offered to prove the truth of facts       Plaintiff has listed exhibit on its list
          Biggs to Stephen Smith (Smith    stated therein, inadmissible hearsay and     and, therefore, exhibit should be
          Depo Ex 135) (UCP002363-         no exception is applicable (F.R.E. 801,      admitted as agreed. Should
          2367)                            802); Improper lay opinion (F.R.E.           Plaintiffs withdraw the exhibit,
                                           701); No evidence sufficient to support      ASIC’s response is as follows:
                                           a finding as to the identity of the author   F.R.E. 801/802 – (1) Plaintiff fails
                                           or that he/she has personal knowledge        to state what portion of exhibit is
                                           of the factual matter stated (F.R.E.         hearsay; (2) statements not offered
                                           602); Irrelevant (F.R.E. 401, 402); Any      for the truth, but rather to show
                                           probative value is substantially             information acted upon/state of
                                           outweighed by risk of unfair prejudice,      mind of parties or individuals
                                           confusing the issues, misleading the         identified in exhibits; (3) several
                                           jury, undue delay, wasting time, or          statements made by party-
                                           needlessly presenting cumulative             opponent, NBC, and agents
                                           evidence (F.R.E. 403).                       affiliated with NBC and operating
                                                                                        within the scope of their agency
                                                                                        (e.g. Aon) and, therefore, are not
                                                                                        hearsay under F.R.E. 801.
                                                                                        F.R.E. 701 – Unclear what
                                                                                        opinions are offered by any
                                                                                        declarant in exhibit; all testimony
                                                                                        rationally based on information
  Error! Unknown document                                           120
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702.


                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind

Error! Unknown document                                        121
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      of all parties involved at time of
                                                                                      claim (NBC, ASIC, Aon, etc.).


                                                                                      F.R.E. 403 – Objection is
                                                                                      conditional, and therefore not
                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why
                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 76     07/02/14 Email string between    If offered to prove the truth of facts   Plaintiff has listed exhibit on its list
          Mark Binke, Randi Richmond       stated therein, inadmissible hearsay and and, therefore, exhibit should be
          and Stephen Smith (Smith         no exception is applicable (F.R.E. 801, admitted as agreed. Should
                                           802); Improper lay opinion (F.R.E.
                                           701); No evidence sufficient to support
  Error! Unknown document                                            122
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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        Depo Ex 136) (UCP_003672-        a finding as to the identity of the author   Plaintiffs withdraw the exhibit,
        3674)                            or that he/she has personal knowledge        ASIC’s response is as follows:
                                         of the factual matter stated (F.R.E.         F.R.E. 801/802 – (1) Plaintiff fails
                                         602); Irrelevant (F.R.E. 401, 402); Any      to state what portion of exhibit is
                                         probative value is substantially             hearsay; (2) statements not offered
                                         outweighed by risk of unfair prejudice,      for the truth, but rather to show
                                         confusing the issues, misleading the         information acted upon/state of
                                         jury, undue delay, wasting time, or          mind of parties or individuals
                                         needlessly presenting cumulative             identified in exhibits; (3) several
                                         evidence (F.R.E. 403).                       statements made by party-
                                                                                      opponent, NBC, and agents
                                                                                      affiliated with NBC and operating
                                                                                      within the scope of their agency
                                                                                      (e.g. Aon) and, therefore, are not
                                                                                      hearsay under F.R.E. 801.
                                                                                      F.R.E. 701 – Unclear what
                                                                                      opinions are offered by any
                                                                                      declarant in exhibit; all testimony
                                                                                      rationally based on information
                                                                                      received and acted upon; no
                                                                                      testimony based on scientific,
                                                                                      technical, or other specialized
                                                                                      knowledge within the scope of
                                                                                      F.R.E. 702.



Error! Unknown document                                           123
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
Error! Unknown document                                        124
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                         exhibit is unfairly prejudicial; or
                                                                                         why such alleged unfair prejudice
                                                                                         outweighs its probative value; or
                                                                                         why exhibit confuses the issue,
                                                                                         misleads the jury, wastes time, or
                                                                                         is cumulative. Furthermore, high
                                                                                         probative value re: state of mind of
                                                                                         all parties involved at the time of
                                                                                         the claim. Finally, jury is entitled
                                                                                         to know what information NBC,
                                                                                         ASIC, and other parties had at time
                                                                                         of the facts giving rise to Plaintiffs’
                                                                                         claims.


DX 77     07/02/14 Max Security               If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
          Intelligence Email to Stephen       inadmissible hearsay and no exception      and, therefore, exhibit should be
          Smith (Smith Depo Ex 137)           is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
          (UCP002676-2680)                    evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                              as to the identity of the author or that   ASIC’s response is as follows:
                                              he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                              factual matter stated (F.R.E. 602).        to state what portion of exhibit is
                                                                                         hearsay; (2) statements not offered
                                                                                         for the truth, but rather to show
                                                                                         information acted upon/state of
                                                                                         mind of parties or individuals
                                                                                         identified in exhibits; (3) several
  Error! Unknown document                                             125
  property name.                          ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                         statements made by party-
                                                                                         opponent, NBC, and agents
                                                                                         affiliated with NBC and operating
                                                                                         within the scope of their agency
                                                                                         (e.g. Aon) and, therefore, are not
                                                                                         hearsay under F.R.E. 801.
                                                                                         F.R.E. 602 – Witnesses has
                                                                                         personal knowledge of what
                                                                                         information NBC received before,
                                                                                         during, and after the events giving
                                                                                         rise to the claim, including this
                                                                                         exhibit. Witness does not need
                                                                                         personally to have been in Israel in
                                                                                         order to testify regarding what
                                                                                         information NBC received
                                                                                         regarding what was going on in
                                                                                         Israel.


DX 78     07/03/14 Max Security               If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
          Intelligence Email to Stephen       inadmissible hearsay and no exception      and, therefore, exhibit should be
          Smith (Smith Depo Ex 138)           is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
          (UCP002219-2593)                    evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                              as to the identity of the author or that   ASIC’s response is as follows:
                                              he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                              factual matter stated (F.R.E. 602).        to state what portion of exhibit is
  Error! Unknown document                                             126
  property name.                          ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      hearsay; (2) statements not offered
                                                                                      for the truth, but rather to show
                                                                                      information acted upon/state of
                                                                                      mind of parties or individuals
                                                                                      identified in exhibits; (3) several
                                                                                      statements made by party-
                                                                                      opponent, NBC, and agents
                                                                                      affiliated with NBC and operating
                                                                                      within the scope of their agency
                                                                                      (e.g. Aon) and, therefore, are not
                                                                                      hearsay under F.R.E. 801.
                                                                                      F.R.E. 602 – Witnesses has
                                                                                      personal knowledge of what
                                                                                      information NBC received before,
                                                                                      during, and after the events giving
                                                                                      rise to the claim, including this
                                                                                      exhibit. Witness does not need
                                                                                      personally to have been in Israel in
                                                                                      order to testify regarding what
                                                                                      information NBC received
                                                                                      regarding what was going on in
                                                                                      Israel.
DX 79     07/03/14 Email string between    Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
          Brian Brady and Stephen Smith    which the evidence is proffered at trial   and, therefore, exhibit should be
          (Smith Depo Ex 139)              (F.R.E. 401); Probative value is           admitted as agreed. Should
          (UCP002592-2593)                 substantially outweighed by risk of
  Error! Unknown document                                           127
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         confusing the issues, wasting time, or   Plaintiffs withdraw the exhibit,
                                         needlessly presenting cumulative         ASIC’s response is as follows:
                                         evidence, depending on purpose for       F.R.E. 401 – Objection is
                                         which evidence is proffered at trial     conditional, and therefore not
                                         (F.R.E. 403).                            binding as to general admissibility.
                                                                                  Objection also fails to state why or
                                                                                  in what context exhibit is
                                                                                  irrelevant. Furthermore, exhibit is
                                                                                  relevant to establish state of mind
                                                                                  of all parties involved at time of
                                                                                  claim (NBC, ASIC, Aon, etc.).


                                                                                  F.R.E. 403 – Objection is
                                                                                  conditional, and therefore not
                                                                                  binding as to general admissibility.
                                                                                  Objection also fails to state why
                                                                                  exhibit is unfairly prejudicial; or
                                                                                  why such alleged unfair prejudice
                                                                                  outweighs its probative value; or
                                                                                  why exhibit confuses the issue,
                                                                                  misleads the jury, wastes time, or
                                                                                  is cumulative. Furthermore, high
                                                                                  probative value re: state of mind of
                                                                                  all parties involved at the time of
                                                                                  the claim. Finally, jury is entitled
                                                                                  to know what information NBC,
Error! Unknown document                                          128
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 80     07/03/14 Email from Stephen       Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
          Smith to Erin Noordeloos          which the evidence is proffered at trial   and, therefore, exhibit should be
          (Smith Depo Ex 140)               (F.R.E. 401); Probative value is           admitted as agreed. Should
          (UCP002099)                       substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                            confusing the issues, wasting time, or     ASIC’s response is as follows:
                                            needlessly presenting cumulative           F.R.E. 401 – Objection is
                                            evidence, depending on purpose for         conditional, and therefore not
                                            which evidence is proffered at trial       binding as to general admissibility.
                                            (F.R.E. 403).                              Objection also fails to state why or
                                                                                       in what context exhibit is
                                                                                       irrelevant. Furthermore, exhibit is
                                                                                       relevant to establish state of mind
                                                                                       of all parties involved at time of
                                                                                       claim (NBC, ASIC, Aon, etc.).


                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
                                                                                       Objection also fails to state why
                                                                                       exhibit is unfairly prejudicial; or
                                                                                       why such alleged unfair prejudice
  Error! Unknown document                                            129
  property name.                        ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 81     07/03/14 Max Security Email      If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
          string to Stephen Smith (Smith   inadmissible hearsay and no exception      and, therefore, exhibit should be
          Depo Ex 141) (UCP002727-         is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
          2731)                            evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                           as to the identity of the author or that   ASIC’s response is as follows:
                                           he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                           factual matter stated (F.R.E. 602).        to state what portion of exhibit is
                                                                                      hearsay; (2) statements not offered
                                                                                      for the truth, but rather to show
                                                                                      information acted upon/state of
                                                                                      mind of parties or individuals
                                                                                      identified in exhibits; (3) several
                                                                                      statements made by party-
                                                                                      opponent, NBC, and agents
  Error! Unknown document                                          130
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                        affiliated with NBC and operating
                                                                                        within the scope of their agency
                                                                                        (e.g. Aon) and, therefore, are not
                                                                                        hearsay under F.R.E. 801.
                                                                                        F.R.E. 602 – Witnesses has
                                                                                        personal knowledge of what
                                                                                        information NBC received before,
                                                                                        during, and after the events giving
                                                                                        rise to the claim, including this
                                                                                        exhibit. Witness does not need
                                                                                        personally to have been in Israel in
                                                                                        order to testify regarding what
                                                                                        information NBC received
                                                                                        regarding what was going on in
                                                                                        Israel.


DX 82     07/03/14 Email from Stephen      If offered to prove the truth of facts       Plaintiff has listed exhibit on its list
          Smith to Tom McCarthy (Smith     stated therein, inadmissible hearsay and     and, therefore, exhibit should be
          Depo Ex 142) (UCP_003924-        no exception is applicable (F.R.E. 801,      admitted as agreed. Should
          3926)                            802); Improper lay opinion (F.R.E.           Plaintiffs withdraw the exhibit,
                                           701); No evidence sufficient to support      ASIC’s response is as follows:
                                           a finding as to the identity of the author   F.R.E. 801/802 – (1) Plaintiff fails
                                           or that he/she has personal knowledge        to state what portion of exhibit is
                                           of the factual matter stated (F.R.E.         hearsay; (2) statements not offered
                                           602); Irrelevant (F.R.E. 401, 402); Any      for the truth, but rather to show
                                           probative value is substantially
  Error! Unknown document                                            131
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         outweighed by risk of unfair prejudice,   information acted upon/state of
                                         confusing the issues, misleading the      mind of parties or individuals
                                         jury, undue delay, wasting time, or       identified in exhibits; (3) several
                                         needlessly presenting cumulative          statements made by party-
                                         evidence (F.R.E. 403).                    opponent, NBC, and agents
                                                                                   affiliated with NBC and operating
                                                                                   within the scope of their agency
                                                                                   (e.g. Aon) and, therefore, are not
                                                                                   hearsay under F.R.E. 801.
                                                                                   F.R.E. 701 – Unclear what
                                                                                   opinions are offered by any
                                                                                   declarant in exhibit; all testimony
                                                                                   rationally based on information
                                                                                   received and acted upon; no
                                                                                   testimony based on scientific,
                                                                                   technical, or other specialized
                                                                                   knowledge within the scope of
                                                                                   F.R.E. 702.


                                                                                   F.R.E. 602 – Witnesses has
                                                                                   personal knowledge of what
                                                                                   information NBC received before,
                                                                                   during, and after the events giving
                                                                                   rise to the claim, including this
                                                                                   exhibit. Witness does not need
                                                                                   personally to have been in Israel in
Error! Unknown document                                          132
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
Error! Unknown document                                        133
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 83     07/03/14 Email from Penelope     If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
          Kennedy to Stephen Smith         inadmissible hearsay and no exception      and, therefore, exhibit should be
          (Smith Depo Ex 143)              is applicable (F.R.E. 801, 802); No        admitted as agreed. Should
          (UCP001975-1976)                 evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                           as to the identity of the author or that   ASIC’s response is as follows:
                                           he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                           factual matter stated (F.R.E. 602).        to state what portion of exhibit is
                                                                                      hearsay; (2) statements not offered
                                                                                      for the truth, but rather to show
                                                                                      information acted upon/state of
                                                                                      mind of parties or individuals
                                                                                      identified in exhibits; (3) several
                                                                                      statements made by party-
                                                                                      opponent, NBC, and agents
                                                                                      affiliated with NBC and operating
                                                                                      within the scope of their agency
                                                                                      (e.g. Aon) and, therefore, are not
                                                                                      hearsay under F.R.E. 801.
  Error! Unknown document                                          134
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                        F.R.E. 602 – Witnesses has
                                                                                        personal knowledge of what
                                                                                        information NBC received before,
                                                                                        during, and after the events giving
                                                                                        rise to the claim, including this
                                                                                        exhibit. Witness does not need
                                                                                        personally to have been in Israel in
                                                                                        order to testify regarding what
                                                                                        information NBC received
                                                                                        regarding what was going on in
                                                                                        Israel.




DX 84     07/04/14 Email from Chris        If offered to prove the truth of facts       Plaintiff has listed exhibit on its list
          Biggs to Stephen Smith (Smith    stated therein, inadmissible hearsay and     and, therefore, exhibit should be
          Depo Ex 144) (UCP002841-         no exception is applicable (F.R.E. 801,      admitted as agreed. Should
          2842)                            802); Improper lay opinion (F.R.E.           Plaintiffs withdraw the exhibit,
                                           701); No evidence sufficient to support      ASIC’s response is as follows:
                                           a finding as to the identity of the author   F.R.E. 801/802 – (1) Plaintiff fails
                                           or that he/she has personal knowledge        to state what portion of exhibit is
                                           of the factual matter stated (F.R.E.         hearsay; (2) statements not offered
                                           602); Irrelevant (F.R.E. 401, 402); Any      for the truth, but rather to show
                                           probative value is substantially             information acted upon/state of
                                           outweighed by risk of unfair prejudice,      mind of parties or individuals
                                           confusing the issues, misleading the         identified in exhibits; (3) several
                                           jury, undue delay, wasting time, or
  Error! Unknown document                                            135
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         needlessly presenting cumulative       statements made by party-
                                         evidence (F.R.E. 403).                 opponent, NBC, and agents
                                                                                affiliated with NBC and operating
                                                                                within the scope of their agency
                                                                                (e.g. Aon) and, therefore, are not
                                                                                hearsay under F.R.E. 801.
                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.
                                                                                F.R.E. 701 – F.R.E. 701 – Unclear
                                                                                what opinions are offered by any
                                                                                declarant in exhibit or, if any,
                                                                                which opinions are objectionable;
                                                                                all testimony rationally based on
                                                                                information received and acted
                                                                                upon; no testimony based on
                                                                                scientific, technical, or other


Error! Unknown document                                         136
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                specialized knowledge within the
                                                                                scope of F.R.E. 702.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
Error! Unknown document                                        137
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 85     07/04-05/14 Email string         Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
          between Stephen Smith and        which the evidence is proffered at trial   and, therefore, exhibit should be
          Erin Noordeloos (Smith Depo      (F.R.E. 401); Probative value is           admitted as agreed. Should
          Ex 145) (UCP_003971-3972)        substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                           confusing the issues, wasting time, or     ASIC’s response is as follows:
                                           needlessly presenting cumulative           F.R.E. 401 – Objection is
                                           evidence, depending on purpose for         conditional, and therefore not
                                           which evidence is proffered at trial       binding as to general admissibility.
                                           (F.R.E. 403).                              Objection also fails to state why or
                                                                                      in what context exhibit is
                                                                                      irrelevant. Furthermore, exhibit is
                                                                                      relevant to establish state of mind
                                                                                      of all parties involved at time of
                                                                                      claim (NBC, ASIC, Aon, etc.).


                                                                                      F.R.E. 403 – Objection is
                                                                                      conditional, and therefore not
                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why
                                                                                      exhibit is unfairly prejudicial; or
  Error! Unknown document                                           138
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                         why such alleged unfair prejudice
                                                                                         outweighs its probative value; or
                                                                                         why exhibit confuses the issue,
                                                                                         misleads the jury, wastes time, or
                                                                                         is cumulative. Furthermore, high
                                                                                         probative value re: state of mind of
                                                                                         all parties involved at the time of
                                                                                         the claim. Finally, jury is entitled
                                                                                         to know what information NBC,
                                                                                         ASIC, and other parties had at time
                                                                                         of the facts giving rise to Plaintiffs’
                                                                                         claims.
DX 86     07/05/14 Max Security               If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
          Intelligence Email to Stephen       inadmissible hearsay and no exception      and, therefore, exhibit should be
          Smith (Smith Depo Ex 146)           is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
          (UCP002149-2154)                    evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                              as to the identity of the author or that   ASIC’s response is as follows:
                                              he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                              factual matter stated (F.R.E. 602).        to state what portion of exhibit is
                                                                                         hearsay; (2) statements not offered
                                                                                         for the truth, but rather to show
                                                                                         information acted upon/state of
                                                                                         mind of parties or individuals
                                                                                         identified in exhibits; (3) several
                                                                                         statements made by party-
                                                                                         opponent, NBC, and agents
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  property name.                          ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                         affiliated with NBC and operating
                                                                                         within the scope of their agency
                                                                                         (e.g. Aon) and, therefore, are not
                                                                                         hearsay under F.R.E. 801.
                                                                                         F.R.E. 602 – Witnesses has
                                                                                         personal knowledge of what
                                                                                         information NBC received before,
                                                                                         during, and after the events giving
                                                                                         rise to the claim, including this
                                                                                         exhibit. Witness does not need
                                                                                         personally to have been in Israel in
                                                                                         order to testify regarding what
                                                                                         information NBC received
                                                                                         regarding what was going on in
                                                                                         Israel.
DX 87     07/07/14 Max Security               If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
          Intelligence Email to Stephen       inadmissible hearsay and no exception      and, therefore, exhibit should be
          Smith (Smith Depo Ex 147)           is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
          (UCP002422-2426)                    evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                              as to the identity of the author or that   ASIC’s response is as follows:
                                              he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                              factual matter stated (F.R.E. 602).        to state what portion of exhibit is
                                                                                         hearsay; (2) statements not offered
                                                                                         for the truth, but rather to show
                                                                                         information acted upon/state of
                                                                                         mind of parties or individuals
  Error! Unknown document                                             140
  property name.                          ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                          identified in exhibits; (3) several
                                                                                          statements made by party-
                                                                                          opponent, NBC, and agents
                                                                                          affiliated with NBC and operating
                                                                                          within the scope of their agency
                                                                                          (e.g. Aon) and, therefore, are not
                                                                                          hearsay under F.R.E. 801;
                                                                                          F.R.E. 602 – Witnesses has
                                                                                          personal knowledge of what
                                                                                          information NBC received before,
                                                                                          during, and after the events giving
                                                                                          rise to the claim, including this
                                                                                          exhibit. Witness does not need
                                                                                          personally to have been in Israel in
                                                                                          order to testify regarding what
                                                                                          information NBC received
                                                                                          regarding what was going on in
                                                                                          Israel
DX 88     07/07/14 Email from Chris          If offered to prove the truth of facts       Plaintiff has listed exhibit on its list
          Biggs to Stephen Smith, with       stated therein, inadmissible hearsay and     and, therefore, exhibit should be
          attachment (Smith Depo Ex          no exception is applicable (F.R.E. 801,      admitted as agreed. Should
          148) (UCP002569)                   802); Improper lay opinion (F.R.E.           Plaintiffs withdraw the exhibit,
                                             701); No evidence sufficient to support      ASIC’s response is as follows:
                                             a finding as to the identity of the author   F.R.E. 801/802 – (1) Plaintiff fails
                                             or that he/she has personal knowledge        to state what portion of exhibit is
                                             of the factual matter stated (F.R.E.         hearsay; (2) statements not offered
  Error! Unknown document                                             141
  property name.                         ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         602); Irrelevant (F.R.E. 401, 402); Any   for the truth, but rather to show
                                         probative value is substantially          information acted upon/state of
                                         outweighed by risk of unfair prejudice,   mind of parties or individuals
                                         confusing the issues, misleading the      identified in exhibits; (3) several
                                         jury, undue delay, wasting time, or       statements made by party-
                                         needlessly presenting cumulative          opponent, NBC, and agents
                                         evidence (F.R.E. 403).                    affiliated with NBC and operating
                                                                                   within the scope of their agency
                                                                                   (e.g. Aon) and, therefore, are not
                                                                                   hearsay under F.R.E. 801.
                                                                                   F.R.E. 602 – Witnesses has
                                                                                   personal knowledge of what
                                                                                   information NBC received before,
                                                                                   during, and after the events giving
                                                                                   rise to the claim, including this
                                                                                   exhibit. Witness does not need
                                                                                   personally to have been in Israel in
                                                                                   order to testify regarding what
                                                                                   information NBC received
                                                                                   regarding what was going on in
                                                                                   Israel.


                                                                                   F.R.E. 701 – F.R.E. 701 – Unclear
                                                                                   what opinions are offered by any
                                                                                   declarant in exhibit or, if any,
                                                                                   which opinions are objectionable;
Error! Unknown document                                         142
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                all testimony rationally based on
                                                                                information received and acted
                                                                                upon; no testimony based on
                                                                                scientific, technical, or other
                                                                                specialized knowledge within the
                                                                                scope of F.R.E. 702.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
Error! Unknown document                                        143
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
                       Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 344 of 1099 Page ID
                                                         #:24610




                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 89     07/07/14 Email from Chris        Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
          Biggs to Stephen Smith (Smith    which the evidence is proffered at trial   and, therefore, exhibit should be
          Depo Ex 149) (UCP001865)         (F.R.E. 401); Probative value is           admitted as agreed. Should
                                           substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                           confusing the issues, wasting time, or     ASIC’s response is as follows:
                                           needlessly presenting cumulative           F.R.E. 401 – Objection is
                                           evidence, depending on purpose for         conditional, and therefore not
                                           which evidence is proffered at trial       binding as to general admissibility.
                                           (F.R.E. 403).                              Objection also fails to state why or
                                                                                      in what context exhibit is
                                                                                      irrelevant. Furthermore, exhibit is
                                                                                      relevant to establish state of mind
                                                                                      of all parties involved at time of
                                                                                      claim (NBC, ASIC, Aon, etc.).




  Error! Unknown document                                           144
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                         F.R.E. 403 – Objection is
                                                                                         conditional, and therefore not
                                                                                         binding as to general admissibility.
                                                                                         Objection also fails to state why
                                                                                         exhibit is unfairly prejudicial; or
                                                                                         why such alleged unfair prejudice
                                                                                         outweighs its probative value; or
                                                                                         why exhibit confuses the issue,
                                                                                         misleads the jury, wastes time, or
                                                                                         is cumulative. Furthermore, high
                                                                                         probative value re: state of mind of
                                                                                         all parties involved at the time of
                                                                                         the claim. Finally, jury is entitled
                                                                                         to know what information NBC,
                                                                                         ASIC, and other parties had at time
                                                                                         of the facts giving rise to Plaintiffs’
                                                                                         claims.


DX 90     07/07/14 Max Security               If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
          Intelligence Email to Stephen       inadmissible hearsay and no exception      and, therefore, exhibit should be
          Smith (Smith Depo Ex 150)           is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
          (UCP002816-2820)                    evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                              as to the identity of the author or that   ASIC’s response is as follows:
                                              he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                              factual matter stated (F.R.E. 602).        to state what portion of exhibit is
                                                                                         hearsay; (2) statements not offered
  Error! Unknown document                                             145
  property name.                          ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       for the truth, but rather to show
                                                                                       information acted upon/state of
                                                                                       mind of parties or individuals
                                                                                       identified in exhibits; (3) several
                                                                                       statements made by party-
                                                                                       opponent, NBC, and agents
                                                                                       affiliated with NBC and operating
                                                                                       within the scope of their agency
                                                                                       (e.g. Aon) and, therefore, are not
                                                                                       hearsay under F.R.E. 801.
                                                                                       F.R.E. 602 – Witnesses has
                                                                                       personal knowledge of what
                                                                                       information NBC received before,
                                                                                       during, and after the events giving
                                                                                       rise to the claim, including this
                                                                                       exhibit. Witness does not need
                                                                                       personally to have been in Israel in
                                                                                       order to testify regarding what
                                                                                       information NBC received
                                                                                       regarding what was going on in
                                                                                       Israel.
DX 91     07/08/14 Email from Stephen       If offered to prove the truth of facts     Plaintiff has listed exhibit on its list
          Smith to Randi Richmond           stated therein, inadmissible hearsay and   and, therefore, exhibit should be
          (Smith Depo Ex 151)               no exception is applicable (F.R.E. 801,    admitted as agreed. Should
          (UCP001855-1856)                  802); Improper lay opinion (F.R.E.         Plaintiffs withdraw the exhibit,
                                            701); No evidence sufficient to support    ASIC’s response is as follows:
  Error! Unknown document                                           146
  property name.                        ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
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                                                       #:24613




                                         a finding as to the identity of the author   F.R.E. 801/802 – (1) Plaintiff fails
                                         or that he/she has personal knowledge        to state what portion of exhibit is
                                         of the factual matter stated (F.R.E.         hearsay; (2) statements not offered
                                         602); Irrelevant (F.R.E. 401, 402); Any      for the truth, but rather to show
                                         probative value is substantially             information acted upon/state of
                                         outweighed by risk of unfair prejudice,      mind of parties or individuals
                                         confusing the issues, misleading the         identified in exhibits; (3) several
                                         jury, undue delay, wasting time, or          statements made by party-
                                         needlessly presenting cumulative             opponent, NBC, and agents
                                         evidence (F.R.E. 403).                       affiliated with NBC and operating
                                                                                      within the scope of their agency
                                                                                      (e.g. Aon) and, therefore, are not
                                                                                      hearsay under F.R.E. 801.
                                                                                      F.R.E. 602 – Witnesses has
                                                                                      personal knowledge of what
                                                                                      information NBC received before,
                                                                                      during, and after the events giving
                                                                                      rise to the claim, including this
                                                                                      exhibit. Witness does not need
                                                                                      personally to have been in Israel in
                                                                                      order to testify regarding what
                                                                                      information NBC received
                                                                                      regarding what was going on in
                                                                                      Israel.



Error! Unknown document                                           147
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                F.R.E. 701 – F.R.E. 701 – Unclear
                                                                                what opinions are offered by any
                                                                                declarant in exhibit or, if any,
                                                                                which opinions are objectionable;
                                                                                all testimony rationally based on
                                                                                information received and acted
                                                                                upon; no testimony based on
                                                                                scientific, technical, or other
                                                                                specialized knowledge within the
                                                                                scope of F.R.E. 702.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
Error! Unknown document                                        148
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                         #:24615




                                                                                         why such alleged unfair prejudice
                                                                                         outweighs its probative value; or
                                                                                         why exhibit confuses the issue,
                                                                                         misleads the jury, wastes time, or
                                                                                         is cumulative. Furthermore, high
                                                                                         probative value re: state of mind of
                                                                                         all parties involved at the time of
                                                                                         the claim. Finally, jury is entitled
                                                                                         to know what information NBC,
                                                                                         ASIC, and other parties had at time
                                                                                         of the facts giving rise to Plaintiffs’
                                                                                         claims.


DX 92     07/08/14 Max Security               If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
          Intelligence Email to Stephen       inadmissible hearsay and no exception      and, therefore, exhibit should be
          Smith (Smith Depo Ex 152)           is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
          (UCP001845-1849)                    evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                              as to the identity of the author or that   ASIC’s response is as follows:
                                              he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                              factual matter stated (F.R.E. 602).        to state what portion of exhibit is
                                                                                         hearsay; (2) statements not offered
                                                                                         for the truth, but rather to show
                                                                                         information acted upon/state of
                                                                                         mind of parties or individuals
                                                                                         identified in exhibits; (3) several
                                                                                         statements made by party-
  Error! Unknown document                                             149
  property name.                          ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                          opponent, NBC, and agents
                                                                                          affiliated with NBC and operating
                                                                                          within the scope of their agency
                                                                                          (e.g. Aon) and, therefore, are not
                                                                                          hearsay under F.R.E. 801.
                                                                                          F.R.E. 602 – Witnesses has
                                                                                          personal knowledge of what
                                                                                          information NBC received before,
                                                                                          during, and after the events giving
                                                                                          rise to the claim, including this
                                                                                          exhibit. Witness does not need
                                                                                          personally to have been in Israel in
                                                                                          order to testify regarding what
                                                                                          information NBC received
                                                                                          regarding what was going on in
                                                                                          Israel.




DX 93     07/08/14 Email from Chris          If offered to prove the truth of facts       Plaintiff has listed exhibit on its list
          Biggs to Stephen Smith, with       stated therein, inadmissible hearsay and     and, therefore, exhibit should be
          attachment (Smith Depo Ex          no exception is applicable (F.R.E. 801,      admitted as agreed. Should
          153) (UCP002813)                   802); Improper lay opinion (F.R.E.           Plaintiffs withdraw the exhibit,
                                             701); No evidence sufficient to support      ASIC’s response is as follows:
                                             a finding as to the identity of the author
                                             or that he/she has personal knowledge
  Error! Unknown document                                              150
  property name.                         ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         of the factual matter stated (F.R.E.      F.R.E. 801/802 – (1) Plaintiff fails
                                         602); Irrelevant (F.R.E. 401, 402); Any   to state what portion of exhibit is
                                         probative value is substantially          hearsay; (2) statements not offered
                                         outweighed by risk of unfair prejudice,   for the truth, but rather to show
                                         confusing the issues, misleading the      information acted upon/state of
                                         jury, undue delay, wasting time, or       mind of parties or individuals
                                         needlessly presenting cumulative          identified in exhibits; (3) several
                                         evidence (F.R.E. 403).                    statements made by party-
                                                                                   opponent, NBC, and agents
                                                                                   affiliated with NBC and operating
                                                                                   within the scope of their agency
                                                                                   (e.g. Aon) and, therefore, are not
                                                                                   hearsay under F.R.E. 801.
                                                                                   F.R.E. 602 – Witnesses has
                                                                                   personal knowledge of what
                                                                                   information NBC received before,
                                                                                   during, and after the events giving
                                                                                   rise to the claim, including this
                                                                                   exhibit. Witness does not need
                                                                                   personally to have been in Israel in
                                                                                   order to testify regarding what
                                                                                   information NBC received
                                                                                   regarding what was going on in
                                                                                   Israel.



Error! Unknown document                                         151
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                F.R.E. 701 – F.R.E. 701 – Unclear
                                                                                what opinions are offered by any
                                                                                declarant in exhibit or, if any,
                                                                                which opinions are objectionable;
                                                                                all testimony rationally based on
                                                                                information received and acted
                                                                                upon; no testimony based on
                                                                                scientific, technical, or other
                                                                                specialized knowledge within the
                                                                                scope of F.R.E. 702.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
Error! Unknown document                                        152
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                        why such alleged unfair prejudice
                                                                                        outweighs its probative value; or
                                                                                        why exhibit confuses the issue,
                                                                                        misleads the jury, wastes time, or
                                                                                        is cumulative. Furthermore, high
                                                                                        probative value re: state of mind of
                                                                                        all parties involved at the time of
                                                                                        the claim. Finally, jury is entitled
                                                                                        to know what information NBC,
                                                                                        ASIC, and other parties had at time
                                                                                        of the facts giving rise to Plaintiffs’
                                                                                        claims.


DX 94     07/08/14 Email string between    If offered to prove the truth of facts       Plaintiff has listed exhibit on its list
          Chris Biggs and Stephen Smith    stated therein, inadmissible hearsay and     and, therefore, exhibit should be
          (Smith Depo Ex 154)              no exception is applicable (F.R.E. 801,      admitted as agreed. Should
          (UCP002046-2052)                 802); Improper lay opinion (F.R.E.           Plaintiffs withdraw the exhibit,
                                           701); No evidence sufficient to support      ASIC’s response is as follows:
                                           a finding as to the identity of the author   F.R.E. 801/802 – (1) Plaintiff fails
                                           or that he/she has personal knowledge        to state what portion of exhibit is
                                           of the factual matter stated (F.R.E.         hearsay; (2) statements not offered
                                           602); Irrelevant (F.R.E. 401, 402); Any      for the truth, but rather to show
                                           probative value is substantially             information acted upon/state of
                                           outweighed by risk of unfair prejudice,      mind of parties or individuals
                                           confusing the issues, misleading the         identified in exhibits; (3) several
                                           jury, undue delay, wasting time, or          statements made by party-
  Error! Unknown document                                           153
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         needlessly presenting cumulative       opponent, NBC, and agents
                                         evidence (F.R.E. 403).                 affiliated with NBC and operating
                                                                                within the scope of their agency
                                                                                (e.g. Aon) and, therefore, are not
                                                                                hearsay under F.R.E. 801.
                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 701 – F.R.E. 701 – Unclear
                                                                                what opinions are offered by any
                                                                                declarant in exhibit or, if any,
                                                                                which opinions are objectionable;
                                                                                all testimony rationally based on
                                                                                information received and acted
                                                                                upon; no testimony based on
                                                                                scientific, technical, or other

Error! Unknown document                                         154
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                specialized knowledge within the
                                                                                scope of F.R.E. 702.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
Error! Unknown document                                        155
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 95     07/08/14 Email string between    If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
          Christ Biggs and Stephen Smith   inadmissible hearsay and no exception      and, therefore, exhibit should be
          (Smith Depo Ex 155)              is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
          (UCP002294-002301)               evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                           as to the identity of the author or that   ASIC’s response is as follows:
                                           he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                           factual matter stated (F.R.E. 602).        to state what portion of exhibit is
                                                                                      hearsay; (2) statements not offered
                                                                                      for the truth, but rather to show
                                                                                      information acted upon/state of
                                                                                      mind of parties or individuals
                                                                                      identified in exhibits; (3) several
                                                                                      statements made by party-
                                                                                      opponent, NBC, and agents
                                                                                      affiliated with NBC and operating
                                                                                      within the scope of their agency
                                                                                      (e.g. Aon) and, therefore, are not
                                                                                      hearsay under F.R.E. 801.
                                                                                      F.R.E. 602 – Witnesses has
                                                                                      personal knowledge of what
                                                                                      information NBC received before,
  Error! Unknown document                                          156
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 701 – F.R.E. 701 – Unclear
                                                                                what opinions are offered by any
                                                                                declarant in exhibit or, if any,
                                                                                which opinions are objectionable;
                                                                                all testimony rationally based on
                                                                                information received and acted
                                                                                upon; no testimony based on
                                                                                scientific, technical, or other
                                                                                specialized knowledge within the
                                                                                scope of F.R.E. 702.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
Error! Unknown document                                        157
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      relevant to establish state of mind
                                                                                      of all parties involved at time of
                                                                                      claim (NBC, ASIC, Aon, etc.).


                                                                                      F.R.E. 403 – Objection is
                                                                                      conditional, and therefore not
                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why
                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 96     07/08/14 TravelTracker           Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
          Proactive Email to Stephen       which the evidence is proffered at trial   and, therefore, exhibit should be
                                           (F.R.E. 401); Probative value is           admitted as agreed. Should
                                           substantially outweighed by risk of
  Error! Unknown document                                          158
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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        Smith (Smith Depo Ex 156)        confusing the issues, wasting time, or   Plaintiffs withdraw the exhibit,
        UCP002681-2682)                  needlessly presenting cumulative         ASIC’s response is as follows:
                                         evidence, depending on purpose for       F.R.E. 401 – Objection is
                                         which evidence is proffered at trial     conditional, and therefore not
                                         (F.R.E. 403).                            binding as to general admissibility.
                                                                                  Objection also fails to state why or
                                                                                  in what context exhibit is
                                                                                  irrelevant. Furthermore, exhibit is
                                                                                  relevant to establish state of mind
                                                                                  of all parties involved at time of
                                                                                  claim (NBC, ASIC, Aon, etc.).


                                                                                  F.R.E. 403 – Objection is
                                                                                  conditional, and therefore not
                                                                                  binding as to general admissibility.
                                                                                  Objection also fails to state why
                                                                                  exhibit is unfairly prejudicial; or
                                                                                  why such alleged unfair prejudice
                                                                                  outweighs its probative value; or
                                                                                  why exhibit confuses the issue,
                                                                                  misleads the jury, wastes time, or
                                                                                  is cumulative. Furthermore, high
                                                                                  probative value re: state of mind of
                                                                                  all parties involved at the time of
                                                                                  the claim. Finally, jury is entitled
                                                                                  to know what information NBC,
Error! Unknown document                                          159
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 97     07/08/14 Email string between    If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
          Stephen Smith and Randi          inadmissible hearsay and no exception      and, therefore, exhibit should be
          Richmond (Smith Depo Ex          is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
          157) (UCP001669)                 evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                           as to the identity of the author or that   ASIC’s response is as follows:
                                           he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                           factual matter stated (F.R.E. 602).        to state what portion of exhibit is
                                                                                      hearsay; (2) statements not offered
                                                                                      for the truth, but rather to show
                                                                                      information acted upon/state of
                                                                                      mind of parties or individuals
                                                                                      identified in exhibits; (3) several
                                                                                      statements made by party-
                                                                                      opponent, NBC, and agents
                                                                                      affiliated with NBC and operating
                                                                                      within the scope of their agency
                                                                                      (e.g. Aon) and, therefore, are not
                                                                                      hearsay under F.R.E. 801.
                                                                                      F.R.E. 602 – Witnesses has
                                                                                      personal knowledge of what
                                                                                      information NBC received before,
                                                                                      during, and after the events giving
  Error! Unknown document                                          160
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      rise to the claim, including this
                                                                                      exhibit. Witness does not need
                                                                                      personally to have been in Israel in
                                                                                      order to testify regarding what
                                                                                      information NBC received
                                                                                      regarding what was going on in
                                                                                      Israel.


DX 98     07/08/14 TravelTracker           If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
          Proactive Email to Stephen       inadmissible hearsay and no exception      and, therefore, exhibit should be
          Smith (Smith Depo Ex 158)        is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
          (UCP002477-2478)                 evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                           as to the identity of the author or that   ASIC’s response is as follows:
                                           he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                           factual matter stated (F.R.E. 602).        to state what portion of exhibit is
                                                                                      hearsay; (2) statements not offered
                                                                                      for the truth, but rather to show
                                                                                      information acted upon/state of
                                                                                      mind of parties or individuals
                                                                                      identified in exhibits; (3) several
                                                                                      statements made by party-
                                                                                      opponent, NBC, and agents
                                                                                      affiliated with NBC and operating
                                                                                      within the scope of their agency


  Error! Unknown document                                          161
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      (e.g. Aon) and, therefore, are not
                                                                                      hearsay under F.R.E. 801.
                                                                                      F.R.E. 602 – Witnesses has
                                                                                      personal knowledge of what
                                                                                      information NBC received before,
                                                                                      during, and after the events giving
                                                                                      rise to the claim, including this
                                                                                      exhibit. Witness does not need
                                                                                      personally to have been in Israel in
                                                                                      order to testify regarding what
                                                                                      information NBC received
                                                                                      regarding what was going on in
                                                                                      Israel.
DX 99     07/08/14 TravelTracker           If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
          Proactive Email to Stephen       inadmissible hearsay and no exception      and, therefore, exhibit should be
          Smith (smith Depo Ex 159)        is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
          (UCP001977-1978)                 evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                           as to the identity of the author or that   ASIC’s response is as follows:
                                           he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                           factual matter stated (F.R.E. 602).        to state what portion of exhibit is
                                                                                      hearsay; (2) statements not offered
                                                                                      for the truth, but rather to show
                                                                                      information acted upon/state of
                                                                                      mind of parties or individuals
                                                                                      identified in exhibits; (3) several
                                                                                      statements made by party-
  Error! Unknown document                                          162
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                         opponent, NBC, and agents
                                                                                         affiliated with NBC and operating
                                                                                         within the scope of their agency
                                                                                         (e.g. Aon) and, therefore, are not
                                                                                         hearsay under F.R.E. 801.


                                                                                         F.R.E. 602 – Witnesses has
                                                                                         personal knowledge of what
                                                                                         information NBC received before,
                                                                                         during, and after the events giving
                                                                                         rise to the claim, including this
                                                                                         exhibit. Witness does not need
                                                                                         personally to have been in Israel in
                                                                                         order to testify regarding what
                                                                                         information NBC received
                                                                                         regarding what was going on in
                                                                                         Israel.
DX 100 07/08/14 Max Security                If offered to prove the truth of facts       Plaintiff has listed exhibit on its list
       Intelligence Email to Stephen        stated therein, inadmissible hearsay and     and, therefore, exhibit should be
       Smith (Smith Depo Ex 160)            no exception is applicable (F.R.E. 801,      admitted as agreed. Should
       (UCP002828-2831)                     802); Improper lay opinion (F.R.E.           Plaintiffs withdraw the exhibit,
                                            701); No evidence sufficient to support      ASIC’s response is as follows:
                                            a finding as to the identity of the author   F.R.E. 801/802 – (1) Plaintiff fails
                                            or that he/she has personal knowledge        to state what portion of exhibit is
                                            of the factual matter stated (F.R.E.         hearsay; (2) statements not offered
                                            602); Irrelevant (F.R.E. 401, 402); Any
   Error! Unknown document                                            163
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         probative value is substantially          for the truth, but rather to show
                                         outweighed by risk of unfair prejudice,   information acted upon/state of
                                         confusing the issues, misleading the      mind of parties or individuals
                                         jury, undue delay, wasting time, or       identified in exhibits; (3) several
                                         needlessly presenting cumulative          statements made by party-
                                         evidence (F.R.E. 403).                    opponent, NBC, and agents
                                                                                   affiliated with NBC and operating
                                                                                   within the scope of their agency
                                                                                   (e.g. Aon) and, therefore, are not
                                                                                   hearsay under F.R.E. 801.
                                                                                   F.R.E. 701 – Unclear what
                                                                                   opinions are offered by any
                                                                                   declarant in exhibit; all testimony
                                                                                   rationally based on information
                                                                                   received and acted upon; no
                                                                                   testimony based on scientific,
                                                                                   technical, or other specialized
                                                                                   knowledge within the scope of
                                                                                   F.R.E. 702.


                                                                                   F.R.E. 602 – Witnesses has
                                                                                   personal knowledge of what
                                                                                   information NBC received before,
                                                                                   during, and after the events giving
                                                                                   rise to the claim, including this
                                                                                   exhibit. Witness does not need
Error! Unknown document                                          164
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
Error! Unknown document                                        165
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                         probative value re: state of mind of
                                                                                         all parties involved at the time of
                                                                                         the claim. Finally, jury is entitled
                                                                                         to know what information NBC,
                                                                                         ASIC, and other parties had at time
                                                                                         of the facts giving rise to Plaintiffs’
                                                                                         claims.


DX 101 07/09/14 Email string between        If offered to prove the truth of facts       Plaintiff has listed exhibit on its list
       Mark Winemaker and Stephen           stated therein, inadmissible hearsay and     and, therefore, exhibit should be
       Smith (Smith Depo Ex 161)            no exception is applicable (F.R.E. 801,      admitted as agreed. Should
       (UCP000913-914)                      802); Improper lay opinion (F.R.E.           Plaintiffs withdraw the exhibit,
                                            701); No evidence sufficient to support      ASIC’s response is as follows:
                                            a finding as to the identity of the author   F.R.E. 801/802 – (1) Plaintiff fails
                                            or that he/she has personal knowledge        to state what portion of exhibit is
                                            of the factual matter stated (F.R.E.         hearsay; (2) statements not offered
                                            602); Irrelevant (F.R.E. 401, 402); Any      for the truth, but rather to show
                                            probative value is substantially             information acted upon/state of
                                            outweighed by risk of unfair prejudice,      mind of parties or individuals
                                            confusing the issues, misleading the         identified in exhibits; (3) several
                                            jury, undue delay, wasting time, or          statements made by party-
                                            needlessly presenting cumulative             opponent, NBC, and agents
                                            evidence (F.R.E. 403).                       affiliated with NBC and operating
                                                                                         within the scope of their agency
                                                                                         (e.g. Aon) and, therefore, are not
                                                                                         hearsay under F.R.E. 801.
   Error! Unknown document                                           166
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 701 – F.R.E. 701 – Unclear
                                                                                what opinions are offered by any
                                                                                declarant in exhibit or, if any,
                                                                                which opinions are objectionable;
                                                                                all testimony rationally based on
                                                                                information received and acted
                                                                                upon; no testimony based on
                                                                                scientific, technical, or other
                                                                                specialized knowledge within the
                                                                                scope of F.R.E. 702.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
Error! Unknown document                                        167
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.



Error! Unknown document                                        168
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 102 07/09/14 Email from Chris            If offered to prove the truth of facts       Plaintiff has listed exhibit on its list
       Biggs to Stephen Smith, with         stated therein, inadmissible hearsay and     and, therefore, exhibit should be
       attachment (Smith Depo Ex            no exception is applicable (F.R.E. 801,      admitted as agreed. Should
       162) (UCP002181-2188)                802); Improper lay opinion (F.R.E.           Plaintiffs withdraw the exhibit,
                                            701); No evidence sufficient to support      ASIC’s response is as follows:
                                            a finding as to the identity of the author   F.R.E. 801/802 – (1) Plaintiff fails
                                            or that he/she has personal knowledge        to state what portion of exhibit is
                                            of the factual matter stated (F.R.E.         hearsay; (2) statements not offered
                                            602); Irrelevant (F.R.E. 401, 402); Any      for the truth, but rather to show
                                            probative value is substantially             information acted upon/state of
                                            outweighed by risk of unfair prejudice,      mind of parties or individuals
                                            confusing the issues, misleading the         identified in exhibits; (3) several
                                            jury, undue delay, wasting time, or          statements made by party-
                                            needlessly presenting cumulative             opponent, NBC, and agents
                                            evidence (F.R.E. 403).                       affiliated with NBC and operating
                                                                                         within the scope of their agency
                                                                                         (e.g. Aon) and, therefore, are not
                                                                                         hearsay under F.R.E. 801.
                                                                                         F.R.E. 602 – Witnesses has
                                                                                         personal knowledge of what
                                                                                         information NBC received before,
                                                                                         during, and after the events giving
                                                                                         rise to the claim, including this
                                                                                         exhibit. Witness does not need
                                                                                         personally to have been in Israel in
                                                                                         order to testify regarding what
   Error! Unknown document                                           169
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 701 – F.R.E. 701 – Unclear
                                                                                what opinions are offered by any
                                                                                declarant in exhibit or, if any,
                                                                                which opinions are objectionable;
                                                                                all testimony rationally based on
                                                                                information received and acted
                                                                                upon; no testimony based on
                                                                                scientific, technical, or other
                                                                                specialized knowledge within the
                                                                                scope of F.R.E. 702.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


Error! Unknown document                                        170
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      F.R.E. 403 – Objection is
                                                                                      conditional, and therefore not
                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why
                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 103 07/08-09/14 Email string            If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       between Stephen Smith, Tom          inadmissible hearsay and no exception      and, therefore, exhibit should be
       McCarthy, Randi Richmond            is applicable (F.R.E. 801, 802); No        admitted as agreed. Should
       and others (Smith Depo Ex           evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
       163) (UCP002405-2406)               as to the identity of the author or that   ASIC’s response is as follows:
                                           he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                           factual matter stated (F.R.E. 602).        to state what portion of exhibit is
                                                                                      hearsay; (2) statements not offered
  Error! Unknown document                                          171
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       for the truth, but rather to show
                                                                                       information acted upon/state of
                                                                                       mind of parties or individuals
                                                                                       identified in exhibits; (3) several
                                                                                       statements made by party-
                                                                                       opponent, NBC, and agents
                                                                                       affiliated with NBC and operating
                                                                                       within the scope of their agency
                                                                                       (e.g. Aon) and, therefore, are not
                                                                                       hearsay under F.R.E. 801.
                                                                                       F.R.E. 602 – Witnesses has
                                                                                       personal knowledge of what
                                                                                       information NBC received before,
                                                                                       during, and after the events giving
                                                                                       rise to the claim, including this
                                                                                       exhibit. Witness does not need
                                                                                       personally to have been in Israel in
                                                                                       order to testify regarding what
                                                                                       information NBC received
                                                                                       regarding what was going on in
                                                                                       Israel.


DX 104 07/09/14 Country Risk Forecast       If offered to prove the truth of facts   Plaintiff has listed exhibit on its list
       Email to Stephen Smith (Smith        stated therein, inadmissible hearsay and and, therefore, exhibit should be
       Depo Ex 164) (UCP002683-             no exception is applicable (F.R.E. 801, admitted as agreed. Should
       2684)                                802); Improper lay opinion (F.R.E.
   Error! Unknown document                                           172
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         701); No evidence sufficient to support      Plaintiffs withdraw the exhibit,
                                         a finding as to the identity of the author   ASIC’s response is as follows:
                                         or that he/she has personal knowledge        F.R.E. 801/802 – (1) Plaintiff fails
                                         of the factual matter stated (F.R.E.         to state what portion of exhibit is
                                         602); Irrelevant (F.R.E. 401, 402); Any      hearsay; (2) statements not offered
                                         probative value is substantially             for the truth, but rather to show
                                         outweighed by risk of unfair prejudice,      information acted upon/state of
                                         confusing the issues, misleading the         mind of parties or individuals
                                         jury, undue delay, wasting time, or          identified in exhibits; (3) several
                                         needlessly presenting cumulative             statements made by party-
                                         evidence (F.R.E. 403).                       opponent, NBC, and agents
                                                                                      affiliated with NBC and operating
                                                                                      within the scope of their agency
                                                                                      (e.g. Aon) and, therefore, are not
                                                                                      hearsay under F.R.E. 801.
                                                                                      F.R.E. 701 – Unclear what
                                                                                      opinions are offered by any
                                                                                      declarant in exhibit; all testimony
                                                                                      rationally based on information
                                                                                      received and acted upon; no
                                                                                      testimony based on scientific,
                                                                                      technical, or other specialized
                                                                                      knowledge within the scope of
                                                                                      F.R.E. 702.



Error! Unknown document                                           173
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
Error! Unknown document                                        174
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                         exhibit is unfairly prejudicial; or
                                                                                         why such alleged unfair prejudice
                                                                                         outweighs its probative value; or
                                                                                         why exhibit confuses the issue,
                                                                                         misleads the jury, wastes time, or
                                                                                         is cumulative. Furthermore, high
                                                                                         probative value re: state of mind of
                                                                                         all parties involved at the time of
                                                                                         the claim. Finally, jury is entitled
                                                                                         to know what information NBC,
                                                                                         ASIC, and other parties had at time
                                                                                         of the facts giving rise to Plaintiffs’
                                                                                         claims.


DX 105 07/09/14 Email string between        If offered to prove the truth of facts       Plaintiff has listed exhibit on its list
       Mark Binke, Jeff Wachtel,            stated therein, inadmissible hearsay and     and, therefore, exhibit should be
       Stephen Smith and Randi              no exception is applicable (F.R.E. 801,      admitted as agreed. Should
       Richmond, with attachment            802); Improper lay opinion (F.R.E.           Plaintiffs withdraw the exhibit,
       (Smith Depo Ex 165)                  701); No evidence sufficient to support      ASIC’s response is as follows:
       (UCP000658-666)                      a finding as to the identity of the author   F.R.E. 801/802 – (1) Plaintiff fails
                                            or that he/she has personal knowledge        to state what portion of exhibit is
                                            of the factual matter stated (F.R.E.         hearsay; (2) statements not offered
                                            602); Irrelevant (F.R.E. 401, 402); Any      for the truth, but rather to show
                                            probative value is substantially             information acted upon/state of
                                            outweighed by risk of unfair prejudice,      mind of parties or individuals
                                            confusing the issues, misleading the
   Error! Unknown document                                            175
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         jury, undue delay, wasting time, or    identified in exhibits; (3) several
                                         needlessly presenting cumulative       statements made by party-
                                         evidence (F.R.E. 403).                 opponent, NBC, and agents
                                                                                affiliated with NBC and operating
                                                                                within the scope of their agency
                                                                                (e.g. Aon) and, therefore, are not
                                                                                hearsay under F.R.E. 801.
                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 701 – F.R.E. 701 – Unclear
                                                                                what opinions are offered by any
                                                                                declarant in exhibit or, if any,
                                                                                which opinions are objectionable;
                                                                                all testimony rationally based on
                                                                                information received and acted
                                                                                upon; no testimony based on
Error! Unknown document                                          176
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                scientific, technical, or other
                                                                                specialized knowledge within the
                                                                                scope of F.R.E. 702.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
Error! Unknown document                                        177
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                         the claim. Finally, jury is entitled
                                                                                         to know what information NBC,
                                                                                         ASIC, and other parties had at time
                                                                                         of the facts giving rise to Plaintiffs’
                                                                                         claims.


DX 106 07/09/14 Email from Chris            If offered to prove the truth of facts       Plaintiff has listed exhibit on its list
       Biggs to Stephen Smith (Smith        stated therein, inadmissible hearsay and     and, therefore, exhibit should be
       Depo Ex 166) (UCP002393)             no exception is applicable (F.R.E. 801,      admitted as agreed. Should
                                            802); Improper lay opinion (F.R.E.           Plaintiffs withdraw the exhibit,
                                            701); No evidence sufficient to support      ASIC’s response is as follows:
                                            a finding as to the identity of the author   F.R.E. 801/802 – (1) Plaintiff fails
                                            or that he/she has personal knowledge        to state what portion of exhibit is
                                            of the factual matter stated (F.R.E.         hearsay; (2) statements not offered
                                            602); Irrelevant (F.R.E. 401, 402); Any      for the truth, but rather to show
                                            probative value is substantially             information acted upon/state of
                                            outweighed by risk of unfair prejudice,      mind of parties or individuals
                                            confusing the issues, misleading the         identified in exhibits; (3) several
                                            jury, undue delay, wasting time, or          statements made by party-
                                            needlessly presenting cumulative             opponent, NBC, and agents
                                            evidence (F.R.E. 403).                       affiliated with NBC and operating
                                                                                         within the scope of their agency
                                                                                         (e.g. Aon) and, therefore, are not
                                                                                         hearsay under F.R.E. 801.
                                                                                         F.R.E. 602 – Witnesses has
                                                                                         personal knowledge of what
   Error! Unknown document                                           178
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 701 – F.R.E. 701 – Unclear
                                                                                what opinions are offered by any
                                                                                declarant in exhibit or, if any,
                                                                                which opinions are objectionable;
                                                                                all testimony rationally based on
                                                                                information received and acted
                                                                                upon; no testimony based on
                                                                                scientific, technical, or other
                                                                                specialized knowledge within the
                                                                                scope of F.R.E. 702.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
Error! Unknown document                                        179
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       irrelevant. Furthermore, exhibit is
                                                                                       relevant to establish state of mind
                                                                                       of all parties involved at time of
                                                                                       claim (NBC, ASIC, Aon, etc.).


                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
                                                                                       Objection also fails to state why
                                                                                       exhibit is unfairly prejudicial; or
                                                                                       why such alleged unfair prejudice
                                                                                       outweighs its probative value; or
                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 107 07/09/14 Email string between        Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       Chris Biggs and Stephen Smith        which the evidence is proffered at trial   and, therefore, exhibit should be
                                            (F.R.E. 401); Probative value is           admitted as agreed. Should
   Error! Unknown document                                          180
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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        (Smith Depo Ex 167)              substantially outweighed by risk of      Plaintiffs withdraw the exhibit,
        (UCP002243-2244)                 confusing the issues, wasting time, or   ASIC’s response is as follows:
                                         needlessly presenting cumulative         F.R.E. 401 – Objection is
                                         evidence, depending on purpose for       conditional, and therefore not
                                         which evidence is proffered at trial     binding as to general admissibility.
                                         (F.R.E. 403).                            Objection also fails to state why or
                                                                                  in what context exhibit is
                                                                                  irrelevant. Furthermore, exhibit is
                                                                                  relevant to establish state of mind
                                                                                  of all parties involved at time of
                                                                                  claim (NBC, ASIC, Aon, etc.).


                                                                                  F.R.E. 403 – Objection is
                                                                                  conditional, and therefore not
                                                                                  binding as to general admissibility.
                                                                                  Objection also fails to state why
                                                                                  exhibit is unfairly prejudicial; or
                                                                                  why such alleged unfair prejudice
                                                                                  outweighs its probative value; or
                                                                                  why exhibit confuses the issue,
                                                                                  misleads the jury, wastes time, or
                                                                                  is cumulative. Furthermore, high
                                                                                  probative value re: state of mind of
                                                                                  all parties involved at the time of
Error! Unknown document                                          181
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.

DX 108 07/09/14 Email string between        Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       Stephen Smith and Cory               which the evidence is proffered at trial   and, therefore, exhibit should be
       Shields (Smith Depo Ex 168)          (F.R.E. 401); Probative value is           admitted as agreed. Should
       (UCP002821)                          substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                            confusing the issues, wasting time, or     ASIC’s response is as follows:
                                            needlessly presenting cumulative           F.R.E. 401 – Objection is
                                            evidence, depending on purpose for         conditional, and therefore not
                                            which evidence is proffered at trial       binding as to general admissibility.
                                            (F.R.E. 403).                              Objection also fails to state why or
                                                                                       in what context exhibit is
                                                                                       irrelevant. Furthermore, exhibit is
                                                                                       relevant to establish state of mind
                                                                                       of all parties involved at time of
                                                                                       claim (NBC, ASIC, Aon, etc.).


                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
                                                                                       Objection also fails to state why
   Error! Unknown document                                           182
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 109 07/09/14 Email from Stephen         If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       Smith to Brian Brady (Smith         inadmissible hearsay and no exception      and, therefore, exhibit should be
       Depo Ex 169) (UCP002324)            is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
                                           evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                           as to the identity of the author or that   ASIC’s response is as follows:
                                           he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                           factual matter stated (F.R.E. 602).        to state what portion of exhibit is
                                                                                      hearsay; (2) statements not offered
                                                                                      for the truth, but rather to show
                                                                                      information acted upon/state of
                                                                                      mind of parties or individuals
                                                                                      identified in exhibits; (3) several
  Error! Unknown document                                          183
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                          #:24650




                                                                                         statements made by party-
                                                                                         opponent, NBC, and agents
                                                                                         affiliated with NBC and operating
                                                                                         within the scope of their agency
                                                                                         (e.g. Aon) and, therefore, are not
                                                                                         hearsay under F.R.E. 801.
                                                                                         F.R.E. 602 – Witnesses has
                                                                                         personal knowledge of what
                                                                                         information NBC received before,
                                                                                         during, and after the events giving
                                                                                         rise to the claim, including this
                                                                                         exhibit. Witness does not need
                                                                                         personally to have been in Israel in
                                                                                         order to testify regarding what
                                                                                         information NBC received
                                                                                         regarding what was going on in
                                                                                         Israel.


DX 110 07/09/14 Max Security                If offered to prove the truth of facts       Plaintiff has listed exhibit on its list
       Intelligence Email to Stephen        stated therein, inadmissible hearsay and     and, therefore, exhibit should be
       Smith (Smith Depo Ex 170)            no exception is applicable (F.R.E. 801,      admitted as agreed. Should
       (UCP002372-2376)                     802); Improper lay opinion (F.R.E.           Plaintiffs withdraw the exhibit,
                                            701); No evidence sufficient to support      ASIC’s response is as follows:
                                            a finding as to the identity of the author   F.R.E. 801/802 – (1) Plaintiff fails
                                            or that he/she has personal knowledge        to state what portion of exhibit is
                                            of the factual matter stated (F.R.E.
   Error! Unknown document                                            184
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         602); Irrelevant (F.R.E. 401, 402); Any   hearsay; (2) statements not offered
                                         probative value is substantially          for the truth, but rather to show
                                         outweighed by risk of unfair prejudice,   information acted upon/state of
                                         confusing the issues, misleading the      mind of parties or individuals
                                         jury, undue delay, wasting time, or       identified in exhibits; (3) several
                                         needlessly presenting cumulative          statements made by party-
                                         evidence (F.R.E. 403).                    opponent, NBC, and agents
                                                                                   affiliated with NBC and operating
                                                                                   within the scope of their agency
                                                                                   (e.g. Aon) and, therefore, are not
                                                                                   hearsay under F.R.E. 801.
                                                                                   F.R.E. 701 – Unclear what
                                                                                   opinions are offered by any
                                                                                   declarant in exhibit; all testimony
                                                                                   rationally based on information
                                                                                   received and acted upon; no
                                                                                   testimony based on scientific,
                                                                                   technical, or other specialized
                                                                                   knowledge within the scope of
                                                                                   F.R.E. 702.


                                                                                   F.R.E. 602 – Witnesses has
                                                                                   personal knowledge of what
                                                                                   information NBC received before,
                                                                                   during, and after the events giving
                                                                                   rise to the claim, including this
Error! Unknown document                                         185
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
Error! Unknown document                                        186
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 111 07/10/14 Email from Chris            If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       Biggs to Erin Noordeloos and         inadmissible hearsay and no exception      and, therefore, exhibit should be
       Stephen Smith (Smith Depo            is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
       Exhibit 171) (UCP002468-             evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
       2470)                                as to the identity of the author or that   ASIC’s response is as follows:
                                            he/she has personal knowledge of the       F.R.E. 801/802 – (1) F.R.E.
                                            factual matter stated (F.R.E. 602).        801/802 – (1) Plaintiff fails to state
                                                                                       what portion of exhibit is hearsay;
                                                                                       (2) statements not offered for the
                                                                                       truth, but rather to show
                                                                                       information acted upon/state of
                                                                                       mind of parties or individuals
                                                                                       identified in exhibits; (3) several
                                                                                       statements made by party-
                                                                                       opponent, NBC, and agents
                                                                                       affiliated with NBC and operating
   Error! Unknown document                                          187
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                         within the scope of their agency
                                                                                         (e.g. Aon) and, therefore, are not
                                                                                         hearsay under F.R.E. 801.
                                                                                         F.R.E. 602 – Witnesses has
                                                                                         personal knowledge of what
                                                                                         information NBC received before,
                                                                                         during, and after the events giving
                                                                                         rise to the claim, including this
                                                                                         exhibit. Witness does not need
                                                                                         personally to have been in Israel in
                                                                                         order to testify regarding what
                                                                                         information NBC received
                                                                                         regarding what was going on in
                                                                                         Israel.


DX 112 07/10/14 TravelTracker               If offered to prove the truth of facts       Plaintiff has listed exhibit on its list
       Proactive Email to Stephen           stated therein, inadmissible hearsay and     and, therefore, exhibit should be
       Smith (Smith Depo Ex 172)            no exception is applicable (F.R.E. 801,      admitted as agreed. Should
       (UCP001973-1974)                     802); Improper lay opinion (F.R.E.           Plaintiffs withdraw the exhibit,
                                            701); No evidence sufficient to support      ASIC’s response is as follows:
                                            a finding as to the identity of the author   F.R.E. 801/802 – (1) Plaintiff fails
                                            or that he/she has personal knowledge        to state what portion of exhibit is
                                            of the factual matter stated (F.R.E.         hearsay; (2) statements not offered
                                            602); Irrelevant (F.R.E. 401, 402); Any      for the truth, but rather to show
                                            probative value is substantially             information acted upon/state of
                                            outweighed by risk of unfair prejudice,      mind of parties or individuals
   Error! Unknown document                                           188
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         confusing the issues, misleading the   identified in exhibits; (3) several
                                         jury, undue delay, wasting time, or    statements made by party-
                                         needlessly presenting cumulative       opponent, NBC, and agents
                                         evidence (F.R.E. 403).                 affiliated with NBC and operating
                                                                                within the scope of their agency
                                                                                (e.g. Aon) and, therefore, are not
                                                                                hearsay under F.R.E. 801.
                                                                                F.R.E. 701 – Unclear what
                                                                                opinions are offered by any
                                                                                declarant in exhibit; all testimony
                                                                                rationally based on information
                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702.


                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
Error! Unknown document                                          189
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
Error! Unknown document                                        190
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                        to know what information NBC,
                                                                                        ASIC, and other parties had at time
                                                                                        of the facts giving rise to Plaintiffs’
                                                                                        claims.


DX 113 07/10/14 Email from Stephen         If offered to prove the truth of facts       Plaintiff has listed exhibit on its list
       Smith to Randi Richmond             stated therein, inadmissible hearsay and     and, therefore, exhibit should be
       (Smith Depo Ex 173)                 no exception is applicable (F.R.E. 801,      admitted as agreed. Should
       (UCP000482-483)                     802); Improper lay opinion (F.R.E.           Plaintiffs withdraw the exhibit,
                                           701); No evidence sufficient to support      ASIC’s response is as follows:
                                           a finding as to the identity of the author   F.R.E. 801/802 – (1) Plaintiff fails
                                           or that he/she has personal knowledge        to state what portion of exhibit is
                                           of the factual matter stated (F.R.E.         hearsay; (2) statements not offered
                                           602); Irrelevant (F.R.E. 401, 402); Any      for the truth, but rather to show
                                           probative value is substantially             information acted upon/state of
                                           outweighed by risk of unfair prejudice,      mind of parties or individuals
                                           confusing the issues, misleading the         identified in exhibits; (3) several
                                           jury, undue delay, wasting time, or          statements made by party-
                                           needlessly presenting cumulative             opponent, NBC, and agents
                                           evidence (F.R.E. 403).                       affiliated with NBC and operating
                                                                                        within the scope of their agency
                                                                                        (e.g. Aon) and, therefore, are not
                                                                                        hearsay under F.R.E. 801.
                                                                                        F.R.E. 701 – Unclear what
                                                                                        opinions are offered by any
  Error! Unknown document                                           191
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                declarant in exhibit; all testimony
                                                                                rationally based on information
                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702.


                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
Error! Unknown document                                        192
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      relevant to establish state of mind
                                                                                      of all parties involved at time of
                                                                                      claim (NBC, ASIC, Aon, etc.).


                                                                                      F.R.E. 403 – Objection is
                                                                                      conditional, and therefore not
                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why
                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.

DX 114 07/10/14 Email from Stephen         If offered to prove the truth of facts   Plaintiff has listed exhibit on its list
       Smith to Tom McCarthy and           stated therein, inadmissible hearsay and and, therefore, exhibit should be
  Error! Unknown document                                            193
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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        Erin Noordeloos (Smith Depo      no exception is applicable (F.R.E. 801,      admitted as agreed. Should
        Ex 174) (UCP_004026-4027)        802); Improper lay opinion (F.R.E.           Plaintiffs withdraw the exhibit,
                                         701); No evidence sufficient to support      ASIC’s response is as follows:
                                         a finding as to the identity of the author   F.R.E. 801/802 – (1) Plaintiff fails
                                         or that he/she has personal knowledge        to state what portion of exhibit is
                                         of the factual matter stated (F.R.E.         hearsay; (2) statements not offered
                                         602); Irrelevant (F.R.E. 401, 402); Any      for the truth, but rather to show
                                         probative value is substantially             information acted upon/state of
                                         outweighed by risk of unfair prejudice,      mind of parties or individuals
                                         confusing the issues, misleading the         identified in exhibits; (3) several
                                         jury, undue delay, wasting time, or          statements made by party-
                                         needlessly presenting cumulative             opponent, NBC, and agents
                                         evidence (F.R.E. 403).                       affiliated with NBC and operating
                                                                                      within the scope of their agency
                                                                                      (e.g. Aon) and, therefore, are not
                                                                                      hearsay under F.R.E. 801.
                                                                                      F.R.E. 701 – Unclear what
                                                                                      opinions are offered by any
                                                                                      declarant in exhibit; all testimony
                                                                                      rationally based on information
                                                                                      received and acted upon; no
                                                                                      testimony based on scientific,
                                                                                      technical, or other specialized
                                                                                      knowledge within the scope of
                                                                                      F.R.E. 702.


Error! Unknown document                                           194
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                       #:24661




                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
Error! Unknown document                                        195
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                          #:24662




                                                                                       Objection also fails to state why
                                                                                       exhibit is unfairly prejudicial; or
                                                                                       why such alleged unfair prejudice
                                                                                       outweighs its probative value; or
                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.

DX 115 07/10/14 Email string between        Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       Erin Noordeloos, Stephen             which the evidence is proffered at trial   and, therefore, exhibit should be
       Smith and Tom McCarthy               (F.R.E. 401); Probative value is           admitted as agreed. Should
       (Smith Depo Ex 175)                  substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
       (UCP_004034-4036)                    confusing the issues, wasting time, or     ASIC’s response is as follows:
                                            needlessly presenting cumulative           F.R.E. 401 – Objection is
                                            evidence, depending on purpose for         conditional, and therefore not
                                            which evidence is proffered at trial       binding as to general admissibility.
                                            (F.R.E. 403).                              Objection also fails to state why or
                                                                                       in what context exhibit is
   Error! Unknown document                                          196
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
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                                                                                      irrelevant. Furthermore, exhibit is
                                                                                      relevant to establish state of mind
                                                                                      of all parties involved at time of
                                                                                      claim (NBC, ASIC, Aon, etc.).


                                                                                      F.R.E. 403 – Objection is
                                                                                      conditional, and therefore not
                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why
                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 116 07/10/14 Email from Stephen         Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       Smith to Erin Noordeloos            which the evidence is proffered at trial   and, therefore, exhibit should be
                                           (F.R.E. 401); Probative value is           admitted as agreed. Should
  Error! Unknown document                                          197
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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        (Smith Depo Ex 176)              substantially outweighed by risk of      Plaintiffs withdraw the exhibit,
        (UCP001955)                      confusing the issues, wasting time, or   ASIC’s response is as follows:
                                         needlessly presenting cumulative         F.R.E. 401 – Objection is
                                         evidence, depending on purpose for       conditional, and therefore not
                                         which evidence is proffered at trial     binding as to general admissibility.
                                         (F.R.E. 403).                            Objection also fails to state why or
                                                                                  in what context exhibit is
                                                                                  irrelevant. Furthermore, exhibit is
                                                                                  relevant to establish state of mind
                                                                                  of all parties involved at time of
                                                                                  claim (NBC, ASIC, Aon, etc.).


                                                                                  F.R.E. 403 – Objection is
                                                                                  conditional, and therefore not
                                                                                  binding as to general admissibility.
                                                                                  Objection also fails to state why
                                                                                  exhibit is unfairly prejudicial; or
                                                                                  why such alleged unfair prejudice
                                                                                  outweighs its probative value; or
                                                                                  why exhibit confuses the issue,
                                                                                  misleads the jury, wastes time, or
                                                                                  is cumulative. Furthermore, high
                                                                                  probative value re: state of mind of
                                                                                  all parties involved at the time of
                                                                                  the claim. Finally, jury is entitled
                                                                                  to know what information NBC,
Error! Unknown document                                          198
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 117 07/10/14 Email from Stephen         If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       Smith to Mark Binke (Smith          inadmissible hearsay and no exception      and, therefore, exhibit should be
       Depo Ex 177) (UCP000993)            is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
                                           evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                           as to the identity of the author or that   ASIC’s response is as follows:
                                           he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                           factual matter stated (F.R.E. 602).        to state what portion of exhibit is
                                                                                      hearsay; (2) statements not offered
                                                                                      for the truth, but rather to show
                                                                                      information acted upon/state of
                                                                                      mind of parties or individuals
                                                                                      identified in exhibits; (3) several
                                                                                      statements made by party-
                                                                                      opponent, NBC, and agents
                                                                                      affiliated with NBC and operating
                                                                                      within the scope of their agency
                                                                                      (e.g. Aon) and, therefore, are not
                                                                                      hearsay under F.R.E. 801.
                                                                                      F.R.E. 602 – Witnesses has
                                                                                      personal knowledge of what
                                                                                      information NBC received before,
                                                                                      during, and after the events giving
  Error! Unknown document                                          199
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                          #:24666




                                                                                       rise to the claim, including this
                                                                                       exhibit. Witness does not need
                                                                                       personally to have been in Israel in
                                                                                       order to testify regarding what
                                                                                       information NBC received
                                                                                       regarding what was going on in
                                                                                       Israel.


DX 118 07/10/14 14 Max Security             If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       Intelligence Email to Stephen        inadmissible hearsay and no exception      and, therefore, exhibit should be
       Smith (Smith Depo Ex 178)            is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
       (UCP002599-2603)                     evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                            as to the identity of the author or that   ASIC’s response is as follows:
                                            he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                            factual matter stated (F.R.E. 602).        to state what portion of exhibit is
                                                                                       hearsay; (2) statements not offered
                                                                                       for the truth, but rather to show
                                                                                       information acted upon/state of
                                                                                       mind of parties or individuals
                                                                                       identified in exhibits; (3) several
                                                                                       statements made by party-
                                                                                       opponent, NBC, and agents
                                                                                       affiliated with NBC and operating
                                                                                       within the scope of their agency


   Error! Unknown document                                          200
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                         (e.g. Aon) and, therefore, are not
                                                                                         hearsay under F.R.E. 801.
                                                                                         F.R.E. 602 – Witnesses has
                                                                                         personal knowledge of what
                                                                                         information NBC received before,
                                                                                         during, and after the events giving
                                                                                         rise to the claim, including this
                                                                                         exhibit. Witness does not need
                                                                                         personally to have been in Israel in
                                                                                         order to testify regarding what
                                                                                         information NBC received
                                                                                         regarding what was going on in
                                                                                         Israel.


DX 119 07/11/14 Max Security                If offered to prove the truth of facts       Plaintiff has listed exhibit on its list
       Intelligence Email to Stephen        stated therein, inadmissible hearsay and     and, therefore, exhibit should be
       Smith (Smith Depo Ex 179)            no exception is applicable (F.R.E. 801,      admitted as agreed. Should
       (UCP002288-2292)                     802); Improper lay opinion (F.R.E.           Plaintiffs withdraw the exhibit,
                                            701); No evidence sufficient to support      ASIC’s response is as follows:
                                            a finding as to the identity of the author   F.R.E. 801/802 – (1) Plaintiff fails
                                            or that he/she has personal knowledge        to state what portion of exhibit is
                                            of the factual matter stated (F.R.E.         hearsay; (2) statements not offered
                                            602); Irrelevant (F.R.E. 401, 402); Any      for the truth, but rather to show
                                            probative value is substantially             information acted upon/state of
                                            outweighed by risk of unfair prejudice,      mind of parties or individuals
                                            confusing the issues, misleading the
   Error! Unknown document                                            201
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         jury, undue delay, wasting time, or    identified in exhibits; (3) several
                                         needlessly presenting cumulative       statements made by party-
                                         evidence (F.R.E. 403).                 opponent, NBC, and agents
                                                                                affiliated with NBC and operating
                                                                                within the scope of their agency
                                                                                (e.g. Aon) and, therefore, are not
                                                                                hearsay under F.R.E. 801.
                                                                                F.R.E. 701 – Unclear what
                                                                                opinions are offered by any
                                                                                declarant in exhibit; all testimony
                                                                                rationally based on information
                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702.


                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
Error! Unknown document                                          202
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
Error! Unknown document                                        203
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                         all parties involved at the time of
                                                                                         the claim. Finally, jury is entitled
                                                                                         to know what information NBC,
                                                                                         ASIC, and other parties had at time
                                                                                         of the facts giving rise to Plaintiffs’
                                                                                         claims.

DX 120 07/11/14 Email string between        If offered to prove the truth of facts       Plaintiff has listed exhibit on its list
       Chris Biggs and Stephen Smith        stated therein, inadmissible hearsay and     and, therefore, exhibit should be
       (Smith Depo Ex 180)                  no exception is applicable (F.R.E. 801,      admitted as agreed. Should
       (UCP002507-2509)                     802); Improper lay opinion (F.R.E.           Plaintiffs withdraw the exhibit,
                                            701); No evidence sufficient to support      ASIC’s response is as follows:
                                            a finding as to the identity of the author   F.R.E. 801/802 – (1) Plaintiff fails
                                            or that he/she has personal knowledge        to state what portion of exhibit is
                                            of the factual matter stated (F.R.E.         hearsay; (2) statements not offered
                                            602); Irrelevant (F.R.E. 401, 402); Any      for the truth, but rather to show
                                            probative value is substantially             information acted upon/state of
                                            outweighed by risk of unfair prejudice,      mind of parties or individuals
                                            confusing the issues, misleading the         identified in exhibits; (3) several
                                            jury, undue delay, wasting time, or          statements made by party-
                                            needlessly presenting cumulative             opponent, NBC, and agents
                                            evidence (F.R.E. 403).                       affiliated with NBC and operating
                                                                                         within the scope of their agency
                                                                                         (e.g. Aon) and, therefore, are not
                                                                                         hearsay under F.R.E. 801.

   Error! Unknown document                                           204
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                F.R.E. 701 – Unclear what
                                                                                opinions are offered by any
                                                                                declarant in exhibit; all testimony
                                                                                rationally based on information
                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702.


                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
Error! Unknown document                                        205
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.

Error! Unknown document                                        206
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 121 07/11/14 Email from Stephen         If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       Smith to Mark Binke (Smith          inadmissible hearsay and no exception      and, therefore, exhibit should be
       Depo Ex 181) (UCP001678-            is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
       1679)                               evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                           as to the identity of the author or that   ASIC’s response is as follows:
                                           he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                           factual matter stated (F.R.E. 602).        to state what portion of exhibit is
                                                                                      hearsay; (2) statements not offered
                                                                                      for the truth, but rather to show
                                                                                      information acted upon/state of
                                                                                      mind of parties or individuals
                                                                                      identified in exhibits; (3) several
                                                                                      statements made by party-
                                                                                      opponent, NBC, and agents
                                                                                      affiliated with NBC and operating
                                                                                      within the scope of their agency
                                                                                      (e.g. Aon) and, therefore, are not
                                                                                      hearsay under F.R.E. 801.
                                                                                      F.R.E. 602 – Witnesses has
                                                                                      personal knowledge of what
                                                                                      information NBC received before,
                                                                                      during, and after the events giving
                                                                                      rise to the claim, including this
                                                                                      exhibit. Witness does not need
                                                                                      personally to have been in Israel in
                                                                                      order to testify regarding what
  Error! Unknown document                                          207
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       information NBC received
                                                                                       regarding what was going on in
                                                                                       Israel.


DX 122 07/11/14 12:26 p.m. Max              If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       Security Intelligence Email to       inadmissible hearsay and no exception      and, therefore, exhibit should be
       Stephen Smith (Smith Depo Ex         is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
       182) (UCP001851-1854)                evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                            as to the identity of the author or that   ASIC’s response is as follows:
                                            he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                            factual matter stated (F.R.E. 602).        to state what portion of exhibit is
                                                                                       hearsay; (2) statements not offered
                                                                                       for the truth, but rather to show
                                                                                       information acted upon/state of
                                                                                       mind of parties or individuals
                                                                                       identified in exhibits; (3) several
                                                                                       statements made by party-
                                                                                       opponent, NBC, and agents
                                                                                       affiliated with NBC and operating
                                                                                       within the scope of their agency
                                                                                       (e.g. Aon) and, therefore, are not
                                                                                       hearsay under F.R.E. 801.
                                                                                       F.R.E. 602 – Witnesses has
                                                                                       personal knowledge of what
                                                                                       information NBC received before,
   Error! Unknown document                                          208
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       during, and after the events giving
                                                                                       rise to the claim, including this
                                                                                       exhibit. Witness does not need
                                                                                       personally to have been in Israel in
                                                                                       order to testify regarding what
                                                                                       information NBC received
                                                                                       regarding what was going on in
                                                                                       Israel.


DX 123 07/12/14 3:33 a.m. Max               If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       Security Intelligence Email to       inadmissible hearsay and no exception      and, therefore, exhibit should be
       Stephen Smith (Smith Depo Ex         is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
       183) (UCP 002514-2517)               evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                            as to the identity of the author or that   ASIC’s response is as follows:
                                            he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                            factual matter stated (F.R.E. 602).        to state what portion of exhibit is
                                                                                       hearsay; (2) statements not offered
                                                                                       for the truth, but rather to show
                                                                                       information acted upon/state of
                                                                                       mind of parties or individuals
                                                                                       identified in exhibits; (3) several
                                                                                       statements made by party-
                                                                                       opponent, NBC, and agents
                                                                                       affiliated with NBC and operating
                                                                                       within the scope of their agency

   Error! Unknown document                                          209
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                         (e.g. Aon) and, therefore, are not
                                                                                         hearsay under F.R.E. 801.
                                                                                         F.R.E. 602 – Witnesses has
                                                                                         personal knowledge of what
                                                                                         information NBC received before,
                                                                                         during, and after the events giving
                                                                                         rise to the claim, including this
                                                                                         exhibit. Witness does not need
                                                                                         personally to have been in Israel in
                                                                                         order to testify regarding what
                                                                                         information NBC received
                                                                                         regarding what was going on in
                                                                                         Israel.


DX 124 07/12/14 12:41 p.m. Max              If offered to prove the truth of facts       Plaintiff has listed exhibit on its list
       Security Intelligence Email to       stated therein, inadmissible hearsay and     and, therefore, exhibit should be
       Stephen Smith (Smith Depo Ex         no exception is applicable (F.R.E. 801,      admitted as agreed. Should
       184) (UCP001831-1834)                802); Improper lay opinion (F.R.E.           Plaintiffs withdraw the exhibit,
                                            701); No evidence sufficient to support      ASIC’s response is as follows:
                                            a finding as to the identity of the author   F.R.E. 801/802 – (1) Plaintiff fails
                                            or that he/she has personal knowledge        to state what portion of exhibit is
                                            of the factual matter stated (F.R.E.         hearsay; (2) statements not offered
                                            602); Irrelevant (F.R.E. 401, 402); Any      for the truth, but rather to show
                                            probative value is substantially             information acted upon/state of
                                            outweighed by risk of unfair prejudice,      mind of parties or individuals
                                            confusing the issues, misleading the
   Error! Unknown document                                            210
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         jury, undue delay, wasting time, or    identified in exhibits; (3) several
                                         needlessly presenting cumulative       statements made by party-
                                         evidence (F.R.E. 403).                 opponent, NBC, and agents
                                                                                affiliated with NBC and operating
                                                                                within the scope of their agency
                                                                                (e.g. Aon) and, therefore, are not
                                                                                hearsay under F.R.E. 801.
                                                                                F.R.E. 701 – Unclear what
                                                                                opinions are offered by any
                                                                                declarant in exhibit; all testimony
                                                                                rationally based on information
                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702.


                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
Error! Unknown document                                          211
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
Error! Unknown document                                        212
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims

DX 125 07/14/14 7:03 a.m. Email             If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       string between Stephen Smith,        inadmissible hearsay and no exception      and, therefore, exhibit should be
       Randi Richmond and Mark              is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
       Binke (Smith Depo Ex 185)            evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
       (UCP000752-753)                      as to the identity of the author or that   ASIC’s response is as follows:
                                            he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                            factual matter stated (F.R.E. 602).        to state what portion of exhibit is
                                                                                       hearsay; (2) statements not offered
                                                                                       for the truth, but rather to show
                                                                                       information acted upon/state of
                                                                                       mind of parties or individuals
                                                                                       identified in exhibits; (3) several
                                                                                       statements made by party-
                                                                                       opponent, NBC, and agents
                                                                                       affiliated with NBC and operating
                                                                                       within the scope of their agency
                                                                                       (e.g. Aon) and, therefore, are not
                                                                                       hearsay under F.R.E. 801.

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   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       F.R.E. 602 – Witnesses has
                                                                                       personal knowledge of what
                                                                                       information NBC received before,
                                                                                       during, and after the events giving
                                                                                       rise to the claim, including this
                                                                                       exhibit. Witness does not need
                                                                                       personally to have been in Israel in
                                                                                       order to testify regarding what
                                                                                       information NBC received
                                                                                       regarding what was going on in
                                                                                       Israel.


DX 126 07/14/14 12:30 p.m. Max              If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       Security Intelligence Email to       inadmissible hearsay and no exception      and, therefore, exhibit should be
       Stephen Smith (Smith Depo Ex         is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
       186) (UCP002712-2716)                evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                            as to the identity of the author or that   ASIC’s response is as follows:
                                            he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                            factual matter stated (F.R.E. 602).        to state what portion of exhibit is
                                                                                       hearsay; (2) statements not offered
                                                                                       for the truth, but rather to show
                                                                                       information acted upon/state of
                                                                                       mind of parties or individuals
                                                                                       identified in exhibits; (3) several
                                                                                       statements made by party-
                                                                                       opponent, NBC, and agents
   Error! Unknown document                                          214
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       affiliated with NBC and operating
                                                                                       within the scope of their agency
                                                                                       (e.g. Aon) and, therefore, are not
                                                                                       hearsay under F.R.E. 801.
                                                                                       F.R.E. 602 – Witnesses has
                                                                                       personal knowledge of what
                                                                                       information NBC received before,
                                                                                       during, and after the events giving
                                                                                       rise to the claim, including this
                                                                                       exhibit. Witness does not need
                                                                                       personally to have been in Israel in
                                                                                       order to testify regarding what
                                                                                       information NBC received
                                                                                       regarding what was going on in
                                                                                       Israel.


DX 127 07/15/14 7:45 a.m. Max               If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       Security Intelligence Email to       inadmissible hearsay and no exception      and, therefore, exhibit should be
       Stephen Smith (Smith Depo Ex         is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
       188) (UCP002302-2305)                evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                            as to the identity of the author or that   ASIC’s response is as follows:
                                            he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                            factual matter stated (F.R.E. 602).        to state what portion of exhibit is
                                                                                       hearsay; (2) statements not offered
                                                                                       for the truth, but rather to show
   Error! Unknown document                                          215
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       information acted upon/state of
                                                                                       mind of parties or individuals
                                                                                       identified in exhibits; (3) several
                                                                                       statements made by party-
                                                                                       opponent, NBC, and agents
                                                                                       affiliated with NBC and operating
                                                                                       within the scope of their agency
                                                                                       (e.g. Aon) and, therefore, are not
                                                                                       hearsay under F.R.E. 801.
                                                                                       F.R.E. 602 – Witnesses has
                                                                                       personal knowledge of what
                                                                                       information NBC received before,
                                                                                       during, and after the events giving
                                                                                       rise to the claim, including this
                                                                                       exhibit. Witness does not need
                                                                                       personally to have been in Israel in
                                                                                       order to testify regarding what
                                                                                       information NBC received
                                                                                       regarding what was going on in
                                                                                       Israel.


DX 128 07/15/14 12:39 p.m. Max              If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       Security Intelligence Email to       inadmissible hearsay and no exception      and, therefore, exhibit should be
       Stephen Smith (Smith Depo Ex         is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
       189) (UCP002809-2812)                evidence sufficient to support a finding
                                            as to the identity of the author or that
   Error! Unknown document                                            216
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         he/she has personal knowledge of the   Plaintiffs withdraw the exhibit,
                                         factual matter stated (F.R.E. 602).    ASIC’s response is as follows:
                                                                                F.R.E. 801/802 – (1) Plaintiff fails
                                                                                to state what portion of exhibit is
                                                                                hearsay; (2) statements not offered
                                                                                for the truth, but rather to show
                                                                                information acted upon/state of
                                                                                mind of parties or individuals
                                                                                identified in exhibits; (3) several
                                                                                statements made by party-
                                                                                opponent, NBC, and agents
                                                                                affiliated with NBC and operating
                                                                                within the scope of their agency
                                                                                (e.g. Aon) and, therefore, are not
                                                                                hearsay under F.R.E. 801.
                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.
Error! Unknown document                                         217
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 129 07/16/14 12:40 a.m. Max              If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       Security Intelligence Email to       inadmissible hearsay and no exception      and, therefore, exhibit should be
       Stephen Smith (Smith Depo Ex         is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
       190) (UCP002282-2285)                evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                            as to the identity of the author or that   ASIC’s response is as follows:
                                            he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                            factual matter stated (F.R.E. 602).        to state what portion of exhibit is
                                                                                       hearsay; (2) statements not offered
                                                                                       for the truth, but rather to show
                                                                                       information acted upon/state of
                                                                                       mind of parties or individuals
                                                                                       identified in exhibits; (3) several
                                                                                       statements made by party-
                                                                                       opponent, NBC, and agents
                                                                                       affiliated with NBC and operating
                                                                                       within the scope of their agency
                                                                                       (e.g. Aon) and, therefore, are not
                                                                                       hearsay under F.R.E. 801.
                                                                                       F.R.E. 602 – Witnesses has
                                                                                       personal knowledge of what
                                                                                       information NBC received before,
                                                                                       during, and after the events giving
                                                                                       rise to the claim, including this
                                                                                       exhibit. Witness does not need
                                                                                       personally to have been in Israel in
   Error! Unknown document                                          218
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       order to testify regarding what
                                                                                       information NBC received
                                                                                       regarding what was going on in
                                                                                       Israel.


DX 130 07/16/14 7:38 a.m. Max               Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       Security Intelligence Email to       which the evidence is proffered at trial   and, therefore, exhibit should be
       Stephen Smith (Smith Depo Ex         (F.R.E. 401); Probative value is           admitted as agreed. Should
       191) (UCP002459-2462)                substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                            confusing the issues, wasting time, or     ASIC’s response is as follows:
                                            needlessly presenting cumulative           F.R.E. 401 – Objection is
                                            evidence, depending on purpose for         conditional, and therefore not
                                            which evidence is proffered at trial       binding as to general admissibility.
                                            (F.R.E. 403).                              Objection also fails to state why or
                                                                                       in what context exhibit is
                                                                                       irrelevant. Furthermore, exhibit is
                                                                                       relevant to establish state of mind
                                                                                       of all parties involved at time of
                                                                                       claim (NBC, ASIC, Aon, etc.).


                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
                                                                                       Objection also fails to state why
                                                                                       exhibit is unfairly prejudicial; or
   Error! Unknown document                                           219
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 131 07/16/14 Email from Stephen         If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       Smith to Mark Binke (Smith          inadmissible hearsay and no exception      and, therefore, exhibit should be
       Depo Ex 192) (UCP001286)            is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
                                           evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                           as to the identity of the author or that   ASIC’s response is as follows:
                                           he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                           factual matter stated (F.R.E. 602).        to state what portion of exhibit is
                                                                                      hearsay; (2) statements not offered
                                                                                      for the truth, but rather to show
                                                                                      information acted upon/state of
                                                                                      mind of parties or individuals
                                                                                      identified in exhibits; (3) several
                                                                                      statements made by party-
  Error! Unknown document                                          220
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       opponent, NBC, and agents
                                                                                       affiliated with NBC and operating
                                                                                       within the scope of their agency
                                                                                       (e.g. Aon) and, therefore, are not
                                                                                       hearsay under F.R.E. 801.
                                                                                       F.R.E. 602 – Witnesses has
                                                                                       personal knowledge of what
                                                                                       information NBC received before,
                                                                                       during, and after the events giving
                                                                                       rise to the claim, including this
                                                                                       exhibit. Witness does not need
                                                                                       personally to have been in Israel in
                                                                                       order to testify regarding what
                                                                                       information NBC received
                                                                                       regarding what was going on in
                                                                                       Israel.


DX 132 07/16/14 12:53 p.m. Max              Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       Security Intelligence Email to       which the evidence is proffered at trial   and, therefore, exhibit should be
       Stephen Smith (Smith Depo Ex         (F.R.E. 401); Probative value is           admitted as agreed. Should
       193) (UCP002332-2336)                substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                            confusing the issues, wasting time, or     ASIC’s response is as follows:
                                            needlessly presenting cumulative           F.R.E. 401 – Objection is
                                            evidence, depending on purpose for         conditional, and therefore not
                                            which evidence is proffered at trial       binding as to general admissibility.
                                            (F.R.E. 403).
   Error! Unknown document                                          221
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.



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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 133 07/17/14 Email from Stephen         If offered to prove the truth of facts       Plaintiff has listed exhibit on its list
       Smith to Mark Binke (Smith          stated therein, inadmissible hearsay and     and, therefore, exhibit should be
       Depo Ex 194) (UCP000736)            no exception is applicable (F.R.E. 801,      admitted as agreed. Should
                                           802); Improper lay opinion (F.R.E.           Plaintiffs withdraw the exhibit,
                                           701); No evidence sufficient to support      ASIC’s response is as follows:
                                           a finding as to the identity of the author   F.R.E. 801/802 – (1) Plaintiff fails
                                           or that he/she has personal knowledge        to state what portion of exhibit is
                                           of the factual matter stated (F.R.E.         hearsay; (2) statements not offered
                                           602); Irrelevant (F.R.E. 401, 402); Any      for the truth, but rather to show
                                           probative value is substantially             information acted upon/state of
                                           outweighed by risk of unfair prejudice,      mind of parties or individuals
                                           confusing the issues, misleading the         identified in exhibits; (3) several
                                           jury, undue delay, wasting time, or          statements made by party-
                                           needlessly presenting cumulative             opponent, NBC, and agents
                                           evidence (F.R.E. 403).                       affiliated with NBC and operating
                                                                                        within the scope of their agency
                                                                                        (e.g. Aon) and, therefore, are not
                                                                                        hearsay under F.R.E. 801.
                                                                                        F.R.E. 701 – Unclear what
                                                                                        opinions are offered by any
                                                                                        declarant in exhibit; all testimony
                                                                                        rationally based on information
                                                                                        received and acted upon; no
                                                                                        testimony based on scientific,
                                                                                        technical, or other specialized


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  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                knowledge within the scope of
                                                                                F.R.E. 702.


                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      F.R.E. 403 – Objection is
                                                                                      conditional, and therefore not
                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why
                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.

DX 134 07/17/14 Email from Stephen         Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       Smith to Mark Binke and Randi       which the evidence is proffered at trial   and, therefore, exhibit should be
       Richmond (Smith Depo Ex             (F.R.E. 401); Probative value is           admitted as agreed. Should
       195) (UCP_003612)                   substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                           confusing the issues, wasting time, or     ASIC’s response is as follows:
                                           needlessly presenting cumulative
                                           evidence, depending on purpose for
  Error! Unknown document                                          225
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         which evidence is proffered at trial   F.R.E. 401 – Objection is
                                         (F.R.E. 403).                          conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time


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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 135 07/18/14 Email from Stephen         If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       Smith to Mark Binke and Randi       inadmissible hearsay and no exception      and, therefore, exhibit should be
       Richmond (Smith Depo Ex             is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
       196) (UCP001462)                    evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                           as to the identity of the author or that   ASIC’s response is as follows:
                                           he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                           factual matter stated (F.R.E. 602);        to state what portion of exhibit is
                                           Irrelevant (F.R.E. 401, 402); Likely to    hearsay; (2) statements not offered
                                           mislead or confuse, waste time (F.R.E.     for the truth, but rather to show
                                           403).                                      information acted upon/state of
                                                                                      mind of parties or individuals
                                                                                      identified in exhibits; (3) several
                                                                                      statements made by party-
                                                                                      opponent, NBC, and agents
                                                                                      affiliated with NBC and operating
                                                                                      within the scope of their agency
                                                                                      (e.g. Aon) and, therefore, are not
                                                                                      hearsay under F.R.E. 801.
                                                                                      F.R.E. 602 – Witnesses has
                                                                                      personal knowledge of what
                                                                                      information NBC received before,
                                                                                      during, and after the events giving
                                                                                      rise to the claim, including this
  Error! Unknown document                                          227
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                         AS OF JANUARY 14, 2020
                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 428 of 1099 Page ID
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                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
Error! Unknown document                                        228
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
                        Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 429 of 1099 Page ID
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                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 136 07/19/14 6:31 a.m. Max               If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       Security Intelligence Email to       inadmissible hearsay and no exception      and, therefore, exhibit should be
       Stephen Smith (Smith Depo Ex         is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
       197) (UCP002557-2561)                evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                            as to the identity of the author or that   ASIC’s response is as follows:
                                            he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                            factual matter stated (F.R.E. 602);        to state what portion of exhibit is
                                            Irrelevant (F.R.E. 401, 402); Likely to    hearsay; (2) statements not offered
                                            mislead or confuse, waste time (F.R.E.     for the truth, but rather to show
                                            403).                                      information acted upon/state of
                                                                                       mind of parties or individuals
                                                                                       identified in exhibits; (3) several
                                                                                       statements made by party-
                                                                                       opponent, NBC, and agents
                                                                                       affiliated with NBC and operating
                                                                                       within the scope of their agency

   Error! Unknown document                                          229
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                (e.g. Aon) and, therefore, are not
                                                                                hearsay under F.R.E. 801.
                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).



Error! Unknown document                                        230
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
                                                                                       Objection also fails to state why
                                                                                       exhibit is unfairly prejudicial; or
                                                                                       why such alleged unfair prejudice
                                                                                       outweighs its probative value; or
                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 137 07/20/14 1:43 a.m. Max               If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       Security Intelligence Email to       inadmissible hearsay and no exception      and, therefore, exhibit should be
       Stephen Smith (Smith Depo Ex         is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
       198) (UCP002054-2058)                evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                            as to the identity of the author or that   ASIC’s response is as follows:
                                            he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                            factual matter stated (F.R.E. 602);        to state what portion of exhibit is
                                            Irrelevant (F.R.E. 401, 402); Likely to    hearsay; (2) statements not offered
   Error! Unknown document                                          231
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                       #:24698




                                         mislead or confuse, waste time (F.R.E.   for the truth, but rather to show
                                         403).                                    information acted upon/state of
                                                                                  mind of parties or individuals
                                                                                  identified in exhibits; (3) several
                                                                                  statements made by party-
                                                                                  opponent, NBC, and agents
                                                                                  affiliated with NBC and operating
                                                                                  within the scope of their agency
                                                                                  (e.g. Aon) and, therefore, are not
                                                                                  hearsay under F.R.E. 801.
                                                                                  F.R.E. 602 – Witnesses has
                                                                                  personal knowledge of what
                                                                                  information NBC received before,
                                                                                  during, and after the events giving
                                                                                  rise to the claim, including this
                                                                                  exhibit. Witness does not need
                                                                                  personally to have been in Israel in
                                                                                  order to testify regarding what
                                                                                  information NBC received
                                                                                  regarding what was going on in
                                                                                  Israel.


                                                                                  F.R.E. 401 – Objection is
                                                                                  conditional, and therefore not
                                                                                  binding as to general admissibility.
                                                                                  Objection also fails to state why or
Error! Unknown document                                         232
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 433 of 1099 Page ID
                                                       #:24699




                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.

Error! Unknown document                                        233
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                        Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 434 of 1099 Page ID
                                                          #:24700




DX 138 07/20/14 6:39 a.m. Max               If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       Security Intelligence Email to       inadmissible hearsay and no exception      and, therefore, exhibit should be
       Stephen Smith (Smith Depo Ex         is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
       199) (UCP002612-2615)                evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                            as to the identity of the author or that   ASIC’s response is as follows:
                                            he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                            factual matter stated (F.R.E. 602);        to state what portion of exhibit is
                                            Irrelevant (F.R.E. 401, 402); Likely to    hearsay; (2) statements not offered
                                            mislead or confuse, waste time (F.R.E.     for the truth, but rather to show
                                            403).                                      information acted upon/state of
                                                                                       mind of parties or individuals
                                                                                       identified in exhibits; (3) several
                                                                                       statements made by party-
                                                                                       opponent, NBC, and agents
                                                                                       affiliated with NBC and operating
                                                                                       within the scope of their agency
                                                                                       (e.g. Aon) and, therefore, are not
                                                                                       hearsay under F.R.E. 801.
                                                                                       F.R.E. 602 – Witnesses has
                                                                                       personal knowledge of what
                                                                                       information NBC received before,
                                                                                       during, and after the events giving
                                                                                       rise to the claim, including this
                                                                                       exhibit. Witness does not need
                                                                                       personally to have been in Israel in
                                                                                       order to testify regarding what
   Error! Unknown document                                          234
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
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                                                       #:24701




                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
Error! Unknown document                                        235
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                          #:24702




                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 139 07/21/14 5:38 a.m. Max               If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       Security Intelligence Email to       inadmissible hearsay and no exception      and, therefore, exhibit should be
       Stephen Smith (Smith Depo Ex         is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
       200) (UCP002824-2827)                evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                            as to the identity of the author or that   ASIC’s response is as follows:
                                            he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                            factual matter stated (F.R.E. 602);        to state what portion of exhibit is
                                            Irrelevant (F.R.E. 401, 402); Likely to    hearsay; (2) statements not offered
                                            mislead or confuse, waste time (F.R.E.     for the truth, but rather to show
                                            403).                                      information acted upon/state of
                                                                                       mind of parties or individuals
                                                                                       identified in exhibits; (3) several
                                                                                       statements made by party-
                                                                                       opponent, NBC, and agents
                                                                                       affiliated with NBC and operating
                                                                                       within the scope of their agency
                                                                                       (e.g. Aon) and, therefore, are not
                                                                                       hearsay under F.R.E. 801.
                                                                                       F.R.E. 602 – Witnesses has
                                                                                       personal knowledge of what
   Error! Unknown document                                          236
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
Error! Unknown document                                        237
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       outweighs its probative value; or
                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 140 07/21/14 6:38 a.m.                   If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       TravelTracker Proactive Email        inadmissible hearsay and no exception      and, therefore, exhibit should be
       to Stephen Smith (Smith Depo         is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
       Ex 201) (UCP002707-2709)             evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                            as to the identity of the author or that   ASIC’s response is as follows:
                                            he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                            factual matter stated (F.R.E. 602);        to state what portion of exhibit is
                                            Irrelevant (F.R.E. 401, 402); Likely to    hearsay; (2) statements not offered
                                            mislead or confuse, waste time (F.R.E.     for the truth, but rather to show
                                            403).                                      information acted upon/state of
                                                                                       mind of parties or individuals
                                                                                       identified in exhibits; (3) several
                                                                                       statements made by party-
                                                                                       opponent, NBC, and agents
   Error! Unknown document                                          238
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                affiliated with NBC and operating
                                                                                within the scope of their agency
                                                                                (e.g. Aon) and, therefore, are not
                                                                                hearsay under F.R.E. 801.
                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).

Error! Unknown document                                        239
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
                                                                                       Objection also fails to state why
                                                                                       exhibit is unfairly prejudicial; or
                                                                                       why such alleged unfair prejudice
                                                                                       outweighs its probative value; or
                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 141 07/21/14 12:38 p.m. Max              If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       Security Intelligence Email to       inadmissible hearsay and no exception      and, therefore, exhibit should be
       Stephen Smith (Smith Depo Ex         is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
       202) (UCP001958-1962)                evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                            as to the identity of the author or that   ASIC’s response is as follows:
                                            he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                            factual matter stated (F.R.E. 602);        to state what portion of exhibit is
   Error! Unknown document                                          240
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         Irrelevant (F.R.E. 401, 402); Likely to   hearsay; (2) statements not offered
                                         mislead or confuse, waste time (F.R.E.    for the truth, but rather to show
                                         403).                                     information acted upon/state of
                                                                                   mind of parties or individuals
                                                                                   identified in exhibits; (3) several
                                                                                   statements made by party-
                                                                                   opponent, NBC, and agents
                                                                                   affiliated with NBC and operating
                                                                                   within the scope of their agency
                                                                                   (e.g. Aon) and, therefore, are not
                                                                                   hearsay under F.R.E. 801.
                                                                                   F.R.E. 602 – Witnesses has
                                                                                   personal knowledge of what
                                                                                   information NBC received before,
                                                                                   during, and after the events giving
                                                                                   rise to the claim, including this
                                                                                   exhibit. Witness does not need
                                                                                   personally to have been in Israel in
                                                                                   order to testify regarding what
                                                                                   information NBC received
                                                                                   regarding what was going on in
                                                                                   Israel.


                                                                                   F.R.E. 401 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
Error! Unknown document                                          241
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.



Error! Unknown document                                        242
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 142 07/22/14 1:45 a.m. Max               If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       Security Intelligence Email to       inadmissible hearsay and no exception      and, therefore, exhibit should be
       Stephen Smith (Smith Depo Ex         is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
       203) (UCP002762-2766)                evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                            as to the identity of the author or that   ASIC’s response is as follows:
                                            he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                            factual matter stated (F.R.E. 602);        to state what portion of exhibit is
                                            Irrelevant (F.R.E. 401, 402); Likely to    hearsay; (2) statements not offered
                                            mislead or confuse, waste time (F.R.E.     for the truth, but rather to show
                                            403).                                      information acted upon/state of
                                                                                       mind of parties or individuals
                                                                                       identified in exhibits; (3) several
                                                                                       statements made by party-
                                                                                       opponent, NBC, and agents
                                                                                       affiliated with NBC and operating
                                                                                       within the scope of their agency
                                                                                       (e.g. Aon) and, therefore, are not
                                                                                       hearsay under F.R.E. 801.
                                                                                       F.R.E. 602 – Witnesses has
                                                                                       personal knowledge of what
                                                                                       information NBC received before,
                                                                                       during, and after the events giving
                                                                                       rise to the claim, including this
                                                                                       exhibit. Witness does not need
                                                                                       personally to have been in Israel in
                                                                                       order to testify regarding what
   Error! Unknown document                                          243
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                       #:24710




                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
Error! Unknown document                                        244
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.

DX 143 07/22/14 11:42 a.m. Max              If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       Security Intelligence Email to       inadmissible hearsay and no exception      and, therefore, exhibit should be
       Stephen Smith (Smith Depo Ex         is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
       204) (UCP002625-2628)                evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                            as to the identity of the author or that   ASIC’s response is as follows:
                                            he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                            factual matter stated (F.R.E. 602);        to state what portion of exhibit is
                                            Irrelevant (F.R.E. 401, 402); Likely to    hearsay; (2) statements not offered
                                            mislead or confuse, waste time (F.R.E.     for the truth, but rather to show
                                            403).                                      information acted upon/state of
                                                                                       mind of parties or individuals
                                                                                       identified in exhibits; (3) several
                                                                                       statements made by party-
                                                                                       opponent, NBC, and agents
                                                                                       affiliated with NBC and operating
                                                                                       within the scope of their agency


   Error! Unknown document                                          245
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                (e.g. Aon) and, therefore, are not
                                                                                hearsay under F.R.E. 801.
                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).



Error! Unknown document                                        246
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
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                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
                                                                                       Objection also fails to state why
                                                                                       exhibit is unfairly prejudicial; or
                                                                                       why such alleged unfair prejudice
                                                                                       outweighs its probative value; or
                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 144 07/23/14 7:33 a.m. Max               If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       Security Intelligence Email to       inadmissible hearsay and no exception      and, therefore, exhibit should be
       Stephen Smith (Smith Depo Ex         is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
       205) (UCP002212-2215)                evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                            as to the identity of the author or that   ASIC’s response is as follows:
                                            he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                            factual matter stated (F.R.E. 602);        to state what portion of exhibit is
                                            Irrelevant (F.R.E. 401, 402); Likely to    hearsay; (2) statements not offered
   Error! Unknown document                                          247
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         mislead or confuse, waste time (F.R.E.   for the truth, but rather to show
                                         403).                                    information acted upon/state of
                                                                                  mind of parties or individuals
                                                                                  identified in exhibits; (3) several
                                                                                  statements made by party-
                                                                                  opponent, NBC, and agents
                                                                                  affiliated with NBC and operating
                                                                                  within the scope of their agency
                                                                                  (e.g. Aon) and, therefore, are not
                                                                                  hearsay under F.R.E. 801.
                                                                                  F.R.E. 602 – Witnesses has
                                                                                  personal knowledge of what
                                                                                  information NBC received before,
                                                                                  during, and after the events giving
                                                                                  rise to the claim, including this
                                                                                  exhibit. Witness does not need
                                                                                  personally to have been in Israel in
                                                                                  order to testify regarding what
                                                                                  information NBC received
                                                                                  regarding what was going on in
                                                                                  Israel.


                                                                                  F.R.E. 401 – Objection is
                                                                                  conditional, and therefore not
                                                                                  binding as to general admissibility.
                                                                                  Objection also fails to state why or
Error! Unknown document                                         248
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
                        Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 449 of 1099 Page ID
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                                                                                     in what context exhibit is
                                                                                     irrelevant. Furthermore, exhibit is
                                                                                     relevant to establish state of mind
                                                                                     of all parties involved at time of
                                                                                     claim (NBC, ASIC, Aon, etc.).


                                                                                     F.R.E. 403 – Objection is
                                                                                     conditional, and therefore not
                                                                                     binding as to general admissibility.
                                                                                     Objection also fails to state why
                                                                                     exhibit is unfairly prejudicial; or
                                                                                     why such alleged unfair prejudice
                                                                                     outweighs its probative value; or
                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.


DX 145 07/23/14 12:25 p.m. Max              If offered to prove the truth thereof,   Plaintiff has listed exhibit on its list
       Security Intelligence Email to       inadmissible hearsay and no exception    and, therefore, exhibit should be
   Error! Unknown document                                            249
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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        Stephen Smith (Smith Depo Ex     is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
        206) (UCP002843-002846)          evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                         as to the identity of the author or that   ASIC’s response is as follows:
                                         he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                         factual matter stated (F.R.E. 602);        to state what portion of exhibit is
                                         Irrelevant (F.R.E. 401, 402); Likely to    hearsay; (2) statements not offered
                                         mislead or confuse, waste time (F.R.E.     for the truth, but rather to show
                                         403).                                      information acted upon/state of
                                                                                    mind of parties or individuals
                                                                                    identified in exhibits; (3) several
                                                                                    statements made by party-
                                                                                    opponent, NBC, and agents
                                                                                    affiliated with NBC and operating
                                                                                    within the scope of their agency
                                                                                    (e.g. Aon) and, therefore, are not
                                                                                    hearsay under F.R.E. 801.
                                                                                    F.R.E. 602 – Witnesses has
                                                                                    personal knowledge of what
                                                                                    information NBC received before,
                                                                                    during, and after the events giving
                                                                                    rise to the claim, including this
                                                                                    exhibit. Witness does not need
                                                                                    personally to have been in Israel in
                                                                                    order to testify regarding what
                                                                                    information NBC received


Error! Unknown document                                          250
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
Error! Unknown document                                        251
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                        Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 452 of 1099 Page ID
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                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 146 06/24/14 12:42 a.m. Max              If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       Security Intelligence Email to       inadmissible hearsay and no exception      and, therefore, exhibit should be
       Stephen Smith (Smith Depo Ex         is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
       207) (UCP002319-2323)                evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                            as to the identity of the author or that   ASIC’s response is as follows:
                                            he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                            factual matter stated (F.R.E. 602);        to state what portion of exhibit is
                                            Irrelevant (F.R.E. 401, 402); Likely to    hearsay; (2) statements not offered
                                            mislead or confuse, waste time (F.R.E.     for the truth, but rather to show
                                            403).                                      information acted upon/state of
                                                                                       mind of parties or individuals
                                                                                       identified in exhibits; (3) several
                                                                                       statements made by party-
                                                                                       opponent, NBC, and agents
                                                                                       affiliated with NBC and operating
                                                                                       within the scope of their agency
                                                                                       (e.g. Aon) and, therefore, are not
                                                                                       hearsay under F.R.E. 801.
                                                                                       F.R.E. 602 – Witnesses has
                                                                                       personal knowledge of what
                                                                                       information NBC received before,
   Error! Unknown document                                          252
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 453 of 1099 Page ID
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                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
Error! Unknown document                                        253
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                        Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 454 of 1099 Page ID
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                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 147 07/24/14 7:36 a.m. Max               If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       Security Intelligence Email to       inadmissible hearsay and no exception      and, therefore, exhibit should be
       Stephen Smith (Smith Depo Ex         is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
       208) (UCP002669-2673)                evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                            as to the identity of the author or that   ASIC’s response is as follows:
                                            he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                            factual matter stated (F.R.E. 602);        to state what portion of exhibit is
                                            Irrelevant (F.R.E. 401, 402); Likely to    hearsay; (2) statements not offered
                                            mislead or confuse, waste time (F.R.E.     for the truth, but rather to show
                                            403).                                      information acted upon/state of
                                                                                       mind of parties or individuals
                                                                                       identified in exhibits; (3) several
                                                                                       statements made by party-
                                                                                       opponent, NBC, and agents
                                                                                       affiliated with NBC and operating
   Error! Unknown document                                          254
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                within the scope of their agency
                                                                                (e.g. Aon) and, therefore, are not
                                                                                hearsay under F.R.E. 801.
                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


Error! Unknown document                                        255
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
                                                                                       Objection also fails to state why
                                                                                       exhibit is unfairly prejudicial; or
                                                                                       why such alleged unfair prejudice
                                                                                       outweighs its probative value; or
                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 148 07/24/14 1:39 a.m. Max               If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       Security Intelligence Email to       inadmissible hearsay and no exception      and, therefore, exhibit should be
       Stephen Smith (Smith Depo Ex         is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
       209) (UCP002479-2483)                evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                            as to the identity of the author or that   ASIC’s response is as follows:
                                            he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                            factual matter stated (F.R.E. 602);        to state what portion of exhibit is
                                            Irrelevant (F.R.E. 401, 402); Likely to    hearsay; (2) statements not offered
   Error! Unknown document                                          256
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         mislead or confuse, waste time (F.R.E.   for the truth, but rather to show
                                         403).                                    information acted upon/state of
                                                                                  mind of parties or individuals
                                                                                  identified in exhibits; (3) several
                                                                                  statements made by party-
                                                                                  opponent, NBC, and agents
                                                                                  affiliated with NBC and operating
                                                                                  within the scope of their agency
                                                                                  (e.g. Aon) and, therefore, are not
                                                                                  hearsay under F.R.E. 801.
                                                                                  F.R.E. 602 – Witnesses has
                                                                                  personal knowledge of what
                                                                                  information NBC received before,
                                                                                  during, and after the events giving
                                                                                  rise to the claim, including this
                                                                                  exhibit. Witness does not need
                                                                                  personally to have been in Israel in
                                                                                  order to testify regarding what
                                                                                  information NBC received
                                                                                  regarding what was going on in
                                                                                  Israel.


                                                                                  F.R.E. 401 – Objection is
                                                                                  conditional, and therefore not
                                                                                  binding as to general admissibility.
                                                                                  Objection also fails to state why or
Error! Unknown document                                         257
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                        Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 458 of 1099 Page ID
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                                                                                     in what context exhibit is
                                                                                     irrelevant. Furthermore, exhibit is
                                                                                     relevant to establish state of mind
                                                                                     of all parties involved at time of
                                                                                     claim (NBC, ASIC, Aon, etc.).


                                                                                     F.R.E. 403 – Objection is
                                                                                     conditional, and therefore not
                                                                                     binding as to general admissibility.
                                                                                     Objection also fails to state why
                                                                                     exhibit is unfairly prejudicial; or
                                                                                     why such alleged unfair prejudice
                                                                                     outweighs its probative value; or
                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.


DX 149 07/25/14 9:58 a.m. Max               If offered to prove the truth thereof,   Plaintiff has listed exhibit on its list
       Security Intelligence Email to       inadmissible hearsay and no exception    and, therefore, exhibit should be
   Error! Unknown document                                            258
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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        Stephen Smith (Smith Depo Ex     is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
        210) (UCP002698-2702)            evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                         as to the identity of the author or that   ASIC’s response is as follows:
                                         he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                         factual matter stated (F.R.E. 602);        to state what portion of exhibit is
                                         Irrelevant (F.R.E. 401, 402); Likely to    hearsay; (2) statements not offered
                                         mislead or confuse, waste time (F.R.E.     for the truth, but rather to show
                                         403).                                      information acted upon/state of
                                                                                    mind of parties or individuals
                                                                                    identified in exhibits; (3) several
                                                                                    statements made by party-
                                                                                    opponent, NBC, and agents
                                                                                    affiliated with NBC and operating
                                                                                    within the scope of their agency
                                                                                    (e.g. Aon) and, therefore, are not
                                                                                    hearsay under F.R.E. 801.
                                                                                    F.R.E. 602 – Witnesses has
                                                                                    personal knowledge of what
                                                                                    information NBC received before,
                                                                                    during, and after the events giving
                                                                                    rise to the claim, including this
                                                                                    exhibit. Witness does not need
                                                                                    personally to have been in Israel in
                                                                                    order to testify regarding what
                                                                                    information NBC received


Error! Unknown document                                          259
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
Error! Unknown document                                        260
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 150 07/26/14 12:32 a.m. Max              If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       Security Intelligence Email to       inadmissible hearsay and no exception      and, therefore, exhibit should be
       Stephen Smith (Smith Depo Ex         is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
       211) (UCP001966-1970)                evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                            as to the identity of the author or that   ASIC’s response is as follows:
                                            he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                            factual matter stated (F.R.E. 602);        to state what portion of exhibit is
                                            Irrelevant (F.R.E. 401, 402); Likely to    hearsay; (2) statements not offered
                                            mislead or confuse, waste time (F.R.E.     for the truth, but rather to show
                                            403).                                      information acted upon/state of
                                                                                       mind of parties or individuals
                                                                                       identified in exhibits; (3) several
                                                                                       statements made by party-
                                                                                       opponent, NBC, and agents
                                                                                       affiliated with NBC and operating
                                                                                       within the scope of their agency
                                                                                       (e.g. Aon) and, therefore, are not
                                                                                       hearsay under F.R.E. 801.
                                                                                       F.R.E. 602 – Witnesses has
                                                                                       personal knowledge of what
                                                                                       information NBC received before,
   Error! Unknown document                                          261
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
Error! Unknown document                                        262
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 151 07/26/14 12:49 p.m. Max              If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       Security Intelligence Email to       inadmissible hearsay and no exception      and, therefore, exhibit should be
       Stephen Smith (Smith Depo Ex         is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
       212) (UCP002535-2539)                evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                            as to the identity of the author or that   ASIC’s response is as follows:
                                            he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                            factual matter stated (F.R.E. 602);        to state what portion of exhibit is
                                            Irrelevant (F.R.E. 401, 402); Likely to    hearsay; (2) statements not offered
                                            mislead or confuse, waste time (F.R.E.     for the truth, but rather to show
                                            403).                                      information acted upon/state of
                                                                                       mind of parties or individuals
                                                                                       identified in exhibits; (3) several
                                                                                       statements made by party-
                                                                                       opponent, NBC, and agents
                                                                                       affiliated with NBC and operating
   Error! Unknown document                                          263
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                within the scope of their agency
                                                                                (e.g. Aon) and, therefore, are not
                                                                                hearsay under F.R.E. 801.
                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


Error! Unknown document                                        264
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
                                                                                       Objection also fails to state why
                                                                                       exhibit is unfairly prejudicial; or
                                                                                       why such alleged unfair prejudice
                                                                                       outweighs its probative value; or
                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 152 07/27/14 1:19 p.m. Max               If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       Security Intelligence Email to       inadmissible hearsay and no exception      and, therefore, exhibit should be
       Stephen Smith (Smith Depo Ex         is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
       213) (UCP_003769-3773)               evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                            as to the identity of the author or that   ASIC’s response is as follows:
                                            he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                            factual matter stated (F.R.E. 602);        to state what portion of exhibit is
                                            Irrelevant (F.R.E. 401, 402); Likely to    hearsay; (2) statements not offered
   Error! Unknown document                                          265
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         mislead or confuse, waste time (F.R.E.   for the truth, but rather to show
                                         403).                                    information acted upon/state of
                                                                                  mind of parties or individuals
                                                                                  identified in exhibits; (3) several
                                                                                  statements made by party-
                                                                                  opponent, NBC, and agents
                                                                                  affiliated with NBC and operating
                                                                                  within the scope of their agency
                                                                                  (e.g. Aon) and, therefore, are not
                                                                                  hearsay under F.R.E. 801.
                                                                                  F.R.E. 602 – Witnesses has
                                                                                  personal knowledge of what
                                                                                  information NBC received before,
                                                                                  during, and after the events giving
                                                                                  rise to the claim, including this
                                                                                  exhibit. Witness does not need
                                                                                  personally to have been in Israel in
                                                                                  order to testify regarding what
                                                                                  information NBC received
                                                                                  regarding what was going on in
                                                                                  Israel.


                                                                                  F.R.E. 401 – Objection is
                                                                                  conditional, and therefore not
                                                                                  binding as to general admissibility.
                                                                                  Objection also fails to state why or
Error! Unknown document                                         266
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     in what context exhibit is
                                                                                     irrelevant. Furthermore, exhibit is
                                                                                     relevant to establish state of mind
                                                                                     of all parties involved at time of
                                                                                     claim (NBC, ASIC, Aon, etc.).


                                                                                     F.R.E. 403 – Objection is
                                                                                     conditional, and therefore not
                                                                                     binding as to general admissibility.
                                                                                     Objection also fails to state why
                                                                                     exhibit is unfairly prejudicial; or
                                                                                     why such alleged unfair prejudice
                                                                                     outweighs its probative value; or
                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.


DX 153 07/28/14 12:44 p.m. Max              If offered to prove the truth thereof,   Plaintiff has listed exhibit on its list
       Security Intelligence Email to       inadmissible hearsay and no exception    and, therefore, exhibit should be
   Error! Unknown document                                            267
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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        Stephen Smith (Smith Depo Ex     is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
        214) (UCP002176-2180)            evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                         as to the identity of the author or that   ASIC’s response is as follows:
                                         he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                         factual matter stated (F.R.E. 602);        to state what portion of exhibit is
                                         Irrelevant (F.R.E. 401, 402); Likely to    hearsay; (2) statements not offered
                                         mislead or confuse, waste time (F.R.E.     for the truth, but rather to show
                                         403).                                      information acted upon/state of
                                                                                    mind of parties or individuals
                                                                                    identified in exhibits; (3) several
                                                                                    statements made by party-
                                                                                    opponent, NBC, and agents
                                                                                    affiliated with NBC and operating
                                                                                    within the scope of their agency
                                                                                    (e.g. Aon) and, therefore, are not
                                                                                    hearsay under F.R.E. 801.
                                                                                    F.R.E. 602 – Witnesses has
                                                                                    personal knowledge of what
                                                                                    information NBC received before,
                                                                                    during, and after the events giving
                                                                                    rise to the claim, including this
                                                                                    exhibit. Witness does not need
                                                                                    personally to have been in Israel in
                                                                                    order to testify regarding what
                                                                                    information NBC received


Error! Unknown document                                          268
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
Error! Unknown document                                        269
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 154 07/29/14 12:33 p.m. Max              If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       Security Intelligence Email to       inadmissible hearsay and no exception      and, therefore, exhibit should be
       Stephen Smith (Smith Depo Ex         is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
       215) (UCP002104-2017)                evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                            as to the identity of the author or that   ASIC’s response is as follows:
                                            he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                            factual matter stated (F.R.E. 602);        to state what portion of exhibit is
                                            Irrelevant (F.R.E. 401, 402); Likely to    hearsay; (2) statements not offered
                                            mislead or confuse, waste time (F.R.E.     for the truth, but rather to show
                                            403).                                      information acted upon/state of
                                                                                       mind of parties or individuals
                                                                                       identified in exhibits; (3) several
                                                                                       statements made by party-
                                                                                       opponent, NBC, and agents
                                                                                       affiliated with NBC and operating
                                                                                       within the scope of their agency
                                                                                       (e.g. Aon) and, therefore, are not
                                                                                       hearsay under F.R.E. 801.
                                                                                       F.R.E. 602 – Witnesses has
                                                                                       personal knowledge of what
                                                                                       information NBC received before,
   Error! Unknown document                                          270
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
Error! Unknown document                                        271
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 155 07/18/14 12:18 a.m. Max              If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       Security Intelligence Email to       inadmissible hearsay and no exception      and, therefore, exhibit should be
       Stephen Smith (Smith Depo Ex         is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
       216) (UCP018104-18107)               evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                            as to the identity of the author or that   ASIC’s response is as follows:
                                            he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                            factual matter stated (F.R.E. 602);        to state what portion of exhibit is
                                            Irrelevant (F.R.E. 401, 402); Likely to    hearsay; (2) statements not offered
                                            mislead or confuse, waste time (F.R.E.     for the truth, but rather to show
                                            403).                                      information acted upon/state of
                                                                                       mind of parties or individuals
                                                                                       identified in exhibits; (3) several
                                                                                       statements made by party-
                                                                                       opponent, NBC, and agents
                                                                                       affiliated with NBC and operating
   Error! Unknown document                                          272
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                within the scope of their agency
                                                                                (e.g. Aon) and, therefore, are not
                                                                                hearsay under F.R.E. 801.
                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


Error! Unknown document                                        273
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
                                                                                       Objection also fails to state why
                                                                                       exhibit is unfairly prejudicial; or
                                                                                       why such alleged unfair prejudice
                                                                                       outweighs its probative value; or
                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 156 07/26/14 9:54 a.m. Max               If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       Security Intelligence Email to       inadmissible hearsay and no exception      and, therefore, exhibit should be
       Stephen Smith (Smith Depo Ex         is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
       217) (No Bates Number)               evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                            as to the identity of the author or that   ASIC’s response is as follows:
                                            he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                            factual matter stated (F.R.E. 602);        to state what portion of exhibit is
                                            Irrelevant (F.R.E. 401, 402); Likely to    hearsay; (2) statements not offered
   Error! Unknown document                                          274
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         mislead or confuse, waste time (F.R.E.   for the truth, but rather to show
                                         403).                                    information acted upon/state of
                                                                                  mind of parties or individuals
                                                                                  identified in exhibits; (3) several
                                                                                  statements made by party-
                                                                                  opponent, NBC, and agents
                                                                                  affiliated with NBC and operating
                                                                                  within the scope of their agency
                                                                                  (e.g. Aon) and, therefore, are not
                                                                                  hearsay under F.R.E. 801.
                                                                                  F.R.E. 602 – Witnesses has
                                                                                  personal knowledge of what
                                                                                  information NBC received before,
                                                                                  during, and after the events giving
                                                                                  rise to the claim, including this
                                                                                  exhibit. Witness does not need
                                                                                  personally to have been in Israel in
                                                                                  order to testify regarding what
                                                                                  information NBC received
                                                                                  regarding what was going on in
                                                                                  Israel.


                                                                                  F.R.E. 401 – Objection is
                                                                                  conditional, and therefore not
                                                                                  binding as to general admissibility.
                                                                                  Objection also fails to state why or
Error! Unknown document                                         275
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     in what context exhibit is
                                                                                     irrelevant. Furthermore, exhibit is
                                                                                     relevant to establish state of mind
                                                                                     of all parties involved at time of
                                                                                     claim (NBC, ASIC, Aon, etc.).


                                                                                     F.R.E. 403 – Objection is
                                                                                     conditional, and therefore not
                                                                                     binding as to general admissibility.
                                                                                     Objection also fails to state why
                                                                                     exhibit is unfairly prejudicial; or
                                                                                     why such alleged unfair prejudice
                                                                                     outweighs its probative value; or
                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.


DX 157 07/21/14 7:00 a.m. Max               If offered to prove the truth thereof,   Plaintiff has listed exhibit on its list
       Security Intelligence Email to       inadmissible hearsay and no exception    and, therefore, exhibit should be
   Error! Unknown document                                            276
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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        Stephen Smith (Smith Depo Ex     is applicable (F.R.E. 801, 802); no        admitted as agreed. Should
        218) (No Bates Number)           evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                         as to the identity of the author or that   ASIC’s response is as follows:
                                         he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                         factual matter stated (F.R.E. 602);        to state what portion of exhibit is
                                         Irrelevant (F.R.E. 401, 402); Likely to    hearsay; (2) statements not offered
                                         mislead or confuse, waste time (F.R.E.     for the truth, but rather to show
                                         403).                                      information acted upon/state of
                                                                                    mind of parties or individuals
                                                                                    identified in exhibits; (3) several
                                                                                    statements made by party-
                                                                                    opponent, NBC, and agents
                                                                                    affiliated with NBC and operating
                                                                                    within the scope of their agency
                                                                                    (e.g. Aon) and, therefore, are not
                                                                                    hearsay under F.R.E. 801.
                                                                                    F.R.E. 602 – Witnesses has
                                                                                    personal knowledge of what
                                                                                    information NBC received before,
                                                                                    during, and after the events giving
                                                                                    rise to the claim, including this
                                                                                    exhibit. Witness does not need
                                                                                    personally to have been in Israel in
                                                                                    order to testify regarding what
                                                                                    information NBC received


Error! Unknown document                                          277
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
Error! Unknown document                                        278
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                         to know what information NBC,
                                                                                         ASIC, and other parties had at time
                                                                                         of the facts giving rise to Plaintiffs’
                                                                                         claims.


DX 158 07/20/14 1:43 a.m. Max               If offered to prove the truth of facts       Plaintiff has listed exhibit on its list
       Security Intelligence Email to       stated therein, inadmissible hearsay and     and, therefore, exhibit should be
       Stephen Smith (Smith Depo Ex         no exception is applicable (F.R.E. 801,      admitted as agreed. Should
       219) (No Bates Number)               802); Improper lay opinion (F.R.E.           Plaintiffs withdraw the exhibit,
                                            701); No evidence sufficient to support      ASIC’s response is as follows:
                                            a finding as to the identity of the author   F.R.E. 801/802 – (1) Plaintiff fails
                                            or that he/she has personal knowledge        to state what portion of exhibit is
                                            of the factual matter stated (F.R.E.         hearsay; (2) statements not offered
                                            602); Irrelevant (F.R.E. 401, 402); Any      for the truth, but rather to show
                                            probative value is substantially             information acted upon/state of
                                            outweighed by risk of unfair prejudice,      mind of parties or individuals
                                            confusing the issues, misleading the         identified in exhibits; (3) several
                                            jury, undue delay, wasting time, or          statements made by party-
                                            needlessly presenting cumulative             opponent, NBC, and agents
                                            evidence (F.R.E. 403).                       affiliated with NBC and operating
                                                                                         within the scope of their agency
                                                                                         (e.g. Aon) and, therefore, are not
                                                                                         hearsay under F.R.E. 801.
                                                                                         F.R.E. 701 – Unclear what
                                                                                         opinions are offered by any
                                                                                         declarant in exhibit; all testimony
   Error! Unknown document                                           279
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                rationally based on information
                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702.


                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
Error! Unknown document                                        280
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                         #:24747




                                                                                      of all parties involved at time of
                                                                                      claim (NBC, ASIC, Aon, etc.).


                                                                                      F.R.E. 403 – Objection is
                                                                                      conditional, and therefore not
                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why
                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 159 07/21/14 Email from Stephen         If offered to prove the truth of facts   Plaintiff has listed exhibit on its list
       Smith to Randi Richmond             stated therein, inadmissible hearsay and and, therefore, exhibit should be
       (Smith Depo Ex 220)                 no exception is applicable (F.R.E. 801, admitted as agreed. Should
       (UCP001419-1420)                    802); Improper lay opinion (F.R.E.
  Error! Unknown document                                           281
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         701); No evidence sufficient to support      Plaintiffs withdraw the exhibit,
                                         a finding as to the identity of the author   ASIC’s response is as follows:
                                         or that he/she has personal knowledge        F.R.E. 801/802 – (1) Plaintiff fails
                                         of the factual matter stated (F.R.E.         to state what portion of exhibit is
                                         602); Irrelevant (F.R.E. 401, 402); Any      hearsay; (2) statements not offered
                                         probative value is substantially             for the truth, but rather to show
                                         outweighed by risk of unfair prejudice,      information acted upon/state of
                                         confusing the issues, misleading the         mind of parties or individuals
                                         jury, undue delay, wasting time, or          identified in exhibits; (3) several
                                         needlessly presenting cumulative             statements made by party-
                                         evidence (F.R.E. 403).                       opponent, NBC, and agents
                                                                                      affiliated with NBC and operating
                                                                                      within the scope of their agency
                                                                                      (e.g. Aon) and, therefore, are not
                                                                                      hearsay under F.R.E. 801.
                                                                                      F.R.E. 701 – Unclear what
                                                                                      opinions are offered by any
                                                                                      declarant in exhibit; all testimony
                                                                                      rationally based on information
                                                                                      received and acted upon; no
                                                                                      testimony based on scientific,
                                                                                      technical, or other specialized
                                                                                      knowledge within the scope of
                                                                                      F.R.E. 702.



Error! Unknown document                                           282
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
Error! Unknown document                                        283
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                        Objection also fails to state why
                                                                                        exhibit is unfairly prejudicial; or
                                                                                        why such alleged unfair prejudice
                                                                                        outweighs its probative value; or
                                                                                        why exhibit confuses the issue,
                                                                                        misleads the jury, wastes time, or
                                                                                        is cumulative. Furthermore, high
                                                                                        probative value re: state of mind of
                                                                                        all parties involved at the time of
                                                                                        the claim. Finally, jury is entitled
                                                                                        to know what information NBC,
                                                                                        ASIC, and other parties had at time
                                                                                        of the facts giving rise to Plaintiffs’
                                                                                        claims.

DX 160 07/24/14 Email from Stephen         If offered to prove the truth of facts       Plaintiff has listed exhibit on its list
       Smith to Mark Binke (Smith          stated therein, inadmissible hearsay and     and, therefore, exhibit should be
       Depo Ex 221) (UCP001252-            no exception is applicable (F.R.E. 801,      admitted as agreed. Should
       1253)                               802); Improper lay opinion (F.R.E.           Plaintiffs withdraw the exhibit,
                                           701); No evidence sufficient to support      ASIC’s response is as follows:
                                           a finding as to the identity of the author   F.R.E. 801/802 – (1) Plaintiff fails
                                           or that he/she has personal knowledge        to state what portion of exhibit is
                                           of the factual matter stated (F.R.E.         hearsay; (2) statements not offered
                                           602); Irrelevant (F.R.E. 401, 402); Any      for the truth, but rather to show
                                           probative value is substantially             information acted upon/state of
  Error! Unknown document                                           284
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         outweighed by risk of unfair prejudice,   mind of parties or individuals
                                         confusing the issues, misleading the      identified in exhibits; (3) several
                                         jury, undue delay, wasting time, or       statements made by party-
                                         needlessly presenting cumulative          opponent, NBC, and agents
                                         evidence (F.R.E. 403).                    affiliated with NBC and operating
                                                                                   within the scope of their agency
                                                                                   (e.g. Aon) and, therefore, are not
                                                                                   hearsay under F.R.E. 801.
                                                                                   F.R.E. 701 – Unclear what
                                                                                   opinions are offered by any
                                                                                   declarant in exhibit; all testimony
                                                                                   rationally based on information
                                                                                   received and acted upon; no
                                                                                   testimony based on scientific,
                                                                                   technical, or other specialized
                                                                                   knowledge within the scope of
                                                                                   F.R.E. 702.


                                                                                   F.R.E. 602 – Witnesses has
                                                                                   personal knowledge of what
                                                                                   information NBC received before,
                                                                                   during, and after the events giving
                                                                                   rise to the claim, including this
                                                                                   exhibit. Witness does not need
                                                                                   personally to have been in Israel in
                                                                                   order to testify regarding what
Error! Unknown document                                          285
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
Error! Unknown document                                        286
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
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                                                                                        probative value re: state of mind of
                                                                                        all parties involved at the time of
                                                                                        the claim. Finally, jury is entitled
                                                                                        to know what information NBC,
                                                                                        ASIC, and other parties had at time
                                                                                        of the facts giving rise to Plaintiffs’
                                                                                        claims.

DX 161 07/28/14 Email from Stephen         If offered to prove the truth of facts       Plaintiff has listed exhibit on its list
       Smith to Mark Binke and Randi       stated therein, inadmissible hearsay and     and, therefore, exhibit should be
       Richmond (Smith Depo Ex             no exception is applicable (F.R.E. 801,      admitted as agreed. Should
       222) (UCP001274-1275)               802); Improper lay opinion (F.R.E.           Plaintiffs withdraw the exhibit,
                                           701); No evidence sufficient to support      ASIC’s response is as follows:
                                           a finding as to the identity of the author   F.R.E. 801/802 – (1) Plaintiff fails
                                           or that he/she has personal knowledge        to state what portion of exhibit is
                                           of the factual matter stated (F.R.E.         hearsay; (2) statements not offered
                                           602); Irrelevant (F.R.E. 401, 402); Any      for the truth, but rather to show
                                           probative value is substantially             information acted upon/state of
                                           outweighed by risk of unfair prejudice,      mind of parties or individuals
                                           confusing the issues, misleading the         identified in exhibits; (3) several
                                           jury, undue delay, wasting time, or          statements made by party-
                                           needlessly presenting cumulative             opponent, NBC, and agents
                                           evidence (F.R.E. 403).                       affiliated with NBC and operating
                                                                                        within the scope of their agency


  Error! Unknown document                                           287
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                (e.g. Aon) and, therefore, are not
                                                                                hearsay under F.R.E. 801.
                                                                                F.R.E. 701 – Unclear what
                                                                                opinions are offered by any
                                                                                declarant in exhibit; all testimony
                                                                                rationally based on information
                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702.


                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.



Error! Unknown document                                        288
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
Error! Unknown document                                        289
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
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                                                                                        ASIC, and other parties had at time
                                                                                        of the facts giving rise to Plaintiffs’
                                                                                        claims.

DX 162 07/29/14 Email from Stephen         If offered to prove the truth of facts       Plaintiff has listed exhibit on its list
       Smith to Mark Binke and Randi       stated therein, inadmissible hearsay and     and, therefore, exhibit should be
       Richmond (Smith Depo Ex             no exception is applicable (F.R.E. 801,      admitted as agreed. Should
       223) (UCP_003545)                   802); Improper lay opinion (F.R.E.           Plaintiffs withdraw the exhibit,
                                           701); No evidence sufficient to support      ASIC’s response is as follows:
                                           a finding as to the identity of the author   F.R.E. 801/802 – (1) Plaintiff fails
                                           or that he/she has personal knowledge        to state what portion of exhibit is
                                           of the factual matter stated (F.R.E.         hearsay; (2) statements not offered
                                           602); Irrelevant (F.R.E. 401, 402); Any      for the truth, but rather to show
                                           probative value is substantially             information acted upon/state of
                                           outweighed by risk of unfair prejudice,      mind of parties or individuals
                                           confusing the issues, misleading the         identified in exhibits; (3) several
                                           jury, undue delay, wasting time, or          statements made by party-
                                           needlessly presenting cumulative             opponent, NBC, and agents
                                           evidence (F.R.E. 403).                       affiliated with NBC and operating
                                                                                        within the scope of their agency
                                                                                        (e.g. Aon) and, therefore, are not
                                                                                        hearsay under F.R.E. 801.
                                                                                        F.R.E. 701 – Unclear what
                                                                                        opinions are offered by any
                                                                                        declarant in exhibit; all testimony
                                                                                        rationally based on information
  Error! Unknown document                                           290
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                         AS OF JANUARY 14, 2020
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                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702.


                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind

Error! Unknown document                                        291
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      of all parties involved at time of
                                                                                      claim (NBC, ASIC, Aon, etc.).


                                                                                      F.R.E. 403 – Objection is
                                                                                      conditional, and therefore not
                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why
                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 163 08/05/14 Email from Stephen         If offered to prove the truth of facts   Plaintiff has listed exhibit on its list
       Smith to Mark Binke (Smith          stated therein, inadmissible hearsay and and, therefore, exhibit should be
       Depo Ex 224) (UCP_003252-           no exception is applicable (F.R.E. 801, admitted as agreed. Should
       3253)                               802); Improper lay opinion (F.R.E.
  Error! Unknown document                                           292
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 493 of 1099 Page ID
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                                         701); No evidence sufficient to support      Plaintiffs withdraw the exhibit,
                                         a finding as to the identity of the author   ASIC’s response is as follows:
                                         or that he/she has personal knowledge        F.R.E. 801/802 – (1) Plaintiff fails
                                         of the factual matter stated (F.R.E.         to state what portion of exhibit is
                                         602); Irrelevant (F.R.E. 401, 402); Any      hearsay; (2) statements not offered
                                         probative value is substantially             for the truth, but rather to show
                                         outweighed by risk of unfair prejudice,      information acted upon/state of
                                         confusing the issues, misleading the         mind of parties or individuals
                                         jury, undue delay, wasting time, or          identified in exhibits; (3) several
                                         needlessly presenting cumulative             statements made by party-
                                         evidence (F.R.E. 403).                       opponent, NBC, and agents
                                                                                      affiliated with NBC and operating
                                                                                      within the scope of their agency
                                                                                      (e.g. Aon) and, therefore, are not
                                                                                      hearsay under F.R.E. 801.
                                                                                      F.R.E. 701 – Unclear what
                                                                                      opinions are offered by any
                                                                                      declarant in exhibit; all testimony
                                                                                      rationally based on information
                                                                                      received and acted upon; no
                                                                                      testimony based on scientific,
                                                                                      technical, or other specialized
                                                                                      knowledge within the scope of
                                                                                      F.R.E. 702.



Error! Unknown document                                           293
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 494 of 1099 Page ID
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                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
Error! Unknown document                                        294
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                        Objection also fails to state why
                                                                                        exhibit is unfairly prejudicial; or
                                                                                        why such alleged unfair prejudice
                                                                                        outweighs its probative value; or
                                                                                        why exhibit confuses the issue,
                                                                                        misleads the jury, wastes time, or
                                                                                        is cumulative. Furthermore, high
                                                                                        probative value re: state of mind of
                                                                                        all parties involved at the time of
                                                                                        the claim. Finally, jury is entitled
                                                                                        to know what information NBC,
                                                                                        ASIC, and other parties had at time
                                                                                        of the facts giving rise to Plaintiffs’
                                                                                        claims.

DX 164 08/08/14 Email from Stephen         If offered to prove the truth of facts       Plaintiff has listed exhibit on its list
       Smith to Mark Binke (Smith          stated therein, inadmissible hearsay and     and, therefore, exhibit should be
       Depo Ex 225) (UCP001277-            no exception is applicable (F.R.E. 801,      admitted as agreed. Should
       1279)                               802); Improper lay opinion (F.R.E.           Plaintiffs withdraw the exhibit,
                                           701); No evidence sufficient to support      ASIC’s response is as follows:
                                           a finding as to the identity of the author   F.R.E. 801/802 – (1) Plaintiff fails
                                           or that he/she has personal knowledge        to state what portion of exhibit is
                                           of the factual matter stated (F.R.E.         hearsay; (2) statements not offered
                                           602); Irrelevant (F.R.E. 401, 402); Any      for the truth, but rather to show
                                           probative value is substantially             information acted upon/state of
  Error! Unknown document                                           295
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                         AS OF JANUARY 14, 2020
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                                         outweighed by risk of unfair prejudice,   mind of parties or individuals
                                         confusing the issues, misleading the      identified in exhibits; (3) several
                                         jury, undue delay, wasting time, or       statements made by party-
                                         needlessly presenting cumulative          opponent, NBC, and agents
                                         evidence (F.R.E. 403).                    affiliated with NBC and operating
                                                                                   within the scope of their agency
                                                                                   (e.g. Aon) and, therefore, are not
                                                                                   hearsay under F.R.E. 801.
                                                                                   F.R.E. 701 – Unclear what
                                                                                   opinions are offered by any
                                                                                   declarant in exhibit; all testimony
                                                                                   rationally based on information
                                                                                   received and acted upon; no
                                                                                   testimony based on scientific,
                                                                                   technical, or other specialized
                                                                                   knowledge within the scope of
                                                                                   F.R.E. 702.


                                                                                   F.R.E. 602 – Witnesses has
                                                                                   personal knowledge of what
                                                                                   information NBC received before,
                                                                                   during, and after the events giving
                                                                                   rise to the claim, including this
                                                                                   exhibit. Witness does not need
                                                                                   personally to have been in Israel in
                                                                                   order to testify regarding what
Error! Unknown document                                          296
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
Error! Unknown document                                        297
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                        probative value re: state of mind of
                                                                                        all parties involved at the time of
                                                                                        the claim. Finally, jury is entitled
                                                                                        to know what information NBC,
                                                                                        ASIC, and other parties had at time
                                                                                        of the facts giving rise to Plaintiffs’
                                                                                        claims.

DX 165 08/19/14 Email from Stephen         If offered to prove the truth of facts       Plaintiff has listed exhibit on its list
       Smith to Mark Binke, with           stated therein, inadmissible hearsay and     and, therefore, exhibit should be
       attachment (Smith Depo Ex           no exception is applicable (F.R.E. 801,      admitted as agreed. Should
       231) (UCP001268-1273)               802); Improper lay opinion (F.R.E.           Plaintiffs withdraw the exhibit,
                                           701); No evidence sufficient to support      ASIC’s response is as follows:
                                           a finding as to the identity of the author   F.R.E. 801/802 – (1) Plaintiff fails
                                           or that he/she has personal knowledge        to state what portion of exhibit is
                                           of the factual matter stated (F.R.E.         hearsay; (2) statements not offered
                                           602); Irrelevant (F.R.E. 401, 402); Any      for the truth, but rather to show
                                           probative value is substantially             information acted upon/state of
                                           outweighed by risk of unfair prejudice,      mind of parties or individuals
                                           confusing the issues, misleading the         identified in exhibits; (3) several
                                           jury, undue delay, wasting time, or          statements made by party-
                                           needlessly presenting cumulative             opponent, NBC, and agents
                                           evidence (F.R.E. 403).                       affiliated with NBC and operating
                                                                                        within the scope of their agency


  Error! Unknown document                                           298
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                (e.g. Aon) and, therefore, are not
                                                                                hearsay under F.R.E. 801.
                                                                                F.R.E. 701 – Unclear what
                                                                                opinions are offered by any
                                                                                declarant in exhibit; all testimony
                                                                                rationally based on information
                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702.


                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.



Error! Unknown document                                        299
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
Error! Unknown document                                        300
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims

DX 166 DUPLICATIVE OF WEISS                 No objection.
       DEPO EXHIBIT 56                                                                No response.
       (UCP000344-349)
DX 167 06/15/14-07/02/14 Email string       Depending on which portion of the         Plaintiff has listed exhibit on its list
       between Kurt Ford and Susan          document is used, if offered to prove     and, therefore, exhibit should be
       Weiss, et al (Adams Depo Ex          the truth thereof, inadmissible hearsay   admitted as agreed. Should
       241A) UCP000385-390)                 and no exception is applicable (F.R.E.    Plaintiffs withdraw the exhibit,
                                            801, 802); Relevance, depending on        ASIC’s response is as follows:
                                            purpose for which the evidence is         F.R.E. 801/802 – (1) Plaintiff fails
                                            proffered at trial (F.R.E. 401);          to state what portion of exhibit is
                                            Probative value is substantially          hearsay; (2) statements not offered
                                            outweighed by risk of confusing the       for the truth, but rather to show
                                            issues, undue delay, wasting time, or     information acted upon/state of
                                            needlessly presenting cumulative          mind of parties or individuals
                                            evidence, depending on purpose for        identified in exhibits; (3) several
                                            which evidence is proffered at trial      statements made by party-
                                            (F.R.E. 403). Among other things, the     opponent, NBC, or agents
                                            6/16 10:a.m. email from Weiss is          affiliated with NBC and operating
                                            hearsay, inadmissible legal opinion, is   within the scope of their agency
                                            likely to confuse and mislead jury, is    (e.g. Aon) and, therefore, are not
                                            unfairly prejudicial, cumulative          hearsay under F.R.E. 801.
                                            (duplicative of 240) and wastes time.
   Error! Unknown document                                          301
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         Likewise, the 7/1 email from Weiss is    F.R.E. 401 – Objection is
                                         hearsay, speculation, impermissible      conditional, and therefore not
                                         legal opinion, likely to confuse and     binding as to general admissibility.
                                         mislead jury, is unfairly prejudicial,   Objection also fails to state why or
                                         cumulative (duplicative of 240) and      in what context exhibit is
                                         wastes time.                             irrelevant. Furthermore, exhibit is
                                                                                  relevant to establish state of mind
                                                                                  of all parties involved at time of
                                                                                  claim (NBC, ASIC, Aon, etc.).


                                                                                  F.R.E. 403 – Objection is
                                                                                  conditional, and therefore not
                                                                                  binding as to general admissibility.
                                                                                  Objection also fails to state why
                                                                                  exhibit is unfairly prejudicial; or
                                                                                  why such alleged unfair prejudice
                                                                                  outweighs its probative value; or
                                                                                  why exhibit confuses the issue,
                                                                                  misleads the jury, wastes time, or
                                                                                  is cumulative. Furthermore, high
                                                                                  probative value re: state of mind of
                                                                                  all parties involved at the time of
                                                                                  the claim. Finally, jury is entitled
                                                                                  to know what information NBC,
                                                                                  ASIC, and other parties had at time


Error! Unknown document                                          302
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 168 06/15/14-07/03/14 Email string       Depending on which portion of the          Plaintiff has listed exhibit on its list
       between Malika Adams and             document is used, if offered to prove      and, therefore, exhibit should be
       Kurt Ford, et al (Adams Depo         the truth thereof, inadmissible hearsay    admitted as agreed. Should
       Ex 242A) (UCP003254-3261)            and no exception is applicable (F.R.E.     Plaintiffs withdraw the exhibit,
                                            801, 802); Relevance, depending on         ASIC’s response is as follows:
                                            purpose for which the evidence is          F.R.E. 801/802 – (1) Plaintiff fails
                                            proffered at trial (F.R.E. 401);           to state what portion of exhibit is
                                            Probative value is substantially           hearsay; (2) statements not offered
                                            outweighed by risk of confusing the        for the truth, but rather to show
                                            issues, undue delay, wasting time, or      information acted upon/state of
                                            needlessly presenting cumulative           mind of parties or individuals
                                            evidence, depending on purpose for         identified in exhibits; (3) several
                                            which evidence is proffered at trial       statements made by party-
                                            (F.R.E. 403). Among other things, the      opponent, NBC, or agents
                                            6/16/ 10:a.m. email from Weiss is          affiliated with NBC and operating
                                            hearsay, inadmissible legal opinion,       within the scope of their agency
                                            likely to confuse and mislead jury,        (e.g. Aon) and, therefore, are not
                                            unfairly prejudicial, cumulative           hearsay under F.R.E. 801.
                                            (duplicative of 240 and 241) and
                                            wastes time. Likewise, the 7/1 email       F.R.E. 401 – Objection is
                                            from Weiss is hearsay, speculation,        conditional, and therefore not
                                            impermissible legal opinion, irrelevant,   binding as to general admissibility.
                                            likely to confuse and mislead jury,        Objection also fails to state why or
                                                                                       in what context exhibit is
   Error! Unknown document                                          303
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                            unfairly prejudicial, cumulative          irrelevant. Furthermore, exhibit is
                                            (duplicative of 240 and 241) and          relevant to establish state of mind
                                            wastes time.                              of all parties involved at time of
                                                                                      claim (NBC, ASIC, Aon, etc.).
                                            Likewise, the 7/3 mail from Adams is
                                            hearsay, inadmissible legal opinion,
                                            irrelevant, likely to confuse and         F.R.E. 403 – Objection is
                                            mislead jury, unfairly prejudicial,       conditional, and therefore not
                                            cumulative (duplicative of 240 and        binding as to general admissibility.
                                            241) and wastes time.                     Objection also fails to state why
                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 169 06/15/14-07/07/14 Email string       Depending on which portion of the         Plaintiff has listed exhibit on its list
       between Malika Adams and             document is used, if offered to prove     and, therefore, exhibit should be
                                            the truth thereof, inadmissible hearsay   admitted as agreed. Should
   Error! Unknown document                                           304
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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        Randi Richmond (Adams Depo       and no exception is applicable (F.R.E.    Plaintiffs withdraw the exhibit,
        Ex 243A) (UCP_002866-2872)       801, 802); Relevance, depending on        ASIC’s response is as follows:
                                         purpose for which the evidence is         F.R.E. 801/802 – (1) Plaintiff fails
                                         proffered at trial (F.R.E. 401);          to state what portion of exhibit is
                                         Probative value is substantially          hearsay; (2) statements not offered
                                         outweighed by risk of confusing the       for the truth, but rather to show
                                         issues, undue delay, wasting time, or     information acted upon/state of
                                         needlessly presenting cumulative          mind of parties or individuals
                                         evidence, depending on purpose for        identified in exhibits; (3) several
                                         which evidence is proffered at trial      statements made by party-
                                         (F.R.E. 403). Among other things, the     opponent, NBC, or agents
                                         6/16/ 10:a.m. email from Weiss is         affiliated with NBC and operating
                                         hearsay, inadmissible legal opinion,      within the scope of their agency
                                         likely to confuse and mislead jury,       (e.g. Aon) and, therefore, are not
                                         unfairly prejudicial, cumulative          hearsay under F.R.E. 801.
                                         (duplicative of 240 241, 242) and
                                         wastes time. The 7/1 email from Weiss     F.R.E. 401 – Objection is
                                         is hearsay, speculation, impermissible    conditional, and therefore not
                                         legal opinion, likely to confuse and      binding as to general admissibility.
                                         mislead jury, unfairly prejudicial,       Objection also fails to state why or
                                         cumulative (duplicative of 240 241,       in what context exhibit is
                                         242) and wastes time. Likewise, the       irrelevant. Furthermore, exhibit is
                                         7/7 email from Adams is hearsay,          relevant to establish state of mind
                                         speculation, impermissible legal          of all parties involved at time of
                                         opinion, irrelevant, likely to confuse    claim (NBC, ASIC, Aon, etc.).
                                         and mislead jury, unfairly prejudicial.

Error! Unknown document                                         305
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      F.R.E. 403 – Objection is
                                                                                      conditional, and therefore not
                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why
                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 170 06/15/14-07/07/14 Email string       Depending on which portion of the         Plaintiff has listed exhibit on its list
       between Mark Binke and               document is used, if offered to prove     and, therefore, exhibit should be
       Malika Adams, et al (Adams           the truth thereof, inadmissible hearsay   admitted as agreed. Should
       Depo Ex 244A) (UCP_003189-           and no exception is applicable (F.R.E.    Plaintiffs withdraw the exhibit,
       3196)                                801, 802); Relevance, depending on        ASIC’s response is as follows:
                                            purpose for which the evidence is         F.R.E. 801/802 – (1) Plaintiff fails
                                            proffered at trial (F.R.E. 401);          to state what portion of exhibit is
                                            Probative value is substantially          hearsay; (2) statements not offered
   Error! Unknown document                                          306
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         outweighed by risk of confusing the       for the truth, but rather to show
                                         issues, undue delay, wasting time, or     information acted upon/state of
                                         needlessly presenting cumulative          mind of parties or individuals
                                         evidence, depending on purpose for        identified in exhibits; (3) several
                                         which evidence is proffered at trial      statements made by party-
                                         (F.R.E. 403). Among other things:         opponent, NBC, or agents
                                         The 6/16/ 10:a.m. email from Weiss is     affiliated with NBC and operating
                                         hearsay, inadmissible legal opinion,      within the scope of their agency
                                         likely to confuse and mislead jury,       (e.g. Aon) and, therefore, are not
                                         unfairly prejudicial, cumulative          hearsay under F.R.E. 801.
                                         (duplicative of 240, 241, 242, 243) and   F.R.E. 401 – Objection is
                                         wastes time;                              conditional, and therefore not
                                         The 7/1 email from Weiss is hearsay,      binding as to general admissibility.
                                         speculation, impermissible legal          Objection also fails to state why or
                                         opinion, irrelevant, likely to confuse    in what context exhibit is
                                         and mislead jury, unfairly prejudicial,   irrelevant. Furthermore, exhibit is
                                         cumulative (duplicative of 240, 241,      relevant to establish state of mind
                                         242, 243) and wastes time;                of all parties involved at time of
                                         The 7/7 8:11 p.m. email from Adams is     claim (NBC, ASIC, Aon, etc.).
                                         hearsay, speculation, impermissible
                                         legal opinion, irrelevant, likely to
                                         confuse and mislead jury, unfairly        F.R.E. 403 – Objection is
                                         prejudicial cumulative (duplicative of    conditional, and therefore not
                                         243) and wastes time;                     binding as to general admissibility.
                                         The 7/7 8:31 p.m. email from Adams is     Objection also fails to state why
                                         hearsay, speculation, impermissible       exhibit is unfairly prejudicial; or
                                         legal opinion, irrelevant, likely to      why such alleged unfair prejudice
Error! Unknown document                                         307
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         confuse and mislead jury, unfairly     outweighs its probative value; or
                                         prejudicial, and wastes time.          why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.

                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
Error! Unknown document                                         308
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                         exhibit is unfairly prejudicial; or
                                                                                         why such alleged unfair prejudice
                                                                                         outweighs its probative value; or
                                                                                         why exhibit confuses the issue,
                                                                                         misleads the jury, wastes time, or
                                                                                         is cumulative. Furthermore, high
                                                                                         probative value re: state of mind of
                                                                                         all parties involved at the time of
                                                                                         the claim. Finally, jury is entitled
                                                                                         to know what information NBC,
                                                                                         ASIC, and other parties had at time
                                                                                         of the facts giving rise to Plaintiffs’
                                                                                         claims.


DX 171 07/07-08/14 Email string            Relevance, depending on purpose for           Plaintiff has listed exhibit on its list
       between Kurt Ford, Mark Binke       which the evidence is proffered at trial      and, therefore, exhibit should be
       and Randi Richmond (Adams           (F.R.E. 401); Probative value is              admitted as agreed. Should
       Depo Ex 245A) (UCP000708)           substantially outweighed by risk of           Plaintiffs withdraw the exhibit,
                                           confusing the issues, wasting time, or        ASIC’s response is as follows:
                                           needlessly presenting cumulative              F.R.E. 801/802 – (1) Plaintiff fails
                                           evidence, depending on purpose for            to state what portion of exhibit is
                                           which evidence is proffered (F.R.E.           hearsay; (2) statements not offered
                                           403). Among other things, the                 for the truth, but rather to show
                                           Statement in Ford’s 7/8 email is              information acted upon/state of
                                           hearsay, inadmissible legal opinion,          mind of parties or individuals
                                           irrelevant, unfairly prejudicial, likely to   identified in exhibits; (3) several
  Error! Unknown document                                            309
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         confuse issues and mislead jury, and   statements made by party-
                                         wastes time.                           opponent, NBC, or agents
                                                                                affiliated with NBC and operating
                                                                                within the scope of their agency
                                                                                (e.g. Aon) and, therefore, are not
                                                                                hearsay under F.R.E. 801.
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, AON, etc.).


                                                                                F.R.E. 403 – Objection fails to
                                                                                state what prejudice exhibit
                                                                                contains, or why such alleged
                                                                                prejudice outweighs its probative
                                                                                value. Also, high probative value
                                                                                re: state of mind of all parties
                                                                                involved at the time of the claim.
                                                                                Objection further fails to state what
                                                                                information will mislead or
                                                                                confuse jury. Finally, jury must
Error! Unknown document                                         310
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       know what information NBC,
                                                                                       AON, and ASIC had at time of
                                                                                       claim.


DX 172 General Claims Practices (Johnson    If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       Depo Ex 1) (ATL000735-744)           inadmissible hearsay and no exception      and, therefore, exhibit should be
                                            is applicable (F.R.E. 801, 802).           admitted as agreed. Should
                                            Relevance, depending on purpose for        Plaintiffs withdraw the exhibit,
                                            which the evidence is proffered at trial   ASIC’s response is as follows:
                                            (F.R.E. 401); Probative value is           F.R.E. 801/802 – (1) Plaintiff fails
                                            substantially outweighed by risk of        to state what portion of exhibit is
                                            confusing the issues, undue delay,         hearsay; (2) statements not offered
                                            wasting time, or needlessly presenting     for the truth, but rather to show
                                            cumulative evidence, depending on          information acted upon/state of
                                            purpose for which evidence is              mind of parties or individuals
                                            proffered at trial (F.R.E. 403).           identified in exhibits; (3) all
                                                                                       communications of OneBeacon are
                                                                                       records made at or near to the time
                                                                                       of the events or conditions at issue
                                                                                       in this case by persons with
                                                                                       knowledge of those events or
                                                                                       conditions; these communications
                                                                                       are also made and kept in the
                                                                                       regular course of business and,
                                                                                       therefore, are an exception to
                                                                                       hearsay under F.R.E. 803(6).
   Error! Unknown document                                          311
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time


Error! Unknown document                                        312
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                    of the facts giving rise to Plaintiffs’
                                                                                    claims.


DX 173 7/15/14 Email chain from            If offered to prove the truth thereof,   Plaintiff has listed exhibit on its list
       Pamela Johnson to Daniel            inadmissible hearsay and no exception    and, therefore, exhibit should be
       Gutterman (Johnson Depo Ex          is applicable (F.R.E. 801, 802).         admitted as agreed. Should
       3) (ASIC/NBC Dig Claim File                                                  Plaintiffs withdraw the exhibit,
       – Bates No. ATL 304 - 308)                                                   ASIC’s response is as follows:
                                                                                    F.R.E. 801/802 – (1) Plaintiff fails
                                                                                    to state what portion of exhibit is
                                                                                    hearsay; (2) statements not offered
                                                                                    for the truth, but rather to show
                                                                                    information acted upon/state of
                                                                                    mind of parties or individuals
                                                                                    identified in exhibits; (3) several
                                                                                    statements made by party-
                                                                                    opponent, NBC, and agents
                                                                                    affiliated with NBC and operating
                                                                                    within the scope of their agency
                                                                                    (e.g. Aon) and, therefore, are not
                                                                                    hearsay under F.R.E. 801; (4) all
                                                                                    communications of OneBeacon are
                                                                                    records made at or near to the time
                                                                                    of the events or conditions at issue
                                                                                    in this case by persons with
                                                                                    knowledge of those events or
  Error! Unknown document                                         313
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      conditions; these communications
                                                                                      are also made and kept in the
                                                                                      regular course of business and,
                                                                                      therefore, are an exception to
                                                                                      hearsay under F.R.E. 803(6).


DX 174 United Kingdom’s website             Irrelevant (F.R.E. 401, 402); Any         Plaintiff has listed exhibit on its list
       regarding travel to Israel, as it    Probative Value Is Substantially          and, therefore, exhibit should be
       existed on 1/30/17                   Outweighed By Risk Of Unfair              admitted as agreed. Should
       (https://www.gov.uk/foreign-         Prejudice, Confusing The Issues,          Plaintiffs withdraw the exhibit,
       travel-advice/israel) (Johnson       Misleading The Jury, Undue Delay,         ASIC’s response is as follows:
       Depo Ex 4) (No Bates Number)         Wasting Time, Or Needlessly               F.R.E. 801/802 – (1) Plaintiff fails
                                            Presenting Cumulative Evidence            to state what portion of exhibit is
                                            (F.R.E. 403). If offered to prove the     hearsay; (2) statements not offered
                                            truth thereof, inadmissible hearsay and   for the truth, but rather to show
                                            no exception is applicable (F.R.E. 801,   information acted upon/state of
                                            802). Subject of a pending Motion in      mind of parties or individuals
                                            Limine.                                   identified in exhibits.


                                                                                      F.R.E. 401 – Objection is
                                                                                      conditional, and therefore not
                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why or
                                                                                      in what context exhibit is
                                                                                      irrelevant. Furthermore, exhibit is
   Error! Unknown document                                          314
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                    relevant to establish state of mind
                                                                                    of all parties involved at time of
                                                                                    claim (NBC, AON, etc.).


                                                                                    F.R.E. 403 – Objection fails to
                                                                                    state what prejudice exhibit
                                                                                    contains, or why such alleged
                                                                                    prejudice outweighs its probative
                                                                                    value. Also, high probative value
                                                                                    re: state of mind of all parties
                                                                                    involved at the time of the claim.
                                                                                    Objection further fails to state what
                                                                                    information will mislead or
                                                                                    confuse jury. Finally, jury must
                                                                                    know what information NBC,
                                                                                    AON, and ASIC had at time of
                                                                                    claim.

DX 175 7/16/14 Email chain from            If offered to prove the truth thereof,   Plaintiff has listed exhibit on its list
       Daniel Gutterman to Daniel          inadmissible hearsay and no exception    and, therefore, exhibit should be
       Gutterman (ASIC/NBC Dig             is applicable (F.R.E. 801, 802).         admitted as agreed. Should
       Claim File – Bates No. ATL                                                   Plaintiffs withdraw the exhibit,
       1329 - 1335)                                                                 ASIC’s response is as follows:
                                                                                    F.R.E. 801/802 – (1) Plaintiff fails
                                                                                    to state what portion of exhibit is
                                                                                    hearsay; (2) statements not offered
  Error! Unknown document                                         315
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                for the truth, but rather to show
                                                                                information acted upon/state of
                                                                                mind of parties or individuals
                                                                                identified in exhibits; (3) all
                                                                                communications of OneBeacon are
                                                                                records made at or near to the time
                                                                                of the events or conditions at issue
                                                                                in this case by persons with
                                                                                knowledge of those events or
                                                                                conditions; these communications
                                                                                are also made and kept in the
                                                                                regular course of business and,
                                                                                therefore, are an exception to
                                                                                hearsay under F.R.E. 803(6).
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why
                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.

DX 176 United Kingdom’s website             Irrelevant (F.R.E. 401, 402); Any         Plaintiff has listed exhibit on its list
       update regarding travel to           Probative Value Is Substantially          and, therefore, exhibit should be
       Israel, The West Bank and Gaza       Outweighed By Risk Of Unfair              admitted as agreed. Should
       Travel Warning published on          Prejudice, Confusing The Issues,          Plaintiffs withdraw the exhibit,
       2/3/14, as it existed on 7/15/14     Misleading The Jury, Undue Delay,         ASIC’s response is as follows:
       (https://www.gov.uk/foreign-         Wasting Time, Or Needlessly               F.R.E. 801/802 – (1) Plaintiff fails
       travel-advice/israel) (Johnson       Presenting Cumulative Evidence            to state what portion of exhibit is
       Depo Ex 6) (No Bates Number)         (F.R.E. 403). If offered to prove the     hearsay; (2) statements not offered
                                            truth thereof, inadmissible hearsay and   for the truth, but rather to show
                                            no exception is applicable (F.R.E. 801,   information acted upon/state of
   Error! Unknown document                                          317
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         802). Subject of a pending Motion in   mind of parties or individuals
                                         Limine.                                identified in exhibits; (3) several
                                                                                statements made by party-
                                                                                opponent, NBC, and agents
                                                                                affiliated with NBC and operating
                                                                                within the scope of their agency
                                                                                (e.g. Aon) and, therefore, are not
                                                                                hearsay under F.R.E. 801.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
Error! Unknown document                                         318
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.

DX 177 07/16/14 Email from Pamela           No objection.                            Plaintiff has listed exhibit on its list
       Johnson to Pamela Johnson                                                     and, therefore, exhibit should be
       (Johnson Depo Ex 7)                                                           admitted as agreed. Should
       (ATL001529-1530)                                                              Plaintiffs withdraw the exhibit,
                                                                                     ASIC’s response will follow.
DX 178 7/16/14 Calendar Entry –             If offered to prove the truth thereof,   F.R.E. 801/802 – (1) Plaintiff fails
       Meeting to Discuss War               inadmissible hearsay and no exception    to state what portion of exhibit is
       Exclusion with Gooley, T.,           is applicable (F.R.E. 801, 802).         hearsay; (2) statements not offered
       Duffy, S., and Johnson, P.                                                    for the truth, but rather to show
       (Johnson Depo Ex 8) (ATL                                                      information acted upon/state of
       001564)                                                                       mind of parties or individuals
                                                                                     identified in exhibits; (3) there is
                                                                                     no statement contained in this
                                                                                     document that constitutes hearsay.

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   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 179 Westlaw: Holiday Inns Inc. v.                                                 Plaintiff has listed exhibit on its list
       Aetna Insurance Company                                                       and, therefore, exhibit should be
       (Johnson Depo Ex 9)                                                           admitted as agreed. Should
       (ATL001635-1686)                                                              Plaintiffs withdraw the exhibit,
                                                                                     ASIC’s response will follow.


DX 180 7/22/14 Email chain                  If offered to prove the truth thereof,   Plaintiff has listed exhibit on its list
       communicating acceptance of          inadmissible hearsay and no exception    and, therefore, exhibit should be
       meeting invitation from Pamela       is applicable (F.R.E. 801, 802).         admitted as agreed. Should
       Johnson to Theresa Gooley                                                     Plaintiffs withdraw the exhibit,
       (Johnson Depo Ex 10) (Bates                                                   ASIC’s response is as follows:
       No. ATL 001814)                                                               F.R.E. 801/802 – (1) Plaintiff fails
                                                                                     to state what portion of exhibit is
                                                                                     hearsay; (2) statements not offered
                                                                                     for the truth, but rather to show
                                                                                     information acted upon/state of
                                                                                     mind of parties or individuals
                                                                                     identified in exhibits; (3) all
                                                                                     communications of OneBeacon are
                                                                                     records made at or near to the time
                                                                                     of the events or conditions at issue
                                                                                     in this case by persons with
                                                                                     knowledge of those events or
                                                                                     conditions; these communications
                                                                                     are also made and kept in the
                                                                                     regular course of business and,
   Error! Unknown document                                         320
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                therefore, are an exception to
                                                                                hearsay under F.R.E. 803(6).
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
Error! Unknown document                                        321
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.

DX 181 Affidavit of Pamela Johnson          If offered to prove the truth thereof,   F.R.E. 801/802 – (1) Plaintiff fails
       (Johnson Depo Ex 11) (No             inadmissible hearsay and no exception    to state what portion of exhibit is
       Bates Number)                        is applicable (F.R.E. 801, 802).         hearsay; (2) statements not offered
                                                                                     for the truth, but rather to show
                                                                                     information acted upon/state of
                                                                                     mind of parties or individuals
                                                                                     identified in exhibits; (3) all
                                                                                     communications of OneBeacon are
                                                                                     records made at or near to the time
                                                                                     of the events or conditions at issue
                                                                                     in this case by persons with
                                                                                     knowledge of those events or
                                                                                     conditions; these communications
                                                                                     are also made and kept in the
                                                                                     regular course of business and,
                                                                                     therefore, are an exception to
                                                                                     hearsay under F.R.E. 803(6).
DX 182 7/28/14 Email communication     No objection                                  No response
       from Pamela Johnson to Susan
       Weiss containing 7/28/14 letter
       from Pamela Johnson to Andrea

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   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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       Garber (Johnson Depo Ex 12)
       (AONNBCU0003805 – 3093)
DX 183 Motion Picture/Television             No objection.                          No response.
       Producers Portfolio
       Declarations, Policy Number
       MP00163-04, Period 1/1/14 to
       6/30/15 (Williams Dep 2/1/17,
       Ex 1) (ATL003073-3127)

DX 184                                       No objection.                          No response.
           Duplicative of Johnson Depo
           Ex 248 (ATL001101-1105)

DX 185 Core Principles – Version             No objection.                          No response.
       09/01/12 (Gutterman Depo Ex
       16) (ATL000731-732)

DX 186                                       No objection.                          No response.
           07/21-22/14 Email string
           between Pamela Johnson and
           Susan Weiss, et al (Gutterman
           Depo Ex 25)
           (AONNBCU0003242-3243)

DX 187 7/17/14 Email between Theresa         No objection.                          No response.
       Gooley and Pamela Johnson
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   property name.                        ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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           (Wolf Depo Ex 31) (ATL
           001571 – 001572)
DX 188 DUPLICATIVE OF                       No objection.                          No response.
       JOHNSON DEPO EX 252
       (ATL 001847 – 1855)
DX 189 DUPLICATIVE OF Gooley                No objection.                          No response.
       Depo Ex 34 (ATL 001858 –
       1866)
DX 190 07/28/14 Email from Pamela           No objection.                          No response.
       Johnson to Susan Weiss and
       Andrea Garber, with attached
       letter (Garber Depo Ex 36)
       (UCP000374-382)
DX 191 07/28/14 Email from Pamela           No objection.                          No response.
       Johnson to Susan Weiss and
       Andrea Garber, with attached
       letter (Garber Depo Ex 37)
       (AONNBCU0002769-2777)
DX 192 Motion Picture/Television            No objection.                          No response.
       Producers Portfolio
       Declarations, Policy Number
       MP00163-04, Period 01/01/14


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   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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           to 06/30/15 (Garber Depo Ex
           38) (ATL001575-1629)
DX 193 07/16-17/14 Email string      No objection.                                      No response.
       between Susan Weiss and
       Danny Gutterman, et al (Weiss
       Depo Ex 62) (UCP000854-855)

DX 194 07/21-25/14 Email string              No objection.                              No response.
       between Andrea Garber and
       Susan Weiss, et al (Weiss Depo
       Ex 65) (AONNBCU0003240-
       3241)

DX 195 07/14-15/14 Email string              If offered to prove the truth of facts     F.R.E. 801/802 – (1) Plaintiff fails
       between Daniel Gutterman and          stated therein, inadmissible hearsay and   to state what portion of exhibit is
       Peter Williams, et al                 multiple hearsay and no exception is       hearsay; (2) statements not offered
       (Johnson Depo Ex 232)                 applicable (F.R.E. 801, 802).              for the truth, but rather to show
       (ATL000513-516)                                                                  information acted upon/state of
                                                                                        mind of parties or individuals
                                                                                        identified in exhibits; (3) several
                                                                                        statements made by party-
                                                                                        opponent, NBC, or agents
                                                                                        affiliated with NBC and operating
                                                                                        within the scope of their agency
                                                                                        (e.g. Aon) and, therefore, are not
                                                                                        hearsay under F.R.E. 801; (4) all
   Error! Unknown document                                           325
   property name.                        ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                        communications of OneBeacon are
                                                                                        records made at or near to the time
                                                                                        of the events or conditions at issue
                                                                                        in this case by persons with
                                                                                        knowledge of those events or
                                                                                        conditions; these communications
                                                                                        are also made and kept in the
                                                                                        regular course of business and,
                                                                                        therefore, are an exception to
                                                                                        hearsay under F.R.E. 803(6).


DX 196 Video                               If offered to prove the truth of facts       F.R.E. 801/802 – (1) Plaintiff fails
       (Johnson Depo Ex 233)               stated therein, inadmissible hearsay and     to state what portion of exhibit is
       (ATL004496)                         no exception is applicable (F.R.E. 801,      hearsay; (2) statements not offered
                                           802); Improper lay opinion (F.R.E.           for the truth, but rather to show
                                           701); No evidence sufficient to support      information acted upon/state of
                                           a finding as to the identity of the author   mind of parties or individuals
                                           or that he/she has personal knowledge        identified in exhibits; (3) news
                                           of the factual matter stated (F.R.E.         production is from NBC news, so
                                           602); Irrelevant (F.R.E. 401, 402); Any      all statements made by party-
                                           probative value is substantially             opponent, NBC, or agents
                                           outweighed by risk of unfair prejudice,      affiliated with NBC and operating
                                           confusing the issues, misleading the         within the scope of their agency
                                           jury, undue delay, wasting time, or          and, therefore, are not hearsay
                                           needlessly presenting cumulative             under F.R.E. 801.
                                           evidence (F.R.E. 403); Lacks
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  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         authentication and none of the             F.R.E. 602 – Witnesses has
                                         witnesses have personal knowledge to       personal knowledge of what
                                         authenticate the video footage, in         information NBC received before,
                                         particular as to the means of obtaining,   during, and after the events giving
                                         location, and timing of the footage        rise to the claim, including this
                                         (F.R.E. 901).                              exhibit. Witness does not need
                                                                                    personally to have been in Israel in
                                                                                    order to testify regarding what
                                                                                    information NBC received
                                                                                    regarding what was going on in
                                                                                    Israel.


                                                                                    F.R.E. 701 –Unclear what opinions
                                                                                    are offered by any declarant in
                                                                                    exhibit or, if any, which opinions
                                                                                    are objectionable; all testimony
                                                                                    rationally based on information
                                                                                    received and acted upon; no
                                                                                    testimony based on scientific,
                                                                                    technical, or other specialized
                                                                                    knowledge within the scope of
                                                                                    F.R.E. 702.


                                                                                    F.R.E. 401 – Objection is
                                                                                    conditional, and therefore not
                                                                                    binding as to general admissibility.
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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.



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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       F.R.E. 901 - witnesses are able to
                                                                                       authenticate film to the extent that
                                                                                       the film is information they viewed
                                                                                       and acted upon it, and that the film
                                                                                       is a true and correct copy of the
                                                                                       film as they perceived it at the
                                                                                       time; witness need not to have
                                                                                       personally filmed the video in
                                                                                       order to authenticate the video for
                                                                                       its intended purpose.


DX 197 07/16/14 Email string between        If offered to prove the truth thereof,     F.R.E. 801/802 – (1) Plaintiff fails
       Pamela Johnson and Daniel            inadmissible hearsay and no exception      to state what portion of exhibit is
       Gutterman                            is applicable (F.R.E. 801, 802).           hearsay; (2) statements not offered
       (Johnson Depo Ex 234)                Relevance, depending on purpose for        for the truth, but rather to show
       (ATL000501)                          which the evidence is proffered at trial   information acted upon/state of
                                            (F.R.E. 401); Probative value is           mind of parties or individuals
                                            substantially outweighed by risk of        identified in exhibits; (3) several
                                            confusing the issues, undue delay,         statements made by party-
                                            wasting time, or needlessly presenting     opponent, NBC, or agents
                                            cumulative evidence, depending on          affiliated with NBC and operating
                                            purpose for which evidence is              within the scope of their agency
                                            proffered at trial (F.R.E. 403).           (e.g. Aon) and, therefore, are not
                                                                                       hearsay under F.R.E. 801; (4) all
                                                                                       communications of OneBeacon are
                                                                                       records made at or near to the time
   Error! Unknown document                                          329
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                of the events or conditions at issue
                                                                                in this case by persons with
                                                                                knowledge of those events or
                                                                                conditions; these communications
                                                                                are also made and kept in the
                                                                                regular course of business and,
                                                                                therefore, are an exception to
                                                                                hearsay under F.R.E. 803(6).
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
Error! Unknown document                                        330
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                         misleads the jury, wastes time, or
                                                                                         is cumulative. Furthermore, high
                                                                                         probative value re: state of mind of
                                                                                         all parties involved at the time of
                                                                                         the claim. Finally, jury is entitled
                                                                                         to know what information NBC,
                                                                                         ASIC, and other parties had at time
                                                                                         of the facts giving rise to Plaintiffs’
                                                                                         claims.

DX 198 Middle East Eye Article:             If offered to prove the truth of facts       F.R.E. 801/802 – (1) Plaintiff fails
       Hamas claims responsibility for      stated therein, inadmissible hearsay and     to state what portion of exhibit is
       rockets fired at Jerusalem, Tel      no exception is applicable (F.R.E. 801,      hearsay; (2) statements not offered
       Aviv and Haifa                       802); Improper lay opinion (F.R.E.           for the truth, but rather to show
       (Johnson Depo Ex 235)                701); No evidence sufficient to support      information acted upon/state of
       (ATL004312-4318)                     a finding as to the identity of the author   mind of parties or individuals
                                            or that he/she has personal knowledge        identified in exhibits.
                                            of the factual matter stated (F.R.E.         F.R.E. 701 – Unclear what
                                            602); Irrelevant (F.R.E. 401, 402); Any      opinions are offered by any
                                            probative value is substantially             declarant in exhibit; all testimony
                                            outweighed by risk of unfair prejudice,      rationally based on information
                                            confusing the issues, misleading the         received and acted upon; no
                                            jury, undue delay, wasting time, or          testimony based on scientific,
                                            needlessly presenting cumulative             technical, or other specialized
                                            evidence (F.R.E. 403).                       knowledge within the scope of
                                                                                         F.R.E. 702.
   Error! Unknown document                                           331
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
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                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
Error! Unknown document                                        332
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
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                                                                                         binding as to general admissibility.
                                                                                         Objection also fails to state why
                                                                                         exhibit is unfairly prejudicial; or
                                                                                         why such alleged unfair prejudice
                                                                                         outweighs its probative value; or
                                                                                         why exhibit confuses the issue,
                                                                                         misleads the jury, wastes time, or
                                                                                         is cumulative. Furthermore, high
                                                                                         probative value re: state of mind of
                                                                                         all parties involved at the time of
                                                                                         the claim. Finally, jury is entitled
                                                                                         to know what information NBC,
                                                                                         ASIC, and other parties had at time
                                                                                         of the facts giving rise to Plaintiffs’
                                                                                         claims.

DX 199 07/09/14 Global News:                If offered to prove the truth of facts       F.R.E. 801/802 – (1) Plaintiff fails
       UPDATE: Israel hits key              stated therein, inadmissible hearsay and     to state what portion of exhibit is
       Hamas targets in Gaza                no exception is applicable (F.R.E. 801,      hearsay; (2) statements not offered
       offensive (Johnson Depo Ex           802); Improper lay opinion (F.R.E.           for the truth, but rather to show
       236) (ATL004487-4495)                701); No evidence sufficient to support      information acted upon/state of
                                            a finding as to the identity of the author   mind of parties or individuals
                                            or that he/she has personal knowledge        identified in exhibits.
                                            of the factual matter stated (F.R.E.         F.R.E. 701 – Unclear what
                                            602); Irrelevant (F.R.E. 401, 402); Any      opinions are offered by any
                                            probative value is substantially             declarant in exhibit; all testimony
                                            outweighed by risk of unfair prejudice,
   Error! Unknown document                                            333
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         confusing the issues, misleading the   rationally based on information
                                         jury, undue delay, wasting time, or    received and acted upon; no
                                         needlessly presenting cumulative       testimony based on scientific,
                                         evidence (F.R.E. 403).                 technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702.


                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
Error! Unknown document                                          334
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       of all parties involved at time of
                                                                                       claim (NBC, ASIC, Aon, etc.).


                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
                                                                                       Objection also fails to state why
                                                                                       exhibit is unfairly prejudicial; or
                                                                                       why such alleged unfair prejudice
                                                                                       outweighs its probative value; or
                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.

DX 200 07/15/14 Global News: Israel:        If offered to prove the truth of facts     F.R.E. 801/802 – (1) Plaintiff fails
       Hamas to pay price for its ‘no’      stated therein, inadmissible hearsay and   to state what portion of exhibit is
       truce (Johnson Depo Ex 237)          no exception is applicable (F.R.E. 801,    hearsay; (2) statements not offered
       (ATL004426-4429)                     802); Improper lay opinion (F.R.E.         for the truth, but rather to show
                                            701); No evidence sufficient to support    information acted upon/state of
   Error! Unknown document                                          335
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         a finding as to the identity of the author   mind of parties or individuals
                                         or that he/she has personal knowledge        identified in exhibits.
                                         of the factual matter stated (F.R.E.         F.R.E. 701 – Unclear what
                                         602); Irrelevant (F.R.E. 401, 402); Any      opinions are offered by any
                                         probative value is substantially             declarant in exhibit; all testimony
                                         outweighed by risk of unfair prejudice,      rationally based on information
                                         confusing the issues, misleading the         received and acted upon; no
                                         jury, undue delay, wasting time, or          testimony based on scientific,
                                         needlessly presenting cumulative             technical, or other specialized
                                         evidence (F.R.E. 403). Exhibit               knowledge within the scope of
                                         contains improper legal opinions.            F.R.E. 702.


                                                                                      F.R.E. 602 – Witnesses has
                                                                                      personal knowledge of what
                                                                                      information NBC received before,
                                                                                      during, and after the events giving
                                                                                      rise to the claim, including this
                                                                                      exhibit. Witness does not need
                                                                                      personally to have been in Israel in
                                                                                      order to testify regarding what
                                                                                      information NBC received
                                                                                      regarding what was going on in
                                                                                      Israel.



Error! Unknown document                                           336
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time


Error! Unknown document                                        337
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                         of the facts giving rise to Plaintiffs’
                                                                                         claims.

DX 201 07/16/14 The Washington Post:        If offered to prove the truth of facts       F.R.E. 801/802 – (1) Plaintiff fails
       As cease-fire with Hamas fails       stated therein, inadmissible hearsay and     to state what portion of exhibit is
       to take shape, Netanyahu says,       no exception is applicable (F.R.E. 801,      hearsay; (2) statements not offered
       ‘Our answer is fire’                 802); Improper lay opinion (F.R.E.           for the truth, but rather to show
       (Johnson Depo Ex 238)                701); No evidence sufficient to support      information acted upon/state of
       (ATL004305-4309)                     a finding as to the identity of the author   mind of parties or individuals
                                            or that he/she has personal knowledge        identified in exhibits.
                                            of the factual matter stated (F.R.E.         F.R.E. 701 – Unclear what
                                            602); Irrelevant (F.R.E. 401, 402); Any      opinions are offered by any
                                            probative value is substantially             declarant in exhibit; all testimony
                                            outweighed by risk of unfair prejudice,      rationally based on information
                                            confusing the issues, misleading the         received and acted upon; no
                                            jury, undue delay, wasting time, or          testimony based on scientific,
                                            needlessly presenting cumulative             technical, or other specialized
                                            evidence (F.R.E. 403).                       knowledge within the scope of
                                                                                         F.R.E. 702.


                                                                                         F.R.E. 602 – Witnesses has
                                                                                         personal knowledge of what
                                                                                         information NBC received before,
                                                                                         during, and after the events giving
                                                                                         rise to the claim, including this
                                                                                         exhibit. Witness does not need
   Error! Unknown document                                           338
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
Error! Unknown document                                        339
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.

DX 202 07/16/14 Email from Pamela          If offered to prove the truth of facts     F.R.E. 801/802 – (1) Plaintiff fails
       Johnson to Pamela Johnson           stated therein, inadmissible hearsay and   to state what portion of exhibit is
       (Johnson Depo Ex 239)               no exception is applicable (F.R.E. 801,    hearsay; (2) statements not offered
       (ATL001529-1530)                    802).                                      for the truth, but rather to show
                                                                                      information acted upon/state of
                                                                                      mind of parties or individuals
                                                                                      identified in exhibits; (3) all
                                                                                      communications of OneBeacon are
                                                                                      records made at or near to the time
                                                                                      of the events or conditions at issue
                                                                                      in this case by persons with
                                                                                      knowledge of those events or
                                                                                      conditions; these communications
                                                                                      are also made and kept in the
                                                                                      regular course of business and,
                                                                                      therefore, are an exception to
                                                                                      hearsay under F.R.E. 803(6).


  Error! Unknown document                                          340
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 203 07/16/14 at 5:04 Hamas From         If offered to prove the truth of facts       F.R.E. 801/802 – (1) Plaintiff fails
       Wikipedia (Johnson Depo Ex          stated therein, inadmissible hearsay and     to state what portion of exhibit is
       240) (no document numbers)          no exception is applicable (F.R.E. 801,      hearsay; (2) statements not offered
                                           802); improper lay opinion (F.R.E.           for the truth, but rather to show
                                           701); no evidence sufficient to support      information acted upon/state of
                                           a finding as to the identity of the author   mind of parties or individuals
                                           or that he/she has personal knowledge        identified in exhibits.
                                           of the factual matter stated (F.R.E.         F.R.E. 602 – Witnesses has
                                           602); irrelevant (F.R.E. 401, 402)           personal knowledge of what
                                           (including because article is dated in       information NBC received before,
                                           2017); any probative value is                during, and after the events giving
                                           substantially outweighed by risk of          rise to the claim, including this
                                           unfair prejudice, confusing the issues,      exhibit. Witness does not need
                                           misleading the jury, undue delay,            personally to have been in Israel in
                                           wasting time, or needlessly presenting       order to testify regarding what
                                           cumulative evidence (F.R.E. 403).            information NBC received
                                                                                        regarding what was going on in
                                                                                        Israel.


                                                                                        F.R.E. 701 – F.R.E. 701 – Unclear
                                                                                        what opinions are offered by any
                                                                                        declarant in exhibit or, if any,
                                                                                        which opinions are objectionable;
                                                                                        all testimony rationally based on
                                                                                        information received and acted
                                                                                        upon; no testimony based on
  Error! Unknown document                                           341
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                scientific, technical, or other
                                                                                specialized knowledge within the
                                                                                scope of F.R.E. 702.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, AON, etc.).


                                                                                F.R.E. 403 – Objection fails to
                                                                                state what prejudice exhibit
                                                                                contains, or why such alleged
                                                                                prejudice outweighs its probative
                                                                                value. Also, high probative value
                                                                                re: state of mind of all parties
                                                                                involved at the time of the claim.
                                                                                Objection further fails to state what
                                                                                information will mislead or
                                                                                confuse jury. Finally, jury must
                                                                                know what information NBC,

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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                        AON, and ASIC had at time of
                                                                                        claim.

DX 204 12/02/10 Congressional               If offered to prove the truth of facts      F.R.E. 801/802 – (1) Plaintiff fails
       Research Service: Hamas:             stated therein, inadmissible hearsay and    to state what portion of exhibit is
       Background and Issues for            no exception is applicable (F.R.E. 801,     hearsay; (2) document is not
       Congress                             802); improper lay opinion (F.R.E.          offered for the truth, but rather to
       (Johnson Depo Ex 241)                701); no evidence sufficient to support     show information acted upon/state
       (ATL000431-438)                      a finding that listed author has personal   of mind of NBC or AON at the
                                            knowledge of the factual matter stated      time as matters considered in
                                            (F.R.E. 602); irrelevant (F.R.E. 401,       making coverage decisions or
                                            402); any probative value is                evaluating claims; (3) document
                                            substantially outweighed by risk of         not offered for the truth, but rather
                                            unfair prejudice, confusing the issues,     to show information acted
                                            misleading the jury, undue delay,           upon/state of mind of other
                                            wasting time, or needlessly presenting      witnesses; (4) public records
                                            cumulative evidence (F.R.E. 403).           under 803(8).


                                                                                        F.R.E. 602 – Witnesses has
                                                                                        personal knowledge of what
                                                                                        information NBC received before,
                                                                                        during, and after the events giving
                                                                                        rise to the claim, including this
                                                                                        exhibit. Witness does not need
                                                                                        personally to have been in Israel in
                                                                                        order to testify regarding what
   Error! Unknown document                                          343
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 701 – F.R.E. 701 – Unclear
                                                                                what opinions are offered by any
                                                                                declarant in exhibit or, if any,
                                                                                which opinions are objectionable;
                                                                                all testimony rationally based on
                                                                                information received and acted
                                                                                upon; no testimony based on
                                                                                scientific, technical, or other
                                                                                specialized knowledge within the
                                                                                scope of F.R.E. 702.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


Error! Unknown document                                        344
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                    F.R.E. 403 – Objection is
                                                                                    conditional, and therefore not
                                                                                    binding as to general admissibility.
                                                                                    Objection also fails to state why
                                                                                    exhibit is unfairly prejudicial; or
                                                                                    why such alleged unfair prejudice
                                                                                    outweighs its probative value; or
                                                                                    why exhibit confuses the issue,
                                                                                    misleads the jury, wastes time, or
                                                                                    is cumulative. Furthermore, high
                                                                                    probative value re: state of mind of
                                                                                    all parties involved at the time of
                                                                                    the claim. Finally, jury is entitled
                                                                                    to know what information NBC,
                                                                                    ASIC, and other parties had at time
                                                                                    of the facts giving rise to Plaintiffs’
                                                                                    claims.

DX 205 Video – News Clip: MSNBC – If offered to prove the truth of facts            F.R.E. 801/802 – (1) Plaintiff fails
           07/17/14 Ground war in Gaza stated therein, inadmissible hearsay and     to state what portion of exhibit is
           (ATL004498)                 no exception is applicable (F.R.E. 801,      hearsay; (2) statements not offered
                                       802); Improper lay opinion (F.R.E.           for the truth, but rather to show
                                       701); No evidence sufficient to support      information acted upon/state of
                                       a finding as to the identity of the author   mind of parties or individuals
                                       or that he/she has personal knowledge        identified in exhibits; (3) several
                                       of the factual matter stated (F.R.E.         statements made by party-
                                       602); Irrelevant (F.R.E. 401, 402); Any      opponent, NBC, or agents
  Error! Unknown document                                        345
   property name.                     ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         probative value is substantially           affiliated with NBC and operating
                                         outweighed by risk of unfair prejudice,    within the scope of their agency
                                         confusing the issues, misleading the       (e.g. Aon) and, therefore, are not
                                         jury, undue delay, wasting time, or        hearsay under F.R.E. 801.
                                         needlessly presenting cumulative
                                         evidence (F.R.E. 403); Lacks
                                         authentication and none of the             F.R.E. 602 – NBC dispatched
                                         witnesses have personal knowledge to       employees to Israel to cover events
                                         authenticate the video footage, in         happening in real-time in Israel.
                                         particular as to the means of obtaining,   All reports based on personal
                                         location, and timing of the footage        knowledge of NBC reporters.
                                         (F.R.E. 901).
                                                                                    F.R.E. 701 –Unclear what opinions
                                                                                    are offered by any declarant in
                                                                                    exhibit or, if any, which opinions
                                                                                    are objectionable; all testimony
                                                                                    rationally based on information
                                                                                    personally received, or information
                                                                                    received and acted upon; no
                                                                                    testimony based on scientific,
                                                                                    technical, or other specialized
                                                                                    knowledge within the scope of
                                                                                    F.R.E. 702.


                                                                                    F.R.E. 401 – Objection is
                                                                                    conditional, and therefore not
Error! Unknown document                                          346
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.


Error! Unknown document                                        347
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       F.R.E. 901 - witnesses are able to
                                                                                       authenticate film to the extent that
                                                                                       the film is information they viewed
                                                                                       and acted upon it, and that the film
                                                                                       is a true and correct copy of the
                                                                                       film as they perceived it at the
                                                                                       time; witness need not to have
                                                                                       personally filmed the video in
                                                                                       order to authenticate the video for
                                                                                       its intended purpose.



DX 206 Westlaw: Holiday Inns Inc. v.        Inadmissible hearsay and no exception      F.R.E. 801/802 – (1) Plaintiff fails
       Aetna Insurance Company              is applicable (F.R.E. 801, 802); no        to state what portion of exhibit is
       (Johnson Depo Ex 243)                evidence sufficient to support a finding   hearsay; (2) statements not offered
       (ATL001635-1686)                     that court which authored opinion had      for the truth, but rather to show
                                            personal knowledge of the factual          information acted upon/state of
                                            matter stated (F.R.E. 602); contains       mind of parties or individuals
                                            inadmissible legal opinions from author    identified in exhibits.
                                            not designated as expert (Fed.R.Civ.
                                            Proc. 26); irrelevant (F.R.E. 401, 402);   F.R.E. 602 – Witnesses has
                                            any probative value is substantially       personal knowledge of what
                                            outweighed by risk of unfair prejudice,    information ASIC received before,
                                            confusing the issues, misleading the       during, and after the events giving
                                            jury, undue delay, wasting time, or        rise to the claim, including this
                                                                                       exhibit. Witness does not need
   Error! Unknown document                                          348
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         needlessly presenting cumulative       personally to have been personally
                                         evidence (F.R.E. 403).                 involved in this litigation in order
                                                                                to testify regarding what
                                                                                information ASIC had at the time
                                                                                of its handling of Plaintiffs’ claims.


                                                                                Not offered as an expert opinion,
                                                                                but rather as information ASIC
                                                                                received and acted upon in the
                                                                                handling of Plaintifs' claims.

                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
Error! Unknown document                                         349
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                   exhibit is unfairly prejudicial; or
                                                                                   why such alleged unfair prejudice
                                                                                   outweighs its probative value; or
                                                                                   why exhibit confuses the issue,
                                                                                   misleads the jury, wastes time, or
                                                                                   is cumulative. Furthermore, high
                                                                                   probative value re: state of mind of
                                                                                   all parties involved at the time of
                                                                                   the claim. Finally, jury is entitled
                                                                                   to know what information NBC,
                                                                                   ASIC, and other parties had at time
                                                                                   of the facts giving rise to Plaintiffs’
                                                                                   claims.

DX 207 07/16/14 Email from Pamela          Inadmissible hearsay and no exception   F.R.E. 801/802 – (1) Plaintiff fails
       Johnson to Theresa Gooley           is applicable (F.R.E. 801, 802).        to state what portion of exhibit is
       (Johnson Depo Ex 244)                                                       hearsay; (2) statements not offered
       (ATL001555)                                                                 for the truth, but rather to show
                                                                                   information acted upon/state of
                                                                                   mind of parties or individuals
                                                                                   identified in exhibits; (3) all
                                                                                   communications of OneBeacon are
                                                                                   records made at or near to the time
                                                                                   of the events or conditions at issue
                                                                                   in this case by persons with
                                                                                   knowledge of those events or
                                                                                   conditions; these communications
  Error! Unknown document                                         350
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                   are also made and kept in the
                                                                                   regular course of business and,
                                                                                   therefore, are an exception to
                                                                                   hearsay under F.R.E. 803(6).


DX 208 07/14-15/14 Email string            Inadmissible hearsay and no exception   F.R.E. 801/802 – (1) Plaintiff fails
       between Pamela Johnson and          is applicable (F.R.E. 801, 802).        to state what portion of exhibit is
       Daniel Gutterman, et al                                                     hearsay; (2) statements not offered
       (Johnson Depo Ex 245)                                                       for the truth, but rather to show
       (ATL000295-299)                                                             information acted upon/state of
                                                                                   mind of parties or individuals
                                                                                   identified in exhibits; (3) several
                                                                                   statements made by party-
                                                                                   opponent, NBC, or agents
                                                                                   affiliated with NBC and operating
                                                                                   within the scope of their agency
                                                                                   (e.g. Aon) and, therefore, are not
                                                                                   hearsay under F.R.E. 801; (4) all
                                                                                   communications of OneBeacon are
                                                                                   records made at or near to the time
                                                                                   of the events or conditions at issue
                                                                                   in this case by persons with
                                                                                   knowledge of those events or
                                                                                   conditions; these communications
                                                                                   are also made and kept in the
                                                                                   regular course of business and,
  Error! Unknown document                                         351
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                    therefore, are an exception to
                                                                                    hearsay under F.R.E. 803(6).


DX 209 7/15/14 Email string between         Inadmissible hearsay and no exception   Plaintiff has listed exhibit on its list
       Pamela Johnson and Peter             is applicable (F.R.E. 801, 802).        and, therefore, exhibit should be
       Williams (Johnson Depo Ex                                                    admitted as agreed. Should
       246) (ATL 00393 – 00397)                                                     Plaintiffs withdraw the exhibit,
                                                                                    ASIC’s response is as follows:
                                                                                    F.R.E. 801/802 – (1) Plaintiff fails
                                                                                    to state what portion of exhibit is
                                                                                    hearsay; (2) statements not offered
                                                                                    for the truth, but rather to show
                                                                                    information acted upon/state of
                                                                                    mind of parties or individuals
                                                                                    identified in exhibits; (3) several
                                                                                    statements made by party-
                                                                                    opponent, NBC, or agents
                                                                                    affiliated with NBC and operating
                                                                                    within the scope of their agency
                                                                                    (e.g. Aon) and, therefore, are not
                                                                                    hearsay under F.R.E. 801; (4) all
                                                                                    communications of OneBeacon are
                                                                                    records made at or near to the time
                                                                                    of the events or conditions at issue
                                                                                    in this case by persons with
                                                                                    knowledge of those events or
   Error! Unknown document                                         352
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                    conditions; these communications
                                                                                    are also made and kept in the
                                                                                    regular course of business and,
                                                                                    therefore, are an exception to
                                                                                    hearsay under F.R.E. 803(6).


DX 210 7/15/14 Email string between         Inadmissible hearsay and no exception   F.R.E. 801/802 – (1) Plaintiff fails
       Pamela Johnson and Peter             is applicable (F.R.E. 801, 802).        to state what portion of exhibit is
       Williams (Johnson Depo Ex                                                    hearsay; (2) statements not offered
       247) (ATL 000518 - 000523)                                                   for the truth, but rather to show
                                                                                    information acted upon/state of
                                                                                    mind of parties or individuals
                                                                                    identified in exhibits; (3) all
                                                                                    communications of OneBeacon are
                                                                                    records made at or near to the time
                                                                                    of the events or conditions at issue
                                                                                    in this case by persons with
                                                                                    knowledge of those events or
                                                                                    conditions; these communications
                                                                                    are also made and kept in the
                                                                                    regular course of business and,
                                                                                    therefore, are an exception to
                                                                                    hearsay under F.R.E. 803(6).


DX 211 7/16/14 Email string between         Inadmissible hearsay and no exception   F.R.E. 801/802 – (1) Plaintiff fails
       Pamela Johnson and Peter             is applicable (F.R.E. 801, 802).        to state what portion of exhibit is
   Error! Unknown document                                          353
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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           Williams (Johnson Depo Ex                                               hearsay; (2) statements not offered
           248) (ATL 001101 – 001105)                                              for the truth, but rather to show
                                                                                   information acted upon/state of
                                                                                   mind of parties or individuals
                                                                                   identified in exhibits; (3) all
                                                                                   communications of OneBeacon are
                                                                                   records made at or near to the time
                                                                                   of the events or conditions at issue
                                                                                   in this case by persons with
                                                                                   knowledge of those events or
                                                                                   conditions; these communications
                                                                                   are also made and kept in the
                                                                                   regular course of business and,
                                                                                   therefore, are an exception to
                                                                                   hearsay under F.R.E. 803(6).


DX 212 7/17/14 Email string between  No objection.                                 No response.
       Susan Weiss and Andrea
       Garber, Pamela Johnson
       (Johnson Depo Ex 249) (ATL
       001724 – 001728)
DX 213 7/22/14 Email string between  No objection.                                 No response.
       Pamela Johnson and Susan
       Weiss, Andrea Garber (Johnson
       Depo Ex 250) (ATL 1818 –
       1819)
   Error! Unknown document                                        354
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 214 7/25/14 Email string between         Inadmissible hearsay and no exception   F.R.E. 801/802 – (1) Plaintiff fails
       Susan Weiss and Pamela               is applicable (F.R.E. 801, 802).        to state what portion of exhibit is
       Johnson (Johnson Depo Ex                                                     hearsay; (2) statements not offered
       251) (ATL 000398 – 000399)                                                   for the truth, but rather to show
                                                                                    information acted upon/state of
                                                                                    mind of parties or individuals
                                                                                    identified in exhibits; (3) several
                                                                                    statements made by party-
                                                                                    opponent, NBC, or agents
                                                                                    affiliated with NBC and operating
                                                                                    within the scope of their agency
                                                                                    (e.g. Aon) and, therefore, are not
                                                                                    hearsay under F.R.E. 801; (4) all
                                                                                    communications of OneBeacon are
                                                                                    records made at or near to the time
                                                                                    of the events or conditions at issue
                                                                                    in this case by persons with
                                                                                    knowledge of those events or
                                                                                    conditions; these communications
                                                                                    are also made and kept in the
                                                                                    regular course of business and,
                                                                                    therefore, are an exception to
                                                                                    hearsay under F.R.E. 803(6).


DX 215 7/28/14 Email string between         Inadmissible hearsay and no exception   F.R.E. 801/802 – (1) Plaintiff fails
       Pamela Johnson and Theresa           is applicable (F.R.E. 801, 802);        to state what portion of exhibit is
   Error! Unknown document                                         355
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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        Gooley (Johnson Depo Ex 252)     Inadmissible legal opinion re letter      hearsay; (2) statements not offered
        (ATL 001847 – 001855)            from Johnson to Garber (F.R.E. 701;       for the truth, but rather to show
                                         Fed. R. Civ. Proc. 26); no evidence       information acted upon/state of
                                         sufficient to support a finding that      mind of parties or individuals
                                         author has personal knowledge of the      identified in exhibits; (3) all
                                         factual matter stated (F.R.E. 602);       communications of OneBeacon are
                                         author’s legal opinions are irrelevant    records made at or near to the time
                                         (F.R.E. 401, 402); any probative value    of the events or conditions at issue
                                         is substantially outweighed by risk of    in this case by persons with
                                         unfair prejudice, confusing the issues,   knowledge of those events or
                                         misleading the jury, undue delay,         conditions; these communications
                                         wasting time (F.R.E. 403).                are also made and kept in the
                                                                                   regular course of business and,
                                                                                   therefore, are an exception to
                                                                                   hearsay under F.R.E. 803(6).


                                                                                   F.R.E. 602 – Witnesses has
                                                                                   personal knowledge of what
                                                                                   information NBC received before,
                                                                                   during, and after the events giving
                                                                                   rise to the claim, including this
                                                                                   exhibit. Witness does not need
                                                                                   personally to have been in Israel in
                                                                                   order to testify regarding what
                                                                                   information NBC received


Error! Unknown document                                          356
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 701 – F.R.E. 701 – Unclear
                                                                                what opinions are offered by any
                                                                                declarant in exhibit or, if any,
                                                                                which opinions are objectionable;
                                                                                all testimony rationally based on
                                                                                information received and acted
                                                                                upon; no testimony based on
                                                                                scientific, technical, or other
                                                                                specialized knowledge within the
                                                                                scope of F.R.E. 702.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).



Error! Unknown document                                        357
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                   F.R.E. 403 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why
                                                                                   exhibit is unfairly prejudicial; or
                                                                                   why such alleged unfair prejudice
                                                                                   outweighs its probative value; or
                                                                                   why exhibit confuses the issue,
                                                                                   misleads the jury, wastes time, or
                                                                                   is cumulative. Furthermore, high
                                                                                   probative value re: state of mind of
                                                                                   all parties involved at the time of
                                                                                   the claim. Finally, jury is entitled
                                                                                   to know what information NBC,
                                                                                   ASIC, and other parties had at time
                                                                                   of the facts giving rise to Plaintiffs’
                                                                                   claims.

DX 216 7/31/14 Email string between         No objection.                          No response.
       Andrea Garber and Pamela
       Johnson (Johnson Depo Ex
       253) (ATL 001917 – 001918)
DX 217 8/14/14 Email string between         No objection                           No response.
       Mitchell Sillberberg & Knupp
       LLP and Pamela Johnson


   Error! Unknown document                                        358
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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       (Johnson Depo Ex 254) (ATL
       002025 – 2032)
DX 218 9/18/14 Email string between         Inadmissible hearsay and no exception     F.R.E. 801/802 – (1) Plaintiff fails
       Pamela Johnson and Susan             is applicable (F.R.E. 801, 802);          to state what portion of exhibit is
       Weiss (Johnson Depo Ex 255)          Inadmissible legal opinion re letter      hearsay; (2) statements not offered
       (ATL 2177 – 2181)                    from Johnson to Garber (F.R.E. 701;       for the truth, but rather to show
                                            Fed. R. Civ. Proc. 26); no evidence       information acted upon/state of
                                            sufficient to support a finding that      mind of parties or individuals
                                            author has personal knowledge of the      identified in exhibits; (3) several
                                            factual matter stated (F.R.E. 602);       statements made by party-
                                            author’s legal opinions are irrelevant    opponent, NBC, or agents
                                            (F.R.E. 401, 402); any probative value    affiliated with NBC and operating
                                            is substantially outweighed by risk of    within the scope of their agency
                                            unfair prejudice, confusing the issues,   (e.g. Aon) and, therefore, are not
                                            misleading the jury, undue delay,         hearsay under F.R.E. 801; (4) all
                                            wasting time (F.R.E. 403).                communications of OneBeacon are
                                                                                      records made at or near to the time
                                                                                      of the events or conditions at issue
                                                                                      in this case by persons with
                                                                                      knowledge of those events or
                                                                                      conditions; these communications
                                                                                      are also made and kept in the
                                                                                      regular course of business and,
                                                                                      therefore, are an exception to
                                                                                      hearsay under F.R.E. 803(6).


   Error! Unknown document                                          359
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 701 – F.R.E. 701 – Unclear
                                                                                what opinions are offered by any
                                                                                declarant in exhibit or, if any,
                                                                                which opinions are objectionable;
                                                                                all testimony rationally based on
                                                                                information received and acted
                                                                                upon; no testimony based on
                                                                                scientific, technical, or other
                                                                                specialized knowledge within the
                                                                                scope of F.R.E. 702.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
Error! Unknown document                                        360
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.



Error! Unknown document                                        361
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 219 9/30/14 Email string between         Inadmissible hearsay and no exception     F.R.E. 801/802 – (1) Plaintiff fails
       Pamela Johnson and Mitchell          is applicable (F.R.E. 801, 802);          to state what portion of exhibit is
       Sillberberg & Knupp LLP              Inadmissible legal opinion re letter      hearsay; (2) statements not offered
       (Johnson Depo Ex 256) (ATL           from Johnson to Garber (F.R.E. 701;       for the truth, but rather to show
       002217 – 002222)                     Fed. R. Civ. Proc. 26); no evidence       information acted upon/state of
                                            sufficient to support a finding that      mind of parties or individuals
                                            author has personal knowledge of the      identified in exhibits; (3) several
                                            factual matter stated (F.R.E. 602);       statements made by party-
                                            author’s legal opinions are irrelevant    opponent, NBC, or agents
                                            (F.R.E. 401, 402); any probative value    affiliated with NBC and operating
                                            is substantially outweighed by risk of    within the scope of their agency
                                            unfair prejudice, confusing the issues,   (e.g. Aon) and, therefore, are not
                                            misleading the jury, undue delay,         hearsay under F.R.E. 801; (4) all
                                            wasting time (F.R.E. 403).                communications of OneBeacon are
                                                                                      records made at or near to the time
                                                                                      of the events or conditions at issue
                                                                                      in this case by persons with
                                                                                      knowledge of those events or
                                                                                      conditions; these communications
                                                                                      are also made and kept in the
                                                                                      regular course of business and,
                                                                                      therefore, are an exception to
                                                                                      hearsay under F.R.E. 803(6).


                                                                                      F.R.E. 602 – Witnesses has
                                                                                      personal knowledge of what
   Error! Unknown document                                          362
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 701 – F.R.E. 701 – Unclear
                                                                                what opinions are offered by any
                                                                                declarant in exhibit or, if any,
                                                                                which opinions are objectionable;
                                                                                all testimony rationally based on
                                                                                information received and acted
                                                                                upon; no testimony based on
                                                                                scientific, technical, or other
                                                                                specialized knowledge within the
                                                                                scope of F.R.E. 702.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
Error! Unknown document                                        363
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       irrelevant. Furthermore, exhibit is
                                                                                       relevant to establish state of mind
                                                                                       of all parties involved at time of
                                                                                       claim (NBC, ASIC, Aon, etc.).


                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
                                                                                       Objection also fails to state why
                                                                                       exhibit is unfairly prejudicial; or
                                                                                       why such alleged unfair prejudice
                                                                                       outweighs its probative value; or
                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.

DX 220 12/06-10/13 Email string             Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       between Randi Richmond,              which the evidence is proffered at trial   and, therefore, exhibit should be
       Andrea Garber and Kurt Ford,         (F.R.E. 401); Probative value is           admitted as agreed. Should
   Error! Unknown document                                           364
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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        et al (Ford Depo Ex 294)         substantially outweighed by risk of       Plaintiffs withdraw the exhibit,
        (UCP_003149-3151)                unfair prejudice, confusing the issues,   ASIC’s response is as follows:
                                         misleading the jury, undue delay,         F.R.E. 401 – Objection is
                                         wasting time, or needlessly presenting    conditional, and therefore not
                                         cumulative evidence, depending on         binding as to general admissibility.
                                         purpose for which evidence is             Objection also fails to state why or
                                         proffered at trial (F.R.E. 403).          in what context exhibit is
                                                                                   irrelevant. Furthermore, exhibit is
                                                                                   relevant to establish state of mind
                                                                                   of all parties involved at time of
                                                                                   claim (NBC, ASIC, Aon, etc.).


                                                                                   F.R.E. 403 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why
                                                                                   exhibit is unfairly prejudicial; or
                                                                                   why such alleged unfair prejudice
                                                                                   outweighs its probative value; or
                                                                                   why exhibit confuses the issue,
                                                                                   misleads the jury, wastes time, or
                                                                                   is cumulative. Furthermore, high
                                                                                   probative value re: state of mind of
                                                                                   all parties involved at the time of
                                                                                   the claim. Finally, jury is entitled
                                                                                   to know what information NBC,
Error! Unknown document                                          365
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 221 06/15-16/14 Email string             Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       between Randi Richmond and           which the evidence is proffered at trial   and, therefore, exhibit should be
       Curt Williams, et al (Ford Depo      (F.R.E. 401); Probative value is           admitted as agreed. Should
       Ex 296) (UCP001104-1106)             substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                            unfair prejudice, confusing the issues,    ASIC’s response is as follows:
                                            misleading the jury, undue delay,          F.R.E. 801/802 – (1) Plaintiff fails
                                            wasting time, or needlessly presenting     to state what portion of exhibit is
                                            cumulative evidence, depending on          hearsay; (2) statements not offered
                                            purpose for which evidence is              for the truth, but rather to show
                                            proffered at trial (F.R.E. 403).           information acted upon/state of
                                                                                       mind of parties or individuals
                                                                                       identified in exhibits; (3) several
                                                                                       statements made by party-
                                                                                       opponent, NBC, or agents
                                                                                       affiliated with NBC and operating
                                                                                       within the scope of their agency
                                                                                       (e.g. Aon) and, therefore, are not
                                                                                       hearsay under F.R.E. 801.
                                                                                       F.R.E. 401 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
                                                                                       Objection also fails to state why or
   Error! Unknown document                                           366
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       in what context exhibit is
                                                                                       irrelevant. Furthermore, exhibit is
                                                                                       relevant to establish state of mind
                                                                                       of all parties involved at time of
                                                                                       claim (NBC, ASIC, Aon, etc.).


                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
                                                                                       Objection also fails to state why
                                                                                       exhibit is unfairly prejudicial; or
                                                                                       why such alleged unfair prejudice
                                                                                       outweighs its probative value; or
                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 222 06/16/14 Email string between        Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       Kurt Ford and Andrea Garber,         which the evidence is proffered at trial   and, therefore, exhibit should be
   Error! Unknown document                                          367
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
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        et al (Ford Depo Ex 297)         (F.R.E. 401); Probative value is          admitted as agreed. Should
        (UCP_002847-2852)                substantially outweighed by risk of       Plaintiffs withdraw the exhibit,
                                         unfair prejudice, confusing the issues,   ASIC’s response is as follows:
                                         misleading the jury, undue delay,         F.R.E. 401 – Objection is
                                         wasting time, or needlessly presenting    conditional, and therefore not
                                         cumulative evidence, depending on         binding as to general admissibility.
                                         purpose for which evidence is             Objection also fails to state why or
                                         proffered at trial (F.R.E. 403).          in what context exhibit is
                                                                                   irrelevant. Furthermore, exhibit is
                                                                                   relevant to establish state of mind
                                                                                   of all parties involved at time of
                                                                                   claim (NBC, ASIC, Aon, etc.).


                                                                                   F.R.E. 403 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why
                                                                                   exhibit is unfairly prejudicial; or
                                                                                   why such alleged unfair prejudice
                                                                                   outweighs its probative value; or
                                                                                   why exhibit confuses the issue,
                                                                                   misleads the jury, wastes time, or
                                                                                   is cumulative. Furthermore, high
                                                                                   probative value re: state of mind of
                                                                                   all parties involved at the time of
                                                                                   the claim. Finally, jury is entitled
Error! Unknown document                                          368
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 223 07/01/14 Email from Kurt Ford        Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       to Susan Weiss and Deborah           which the evidence is proffered at trial   and, therefore, exhibit should be
       Kizner (Ford Depo Ex 298)            (F.R.E. 401); Probative value is           admitted as agreed. Should
       (AONNBCU0000071)                     substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                            unfair prejudice, confusing the issues,    ASIC’s response is as follows:
                                            misleading the jury, undue delay,          F.R.E. 401 – Objection is
                                            wasting time, or needlessly presenting     conditional, and therefore not
                                            cumulative evidence, depending on          binding as to general admissibility.
                                            purpose for which evidence is              Objection also fails to state why or
                                            proffered at trial (F.R.E. 403).           in what context exhibit is
                                                                                       irrelevant. Furthermore, exhibit is
                                                                                       relevant to establish state of mind
                                                                                       of all parties involved at time of
                                                                                       claim (NBC, ASIC, Aon, etc.).


                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
                                                                                       Objection also fails to state why
                                                                                       exhibit is unfairly prejudicial; or
   Error! Unknown document                                           369
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       why such alleged unfair prejudice
                                                                                       outweighs its probative value; or
                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 224 06/15/14-07/02/14 Email string       Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       between Kurt Ford and Susan          which the evidence is proffered at trial   and, therefore, exhibit should be
       Weiss, et al (Ford Depo Ex           (F.R.E. 401); Probative value is           admitted as agreed. Should
       299) (UCP_003112-3116)               substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                            unfair prejudice, confusing the issues,    ASIC’s response is as follows:
                                            misleading the jury, undue delay,          F.R.E. 401 – Objection is
                                            wasting time, or needlessly presenting     conditional, and therefore not
                                            cumulative evidence, depending on          binding as to general admissibility.
                                            purpose for which evidence is              Objection also fails to state why or
                                            proffered at trial (F.R.E. 403).           in what context exhibit is
                                            Relevance, depending on purpose for        irrelevant. Furthermore, exhibit is
                                            which the evidence is proffered at trial   relevant to establish state of mind
                                            (F.R.E. 401); Probative value is
   Error! Unknown document                                           370
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         substantially outweighed by risk of       of all parties involved at time of
                                         unfair prejudice, confusing the issues,   claim (NBC, ASIC, Aon, etc.).
                                         misleading the jury, undue delay,
                                         wasting time, or needlessly presenting
                                         cumulative evidence, depending on         F.R.E. 403 – Objection is
                                         purpose for which evidence is             conditional, and therefore not
                                         proffered at trial (F.R.E. 403). If       binding as to general admissibility.
                                         offered to prove the truth thereof,       Objection also fails to state why
                                         inadmissible hearsay and no exception     exhibit is unfairly prejudicial; or
                                         is applicable (F.R.E. 801, 802).          why such alleged unfair prejudice
                                                                                   outweighs its probative value; or
                                                                                   why exhibit confuses the issue,
                                                                                   misleads the jury, wastes time, or
                                                                                   is cumulative. Furthermore, high
                                                                                   probative value re: state of mind of
                                                                                   all parties involved at the time of
                                                                                   the claim. Finally, jury is entitled
                                                                                   to know what information NBC,
                                                                                   ASIC, and other parties had at time
                                                                                   of the facts giving rise to Plaintiffs’
                                                                                   claims.
                                                                                   F.R.E. 801/802 – (1) Plaintiff fails
                                                                                   to state what portion of exhibit is
                                                                                   hearsay; (2) statements not offered
                                                                                   for the truth, but rather to show
                                                                                   information acted upon/state of
                                                                                   mind of parties or individuals
Error! Unknown document                                          371
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       identified in exhibits; (3) several
                                                                                       statements made by party-
                                                                                       opponent, NBC, and agents
                                                                                       affiliated with NBC and operating
                                                                                       within the scope of their agency
                                                                                       (e.g. Aon) and, therefore, are not
                                                                                       hearsay under F.R.E. 801.


DX 225 06/15/16-07/07/14 Email string       Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       between Malika Adams and             which the evidence is proffered at trial   and, therefore, exhibit should be
       Randi Richmond, et al (Ford          (F.R.E. 401); Probative value is           admitted as agreed. Should
       Depo Ex 300) (UCP_002996-            substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
       3003)                                unfair prejudice, confusing the issues,    ASIC’s response is as follows:
                                            misleading the jury, undue delay,          F.R.E. 401 – Objection is
                                            wasting time, or needlessly presenting     conditional, and therefore not
                                            cumulative evidence, depending on          binding as to general admissibility.
                                            purpose for which evidence is              Objection also fails to state why or
                                            proffered at trial (F.R.E. 403).           in what context exhibit is
                                                                                       irrelevant. Furthermore, exhibit is
                                                                                       relevant to establish state of mind
                                                                                       of all parties involved at time of
                                                                                       claim (NBC, ASIC, Aon, etc.).


                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
   Error! Unknown document                                           372
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why
                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 226 07/07-08/14 Email string            Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       between Kurt Ford and Andrea        which the evidence is proffered at trial   and, therefore, exhibit should be
       Garber, et al (Ford Depo Ex         (F.R.E. 401); Probative value is           admitted as agreed. Should
       301) (UCP000867-868)                substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                           unfair prejudice, confusing the issues,    ASIC’s response is as follows:
                                           misleading the jury, undue delay,          F.R.E. 401 – Objection is
                                           wasting time, or needlessly presenting     conditional, and therefore not
                                           cumulative evidence, depending on          binding as to general admissibility.
                                           purpose for which evidence is              Objection also fails to state why or
                                           proffered at trial (F.R.E. 403).           in what context exhibit is
  Error! Unknown document                                           373
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       irrelevant. Furthermore, exhibit is
                                                                                       relevant to establish state of mind
                                                                                       of all parties involved at time of
                                                                                       claim (NBC, ASIC, Aon, etc.).


                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
                                                                                       Objection also fails to state why
                                                                                       exhibit is unfairly prejudicial; or
                                                                                       why such alleged unfair prejudice
                                                                                       outweighs its probative value; or
                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 227 07/09/14 Email string between        Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       Paige Potter and Kurt Ford, et       which the evidence is proffered at trial   and, therefore, exhibit should be
                                            (F.R.E. 401); Probative value is           admitted as agreed. Should
   Error! Unknown document                                          374
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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        al (Ford Depo Ex 303)            substantially outweighed by risk of       Plaintiffs withdraw the exhibit,
        (UCP001415; UCP000881)           unfair prejudice, confusing the issues,   ASIC’s response is as follows:
                                         misleading the jury, undue delay,         F.R.E. 401 – Objection is
                                         wasting time, or needlessly presenting    conditional, and therefore not
                                         cumulative evidence, depending on         binding as to general admissibility.
                                         purpose for which evidence is             Objection also fails to state why or
                                         proffered at trial (F.R.E. 403).          in what context exhibit is
                                                                                   irrelevant. Furthermore, exhibit is
                                                                                   relevant to establish state of mind
                                                                                   of all parties involved at time of
                                                                                   claim (NBC, ASIC, Aon, etc.).


                                                                                   F.R.E. 403 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why
                                                                                   exhibit is unfairly prejudicial; or
                                                                                   why such alleged unfair prejudice
                                                                                   outweighs its probative value; or
                                                                                   why exhibit confuses the issue,
                                                                                   misleads the jury, wastes time, or
                                                                                   is cumulative. Furthermore, high
                                                                                   probative value re: state of mind of
                                                                                   all parties involved at the time of
                                                                                   the claim. Finally, jury is entitled
                                                                                   to know what information NBC,
Error! Unknown document                                          375
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                        ASIC, and other parties had at time
                                                                                        of the facts giving rise to Plaintiffs’
                                                                                        claims.


DX 228 07/10/14 Email string between        Relevance, depending on purpose for         Plaintiff has listed exhibit on its list
       Mark Binke and Kurt Ford             which the evidence is proffered at trial    and, therefore, exhibit should be
       (Ford Depo Ex 304)                   (F.R.E. 401); Probative value is            admitted as agreed. Should
       (UCP_003312-3313)                    substantially outweighed by risk of         Plaintiffs withdraw the exhibit,
                                            unfair prejudice, confusing the issues,     ASIC’s response is as follows:
                                            misleading the jury, undue delay,           F.R.E. 401 – Objection is
                                            wasting time, or needlessly presenting      conditional, and therefore not
                                            cumulative evidence, depending on           binding as to general admissibility.
                                            purpose for which evidence is               Objection also fails to state why or
                                            proffered at trial (F.R.E. 403). No         in what context exhibit is
                                            objection other than that this exhibit is   irrelevant. Furthermore, exhibit is
                                            duplicative of Plaintiffs’ Exhibit          relevant to establish state of mind
                                            (F.R.E. 403).                               of all parties involved at time of
                                                                                        claim (NBC, ASIC, Aon, etc.).


                                                                                        F.R.E. 403 – Objection is
                                                                                        conditional, and therefore not
                                                                                        binding as to general admissibility.
                                                                                        Objection also fails to state why
                                                                                        exhibit is unfairly prejudicial; or
                                                                                        why such alleged unfair prejudice
   Error! Unknown document                                           376
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       outweighs its probative value; or
                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 229 07/10/14 Email string between        Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       Curt Williams and Kurt Ford, et      which the evidence is proffered at trial   and, therefore, exhibit should be
       al (Ford Depo Ex 305)                (F.R.E. 401); Probative value is           admitted as agreed. Should
       (UCP_003212-3214)                    substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                            unfair prejudice, confusing the issues,    ASIC’s response is as follows:
                                            misleading the jury, undue delay,          F.R.E. 401 – Objection is
                                            wasting time, or needlessly presenting     conditional, and therefore not
                                            cumulative evidence, depending on          binding as to general admissibility.
                                            purpose for which evidence is              Objection also fails to state why or
                                            proffered at trial (F.R.E. 403).           in what context exhibit is
                                                                                       irrelevant. Furthermore, exhibit is
                                                                                       relevant to establish state of mind
                                                                                       of all parties involved at time of
                                                                                       claim (NBC, ASIC, Aon, etc.).
   Error! Unknown document                                           377
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
                                                                                       Objection also fails to state why
                                                                                       exhibit is unfairly prejudicial; or
                                                                                       why such alleged unfair prejudice
                                                                                       outweighs its probative value; or
                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 230 07/10/14 Email string between        Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       Brian Brady and Kurt Ford, et        which the evidence is proffered at trial   and, therefore, exhibit should be
       al (Ford Depo Ex 306)                (F.R.E. 401); Probative value is           admitted as agreed. Should
       (UCP_003307-3308)                    substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                            unfair prejudice, confusing the issues,    ASIC’s response is as follows:
                                            misleading the jury, undue delay,          Plaintiff has listed exhibit on its list
                                            wasting time, or needlessly presenting     and, therefore, exhibit should be
   Error! Unknown document                                          378
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         cumulative evidence, depending on      admitted as agreed. Should
                                         purpose for which evidence is          Plaintiffs withdraw the exhibit,
                                         proffered at trial (F.R.E. 403).       ASIC’s response is as follows:
                                                                                 F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
Error! Unknown document                                        379
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 231 07/10/14 Email string between No objection other than that this exhibit         Plaintiff has listed exhibit on its list
       Mark Binke and Stephen Smith, is duplicative of Plaintiffs’ Exhibit             and, therefore, exhibit should be
       et al (Ford Depo Ex 307)      (F.R.E. 403).                                     admitted as agreed. Should
       (UCP001866-1867)                                                                Plaintiffs withdraw the exhibit,
                                                                                       ASIC’s response is as follows:


                                                                                       Not duplicated on ASIC’s
                                                                                       Proposed Exhibit List.
DX 232 07/10/14 Email string between        Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       Andrea Garber and Kurt Ford          which the evidence is proffered at trial   and, therefore, exhibit should be
       (Ford Depo Ex 308)                   (F.R.E. 401); Probative value is           admitted as agreed. Should
       (UCP_003304-3306)                    substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                            unfair prejudice, confusing the issues,    ASIC’s response is as follows:
                                            misleading the jury, undue delay,          F.R.E. 401 – Objection is
                                            wasting time, or needlessly presenting     conditional, and therefore not
                                            cumulative evidence, depending on          binding as to general admissibility.
                                            purpose for which evidence is              Objection also fails to state why or
                                            proffered at trial (F.R.E. 403).           in what context exhibit is
                                                                                       irrelevant. Furthermore, exhibit is
                                                                                       relevant to establish state of mind
   Error! Unknown document                                           380
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
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                                                                                       of all parties involved at time of
                                                                                       claim (NBC, ASIC, Aon, etc.).


                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
                                                                                       Objection also fails to state why
                                                                                       exhibit is unfairly prejudicial; or
                                                                                       why such alleged unfair prejudice
                                                                                       outweighs its probative value; or
                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 233 07/14/14 Email string between        Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       Kurt Ford and Randi Richmond         which the evidence is proffered at trial   and, therefore, exhibit should be
       (Ford Depo Ex 309)                   (F.R.E. 401); Probative value is           admitted as agreed. Should
       (UCP001473)                          substantially outweighed by risk of
                                            unfair prejudice, confusing the issues,
   Error! Unknown document                                          381
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         misleading the jury, undue delay,        Plaintiffs withdraw the exhibit,
                                         wasting time, or needlessly presenting   ASIC’s response is as follows:
                                         cumulative evidence, depending on        F.R.E. 401 – Objection is
                                         purpose for which evidence is            conditional, and therefore not
                                         proffered at trial (F.R.E. 403).         binding as to general admissibility.
                                                                                  Objection also fails to state why or
                                                                                  in what context exhibit is
                                                                                  irrelevant. Furthermore, exhibit is
                                                                                  relevant to establish state of mind
                                                                                  of all parties involved at time of
                                                                                  claim (NBC, ASIC, Aon, etc.).


                                                                                  F.R.E. 403 – Objection is
                                                                                  conditional, and therefore not
                                                                                  binding as to general admissibility.
                                                                                  Objection also fails to state why
                                                                                  exhibit is unfairly prejudicial; or
                                                                                  why such alleged unfair prejudice
                                                                                  outweighs its probative value; or
                                                                                  why exhibit confuses the issue,
                                                                                  misleads the jury, wastes time, or
                                                                                  is cumulative. Furthermore, high
                                                                                  probative value re: state of mind of
                                                                                  all parties involved at the time of
                                                                                  the claim. Finally, jury is entitled
                                                                                  to know what information NBC,
Error! Unknown document                                         382
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 234 07/14/14 Email string between        Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       Mark Binke and Randi                 which the evidence is proffered at trial   and, therefore, exhibit should be
       Richmond (Ford Depo Ex 310)          (F.R.E. 401); Probative value is           admitted as agreed. Should
       (UCP000454)                          substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                            unfair prejudice, confusing the issues,    ASIC’s response is as follows:
                                            misleading the jury, undue delay,          F.R.E. 801/802 – (1) Plaintiff fails
                                            wasting time, or needlessly presenting     to state what portion of exhibit is
                                            cumulative evidence, depending on          hearsay; (2) statements not offered
                                            purpose for which evidence is              for the truth, but rather to show
                                            proffered at trial (F.R.E. 403). If        information acted upon/state of
                                            offered to prove the truth thereof,        mind of parties or individuals
                                            inadmissible hearsay and no exception      identified in exhibits; (3) several
                                            is applicable (F.R.E. 801, 802).           statements made by party-
                                                                                       opponent, NBC, or agents
                                                                                       affiliated with NBC and operating
                                                                                       within the scope of their agency
                                                                                       (e.g. Aon) and, therefore, are not
                                                                                       hearsay under F.R.E. 801.
                                                                                       F.R.E. 401 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
                                                                                       Objection also fails to state why or
   Error! Unknown document                                          383
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                   in what context exhibit is
                                                                                   irrelevant. Furthermore, exhibit is
                                                                                   relevant to establish state of mind
                                                                                   of all parties involved at time of
                                                                                   claim (NBC, ASIC, Aon, etc.).


                                                                                   F.R.E. 403 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why
                                                                                   exhibit is unfairly prejudicial; or
                                                                                   why such alleged unfair prejudice
                                                                                   outweighs its probative value; or
                                                                                   why exhibit confuses the issue,
                                                                                   misleads the jury, wastes time, or
                                                                                   is cumulative. Furthermore, high
                                                                                   probative value re: state of mind of
                                                                                   all parties involved at the time of
                                                                                   the claim. Finally, jury is entitled
                                                                                   to know what information NBC,
                                                                                   ASIC, and other parties had at time
                                                                                   of the facts giving rise to Plaintiffs’
                                                                                   claims.


DX 235 07/10/14 Email string between        No objections.                         No response.
       Jeff Wachtel and Mark Binke,
   Error! Unknown document                                        384
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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           et al (Ford Depo Ex 311)
           (UCP018046)
DX 236 07/14-15/14 Email string             Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       between Kurt Ford and Curt           which the evidence is proffered at trial   and, therefore, exhibit should be
       Williams, et al (Ford Depo Ex        (F.R.E. 401); Probative value is           admitted as agreed. Should
       312) (UCP_003111;                    substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
       UCP_003072)                          unfair prejudice, confusing the issues,    ASIC’s response is as follows:
                                            misleading the jury, undue delay,          F.R.E. 401 – Objection is
                                            wasting time, or needlessly presenting     conditional, and therefore not
                                            cumulative evidence, depending on          binding as to general admissibility.
                                            purpose for which evidence is              Objection also fails to state why or
                                            proffered at trial (F.R.E. 403).           in what context exhibit is
                                                                                       irrelevant. Furthermore, exhibit is
                                                                                       relevant to establish state of mind
                                                                                       of all parties involved at time of
                                                                                       claim (NBC, ASIC, Aon, etc.).


                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
                                                                                       Objection also fails to state why
                                                                                       exhibit is unfairly prejudicial; or
                                                                                       why such alleged unfair prejudice
                                                                                       outweighs its probative value; or
                                                                                       why exhibit confuses the issue,
   Error! Unknown document                                           385
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 237 07/17/14 Email string between        Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       Andrea Garber and Kurt Ford,         which the evidence is proffered at trial   and, therefore, exhibit should be
       et al (Ford Depo Ex 313)             (F.R.E. 401); Probative value is           admitted as agreed. Should
       (UCP000359-360)                      substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                            unfair prejudice, confusing the issues,    ASIC’s response is as follows:
                                            misleading the jury, undue delay,          F.R.E. 801/802 – (1) Plaintiff fails
                                            wasting time, or needlessly presenting     to state what portion of exhibit is
                                            cumulative evidence, depending on          hearsay; (2) statements not offered
                                            purpose for which evidence is              for the truth, but rather to show
                                            proffered at trial (F.R.E. 403). If        information acted upon/state of
                                            offered to prove the truth thereof,        mind of parties or individuals
                                            inadmissible hearsay and no exception      identified in exhibits; (3) several
                                            is applicable (F.R.E. 801, 802).           statements made by party-
                                                                                       opponent, NBC, or agents
                                                                                       affiliated with NBC and operating
                                                                                       within the scope of their agency
   Error! Unknown document                                          386
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                (e.g. Aon) and, therefore, are not
                                                                                hearsay under F.R.E. 801.
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
Error! Unknown document                                        387
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                          #:24854




                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 238 07/25/14 Email string between        Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       BJ Markus and Andrea Garber          which the evidence is proffered at trial   and, therefore, exhibit should be
       (Ford Depo Ex 314)                   (F.R.E. 401); Probative value is           admitted as agreed. Should
       (UCP000458)                          substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                            unfair prejudice, confusing the issues,    ASIC’s response is as follows:
                                            misleading the jury, undue delay,          F.R.E. 401 – Objection is
                                            wasting time, or needlessly presenting     conditional, and therefore not
                                            cumulative evidence, depending on          binding as to general admissibility.
                                            purpose for which evidence is              Objection also fails to state why or
                                            proffered at trial (F.R.E. 403).           in what context exhibit is
                                                                                       irrelevant. Furthermore, exhibit is
                                                                                       relevant to establish state of mind
                                                                                       of all parties involved at time of
                                                                                       claim (NBC, ASIC, Aon, etc.).


                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
                                                                                       Objection also fails to state why
                                                                                       exhibit is unfairly prejudicial; or
                                                                                       why such alleged unfair prejudice
   Error! Unknown document                                          388
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       outweighs its probative value; or
                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 239 11/26/13-12/10/13 Email string       Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       between Kurt Ford and Andrea         which the evidence is proffered at trial   and, therefore, exhibit should be
       Garber, et al (Ford Depo Ex          (F.R.E. 401); Probative value is           admitted as agreed. Should
       317) (AONNBCU0000241-                substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
       245)                                 unfair prejudice, confusing the issues,    ASIC’s response is as follows:
                                            misleading the jury, undue delay,          F.R.E. 401 – Objection is
                                            wasting time, or needlessly presenting     conditional, and therefore not
                                            cumulative evidence, depending on          binding as to general admissibility.
                                            purpose for which evidence is              Objection also fails to state why or
                                            proffered at trial (F.R.E. 403).           in what context exhibit is
                                                                                       irrelevant. Furthermore, exhibit is
                                                                                       relevant to establish state of mind
                                                                                       of all parties involved at time of
                                                                                       claim (NBC, ASIC, Aon, etc.).
   Error! Unknown document                                           389
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                   F.R.E. 403 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why
                                                                                   exhibit is unfairly prejudicial; or
                                                                                   why such alleged unfair prejudice
                                                                                   outweighs its probative value; or
                                                                                   why exhibit confuses the issue,
                                                                                   misleads the jury, wastes time, or
                                                                                   is cumulative. Furthermore, high
                                                                                   probative value re: state of mind of
                                                                                   all parties involved at the time of
                                                                                   the claim. Finally, jury is entitled
                                                                                   to know what information NBC,
                                                                                   ASIC, and other parties had at time
                                                                                   of the facts giving rise to Plaintiffs’
                                                                                   claims.
DX 240 Copy of tweet from Matthew      If Offered To Prove The Truth Of Facts      F.R.E. 801/802 – (1) Plaintiff fails
       Levitt on 09/11/14 (Levitt Depo Stated Therein, Inadmissible Hearsay        to state what portion of exhibit is
       Ex 336) (No Bates Number)       And No Exception Is Applicable              hearsay; (2) statements not offered
                                       (F.R.E. 801, 802); Improper Lay             for the truth, but rather to show
                                       Opinion (F.R.E. 701); No Evidence           information acted upon/state of
                                       Sufficient To Support A Finding As To       mind of parties or individuals
                                       The Identity Of The Author Or That          identified in exhibits.
                                       He/She Has Personal Knowledge Of
   Error! Unknown document                                        390
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         The Factual Matter Stated (F.R.E. 602);   F.R.E. 602 – Witnesses has
                                         Irrelevant (F.R.E. 401, 402); Any         personal knowledge of what
                                         Probative Value Is Substantially          information he received before,
                                         Outweighed By Risk Of Unfair              during, and after the events giving
                                         Prejudice, Confusing The Issues,          rise to the claim, and has personal
                                         Misleading The Jury, Undue Delay,         knowledge of his opinions.
                                         Wasting Time, Or Needlessly               Witness does not need personally
                                         Presenting Cumulative Evidence            to have been in Israel in order to
                                         (F.R.E. 403).                             testify regarding what information
                                                                                   NBC received regarding what was
                                                                                   going on in Israel, or his opinions
                                                                                   about what was going on in Israel.


                                                                                   F.R.E. 701 – Exhibit authored by
                                                                                   Plaintiffs’ expert witness; Unclear
                                                                                   what opinions are offered by any
                                                                                   declarant in exhibit or, if any,
                                                                                   which opinions are objectionable;
                                                                                   all testimony rationally based on
                                                                                   information received and acted
                                                                                   upon testimony based on scientific,
                                                                                   technical, or other specialized
                                                                                   knowledge within the scope of
                                                                                   F.R.E. 702.



Error! Unknown document                                         391
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time


Error! Unknown document                                        392
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                   of the facts giving rise to Plaintiffs’
                                                                                   claims.


DX 241 Copy of tweet from Matthew      If Offered To Prove The Truth Of Facts      F.R.E. 801/802 – (1) Plaintiff fails
       Levitt on 07/10/14 (Levitt Depo Stated Therein, Inadmissible Hearsay        to state what portion of exhibit is
       Ex 337) (No Bates Number)       And No Exception Is Applicable              hearsay; (2) statements not offered
                                       (F.R.E. 801, 802); Improper Lay             for the truth, but rather to show
                                       Opinion (F.R.E. 701); No Evidence           information acted upon/state of
                                       Sufficient To Support A Finding As To       mind of parties or individuals
                                       The Identity Of The Author Or That          identified in exhibits.
                                       He/She Has Personal Knowledge Of            F.R.E. 602 – Witnesses has
                                       The Factual Matter Stated (F.R.E. 602);     personal knowledge of what
                                       Irrelevant (F.R.E. 401, 402); Any           information he received before,
                                       Probative Value Is Substantially            during, and after the events giving
                                       Outweighed By Risk Of Unfair                rise to the claim, and has personal
                                       Prejudice, Confusing The Issues,            knowledge of his opinions.
                                       Misleading The Jury, Undue Delay,           Witness does not need personally
                                       Wasting Time, Or Needlessly                 to have been in Israel in order to
                                       Presenting Cumulative Evidence              testify regarding what information
                                       (F.R.E. 403).                               NBC received regarding what was
                                                                                   going on in Israel, or his opinions
                                                                                   about what was going on in Israel.


                                                                                   F.R.E. 701 – Exhibit authored by
                                                                                   Plaintiffs’ expert witness; Unclear
   Error! Unknown document                                        393
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                what opinions are offered by any
                                                                                declarant in exhibit or, if any,
                                                                                which opinions are objectionable;
                                                                                all testimony rationally based on
                                                                                information received and acted
                                                                                upon testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
Error! Unknown document                                        394
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                   outweighs its probative value; or
                                                                                   why exhibit confuses the issue,
                                                                                   misleads the jury, wastes time, or
                                                                                   is cumulative. Furthermore, high
                                                                                   probative value re: state of mind of
                                                                                   all parties involved at the time of
                                                                                   the claim. Finally, jury is entitled
                                                                                   to know what information NBC,
                                                                                   ASIC, and other parties had at time
                                                                                   of the facts giving rise to Plaintiffs’
                                                                                   claims.


DX 242 Copy of tweet from Matthew      If Offered To Prove The Truth Of Facts      F.R.E. 801/802 – (1) Plaintiff fails
       Levitt on 04/18/16 (Levitt Depo Stated Therein, Inadmissible Hearsay        to state what portion of exhibit is
       Ex 338) (No Bates Number)       And No Exception Is Applicable              hearsay; (2) statements not offered
                                       (F.R.E. 801, 802); Improper Lay             for the truth, but rather to show
                                       Opinion (F.R.E. 701); No Evidence           information acted upon/state of
                                       Sufficient To Support A Finding As To       mind of parties or individuals
                                       The Identity Of The Author Or That          identified in exhibits.
                                       He/She Has Personal Knowledge Of            F.R.E. 602 – Witnesses has
                                       The Factual Matter Stated (F.R.E. 602);     personal knowledge of what
                                       Irrelevant (F.R.E. 401, 402); Any           information he received before,
                                       Probative Value Is Substantially            during, and after the events giving
                                       Outweighed By Risk Of Unfair                rise to the claim, and has personal
                                       Prejudice, Confusing The Issues,            knowledge of his opinions.
                                       Misleading The Jury, Undue Delay,           Witness does not need personally
   Error! Unknown document                                        395
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         Wasting Time, Or Needlessly            to have been in Israel in order to
                                         Presenting Cumulative Evidence         testify regarding what information
                                         (F.R.E. 403).                          NBC received regarding what was
                                                                                going on in Israel, or his opinions
                                                                                about what was going on in Israel.


                                                                                F.R.E. 701 – Exhibit authored by
                                                                                Plaintiffs’ expert witness; Unclear
                                                                                what opinions are offered by any
                                                                                declarant in exhibit or, if any,
                                                                                which opinions are objectionable;
                                                                                all testimony rationally based on
                                                                                information received and acted
                                                                                upon testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind

Error! Unknown document                                        396
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                    of all parties involved at time of
                                                                                    claim (NBC, ASIC, Aon, etc.).


                                                                                    F.R.E. 403 – Objection is
                                                                                    conditional, and therefore not
                                                                                    binding as to general admissibility.
                                                                                    Objection also fails to state why
                                                                                    exhibit is unfairly prejudicial; or
                                                                                    why such alleged unfair prejudice
                                                                                    outweighs its probative value; or
                                                                                    why exhibit confuses the issue,
                                                                                    misleads the jury, wastes time, or
                                                                                    is cumulative. Furthermore, high
                                                                                    probative value re: state of mind of
                                                                                    all parties involved at the time of
                                                                                    the claim. Finally, jury is entitled
                                                                                    to know what information NBC,
                                                                                    ASIC, and other parties had at time
                                                                                    of the facts giving rise to Plaintiffs’
                                                                                    claims.


DX 243 Copy of tweet from Matthew          If Offered To Prove The Truth Of Facts   F.R.E. 801/802 – (1) Plaintiff fails
           Levitt on 07/25/14 (Levitt Depo Stated Therein, Inadmissible Hearsay     to state what portion of exhibit is
           Ex 339) (No Bates Number)       And No Exception Is Applicable           hearsay; (2) statements not offered
                                           (F.R.E. 801, 802); Improper Lay          for the truth, but rather to show
                                           Opinion (F.R.E. 701); No Evidence        information acted upon/state of
  Error! Unknown document                                         397
   property name.                     ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         Sufficient To Support A Finding As To     mind of parties or individuals
                                         The Identity Of The Author Or That        identified in exhibits.
                                         He/She Has Personal Knowledge Of          F.R.E. 602 – Witnesses has
                                         The Factual Matter Stated (F.R.E. 602);   personal knowledge of what
                                         Irrelevant (F.R.E. 401, 402); Any         information he received before,
                                         Probative Value Is Substantially          during, and after the events giving
                                         Outweighed By Risk Of Unfair              rise to the claim, and has personal
                                         Prejudice, Confusing The Issues,          knowledge of his opinions.
                                         Misleading The Jury, Undue Delay,         Witness does not need personally
                                         Wasting Time, Or Needlessly               to have been in Israel in order to
                                         Presenting Cumulative Evidence            testify regarding what information
                                         (F.R.E. 403).                             NBC received regarding what was
                                                                                   going on in Israel, or his opinions
                                                                                   about what was going on in Israel.


                                                                                   F.R.E. 701 – Exhibit authored by
                                                                                   Plaintiffs’ expert witness; Unclear
                                                                                   what opinions are offered by any
                                                                                   declarant in exhibit or, if any,
                                                                                   which opinions are objectionable;
                                                                                   all testimony rationally based on
                                                                                   information received and acted
                                                                                   upon testimony based on scientific,
                                                                                   technical, or other specialized
                                                                                   knowledge within the scope of
                                                                                   F.R.E. 702.
Error! Unknown document                                         398
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
Error! Unknown document                                        399
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                          #:24866




                                                                                   of the facts giving rise to Plaintiffs’
                                                                                   claims.


DX 244 Copy of tweet from Matthew      If Offered To Prove The Truth Of Facts      F.R.E. 801/802 – (1) Plaintiff fails
       Levitt on 08/12/14 (Levitt Depo Stated Therein, Inadmissible Hearsay        to state what portion of exhibit is
       Ex 340) (No Bates Number)       And No Exception Is Applicable              hearsay; (2) statements not offered
                                       (F.R.E. 801, 802); Improper Lay             for the truth, but rather to show
                                       Opinion (F.R.E. 701); No Evidence           information acted upon/state of
                                       Sufficient To Support A Finding As To       mind of parties or individuals
                                       The Identity Of The Author Or That          identified in exhibits.
                                       He/She Has Personal Knowledge Of            F.R.E. 602 – Witnesses has
                                       The Factual Matter Stated (F.R.E. 602);     personal knowledge of what
                                       Irrelevant (F.R.E. 401, 402); Any           information he received before,
                                       Probative Value Is Substantially            during, and after the events giving
                                       Outweighed By Risk Of Unfair                rise to the claim, and has personal
                                       Prejudice, Confusing The Issues,            knowledge of his opinions.
                                       Misleading The Jury, Undue Delay,           Witness does not need personally
                                       Wasting Time, Or Needlessly                 to have been in Israel in order to
                                       Presenting Cumulative Evidence              testify regarding what information
                                       (F.R.E. 403).                               NBC received regarding what was
                                                                                   going on in Israel, or his opinions
                                                                                   about what was going on in Israel.


                                                                                   F.R.E. 701 – Exhibit authored by
                                                                                   Plaintiffs’ expert witness; Unclear
   Error! Unknown document                                        400
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                       #:24867




                                                                                what opinions are offered by any
                                                                                declarant in exhibit or, if any,
                                                                                which opinions are objectionable;
                                                                                all testimony rationally based on
                                                                                information received and acted
                                                                                upon testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
Error! Unknown document                                        401
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     outweighs its probative value; or
                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.


DX 245 06/12/14 Email from BJ               Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       Markus to Mark Binke, et al          Which The Evidence Is Proffered At       and, therefore, exhibit should be
       (Markus Depo Ex 342)                 Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
       (UCP005411-5506)                     Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
                                            Confusing The Issues, Wasting Time,      ASIC’s response is as follows:
                                            Or Needlessly Presenting Cumulative      F.R.E. 401 – Objection is
                                            Evidence, Depending On Purpose For       conditional, and therefore not
                                            Which Evidence Is Proffered At Trial     binding as to general admissibility.
                                            (F.R.E. 403).                            Objection also fails to state why or
                                                                                     in what context exhibit is
                                                                                     irrelevant. Furthermore, exhibit is
                                                                                     relevant to establish state of mind
                                                                                     of all parties involved at time of
                                                                                     claim (NBC, ASIC, Aon, etc.).
   Error! Unknown document                                         402
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                    F.R.E. 403 – Objection is
                                                                                    conditional, and therefore not
                                                                                    binding as to general admissibility.
                                                                                    Objection also fails to state why
                                                                                    exhibit is unfairly prejudicial; or
                                                                                    why such alleged unfair prejudice
                                                                                    outweighs its probative value; or
                                                                                    why exhibit confuses the issue,
                                                                                    misleads the jury, wastes time, or
                                                                                    is cumulative. Furthermore, high
                                                                                    probative value re: state of mind of
                                                                                    all parties involved at the time of
                                                                                    the claim. Finally, jury is entitled
                                                                                    to know what information NBC,
                                                                                    ASIC, and other parties had at time
                                                                                    of the facts giving rise to Plaintiffs’
                                                                                    claims.


DX 246 08/14/14 Email from Randi           Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       Richmond to Debbie Cleaver          Which The Evidence Is Proffered At       and, therefore, exhibit should be
       (Markus Depo Ex 343)                Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
       (UCP009963-9965)                    Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
                                           Confusing The Issues, Wasting Time,      ASIC’s response is as follows:
                                           Or Needlessly Presenting Cumulative      F.R.E. 401 – Objection is
                                           Evidence, Depending On Purpose For       conditional, and therefore not
  Error! Unknown document                                         403
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                       #:24870




                                         Which Evidence Is Proffered At Trial   binding as to general admissibility.
                                         (F.R.E. 403).                          Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.


Error! Unknown document                                         404
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 247 08/11/16 Chart: Production   No Objection.                                    No response.
       Recap Report (Markus Depo Ex
       344) (UCP018226-18227)
DX 248 03/14/14 Email string between        Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       Brian Brady and Erin                 Which The Evidence Is Proffered At       and, therefore, exhibit should be
       Noordeloos, et al (Richmond          Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
       Depo Ex 350) (UCP001412)             Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
                                            Confusing The Issues, Wasting Time,      ASIC’s response is as follows:
                                            Or Needlessly Presenting Cumulative      F.R.E. 401 – Objection is
                                            Evidence, Depending On Purpose For       conditional, and therefore not
                                            Which Evidence Is Proffered At Trial     binding as to general admissibility.
                                            (F.R.E. 403).                            Objection also fails to state why or
                                                                                     in what context exhibit is
                                                                                     irrelevant. Furthermore, exhibit is
                                                                                     relevant to establish state of mind
                                                                                     of all parties involved at time of
                                                                                     claim (NBC, ASIC, Aon, etc.).


                                                                                     F.R.E. 403 – Objection is
                                                                                     conditional, and therefore not
                                                                                     binding as to general admissibility.
                                                                                     Objection also fails to state why
                                                                                     exhibit is unfairly prejudicial; or
                                                                                     why such alleged unfair prejudice
                                                                                     outweighs its probative value; or
   Error! Unknown document                                         405
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                    why exhibit confuses the issue,
                                                                                    misleads the jury, wastes time, or
                                                                                    is cumulative. Furthermore, high
                                                                                    probative value re: state of mind of
                                                                                    all parties involved at the time of
                                                                                    the claim. Finally, jury is entitled
                                                                                    to know what information NBC,
                                                                                    ASIC, and other parties had at time
                                                                                    of the facts giving rise to Plaintiffs’
                                                                                    claims.


DX 249 03/14-17/14 Email string            Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       between Randi Richmond and          Which The Evidence Is Proffered At       and, therefore, exhibit should be
       Mark Binke, et al (Richmond         Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
       Depo Ex 351) (UC001160-             Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
       1161)                               Confusing The Issues, Wasting Time,      ASIC’s response is as follows:
                                           Or Needlessly Presenting Cumulative      F.R.E. 401 – Objection is
                                           Evidence, Depending On Purpose For       conditional, and therefore not
                                           Which Evidence Is Proffered At Trial     binding as to general admissibility.
                                           (F.R.E. 403).                            Objection also fails to state why or
                                                                                    in what context exhibit is
                                                                                    irrelevant. Furthermore, exhibit is
                                                                                    relevant to establish state of mind
                                                                                    of all parties involved at time of
                                                                                    claim (NBC, ASIC, Aon, etc.).

  Error! Unknown document                                         406
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                    F.R.E. 403 – Objection is
                                                                                    conditional, and therefore not
                                                                                    binding as to general admissibility.
                                                                                    Objection also fails to state why
                                                                                    exhibit is unfairly prejudicial; or
                                                                                    why such alleged unfair prejudice
                                                                                    outweighs its probative value; or
                                                                                    why exhibit confuses the issue,
                                                                                    misleads the jury, wastes time, or
                                                                                    is cumulative. Furthermore, high
                                                                                    probative value re: state of mind of
                                                                                    all parties involved at the time of
                                                                                    the claim. Finally, jury is entitled
                                                                                    to know what information NBC,
                                                                                    ASIC, and other parties had at time
                                                                                    of the facts giving rise to Plaintiffs’
                                                                                    claims.


DX 250 04/16/14 Email between              Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       Stephen Smith and Randi             Which The Evidence Is Proffered At       and, therefore, exhibit should be
       Richmond, with attachment           Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
       (Richmond Depo Ex 352)              Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
       (UCP002227-2237)                    Confusing The Issues, Wasting Time,      ASIC’s response is as follows:
                                           Or Needlessly Presenting Cumulative      F.R.E. 401 – Objection is
                                           Evidence, Depending On Purpose For       conditional, and therefore not
  Error! Unknown document                                         407
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         Which Evidence Is Proffered At Trial   binding as to general admissibility.
                                         (F.R.E. 403).                          Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.


Error! Unknown document                                         408
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 251 04/17-22/14 Email string            Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       between Stephen Smith and           Which The Evidence Is Proffered At       and, therefore, exhibit should be
       Randi Richmond, et al               Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
       (Richmond Depo Ex 353)              Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
       (UCP_003495-3497)                   Confusing The Issues, Wasting Time,      ASIC’s response is as follows:
                                           Or Needlessly Presenting Cumulative      F.R.E. 401 – Objection is
                                           Evidence, Depending On Purpose For       conditional, and therefore not
                                           Which Evidence Is Proffered At Trial     binding as to general admissibility.
                                           (F.R.E. 403).                            Objection also fails to state why or
                                                                                    in what context exhibit is
                                                                                    irrelevant. Furthermore, exhibit is
                                                                                    relevant to establish state of mind
                                                                                    of all parties involved at time of
                                                                                    claim (NBC, ASIC, Aon, etc.).


                                                                                    F.R.E. 403 – Objection is
                                                                                    conditional, and therefore not
                                                                                    binding as to general admissibility.
                                                                                    Objection also fails to state why
                                                                                    exhibit is unfairly prejudicial; or
                                                                                    why such alleged unfair prejudice
                                                                                    outweighs its probative value; or
                                                                                    why exhibit confuses the issue,
                                                                                    misleads the jury, wastes time, or
                                                                                    is cumulative. Furthermore, high
                                                                                    probative value re: state of mind of
  Error! Unknown document                                         409
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.
DX 252 05/13/14 Email string between        Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       Randi Richmond and Stephen           Which The Evidence Is Proffered At       and, therefore, exhibit should be
       Smith, et al (Richmond Depo          Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
       Ex 354) (UCP002407-2408)             Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
                                            Confusing The Issues, Wasting Time,      ASIC’s response is as follows:
                                            Or Needlessly Presenting Cumulative      F.R.E. 401 – Objection is
                                            Evidence, Depending On Purpose For       conditional, and therefore not
                                            Which Evidence Is Proffered At Trial     binding as to general admissibility.
                                            (F.R.E. 403).                            Objection also fails to state why or
                                                                                     in what context exhibit is
                                                                                     irrelevant. Furthermore, exhibit is
                                                                                     relevant to establish state of mind
                                                                                     of all parties involved at time of
                                                                                     claim (NBC, ASIC, Aon, etc.).


                                                                                     F.R.E. 403 – Objection is
                                                                                     conditional, and therefore not
                                                                                     binding as to general admissibility.
                                                                                     Objection also fails to state why
   Error! Unknown document                                         410
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                    exhibit is unfairly prejudicial; or
                                                                                    why such alleged unfair prejudice
                                                                                    outweighs its probative value; or
                                                                                    why exhibit confuses the issue,
                                                                                    misleads the jury, wastes time, or
                                                                                    is cumulative. Furthermore, high
                                                                                    probative value re: state of mind of
                                                                                    all parties involved at the time of
                                                                                    the claim. Finally, jury is entitled
                                                                                    to know what information NBC,
                                                                                    ASIC, and other parties had at time
                                                                                    of the facts giving rise to Plaintiffs’
                                                                                    claims.


DX 253 06/16/14 Email from Randi           Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       Richmond to Mark Binke              Which The Evidence Is Proffered At       and, therefore, exhibit should be
       (Richmond Depo Ex 355)              Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
       (UCP001082)                         Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
                                           Confusing The Issues, Wasting Time,      ASIC’s response is as follows:
                                           Or Needlessly Presenting Cumulative      F.R.E. 401 – Objection is
                                           Evidence, Depending On Purpose For       conditional, and therefore not
                                           Which Evidence Is Proffered At Trial     binding as to general admissibility.
                                           (F.R.E. 403).                            Objection also fails to state why or
                                                                                    in what context exhibit is
                                                                                    irrelevant. Furthermore, exhibit is
                                                                                    relevant to establish state of mind
  Error! Unknown document                                         411
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     of all parties involved at time of
                                                                                     claim (NBC, ASIC, Aon, etc.).


                                                                                     F.R.E. 403 – Objection is
                                                                                     conditional, and therefore not
                                                                                     binding as to general admissibility.
                                                                                     Objection also fails to state why
                                                                                     exhibit is unfairly prejudicial; or
                                                                                     why such alleged unfair prejudice
                                                                                     outweighs its probative value; or
                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.


DX 254 06/16/14 Email string between        Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       Randi Richmond and Mark              Which The Evidence Is Proffered At       and, therefore, exhibit should be
       Binke, et al (Richmond Depo          Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
       Ex 356) (UCP001223-1226)             Substantially Outweighed By Risk Of
                                            Confusing The Issues, Wasting Time,
   Error! Unknown document                                          412
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         Or Needlessly Presenting Cumulative    Plaintiffs withdraw the exhibit,
                                         Evidence, Depending On Purpose For     ASIC’s response is as follows:
                                         Which Evidence Is Proffered At Trial   F.R.E. 401 – Objection is
                                         (F.R.E. 403).                          conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
Error! Unknown document                                        413
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                    ASIC, and other parties had at time
                                                                                    of the facts giving rise to Plaintiffs’
                                                                                    claims.


DX 255 06/16/14 Email from Richard         Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       Rothstein to Randi Richmond         Which The Evidence Is Proffered At       and, therefore, exhibit should be
       (Richmond Depo Ex 357)              Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
       (UCP001131)                         Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
                                           Confusing The Issues, Wasting Time,      ASIC’s response is as follows:
                                           Or Needlessly Presenting Cumulative      F.R.E. 401 – Objection is
                                           Evidence, Depending On Purpose For       conditional, and therefore not
                                           Which Evidence Is Proffered At Trial     binding as to general admissibility.
                                           (F.R.E. 403).                            Objection also fails to state why or
                                                                                    in what context exhibit is
                                                                                    irrelevant. Furthermore, exhibit is
                                                                                    relevant to establish state of mind
                                                                                    of all parties involved at time of
                                                                                    claim (NBC, ASIC, Aon, etc.).


                                                                                    F.R.E. 403 – Objection is
                                                                                    conditional, and therefore not
                                                                                    binding as to general admissibility.
                                                                                    Objection also fails to state why
                                                                                    exhibit is unfairly prejudicial; or
                                                                                    why such alleged unfair prejudice
  Error! Unknown document                                         414
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     outweighs its probative value; or
                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.


DX 256 06/15-16/14 Email string             Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       between Randi Richmond and           Which The Evidence Is Proffered At       and, therefore, exhibit should be
       Curt Williams, et al (Richmond       Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
       Depo Ex 358) (UCP001101-             Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
       1103)                                Confusing The Issues, Wasting Time,      ASIC’s response is as follows:
                                            Or Needlessly Presenting Cumulative      F.R.E. 401 – Objection is
                                            Evidence, Depending On Purpose For       conditional, and therefore not
                                            Which Evidence Is Proffered At Trial     binding as to general admissibility.
                                            (F.R.E. 403).                            Objection also fails to state why or
                                                                                     in what context exhibit is
                                                                                     irrelevant. Furthermore, exhibit is
                                                                                     relevant to establish state of mind
                                                                                     of all parties involved at time of
                                                                                     claim (NBC, ASIC, Aon, etc.).
   Error! Unknown document                                         415
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     F.R.E. 403 – Objection is
                                                                                     conditional, and therefore not
                                                                                     binding as to general admissibility.
                                                                                     Objection also fails to state why
                                                                                     exhibit is unfairly prejudicial; or
                                                                                     why such alleged unfair prejudice
                                                                                     outweighs its probative value; or
                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.


DX 257 06/16/14 Email string between        Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       Stephan Miller and Randi             Which The Evidence Is Proffered At       and, therefore, exhibit should be
       Richmond (Richmond Depo Ex           Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
       359) (UCP_003555-3558)               Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
                                            Confusing The Issues, Wasting Time,      ASIC’s response is as follows:
                                            Or Needlessly Presenting Cumulative      F.R.E. 401 – Objection is
                                            Evidence, Depending On Purpose For       conditional, and therefore not
   Error! Unknown document                                         416
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         Which Evidence Is Proffered At Trial   binding as to general admissibility.
                                         (F.R.E. 403).                          Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.


Error! Unknown document                                         417
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 258 06/17/14 Email from Stephen         Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       Smith to Randi Richmond             Which The Evidence Is Proffered At       and, therefore, exhibit should be
       (Richmond Depo Ex 360)              Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
       (UC_003494)                         Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
                                           Confusing The Issues, Wasting Time,      ASIC’s response is as follows:
                                           Or Needlessly Presenting Cumulative      F.R.E. 401 – Objection is
                                           Evidence, Depending On Purpose For       conditional, and therefore not
                                           Which Evidence Is Proffered At Trial     binding as to general admissibility.
                                           (F.R.E. 403).                            Objection also fails to state why or
                                                                                    in what context exhibit is
                                                                                    irrelevant. Furthermore, exhibit is
                                                                                    relevant to establish state of mind
                                                                                    of all parties involved at time of
                                                                                    claim (NBC, ASIC, Aon, etc.).


                                                                                    F.R.E. 403 – Objection is
                                                                                    conditional, and therefore not
                                                                                    binding as to general admissibility.
                                                                                    Objection also fails to state why
                                                                                    exhibit is unfairly prejudicial; or
                                                                                    why such alleged unfair prejudice
                                                                                    outweighs its probative value; or
                                                                                    why exhibit confuses the issue,
                                                                                    misleads the jury, wastes time, or
                                                                                    is cumulative. Furthermore, high
                                                                                    probative value re: state of mind of
  Error! Unknown document                                         418
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.



DX 259 06/18/14 Email string between        Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       Stephen Smith and Randi              Which The Evidence Is Proffered At       and, therefore, exhibit should be
       Richmond (Richmond Depo Ex           Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
       361) (UCP002773)                     Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
                                            Confusing The Issues, Wasting Time,      ASIC’s response is as follows:
                                            Or Needlessly Presenting Cumulative      F.R.E. 401 – Objection is
                                            Evidence, Depending On Purpose For       conditional, and therefore not
                                            Which Evidence Is Proffered At Trial     binding as to general admissibility.
                                            (F.R.E. 403).                            Objection also fails to state why or
                                                                                     in what context exhibit is
                                                                                     irrelevant. Furthermore, exhibit is
                                                                                     relevant to establish state of mind
                                                                                     of all parties involved at time of
                                                                                     claim (NBC, ASIC, Aon, etc.).


                                                                                     F.R.E. 403 – Objection is
                                                                                     conditional, and therefore not
   Error! Unknown document                                         419
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                    binding as to general admissibility.
                                                                                    Objection also fails to state why
                                                                                    exhibit is unfairly prejudicial; or
                                                                                    why such alleged unfair prejudice
                                                                                    outweighs its probative value; or
                                                                                    why exhibit confuses the issue,
                                                                                    misleads the jury, wastes time, or
                                                                                    is cumulative. Furthermore, high
                                                                                    probative value re: state of mind of
                                                                                    all parties involved at the time of
                                                                                    the claim. Finally, jury is entitled
                                                                                    to know what information NBC,
                                                                                    ASIC, and other parties had at time
                                                                                    of the facts giving rise to Plaintiffs’
                                                                                    claims.


DX 260 06/18-19/14 Email string            Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       between Randi Richmond and          Which The Evidence Is Proffered At       and, therefore, exhibit should be
       Stephen Smith (Richmond             Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
       Depo Ex 362) (UCP000900-            Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
       902)                                Confusing The Issues, Wasting Time,      ASIC’s response is as follows:
                                           Or Needlessly Presenting Cumulative      F.R.E. 401 – Objection is
                                           Evidence, Depending On Purpose For       conditional, and therefore not
                                           Which Evidence Is Proffered At Trial     binding as to general admissibility.
                                           (F.R.E. 403).                            Objection also fails to state why or
                                                                                    in what context exhibit is
  Error! Unknown document                                         420
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                   irrelevant. Furthermore, exhibit is
                                                                                   relevant to establish state of mind
                                                                                   of all parties involved at time of
                                                                                   claim (NBC, ASIC, Aon, etc.).


                                                                                   F.R.E. 403 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why
                                                                                   exhibit is unfairly prejudicial; or
                                                                                   why such alleged unfair prejudice
                                                                                   outweighs its probative value; or
                                                                                   why exhibit confuses the issue,
                                                                                   misleads the jury, wastes time, or
                                                                                   is cumulative. Furthermore, high
                                                                                   probative value re: state of mind of
                                                                                   all parties involved at the time of
                                                                                   the claim. Finally, jury is entitled
                                                                                   to know what information NBC,
                                                                                   ASIC, and other parties had at time
                                                                                   of the facts giving rise to Plaintiffs’
                                                                                   claims.


DX 261 06/19-23/14 Email string           Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
           between Randi Richmond and     Which The Evidence Is Proffered At       and, therefore, exhibit should be
           Stephen Smith, et al (Richmond Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
  Error! Unknown document                                         421
   property name.                     ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                       #:24888




        Depo Ex 363) (UCP002456-         Substantially Outweighed By Risk Of    Plaintiffs withdraw the exhibit,
        2458)                            Confusing The Issues, Wasting Time,    ASIC’s response is as follows:
                                         Or Needlessly Presenting Cumulative    F.R.E. 401 – Objection is
                                         Evidence, Depending On Purpose For     conditional, and therefore not
                                         Which Evidence Is Proffered At Trial   binding as to general admissibility.
                                         (F.R.E. 403).                          Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
Error! Unknown document                                        422
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                    ASIC, and other parties had at time
                                                                                    of the facts giving rise to Plaintiffs’
                                                                                    claims.


DX 262 06/19-23/14 Email string            Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       between Randi Richmond and          Which The Evidence Is Proffered At       and, therefore, exhibit should be
       Mark Binke, et al (Richmond         Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
       Depo Ex 364) (UCP000982-            Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
       985)                                Confusing The Issues, Wasting Time,      ASIC’s response is as follows:
                                           Or Needlessly Presenting Cumulative      F.R.E. 401 – Objection is
                                           Evidence, Depending On Purpose For       conditional, and therefore not
                                           Which Evidence Is Proffered At Trial     binding as to general admissibility.
                                           (F.R.E. 403).                            Objection also fails to state why or
                                                                                    in what context exhibit is
                                                                                    irrelevant. Furthermore, exhibit is
                                                                                    relevant to establish state of mind
                                                                                    of all parties involved at time of
                                                                                    claim (NBC, ASIC, Aon, etc.).


                                                                                    F.R.E. 403 – Objection is
                                                                                    conditional, and therefore not
                                                                                    binding as to general admissibility.
                                                                                    Objection also fails to state why
                                                                                    exhibit is unfairly prejudicial; or
                                                                                    why such alleged unfair prejudice
  Error! Unknown document                                         423
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     outweighs its probative value; or
                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.


DX 263 07/02/14 Email string between        Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       Randi Richmond and Stephen           Which The Evidence Is Proffered At       and, therefore, exhibit should be
       Smith, et al (Richmond Depo          Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
       Ex 365) (UCP00925-926)               Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
                                            Confusing The Issues, Wasting Time,      ASIC’s response is as follows:
                                            Or Needlessly Presenting Cumulative      F.R.E. 401 – Objection is
                                            Evidence, Depending On Purpose For       conditional, and therefore not
                                            Which Evidence Is Proffered At Trial     binding as to general admissibility.
                                            (F.R.E. 403).                            Objection also fails to state why or
                                                                                     in what context exhibit is
                                                                                     irrelevant. Furthermore, exhibit is
                                                                                     relevant to establish state of mind
                                                                                     of all parties involved at time of
                                                                                     claim (NBC, ASIC, Aon, etc.).
   Error! Unknown document                                         424
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                    F.R.E. 403 – Objection is
                                                                                    conditional, and therefore not
                                                                                    binding as to general admissibility.
                                                                                    Objection also fails to state why
                                                                                    exhibit is unfairly prejudicial; or
                                                                                    why such alleged unfair prejudice
                                                                                    outweighs its probative value; or
                                                                                    why exhibit confuses the issue,
                                                                                    misleads the jury, wastes time, or
                                                                                    is cumulative. Furthermore, high
                                                                                    probative value re: state of mind of
                                                                                    all parties involved at the time of
                                                                                    the claim. Finally, jury is entitled
                                                                                    to know what information NBC,
                                                                                    ASIC, and other parties had at time
                                                                                    of the facts giving rise to Plaintiffs’
                                                                                    claims.


DX 264 07/01/14 Email string between       Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       Mark Binke and Stephen Smith,       Which The Evidence Is Proffered At       and, therefore, exhibit should be
       et al (Richmond Depo Ex 366)        Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
       (UCP001942-1944)                    Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
                                           Confusing The Issues, Wasting Time,      ASIC’s response is as follows:
                                           Or Needlessly Presenting Cumulative      F.R.E. 401 – Objection is
                                           Evidence, Depending On Purpose For       conditional, and therefore not
  Error! Unknown document                                         425
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         Which Evidence Is Proffered At Trial   binding as to general admissibility.
                                         (F.R.E. 403).                          Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.


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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 265 07/02/14 Email from Stephen         Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       Smith to Mark Binke and Randi       Which The Evidence Is Proffered At       and, therefore, exhibit should be
       Richmond (Richmond Depo Ex          Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
       368) (UCP002224-2226)               Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
                                           Confusing The Issues, Wasting Time,      ASIC’s response is as follows:
                                           Or Needlessly Presenting Cumulative      F.R.E. 401 – Objection is
                                           Evidence, Depending On Purpose For       conditional, and therefore not
                                           Which Evidence Is Proffered At Trial     binding as to general admissibility.
                                           (F.R.E. 403).                            Objection also fails to state why or
                                                                                    in what context exhibit is
                                                                                    irrelevant. Furthermore, exhibit is
                                                                                    relevant to establish state of mind
                                                                                    of all parties involved at time of
                                                                                    claim (NBC, ASIC, Aon, etc.).


                                                                                    F.R.E. 403 – Objection is
                                                                                    conditional, and therefore not
                                                                                    binding as to general admissibility.
                                                                                    Objection also fails to state why
                                                                                    exhibit is unfairly prejudicial; or
                                                                                    why such alleged unfair prejudice
                                                                                    outweighs its probative value; or
                                                                                    why exhibit confuses the issue,
                                                                                    misleads the jury, wastes time, or
                                                                                    is cumulative. Furthermore, high
                                                                                    probative value re: state of mind of
  Error! Unknown document                                         427
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                    all parties involved at the time of
                                                                                    the claim. Finally, jury is entitled
                                                                                    to know what information NBC,
                                                                                    ASIC, and other parties had at time
                                                                                    of the facts giving rise to Plaintiffs’
                                                                                    claims.


DX 266 07/07/14 Email from Stephen         Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       Smith to Randi Richmond             Which The Evidence Is Proffered At       and, therefore, exhibit should be
       (Richmond Depo Ex                   Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
       369)(UCP001379)                     Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
                                           Confusing The Issues, Wasting Time,      ASIC’s response is as follows:
                                           Or Needlessly Presenting Cumulative      F.R.E. 401 – Objection is
                                           Evidence, Depending On Purpose For       conditional, and therefore not
                                           Which Evidence Is Proffered At Trial     binding as to general admissibility.
                                           (F.R.E. 403).                            Objection also fails to state why or
                                                                                    in what context exhibit is
                                                                                    irrelevant. Furthermore, exhibit is
                                                                                    relevant to establish state of mind
                                                                                    of all parties involved at time of
                                                                                    claim (NBC, ASIC, Aon, etc.).


                                                                                    F.R.E. 403 – Objection is
                                                                                    conditional, and therefore not
                                                                                    binding as to general admissibility.
  Error! Unknown document                                         428
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                    Objection also fails to state why
                                                                                    exhibit is unfairly prejudicial; or
                                                                                    why such alleged unfair prejudice
                                                                                    outweighs its probative value; or
                                                                                    why exhibit confuses the issue,
                                                                                    misleads the jury, wastes time, or
                                                                                    is cumulative. Furthermore, high
                                                                                    probative value re: state of mind of
                                                                                    all parties involved at the time of
                                                                                    the claim. Finally, jury is entitled
                                                                                    to know what information NBC,
                                                                                    ASIC, and other parties had at time
                                                                                    of the facts giving rise to Plaintiffs’
                                                                                    claims.


DX 267 07/07/14 Email from Randi           Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       Richmond to Stephen Smith           Which The Evidence Is Proffered At       and, therefore, exhibit should be
       (Richmond Depo Ex 370)              Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
       (UCP001835)                         Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
                                           Confusing The Issues, Wasting Time,      ASIC’s response is as follows:
                                           Or Needlessly Presenting Cumulative      F.R.E. 401 – Objection is
                                           Evidence, Depending On Purpose For       conditional, and therefore not
                                           Which Evidence Is Proffered At Trial     binding as to general admissibility.
                                           (F.R.E. 403).                            Objection also fails to state why or
                                                                                    in what context exhibit is
                                                                                    irrelevant. Furthermore, exhibit is
  Error! Unknown document                                         429
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                    relevant to establish state of mind
                                                                                    of all parties involved at time of
                                                                                    claim (NBC, ASIC, Aon, etc.).


                                                                                    F.R.E. 403 – Objection is
                                                                                    conditional, and therefore not
                                                                                    binding as to general admissibility.
                                                                                    Objection also fails to state why
                                                                                    exhibit is unfairly prejudicial; or
                                                                                    why such alleged unfair prejudice
                                                                                    outweighs its probative value; or
                                                                                    why exhibit confuses the issue,
                                                                                    misleads the jury, wastes time, or
                                                                                    is cumulative. Furthermore, high
                                                                                    probative value re: state of mind of
                                                                                    all parties involved at the time of
                                                                                    the claim. Finally, jury is entitled
                                                                                    to know what information NBC,
                                                                                    ASIC, and other parties had at time
                                                                                    of the facts giving rise to Plaintiffs’
                                                                                    claims.


DX 268 07/07/14 Email from Randi           Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       Richmond to Mark Binke              Which The Evidence Is Proffered At       and, therefore, exhibit should be
                                           Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
                                           Substantially Outweighed By Risk Of
  Error! Unknown document                                          430
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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        (Richmond Depo Ex 371)           Confusing The Issues, Wasting Time,    Plaintiffs withdraw the exhibit,
        (UCP_003330)                     Or Needlessly Presenting Cumulative    ASIC’s response is as follows:
                                         Evidence, Depending On Purpose For     F.R.E. 401 – Objection is
                                         Which Evidence Is Proffered At Trial   conditional, and therefore not
                                         (F.R.E. 403).                          binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
Error! Unknown document                                        431
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.


DX 269 06/15/14-07/07/14 Email string       Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       between Randi Richmond and           Which The Evidence Is Proffered At       and, therefore, exhibit should be
       Mark Binke, et al (Richmond          Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
       Depo Ex 373) (UCP_002979-            Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
       2985)                                Confusing The Issues, Wasting Time,      ASIC’s response is as follows:
                                            Or Needlessly Presenting Cumulative      F.R.E. 401 – Objection is
                                            Evidence, Depending On Purpose For       conditional, and therefore not
                                            Which Evidence Is Proffered At Trial     binding as to general admissibility.
                                            (F.R.E. 403).                            Objection also fails to state why or
                                                                                     in what context exhibit is
                                                                                     irrelevant. Furthermore, exhibit is
                                                                                     relevant to establish state of mind
                                                                                     of all parties involved at time of
                                                                                     claim (NBC, ASIC, Aon, etc.).


                                                                                     F.R.E. 403 – Objection is
                                                                                     conditional, and therefore not
                                                                                     binding as to general admissibility.
                                                                                     Objection also fails to state why
                                                                                     exhibit is unfairly prejudicial; or
                                                                                     why such alleged unfair prejudice
   Error! Unknown document                                         432
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
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                                                                                     outweighs its probative value; or
                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.


DX 270 06/15/14 – 07/07/14 Email            Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       string between Mark Binke and        Which The Evidence Is Proffered At       and, therefore, exhibit should be
       Randi Richmond, et al                Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
       (Richmond Depo Ex 374)               Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
       (UCP_003265-3272)                    Confusing The Issues, Wasting Time,      ASIC’s response is as follows:
                                            Or Needlessly Presenting Cumulative      F.R.E. 401 – Objection is
                                            Evidence, Depending On Purpose For       conditional, and therefore not
                                            Which Evidence Is Proffered At Trial     binding as to general admissibility.
                                            (F.R.E. 403).                            Objection also fails to state why or
                                                                                     in what context exhibit is
                                                                                     irrelevant. Furthermore, exhibit is
                                                                                     relevant to establish state of mind
                                                                                     of all parties involved at time of
                                                                                     claim (NBC, ASIC, Aon, etc.).
   Error! Unknown document                                         433
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     F.R.E. 403 – Objection is
                                                                                     conditional, and therefore not
                                                                                     binding as to general admissibility.
                                                                                     Objection also fails to state why
                                                                                     exhibit is unfairly prejudicial; or
                                                                                     why such alleged unfair prejudice
                                                                                     outweighs its probative value; or
                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.


DX 271 07/08/14 Email string between        Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       Randi Richmond and Mark              Which The Evidence Is Proffered At       and, therefore, exhibit should be
       Binke, et al (Richmond Depo          Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
       Ex 375) (UCP000552-553)              Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
                                            Confusing The Issues, Wasting Time,      ASIC’s response is as follows:
                                            Or Needlessly Presenting Cumulative      F.R.E. 401 – Objection is
                                            Evidence, Depending On Purpose For       conditional, and therefore not
   Error! Unknown document                                         434
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         Which Evidence Is Proffered At Trial   binding as to general admissibility.
                                         (F.R.E. 403).                          Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.


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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 272 07/08/14 Email from Randi           Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       Richmond to Stephen Smith           Which The Evidence Is Proffered At       and, therefore, exhibit should be
       (Richmond Depo Ex 376)              Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
       (UCP000953)                         Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
                                           Confusing The Issues, Wasting Time,      ASIC’s response is as follows:
                                           Or Needlessly Presenting Cumulative      F.R.E. 401 – Objection is
                                           Evidence, Depending On Purpose For       conditional, and therefore not
                                           Which Evidence Is Proffered At Trial     binding as to general admissibility.
                                           (F.R.E. 403).                            Objection also fails to state why or
                                                                                    in what context exhibit is
                                                                                    irrelevant. Furthermore, exhibit is
                                                                                    relevant to establish state of mind
                                                                                    of all parties involved at time of
                                                                                    claim (NBC, ASIC, Aon, etc.).


                                                                                    F.R.E. 403 – Objection is
                                                                                    conditional, and therefore not
                                                                                    binding as to general admissibility.
                                                                                    Objection also fails to state why
                                                                                    exhibit is unfairly prejudicial; or
                                                                                    why such alleged unfair prejudice
                                                                                    outweighs its probative value; or
                                                                                    why exhibit confuses the issue,
                                                                                    misleads the jury, wastes time, or
                                                                                    is cumulative. Furthermore, high
                                                                                    probative value re: state of mind of
  Error! Unknown document                                         436
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.


DX 273 07/08/14 Email string between        Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       Randi Richmond and Mark              Which The Evidence Is Proffered At       and, therefore, exhibit should be
       Binke (Richmond Depo Ex              Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
       377) (UCP002802-2803)                Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
                                            Confusing The Issues, Wasting Time,      ASIC’s response is as follows:
                                            Or Needlessly Presenting Cumulative      F.R.E. 401 – Objection is
                                            Evidence, Depending On Purpose For       conditional, and therefore not
                                            Which Evidence Is Proffered At Trial     binding as to general admissibility.
                                            (F.R.E. 403).                            Objection also fails to state why or
                                                                                     in what context exhibit is
                                                                                     irrelevant. Furthermore, exhibit is
                                                                                     relevant to establish state of mind
                                                                                     of all parties involved at time of
                                                                                     claim (NBC, ASIC, Aon, etc.).


                                                                                     F.R.E. 403 – Objection is
                                                                                     conditional, and therefore not
                                                                                     binding as to general admissibility.
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   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                    Objection also fails to state why
                                                                                    exhibit is unfairly prejudicial; or
                                                                                    why such alleged unfair prejudice
                                                                                    outweighs its probative value; or
                                                                                    why exhibit confuses the issue,
                                                                                    misleads the jury, wastes time, or
                                                                                    is cumulative. Furthermore, high
                                                                                    probative value re: state of mind of
                                                                                    all parties involved at the time of
                                                                                    the claim. Finally, jury is entitled
                                                                                    to know what information NBC,
                                                                                    ASIC, and other parties had at time
                                                                                    of the facts giving rise to Plaintiffs’
                                                                                    claims.


DX 274 07/08/14 Email from Randi           Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       Richmond to Asaf Nawi               Which The Evidence Is Proffered At       and, therefore, exhibit should be
       (Richmond Depo Ex 378)              Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
       (UCP_003498-3499)                   Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
                                           Confusing The Issues, Wasting Time,      ASIC’s response is as follows:
                                           Or Needlessly Presenting Cumulative      F.R.E. 401 – Objection is
                                           Evidence, Depending On Purpose For       conditional, and therefore not
                                           Which Evidence Is Proffered At Trial     binding as to general admissibility.
                                           (F.R.E. 403).                            Objection also fails to state why or
                                                                                    in what context exhibit is
                                                                                    irrelevant. Furthermore, exhibit is
  Error! Unknown document                                         438
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                   relevant to establish state of mind
                                                                                   of all parties involved at time of
                                                                                   claim (NBC, ASIC, Aon, etc.).


                                                                                   F.R.E. 403 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why
                                                                                   exhibit is unfairly prejudicial; or
                                                                                   why such alleged unfair prejudice
                                                                                   outweighs its probative value; or
                                                                                   why exhibit confuses the issue,
                                                                                   misleads the jury, wastes time, or
                                                                                   is cumulative. Furthermore, high
                                                                                   probative value re: state of mind of
                                                                                   all parties involved at the time of
                                                                                   the claim. Finally, jury is entitled
                                                                                   to know what information NBC,
                                                                                   ASIC, and other parties had at time
                                                                                   of the facts giving rise to Plaintiffs’
                                                                                   claims.


DX 275 07/08/14 Email string between        Relevance, Depending On Purpose For    Plaintiff has listed exhibit on its list
       Randi Richmond and Jay               Which The Evidence Is Proffered At     and, therefore, exhibit should be
                                            Trial (F.R.E. 401); Inadmissible       admitted as agreed. Should
                                            Hearsay And No Exception Is
   Error! Unknown document                                          439
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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        Footlik, et al (Richmond Depo    Applicable (F.R.E. 801, 802);            Plaintiffs withdraw the exhibit,
        Ex 380) (UCP000652)              Probative Value Is Substantially         ASIC’s response is as follows:
                                         Outweighed By Risk Of Confusing The      F.R.E. 801/802 – (1) Plaintiff fails
                                         Issues, Wasting Time, Or Needlessly      to state what portion of exhibit is
                                         Presenting Cumulative Evidence,          hearsay; (2) statements not offered
                                         Depending On Purpose For Which           for the truth, but rather to show
                                         Evidence Is Proffered At Trial (F.R.E.   information acted upon/state of
                                         403).                                    mind of parties or individuals
                                                                                  identified in exhibits; (3) several
                                                                                  statements made by party-
                                                                                  opponent, NBC, or agents
                                                                                  affiliated with NBC and operating
                                                                                  within the scope of their agency
                                                                                  (e.g. Aon) and, therefore, are not
                                                                                  hearsay under F.R.E. 801.


                                                                                  F.R.E. 401 – Objection is
                                                                                  conditional, and therefore not
                                                                                  binding as to general admissibility.
                                                                                  Objection also fails to state why or
                                                                                  in what context exhibit is
                                                                                  irrelevant. Furthermore, exhibit is
                                                                                  relevant to establish state of mind
                                                                                  of all parties involved at time of
                                                                                  claim (NBC, ASIC, Aon, etc.).

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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     F.R.E. 403 – Objection is
                                                                                     conditional, and therefore not
                                                                                     binding as to general admissibility.
                                                                                     Objection also fails to state why
                                                                                     exhibit is unfairly prejudicial; or
                                                                                     why such alleged unfair prejudice
                                                                                     outweighs its probative value; or
                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.


DX 276 07/08/14 Email from Randi            Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       Richmond to Stephen Smith, et        Which The Evidence Is Proffered At       and, therefore, exhibit should be
       al (Richmond Depo Ex 381)            Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
       (UCP000994)                          Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
                                            Confusing The Issues, Wasting Time,      ASIC’s response is as follows:
                                            Or Needlessly Presenting Cumulative      F.R.E. 401 – Objection is
                                            Evidence, Depending On Purpose For       conditional, and therefore not
   Error! Unknown document                                         441
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         Which Evidence Is Proffered At Trial   binding as to general admissibility.
                                         (F.R.E. 403).                          Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.


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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 277 07/09/14 Email from Stephen          Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       Smith to Mark Winemaker, et al       Which The Evidence Is Proffered At       and, therefore, exhibit should be
       (Richmond Depo Ex 382)               Trial (F.R.E. 401); Inadmissible         admitted as agreed. Should
       (UCP000942-943)                      Hearsay And No Exception Is              Plaintiffs withdraw the exhibit,
                                            Applicable (F.R.E. 801, 802);            ASIC’s response is as follows:
                                            Probative Value Is Substantially         F.R.E. 801/802 – (1) Plaintiff fails
                                            Outweighed By Risk Of Confusing The      to state what portion of exhibit is
                                            Issues, Wasting Time, Or Needlessly      hearsay; (2) statements not offered
                                            Presenting Cumulative Evidence,          for the truth, but rather to show
                                            Depending On Purpose For Which           information acted upon/state of
                                            Evidence Is Proffered At Trial (F.R.E.   mind of parties or individuals
                                            403).                                    identified in exhibits; (3) several
                                                                                     statements made by party-
                                                                                     opponent, NBC, or agents
                                                                                     affiliated with NBC and operating
                                                                                     within the scope of their agency
                                                                                     (e.g. Aon) and, therefore, are not
                                                                                     hearsay under F.R.E. 801.
                                                                                     F.R.E. 401 – Objection is
                                                                                     conditional, and therefore not
                                                                                     binding as to general admissibility.
                                                                                     Objection also fails to state why or
                                                                                     in what context exhibit is
                                                                                     irrelevant. Furthermore, exhibit is
                                                                                     relevant to establish state of mind


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   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                    of all parties involved at time of
                                                                                    claim (NBC, ASIC, Aon, etc.).


                                                                                    F.R.E. 403 – Objection is
                                                                                    conditional, and therefore not
                                                                                    binding as to general admissibility.
                                                                                    Objection also fails to state why
                                                                                    exhibit is unfairly prejudicial; or
                                                                                    why such alleged unfair prejudice
                                                                                    outweighs its probative value; or
                                                                                    why exhibit confuses the issue,
                                                                                    misleads the jury, wastes time, or
                                                                                    is cumulative. Furthermore, high
                                                                                    probative value re: state of mind of
                                                                                    all parties involved at the time of
                                                                                    the claim. Finally, jury is entitled
                                                                                    to know what information NBC,
                                                                                    ASIC, and other parties had at time
                                                                                    of the facts giving rise to Plaintiffs’
                                                                                    claims.


DX 278 07/09/14 Email from Stephen         Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       Smith to Randi Richmond and         Which The Evidence Is Proffered At       and, therefore, exhibit should be
       Mark Binke, with attachment         Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
                                           Substantially Outweighed By Risk Of
                                           Confusing The Issues, Wasting Time,
  Error! Unknown document                                          444
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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        (Richmond Depo Ex 383)           Or Needlessly Presenting Cumulative    Plaintiffs withdraw the exhibit,
        (UCP000888-896)                  Evidence, Depending On Purpose For     ASIC’s response is as follows:
                                         Which Evidence Is Proffered At Trial   F.R.E. 401 – Objection is
                                         (F.R.E. 403).                          conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                    ASIC, and other parties had at time
                                                                                    of the facts giving rise to Plaintiffs’
                                                                                    claims.


DX 279 07/09/14 Email string between       Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       Mark Binke and Stephen Smith,       Which The Evidence Is Proffered At       and, therefore, exhibit should be
       et al (Richmond Depo Ex 384)        Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
       (UCP_003490-3492)                   Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
                                           Confusing The Issues, Wasting Time,      ASIC’s response is as follows:
                                           Or Needlessly Presenting Cumulative      F.R.E. 401 – Objection is
                                           Evidence, Depending On Purpose For       conditional, and therefore not
                                           Which Evidence Is Proffered At Trial     binding as to general admissibility.
                                           (F.R.E. 403).                            Objection also fails to state why or
                                                                                    in what context exhibit is
                                                                                    irrelevant. Furthermore, exhibit is
                                                                                    relevant to establish state of mind
                                                                                    of all parties involved at time of
                                                                                    claim (NBC, ASIC, Aon, etc.).


                                                                                    F.R.E. 403 – Objection is
                                                                                    conditional, and therefore not
                                                                                    binding as to general admissibility.
                                                                                    Objection also fails to state why
                                                                                    exhibit is unfairly prejudicial; or
                                                                                    why such alleged unfair prejudice
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  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     outweighs its probative value; or
                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.


DX 280 07/09/14 Email string between        Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       Richard Rothstein and Randi          Which The Evidence Is Proffered At       and, therefore, exhibit should be
       Richmond, et al (Richmond            Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
       Depo Ex 385) (UCP001068-             Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
       1069)                                Confusing The Issues, Wasting Time,      ASIC’s response is as follows:
                                            Or Needlessly Presenting Cumulative      F.R.E. 401 – Objection is
                                            Evidence, Depending On Purpose For       conditional, and therefore not
                                            Which Evidence Is Proffered At Trial     binding as to general admissibility.
                                            (F.R.E. 403).                            Objection also fails to state why or
                                                                                     in what context exhibit is
                                                                                     irrelevant. Furthermore, exhibit is
                                                                                     relevant to establish state of mind
                                                                                     of all parties involved at time of
                                                                                     claim (NBC, ASIC, Aon, etc.).
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   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     F.R.E. 403 – Objection is
                                                                                     conditional, and therefore not
                                                                                     binding as to general admissibility.
                                                                                     Objection also fails to state why
                                                                                     exhibit is unfairly prejudicial; or
                                                                                     why such alleged unfair prejudice
                                                                                     outweighs its probative value; or
                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.


DX 281 07/09/14 Email string between        Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       Richard Rothstein and Mark           Which The Evidence Is Proffered At       and, therefore, exhibit should be
       Binke, et al (Richmond Depo          Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
       Ex 386) (UCP001033-1036)             Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
                                            Confusing The Issues, Wasting Time,      ASIC’s response is as follows:
                                            Or Needlessly Presenting Cumulative      F.R.E. 401 – Objection is
                                            Evidence, Depending On Purpose For       conditional, and therefore not
   Error! Unknown document                                         448
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         Which Evidence Is Proffered At Trial   binding as to general admissibility.
                                         (F.R.E. 403).                          Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.


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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 282 07/09/14 Email from Mark            Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       Winemaker to Mark Binke and         Which The Evidence Is Proffered At       and, therefore, exhibit should be
       Randi Richmond (Richmond            Trial (F.R.E. 401); Inadmissible         admitted as agreed. Should
       Depo Ex 387) (UCP_003695)           Hearsay And No Exception Is              Plaintiffs withdraw the exhibit,
                                           Applicable (F.R.E. 801, 802);            ASIC’s response is as follows:
                                           Probative Value Is Substantially         F.R.E. 801/802 – (1) Plaintiff fails
                                           Outweighed By Risk Of Confusing The      to state what portion of exhibit is
                                           Issues, Wasting Time, Or Needlessly      hearsay; (2) statements not offered
                                           Presenting Cumulative Evidence,          for the truth, but rather to show
                                           Depending On Purpose For Which           information acted upon/state of
                                           Evidence Is Proffered At Trial (F.R.E.   mind of parties or individuals
                                           403).                                    identified in exhibits; (3) several
                                                                                    statements made by party-
                                                                                    opponent, NBC, or agents
                                                                                    affiliated with NBC and operating
                                                                                    within the scope of their agency
                                                                                    (e.g. Aon) and, therefore, are not
                                                                                    hearsay under F.R.E. 801.
                                                                                    F.R.E. 401 – Objection is
                                                                                    conditional, and therefore not
                                                                                    binding as to general admissibility.
                                                                                    Objection also fails to state why or
                                                                                    in what context exhibit is
                                                                                    irrelevant. Furthermore, exhibit is
                                                                                    relevant to establish state of mind


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  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     of all parties involved at time of
                                                                                     claim (NBC, ASIC, Aon, etc.).


                                                                                     F.R.E. 403 – Objection is
                                                                                     conditional, and therefore not
                                                                                     binding as to general admissibility.
                                                                                     Objection also fails to state why
                                                                                     exhibit is unfairly prejudicial; or
                                                                                     why such alleged unfair prejudice
                                                                                     outweighs its probative value; or
                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.


DX 283 07/09/14 Email string between        Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       Randi Richmond and Jay               Which The Evidence Is Proffered At       and, therefore, exhibit should be
       Footlik, et al (Richmond Depo        Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
       Ex 388) (UCP000992)                  Substantially Outweighed By Risk Of
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   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         Confusing The Issues, Wasting Time,    Plaintiffs withdraw the exhibit,
                                         Or Needlessly Presenting Cumulative    ASIC’s response is as follows:
                                         Evidence, Depending On Purpose For     F.R.E. 401 – Objection is
                                         Which Evidence Is Proffered At Trial   conditional, and therefore not
                                         (F.R.E. 403).                          binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.


DX 284 07/09/14 Email string between        Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       Jay Footlik and Mark Binke, et       Which The Evidence Is Proffered At       and, therefore, exhibit should be
       al (Richmond Depo Ex 389)            Trial (F.R.E. 401); Inadmissible         admitted as agreed. Should
       (UCP000513)                          Hearsay And No Exception Is              Plaintiffs withdraw the exhibit,
                                            Applicable (F.R.E. 801, 802);            ASIC’s response is as follows:
                                            Probative Value Is Substantially         F.R.E. 801/802 – (1) Plaintiff fails
                                            Outweighed By Risk Of Confusing The      to state what portion of exhibit is
                                            Issues, Wasting Time, Or Needlessly      hearsay; (2) statements not offered
                                            Presenting Cumulative Evidence,          for the truth, but rather to show
                                            Depending On Purpose For Which           information acted upon/state of
                                            Evidence Is Proffered At Trial (F.R.E.   mind of parties or individuals
                                            403).                                    identified in exhibits.
                                                                                     F.R.E. 401 – Objection is
                                                                                     conditional, and therefore not
                                                                                     binding as to general admissibility.
                                                                                     Objection also fails to state why or
                                                                                     in what context exhibit is
                                                                                     irrelevant. Furthermore, exhibit is
                                                                                     relevant to establish state of mind
                                                                                     of all parties involved at time of
                                                                                     claim (NBC, ASIC, Aon, etc.).

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   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     F.R.E. 403 – Objection is
                                                                                     conditional, and therefore not
                                                                                     binding as to general admissibility.
                                                                                     Objection also fails to state why
                                                                                     exhibit is unfairly prejudicial; or
                                                                                     why such alleged unfair prejudice
                                                                                     outweighs its probative value; or
                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.


DX 285 07/09/14 Email string between        Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       Randi Richmond and Jay               Which The Evidence Is Proffered At       and, therefore, exhibit should be
       Footlik, et al (Richmond Depo        Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
       Ex 390) (UCP000767-768)              Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
                                            Confusing The Issues, Wasting Time,      ASIC’s response is as follows:
                                            Or Needlessly Presenting Cumulative      F.R.E. 401 – Objection is
                                            Evidence, Depending On Purpose For       conditional, and therefore not
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   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         Which Evidence Is Proffered At Trial   binding as to general admissibility.
                                         (F.R.E. 403).                          Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.


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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 286 07/10/14 Email string between       Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       Mark Binke and Stephen Smith,       Which The Evidence Is Proffered At       and, therefore, exhibit should be
       et al (Richmond Depo Ex 391)        Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
       (UCP002121-2122)                    Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
                                           Confusing The Issues, Wasting Time,      ASIC’s response is as follows:
                                           Or Needlessly Presenting Cumulative      F.R.E. 401 – Objection is
                                           Evidence, Depending On Purpose For       conditional, and therefore not
                                           Which Evidence Is Proffered At Trial     binding as to general admissibility.
                                           (F.R.E. 403).                            Objection also fails to state why or
                                                                                    in what context exhibit is
                                                                                    irrelevant. Furthermore, exhibit is
                                                                                    relevant to establish state of mind
                                                                                    of all parties involved at time of
                                                                                    claim (NBC, ASIC, Aon, etc.).


                                                                                    F.R.E. 403 – Objection is
                                                                                    conditional, and therefore not
                                                                                    binding as to general admissibility.
                                                                                    Objection also fails to state why
                                                                                    exhibit is unfairly prejudicial; or
                                                                                    why such alleged unfair prejudice
                                                                                    outweighs its probative value; or
                                                                                    why exhibit confuses the issue,
                                                                                    misleads the jury, wastes time, or
                                                                                    is cumulative. Furthermore, high
                                                                                    probative value re: state of mind of
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  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.


DX 287 07/10/14 Email string between        Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       Randi Richmond and Mark              Which The Evidence Is Proffered At       and, therefore, exhibit should be
       Binke, et al (Richmond Depo          Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
       Ex 392) (UCP000653-654)              Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
                                            Confusing The Issues, Wasting Time,      ASIC’s response is as follows:
                                            Or Needlessly Presenting Cumulative      F.R.E. 401 – Objection is
                                            Evidence, Depending On Purpose For       conditional, and therefore not
                                            Which Evidence Is Proffered At Trial     binding as to general admissibility.
                                            (F.R.E. 403).                            Objection also fails to state why or
                                                                                     in what context exhibit is
                                                                                     irrelevant. Furthermore, exhibit is
                                                                                     relevant to establish state of mind
                                                                                     of all parties involved at time of
                                                                                     claim (NBC, ASIC, Aon, etc.).


                                                                                     F.R.E. 403 – Objection is
                                                                                     conditional, and therefore not
                                                                                     binding as to general admissibility.
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   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     Objection also fails to state why
                                                                                     exhibit is unfairly prejudicial; or
                                                                                     why such alleged unfair prejudice
                                                                                     outweighs its probative value; or
                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.


DX 288 07/10/14 Email string between        Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       Mark Binke and Randi                 Which The Evidence Is Proffered At       and, therefore, exhibit should be
       Richmond (Richmond Depo Ex           Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
       393) (UCP_003585-3586)               Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
                                            Confusing The Issues, Wasting Time,      ASIC’s response is as follows:
                                            Or Needlessly Presenting Cumulative      F.R.E. 401 – Objection is
                                            Evidence, Depending On Purpose For       conditional, and therefore not
                                            Which Evidence Is Proffered At Trial     binding as to general admissibility.
                                            (F.R.E. 403).                            Objection also fails to state why or
                                                                                     in what context exhibit is
                                                                                     irrelevant. Furthermore, exhibit is
   Error! Unknown document                                         458
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                               relevant to establish state of mind
                                                                               of all parties involved at time of
                                                                               claim (NBC, ASIC, Aon, etc.).


                                                                               F.R.E. 403 – Objection is
                                                                               conditional, and therefore not
                                                                               binding as to general admissibility.
                                                                               Objection also fails to state why
                                                                               exhibit is unfairly prejudicial; or
                                                                               why such alleged unfair prejudice
                                                                               outweighs its probative value; or
                                                                               why exhibit confuses the issue,
                                                                               misleads the jury, wastes time, or
                                                                               is cumulative. Furthermore, high
                                                                               probative value re: state of mind of
                                                                               all parties involved at the time of
                                                                               the claim. Finally, jury is entitled
                                                                               to know what information NBC,
                                                                               ASIC, and other parties had at time
                                                                               of the facts giving rise to Plaintiffs’
                                                                               claims.


DX 289 07/11/14 Email from Tony          Relevance, Depending On Purpose For   Plaintiff has listed exhibit on its list
           Crowley to Randi Richmond, et Which The Evidence Is Proffered At    and, therefore, exhibit should be
                                         Trial (F.R.E. 401); Inadmissible      admitted as agreed. Should
                                         Hearsay And No Exception Is
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   property name.                   ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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        al (Richmond Depo Ex 394)        Applicable (F.R.E. 801, 802);            Plaintiffs withdraw the exhibit,
        (UCP_003493)                     Probative Value Is Substantially         ASIC’s response is as follows:
                                         Outweighed By Risk Of Confusing The      F.R.E. 801/802 – (1) Plaintiff fails
                                         Issues, Wasting Time, Or Needlessly      to state what portion of exhibit is
                                         Presenting Cumulative Evidence,          hearsay; (2) statements not offered
                                         Depending On Purpose For Which           for the truth, but rather to show
                                         Evidence Is Proffered At Trial (F.R.E.   information acted upon/state of
                                         403).                                    mind of parties or individuals
                                                                                  identified in exhibits.
                                                                                  F.R.E. 401 – Objection is
                                                                                  conditional, and therefore not
                                                                                  binding as to general admissibility.
                                                                                  Objection also fails to state why or
                                                                                  in what context exhibit is
                                                                                  irrelevant. Furthermore, exhibit is
                                                                                  relevant to establish state of mind
                                                                                  of all parties involved at time of
                                                                                  claim (NBC, ASIC, Aon, etc.).


                                                                                  F.R.E. 403 – Objection is
                                                                                  conditional, and therefore not
                                                                                  binding as to general admissibility.
                                                                                  Objection also fails to state why
                                                                                  exhibit is unfairly prejudicial; or
                                                                                  why such alleged unfair prejudice
                                                                                  outweighs its probative value; or
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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.


DX 290 07/11/14 Email string between        Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       Mark Binke and Andrea                Which The Evidence Is Proffered At       and, therefore, exhibit should be
       Garber, et al (Richmond Depo         Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
       Ex 395) (UCP_003951)                 Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
                                            Confusing The Issues, Wasting Time,      ASIC’s response is as follows:
                                            Or Needlessly Presenting Cumulative      F.R.E. 401 – Objection is
                                            Evidence, Depending On Purpose For       conditional, and therefore not
                                            Which Evidence Is Proffered At Trial     binding as to general admissibility.
                                            (F.R.E. 403).                            Objection also fails to state why or
                                                                                     in what context exhibit is
                                                                                     irrelevant. Furthermore, exhibit is
                                                                                     relevant to establish state of mind
                                                                                     of all parties involved at time of
                                                                                     claim (NBC, ASIC, Aon, etc.).

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   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                    F.R.E. 403 – Objection is
                                                                                    conditional, and therefore not
                                                                                    binding as to general admissibility.
                                                                                    Objection also fails to state why
                                                                                    exhibit is unfairly prejudicial; or
                                                                                    why such alleged unfair prejudice
                                                                                    outweighs its probative value; or
                                                                                    why exhibit confuses the issue,
                                                                                    misleads the jury, wastes time, or
                                                                                    is cumulative. Furthermore, high
                                                                                    probative value re: state of mind of
                                                                                    all parties involved at the time of
                                                                                    the claim. Finally, jury is entitled
                                                                                    to know what information NBC,
                                                                                    ASIC, and other parties had at time
                                                                                    of the facts giving rise to Plaintiffs’
                                                                                    claims.


DX 291 07/14/14 Email string between       Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       Randi Richmond and Mark             Which The Evidence Is Proffered At       and, therefore, exhibit should be
       Binke, et al (Richmond Depo         Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
       Ex 396) (UCP_003356-003357)         Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
                                           Confusing The Issues, Wasting Time,      ASIC’s response is as follows:
                                           Or Needlessly Presenting Cumulative      F.R.E. 401 – Objection is
                                           Evidence, Depending On Purpose For       conditional, and therefore not
  Error! Unknown document                                         462
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         Which Evidence Is Proffered At Trial   binding as to general admissibility.
                                         (F.R.E. 403).                          Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.


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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 292 07/14/14 Email from Paige            Objections To Email: Relevance,           Plaintiff has listed exhibit on its list
       Potter to Randi Richmond             Depending On Purpose For Which The        and, therefore, exhibit should be
       (Richmond Depo Ex 397)               Evidence Is Proffered At Trial (F.R.E.    admitted as agreed. Should
       (UCP001788)                          401); Probative Value Is Substantially    Plaintiffs withdraw the exhibit,
       and video referenced in email        Outweighed By Risk Of Confusing The       ASIC’s response is as follows:
                                            Issues, Wasting Time, Or Needlessly       Plaintiff has listed exhibit on its list
                                            Presenting Cumulative Evidence,           and, therefore, exhibit should be
                                            Depending On Purpose For Which            admitted as agreed. Should
                                            Evidence Is Proffered At Trial (F.R.E.    Plaintiffs withdraw the exhibit,
                                            403).                                     ASIC’s response is as follows:
                                            Objections To Video: Inadmissible
                                            Hearsay And No Exception Is               F.R.E. 801/802 – (1) Plaintiff fails
                                            Applicable (F.R.E. 801, 802); Improper    to state what portion of exhibit is
                                            Lay Opinion (F.R.E. 701); No              hearsay; (2) statements not offered
                                            Evidence Sufficient To Support A          for the truth, but rather to show
                                            Finding As To The Identity Of The         information acted upon/state of
                                            Author Or That He/She Has Personal        mind of parties or individuals
                                            Knowledge Of The Factual Matter           identified in exhibits; (3) several
                                            Stated (F.R.E. 602); Irrelevant (F.R.E.   statements made by party-
                                            401, 402); Any Probative Value Is         opponent, NBC, or agents
                                            Substantially Outweighed By Risk Of       affiliated with NBC and operating
                                            Unfair Prejudice, Confusing The           within the scope of their agency
                                            Issues, Misleading The Jury, Undue        (e.g. Aon) and, therefore, are not
                                            Delay, Wasting Time, Or Needlessly        hearsay under F.R.E. 801.
                                            Presenting Cumulative Evidence            F.R.E. 602 – Witnesses has
                                            (F.R.E. 403); Lacks Authentication        personal knowledge of what
                                            And None Of The Witnesses Have            information NBC received before,
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   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         Personal Knowledge To Authenticate       during, and after the events giving
                                         The Video Footage, In Particular As To   rise to the claim, including this
                                         The Means Of Obtaining, Location,        exhibit. Witness does not need
                                         And Timing Of The Footage (F.R.E.        personally to have been in Israel in
                                         901).                                    order to testify regarding what
                                                                                  information NBC received
                                                                                  regarding what was going on in
                                                                                  Israel.


                                                                                  F.R.E. 701 – F.R.E. 701 – Unclear
                                                                                  what opinions are offered by any
                                                                                  declarant in exhibit or, if any,
                                                                                  which opinions are objectionable;
                                                                                  all testimony rationally based on
                                                                                  information received and acted
                                                                                  upon; no testimony based on
                                                                                  scientific, technical, or other
                                                                                  specialized knowledge within the
                                                                                  scope of F.R.E. 702.
                                                                                  F.R.E. 401 – Objection is
                                                                                  conditional, and therefore not
                                                                                  binding as to general admissibility.
                                                                                  Objection also fails to state why or
                                                                                  in what context exhibit is
                                                                                  irrelevant. Furthermore, exhibit is
                                                                                  relevant to establish state of mind
Error! Unknown document                                         465
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.

                                                                                F.R.E. 901 – Self-authenticated
                                                                                because it is a material purporting
                                                                                to be a news broadcast and,
                                                                                therefore, falls within scope of
                                                                                F.R.E. 902(6); also, broadcast is
Error! Unknown document                                        466
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     done by party-opponent NBC and,
                                                                                     therefore, NBC has personal
                                                                                     knowledge of its creation and
                                                                                     syndication; F.R.E. 901 -
                                                                                     witnesses are able to authenticate
                                                                                     film to the extent that the film is
                                                                                     information they viewed and acted
                                                                                     upon it, and that the film is a true
                                                                                     and correct copy of the film as they
                                                                                     perceived it at the time; witness
                                                                                     need not to have personally filmed
                                                                                     the video in order to authenticate
                                                                                     the video for its intended purpose.



DX 293 07/15/14 Email string between        Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       Mark Binke and Randi                 Which The Evidence Is Proffered At       and, therefore, exhibit should be
       Richmond (Richmond Depo Ex           Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
       398) (UCP001380)                     Substantially Outweighed By Risk Of      Plaintiffs withdraw the exhibit,
                                            Confusing The Issues, Wasting Time,      ASIC’s response is as follows:
                                            Or Needlessly Presenting Cumulative      F.R.E. 401 – Objection is
                                            Evidence, Depending On Purpose For       conditional, and therefore not
                                            Which Evidence Is Proffered At Trial     binding as to general admissibility.
                                            (F.R.E. 403).                            Objection also fails to state why or
                                                                                     in what context exhibit is
                                                                                     irrelevant. Furthermore, exhibit is
   Error! Unknown document                                         467
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     relevant to establish state of mind
                                                                                     of all parties involved at time of
                                                                                     claim (NBC, ASIC, Aon, etc.).


                                                                                     F.R.E. 403 – Objection is
                                                                                     conditional, and therefore not
                                                                                     binding as to general admissibility.
                                                                                     Objection also fails to state why
                                                                                     exhibit is unfairly prejudicial; or
                                                                                     why such alleged unfair prejudice
                                                                                     outweighs its probative value; or
                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.


DX 294 07/15/14 Email from Randi            Relevance, Depending On Purpose For      Plaintiff has listed exhibit on its list
       Richmond to Stephen Smith, et        Which The Evidence Is Proffered At       and, therefore, exhibit should be
                                            Trial (F.R.E. 401); Probative Value Is   admitted as agreed. Should
                                            Substantially Outweighed By Risk Of
   Error! Unknown document                                          468
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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        al (Richmond Depo Ex 399)        Confusing The Issues, Wasting Time,    Plaintiffs withdraw the exhibit,
        (UCP000903)                      Or Needlessly Presenting Cumulative    ASIC’s response is as follows:
                                         Evidence, Depending On Purpose For     F.R.E. 401 – Objection is
                                         Which Evidence Is Proffered At Trial   conditional, and therefore not
                                         (F.R.E. 403).                          binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
Error! Unknown document                                        469
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 295 07/17/14 Email from Stephen         Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       Smith to Mark Binke and Randi       which the evidence is proffered at trial   and, therefore, exhibit should be
       Richmond (Richmond Depo Ex          (F.R.E. 401); Probative value is           admitted as agreed. Should
       400) (UCP_003467)                   substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                           confusing the issues, wasting time, or     ASIC’s response is as follows:
                                           needlessly presenting cumulative           F.R.E. 401 – Objection is
                                           evidence, depending on purpose for         conditional, and therefore not
                                           which evidence is proffered at trial       binding as to general admissibility.
                                           (F.R.E. 403).                              Objection also fails to state why or
                                                                                      in what context exhibit is
                                                                                      irrelevant. Furthermore, exhibit is
                                                                                      relevant to establish state of mind
                                                                                      of all parties involved at time of
                                                                                      claim (NBC, ASIC, Aon, etc.).


                                                                                      F.R.E. 403 – Objection is
                                                                                      conditional, and therefore not
                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why
                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
  Error! Unknown document                                           470
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       outweighs its probative value; or
                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 296 07/21/14 Email string between        Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       Stephen Smith and Randi              which the evidence is proffered at trial   and, therefore, exhibit should be
       Richmond (Richmond Depo Ex           (F.R.E. 401); Probative value is           admitted as agreed. Should
       401) (UCP001606)                     substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                            confusing the issues, wasting time, or     ASIC’s response is as follows:
                                            needlessly presenting cumulative           F.R.E. 401 – Objection is
                                            evidence, depending on purpose for         conditional, and therefore not
                                            which evidence is proffered at trial       binding as to general admissibility.
                                            (F.R.E. 403).                              Objection also fails to state why or
                                                                                       in what context exhibit is
                                                                                       irrelevant. Furthermore, exhibit is
                                                                                       relevant to establish state of mind
                                                                                       of all parties involved at time of
                                                                                       claim (NBC, ASIC, Aon, etc.).
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   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
                                                                                       Objection also fails to state why
                                                                                       exhibit is unfairly prejudicial; or
                                                                                       why such alleged unfair prejudice
                                                                                       outweighs its probative value; or
                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 297 07/24/14 Email string between        Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       Mark Binke and Stephen Smith         which the evidence is proffered at trial   and, therefore, exhibit should be
       (Richmond Depo Ex 402)               (F.R.E. 401); Probative value is           admitted as agreed. Should
       (UCP002403-2404)                     substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                            confusing the issues, wasting time, or     ASIC’s response is as follows:
                                            needlessly presenting cumulative           F.R.E. 401 – Objection is
                                            evidence, depending on purpose for         conditional, and therefore not
   Error! Unknown document                                           472
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         which evidence is proffered at trial   binding as to general admissibility.
                                         (F.R.E. 403).                          Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.


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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 298 07/25/14 Email from BJ               Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       Markus to Andrea Garber, et al       which the evidence is proffered at trial   and, therefore, exhibit should be
       (Richmond Depo Ex 403)               (F.R.E. 401); Probative value is           admitted as agreed. Should
       (UCP000880)                          substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                            confusing the issues, wasting time, or     ASIC’s response is as follows:
                                            needlessly presenting cumulative           F.R.E. 401 – Objection is
                                            evidence, depending on purpose for         conditional, and therefore not
                                            which evidence is proffered at trial       binding as to general admissibility.
                                            (F.R.E. 403).                              Objection also fails to state why or
                                                                                       in what context exhibit is
                                                                                       irrelevant. Furthermore, exhibit is
                                                                                       relevant to establish state of mind
                                                                                       of all parties involved at time of
                                                                                       claim (NBC, ASIC, Aon, etc.).


                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
                                                                                       Objection also fails to state why
                                                                                       exhibit is unfairly prejudicial; or
                                                                                       why such alleged unfair prejudice
                                                                                       outweighs its probative value; or
                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
   Error! Unknown document                                           474
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 299 08/01/14 Email from Stephen         Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       Smith to Mark Binke                 which the evidence is proffered at trial   and, therefore, exhibit should be
       (Richmond Depo Ex 404)              (F.R.E. 401); Probative value is           admitted as agreed. Should
       (UCP_003544)                        substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                           confusing the issues, wasting time, or     ASIC’s response is as follows:
                                           needlessly presenting cumulative           F.R.E. 401 – Objection is
                                           evidence, depending on purpose for         conditional, and therefore not
                                           which evidence is proffered at trial       binding as to general admissibility.
                                           (F.R.E. 403).                              Objection also fails to state why or
                                                                                      in what context exhibit is
                                                                                      irrelevant. Furthermore, exhibit is
                                                                                      relevant to establish state of mind
                                                                                      of all parties involved at time of
                                                                                      claim (NBC, ASIC, Aon, etc.).


                                                                                      F.R.E. 403 – Objection is
                                                                                      conditional, and therefore not
                                                                                      binding as to general admissibility.
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  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       Objection also fails to state why
                                                                                       exhibit is unfairly prejudicial; or
                                                                                       why such alleged unfair prejudice
                                                                                       outweighs its probative value; or
                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 300 08/05/14 Email string between        Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       Mark Binke and Stephen Smith         which the evidence is proffered at trial   and, therefore, exhibit should be
       (Richmond Depo Ex 405)               (F.R.E. 401); Probative value is           admitted as agreed. Should
       (UCP_003620-3621)                    substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                            confusing the issues, wasting time, or     ASIC’s response is as follows:
                                            needlessly presenting cumulative           F.R.E. 401 – Objection is
                                            evidence, depending on purpose for         conditional, and therefore not
                                            which evidence is proffered at trial       binding as to general admissibility.
                                            (F.R.E. 403).                              Objection also fails to state why or
                                                                                       in what context exhibit is
                                                                                       irrelevant. Furthermore, exhibit is
   Error! Unknown document                                           476
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       relevant to establish state of mind
                                                                                       of all parties involved at time of
                                                                                       claim (NBC, ASIC, Aon, etc.).


                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
                                                                                       Objection also fails to state why
                                                                                       exhibit is unfairly prejudicial; or
                                                                                       why such alleged unfair prejudice
                                                                                       outweighs its probative value; or
                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 301 07/17/14 Email string between        Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       Jay Footlik and Mark Binke, et       which the evidence is proffered at trial   and, therefore, exhibit should be
                                            (F.R.E. 401); Probative value is           admitted as agreed. Should
                                            substantially outweighed by risk of
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   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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        al (Richmond Depo Ex 406)        confusing the issues, wasting time, or   Plaintiffs withdraw the exhibit,
        (UCP000912)                      needlessly presenting cumulative         ASIC’s response is as follows:
                                         evidence, depending on purpose for       F.R.E. 401 – Objection is
                                         which evidence is proffered at trial     conditional, and therefore not
                                         (F.R.E. 403).                            binding as to general admissibility.
                                                                                  Objection also fails to state why or
                                                                                  in what context exhibit is
                                                                                  irrelevant. Furthermore, exhibit is
                                                                                  relevant to establish state of mind
                                                                                  of all parties involved at time of
                                                                                  claim (NBC, ASIC, Aon, etc.).


                                                                                  F.R.E. 403 – Objection is
                                                                                  conditional, and therefore not
                                                                                  binding as to general admissibility.
                                                                                  Objection also fails to state why
                                                                                  exhibit is unfairly prejudicial; or
                                                                                  why such alleged unfair prejudice
                                                                                  outweighs its probative value; or
                                                                                  why exhibit confuses the issue,
                                                                                  misleads the jury, wastes time, or
                                                                                  is cumulative. Furthermore, high
                                                                                  probative value re: state of mind of
                                                                                  all parties involved at the time of
                                                                                  the claim. Finally, jury is entitled
                                                                                  to know what information NBC,
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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 302 07/08/14 Email string between        Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       Erin Noordeloos and Mark             which the evidence is proffered at trial   and, therefore, exhibit should be
       Binke (Binke Depo Ex 408)            (F.R.E. 401); Probative value is           admitted as agreed. Should
       (UCP000485)                          substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                            confusing the issues, wasting time, or     ASIC’s response is as follows:
                                            needlessly presenting cumulative           F.R.E. 401 – Objection is
                                            evidence, depending on purpose for         conditional, and therefore not
                                            which evidence is proffered at trial       binding as to general admissibility.
                                            (F.R.E. 403).                              Objection also fails to state why or
                                                                                       in what context exhibit is
                                                                                       irrelevant. Furthermore, exhibit is
                                                                                       relevant to establish state of mind
                                                                                       of all parties involved at time of
                                                                                       claim (NBC, ASIC, Aon, etc.).


                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
                                                                                       Objection also fails to state why
                                                                                       exhibit is unfairly prejudicial; or
                                                                                       why such alleged unfair prejudice
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   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 303 07/17/14 Email from Tom             Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       McCarthy to Mark Binke              which the evidence is proffered at trial   and, therefore, exhibit should be
       (Binke Depo Ex 409)                 (F.R.E. 401); Probative value is           admitted as agreed. Should
       (UCP000503)                         substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                           confusing the issues, wasting time, or     ASIC’s response is as follows:
                                           needlessly presenting cumulative           F.R.E. 401 – Objection is
                                           evidence, depending on purpose for         conditional, and therefore not
                                           which evidence is proffered at trial       binding as to general admissibility.
                                           (F.R.E. 403).                              Objection also fails to state why or
                                                                                      in what context exhibit is
                                                                                      irrelevant. Furthermore, exhibit is
                                                                                      relevant to establish state of mind
                                                                                      of all parties involved at time of
                                                                                      claim (NBC, ASIC, Aon, etc.).
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  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      F.R.E. 403 – Objection is
                                                                                      conditional, and therefore not
                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why
                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 304 12/10/13 Email from Erin            Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       Noordeloos to Tom McCarthy,         which the evidence is proffered at trial   and, therefore, exhibit should be
       with attachment (UCP_003907-        (F.R.E. 401); Probative value is           admitted as agreed. Should
       3914) (McCarthy Depo 455)           substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                           confusing the issues, wasting time, or     ASIC’s response is as follows:
                                           needlessly presenting cumulative           F.R.E. 401 – Objection is
                                           evidence, depending on purpose for         conditional, and therefore not
  Error! Unknown document                                           481
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                         AS OF JANUARY 14, 2020
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                                         which evidence is proffered at trial   binding as to general admissibility.
                                         (F.R.E. 403).                          Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.


Error! Unknown document                                          482
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 305 06/16/14 Email from Erin            Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       Noordeloos to Tom McCarthy          which the evidence is proffered at trial   and, therefore, exhibit should be
       (UCP_003970) (McCarthy              (F.R.E. 401); Probative value is           admitted as agreed. Should
       Depo 456)                           substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                           confusing the issues, wasting time, or     ASIC’s response is as follows:
                                           needlessly presenting cumulative           F.R.E. 401 – Objection is
                                           evidence, depending on purpose for         conditional, and therefore not
                                           which evidence is proffered at trial       binding as to general admissibility.
                                           (F.R.E. 403).                              Objection also fails to state why or
                                                                                      in what context exhibit is
                                                                                      irrelevant. Furthermore, exhibit is
                                                                                      relevant to establish state of mind
                                                                                      of all parties involved at time of
                                                                                      claim (NBC, ASIC, Aon, etc.).


                                                                                      F.R.E. 403 – Objection is
                                                                                      conditional, and therefore not
                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why
                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
  Error! Unknown document                                           483
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 306 07/02/14 Email from Tom             Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       McCarthy to John Wallace            which the evidence is proffered at trial   and, therefore, exhibit should be
       (UCP_004047) (McCarthy              (F.R.E. 401); Probative value is           admitted as agreed. Should
       Depo 457)                           substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                           confusing the issues, wasting time, or     ASIC’s response is as follows:
                                           needlessly presenting cumulative           F.R.E. 401 – Objection is
                                           evidence, depending on purpose for         conditional, and therefore not
                                           which evidence is proffered at trial       binding as to general admissibility.
                                           (F.R.E. 403).                              Objection also fails to state why or
                                                                                      in what context exhibit is
                                                                                      irrelevant. Furthermore, exhibit is
                                                                                      relevant to establish state of mind
                                                                                      of all parties involved at time of
                                                                                      claim (NBC, ASIC, Aon, etc.).


                                                                                      F.R.E. 403 – Objection is
                                                                                      conditional, and therefore not
                                                                                      binding as to general admissibility.
  Error! Unknown document                                          484
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      Objection also fails to state why
                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 307 07/02/14 Email from Erin            Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       Noordeloos to Tom McCarthy          which the evidence is proffered at trial   and, therefore, exhibit should be
       (UCP_003920) (McCarthy              (F.R.E. 401); Probative value is           admitted as agreed. Should
       Depo 458)                           substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                           confusing the issues, wasting time, or     ASIC’s response is as follows:
                                           needlessly presenting cumulative           F.R.E. 401 – Objection is
                                           evidence, depending on purpose for         conditional, and therefore not
                                           which evidence is proffered at trial       binding as to general admissibility.
                                           (F.R.E. 403).                              Objection also fails to state why or
                                                                                      in what context exhibit is
                                                                                      irrelevant. Furthermore, exhibit is
  Error! Unknown document                                           485
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      relevant to establish state of mind
                                                                                      of all parties involved at time of
                                                                                      claim (NBC, ASIC, Aon, etc.).


                                                                                      F.R.E. 403 – Objection is
                                                                                      conditional, and therefore not
                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why
                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 308 07/03/14 Email from Erin            Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       Noordeloos to Tom McCarthy          which the evidence is proffered at trial   and, therefore, exhibit should be
                                           (F.R.E. 401); Probative value is           admitted as agreed. Should
                                           substantially outweighed by risk of
  Error! Unknown document                                          486
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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        (UCP_003978) (McCarthy           confusing the issues, wasting time, or   Plaintiffs withdraw the exhibit,
        Depo 459)                        needlessly presenting cumulative         ASIC’s response is as follows:
                                         evidence, depending on purpose for       F.R.E. 401 – Objection is
                                         which evidence is proffered at trial     conditional, and therefore not
                                         (F.R.E. 403).                            binding as to general admissibility.
                                                                                  Objection also fails to state why or
                                                                                  in what context exhibit is
                                                                                  irrelevant. Furthermore, exhibit is
                                                                                  relevant to establish state of mind
                                                                                  of all parties involved at time of
                                                                                  claim (NBC, ASIC, Aon, etc.).


                                                                                  F.R.E. 403 – Objection is
                                                                                  conditional, and therefore not
                                                                                  binding as to general admissibility.
                                                                                  Objection also fails to state why
                                                                                  exhibit is unfairly prejudicial; or
                                                                                  why such alleged unfair prejudice
                                                                                  outweighs its probative value; or
                                                                                  why exhibit confuses the issue,
                                                                                  misleads the jury, wastes time, or
                                                                                  is cumulative. Furthermore, high
                                                                                  probative value re: state of mind of
                                                                                  all parties involved at the time of
                                                                                  the claim. Finally, jury is entitled
                                                                                  to know what information NBC,
Error! Unknown document                                          487
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.
DX 309 07/04-05 Email string between        Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       Erin Noordeloos and Stephen          which the evidence is proffered at trial   and, therefore, exhibit should be
       Smith (UCP_003921)                   (F.R.E. 401); Probative value is           admitted as agreed. Should
       (McCarthy Depo 460)                  substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                            confusing the issues, wasting time, or     ASIC’s response is as follows:
                                            needlessly presenting cumulative           F.R.E. 401 – Objection is
                                            evidence, depending on purpose for         conditional, and therefore not
                                            which evidence is proffered at trial       binding as to general admissibility.
                                            (F.R.E. 403).                              Objection also fails to state why or
                                                                                       in what context exhibit is
                                                                                       irrelevant. Furthermore, exhibit is
                                                                                       relevant to establish state of mind
                                                                                       of all parties involved at time of
                                                                                       claim (NBC, ASIC, Aon, etc.).


                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
                                                                                       Objection also fails to state why
                                                                                       exhibit is unfairly prejudicial; or
                                                                                       why such alleged unfair prejudice
                                                                                       outweighs its probative value; or
   Error! Unknown document                                           488
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 310 07/04-06/14 Email string            Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       between Stephen Smith and           which the evidence is proffered at trial   and, therefore, exhibit should be
       Tom McCarthy, et al                 (F.R.E. 401); Probative value is           admitted as agreed. Should
       (UCP_003961-3962)                   substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
       (McCarthy Depo 461)                 confusing the issues, wasting time, or     ASIC’s response is as follows:
                                           needlessly presenting cumulative           F.R.E. 401 – Objection is
                                           evidence, depending on purpose for         conditional, and therefore not
                                           which evidence is proffered at trial       binding as to general admissibility.
                                           (F.R.E. 403).                              Objection also fails to state why or
                                                                                      in what context exhibit is
                                                                                      irrelevant. Furthermore, exhibit is
                                                                                      relevant to establish state of mind
                                                                                      of all parties involved at time of
                                                                                      claim (NBC, ASIC, Aon, etc.).

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  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      F.R.E. 403 – Objection is
                                                                                      conditional, and therefore not
                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why
                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 311 07/08/14 Email string between       Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       Stephen Smith and Mark Binke,       which the evidence is proffered at trial   and, therefore, exhibit should be
       et al (UCP000613-614)               (F.R.E. 401); Probative value is           admitted as agreed. Should
       (McCarthy Depo 462)                 substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                           confusing the issues, wasting time, or     ASIC’s response is as follows:
                                           needlessly presenting cumulative           F.R.E. 401 – Objection is
                                           evidence, depending on purpose for         conditional, and therefore not
  Error! Unknown document                                           490
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         which evidence is proffered at trial   binding as to general admissibility.
                                         (F.R.E. 403).                          Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.


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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 312 07/08-09/14 Email string            Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       between Erin Noordeloos and         which the evidence is proffered at trial   and, therefore, exhibit should be
       Tom McCarthy, et al                 (F.R.E. 401); Probative value is           admitted as agreed. Should
       (UCP_003949-3950)                   substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
       (McCarthy Depo 463)                 confusing the issues, wasting time, or     ASIC’s response is as follows:
                                           needlessly presenting cumulative           F.R.E. 401 – Objection is
                                           evidence, depending on purpose for         conditional, and therefore not
                                           which evidence is proffered at trial       binding as to general admissibility.
                                           (F.R.E. 403).                              Objection also fails to state why or
                                                                                      in what context exhibit is
                                                                                      irrelevant. Furthermore, exhibit is
                                                                                      relevant to establish state of mind
                                                                                      of all parties involved at time of
                                                                                      claim (NBC, ASIC, Aon, etc.).


                                                                                      F.R.E. 403 – Objection is
                                                                                      conditional, and therefore not
                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why
                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
  Error! Unknown document                                           492
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 313 07/09/14 Email string between        Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       Donald Barclay and Patti             which the evidence is proffered at trial   and, therefore, exhibit should be
       McConnell, et al                     (F.R.E. 401); Probative value is           admitted as agreed. Should
       (UCP_004022-4023)                    substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
       (McCarthy Depo 464)                  confusing the issues, wasting time, or     ASIC’s response is as follows:
                                            needlessly presenting cumulative           F.R.E. 401 – Objection is
                                            evidence, depending on purpose for         conditional, and therefore not
                                            which evidence is proffered at trial       binding as to general admissibility.
                                            (F.R.E. 403).                              Objection also fails to state why or
                                                                                       in what context exhibit is
                                                                                       irrelevant. Furthermore, exhibit is
                                                                                       relevant to establish state of mind
                                                                                       of all parties involved at time of
                                                                                       claim (NBC, ASIC, Aon, etc.).


                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
   Error! Unknown document                                           493
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       Objection also fails to state why
                                                                                       exhibit is unfairly prejudicial; or
                                                                                       why such alleged unfair prejudice
                                                                                       outweighs its probative value; or
                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 314 07/10/14 Email string between        Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       Erin Noordeloos and Tom              which the evidence is proffered at trial   and, therefore, exhibit should be
       McCarthy, et al (UCP_004016-         (F.R.E. 401); Probative value is           admitted as agreed. Should
       4017) (McCarthy Depo 465)            substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                            confusing the issues, wasting time, or     ASIC’s response is as follows:
                                            needlessly presenting cumulative           F.R.E. 401 – Objection is
                                            evidence, depending on purpose for         conditional, and therefore not
                                            which evidence is proffered at trial       binding as to general admissibility.
                                            (F.R.E. 403).                              Objection also fails to state why or
                                                                                       in what context exhibit is
                                                                                       irrelevant. Furthermore, exhibit is
   Error! Unknown document                                           494
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       relevant to establish state of mind
                                                                                       of all parties involved at time of
                                                                                       claim (NBC, ASIC, Aon, etc.).


                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
                                                                                       Objection also fails to state why
                                                                                       exhibit is unfairly prejudicial; or
                                                                                       why such alleged unfair prejudice
                                                                                       outweighs its probative value; or
                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 315 07/10/14 Email string between        Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       Tom McCarthy and Erin                which the evidence is proffered at trial   and, therefore, exhibit should be
       Noordeloos, et al                    (F.R.E. 401); Probative value is           admitted as agreed. Should
       (UCP_004044-4046)                    substantially outweighed by risk of
   Error! Unknown document                                          495
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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        (McCarthy Depo 455)              confusing the issues, wasting time, or   Plaintiffs withdraw the exhibit,
        (McCarthy Depo 466)              needlessly presenting cumulative         ASIC’s response is as follows:
                                         evidence, depending on purpose for       F.R.E. 401 – Objection is
                                         which evidence is proffered at trial     conditional, and therefore not
                                         (F.R.E. 403).                            binding as to general admissibility.
                                                                                  Objection also fails to state why or
                                                                                  in what context exhibit is
                                                                                  irrelevant. Furthermore, exhibit is
                                                                                  relevant to establish state of mind
                                                                                  of all parties involved at time of
                                                                                  claim (NBC, ASIC, Aon, etc.).


                                                                                  F.R.E. 403 – Objection is
                                                                                  conditional, and therefore not
                                                                                  binding as to general admissibility.
                                                                                  Objection also fails to state why
                                                                                  exhibit is unfairly prejudicial; or
                                                                                  why such alleged unfair prejudice
                                                                                  outweighs its probative value; or
                                                                                  why exhibit confuses the issue,
                                                                                  misleads the jury, wastes time, or
                                                                                  is cumulative. Furthermore, high
                                                                                  probative value re: state of mind of
                                                                                  all parties involved at the time of
                                                                                  the claim. Finally, jury is entitled
                                                                                  to know what information NBC,
Error! Unknown document                                          496
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 316 07/10/14 Email from Brian            Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       Brady to Kurt Ford                   which the evidence is proffered at trial   and, therefore, exhibit should be
       (UCP_003291) (McCarthy               (F.R.E. 401); Probative value is           admitted as agreed. Should
       Depo 467)                            substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                            confusing the issues, wasting time, or     ASIC’s response is as follows:
                                            needlessly presenting cumulative           F.R.E. 401 – Objection is
                                            evidence, depending on purpose for         conditional, and therefore not
                                            which evidence is proffered at trial       binding as to general admissibility.
                                            (F.R.E. 403).                              Objection also fails to state why or
                                                                                       in what context exhibit is
                                                                                       irrelevant. Furthermore, exhibit is
                                                                                       relevant to establish state of mind
                                                                                       of all parties involved at time of
                                                                                       claim (NBC, ASIC, Aon, etc.).


                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
                                                                                       Objection also fails to state why
                                                                                       exhibit is unfairly prejudicial; or
                                                                                       why such alleged unfair prejudice
   Error! Unknown document                                           497
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       outweighs its probative value; or
                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 317 07/10/14 Email string between        Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       Tom McCarthy and Michael             which the evidence is proffered at trial   and, therefore, exhibit should be
       Moore, et al (UCP_004041-            (F.R.E. 401); Probative value is           admitted as agreed. Should
       4043) (McCarthy Depo 468)            substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                            confusing the issues, wasting time, or     ASIC’s response is as follows:
                                            needlessly presenting cumulative           F.R.E. 401 – Objection is
                                            evidence, depending on purpose for         conditional, and therefore not
                                            which evidence is proffered at trial       binding as to general admissibility.
                                            (F.R.E. 403).                              Objection also fails to state why or
                                                                                       in what context exhibit is
                                                                                       irrelevant. Furthermore, exhibit is
                                                                                       relevant to establish state of mind
                                                                                       of all parties involved at time of
                                                                                       claim (NBC, ASIC, Aon, etc.).
   Error! Unknown document                                           498
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      F.R.E. 403 – Objection is
                                                                                      conditional, and therefore not
                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why
                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 318 07/10/14 Email string between        Depending on which portion of the         Plaintiff has listed exhibit on its list
       Tom McCarthy                         document is used, if offered to prove     and, therefore, exhibit should be
       lon@augustenborg.com                 the truth thereof, inadmissible hearsay   admitted as agreed. Should
       (UCP_004039-4040)                    and no exception is applicable (F.R.E.    Plaintiffs withdraw the exhibit,
       (McCarthy Depo 469)                  801, 802); Relevance, depending on        ASIC’s response is as follows:
                                            purpose for which the evidence is         F.R.E. 801/802 – (1) Plaintiff fails
                                            proffered at trial (F.R.E. 401);          to state what portion of exhibit is
   Error! Unknown document                                          499
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         Probative value is substantially        hearsay; (2) document contains no
                                         outweighed by risk of confusing the     out of court statements offered for
                                         issues, undue delay, wasting time, or   the truth of the matter asserted; (3)
                                         needlessly presenting cumulative        statements made by party-
                                         evidence, depending on purpose for      opponent, NBC, and agents
                                         which evidence is proffered at trial    affiliated with NBC; (4) non-NBC
                                         (F.R.E. 403).                           statements are all adopted by NBC;
                                                                                 (5) statements not offered for the
                                                                                 truth, but rather to show
                                                                                 information acted upon/state of
                                                                                 mind of witnesses.


                                                                                 F.R.E. 401 – Objection is
                                                                                 conditional, and therefore not
                                                                                 binding as to general admissibility.
                                                                                 Objection also fails to state why or
                                                                                 in what context exhibit is
                                                                                 irrelevant. Furthermore, exhibit is
                                                                                 relevant to establish state of mind
                                                                                 of all parties involved at time of
                                                                                 claim (NBC, ASIC, Aon, etc.).


                                                                                 F.R.E. 403 – Objection is
                                                                                 conditional, and therefore not
                                                                                 binding as to general admissibility.
                                                                                 Objection also fails to state why
Error! Unknown document                                          500
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       exhibit is unfairly prejudicial; or
                                                                                       why such alleged unfair prejudice
                                                                                       outweighs its probative value; or
                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 319 07/10/14 Email string between        Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       Erin Noordeloos and Tom              which the evidence is proffered at trial   and, therefore, exhibit should be
       McCarthy, et al (UCP_003938-         (F.R.E. 401); Probative value is           admitted as agreed. Should
       3940) (McCarthy Depo 470)            substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                            confusing the issues, wasting time, or     ASIC’s response is as follows:
                                            needlessly presenting cumulative           F.R.E. 401 – Objection is
                                            evidence, depending on purpose for         conditional, and therefore not
                                            which evidence is proffered at trial       binding as to general admissibility.
                                            (F.R.E. 403).                              Objection also fails to state why or
                                                                                       in what context exhibit is
                                                                                       irrelevant. Furthermore, exhibit is
                                                                                       relevant to establish state of mind
   Error! Unknown document                                           501
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       of all parties involved at time of
                                                                                       claim (NBC, ASIC, Aon, etc.).


                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
                                                                                       Objection also fails to state why
                                                                                       exhibit is unfairly prejudicial; or
                                                                                       why such alleged unfair prejudice
                                                                                       outweighs its probative value; or
                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 320 07/11/14 Email string between        Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       Tom McCarthy and Andrew              which the evidence is proffered at trial   and, therefore, exhibit should be
       Jordan, et al (UCP_003991-           (F.R.E. 401); Probative value is           admitted as agreed. Should
       3993) (McCarthy Depo 471)            substantially outweighed by risk of
                                            confusing the issues, wasting time, or
   Error! Unknown document                                          502
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         needlessly presenting cumulative       Plaintiffs withdraw the exhibit,
                                         evidence, depending on purpose for     ASIC’s response is as follows:
                                         which evidence is proffered at trial   F.R.E. 401 – Objection is
                                         (F.R.E. 403).                          conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
Error! Unknown document                                          503
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.
DX 321 07/15-16/14 Email string            Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       between Erin Noordeloos and         which the evidence is proffered at trial   and, therefore, exhibit should be
       Tom McCarthy (UCP_003980-           (F.R.E. 401); Probative value is           admitted as agreed. Should
       3982) (McCarthy Depo 472)           substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                           confusing the issues, wasting time, or     ASIC’s response is as follows:
                                           needlessly presenting cumulative           F.R.E. 401 – Objection is
                                           evidence, depending on purpose for         conditional, and therefore not
                                           which evidence is proffered at trial       binding as to general admissibility.
                                           (F.R.E. 403).                              Objection also fails to state why or
                                                                                      in what context exhibit is
                                                                                      irrelevant. Furthermore, exhibit is
                                                                                      relevant to establish state of mind
                                                                                      of all parties involved at time of
                                                                                      claim (NBC, ASIC, Aon, etc.).


                                                                                      F.R.E. 403 – Objection is
                                                                                      conditional, and therefore not
                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why
                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
  Error! Unknown document                                           504
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 322 07/22/14 Email string between        Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       Tom McCarthy and Stephen             which the evidence is proffered at trial   and, therefore, exhibit should be
       Smith, et al (UCP_003987)            (F.R.E. 401); Probative value is           admitted as agreed. Should
       (McCarthy Depo 473)                  substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                            confusing the issues, wasting time, or     ASIC’s response is as follows:
                                            needlessly presenting cumulative           F.R.E. 401 – Objection is
                                            evidence, depending on purpose for         conditional, and therefore not
                                            which evidence is proffered at trial       binding as to general admissibility.
                                            (F.R.E. 403).                              Objection also fails to state why or
                                                                                       in what context exhibit is
                                                                                       irrelevant. Furthermore, exhibit is
                                                                                       relevant to establish state of mind
                                                                                       of all parties involved at time of
                                                                                       claim (NBC, ASIC, Aon, etc.).

   Error! Unknown document                                           505
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                    F.R.E. 403 – Objection is
                                                                                    conditional, and therefore not
                                                                                    binding as to general admissibility.
                                                                                    Objection also fails to state why
                                                                                    exhibit is unfairly prejudicial; or
                                                                                    why such alleged unfair prejudice
                                                                                    outweighs its probative value; or
                                                                                    why exhibit confuses the issue,
                                                                                    misleads the jury, wastes time, or
                                                                                    is cumulative. Furthermore, high
                                                                                    probative value re: state of mind of
                                                                                    all parties involved at the time of
                                                                                    the claim. Finally, jury is entitled
                                                                                    to know what information NBC,
                                                                                    ASIC, and other parties had at time
                                                                                    of the facts giving rise to Plaintiffs’
                                                                                    claims.


DX 323 Email from Sean Duffy to            If offered to prove the truth thereof,   Plaintiff has listed exhibit on its list
       Theresa Gooley (Duffy Depo          inadmissible hearsay and no exception    and, therefore, exhibit should be
       Ex 10) (ATL 1800 – 1801)            is applicable (F.R.E. 801, 802).         admitted as agreed. Should
                                                                                    Plaintiffs withdraw the exhibit,
                                                                                    ASIC’s response is as follows:
                                                                                    F.R.E. 801/802 – (1) Plaintiff fails
                                                                                    to state what portion of exhibit is
  Error! Unknown document                                         506
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                hearsay; (2) statements not offered
                                                                                for the truth, but rather to show
                                                                                information acted upon/state of
                                                                                mind of parties or individuals
                                                                                identified in exhibits; (3) all
                                                                                communications of OneBeacon are
                                                                                records made at or near to the time
                                                                                of the events or conditions at issue
                                                                                in this case by persons with
                                                                                knowledge of those events or
                                                                                conditions; these communications
                                                                                are also made and kept in the
                                                                                regular course of business and,
                                                                                therefore, are an exception to
                                                                                hearsay under F.R.E. 803(6).
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).



Error! Unknown document                                        507
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                   F.R.E. 403 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why
                                                                                   exhibit is unfairly prejudicial; or
                                                                                   why such alleged unfair prejudice
                                                                                   outweighs its probative value; or
                                                                                   why exhibit confuses the issue,
                                                                                   misleads the jury, wastes time, or
                                                                                   is cumulative. Furthermore, high
                                                                                   probative value re: state of mind of
                                                                                   all parties involved at the time of
                                                                                   the claim. Finally, jury is entitled
                                                                                   to know what information NBC,
                                                                                   ASIC, and other parties had at time
                                                                                   of the facts giving rise to Plaintiffs’
                                                                                   claims.
DX 324 Email from Theresa Gooley to  If offered to prove the truth thereof,        Plaintiff has listed exhibit on its list
       Sean Duffy (Duffy Depo Ex 11) inadmissible hearsay and no exception         and, therefore, exhibit should be
       (ATL 1826 – 1827)             is applicable (F.R.E. 801, 802).              admitted as agreed. Should
                                                                                   Plaintiffs withdraw the exhibit,
                                                                                   ASIC’s response is as follows:
                                                                                   F.R.E. 801/802 – (1) Plaintiff fails
                                                                                   to state what portion of exhibit is
                                                                                   hearsay; (2) statements not offered
                                                                                   for the truth, but rather to show
   Error! Unknown document                                        508
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                information acted upon/state of
                                                                                mind of parties or individuals
                                                                                identified in exhibits; (3) all
                                                                                communications of OneBeacon are
                                                                                records made at or near to the time
                                                                                of the events or conditions at issue
                                                                                in this case by persons with
                                                                                knowledge of those events or
                                                                                conditions; these communications
                                                                                are also made and kept in the
                                                                                regular course of business and,
                                                                                therefore, are an exception to
                                                                                hearsay under F.R.E. 803(6).
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
Error! Unknown document                                        509
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                    Objection also fails to state why
                                                                                    exhibit is unfairly prejudicial; or
                                                                                    why such alleged unfair prejudice
                                                                                    outweighs its probative value; or
                                                                                    why exhibit confuses the issue,
                                                                                    misleads the jury, wastes time, or
                                                                                    is cumulative. Furthermore, high
                                                                                    probative value re: state of mind of
                                                                                    all parties involved at the time of
                                                                                    the claim. Finally, jury is entitled
                                                                                    to know what information NBC,
                                                                                    ASIC, and other parties had at time
                                                                                    of the facts giving rise to Plaintiffs’
                                                                                    claims.
DX 325 Email from Peter Williams to        If offered to prove the truth thereof,   Plaintiff has listed exhibit on its list
       Dennis Crosby (Duffy Depo Ex        inadmissible hearsay and no exception    and, therefore, exhibit should be
       12) (ATL 1832 – 1834)               is applicable (F.R.E. 801, 802).         admitted as agreed. Should
                                                                                    Plaintiffs withdraw the exhibit,
                                                                                    ASIC’s response is as follows:
                                                                                    F.R.E. 801/802 – (1) Plaintiff fails
                                                                                    to state what portion of exhibit is
                                                                                    hearsay; (2) statements not offered
                                                                                    for the truth, but rather to show
                                                                                    information acted upon/state of
                                                                                    mind of parties or individuals
                                                                                    identified in exhibits; (3) all
  Error! Unknown document                                         510
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                communications of OneBeacon are
                                                                                records made at or near to the time
                                                                                of the events or conditions at issue
                                                                                in this case by persons with
                                                                                knowledge of those events or
                                                                                conditions; these communications
                                                                                are also made and kept in the
                                                                                regular course of business and,
                                                                                therefore, are an exception to
                                                                                hearsay under F.R.E. 803(6).
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
Error! Unknown document                                        511
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                    outweighs its probative value; or
                                                                                    why exhibit confuses the issue,
                                                                                    misleads the jury, wastes time, or
                                                                                    is cumulative. Furthermore, high
                                                                                    probative value re: state of mind of
                                                                                    all parties involved at the time of
                                                                                    the claim. Finally, jury is entitled
                                                                                    to know what information NBC,
                                                                                    ASIC, and other parties had at time
                                                                                    of the facts giving rise to Plaintiffs’
                                                                                    claims.


DX 326 Email from Sean Duffy to            If offered to prove the truth thereof,   Plaintiff has listed exhibit on its list
       Theresa Gooley (Duffy Depo          inadmissible hearsay and no exception    and, therefore, exhibit should be
       Ex 13) (ATL 1835 – 1836)            is applicable (F.R.E. 801, 802).         admitted as agreed. Should
                                                                                    Plaintiffs withdraw the exhibit,
                                                                                    ASIC’s response is as follows:
                                                                                    F.R.E. 801/802 – (1) Plaintiff fails
                                                                                    to state what portion of exhibit is
                                                                                    hearsay; (2) statements not offered
                                                                                    for the truth, but rather to show
                                                                                    information acted upon/state of
                                                                                    mind of parties or individuals
                                                                                    identified in exhibits; (3) all
                                                                                    communications of OneBeacon are
                                                                                    records made at or near to the time
  Error! Unknown document                                         512
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                of the events or conditions at issue
                                                                                in this case by persons with
                                                                                knowledge of those events or
                                                                                conditions; these communications
                                                                                are also made and kept in the
                                                                                regular course of business and,
                                                                                therefore, are an exception to
                                                                                hearsay under F.R.E. 803(6).
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
Error! Unknown document                                        513
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.
DX 327 July 28, 2014 Denial Letter          If offered to prove the truth thereof,   Plaintiff has listed exhibit on its list
       (Stone Depo Ex 4) (ATL               inadmissible hearsay and no exception    and, therefore, exhibit should be
       000094 – ATL 000101)                 is applicable (F.R.E. 801, 802).         admitted as agreed. Should
                                                                                     Plaintiffs withdraw the exhibit,
                                                                                     ASIC’s response is as follows:
                                                                                     F.R.E. 801/802 – (1) Plaintiff fails
                                                                                     to state what portion of exhibit is
                                                                                     hearsay; (2) statements not offered
                                                                                     for the truth, but rather to show
                                                                                     information acted upon/state of
                                                                                     mind of parties or individuals
                                                                                     identified in exhibits; (3) all
                                                                                     communications of OneBeacon are
                                                                                     records made at or near to the time
                                                                                     of the events or conditions at issue
                                                                                     in this case by persons with
                                                                                     knowledge of those events or
   Error! Unknown document                                         514
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                   conditions; these communications
                                                                                   are also made and kept in the
                                                                                   regular course of business and,
                                                                                   therefore, are an exception to
                                                                                   hearsay under F.R.E. 803(6).



DX 328 Typewritten Notes (Stone Depo If offered to prove the truth thereof,        Plaintiff has listed exhibit on its list
       Ex 11) (ATL 000733-000734)    inadmissible hearsay and no exception         and, therefore, exhibit should be
                                     is applicable (F.R.E. 801, 802).              admitted as agreed. Should
                                                                                   Plaintiffs withdraw the exhibit,
                                                                                   ASIC’s response is as follows:
                                                                                   F.R.E. 801/802 – (1) Plaintiff fails
                                                                                   to state what portion of exhibit is
                                                                                   hearsay; (2) statements not offered
                                                                                   for the truth, but rather to show
                                                                                   information acted upon/state of
                                                                                   mind of parties or individuals
                                                                                   identified in exhibits; (3) all
                                                                                   communications of OneBeacon are
                                                                                   records made at or near to the time
                                                                                   of the events or conditions at issue
                                                                                   in this case by persons with
                                                                                   knowledge of those events or
                                                                                   conditions; these communications
                                                                                   are also made and kept in the
   Error! Unknown document                                        515
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                regular course of business and,
                                                                                therefore, are an exception to
                                                                                hearsay under F.R.E. 803(6).
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
Error! Unknown document                                        516
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.
DX 329 Exclusion of other acts of           If offered to prove the truth thereof,   F.R.E. 401 – Objection is
       terrorism committed outside of       inadmissible hearsay and no exception    conditional, and therefore not
       the United States; cap on losses     is applicable (F.R.E. 801, 802).         binding as to general admissibility.
       from certified acts of terrorism                                              Objection also fails to state why or
       (Stone Depo Ex 12) (ATL                                                       in what context exhibit is
       005269 – 005297)                                                              irrelevant. Furthermore, exhibit is
                                                                                     relevant to establish state of mind
                                                                                     of all parties involved at time of
                                                                                     claim (NBC, ASIC, Aon, etc.).


                                                                                     F.R.E. 403 – Objection is
                                                                                     conditional, and therefore not
                                                                                     binding as to general admissibility.
                                                                                     Objection also fails to state why
                                                                                     exhibit is unfairly prejudicial; or
                                                                                     why such alleged unfair prejudice
                                                                                     outweighs its probative value; or
                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
   Error! Unknown document                                         517
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                   the claim. Finally, jury is entitled
                                                                                   to know what information NBC,
                                                                                   ASIC, and other parties had at time
                                                                                   of the facts giving rise to Plaintiffs’
                                                                                   claims.


DX 330 Commercial General Liability If offered to prove the truth thereof,         F.R.E. 401 – Objection is
       Coverage Form (Stone Depo Ex inadmissible hearsay and no exception          conditional, and therefore not
       13) (ATL 005282 – 5297)      is applicable (F.R.E. 801, 802).               binding as to general admissibility.
                                                                                   Objection also fails to state why or
                                                                                   in what context exhibit is
                                                                                   irrelevant. Furthermore, exhibit is
                                                                                   relevant to establish state of mind
                                                                                   of all parties involved at time of
                                                                                   claim (NBC, ASIC, Aon, etc.).


                                                                                   F.R.E. 403 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why
                                                                                   exhibit is unfairly prejudicial; or
                                                                                   why such alleged unfair prejudice
                                                                                   outweighs its probative value; or
                                                                                   why exhibit confuses the issue,
                                                                                   misleads the jury, wastes time, or
                                                                                   is cumulative. Furthermore, high
   Error! Unknown document                                        518
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.


DX 331 Electronic Data Processing           If offered to prove the truth thereof,   F.R.E. 401 – Objection is
       (Stone Depo Ex 14) (ATL              inadmissible hearsay and no exception    conditional, and therefore not
       005278 – 005281)                     is applicable (F.R.E. 801, 802).         binding as to general admissibility.
                                                                                     Objection also fails to state why or
                                                                                     in what context exhibit is
                                                                                     irrelevant. Furthermore, exhibit is
                                                                                     relevant to establish state of mind
                                                                                     of all parties involved at time of
                                                                                     claim (NBC, ASIC, Aon, etc.).


                                                                                     F.R.E. 403 – Objection is
                                                                                     conditional, and therefore not
                                                                                     binding as to general admissibility.
                                                                                     Objection also fails to state why
                                                                                     exhibit is unfairly prejudicial; or
                                                                                     why such alleged unfair prejudice
                                                                                     outweighs its probative value; or
                                                                                     why exhibit confuses the issue,
   Error! Unknown document                                         519
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.


DX 332 Production Portfolio Policy          If offered to prove the truth thereof,   F.R.E. 401 – Objection is
       (Stone Depo Ex 15) (ATL              inadmissible hearsay and no exception    conditional, and therefore not
       005275-005277)                       is applicable (F.R.E. 801, 802).         binding as to general admissibility.
                                                                                     Objection also fails to state why or
                                                                                     in what context exhibit is
                                                                                     irrelevant. Furthermore, exhibit is
                                                                                     relevant to establish state of mind
                                                                                     of all parties involved at time of
                                                                                     claim (NBC, ASIC, Aon, etc.).


                                                                                     F.R.E. 403 – Objection is
                                                                                     conditional, and therefore not
                                                                                     binding as to general admissibility.
                                                                                     Objection also fails to state why
                                                                                     exhibit is unfairly prejudicial; or
                                                                                     why such alleged unfair prejudice
   Error! Unknown document                                         520
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     outweighs its probative value; or
                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.


DX 333 7/17/14 Email between Theresa        If offered to prove the truth thereof,   Plaintiff has listed exhibit on its list
       Gooley and Pamela Johnson            inadmissible hearsay and no exception    and, therefore, exhibit should be
       (Wolf Depo Ex 31) (ATL               is applicable (F.R.E. 801, 802).         admitted as agreed. Should
       001571 – 001572)                                                              Plaintiffs withdraw the exhibit,
                                                                                     ASIC’s response is as follows:
                                                                                     F.R.E. 801/802 – (1) Plaintiff fails
                                                                                     to state what portion of exhibit is
                                                                                     hearsay; (2) statements not offered
                                                                                     for the truth, but rather to show
                                                                                     information acted upon/state of
                                                                                     mind of parties or individuals
                                                                                     identified in exhibits; (3) all
                                                                                     communications of OneBeacon are
                                                                                     records made at or near to the time
   Error! Unknown document                                         521
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                of the events or conditions at issue
                                                                                in this case by persons with
                                                                                knowledge of those events or
                                                                                conditions; these communications
                                                                                are also made and kept in the
                                                                                regular course of business and,
                                                                                therefore, are an exception to
                                                                                hearsay under F.R.E. 803(6).
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
Error! Unknown document                                        522
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.


DX 334 7/28/19 Email from Theresa           If offered to prove the truth thereof,   Plaintiff has listed exhibit on its list
       Gooley to Pamela Johnson             inadmissible hearsay and no exception    and, therefore, exhibit should be
       (ATL 001858 – 1866)                  is applicable (F.R.E. 801, 802).         admitted as agreed. Should
                                                                                     Plaintiffs withdraw the exhibit,
                                                                                     ASIC’s response is as follows:
                                                                                     F.R.E. 801/802 – (1) Plaintiff fails
                                                                                     to state what portion of exhibit is
                                                                                     hearsay; (2) statements not offered
                                                                                     for the truth, but rather to show
                                                                                     information acted upon/state of
                                                                                     mind of parties or individuals
                                                                                     identified in exhibits; (3) all
                                                                                     communications of OneBeacon are
                                                                                     records made at or near to the time
                                                                                     of the events or conditions at issue
                                                                                     in this case by persons with
   Error! Unknown document                                         523
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     knowledge of those events or
                                                                                     conditions; these communications
                                                                                     are also made and kept in the
                                                                                     regular course of business and,
                                                                                     therefore, are an exception to
                                                                                     hearsay under F.R.E. 803(6).


DX 335
DX 336
DX 337
DX 338 Deposition Notice for Peter         Irrelevant (F.R.E. 401, 402); Any         F.R.E. 801/802 – (1) Plaintiff fails
       Williams (Williams 30b6 Depo        Probative Value Is Substantially          to state what portion of exhibit is
       Ex 1)                               Outweighed By Risk Of Unfair              hearsay; (2) statements not offered
                                           Prejudice, Confusing The Issues,          for the truth, but rather to show
                                           Misleading The Jury, Undue Delay,         information acted upon/state of
                                           Wasting Time, Or Needlessly               mind of parties or individuals
                                           Presenting Cumulative Evidence            identified in exhibits.
                                           (F.R.E. 403). Subject of a pending        F.R.E. 401 – Objection is
                                           Motion in Limine. If offered to prove     conditional, and therefore not
                                           the truth thereof, inadmissible hearsay   binding as to general admissibility.
                                           and no exception is applicable (F.R.E.    Objection also fails to state why or
                                           801, 802).                                in what context exhibit is
                                                                                     irrelevant. Furthermore, exhibit is
                                                                                     relevant to establish state of mind
  Error! Unknown document                                          524
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.




Error! Unknown document                                        525
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 339 Affidavit of Peter Williams          If offered to prove the truth thereof,   F.R.E. 801/802 – (1) Plaintiff fails
       (Williams 30b6 Depo Ex 6)            inadmissible hearsay and no exception    to state what portion of exhibit is
                                            is applicable (F.R.E. 801, 802).         hearsay; (2) statements not offered
                                                                                     for the truth, but rather to show
                                                                                     information acted upon/state of
                                                                                     mind of parties or individuals
                                                                                     identified in exhibits; (3) several
                                                                                     statements made by party-
                                                                                     opponent, NBC, or agents
                                                                                     affiliated with NBC and operating
                                                                                     within the scope of their agency
                                                                                     (e.g. Aon) and, therefore, are not
                                                                                     hearsay under F.R.E. 801; (4) all
                                                                                     communications of OneBeacon are
                                                                                     records made at or near to the time
                                                                                     of the events or conditions at issue
                                                                                     in this case by persons with
                                                                                     knowledge of those events or
                                                                                     conditions; these communications
                                                                                     are also made and kept in the
                                                                                     regular course of business and,
                                                                                     therefore, are an exception to
                                                                                     hearsay under F.R.E. 803(6).




   Error! Unknown document                                         526
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 340 Motion Picture/Television            No objection, other than that the          Plaintiff has listed exhibit on its list
       Producers Portfolio                  exhibit is duplicative of other exhibits   and, therefore, exhibit should be
       Declarations, Policy Number          proffered by the parties. F.R.E. 403.      admitted as agreed. Should
       MP00163-04, Period 1/1/14 to                                                    Plaintiffs withdraw the exhibit,
       6/30/15 (Williams Dep 2/1/17,                                                   ASIC’s response is as follows:
       Ex 1) (ATL003073-3127)                                                          Exhibit is not duplicative, or, if so,
                                                                                       Plaintiffs fail to identify what
                                                                                       document is duplicative. If
                                                                                       document is truly duplicative, but
                                                                                       there is no other objection, then
                                                                                       there is no merit-based objection to
                                                                                       this exhibit.


DX 341 12/11-12/13 Email string             If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       between Andrea Garber and            inadmissible hearsay and no exception      and, therefore, exhibit should be
       Bernadette Milinovic, et al          is applicable (F.R.E. 801, 802).           admitted as agreed. Should
       (Williams Dep 2/1/17, Ex 6)          Relevance, depending on purpose for        Plaintiffs withdraw the exhibit,
       (AONNBCU0001478-1568)                which the evidence is proffered at trial   ASIC’s response is as follows:
                                            (F.R.E. 401); Probative value is           F.R.E. 801/802 – (1) Plaintiff fails
                                            substantially outweighed by risk of        to state what portion of exhibit is
                                            confusing the issues, undue delay,         hearsay; (2) statements not offered
                                            wasting time, or needlessly presenting     for the truth, but rather to show
                                            cumulative evidence, depending on          information acted upon/state of
                                            purpose for which evidence is              mind of parties or individuals
                                            proffered at trial (F.R.E. 403).           identified in exhibits; (3) several
   Error! Unknown document                                           527
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                statements made by party-
                                                                                opponent, NBC, or agents
                                                                                affiliated with NBC and operating
                                                                                within the scope of their agency
                                                                                (e.g. Aon) and, therefore, are not
                                                                                hearsay under F.R.E. 801; (4) all
                                                                                communications of OneBeacon are
                                                                                records made at or near to the time
                                                                                of the events or conditions at issue
                                                                                in this case by persons with
                                                                                knowledge of those events or
                                                                                conditions; these communications
                                                                                are also made and kept in the
                                                                                regular course of business and,
                                                                                therefore, are an exception to
                                                                                hearsay under F.R.E. 803(6).
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


Error! Unknown document                                        528
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
                                                                                       Objection also fails to state why
                                                                                       exhibit is unfairly prejudicial; or
                                                                                       why such alleged unfair prejudice
                                                                                       outweighs its probative value; or
                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 342 07/14-16/14 Email string             If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       between Daniel Gutterman and         inadmissible hearsay and no exception      and, therefore, exhibit should be
       Pamela Johnson, et al (Williams      is applicable (F.R.E. 801, 802).           admitted as agreed. Should
       Dep 2/1/17, Ex 11)                   Relevance, depending on purpose for        Plaintiffs withdraw the exhibit,
       (ATL001132-1192)                     which the evidence is proffered at trial   ASIC’s response is as follows:
                                            (F.R.E. 401); Probative value is           F.R.E. 801/802 – (1) Plaintiff fails
                                            substantially outweighed by risk of        to state what portion of exhibit is
                                            confusing the issues, undue delay,         hearsay; (2) statements not offered
   Error! Unknown document                                          529
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         wasting time, or needlessly presenting   for the truth, but rather to show
                                         cumulative evidence, depending on        information acted upon/state of
                                         purpose for which evidence is            mind of parties or individuals
                                         proffered at trial (F.R.E. 403).         identified in exhibits; (3) several
                                                                                  statements made by party-
                                                                                  opponent, NBC, or agents
                                                                                  affiliated with NBC and operating
                                                                                  within the scope of their agency
                                                                                  (e.g. Aon) and, therefore, are not
                                                                                  hearsay under F.R.E. 801; (4) all
                                                                                  communications of OneBeacon are
                                                                                  records made at or near to the time
                                                                                  of the events or conditions at issue
                                                                                  in this case by persons with
                                                                                  knowledge of those events or
                                                                                  conditions; these communications
                                                                                  are also made and kept in the
                                                                                  regular course of business and,
                                                                                  therefore, are an exception to
                                                                                  hearsay under F.R.E. 803(6).
                                                                                  F.R.E. 401 – Objection is
                                                                                  conditional, and therefore not
                                                                                  binding as to general admissibility.
                                                                                  Objection also fails to state why or
                                                                                  in what context exhibit is
                                                                                  irrelevant. Furthermore, exhibit is
                                                                                  relevant to establish state of mind
Error! Unknown document                                         530
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       of all parties involved at time of
                                                                                       claim (NBC, ASIC, Aon, etc.).


                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
                                                                                       Objection also fails to state why
                                                                                       exhibit is unfairly prejudicial; or
                                                                                       why such alleged unfair prejudice
                                                                                       outweighs its probative value; or
                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 343 12/03/13 Email from Daniel           If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       Gutterman to Daniel Gutterman        inadmissible hearsay and no exception      and, therefore, exhibit should be
       (Gutterman Depo Ex 14)               is applicable (F.R.E. 801, 802).           admitted as agreed. Should
       (ATL000785-793)                      Relevance, depending on purpose for
                                            which the evidence is proffered at trial
   Error! Unknown document                                            531
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         (F.R.E. 401); Probative value is         Plaintiffs withdraw the exhibit,
                                         substantially outweighed by risk of      ASIC’s response is as follows:
                                         confusing the issues, undue delay,       F.R.E. 801/802 – (1) Plaintiff fails
                                         wasting time, or needlessly presenting   to state what portion of exhibit is
                                         cumulative evidence, depending on        hearsay; (2) statements not offered
                                         purpose for which evidence is            for the truth, but rather to show
                                         proffered at trial (F.R.E. 403).         information acted upon/state of
                                         Irrelevant (F.R.E. 402).                 mind of parties or individuals
                                                                                  identified in exhibits; (3) all
                                                                                  communications of OneBeacon are
                                                                                  records made at or near to the time
                                                                                  of the events or conditions at issue
                                                                                  in this case by persons with
                                                                                  knowledge of those events or
                                                                                  conditions; these communications
                                                                                  are also made and kept in the
                                                                                  regular course of business and,
                                                                                  therefore, are an exception to
                                                                                  hearsay under F.R.E. 803(6).
                                                                                  F.R.E. 401 – Objection is
                                                                                  conditional, and therefore not
                                                                                  binding as to general admissibility.
                                                                                  Objection also fails to state why or
                                                                                  in what context exhibit is
                                                                                  irrelevant. Furthermore, exhibit is
                                                                                  relevant to establish state of mind
Error! Unknown document                                         532
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       of all parties involved at time of
                                                                                       claim (NBC, ASIC, Aon, etc.).


                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
                                                                                       Objection also fails to state why
                                                                                       exhibit is unfairly prejudicial; or
                                                                                       why such alleged unfair prejudice
                                                                                       outweighs its probative value; or
                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 344 General Claims Practices             If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       (Gutterman Depo Ex 15)               inadmissible hearsay and no exception      and, therefore, exhibit should be
       (ATL000735-744)                      is applicable (F.R.E. 801, 802).           admitted as agreed. Should
                                            Relevance, depending on purpose for
                                            which the evidence is proffered at trial
   Error! Unknown document                                            533
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         (F.R.E. 401); Probative value is         Plaintiffs withdraw the exhibit,
                                         substantially outweighed by risk of      ASIC’s response is as follows:
                                         confusing the issues, undue delay,       F.R.E. 801/802 – (1) Plaintiff fails
                                         wasting time, or needlessly presenting   to state what portion of exhibit is
                                         cumulative evidence, depending on        hearsay; (2) statements not offered
                                         purpose for which evidence is            for the truth, but rather to show
                                         proffered at trial (F.R.E. 403).         information acted upon/state of
                                                                                  mind of parties or individuals
                                                                                  identified in exhibits; (3) all
                                                                                  communications of OneBeacon are
                                                                                  records made at or near to the time
                                                                                  of the events or conditions at issue
                                                                                  in this case by persons with
                                                                                  knowledge of those events or
                                                                                  conditions; these communications
                                                                                  are also made and kept in the
                                                                                  regular course of business and,
                                                                                  therefore, are an exception to
                                                                                  hearsay under F.R.E. 803(6).
                                                                                  F.R.E. 401 – Objection is
                                                                                  conditional, and therefore not
                                                                                  binding as to general admissibility.
                                                                                  Objection also fails to state why or
                                                                                  in what context exhibit is
                                                                                  irrelevant. Furthermore, exhibit is
                                                                                  relevant to establish state of mind
Error! Unknown document                                         534
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      of all parties involved at time of
                                                                                      claim (NBC, ASIC, Aon, etc.).


                                                                                      F.R.E. 403 – Objection is
                                                                                      conditional, and therefore not
                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why
                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 345 Core Principles – Version           If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       09/01/12 (Gutterman Depo Ex         inadmissible hearsay and no exception      and, therefore, exhibit should be
       16) (ATL000731-732)                 is applicable (F.R.E. 801, 802).           admitted as agreed. Should
                                           Relevance, depending on purpose for
                                           which the evidence is proffered at trial
  Error! Unknown document                                            535
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 736 of 1099 Page ID
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                                         (F.R.E. 401); Probative value is         Plaintiffs withdraw the exhibit,
                                         substantially outweighed by risk of      ASIC’s response is as follows:
                                         confusing the issues, undue delay,       F.R.E. 801/802 – (1) Plaintiff fails
                                         wasting time, or needlessly presenting   to state what portion of exhibit is
                                         cumulative evidence, depending on        hearsay; (2) statements not offered
                                         purpose for which evidence is            for the truth, but rather to show
                                         proffered at trial (F.R.E. 403).         information acted upon/state of
                                                                                  mind of parties or individuals
                                                                                  identified in exhibits; (3) all
                                                                                  communications of OneBeacon are
                                                                                  records made at or near to the time
                                                                                  of the events or conditions at issue
                                                                                  in this case by persons with
                                                                                  knowledge of those events or
                                                                                  conditions; these communications
                                                                                  are also made and kept in the
                                                                                  regular course of business and,
                                                                                  therefore, are an exception to
                                                                                  hearsay under F.R.E. 803(6).
                                                                                  F.R.E. 401 – Objection is
                                                                                  conditional, and therefore not
                                                                                  binding as to general admissibility.
                                                                                  Objection also fails to state why or
                                                                                  in what context exhibit is
                                                                                  irrelevant. Furthermore, exhibit is
                                                                                  relevant to establish state of mind
Error! Unknown document                                         536
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       of all parties involved at time of
                                                                                       claim (NBC, ASIC, Aon, etc.).


                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
                                                                                       Objection also fails to state why
                                                                                       exhibit is unfairly prejudicial; or
                                                                                       why such alleged unfair prejudice
                                                                                       outweighs its probative value; or
                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 346 07/28/14 Email string between        If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       Andrea Garber and Daniel             inadmissible hearsay and no exception      and, therefore, exhibit should be
       Gutterman, et al (Gutterman          is applicable (F.R.E. 801, 802).           admitted as agreed. Should
                                            Relevance, depending on purpose for
                                            which the evidence is proffered at trial
   Error! Unknown document                                            537
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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        Depo Ex 17)                      (F.R.E. 401); Probative value is         Plaintiffs withdraw the exhibit,
        (AONNBCU0003277)                 substantially outweighed by risk of      ASIC’s response is as follows:
                                         confusing the issues, undue delay,       F.R.E. 801/802 – (1) Plaintiff fails
                                         wasting time, or needlessly presenting   to state what portion of exhibit is
                                         cumulative evidence, depending on        hearsay; (2) statements not offered
                                         purpose for which evidence is            for the truth, but rather to show
                                         proffered at trial (F.R.E. 403).         information acted upon/state of
                                                                                  mind of parties or individuals
                                                                                  identified in exhibits; (3) several
                                                                                  statements made by party-
                                                                                  opponent, NBC, or agents
                                                                                  affiliated with NBC and operating
                                                                                  within the scope of their agency
                                                                                  (e.g. Aon) and, therefore, are not
                                                                                  hearsay under F.R.E. 801; (4) all
                                                                                  communications of OneBeacon are
                                                                                  records made at or near to the time
                                                                                  of the events or conditions at issue
                                                                                  in this case by persons with
                                                                                  knowledge of those events or
                                                                                  conditions; these communications
                                                                                  are also made and kept in the
                                                                                  regular course of business and,
                                                                                  therefore, are an exception to
                                                                                  hearsay under F.R.E. 803(6).


Error! Unknown document                                         538
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time


Error! Unknown document                                        539
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 347 07/28/14 Letter from Pamela          Hearsay and no exception is applicable     Plaintiff has listed exhibit on its list
       Johnson to Andrea Garber             (F.R.E. 801, 802); Inadmissible legal      and, therefore, exhibit should be
       (Gutterman Depo Ex 18)               opinion (F.R.E. 701; Fed. R. Civ. Proc.    admitted as agreed. Should
       (ATL000094-101)                      26); no evidence sufficient to support a   Plaintiffs withdraw the exhibit,
                                            finding that author has personal           ASIC’s response is as follows:
                                            knowledge of the factual matter stated     F.R.E. 801/802 – (1) Plaintiff fails
                                            (F.R.E. 602); author’s legal opinions      to state what portion of exhibit is
                                            are irrelevant (F.R.E. 401, 402); any      hearsay; (2) statements not offered
                                            probative value is substantially           for the truth, but rather to show
                                            outweighed by risk of unfair prejudice,    information acted upon/state of
                                            confusing the issues, misleading the       mind of parties or individuals
                                            jury, undue delay, wasting time (F.R.E.    identified in exhibits; (3) all
                                            403).                                      communications of OneBeacon are
                                                                                       records made at or near to the time
                                                                                       of the events or conditions at issue
                                                                                       in this case by persons with
                                                                                       knowledge of those events or
                                                                                       conditions; these communications
                                                                                       are also made and kept in the
                                                                                       regular course of business and,
                                                                                       therefore, are an exception to
                                                                                       hearsay under F.R.E. 803(6).

   Error! Unknown document                                          540
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 701 – F.R.E. 701 – Unclear
                                                                                what opinions are offered by any
                                                                                declarant in exhibit or, if any,
                                                                                which opinions are objectionable;
                                                                                all testimony rationally based on
                                                                                information received and acted
                                                                                upon; no testimony based on
                                                                                scientific, technical, or other
                                                                                specialized knowledge within the
                                                                                scope of F.R.E. 702.



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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, AON, etc.).


                                                                                F.R.E. 403 – Objection fails to
                                                                                state what prejudice exhibit
                                                                                contains, or why such alleged
                                                                                prejudice outweighs its probative
                                                                                value. Also, high probative value
                                                                                re: state of mind of all parties
                                                                                involved at the time of the claim.
                                                                                Objection further fails to state what
                                                                                information will mislead or
                                                                                confuse jury. Finally, jury must
                                                                                know what information NBC,
                                                                                AON, and ASIC had at time of
                                                                                claim.




Error! Unknown document                                        542
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 348 09/19/14 Letter from Pamela          Hearsay and no exception is applicable      Plaintiff has listed exhibit on its list
       Johnson to Mitchell Silberberg       (F.R.E. 801, 802); Inadmissible legal       and, therefore, exhibit should be
       & Knupp LLP (Gutterman               opinion (F.R.E. 701; Fed. R. Civ. Proc.     admitted as agreed. Should
       Depo Ex 20) (ATL000705-708)          26); ); no evidence sufficient to support   Plaintiffs withdraw the exhibit,
                                            a finding that author has personal          ASIC’s response is as follows:
                                            knowledge of the factual matter stated      F.R.E. 801/802 – (1) Plaintiff fails
                                            (F.R.E. 602); author’s legal opinions       to state what portion of exhibit is
                                            are irrelevant (F.R.E. 401, 402); any       hearsay; (2) statements not offered
                                            probative value is substantially            for the truth, but rather to show
                                            outweighed by risk of unfair prejudice,     information acted upon/state of
                                            confusing the issues, misleading the        mind of parties or individuals
                                            jury, undue delay, wasting time (F.R.E.     identified in exhibits; (3) all
                                            403).                                       communications of OneBeacon are
                                                                                        records made at or near to the time
                                                                                        of the events or conditions at issue
                                                                                        in this case by persons with
                                                                                        knowledge of those events or
                                                                                        conditions; these communications
                                                                                        are also made and kept in the
                                                                                        regular course of business and,
                                                                                        therefore, are an exception to
                                                                                        hearsay under F.R.E. 803(6).


                                                                                        F.R.E. 602 – Witnesses has
                                                                                        personal knowledge of what
                                                                                        information NBC received before,
   Error! Unknown document                                          543
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 701 – F.R.E. 701 – Unclear
                                                                                what opinions are offered by any
                                                                                declarant in exhibit or, if any,
                                                                                which opinions are objectionable;
                                                                                all testimony rationally based on
                                                                                information received and acted
                                                                                upon; no testimony based on
                                                                                scientific, technical, or other
                                                                                specialized knowledge within the
                                                                                scope of F.R.E. 702.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
Error! Unknown document                                        544
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      relevant to establish state of mind
                                                                                      of all parties involved at time of
                                                                                      claim (NBC, ASIC, Aon, etc.).


                                                                                      F.R.E. 403 – Objection is
                                                                                      conditional, and therefore not
                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why
                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 349 Portions of Claim File              No objection, other than that the          Plaintiff has listed exhibit on its list
       (Gutterman Depo Ex 21)              exhibit is duplicative of other exhibits   and, therefore, exhibit should be
       (ATL000001-161)                     proffered by the parties. F.R.E. 403.      admitted as agreed to the extent the
                                                                                      Parties agree on admission of
  Error! Unknown document                                           545
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                       #:25012




                                                                                pages. However, ASIC has
                                                                                objected to portions of the exhibit.
                                                                                Should Plaintiffs withdraw the
                                                                                exhibit, ASIC’s response is as
                                                                                follows: this document is not
                                                                                duplicative or, if duplicative,
                                                                                Plaintiffs fail to identify what other
                                                                                documents the exhibit duplicates.
                                                                                Per its objections to Plaintiffs’
                                                                                designations, ASIC objects to ATL
                                                                                0001-0005 as irrelevant in light of
                                                                                the fact that all notes come long
                                                                                after the facts giving rise to the
                                                                                claim, or ASIC’s handling thereof.
                                                                                Further object to 0010 – 0086 on
                                                                                the basis that pleading are not
                                                                                proper evidence; further object to
                                                                                0087-0093 on the basis of
                                                                                relevance (FRE 401, 402), hearsay
                                                                                (FRE 801, 802), improper opinions
                                                                                (FRE 701, 702), more prejudicial
                                                                                than probative, cumulative, and
                                                                                likely to confuse the jury (FRE
                                                                                403), lack of foundation (FRE
                                                                                901); finally object to 107-161 as


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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      cumulative and contained in other
                                                                                      exhibits.




DX 350 07/14-16/14 Email string            If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       between Daniel Gutterman            inadmissible hearsay and no exception      and, therefore, exhibit should be
       Pamela Johnson, et al               is applicable (F.R.E. 801, 802).           admitted as agreed. Should
       (Gutterman Depo Ex 22)              Relevance, depending on purpose for        Plaintiffs withdraw the exhibit,
       (ATL001391-1396)                    which the evidence is proffered at trial   ASIC’s response is as follows:
                                           (F.R.E. 401); Probative value is           F.R.E. 801/802 – (1) Plaintiff fails
                                           substantially outweighed by risk of        to state what portion of exhibit is
                                           confusing the issues, undue delay,         hearsay; (2) statements not offered
                                           wasting time, or needlessly presenting     for the truth, but rather to show
                                           cumulative evidence, depending on          information acted upon/state of
                                           purpose for which evidence is              mind of parties or individuals
                                           proffered at trial (F.R.E. 403).           identified in exhibits; (3) all
                                                                                      communications of OneBeacon are
                                                                                      records made at or near to the time
                                                                                      of the events or conditions at issue
                                                                                      in this case by persons with
                                                                                      knowledge of those events or
                                                                                      conditions; these communications
                                                                                      are also made and kept in the
                                                                                      regular course of business and,


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  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                therefore, are an exception to
                                                                                hearsay under F.R.E. 803(6).
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
Error! Unknown document                                        548
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 351 07/16-17/14 Email string             If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       between Pamela Johnson and           inadmissible hearsay and no exception      and, therefore, exhibit should be
       Susan Weiss, et al (Gutterman        is applicable (F.R.E. 801, 802).           admitted as agreed. Should
       Depo Ex 23)                          Relevance, depending on purpose for        Plaintiffs withdraw the exhibit,
       (AONNBCU0003252-3255)                which the evidence is proffered at trial   ASIC’s response is as follows:
                                            (F.R.E. 401); Probative value is           F.R.E. 801/802 – (1) Plaintiff fails
                                            substantially outweighed by risk of        to state what portion of exhibit is
                                            confusing the issues, undue delay,         hearsay; (2) statements not offered
                                            wasting time, or needlessly presenting     for the truth, but rather to show
                                            cumulative evidence, depending on          information acted upon/state of
                                            purpose for which evidence is              mind of parties or individuals
                                            proffered at trial (F.R.E. 403).           identified in exhibits; (3) several
                                                                                       statements made by party-
                                                                                       opponent, NBC, or agents
                                                                                       affiliated with NBC and operating
                                                                                       within the scope of their agency
                                                                                       (e.g. Aon) and, therefore, are not
                                                                                       hearsay under F.R.E. 801; (4) all
                                                                                       communications of OneBeacon are
                                                                                       records made at or near to the time
                                                                                       of the events or conditions at issue
                                                                                       in this case by persons with
   Error! Unknown document                                          549
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                knowledge of those events or
                                                                                conditions; these communications
                                                                                are also made and kept in the
                                                                                regular course of business and,
                                                                                therefore, are an exception to
                                                                                hearsay under F.R.E. 803(6).
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
Error! Unknown document                                        550
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.
DX 352 07/21-22/14 Email string             If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       between Pamela Johnson and           inadmissible hearsay and no exception      and, therefore, exhibit should be
       Susan Weiss, et al (Gutterman        is applicable (F.R.E. 801, 802).           admitted as agreed. Should
       Depo Ex 25)                          Relevance, depending on purpose for        Plaintiffs withdraw the exhibit,
       (AONNBCU0003242-3243)                which the evidence is proffered at trial   ASIC’s response is as follows:
                                            (F.R.E. 401); Probative value is           F.R.E. 801/802 – (1) Plaintiff fails
                                            substantially outweighed by risk of        to state what portion of exhibit is
                                            confusing the issues, undue delay,         hearsay; (2) statements not offered
                                            wasting time, or needlessly presenting     for the truth, but rather to show
                                            cumulative evidence, depending on          information acted upon/state of
                                            purpose for which evidence is              mind of parties or individuals
                                            proffered at trial (F.R.E. 403).           identified in exhibits; (3) several
                                                                                       statements made by party-
                                                                                       opponent, NBC, or agents
                                                                                       affiliated with NBC and operating
                                                                                       within the scope of their agency
                                                                                       (e.g. Aon) and, therefore, are not
                                                                                       hearsay under F.R.E. 801; (4) all
                                                                                       communications of OneBeacon are
   Error! Unknown document                                          551
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                records made at or near to the time
                                                                                of the events or conditions at issue
                                                                                in this case by persons with
                                                                                knowledge of those events or
                                                                                conditions; these communications
                                                                                are also made and kept in the
                                                                                regular course of business and,
                                                                                therefore, are an exception to
                                                                                hearsay under F.R.E. 803(6).
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
Error! Unknown document                                        552
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 353 John Kerry Comments on               Irrelevant (F.R.E. 401, 402); Any         Plaintiff has listed exhibit on its list
       Ukraine, Gaza (No Bates No.)         Probative Value Is Substantially          and, therefore, exhibit should be
                                            Outweighed By Risk Of Unfair              admitted as agreed. Should
                                            Prejudice, Confusing The Issues,          Plaintiffs withdraw the exhibit,
                                            Misleading The Jury, Undue Delay,         ASIC’s response is as follows:
                                            Wasting Time, Or Needlessly               F.R.E. 801/802 – (1) Plaintiff fails
                                            Presenting Cumulative Evidence            to state what portion of exhibit is
                                            (F.R.E. 403). If offered to prove the     hearsay; (2) statements not offered
                                            truth thereof, inadmissible hearsay and   for the truth, but rather to show
                                            no exception is applicable (F.R.E. 801,   information acted upon/state of
                                            802). Subject of a pending Motion in      mind of parties or individuals
                                            Limine.                                   identified in exhibits
                                                                                      F.R.E. 602 – Witnesses has
                                                                                      personal knowledge of what
                                                                                      information NBC received before,
   Error! Unknown document                                          553
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 754 of 1099 Page ID
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                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 701 –Unclear what opinions
                                                                                are offered by any declarant in
                                                                                exhibit or, if any, which opinions
                                                                                are objectionable; all testimony
                                                                                rationally based on information
                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702.
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
Error! Unknown document                                        554
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                       Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 755 of 1099 Page ID
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                                                                                  of all parties involved at time of
                                                                                  claim (NBC, ASIC, Aon, etc.).


                                                                                  F.R.E. 403 – Objection is
                                                                                  conditional, and therefore not
                                                                                  binding as to general admissibility.
                                                                                  Objection also fails to state why
                                                                                  exhibit is unfairly prejudicial; or
                                                                                  why such alleged unfair prejudice
                                                                                  outweighs its probative value; or
                                                                                  why exhibit confuses the issue,
                                                                                  misleads the jury, wastes time, or
                                                                                  is cumulative. Furthermore, high
                                                                                  probative value re: state of mind of
                                                                                  all parties involved at the time of
                                                                                  the claim. Finally, jury is entitled
                                                                                  to know what information NBC,
                                                                                  ASIC, and other parties had at time
                                                                                  of the facts giving rise to Plaintiffs’
                                                                                  claims.


DX 354 John Kerry Comments                 Irrelevant (F.R.E. 401, 402); Any      Plaintiff has listed exhibit on its list
       Condemning Kidnapping (No           Probative Value Is Substantially       and, therefore, exhibit should be
       Bates No.)                          Outweighed By Risk Of Unfair           admitted as agreed. Should
                                           Prejudice, Confusing The Issues,
                                           Misleading The Jury, Undue Delay,
  Error! Unknown document                                           555
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         Wasting Time, Or Needlessly               Plaintiffs withdraw the exhibit,
                                         Presenting Cumulative Evidence            ASIC’s response is as follows:
                                         (F.R.E. 403). If offered to prove the     F.R.E. 801/802 – (1) Plaintiff fails
                                         truth thereof, inadmissible hearsay and   to state what portion of exhibit is
                                         no exception is applicable (F.R.E. 801,   hearsay; (2) statements not offered
                                         802). Subject of a pending Motion in      for the truth, but rather to show
                                         Limine.                                   information acted upon/state of
                                                                                   mind of parties or individuals
                                                                                   identified in exhibits
                                                                                   F.R.E. 602 – Witnesses has
                                                                                   personal knowledge of what
                                                                                   information NBC received before,
                                                                                   during, and after the events giving
                                                                                   rise to the claim, including this
                                                                                   exhibit. Witness does not need
                                                                                   personally to have been in Israel in
                                                                                   order to testify regarding what
                                                                                   information NBC received
                                                                                   regarding what was going on in
                                                                                   Israel.


                                                                                   F.R.E. 701 –Unclear what opinions
                                                                                   are offered by any declarant in
                                                                                   exhibit or, if any, which opinions
                                                                                   are objectionable; all testimony
                                                                                   rationally based on information
Error! Unknown document                                          556
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702.
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
Error! Unknown document                                        557
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 355 07/03/16 Email to from              If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       Gutterman to Pamela Johnson         inadmissible hearsay and no exception      and, therefore, exhibit should be
       (Gutterman Depo Ex 28)              is applicable (F.R.E. 801, 802).           admitted as agreed. Should
       (ATL003211)                         Relevance, depending on purpose for        Plaintiffs withdraw the exhibit,
                                           which the evidence is proffered at trial   ASIC’s response is as follows:
                                           (F.R.E. 401); Probative value is           F.R.E. 801/802 – (1) Plaintiff fails
                                           substantially outweighed by risk of        to state what portion of exhibit is
                                           confusing the issues, undue delay,         hearsay; (2) statements not offered
                                           wasting time, or needlessly presenting     for the truth, but rather to show
                                           cumulative evidence, depending on          information acted upon/state of
                                           purpose for which evidence is              mind of parties or individuals
                                           proffered at trial (F.R.E. 403).           identified in exhibits; (3) all
                                                                                      communications of OneBeacon are
                                                                                      records made at or near to the time
                                                                                      of the events or conditions at issue
                                                                                      in this case by persons with
                                                                                      knowledge of those events or
                                                                                      conditions; these communications
                                                                                      are also made and kept in the
  Error! Unknown document                                          558
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                regular course of business and,
                                                                                therefore, are an exception to
                                                                                hearsay under F.R.E. 803(6).
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
Error! Unknown document                                        559
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 356 07/16/14 Email string between        If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       Wanda Phillips and Daniel            inadmissible hearsay and no exception      and, therefore, exhibit should be
       Gutterman, et al (Gutterman          is applicable (F.R.E. 801, 802).           admitted as agreed. Should
       Depo Ex 29) (ATL001547 -             Relevance, depending on purpose for        Plaintiffs withdraw the exhibit,
       1550)                                which the evidence is proffered at trial   ASIC’s response is as follows:
                                            (F.R.E. 401); Probative value is           F.R.E. 801/802 – (1) Plaintiff fails
                                            substantially outweighed by risk of        to state what portion of exhibit is
                                            confusing the issues, undue delay,         hearsay; (2) statements not offered
                                            wasting time, or needlessly presenting     for the truth, but rather to show
                                            cumulative evidence, depending on          information acted upon/state of
                                            purpose for which evidence is              mind of parties or individuals
                                            proffered at trial (F.R.E. 403).           identified in exhibits; (3) all
                                                                                       communications of OneBeacon are
                                                                                       records made at or near to the time
                                                                                       of the events or conditions at issue
                                                                                       in this case by persons with
                                                                                       knowledge of those events or
                                                                                       conditions; these communications
                                                                                       are also made and kept in the
                                                                                       regular course of business and,

   Error! Unknown document                                          560
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                therefore, are an exception to
                                                                                hearsay under F.R.E. 803(6).
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
Error! Unknown document                                        561
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 357 07/14-16/14 Email string            If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       between Pamela Johnson and          inadmissible hearsay and no exception      and, therefore, exhibit should be
       Daniel Gutterman, et al             is applicable (F.R.E. 801, 802).           admitted as agreed. Should
       (Gutterman Depo Ex 30)              Relevance, depending on purpose for        Plaintiffs withdraw the exhibit,
       (ATL001077-1081)                    which the evidence is proffered at trial   ASIC’s response is as follows:
                                           (F.R.E. 401); Probative value is           F.R.E. 801/802 – (1) Plaintiff fails
                                           substantially outweighed by risk of        to state what portion of exhibit is
                                           confusing the issues, undue delay,         hearsay; (2) statements not offered
                                           wasting time, or needlessly presenting     for the truth, but rather to show
                                           cumulative evidence, depending on          information acted upon/state of
                                           purpose for which evidence is              mind of parties or individuals
                                           proffered at trial (F.R.E. 403).           identified in exhibits; (3) several
                                                                                      statements made by party-
                                                                                      opponent, NBC, or agents
                                                                                      affiliated with NBC and operating
                                                                                      within the scope of their agency
                                                                                      (e.g. Aon) and, therefore, are not
                                                                                      hearsay under F.R.E. 801; (4) all
                                                                                      communications of OneBeacon are
                                                                                      records made at or near to the time
                                                                                      of the events or conditions at issue
                                                                                      in this case by persons with
  Error! Unknown document                                          562
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                knowledge of those events or
                                                                                conditions; these communications
                                                                                are also made and kept in the
                                                                                regular course of business and,
                                                                                therefore, are an exception to
                                                                                hearsay under F.R.E. 803(6).
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
Error! Unknown document                                        563
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 358 Jim Zanotti, Cong. Research          No objection.                             No response.
       Serv., RL34074, The
       Palestinians: Background and
       U.S. Relations (2015)
       (ATL005135-5183)
DX 359
DX 360
DX 361
DX 362 Jim Zanotti, Cong. Research          Inadmissible hearsay and no exception     F.R.E. 801/802 – (1) Plaintiff fails
       Serv., RL41514, Hamas:               is applicable (Fed. R. Evid. 801, 802);   to state what portion of exhibit is
       Background and Issue for             No evidence sufficient to support a       hearsay; (2) statements not offered
       Congress 1-3 (2010)                  finding that Mr. Zanotti has personal     for the truth, but rather to show
       (ATL005184-5250)                     knowledge of the factual matter stated    information acted upon/state of
                                            (Fed. R. Evid. 602)                       mind of parties or individuals
                                                                                      identified therein.

   Error! Unknown document                                          564
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       F.R.E. 602 – All parties have
                                                                                       personal knowledge of information
                                                                                       existed before, during, and after
                                                                                       the events giving risie the claim at
                                                                                       issue in this case. Parties need not
                                                                                       to have been in Israel in order to
                                                                                       understand what events transpired.


DX 363
DX 364
DX 365 05/14/14 E-mail from Jay             If offered to prove the truth thereof,     F.R.E. 801/802 – (1) Plaintiff fails
       Radzinski to Stephen Smith,          inadmissible hearsay and no exception      to state what portion of exhibit is
       with attachments                     is applicable (F.R.E. 801, 802); No        hearsay; (2) statements not offered
       (UCP_003882-3896)                    evidence sufficient to support a finding   for the truth, but rather to show
                                            as to the identity of the author or that   information acted upon/state of
                                            he/she has personal knowledge of the       mind of parties or individuals
                                            factual matter stated (F.R.E. 602).        identified in exhibits; (3) several
                                                                                       statements made by party-
                                                                                       opponent, NBC, and agents
                                                                                       affiliated with NBC and operating
                                                                                       within the scope of their agency
                                                                                       (e.g. Aon) and, therefore, are not
                                                                                       hearsay under F.R.E. 801.


   Error! Unknown document                                          565
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                   F.R.E. 602 – Witnesses has
                                                                                   personal knowledge of what
                                                                                   information NBC received before,
                                                                                   during, and after the events giving
                                                                                   rise to the claim, including this
                                                                                   exhibit. Witness does not need
                                                                                   personally to have been in Israel in
                                                                                   order to testify regarding what
                                                                                   information NBC received
                                                                                   regarding what was going on in
                                                                                   Israel.


DX 366 07/10/14 E-mail from Max         If offered to prove the truth thereof,     Plaintiff has listed exhibit on its list
       Security Intelligence to Stephen inadmissible hearsay and no exception      and, therefore, exhibit should be
       Smith (UCP003798-3804)           is applicable (F.R.E. 801, 802); No        admitted as agreed. Should
                                        evidence sufficient to support a finding   Plaintiffs withdraw the exhibit,
                                        as to the identity of the author or that   ASIC’s response is as follows:
                                        he/she has personal knowledge of the       F.R.E. 801/802 – (1) Plaintiff fails
                                        factual matter stated (F.R.E. 602).        to state what portion of exhibit is
                                                                                   hearsay; (2) statements not offered
                                                                                   for the truth, but rather to show
                                                                                   information acted upon/state of
                                                                                   mind of parties or individuals
                                                                                   identified in exhibits; (3) several
                                                                                   statements made by party-
                                                                                   opponent, NBC, and agents
   Error! Unknown document                                        566
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
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                                                                                   affiliated with NBC and operating
                                                                                   within the scope of their agency
                                                                                   (e.g. Aon) and, therefore, are not
                                                                                   hearsay under F.R.E. 801.


                                                                                   F.R.E. 602 – Witnesses has
                                                                                   personal knowledge of what
                                                                                   information NBC received before,
                                                                                   during, and after the events giving
                                                                                   rise to the claim, including this
                                                                                   exhibit. Witness does not need
                                                                                   personally to have been in Israel in
                                                                                   order to testify regarding what
                                                                                   information NBC received
                                                                                   regarding what was going on in
                                                                                   Israel.


DX 367
DX 368 08/01/14 E-mail from Chris           No evidence sufficient to support a    F.R.E. 801/802 – (1) Plaintiff fails
       Biggs to Stephen Smith               finding that Mr. Biggs had personal    to state what portion of exhibit is
       (UCP002155-2157)                     knowledge of any of the matter         hearsay; (2) document not offered
                                            referenced in the email, or that Mr.   for the truth, but rather to show
                                            Biggs even authored the text of the    information acted upon/state of
                                            email given Mr. Smith’s deposition     mind of witnesses.
                                            testimony regarding Mr. Biggs’
   Error! Unknown document                                           567
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
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                                         practice of copying and pasting
                                         information from third-party sources. F.R.E. 602 – Witnesses has
                                         See Smith Depo, 315:2-316:21; Fed. R. personal knowledge of what
                                         Evid. 602.                            information NBC received before,
                                                                               during, and after the events giving
                                                                               rise to the claim, including this
                                                                               exhibit. Witness does not need
                                                                               personally to have been in Israel in
                                                                               order to testify regarding what
                                                                               information NBC received
                                                                               regarding what was going on in
                                                                               Israel.


                                                                                 F.R.E. 701 – Unclear what
                                                                                 opinions are offered by any
                                                                                 declarant in exhibit; all testimony
                                                                                 rationally based on information
                                                                                 received and acted upon; no
                                                                                 testimony based on scientific,
                                                                                 technical, or other specialized
                                                                                 knowledge within the scope of
                                                                                 F.R.E. 702; information relied
                                                                                 upon by experts as basis for
                                                                                 opinions or by ASIC as basis for
                                                                                 claims handling decisions.

Error! Unknown document                                         568
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
Error! Unknown document                                        569
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
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                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.




DX 369 08/01/14 E-mail from Chris           No evidence sufficient to support a        F.R.E. 801/802 – (1) Plaintiff fails
       Biggs to Stephen Smith               finding that the authors of these emails   to state what portion of exhibit is
       (UCP_003777)                         had personal knowledge of any of the       hearsay; (2) statements not offered
                                            factual matters referenced in them, or     for the truth, but rather to show
                                            that Mr. Biggs and Mr. Smith even          information acted upon/state of
                                            authored the text of their respective      mind of parties or individuals
                                            emails, especially in light of Mr.         identified in exhibits; (3) several
                                            Smith’s deposition testimony regarding     statements made by party-
                                            his and his colleague’s practice of        opponent, NBC, and agents
                                            copying and pasting information from       affiliated with NBC and operating
                                            third-party sources. See Smith Depo,       within the scope of their agency
                                            315:2-316:21; Fed. R. Evid. 602.           (e.g. Aon) and, therefore, are not
                                                                                       hearsay under F.R.E. 801.


                                                                                       F.R.E. 602 – Witnesses has
                                                                                       personal knowledge of what
                                                                                       information NBC received before,
                                                                                       during, and after the events giving
                                                                                       rise to the claim, including this
   Error! Unknown document                                          570
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
                        Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 771 of 1099 Page ID
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                                                                                   exhibit. Witness does not need
                                                                                   personally to have been in Israel in
                                                                                   order to testify regarding what
                                                                                   information NBC received
                                                                                   regarding what was going on in
                                                                                   Israel.


DX 370
DX 371 07/21/14 E-mail from Max         Inadmissible hearsay and no exception      Plaintiff has listed exhibit on its list
       Security Intelligence to Stephen is applicable (Fed. R. Evid. 801,          and, therefore, exhibit should be
       Smith (UCP002136-2142)           802);There is no evidence sufficient to    admitted as agreed. Should
                                        support a finding that the author has      Plaintiffs withdraw the exhibit,
                                        personal knowledge of the factual          ASIC’s response is as follows:
                                        matter stated (Fed. R. Evid. 602)          F.R.E. 801/802 – (1) Plaintiff fails
                                                                                   to state what portion of exhibit is
                                                                                   hearsay; (2) statements not offered
                                                                                   for the truth, but rather to show
                                                                                   information acted upon/state of
                                                                                   mind of parties or individuals
                                                                                   identified in exhibits; (3) several
                                                                                   statements made by party-
                                                                                   opponent, NBC, and agents
                                                                                   affiliated with NBC and operating
                                                                                   within the scope of their agency

   Error! Unknown document                                        571
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      (e.g. Aon) and, therefore, are not
                                                                                      hearsay under F.R.E. 801.


                                                                                      F.R.E. 602 – Witnesses has
                                                                                      personal knowledge of what
                                                                                      information NBC received before,
                                                                                      during, and after the events giving
                                                                                      rise to the claim, including this
                                                                                      exhibit. Witness does not need
                                                                                      personally to have been in Israel in
                                                                                      order to testify regarding what
                                                                                      information NBC received
                                                                                      regarding what was going on in
                                                                                      Israel.


DX 372 07/14-15/14 Email string             Depending on which portion of the         F.R.E. 801/802 – (1) Plaintiff fails
       between Susan Weiss and              document is used, if offered to prove     to state what portion of exhibit is
       Andrea Garber, et al                 the truth thereof, inadmissible hearsay   hearsay; (2) statements not offered
       (UCP000340-343)                      and no exception is applicable (F.R.E.    for the truth, but rather to show
                                            801, 802); Relevance, depending on        information acted upon/state of
                                            purpose for which the evidence is         mind of parties or individuals
                                            proffered at trial (F.R.E. 401);          identified in exhibits; (3) several
                                            Probative value is substantially          statements made by party-
                                            outweighed by risk of confusing the       opponent, NBC, or agents
                                            issues, undue delay, wasting time, or     affiliated with NBC and operating
   Error! Unknown document                                          572
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
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                                                       #:25039




                                         needlessly presenting cumulative       within the scope of their agency
                                         evidence, depending on purpose for     (e.g. Aon) and, therefore, are not
                                         which evidence is proffered at trial   hearsay under F.R.E. 801.
                                         (F.R.E. 403).
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
Error! Unknown document                                          573
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                         to know what information NBC,
                                                                                         ASIC, and other parties had at time
                                                                                         of the facts giving rise to Plaintiffs’
                                                                                         claims.


DX 373 Atlantic Specialty Insurance         No objection other than that this exhibit Plaintiff has listed exhibit on its list
       Company Policy Number No.            is duplicative of Plaintiffs’ Exhibit.    and, therefore, exhibit should be
       MP00163-04 (UCP000056-               (F.R.E. 403).                             admitted as agreed. Should
       000110)                                                                        Plaintiffs withdraw the exhibit,
                                                                                      ASIC’s response is as follows:
                                                                                         Not duplicative, or, if duplicative,
                                                                                         Plaintiffs fail to identify what
                                                                                         exhibit MSJ 44 duplicates.
DX 374 Gaza cease-fire holds between        If offered to prove the truth of facts       F.R.E. 801/802 – (1) Plaintiff fails
       Hamas and Israel after 50-day        stated therein, inadmissible hearsay and     to state what portion of exhibit is
       war, NBC News, Aug. 27,              no exception is applicable (F.R.E. 801,      hearsay; (2) document not offered
       2014,                                802); Improper lay opinion (F.R.E.           for the truth, but rather to show
       http://www.nbcnews.com/storyl        701); No evidence sufficient to support      information acted upon/state of
       ine/middle-east-unrest/gaza-         a finding as to the identity of the author   mind of witnesses.
       cease-fire-holds-between-            or that he/she has personal knowledge
       hamas-israel-after-50-day-           of the factual matter stated (F.R.E.
       n189821                              602); Irrelevant (F.R.E. 401, 402); Any      F.R.E. 602 – Witnesses has
       (ATL005260; ATL004745)               probative value is substantially             personal knowledge of what
                                            outweighed by risk of unfair prejudice,      information NBC received before,
                                            confusing the issues, misleading the         during, and after the events giving
                                                                                         rise to the claim, including this
   Error! Unknown document                                           574
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         jury, undue delay, wasting time, or    exhibit. Witness does not need
                                         needlessly presenting cumulative       personally to have been in Israel in
                                         evidence (F.R.E. 403).                 order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 701 – Unclear what
                                                                                opinions are offered by any
                                                                                declarant in exhibit; all testimony
                                                                                rationally based on information
                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702; information relied
                                                                                upon by experts as basis for
                                                                                opinions or by ASIC as basis for
                                                                                claims handling decisions.
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
Error! Unknown document                                          575
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.




Error! Unknown document                                        576
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 375 07/30/14 Alastair Jamieson,          If offered to prove the truth of facts       F.R.E. 801/802 – (1) Plaintiff fails
       How technology is intensifying       stated therein, inadmissible hearsay and     to state what portion of exhibit is
       Gaza War between Israel and          no exception is applicable (F.R.E. 801,      hearsay; (2) document not offered
       Hamas, NBC News                      802); Improper lay opinion (F.R.E.           for the truth, but rather to show
       (ATL004726-4729;                     701); No evidence sufficient to support      information acted upon/state of
       ATL004730 and ATL004731)             a finding as to the identity of the author   mind of witnesses; Document
                                            or that he/she has personal knowledge        relied on for experts or ASIC in
                                            of the factual matter stated (F.R.E.         forming opinions or making claim
                                            602); Irrelevant (F.R.E. 401, 402); Any      decisions.
                                            probative value is substantially
                                            outweighed by risk of unfair prejudice,
                                            confusing the issues, misleading the         F.R.E. 602 – Witnesses has
                                            jury, undue delay, wasting time, or          personal knowledge of what
                                            needlessly presenting cumulative             information NBC or ASIC
                                            evidence (F.R.E. 403).                       received before, during, and after
                                                                                         the events giving rise to the claim,
                                                                                         including this exhibit. Witness
                                                                                         does not need personally to have
                                                                                         been in Israel in order to testify
                                                                                         regarding what information ASIC
                                                                                         or NBC received regarding what
                                                                                         was going on in Israel.


                                                                                         F.R.E. 701 – Unclear what
                                                                                         opinions are offered by any
                                                                                         declarant in exhibit; all testimony
                                                                                         rationally based on information
   Error! Unknown document                                           577
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702; information relied
                                                                                upon by experts as basis for
                                                                                opinions or by ASIC as basis for
                                                                                claims handling decisions.
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
Error! Unknown document                                        578
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                         why exhibit confuses the issue,
                                                                                         misleads the jury, wastes time, or
                                                                                         is cumulative. Furthermore, high
                                                                                         probative value re: state of mind of
                                                                                         all parties involved at the time of
                                                                                         the claim. Finally, jury is entitled
                                                                                         to know what information NBC,
                                                                                         ASIC, and other parties had at time
                                                                                         of the facts giving rise to Plaintiffs’
                                                                                         claims.




DX 376 07/08/14 Israel and Hamas            If offered to prove the truth of facts       F.R.E. 801/802 – (1) Plaintiff fails
       exchange missile fire as Gaza        stated therein, inadmissible hearsay and     to state what portion of exhibit is
       War looms, NBC News, July 8,         no exception is applicable (F.R.E. 801,      hearsay; (2) statements not offered
       2014 (ATL4732; ATL004734)            802); Improper lay opinion (F.R.E.           for the truth, but rather to show
                                            701); No evidence sufficient to support      information acted upon/state of
                                            a finding as to the identity of the author   mind of parties or individuals
                                            or that he/she has personal knowledge        identified in exhibits; (3) several
                                            of the factual matter stated (F.R.E.         statements made by party-
                                            602); Irrelevant (F.R.E. 401, 402); Any      opponent, NBC, or agents
                                            probative value is substantially             affiliated with NBC and operating
                                            outweighed by risk of unfair prejudice,      within the scope of their agency
                                            confusing the issues, misleading the
   Error! Unknown document                                           579
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         jury, undue delay, wasting time, or    (e.g. Aon) and, therefore, are not
                                         needlessly presenting cumulative       hearsay under F.R.E. 801.
                                         evidence (F.R.E. 403).                 F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC or ASIC
                                                                                received before, during, and after
                                                                                the events giving rise to the claim,
                                                                                including this exhibit. Witness
                                                                                does not need personally to have
                                                                                been in Israel in order to testify
                                                                                regarding what information ASIC
                                                                                or NBC received regarding what
                                                                                was going on in Israel.


                                                                                F.R.E. 701 – Unclear what
                                                                                opinions are offered by any
                                                                                declarant in exhibit; all testimony
                                                                                rationally based on information
                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702; information relied
                                                                                upon by experts as basis for
                                                                                opinions or by ASIC as basis for
                                                                                claims handling decisions.
Error! Unknown document                                          580
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
Error! Unknown document                                        581
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                         of the facts giving rise to Plaintiffs’
                                                                                         claims.


DX 377 07/30/14 Public support for          If offered to prove the truth of facts       F.R.E. 801/802 – (1) Plaintiff fails
       Israel shifting amid Gaza War,       stated therein, inadmissible hearsay and     to state what portion of exhibit is
       Britain warns, NBC News              no exception is applicable (F.R.E. 801,      hearsay; (2) statements not offered
       (ATL004736-004738;                   802); Improper lay opinion (F.R.E.           for the truth, but rather to show
       ATL004739)                           701); No evidence sufficient to support      information acted upon/state of
                                            a finding as to the identity of the author   mind of parties or individuals
                                            or that he/she has personal knowledge        identified in exhibits; (3) several
                                            of the factual matter stated (F.R.E.         statements made by party-
                                            602); Irrelevant (F.R.E. 401, 402); Any      opponent, NBC, or agents
                                            probative value is substantially             affiliated with NBC and operating
                                            outweighed by risk of unfair prejudice,      within the scope of their agency
                                            confusing the issues, misleading the         (e.g. Aon) and, therefore, are not
                                            jury, undue delay, wasting time, or          hearsay under F.R.E. 801.
                                            needlessly presenting cumulative             .R.E. 602 – Witnesses has personal
                                            evidence (F.R.E. 403).                       knowledge of what information
                                                                                         NBC or ASIC received before,
                                                                                         during, and after the events giving
                                                                                         rise to the claim, including this
                                                                                         exhibit. Witness does not need
                                                                                         personally to have been in Israel in
                                                                                         order to testify regarding what
                                                                                         information ASIC or NBC

   Error! Unknown document                                           582
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                received regarding what was going
                                                                                on in Israel.


                                                                                F.R.E. 701 – Unclear what
                                                                                opinions are offered by any
                                                                                declarant in exhibit; all testimony
                                                                                rationally based on information
                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702; information relied
                                                                                upon by experts as basis for
                                                                                opinions or by ASIC as basis for
                                                                                claims handling decisions.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).

Error! Unknown document                                        583
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                         F.R.E. 403 – Objection is
                                                                                         conditional, and therefore not
                                                                                         binding as to general admissibility.
                                                                                         Objection also fails to state why
                                                                                         exhibit is unfairly prejudicial; or
                                                                                         why such alleged unfair prejudice
                                                                                         outweighs its probative value; or
                                                                                         why exhibit confuses the issue,
                                                                                         misleads the jury, wastes time, or
                                                                                         is cumulative. Furthermore, high
                                                                                         probative value re: state of mind of
                                                                                         all parties involved at the time of
                                                                                         the claim. Finally, jury is entitled
                                                                                         to know what information NBC,
                                                                                         ASIC, and other parties had at time
                                                                                         of the facts giving rise to Plaintiffs’
                                                                                         claims.


DX 378 08/01/14 Gaza death toll nears       If offered to prove the truth of facts       F.R.E. 801/802 – (1) Plaintiff fails
       1,500 as 72-hour truce with          stated therein, inadmissible hearsay and     to state what portion of exhibit is
       Israel begins, NBC News              no exception is applicable (F.R.E. 801,      hearsay; (2) statements not offered
       (ATL004741; ATL004742)               802); Improper lay opinion (F.R.E.           for the truth, but rather to show
                                            701); No evidence sufficient to support      information acted upon/state of
                                            a finding as to the identity of the author   mind of parties or individuals
                                            or that he/she has personal knowledge        identified in exhibits.
   Error! Unknown document                                           584
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         of the factual matter stated (F.R.E.      F.R.E. 602 – Witnesses has
                                         602); Irrelevant (F.R.E. 401, 402); Any   personal knowledge of what
                                         probative value is substantially          information NBC or ASIC
                                         outweighed by risk of unfair prejudice,   received before, during, and after
                                         confusing the issues, misleading the      the events giving rise to the claim,
                                         jury, undue delay, wasting time, or       including this exhibit. Witness
                                         needlessly presenting cumulative          does not need personally to have
                                         evidence (F.R.E. 403).                    been in Israel in order to testify
                                                                                   regarding what information ASIC
                                                                                   or NBC received regarding what
                                                                                   was going on in Israel.


                                                                                   F.R.E. 701 – Unclear what
                                                                                   opinions are offered by any
                                                                                   declarant in exhibit; all testimony
                                                                                   rationally based on information
                                                                                   received and acted upon; no
                                                                                   testimony based on scientific,
                                                                                   technical, or other specialized
                                                                                   knowledge within the scope of
                                                                                   F.R.E. 702; information relied
                                                                                   upon by experts as basis for
                                                                                   opinions or by ASIC as basis for
                                                                                   claims handling decisions.



Error! Unknown document                                         585
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time


Error! Unknown document                                        586
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                          #:25053




                                                                                         of the facts giving rise to Plaintiffs’
                                                                                         claims.


DX 379 07/18/14 Benjamin Landy &            If offered to prove the truth of facts       F.R.E. 801/802 – (1) Plaintiff fails
       Maria Lokke, Scenes of war           stated therein, inadmissible hearsay and     to state what portion of exhibit is
       and heartbreak as Israel-Hams        no exception is applicable (F.R.E. 801,      hearsay; (2) statements not offered
       conflict intensifies, MSNBC          802); Improper lay opinion (F.R.E.           for the truth, but rather to show
       (ATL004588-004597)                   701); No evidence sufficient to support      information acted upon/state of
                                            a finding as to the identity of the author   mind of parties or individuals
                                            or that he/she has personal knowledge        identified in exhibits.
                                            of the factual matter stated (F.R.E.         F.R.E. 602 – Witnesses has
                                            602); Irrelevant (F.R.E. 401, 402); Any      personal knowledge of what
                                            probative value is substantially             information NBC or ASIC
                                            outweighed by risk of unfair prejudice,      received before, during, and after
                                            confusing the issues, misleading the         the events giving rise to the claim,
                                            jury, undue delay, wasting time, or          including this exhibit. Witness
                                            needlessly presenting cumulative             does not need personally to have
                                            evidence (F.R.E. 403).                       been in Israel in order to testify
                                                                                         regarding what information ASIC
                                                                                         or NBC received regarding what
                                                                                         was going on in Israel.


                                                                                         F.R.E. 701 – Unclear what
                                                                                         opinions are offered by any
                                                                                         declarant in exhibit; all testimony
   Error! Unknown document                                           587
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                rationally based on information
                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702; information relied
                                                                                upon by experts as basis for
                                                                                opinions or by ASIC as basis for
                                                                                claims handling decisions.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
Error! Unknown document                                        588
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                         outweighs its probative value; or
                                                                                         why exhibit confuses the issue,
                                                                                         misleads the jury, wastes time, or
                                                                                         is cumulative. Furthermore, high
                                                                                         probative value re: state of mind of
                                                                                         all parties involved at the time of
                                                                                         the claim. Finally, jury is entitled
                                                                                         to know what information NBC,
                                                                                         ASIC, and other parties had at time
                                                                                         of the facts giving rise to Plaintiffs’
                                                                                         claims.


DX 380 07/06/14 Donna Stefano, In           If offered to prove the truth of facts       F.R.E. 801/802 – (1) Plaintiff fails
       Israel and Palestine, children       stated therein, inadmissible hearsay and     to state what portion of exhibit is
       imagine a world without war,         no exception is applicable (F.R.E. 801,      hearsay; (2) statements not offered
       MSNBC (ATL004598-004602)             802); Improper lay opinion (F.R.E.           for the truth, but rather to show
                                            701); No evidence sufficient to support      information acted upon/state of
                                            a finding as to the identity of the author   mind of parties or individuals
                                            or that he/she has personal knowledge        identified in exhibits.
                                            of the factual matter stated (F.R.E.         F.R.E. 602 – Witnesses has
                                            602); Irrelevant (F.R.E. 401, 402); Any      personal knowledge of what
                                            probative value is substantially             information NBC or ASIC
                                            outweighed by risk of unfair prejudice,      received before, during, and after
                                            confusing the issues, misleading the         the events giving rise to the claim,
                                            jury, undue delay, wasting time, or          including this exhibit. Witness
                                                                                         does not need personally to have
   Error! Unknown document                                           589
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
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                                         needlessly presenting cumulative       been in Israel in order to testify
                                         evidence (F.R.E. 403).                 regarding what information ASIC
                                                                                or NBC received regarding what
                                                                                was going on in Israel.


                                                                                F.R.E. 701 – Unclear what
                                                                                opinions are offered by any
                                                                                declarant in exhibit; all testimony
                                                                                rationally based on information
                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702; information relied
                                                                                upon by experts as basis for
                                                                                opinions or by ASIC as basis for
                                                                                claims handling decisions.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind

Error! Unknown document                                         590
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                      #:25057




                                                                                  of all parties involved at time of
                                                                                  claim (NBC, ASIC, Aon, etc.).


                                                                                  F.R.E. 403 – Objection is
                                                                                  conditional, and therefore not
                                                                                  binding as to general admissibility.
                                                                                  Objection also fails to state why
                                                                                  exhibit is unfairly prejudicial; or
                                                                                  why such alleged unfair prejudice
                                                                                  outweighs its probative value; or
                                                                                  why exhibit confuses the issue,
                                                                                  misleads the jury, wastes time, or
                                                                                  is cumulative. Furthermore, high
                                                                                  probative value re: state of mind of
                                                                                  all parties involved at the time of
                                                                                  the claim. Finally, jury is entitled
                                                                                  to know what information NBC,
                                                                                  ASIC, and other parties had at time
                                                                                  of the facts giving rise to Plaintiffs’
                                                                                  claims.


DX 381 MSNBC,                            Inadmissible hearsay and no exception    F.R.E. 801/802 – (1) Plaintiff fails
           http://www.nbcuniversal.com/b is applicable (Fed. R. Evid. 801, 802)   to state what portion of exhibit is
           usiness/msnbc (“MSNBC is                                               hearsay; (2) document contains no
           part of the NBCUniversal News                                          out of court statements offered for
           Group, a division of                                                   the truth of the matter asserted; (3)
  Error! Unknown document                                         591
   property name.                    ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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           NBCUniversal, which is owned                                               statements made by party-
           by Comcast Corporation.”)                                                  opponent, NBC, and agents
           (ATL004784)                                                                affiliated with NBC; (4) non-NBC
                                                                                      statements are all adopted by NBC;
                                                                                      (5) statements not offered for the
                                                                                      truth, but rather to show
                                                                                      information acted upon/state of
                                                                                      mind of witnesses.


DX 382 NBC News,                     Inadmissible hearsay and no exception            F.R.E. 801/802 – (1) Plaintiff fails
       http://www.nbcuniversal.com/b is applicable (Fed. R. Evid. 801, 802)           to state what portion of exhibit is
       usiness/nbc-news (“NBC News                                                    hearsay; (2) document contains no
       is part of the NBCUniversal                                                    out of court statements offered for
       News Group, a division of                                                      the truth of the matter asserted; (3)
       NBCUniversal, which is owned                                                   statements made by party-
       by Comcast Corporation.”)                                                      opponent, NBC, and agents
       (ATL004785)                                                                    affiliated with NBC; (4) non-NBC
                                                                                      statements are all adopted by NBC;
                                                                                      (5) statements not offered for the
                                                                                      truth, but rather to show
                                                                                      information acted upon/state of
                                                                                      mind of witnesses.


DX 383 08/06/14 Nicholas Casey,             If offered to prove the truth of facts   F.R.E. 801/802 – (1) Plaintiff fails
       Joshua Mitnick & Nicholas            stated therein, inadmissible hearsay and to state what portion of exhibit is
   Error! Unknown document                                          592
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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        Casey, Israel, Hamas set out       no exception is applicable (F.R.E. 801,      hearsay; (2) statements not offered
        demands on Gaza, The Wall          802); Improper lay opinion (F.R.E.           for the truth, but rather to show
        Street Journal (ATL005261-         701); No evidence sufficient to support      information acted upon/state of
        5267; ATL004783)                   a finding as to the identity of the author   mind of parties or individuals
                                           or that he/she has personal knowledge        identified in exhibits.
                                           of the factual matter stated (F.R.E.         F.R.E. 602 – Witnesses has
                                           602); Irrelevant (F.R.E. 401, 402); Any      personal knowledge of what
                                           probative value is substantially             information NBC or ASIC
                                           outweighed by risk of unfair prejudice,      received before, during, and after
                                           confusing the issues, misleading the         the events giving rise to the claim,
                                           jury, undue delay, wasting time, or          including this exhibit. Witness
                                           needlessly presenting cumulative             does not need personally to have
                                           evidence (F.R.E. 403).                       been in Israel in order to testify
                                                                                        regarding what information ASIC
                                                                                        or NBC received regarding what
                                                                                        was going on in Israel.


                                                                                        F.R.E. 701 – Unclear what
                                                                                        opinions are offered by any
                                                                                        declarant in exhibit; all testimony
                                                                                        rationally based on information
                                                                                        received and acted upon; no
                                                                                        testimony based on scientific,
                                                                                        technical, or other specialized
                                                                                        knowledge within the scope of
                                                                                        F.R.E. 702; information relied
Error! Unknown document                                             593
property name.                         ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                upon by experts as basis for
                                                                                opinions or by ASIC as basis for
                                                                                claims handling decisions.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
Error! Unknown document                                        594
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                         the claim. Finally, jury is entitled
                                                                                         to know what information NBC,
                                                                                         ASIC, and other parties had at time
                                                                                         of the facts giving rise to Plaintiffs’
                                                                                         claims.


DX 384
DX 385
DX 386 09/03/14 William Booth,              If offered to prove the truth of facts       F.R.E. 801/802 – (1) Plaintiff fails
       Here’s what really happened in       stated therein, inadmissible hearsay and     to state what portion of exhibit is
       the Gaza war (according to the       no exception is applicable (F.R.E. 801,      hearsay; (2) statements not offered
       Israelis), The Washington Post       802); Improper lay opinion (F.R.E.           for the truth, but rather to show
       (ATL004776-4779;                     701); No evidence sufficient to support      information acted upon/state of
       ATL004781)                           a finding as to the identity of the author   mind of parties or individuals
                                            or that he/she has personal knowledge        identified in exhibits.
                                            of the factual matter stated (F.R.E.         .R.E. 602 – Witnesses has personal
                                            602); Irrelevant (F.R.E. 401, 402); Any      knowledge of what information
                                            probative value is substantially             NBC or ASIC received before,
                                            outweighed by risk of unfair prejudice,      during, and after the events giving
                                            confusing the issues, misleading the         rise to the claim, including this
                                            jury, undue delay, wasting time, or          exhibit. Witness does not need
                                            needlessly presenting cumulative             personally to have been in Israel in
                                            evidence (F.R.E. 403).                       order to testify regarding what
                                                                                         information ASIC or NBC

   Error! Unknown document                                           595
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                received regarding what was going
                                                                                on in Israel.


                                                                                F.R.E. 701 – Unclear what
                                                                                opinions are offered by any
                                                                                declarant in exhibit; all testimony
                                                                                rationally based on information
                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702; information relied
                                                                                upon by experts as basis for
                                                                                opinions or by ASIC as basis for
                                                                                claims handling decisions.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).

Error! Unknown document                                        596
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     F.R.E. 403 – Objection is
                                                                                     conditional, and therefore not
                                                                                     binding as to general admissibility.
                                                                                     Objection also fails to state why
                                                                                     exhibit is unfairly prejudicial; or
                                                                                     why such alleged unfair prejudice
                                                                                     outweighs its probative value; or
                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.


DX 387
DX 388
DX 389
DX 390 06/22/15 Batsheva Sobelman,         If offered to prove the truth of facts   F.R.E. 801/802 – (1) Plaintiff fails
       Israel and Hamas may have           stated therein, inadmissible hearsay and to state what portion of exhibit is
  Error! Unknown document                                          597
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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        committed war crimes in Gaza,    no exception is applicable (F.R.E. 801,      hearsay; (2) statements not offered
        U.N. report says, The Los        802); Improper lay opinion (F.R.E.           for the truth, but rather to show
        Angeles Times (ATL004631-        701); No evidence sufficient to support      information acted upon/state of
        4634)                            a finding as to the identity of the author   mind of parties or individuals
                                         or that he/she has personal knowledge        identified in exhibits.
                                         of the factual matter stated (F.R.E.         F.R.E. 602 – Witnesses has
                                         602); Irrelevant (F.R.E. 401, 402); Any      personal knowledge of what
                                         probative value is substantially             information NBC or ASIC
                                         outweighed by risk of unfair prejudice,      received before, during, and after
                                         confusing the issues, misleading the         the events giving rise to the claim,
                                         jury, undue delay, wasting time, or          including this exhibit. Witness
                                         needlessly presenting cumulative             does not need personally to have
                                         evidence (F.R.E. 403).                       been in Israel in order to testify
                                                                                      regarding what information ASIC
                                                                                      or NBC received regarding what
                                                                                      was going on in Israel.


                                                                                      F.R.E. 701 – Unclear what
                                                                                      opinions are offered by any
                                                                                      declarant in exhibit; all testimony
                                                                                      rationally based on information
                                                                                      received and acted upon; no
                                                                                      testimony based on scientific,
                                                                                      technical, or other specialized
                                                                                      knowledge within the scope of
                                                                                      F.R.E. 702; information relied
Error! Unknown document                                           598
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                upon by experts as basis for
                                                                                opinions or by ASIC as basis for
                                                                                claims handling decisions.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
Error! Unknown document                                        599
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                         the claim. Finally, jury is entitled
                                                                                         to know what information NBC,
                                                                                         ASIC, and other parties had at time
                                                                                         of the facts giving rise to Plaintiffs’
                                                                                         claims.


DX 391
DX 392 08/26/14 Amir Oren, After            If offered to prove the truth of facts       F.R.E. 801/802 – (1) Plaintiff fails
       seven weeks of Gaza War,             stated therein, inadmissible hearsay and     to state what portion of exhibit is
       Hamas 1, Israel 0, Haaretz           no exception is applicable (F.R.E. 801,      hearsay; (2) statements not offered
       News (ATL004648-4651)                802); Improper lay opinion (F.R.E.           for the truth, but rather to show
                                            701); No evidence sufficient to support      information acted upon/state of
                                            a finding as to the identity of the author   mind of parties or individuals
                                            or that he/she has personal knowledge        identified in exhibits.
                                            of the factual matter stated (F.R.E.         F.R.E. 602 – Witnesses has
                                            602); Irrelevant (F.R.E. 401, 402); Any      personal knowledge of what
                                            probative value is substantially             information NBC or ASIC
                                            outweighed by risk of unfair prejudice,      received before, during, and after
                                            confusing the issues, misleading the         the events giving rise to the claim,
                                            jury, undue delay, wasting time, or          including this exhibit. Witness
                                            needlessly presenting cumulative             does not need personally to have
                                            evidence (F.R.E. 403).                       been in Israel in order to testify
                                                                                         regarding what information ASIC
                                                                                         or NBC received regarding what
                                                                                         was going on in Israel.
   Error! Unknown document                                           600
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                F.R.E. 701 – Unclear what
                                                                                opinions are offered by any
                                                                                declarant in exhibit; all testimony
                                                                                rationally based on information
                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702; information relied
                                                                                upon by experts as basis for
                                                                                opinions or by ASIC as basis for
                                                                                claims handling decisions.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).



Error! Unknown document                                        601
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                  F.R.E. 403 – Objection is
                                                                                  conditional, and therefore not
                                                                                  binding as to general admissibility.
                                                                                  Objection also fails to state why
                                                                                  exhibit is unfairly prejudicial; or
                                                                                  why such alleged unfair prejudice
                                                                                  outweighs its probative value; or
                                                                                  why exhibit confuses the issue,
                                                                                  misleads the jury, wastes time, or
                                                                                  is cumulative. Furthermore, high
                                                                                  probative value re: state of mind of
                                                                                  all parties involved at the time of
                                                                                  the claim. Finally, jury is entitled
                                                                                  to know what information NBC,
                                                                                  ASIC, and other parties had at time
                                                                                  of the facts giving rise to Plaintiffs’
                                                                                  claims.


DX 393
DX 394
DX 395
DX 396
DX 397

  Error! Unknown document                                        602
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 398
DX 399
DX 400
DX 401
DX 402
DX 403
DX 404
DX 405
DX 406
DX 407
DX 408
DX 409
DX 410
DX 411 10/12/14 John Kerry, Secretary       If offered to prove the truth of facts     F.R.E. 801/802 – (1) Plaintiff fails
       of State, Remarks at the Gaza        stated therein, inadmissible hearsay and   to state what portion of exhibit is
       Donors Conference                    no exception is applicable (F.R.E. 801,    hearsay; (2) statements not offered
       (ATL004584-4587)                     802); Improper lay opinion (F.R.E.         for the truth, but rather to show
                                            701); To the extent characterized          information acted upon/state of
                                            expert opinion, there has been no
   Error! Unknown document                                            603
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 804 of 1099 Page ID
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                                         showing that the author’s statements         mind of parties or individuals
                                         are based on sufficient facts or data or     identified in exhibits
                                         that they are the product of reliable        F.R.E. 602 – Witnesses has
                                         principles and methods (F.R.E. 702,          personal knowledge of what
                                         703); No evidence sufficient to support      information NBC or ASIC
                                         a finding as to the identity of the author   received before, during, and after
                                         or that he/she has personal knowledge        the events giving rise to the claim,
                                         of the factual matter stated (F.R.E.         including this exhibit. Witness
                                         602); Irrelevant (F.R.E. 401, 402); Any      does not need personally to have
                                         probative value is substantially             been in Israel in order to testify
                                         outweighed by risk of unfair prejudice,      regarding what information ASIC
                                         confusing the issues, misleading the         or NBC received regarding what
                                         jury, undue delay, wasting time, or          was going on in Israel.
                                         needlessly presenting cumulative
                                         evidence (F.R.E. 403).
                                                                                      F.R.E. 701 – Unclear what
                                                                                      opinions are offered by any
                                                                                      declarant in exhibit; all testimony
                                                                                      rationally based on information
                                                                                      received and acted upon; no
                                                                                      testimony based on scientific,
                                                                                      technical, or other specialized
                                                                                      knowledge within the scope of
                                                                                      F.R.E. 702; information relied
                                                                                      upon by experts as basis for
                                                                                      opinions or by ASIC as basis for
                                                                                      claims handling decisions.
Error! Unknown document                                           604
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 805 of 1099 Page ID
                                                       #:25071




                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time


Error! Unknown document                                        605
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                         of the facts giving rise to Plaintiffs’
                                                                                         claims.


DX 412 12/05/15 John Kerry, Secretary       If offered to prove the truth of facts       F.R.E. 801/802 – (1) Plaintiff fails
       of State, Brookings Institution’s    stated therein, inadmissible hearsay and     to state what portion of exhibit is
       2015 Saban Forum Keynote             no exception is applicable (F.R.E. 801,      hearsay; (2) statements not offered
       Address (ATL004567-004583)           802); Improper lay opinion (F.R.E.           for the truth, but rather to show
                                            701); To the extent characterized            information acted upon/state of
                                            expert opinion, there has been no            mind of parties or individuals
                                            showing that the author’s statements         identified in exhibits
                                            are based on sufficient facts or data or
                                            that they are the product of reliable        F.R.E. 602 – Witnesses has
                                            principles and methods (F.R.E. 702,          personal knowledge of what
                                            703); No evidence sufficient to support      information NBC or ASIC
                                            a finding as to the identity of the author   received before, during, and after
                                            or that he/she has personal knowledge        the events giving rise to the claim,
                                            of the factual matter stated (F.R.E.         including this exhibit. Witness
                                            602); Irrelevant (F.R.E. 401, 402); Any      does not need personally to have
                                            probative value is substantially             been in Israel in order to testify
                                            outweighed by risk of unfair prejudice,      regarding what information ASIC
                                            confusing the issues, misleading the         or NBC received regarding what
                                            jury, undue delay, wasting time, or          was going on in Israel.
                                            needlessly presenting cumulative
                                            evidence (F.R.E. 403).
                                                                                         F.R.E. 701 – Unclear what
                                                                                         opinions are offered by any
                                                                                         declarant in exhibit; all testimony
   Error! Unknown document                                           606
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
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                                                                                rationally based on information
                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702; information relied
                                                                                upon by experts as basis for
                                                                                opinions or by ASIC as basis for
                                                                                claims handling decisions.
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
Error! Unknown document                                        607
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
                        Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 808 of 1099 Page ID
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                                                                                         why exhibit confuses the issue,
                                                                                         misleads the jury, wastes time, or
                                                                                         is cumulative. Furthermore, high
                                                                                         probative value re: state of mind of
                                                                                         all parties involved at the time of
                                                                                         the claim. Finally, jury is entitled
                                                                                         to know what information NBC,
                                                                                         ASIC, and other parties had at time
                                                                                         of the facts giving rise to Plaintiffs’
                                                                                         claims.


DX 413 12/28/16 John Kerry, Secretary       If offered to prove the truth of facts       F.R.E. 801/802 – (1) Plaintiff fails
       of State, Remarks on Middle          stated therein, inadmissible hearsay and     to state what portion of exhibit is
       East Peace (ATL004550-4566)          no exception is applicable (F.R.E. 801,      hearsay; (2) statements not offered
                                            802); Improper lay opinion (F.R.E.           for the truth, but rather to show
                                            701); To the extent characterized            information acted upon/state of
                                            expert opinion, there has been no            mind of parties or individuals
                                            showing that the author’s statements         identified in exhibits
                                            are based on sufficient facts or data or     F.R.E. 602 – Witnesses has
                                            that they are the product of reliable        personal knowledge of what
                                            principles and methods (F.R.E. 702,          information NBC or ASIC
                                            703); No evidence sufficient to support      received before, during, and after
                                            a finding as to the identity of the author   the events giving rise to the claim,
                                            or that he/she has personal knowledge        including this exhibit. Witness
                                            of the factual matter stated (F.R.E.         does not need personally to have
                                            602); Irrelevant (F.R.E. 401, 402); Any      been in Israel in order to testify
   Error! Unknown document                                           608
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 809 of 1099 Page ID
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                                         probative value is substantially          regarding what information ASIC
                                         outweighed by risk of unfair prejudice,   or NBC received regarding what
                                         confusing the issues, misleading the      was going on in Israel.
                                         jury, undue delay, wasting time, or
                                         needlessly presenting cumulative
                                         evidence (F.R.E. 403).                    F.R.E. 701 – Unclear what
                                                                                   opinions are offered by any
                                                                                   declarant in exhibit; all testimony
                                                                                   rationally based on information
                                                                                   received and acted upon; no
                                                                                   testimony based on scientific,
                                                                                   technical, or other specialized
                                                                                   knowledge within the scope of
                                                                                   F.R.E. 702; information relied
                                                                                   upon by experts as basis for
                                                                                   opinions or by ASIC as basis for
                                                                                   claims handling decisions.
                                                                                   F.R.E. 401 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why or
                                                                                   in what context exhibit is
                                                                                   irrelevant. Furthermore, exhibit is
                                                                                   relevant to establish state of mind
                                                                                   of all parties involved at time of
                                                                                   claim (NBC, ASIC, Aon, etc.).

Error! Unknown document                                          609
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                  F.R.E. 403 – Objection is
                                                                                  conditional, and therefore not
                                                                                  binding as to general admissibility.
                                                                                  Objection also fails to state why
                                                                                  exhibit is unfairly prejudicial; or
                                                                                  why such alleged unfair prejudice
                                                                                  outweighs its probative value; or
                                                                                  why exhibit confuses the issue,
                                                                                  misleads the jury, wastes time, or
                                                                                  is cumulative. Furthermore, high
                                                                                  probative value re: state of mind of
                                                                                  all parties involved at the time of
                                                                                  the claim. Finally, jury is entitled
                                                                                  to know what information NBC,
                                                                                  ASIC, and other parties had at time
                                                                                  of the facts giving rise to Plaintiffs’
                                                                                  claims.


DX 414
DX 415
DX 416
DX 417

  Error! Unknown document                                        610
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 418
DX 419 07/07/14 Al-Qassam Brigades          If offered to prove the truth of facts       F.R.E. 801/802 – (1) Plaintiff fails
       Information Office: Military         stated therein, inadmissible hearsay and     to state what portion of exhibit is
       Communique, Al Qassam                no exception is applicable (F.R.E. 801,      hearsay; (2) statements not offered
       Brigades retaliate with 35           802); Improper lay opinion (F.R.E.           for the truth, but rather to show
       missiles on Israeli military         701); To the extent characterized            information acted upon/state of
       bases (ATL004787)                    expert opinion, there has been no            mind of parties or individuals
                                            showing that the author’s statements         identified in exhibits.
                                            are based on sufficient facts or data or
                                            that they are the product of reliable        F.R.E. 602 – Witnesses has
                                            principles and methods (F.R.E. 702,          personal knowledge of what
                                            703); No evidence sufficient to support      information NBC or ASIC
                                            a finding as to the identity of the author   received before, during, and after
                                            or that he/she has personal knowledge        the events giving rise to the claim,
                                            of the factual matter stated (F.R.E.         including this exhibit. Witness
                                            602); Irrelevant (F.R.E. 401, 402); Any      does not need personally to have
                                            probative value is substantially             been in Israel in order to testify
                                            outweighed by risk of unfair prejudice,      regarding what information ASIC
                                            confusing the issues, misleading the         or NBC received regarding what
                                            jury, undue delay, wasting time, or          was going on in Israel.
                                            needlessly presenting cumulative
                                            evidence (F.R.E. 403).
                                                                                         F.R.E. 701 – Unclear what
                                                                                         opinions are offered by any
                                                                                         declarant in exhibit; all testimony
                                                                                         rationally based on information
                                                                                         received and acted upon; no
   Error! Unknown document                                           611
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 812 of 1099 Page ID
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                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702; information relied
                                                                                upon by experts as basis for
                                                                                opinions or by ASIC as basis for
                                                                                claims handling decisions.
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
Error! Unknown document                                        612
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                        Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 813 of 1099 Page ID
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                                                                                         is cumulative. Furthermore, high
                                                                                         probative value re: state of mind of
                                                                                         all parties involved at the time of
                                                                                         the claim. Finally, jury is entitled
                                                                                         to know what information NBC,
                                                                                         ASIC, and other parties had at time
                                                                                         of the facts giving rise to Plaintiffs’
                                                                                         claims.


DX 420 07/08/14 Al-Qassam Brigades          If offered to prove the truth of facts       F.R.E. 801/802 – (1) Plaintiff fails
       Information Office: Military         stated therein, inadmissible hearsay and     to state what portion of exhibit is
       Communique, Al Qassam                no exception is applicable (F.R.E. 801,      hearsay; (2) statements not offered
       Brigades retaliate with 8            802); Improper lay opinion (F.R.E.           for the truth, but rather to show
       missiles on Israeli military         701); To the extent characterized            information acted upon/state of
       bases (ATL004788)                    expert opinion, there has been no            mind of parties or individuals
                                            showing that the author’s statements         identified in exhibits
                                            are based on sufficient facts or data or     F.R.E. 602 – Witnesses has
                                            that they are the product of reliable        personal knowledge of what
                                            principles and methods (F.R.E. 702,          information NBC or ASIC
                                            703); No evidence sufficient to support      received before, during, and after
                                            a finding as to the identity of the author   the events giving rise to the claim,
                                            or that he/she has personal knowledge        including this exhibit. Witness
                                            of the factual matter stated (F.R.E.         does not need personally to have
                                            602); Irrelevant (F.R.E. 401, 402); Any      been in Israel in order to testify
                                            probative value is substantially             regarding what information ASIC
                                            outweighed by risk of unfair prejudice,
   Error! Unknown document                                           613
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
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                                         confusing the issues, misleading the   or NBC received regarding what
                                         jury, undue delay, wasting time, or    was going on in Israel.
                                         needlessly presenting cumulative
                                         evidence (F.R.E. 403).
                                                                                F.R.E. 701 – Unclear what
                                                                                opinions are offered by any
                                                                                declarant in exhibit; all testimony
                                                                                rationally based on information
                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702; information relied
                                                                                upon by experts as basis for
                                                                                opinions or by ASIC as basis for
                                                                                claims handling decisions.
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


Error! Unknown document                                          614
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                       Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 815 of 1099 Page ID
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                                                                                      F.R.E. 403 – Objection is
                                                                                      conditional, and therefore not
                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why
                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 421 08/20/14 Al-Qassam Brigades         If offered to prove the truth of facts     F.R.E. 801/802 – (1) Plaintiff fails
       Information Office: Military        stated therein, inadmissible hearsay and   to state what portion of exhibit is
       Communique, Press Release of        no exception is applicable (F.R.E. 801,    hearsay; (2) statements not offered
       Abu Obeida, Al Qassam               802); Improper lay opinion (F.R.E.         for the truth, but rather to show
       spokesperson (ATL005255)            701); To the extent characterized          information acted upon/state of
                                           expert opinion, there has been no          mind of parties or individuals
                                           showing that the author’s statements       identified in exhibits
                                           are based on sufficient facts or data or
  Error! Unknown document                                          615
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 816 of 1099 Page ID
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                                         that they are the product of reliable        F.R.E. 602 – Witnesses has
                                         principles and methods (F.R.E. 702,          personal knowledge of what
                                         703); No evidence sufficient to support      information NBC or ASIC
                                         a finding as to the identity of the author   received before, during, and after
                                         or that he/she has personal knowledge        the events giving rise to the claim,
                                         of the factual matter stated (F.R.E.         including this exhibit. Witness
                                         602); Irrelevant (F.R.E. 401, 402); Any      does not need personally to have
                                         probative value is substantially             been in Israel in order to testify
                                         outweighed by risk of unfair prejudice,      regarding what information ASIC
                                         confusing the issues, misleading the         or NBC received regarding what
                                         jury, undue delay, wasting time, or          was going on in Israel.
                                         needlessly presenting cumulative
                                         evidence (F.R.E. 403).
                                                                                      F.R.E. 701 – Unclear what
                                                                                      opinions are offered by any
                                                                                      declarant in exhibit; all testimony
                                                                                      rationally based on information
                                                                                      received and acted upon; no
                                                                                      testimony based on scientific,
                                                                                      technical, or other specialized
                                                                                      knowledge within the scope of
                                                                                      F.R.E. 702; information relied
                                                                                      upon by experts as basis for
                                                                                      opinions or by ASIC as basis for
                                                                                      claims handling decisions.
                                                                                      F.R.E. 401 – Objection is
                                                                                      conditional, and therefore not
Error! Unknown document                                           616
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 817 of 1099 Page ID
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                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.


Error! Unknown document                                        617
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 422 Al Qassam Brigades                   If offered to prove the truth of facts       F.R.E. 801/802 – (1) Plaintiff fails
       Information Office, About Us,        stated therein, inadmissible hearsay and     to state what portion of exhibit is
       available at                         no exception is applicable (F.R.E. 801,      hearsay; (2) statements not offered
       http://www.qassam.ps/aboutus.        802); Improper lay opinion (F.R.E.           for the truth, but rather to show
       html (ATL005251-5252)                701); To the extent characterized            information acted upon/state of
                                            expert opinion, there has been no            mind of parties or individuals
                                            showing that the author’s statements         identified in exhibits
                                            are based on sufficient facts or data or     F.R.E. 602 – Witnesses has
                                            that they are the product of reliable        personal knowledge of what
                                            principles and methods (F.R.E. 702,          information NBC or ASIC
                                            703); No evidence sufficient to support      received before, during, and after
                                            a finding as to the identity of the author   the events giving rise to the claim,
                                            or that he/she has personal knowledge        including this exhibit. Witness
                                            of the factual matter stated (F.R.E.         does not need personally to have
                                            602); Irrelevant (F.R.E. 401, 402); Any      been in Israel in order to testify
                                            probative value is substantially             regarding what information ASIC
                                            outweighed by risk of unfair prejudice,      or NBC received regarding what
                                            confusing the issues, misleading the         was going on in Israel.
                                            jury, undue delay, wasting time, or
                                            needlessly presenting cumulative
                                            evidence (F.R.E. 403).                       F.R.E. 701 – Unclear what
                                                                                         opinions are offered by any
                                                                                         declarant in exhibit; all testimony
                                                                                         rationally based on information
                                                                                         received and acted upon; no
                                                                                         testimony based on scientific,
                                                                                         technical, or other specialized
   Error! Unknown document                                           618
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 819 of 1099 Page ID
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                                                                                knowledge within the scope of
                                                                                F.R.E. 702; information relied
                                                                                upon by experts as basis for
                                                                                opinions or by ASIC as basis for
                                                                                claims handling decisions.
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
Error! Unknown document                                        619
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                         all parties involved at the time of
                                                                                         the claim. Finally, jury is entitled
                                                                                         to know what information NBC,
                                                                                         ASIC, and other parties had at time
                                                                                         of the facts giving rise to Plaintiffs’
                                                                                         claims.


DX 423 Melissa Harris-Perry (MSNBC          If offered to prove the truth of facts       F.R.E. 801/802 – (1) Plaintiff fails
       television broadcast July 20,        stated therein, inadmissible hearsay and     to state what portion of exhibit is
       2014), available at                  no exception is applicable (F.R.E. 801,      hearsay; (2) statements not offered
       http://www.msnbc.com/melissa         802); Improper lay opinion (F.R.E.           for the truth, but rather to show
       -harris-perry/watch/what-it-         701); No evidence sufficient to support      information acted upon/state of
       means-to-live-in-a-war-zone-         a finding as to the identity of the author   mind of parties or individuals
       309370947801                         or that he/she has personal knowledge        identified in exhibits; (3)
       (ATL006507)                          of the factual matter stated (F.R.E.         statements of party opponent
                                            602); Irrelevant (F.R.E. 401, 402); Any
                                            probative value is substantially             F.R.E. 602 – Witnesses has
                                            outweighed by risk of unfair prejudice,      personal knowledge of what
                                            confusing the issues, misleading the         information NBC or ASIC
                                            jury, undue delay, wasting time, or          received before, during, and after
                                            needlessly presenting cumulative             the events giving rise to the claim,
                                            evidence (F.R.E. 403); Lacks                 including this exhibit. Witness
                                            authentication and none of the               does not need personally to have
                                            witnesses have personal knowledge to         been in Israel in order to testify
                                            authenticate the video footage, in           regarding what information ASIC
                                            particular as to the means of obtaining,
   Error! Unknown document                                           620
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
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                                         location, and timing of the footage    or NBC received regarding what
                                         (F.R.E. 901).                          was going on in Israel.


                                                                                F.R.E. 701 – Unclear what
                                                                                opinions are offered by any
                                                                                declarant in exhibit; all testimony
                                                                                rationally based on information
                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702; information relied
                                                                                upon by experts as basis for
                                                                                opinions or by ASIC as basis for
                                                                                claims handling decisions.
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


Error! Unknown document                                          621
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.

                                                                                F.R.E. 901 – Self-authenticating
                                                                                under F.R.E. 902(6); witnesses are
                                                                                able to authenticate film to the
                                                                                extent that the film is information
                                                                                they viewed and acted upon it, and
                                                                                that the film is a true and correct
                                                                                copy of the film as they perceived
                                                                                it at the time; witness need not to
                                                                                have personally filmed the video in
Error! Unknown document                                        622
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
                        Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 823 of 1099 Page ID
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                                                                                         order to authenticate the video for
                                                                                         its intended purpose.


DX 424 All in with Chris Hayes              If offered to prove the truth of facts       F.R.E. 801/802 – (1) Plaintiff fails
       (MSNBC television broadcast          stated therein, inadmissible hearsay and     to state what portion of exhibit is
       July 17, 2014), available at         no exception is applicable (F.R.E. 801,      hearsay; (2) statements not offered
       http://www.msnbc.com/all-in-         802); Improper lay opinion (F.R.E.           for the truth, but rather to show
       with-chris-hayes/watch/ground-       701); No evidence sufficient to support      information acted upon/state of
       war-in-gaza-307290179722             a finding as to the identity of the author   mind of parties or individuals
       (ATL006510)                          or that he/she has personal knowledge        identified in exhibits; statement of
                                            of the factual matter stated (F.R.E.         party opponent
                                            602); Irrelevant (F.R.E. 401, 402); Any
                                            probative value is substantially             F.R.E. 602 – Witnesses has
                                            outweighed by risk of unfair prejudice,      personal knowledge of what
                                            confusing the issues, misleading the         information NBC or ASIC
                                            jury, undue delay, wasting time, or          received before, during, and after
                                            needlessly presenting cumulative             the events giving rise to the claim,
                                            evidence (F.R.E. 403); Lacks                 including this exhibit. Witness
                                            authentication and none of the               does not need personally to have
                                            witnesses have personal knowledge to         been in Israel in order to testify
                                            authenticate the video footage, in           regarding what information ASIC
                                            particular as to the means of obtaining,     or NBC received regarding what
                                            location, and timing of the footage          was going on in Israel.
                                            (F.R.E. 901).
                                                                                         F.R.E. 701 – Unclear what
                                                                                         opinions are offered by any
   Error! Unknown document                                           623
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
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                                                                                declarant in exhibit; all testimony
                                                                                rationally based on information
                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702; information relied
                                                                                upon by experts as basis for
                                                                                opinions or by ASIC as basis for
                                                                                claims handling decisions.
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
Error! Unknown document                                        624
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 825 of 1099 Page ID
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                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.

                                                                                F.R.E. 901 – Self-authenticating
                                                                                under F.R.E. 902(6); produced by
                                                                                opposing parties; witnesses are
                                                                                able to authenticate film to the
                                                                                extent that the film is information
                                                                                they viewed and acted upon it, and
                                                                                that the film is a true and correct
                                                                                copy of the film as they perceived
                                                                                it at the time; witness need not to
                                                                                have personally filmed the video in
                                                                                order to authenticate the video for
                                                                                its intended purpose.




Error! Unknown document                                        625
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
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DX 425 Today (NBC News television          If offered to prove the truth of facts       F.R.E. 801/802 – (1) Plaintiff fails
       broadcast July 30, 2014),           stated therein, inadmissible hearsay and     to state what portion of exhibit is
       available at                        no exception is applicable (F.R.E. 801,      hearsay; (2) statements not offered
       http://www.nbcnews.com/storyl       802); Improper lay opinion (F.R.E.           for the truth, but rather to show
       ine/middle-east-unrest/how-         701); No evidence sufficient to support      information acted upon/state of
       technology-intensifying-gaza-       a finding as to the identity of the author   mind of parties or individuals
       war-between-israel-hamas-           or that he/she has personal knowledge        identified in exhibits; (3) several
       n158536                             of the factual matter stated (F.R.E.         statements made by party-
       (ATL004730; ATL4726-4729)           602); Irrelevant (F.R.E. 401, 402); Any      opponent, NBC, or agents
                                           probative value is substantially             affiliated with NBC and operating
                                           outweighed by risk of unfair prejudice,      within the scope of their agency
                                           confusing the issues, misleading the         (e.g. Aon) and, therefore, are not
                                           jury, undue delay, wasting time, or          hearsay under F.R.E. 801.
                                           needlessly presenting cumulative
                                           evidence (F.R.E. 403); Lacks                 F.R.E. 602 – Witnesses has
                                           authentication and none of the               personal knowledge of what
                                           witnesses have personal knowledge to         information NBC or ASIC
                                           authenticate the video footage, in           received before, during, and after
                                           particular as to the means of obtaining,     the events giving rise to the claim,
                                           location, and timing of the footage          including this exhibit. Witness
                                           (F.R.E. 901).                                does not need personally to have
                                                                                        been in Israel in order to testify
                                                                                        regarding what information ASIC
                                                                                        or NBC received regarding what
                                                                                        was going on in Israel.



  Error! Unknown document                                           626
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                       #:25093




                                                                                F.R.E. 701 – Unclear what
                                                                                opinions are offered by any
                                                                                declarant in exhibit; all testimony
                                                                                rationally based on information
                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702; information relied
                                                                                upon by experts as basis for
                                                                                opinions or by ASIC as basis for
                                                                                claims handling decisions.
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
Error! Unknown document                                        627
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                       #:25094




                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.

                                                                                F.R.E. 901 – Self-authenticating
                                                                                under F.R.E. 902(6); produced by
                                                                                opposing parties; witnesses are
                                                                                able to authenticate film to the
                                                                                extent that the film is information
                                                                                they viewed and acted upon it, and
                                                                                that the film is a true and correct
                                                                                copy of the film as they perceived
                                                                                it at the time; witness need not to
                                                                                have personally filmed the video in
                                                                                order to authenticate the video for
                                                                                its intended purpose.

Error! Unknown document                                        628
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 426 The Last Word with Lawrence          If offered to prove the truth of facts       F.R.E. 801/802 – (1) Plaintiff fails
       O’Donnell (MSNBC television          stated therein, inadmissible hearsay and     to state what portion of exhibit is
       broadcast July 18, 2014),            no exception is applicable (F.R.E. 801,      hearsay; (2) statements not offered
       available at                         802); Improper lay opinion (F.R.E.           for the truth, but rather to show
       http://www.msnbc.com/the-last-       701); No evidence sufficient to support      information acted upon/state of
       word/watch/mh17-mystery-and-         a finding as to the identity of the author   mind of parties or individuals
       war-in-gaza-308247107963             or that he/she has personal knowledge        identified in exhibits; (3) several
       (ATL006505)                          of the factual matter stated (F.R.E.         statements made by party-
                                            602); Irrelevant (F.R.E. 401, 402); Any      opponent, NBC, or agents
                                            probative value is substantially             affiliated with NBC and operating
                                            outweighed by risk of unfair prejudice,      within the scope of their agency
                                            confusing the issues, misleading the         (e.g. Aon) and, therefore, are not
                                            jury, undue delay, wasting time, or          hearsay under F.R.E. 801.
                                            needlessly presenting cumulative
                                            evidence (F.R.E. 403); Lacks                 F.R.E. 602 – Witnesses has
                                            authentication and none of the               personal knowledge of what
                                            witnesses have personal knowledge to         information NBC or ASIC
                                            authenticate the video footage, in           received before, during, and after
                                            particular as to the means of obtaining,     the events giving rise to the claim,
                                            location, and timing of the footage          including this exhibit. Witness
                                            (F.R.E. 901).                                does not need personally to have
                                                                                         been in Israel in order to testify
                                                                                         regarding what information ASIC
                                                                                         or NBC received regarding what
                                                                                         was going on in Israel.

   Error! Unknown document                                           629
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                       #:25096




                                                                                F.R.E. 701 – Unclear what
                                                                                opinions are offered by any
                                                                                declarant in exhibit; all testimony
                                                                                rationally based on information
                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702; information relied
                                                                                upon by experts as basis for
                                                                                opinions or by ASIC as basis for
                                                                                claims handling decisions.
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
Error! Unknown document                                        630
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.

                                                                                F.R.E. 901 – Self-authenticating
                                                                                under F.R.E. 902(6); produced by
                                                                                opposing parties; witnesses are
                                                                                able to authenticate film to the
                                                                                extent that the film is information
                                                                                they viewed and acted upon it, and
                                                                                that the film is a true and correct
                                                                                copy of the film as they perceived
                                                                                it at the time; witness need not to
                                                                                have personally filmed the video in
                                                                                order to authenticate the video for
                                                                                its intended purpose.
Error! Unknown document                                        631
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 427 06/16/14 Email string between Relevance, depending on purpose for           F.R.E. 401 – Objection is
       Stephen Smith and Paige Potter, which the evidence is proffered at trial    conditional, and therefore not
       et al (UCP001595-1597)          (F.R.E. 401); Probative value is            binding as to general admissibility.
                                       substantially outweighed by risk of         Objection also fails to state why or
                                       confusing the issues, wasting time, or      in what context exhibit is
                                       needlessly presenting cumulative            irrelevant. Furthermore, exhibit is
                                       evidence, depending on purpose for          relevant to establish state of mind
                                       which evidence is proffered at trial        of all parties involved at time of
                                       (F.R.E. 403).                               claim (NBC, ASIC, Aon, etc.).


                                                                                   F.R.E. 403 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why
                                                                                   exhibit is unfairly prejudicial; or
                                                                                   why such alleged unfair prejudice
                                                                                   outweighs its probative value; or
                                                                                   why exhibit confuses the issue,
                                                                                   misleads the jury, wastes time, or
                                                                                   is cumulative. Furthermore, high
                                                                                   probative value re: state of mind of
                                                                                   all parties involved at the time of
                                                                                   the claim. Finally, jury is entitled
                                                                                   to know what information NBC,
                                                                                   ASIC, and other parties had at time
   Error! Unknown document                                        632
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 428 07/16/14 Email between              Relevance, depending on purpose for        F.R.E. 401 – Objection is
       Stephen Smith and Mark Binke        which the evidence is proffered at trial   conditional, and therefore not
       (UCP002797-2800)                    (F.R.E. 401); Probative value is           binding as to general admissibility.
                                           substantially outweighed by risk of        Objection also fails to state why or
                                           confusing the issues, wasting time, or     in what context exhibit is
                                           needlessly presenting cumulative           irrelevant. Furthermore, exhibit is
                                           evidence, depending on purpose for         relevant to establish state of mind
                                           which evidence is proffered at trial       of all parties involved at time of
                                           (F.R.E. 403).                              claim (NBC, ASIC, Aon, etc.).


                                                                                      F.R.E. 403 – Objection is
                                                                                      conditional, and therefore not
                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why
                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
  Error! Unknown document                                          633
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 429 06/15/14 E-mail from Stephen         Relevance, depending on purpose for        F.R.E. 401 – Objection is
       Smith to Randi Richmond              which the evidence is proffered at trial   conditional, and therefore not
       (UCP002343-2344)                     (F.R.E. 401); Probative value is           binding as to general admissibility.
                                            substantially outweighed by risk of        Objection also fails to state why or
                                            confusing the issues, wasting time, or     in what context exhibit is
                                            needlessly presenting cumulative           irrelevant. Furthermore, exhibit is
                                            evidence, depending on purpose for         relevant to establish state of mind
                                            which evidence is proffered at trial       of all parties involved at time of
                                            (F.R.E. 403).                              claim (NBC, ASIC, Aon, etc.).


                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
                                                                                       Objection also fails to state why
                                                                                       exhibit is unfairly prejudicial; or
                                                                                       why such alleged unfair prejudice
                                                                                       outweighs its probative value; or
                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
   Error! Unknown document                                           634
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 430 07/03/14 E-mail from Penelope        If offered to prove the truth thereof,     F.R.E. 801/802 – (1) Plaintiff fails
       Kennedy to Randi Richmond            inadmissible hearsay and no exception      to state what portion of exhibit is
       (UCP003591-3592)                     is applicable (F.R.E. 801, 802); No        hearsay; (2) statements not offered
                                            evidence sufficient to support a finding   for the truth, but rather to show
                                            as to the identity of the author or that   information acted upon/state of
                                            he/she has personal knowledge of the       mind of parties or individuals
                                            factual matter stated (F.R.E. 602).        identified in exhibits; (3) several
                                                                                       statements made by party-
                                                                                       opponent, NBC, or agents
                                                                                       affiliated with NBC and operating
                                                                                       within the scope of their agency
                                                                                       (e.g. Aon) and, therefore, are not
                                                                                       hearsay under F.R.E. 801.
                                                                                       F.R.E. 602 – Witnesses has
                                                                                       personal knowledge of what
                                                                                       information NBC or ASIC
                                                                                       received before, during, and after
                                                                                       the events giving rise to the claim,
                                                                                       including this exhibit. Witness
   Error! Unknown document                                          635
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
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                                                                                       does not need personally to have
                                                                                       been in Israel in order to testify
                                                                                       regarding what information ASIC
                                                                                       or NBC received regarding what
                                                                                       was going on in Israel.


DX 431 07/10/14 E-mail from Stephen         Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       Smith to Mark Binke                  which the evidence is proffered at trial   and, therefore, exhibit should be
       (UCP000940)                          (F.R.E. 401); Probative value is           admitted as agreed. Should
                                            substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                            confusing the issues, wasting time, or     ASIC’s response is as follows:
                                            needlessly presenting cumulative           F.R.E. 401 – Objection is
                                            evidence, depending on purpose for         conditional, and therefore not
                                            which evidence is proffered at trial       binding as to general admissibility.
                                            (F.R.E. 403).                              Objection also fails to state why or
                                                                                       in what context exhibit is
                                                                                       irrelevant. Furthermore, exhibit is
                                                                                       relevant to establish state of mind
                                                                                       of all parties involved at time of
                                                                                       claim (NBC, ASIC, Aon, etc.).


                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
                                                                                       Objection also fails to state why
   Error! Unknown document                                           636
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       exhibit is unfairly prejudicial; or
                                                                                       why such alleged unfair prejudice
                                                                                       outweighs its probative value; or
                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 432 07/08/14 Email string between        Relevance, depending on purpose for        F.R.E. 401 – Objection is
       Randi Richmond and Stephen           which the evidence is proffered at trial   conditional, and therefore not
       Smith (UCP002710-2711)               (F.R.E. 401); Probative value is           binding as to general admissibility.
                                            substantially outweighed by risk of        Objection also fails to state why or
                                            confusing the issues, wasting time, or     in what context exhibit is
                                            needlessly presenting cumulative           irrelevant. Furthermore, exhibit is
                                            evidence, depending on purpose for         relevant to establish state of mind
                                            which evidence is proffered at trial       of all parties involved at time of
                                            (F.R.E. 403).                              claim (NBC, ASIC, Aon, etc.).


                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
   Error! Unknown document                                           637
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why
                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 433 07/02/14 E-mail from Randi          Relevance, depending on purpose for        F.R.E. 401 – Objection is
       Richmond to Stephen Smith           which the evidence is proffered at trial   conditional, and therefore not
       (UCP001013-1014)                    (F.R.E. 401); Probative value is           binding as to general admissibility.
                                           substantially outweighed by risk of        Objection also fails to state why or
                                           confusing the issues, wasting time, or     in what context exhibit is
                                           needlessly presenting cumulative           irrelevant. Furthermore, exhibit is
                                           evidence, depending on purpose for         relevant to establish state of mind
                                           which evidence is proffered at trial       of all parties involved at time of
                                           (F.R.E. 403).                              claim (NBC, ASIC, Aon, etc.).


  Error! Unknown document                                           638
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      F.R.E. 403 – Objection is
                                                                                      conditional, and therefore not
                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why
                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 434 06/15-07/07/14 Email string         Relevance, depending on purpose for        Plaintiff has listed exhibit on its list
       between Mark Binke and Randi        which the evidence is proffered at trial   and, therefore, exhibit should be
       Richmond, et al (UCP000422-         (F.R.E. 401); Probative value is           admitted as agreed. Should
       429)                                substantially outweighed by risk of        Plaintiffs withdraw the exhibit,
                                           confusing the issues, wasting time, or     ASIC’s response is as follows:
                                           needlessly presenting cumulative           F.R.E. 401 – Objection is
                                           evidence, depending on purpose for         conditional, and therefore not
                                                                                      binding as to general admissibility.
  Error! Unknown document                                           639
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         which evidence is proffered at trial   Objection also fails to state why or
                                         (F.R.E. 403).                          in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.



Error! Unknown document                                          640
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 435 07/02/14 Email from Stephen   Relevance, depending on purpose for           F.R.E. 401 – Objection is
       Smith to Mark Binke and Randi which the evidence is proffered at trial      conditional, and therefore not
       Richmond (UCP001037-1039) (F.R.E. 401); Probative value is                  binding as to general admissibility.
                                     substantially outweighed by risk of           Objection also fails to state why or
                                     confusing the issues, wasting time, or        in what context exhibit is
                                     needlessly presenting cumulative              irrelevant. Furthermore, exhibit is
                                     evidence, depending on purpose for            relevant to establish state of mind
                                     which evidence is proffered at trial          of all parties involved at time of
                                     (F.R.E. 403).                                 claim (NBC, ASIC, Aon, etc.).


                                                                                   F.R.E. 403 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why
                                                                                   exhibit is unfairly prejudicial; or
                                                                                   why such alleged unfair prejudice
                                                                                   outweighs its probative value; or
                                                                                   why exhibit confuses the issue,
                                                                                   misleads the jury, wastes time, or
                                                                                   is cumulative. Furthermore, high
                                                                                   probative value re: state of mind of
                                                                                   all parties involved at the time of
                                                                                   the claim. Finally, jury is entitled
                                                                                   to know what information NBC,
                                                                                   ASIC, and other parties had at time


   Error! Unknown document                                        641
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 436 07/09-15/14 Email string             Relevance, depending on purpose for        F.R.E. 401 – Objection is
       between Jacob Fenton and Lori        which the evidence is proffered at trial   conditional, and therefore not
       Lynem, et al (UCP020043-             (F.R.E. 401); Probative value is           binding as to general admissibility.
       20047)                               substantially outweighed by risk of        Objection also fails to state why or
                                            confusing the issues, wasting time, or     in what context exhibit is
                                            needlessly presenting cumulative           irrelevant. Furthermore, exhibit is
                                            evidence, depending on purpose for         relevant to establish state of mind
                                            which evidence is proffered at trial       of all parties involved at time of
                                            (F.R.E. 403).                              claim (NBC, ASIC, Aon, etc.).


                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
                                                                                       Objection also fails to state why
                                                                                       exhibit is unfairly prejudicial; or
                                                                                       why such alleged unfair prejudice
                                                                                       outweighs its probative value; or
                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
                                                                                       all parties involved at the time of
                                                                                       the claim. Finally, jury is entitled
   Error! Unknown document                                           642
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                       to know what information NBC,
                                                                                       ASIC, and other parties had at time
                                                                                       of the facts giving rise to Plaintiffs’
                                                                                       claims.


DX 437 05/13/14 Email from Stephen          Relevance, depending on purpose for        F.R.E. 401 – Objection is
       Smith to Randi Richmond, with        which the evidence is proffered at trial   conditional, and therefore not
       attachments (UCP003687-              (F.R.E. 401); Probative value is           binding as to general admissibility.
       3694)                                substantially outweighed by risk of        Objection also fails to state why or
                                            confusing the issues, wasting time, or     in what context exhibit is
                                            needlessly presenting cumulative           irrelevant. Furthermore, exhibit is
                                            evidence, depending on purpose for         relevant to establish state of mind
                                            which evidence is proffered at trial       of all parties involved at time of
                                            (F.R.E. 403).                              claim (NBC, ASIC, Aon, etc.).


                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
                                                                                       Objection also fails to state why
                                                                                       exhibit is unfairly prejudicial; or
                                                                                       why such alleged unfair prejudice
                                                                                       outweighs its probative value; or
                                                                                       why exhibit confuses the issue,
                                                                                       misleads the jury, wastes time, or
                                                                                       is cumulative. Furthermore, high
                                                                                       probative value re: state of mind of
   Error! Unknown document                                           643
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 438
DX 439
DX 440
DX 441 United Nations General               Relevance (F.R.E. 401, 402); If offered   F.R.E. 801/802 – (1) Plaintiff fails
       Assembly Resolution adopted          to prove the truth of facts stated        to state what portion of exhibit is
       by the Human Rights Council –        therein, inadmissible hearsay and no      hearsay; (2) statements not offered
       A/HRC/RES/S-21/1 (no Bates           exception is applicable (F.R.E. 801,      for the truth, but rather to show
       Nos.)                                802); Any probative value is              information acted upon/state of
                                            substantially outweighed by risk of       mind of parties or individuals
                                            unfair prejudice, confusing the issues,   identified in exhibits;
                                            misleading the jury, undue delay,
                                            wasting time, or needlessly presenting    F.R.E. 401 – Objection is
                                            cumulative evidence (F.R.E. 403).         conditional, and therefore not
                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why or
                                                                                      in what context exhibit is
                                                                                      irrelevant. Furthermore, exhibit is
   Error! Unknown document                                         644
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                               relevant to establish state of mind
                                                                               of all parties involved at time of
                                                                               claim (NBC, ASIC, Aon, etc.).


                                                                               F.R.E. 403 – Objection is
                                                                               conditional, and therefore not
                                                                               binding as to general admissibility.
                                                                               Objection also fails to state why
                                                                               exhibit is unfairly prejudicial; or
                                                                               why such alleged unfair prejudice
                                                                               outweighs its probative value; or
                                                                               why exhibit confuses the issue,
                                                                               misleads the jury, wastes time, or
                                                                               is cumulative. Furthermore, high
                                                                               probative value re: state of mind of
                                                                               all parties involved at the time of
                                                                               the claim. Finally, jury is entitled
                                                                               to know what information NBC,
                                                                               ASIC, and other parties had at time
                                                                               of the facts giving rise to Plaintiffs’
                                                                               claims.


DX 442 Congressional Research Service Relevance F.R.E. 401, 402); If offered   F.R.E. 801/802 – (1) Plaintiff fails
           Careers                    to prove the truth of facts stated       to state what portion of exhibit is
                                      therein, inadmissible hearsay and no     hearsay; (2) statements not offered
                                      exception is applicable (F.R.E. 801,     for the truth, but rather to show
  Error! Unknown document                                       645
   property name.                   ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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        https://www.loc.gov/crsinfo/       802); Any probative value is             information acted upon/state of
        (no Bates Nos.)                    substantially outweighed wasting time,   mind of parties or individuals
                                           or needlessly presenting cumulative      identified in exhibits;
                                           evidence (F.R.E. 403).
                                                                                    F.R.E. 401 – Objection is
                                                                                    conditional, and therefore not
                                                                                    binding as to general admissibility.
                                                                                    Objection also fails to state why or
                                                                                    in what context exhibit is
                                                                                    irrelevant. Furthermore, exhibit is
                                                                                    relevant to establish state of mind
                                                                                    of all parties involved at time of
                                                                                    claim (NBC, ASIC, Aon, etc.).


                                                                                    F.R.E. 403 – Objection is
                                                                                    conditional, and therefore not
                                                                                    binding as to general admissibility.
                                                                                    Objection also fails to state why
                                                                                    exhibit is unfairly prejudicial; or
                                                                                    why such alleged unfair prejudice
                                                                                    outweighs its probative value; or
                                                                                    why exhibit confuses the issue,
                                                                                    misleads the jury, wastes time, or
                                                                                    is cumulative. Furthermore, high
                                                                                    probative value re: state of mind of
                                                                                    all parties involved at the time of
Error! Unknown document                                           646
property name.                         ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                  the claim. Finally, jury is entitled
                                                                                  to know what information NBC,
                                                                                  ASIC, and other parties had at time
                                                                                  of the facts giving rise to Plaintiffs’
                                                                                  claims.


DX 443
DX 444
DX 445
DX 446
DX 447
DX 448
DX 449
DX 450
DX 451
DX 452
DX 453
DX 454

  Error! Unknown document                                        647
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 455
DX 456
DX 457 10/13/14 The LA Times: Full          If offered to prove the truth of facts       F.R.E. 801/802 – (1) Plaintiff fails
       Coverage Israel’s war in Gaza        stated therein, inadmissible hearsay and     to state what portion of exhibit is
       http://www.latimes.com/world/        no exception is applicable (F.R.E. 801,      hearsay; (2) statements not offered
       middleeast/la-hp-storygallery-       802); Improper lay opinion (F.R.E.           for the truth, but rather to show
       middle-east-conflict-                701); No evidence sufficient to support      information acted upon/state of
       storygallery.html                    a finding as to the identity of the author   mind of parties or individuals
       (ATL006192-6195)                     or that he/she has personal knowledge        identified in exhibits;
                                            of the factual matter stated (F.R.E.         F.R.E. 602 – Witnesses has
                                            602); Irrelevant (F.R.E. 401, 402); Any      personal knowledge of what
                                            probative value is substantially             information NBC or ASIC
                                            outweighed by risk of unfair prejudice,      received before, during, and after
                                            confusing the issues, misleading the         the events giving rise to the claim,
                                            jury, undue delay, wasting time, or          including this exhibit. Witness
                                            needlessly presenting cumulative             does not need personally to have
                                            evidence (F.R.E. 403).                       been in Israel in order to testify
                                                                                         regarding what information ASIC
                                                                                         or NBC received regarding what
                                                                                         was going on in Israel.


                                                                                         F.R.E. 701 – Unclear what
                                                                                         opinions are offered by any
                                                                                         declarant in exhibit; all testimony
                                                                                         rationally based on information
   Error! Unknown document                                           648
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702; information relied
                                                                                upon by experts as basis for
                                                                                opinions or by ASIC as basis for
                                                                                claims handling decisions.
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
Error! Unknown document                                        649
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                        misleads the jury, wastes time, or
                                                                                        is cumulative. Furthermore, high
                                                                                        probative value re: state of mind of
                                                                                        all parties involved at the time of
                                                                                        the claim. Finally, jury is entitled
                                                                                        to know what information NBC,
                                                                                        ASIC, and other parties had at time
                                                                                        of the facts giving rise to Plaintiffs’
                                                                                        claims.


DX 458
DX 459
DX 460
DX 461 07/18/14 MSNBC: Obama               If offered to prove the truth of facts       F.R.E. 801/802 – (1) Plaintiff fails
       points to rebels in downed          stated therein, inadmissible hearsay and     to state what portion of exhibit is
       Malaysian jet                       no exception is applicable (F.R.E. 801,      hearsay; (2) statements not offered
       http://www.msnbc.com/msnbc/         802); Improper lay opinion (F.R.E.           for the truth, but rather to show
       obama-american-dead-                701); No evidence sufficient to support      information acted upon/state of
       malaysia-airlines-crash             a finding as to the identity of the author   mind of parties or individuals
       (ATL004441-4443)                    or that he/she has personal knowledge        identified in exhibits; (3) several
                                           of the factual matter stated (F.R.E.         statements made by party-
                                           602); Irrelevant (F.R.E. 401, 402); Any      opponent, NBC, or agents
                                           probative value is substantially             affiliated with NBC and operating
                                           outweighed by risk of unfair prejudice,      within the scope of their agency

  Error! Unknown document                                           650
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         confusing the issues, misleading the   (e.g. Aon) and, therefore, are not
                                         jury, undue delay, wasting time, or    hearsay under F.R.E. 801.
                                         needlessly presenting cumulative       F.R.E. 602 – Witnesses has
                                         evidence (F.R.E. 403).                 personal knowledge of what
                                                                                information NBC or ASIC
                                                                                received before, during, and after
                                                                                the events giving rise to the claim,
                                                                                including this exhibit. Witness
                                                                                does not need personally to have
                                                                                been in Israel in order to testify
                                                                                regarding what information ASIC
                                                                                or NBC received regarding what
                                                                                was going on in Israel.


                                                                                F.R.E. 701 – Unclear what
                                                                                opinions are offered by any
                                                                                declarant in exhibit; all testimony
                                                                                rationally based on information
                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702; information relied
                                                                                upon by experts as basis for
                                                                                opinions or by ASIC as basis for
                                                                                claims handling decisions.
Error! Unknown document                                          651
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time


Error! Unknown document                                        652
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                         of the facts giving rise to Plaintiffs’
                                                                                         claims.


DX 462 07/16/14 The Times of Israel:        If offered to prove the truth of facts       F.R.E. 801/802 – (1) Plaintiff fails
       Ground incursion in Gaza said        stated therein, inadmissible hearsay and     to state what portion of exhibit is
       ‘very likely’                        no exception is applicable (F.R.E. 801,      hearsay; (2) statements not offered
       http://www.timesofisrael.com/i       802); Improper lay opinion (F.R.E.           for the truth, but rather to show
       df-ground-incursion-in-gaza-         701); No evidence sufficient to support      information acted upon/state of
       very-likely                          a finding as to the identity of the author   mind of parties or individuals
       (ATL004310-4311)                     or that he/she has personal knowledge        identified in exhibits;
                                            of the factual matter stated (F.R.E.         F.R.E. 602 – Witnesses has
                                            602); Irrelevant (F.R.E. 401, 402); Any      personal knowledge of what
                                            probative value is substantially             information NBC or ASIC
                                            outweighed by risk of unfair prejudice,      received before, during, and after
                                            confusing the issues, misleading the         the events giving rise to the claim,
                                            jury, undue delay, wasting time, or          including this exhibit. Witness
                                            needlessly presenting cumulative             does not need personally to have
                                            evidence (F.R.E. 403).                       been in Israel in order to testify
                                                                                         regarding what information ASIC
                                                                                         or NBC received regarding what
                                                                                         was going on in Israel.


                                                                                         F.R.E. 701 – Unclear what
                                                                                         opinions are offered by any
                                                                                         declarant in exhibit; all testimony
   Error! Unknown document                                           653
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                rationally based on information
                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702; information relied
                                                                                upon by experts as basis for
                                                                                opinions or by ASIC as basis for
                                                                                claims handling decisions.
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
Error! Unknown document                                        654
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                         why exhibit confuses the issue,
                                                                                         misleads the jury, wastes time, or
                                                                                         is cumulative. Furthermore, high
                                                                                         probative value re: state of mind of
                                                                                         all parties involved at the time of
                                                                                         the claim. Finally, jury is entitled
                                                                                         to know what information NBC,
                                                                                         ASIC, and other parties had at time
                                                                                         of the facts giving rise to Plaintiffs’
                                                                                         claims.



DX 463 07/07/14 The Times of Israel:        If offered to prove the truth of facts       F.R.E. 801/802 – (1) Plaintiff fails
       Israel launches ‘Protective          stated therein, inadmissible hearsay and     to state what portion of exhibit is
       Edge’ counteroffensive on            no exception is applicable (F.R.E. 801,      hearsay; (2) statements not offered
       Gaza, Jewish suspects reenact        802); Improper lay opinion (F.R.E.           for the truth, but rather to show
       teen’s murder                        701); No evidence sufficient to support      information acted upon/state of
       http://www.timesofisrael.com/a       a finding as to the identity of the author   mind of parties or individuals
       s-israel-grapples-with-              or that he/she has personal knowledge        identified in exhibits;
       homegrown-killers-violence-          of the factual matter stated (F.R.E.         F.R.E. 602 – Witnesses has
       continues/#!                         602); Irrelevant (F.R.E. 401, 402); Any      personal knowledge of what
       (ATL004389-004419)                   probative value is substantially             information NBC or ASIC
                                            outweighed by risk of unfair prejudice,      received before, during, and after
                                            confusing the issues, misleading the         the events giving rise to the claim,
                                            jury, undue delay, wasting time, or          including this exhibit. Witness
                                                                                         does not need personally to have
   Error! Unknown document                                           655
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 856 of 1099 Page ID
                                                       #:25122




                                         needlessly presenting cumulative       been in Israel in order to testify
                                         evidence (F.R.E. 403).                 regarding what information ASIC
                                                                                or NBC received regarding what
                                                                                was going on in Israel.


                                                                                F.R.E. 701 – Unclear what
                                                                                opinions are offered by any
                                                                                declarant in exhibit; all testimony
                                                                                rationally based on information
                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702; information relied
                                                                                upon by experts as basis for
                                                                                opinions or by ASIC as basis for
                                                                                claims handling decisions.
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).
Error! Unknown document                                         656
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                         F.R.E. 403 – Objection is
                                                                                         conditional, and therefore not
                                                                                         binding as to general admissibility.
                                                                                         Objection also fails to state why
                                                                                         exhibit is unfairly prejudicial; or
                                                                                         why such alleged unfair prejudice
                                                                                         outweighs its probative value; or
                                                                                         why exhibit confuses the issue,
                                                                                         misleads the jury, wastes time, or
                                                                                         is cumulative. Furthermore, high
                                                                                         probative value re: state of mind of
                                                                                         all parties involved at the time of
                                                                                         the claim. Finally, jury is entitled
                                                                                         to know what information NBC,
                                                                                         ASIC, and other parties had at time
                                                                                         of the facts giving rise to Plaintiffs’
                                                                                         claims.


DX 464 07/15/14 Haaretz: LIVE               If offered to prove the truth of facts       F.R.E. 801/802 – (1) Plaintiff fails
       UPDATES: Operation                   stated therein, inadmissible hearsay and     to state what portion of exhibit is
       Protective Edge, Day 7               no exception is applicable (F.R.E. 801,      hearsay; (2) statements not offered
       http://www.haaretz.com/israel-       802); Improper lay opinion (F.R.E.           for the truth, but rather to show
       news/1.604898#!                      701); No evidence sufficient to support      information acted upon/state of
       (ATL004430-4440)                     a finding as to the identity of the author   mind of parties or individuals
                                            or that he/she has personal knowledge        identified in exhibits;
   Error! Unknown document                                           657
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 858 of 1099 Page ID
                                                       #:25124




                                         of the factual matter stated (F.R.E.      F.R.E. 602 – Witnesses has
                                         602); Irrelevant (F.R.E. 401, 402); Any   personal knowledge of what
                                         probative value is substantially          information NBC or ASIC
                                         outweighed by risk of unfair prejudice,   received before, during, and after
                                         confusing the issues, misleading the      the events giving rise to the claim,
                                         jury, undue delay, wasting time, or       including this exhibit. Witness
                                         needlessly presenting cumulative          does not need personally to have
                                         evidence (F.R.E. 403).                    been in Israel in order to testify
                                                                                   regarding what information ASIC
                                                                                   or NBC received regarding what
                                                                                   was going on in Israel.


                                                                                   F.R.E. 701 – Unclear what
                                                                                   opinions are offered by any
                                                                                   declarant in exhibit; all testimony
                                                                                   rationally based on information
                                                                                   received and acted upon; no
                                                                                   testimony based on scientific,
                                                                                   technical, or other specialized
                                                                                   knowledge within the scope of
                                                                                   F.R.E. 702; information relied
                                                                                   upon by experts as basis for
                                                                                   opinions or by ASIC as basis for
                                                                                   claims handling decisions.
                                                                                   F.R.E. 401 – Objection is
                                                                                   conditional, and therefore not
Error! Unknown document                                         658
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 859 of 1099 Page ID
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                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.


Error! Unknown document                                        659
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 465 07/29/14 NBC News:                   If offered to prove the truth of facts       F.R.E. 801/802 – (1) Plaintiff fails
       Benjamin Netanyahu Says              stated therein, inadmissible hearsay and     to state what portion of exhibit is
       Israel’s War in Gaza Will Be         no exception is applicable (F.R.E. 801,      hearsay; (2) statements not offered
       ‘Prolonged’                          802); Improper lay opinion (F.R.E.           for the truth, but rather to show
       http://www.nbcnews.com/storyl        701); No evidence sufficient to support      information acted upon/state of
       ine/middle-east-                     a finding as to the identity of the author   mind of parties or individuals
       unrest/benjamin-netanyahu-           or that he/she has personal knowledge        identified in exhibits; statement of
       says-israels-war-gaza-will-be-       of the factual matter stated (F.R.E.         a party opponent and, therefore,
       prolonged-n167286                    602); Irrelevant (F.R.E. 401, 402); Any      not hearsay.
       (ATL006255)                          probative value is substantially
                                            outweighed by risk of unfair prejudice,      F.R.E. 602 – Witnesses has
                                            confusing the issues, misleading the         personal knowledge of what
                                            jury, undue delay, wasting time, or          information NBC or ASIC
                                            needlessly presenting cumulative             received before, during, and after
                                            evidence (F.R.E. 403).                       the events giving rise to the claim,
                                                                                         including this exhibit. Witness
                                                                                         does not need personally to have
                                                                                         been in Israel in order to testify
                                                                                         regarding what information ASIC
                                                                                         or NBC received regarding what
                                                                                         was going on in Israel.


                                                                                         F.R.E. 701 – Unclear what
                                                                                         opinions are offered by any
                                                                                         declarant in exhibit; all testimony
                                                                                         rationally based on information
                                                                                         received and acted upon; no
   Error! Unknown document                                           660
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 861 of 1099 Page ID
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                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702; information relied
                                                                                upon by experts as basis for
                                                                                opinions or by ASIC as basis for
                                                                                claims handling decisions.
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
Error! Unknown document                                        661
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                         is cumulative. Furthermore, high
                                                                                         probative value re: state of mind of
                                                                                         all parties involved at the time of
                                                                                         the claim. Finally, jury is entitled
                                                                                         to know what information NBC,
                                                                                         ASIC, and other parties had at time
                                                                                         of the facts giving rise to Plaintiffs’
                                                                                         claims.


DX 466 08/21/14 NBC News: Gaza              If offered to prove the truth of facts       F.R.E. 801/802 – (1) Plaintiff fails
       War: Hamas Admits                    stated therein, inadmissible hearsay and     to state what portion of exhibit is
       Kidnapping Three Israeli Teens       no exception is applicable (F.R.E. 801,      hearsay; (2) statements not offered
       http://www.nbcnews.com/storyl        802); Improper lay opinion (F.R.E.           for the truth, but rather to show
       ine/west-bank-                       701); No evidence sufficient to support      information acted upon/state of
       kidnappings/gaza-war-hamas-          a finding as to the identity of the author   mind of parties or individuals
       admits-kidnapping-three-israeli-     or that he/she has personal knowledge        identified in exhibits;
       teens-n186176                        of the factual matter stated (F.R.E.         F.R.E. 602 – Witnesses has
       (ATL006256-6257)                     602); Irrelevant (F.R.E. 401, 402); Any      personal knowledge of what
                                            probative value is substantially             information NBC or ASIC
                                            outweighed by risk of unfair prejudice,      received before, during, and after
                                            confusing the issues, misleading the         the events giving rise to the claim,
                                            jury, undue delay, wasting time, or          including this exhibit. Witness
                                            needlessly presenting cumulative             does not need personally to have
                                            evidence (F.R.E. 403).                       been in Israel in order to testify
                                                                                         regarding what information ASIC


   Error! Unknown document                                           662
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 863 of 1099 Page ID
                                                       #:25129




                                                                                or NBC received regarding what
                                                                                was going on in Israel.


                                                                                F.R.E. 701 – Unclear what
                                                                                opinions are offered by any
                                                                                declarant in exhibit; all testimony
                                                                                rationally based on information
                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702; information relied
                                                                                upon by experts as basis for
                                                                                opinions or by ASIC as basis for
                                                                                claims handling decisions.
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


Error! Unknown document                                        663
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                        F.R.E. 403 – Objection is
                                                                                        conditional, and therefore not
                                                                                        binding as to general admissibility.
                                                                                        Objection also fails to state why
                                                                                        exhibit is unfairly prejudicial; or
                                                                                        why such alleged unfair prejudice
                                                                                        outweighs its probative value; or
                                                                                        why exhibit confuses the issue,
                                                                                        misleads the jury, wastes time, or
                                                                                        is cumulative. Furthermore, high
                                                                                        probative value re: state of mind of
                                                                                        all parties involved at the time of
                                                                                        the claim. Finally, jury is entitled
                                                                                        to know what information NBC,
                                                                                        ASIC, and other parties had at time
                                                                                        of the facts giving rise to Plaintiffs’
                                                                                        claims.


DX 467 12/07/14 NBC News: Gaza             If offered to prove the truth of facts       F.R.E. 801/802 – (1) Plaintiff fails
       War: Israel Opens Eight New         stated therein, inadmissible hearsay and     to state what portion of exhibit is
       Investigations Into Military        no exception is applicable (F.R.E. 801,      hearsay; (2) statements not offered
       Operations                          802); Improper lay opinion (F.R.E.           for the truth, but rather to show
       http://www.nbcnews.com/storyl       701); No evidence sufficient to support      information acted upon/state of
       ine/middle-east-unrest/gaza-        a finding as to the identity of the author   mind of parties or individuals
       war-israel-opens-eight-new-         or that he/she has personal knowledge        identified in exhibits; statement of
       investigations-military-            of the factual matter stated (F.R.E.
  Error! Unknown document                                           664
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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        operations-n263241               602); Irrelevant (F.R.E. 401, 402); Any   a party opponent, and, therefore,
        (ATL006258)                      probative value is substantially          not hearsay.
                                         outweighed by risk of unfair prejudice,   F.R.E. 602 – Witnesses has
                                         confusing the issues, misleading the      personal knowledge of what
                                         jury, undue delay, wasting time, or       information NBC or ASIC
                                         needlessly presenting cumulative          received before, during, and after
                                         evidence (F.R.E. 403).                    the events giving rise to the claim,
                                                                                   including this exhibit. Witness
                                                                                   does not need personally to have
                                                                                   been in Israel in order to testify
                                                                                   regarding what information ASIC
                                                                                   or NBC received regarding what
                                                                                   was going on in Israel.


                                                                                   F.R.E. 701 – Unclear what
                                                                                   opinions are offered by any
                                                                                   declarant in exhibit; all testimony
                                                                                   rationally based on information
                                                                                   received and acted upon; no
                                                                                   testimony based on scientific,
                                                                                   technical, or other specialized
                                                                                   knowledge within the scope of
                                                                                   F.R.E. 702; information relied
                                                                                   upon by experts as basis for
                                                                                   opinions or by ASIC as basis for
                                                                                   claims handling decisions.
Error! Unknown document                                         665
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time


Error! Unknown document                                        666
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                        of the facts giving rise to Plaintiffs’
                                                                                        claims.


DX 468 06/22/15 NBC News: Israel,          If offered to prove the truth of facts       F.R.E. 801/802 – (1) Plaintiff fails
       Palestinians May Be Guilty of       stated therein, inadmissible hearsay and     to state what portion of exhibit is
       Gaza War Crimes: UN Report          no exception is applicable (F.R.E. 801,      hearsay; (2) statements not offered
       http://www.nbcnews.com/news/        802); Improper lay opinion (F.R.E.           for the truth, but rather to show
       world/israel-palestinians-          701); No evidence sufficient to support      information acted upon/state of
       committed-possible-gaza-war-        a finding as to the identity of the author   mind of parties or individuals
       crimes-u-n-report-n379636           or that he/she has personal knowledge        identified in exhibits; statements of
       (ATL006259-6260)                    of the factual matter stated (F.R.E.         a party opponent and, therefore,
                                           602); Irrelevant (F.R.E. 401, 402); Any      not hearsay.
                                           probative value is substantially
                                           outweighed by risk of unfair prejudice,      F.R.E. 602 – Witnesses has
                                           confusing the issues, misleading the         personal knowledge of what
                                           jury, undue delay, wasting time, or          information NBC or ASIC
                                           needlessly presenting cumulative             received before, during, and after
                                           evidence (F.R.E. 403).                       the events giving rise to the claim,
                                                                                        including this exhibit. Witness
                                                                                        does not need personally to have
                                                                                        been in Israel in order to testify
                                                                                        regarding what information ASIC
                                                                                        or NBC received regarding what
                                                                                        was going on in Israel.



  Error! Unknown document                                           667
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                       #:25134




                                                                                F.R.E. 701 – Unclear what
                                                                                opinions are offered by any
                                                                                declarant in exhibit; all testimony
                                                                                rationally based on information
                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702; information relied
                                                                                upon by experts as basis for
                                                                                opinions or by ASIC as basis for
                                                                                claims handling decisions.
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
Error! Unknown document                                        668
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                         exhibit is unfairly prejudicial; or
                                                                                         why such alleged unfair prejudice
                                                                                         outweighs its probative value; or
                                                                                         why exhibit confuses the issue,
                                                                                         misleads the jury, wastes time, or
                                                                                         is cumulative. Furthermore, high
                                                                                         probative value re: state of mind of
                                                                                         all parties involved at the time of
                                                                                         the claim. Finally, jury is entitled
                                                                                         to know what information NBC,
                                                                                         ASIC, and other parties had at time
                                                                                         of the facts giving rise to Plaintiffs’
                                                                                         claims.


DX 469 Haaretz: Gaza War: 11 Key            If offered to prove the truth of facts       F.R.E. 801/802 – (1) Plaintiff fails
       Headlines From Scathing              stated therein, inadmissible hearsay and     to state what portion of exhibit is
       Report Rattling Israel’s             no exception is applicable (F.R.E. 801,      hearsay; (2) statements not offered
       Politicians and Military             802); Improper lay opinion (F.R.E.           for the truth, but rather to show
       http://www.haaretz.com/israel-       701); No evidence sufficient to support      information acted upon/state of
       news/LIVE-1.774365/Gaza-             a finding as to the identity of the author   mind of parties or individuals
       war-hamas-humanitarian-crisis        or that he/she has personal knowledge        identified in exhibits;
       (ATL006261-6276)                     of the factual matter stated (F.R.E.         F.R.E. 602 – Witnesses has
                                            602); Irrelevant (F.R.E. 401, 402); Any      personal knowledge of what
                                            probative value is substantially             information NBC or ASIC
                                            outweighed by risk of unfair prejudice,      received before, during, and after
                                            confusing the issues, misleading the         the events giving rise to the claim,
   Error! Unknown document                                           669
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         jury, undue delay, wasting time, or    including this exhibit. Witness
                                         needlessly presenting cumulative       does not need personally to have
                                         evidence (F.R.E. 403).                 been in Israel in order to testify
                                                                                regarding what information ASIC
                                                                                or NBC received regarding what
                                                                                was going on in Israel.


                                                                                F.R.E. 701 – Unclear what
                                                                                opinions are offered by any
                                                                                declarant in exhibit; all testimony
                                                                                rationally based on information
                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702; information relied
                                                                                upon by experts as basis for
                                                                                opinions or by ASIC as basis for
                                                                                claims handling decisions.
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
Error! Unknown document                                          670
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                         #:25137




                                                                                  of all parties involved at time of
                                                                                  claim (NBC, ASIC, Aon, etc.).


                                                                                  F.R.E. 403 – Objection is
                                                                                  conditional, and therefore not
                                                                                  binding as to general admissibility.
                                                                                  Objection also fails to state why
                                                                                  exhibit is unfairly prejudicial; or
                                                                                  why such alleged unfair prejudice
                                                                                  outweighs its probative value; or
                                                                                  why exhibit confuses the issue,
                                                                                  misleads the jury, wastes time, or
                                                                                  is cumulative. Furthermore, high
                                                                                  probative value re: state of mind of
                                                                                  all parties involved at the time of
                                                                                  the claim. Finally, jury is entitled
                                                                                  to know what information NBC,
                                                                                  ASIC, and other parties had at time
                                                                                  of the facts giving rise to Plaintiffs’
                                                                                  claims.


DX 470
DX 471
DX 472
  Error! Unknown document                                        671
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                         AS OF JANUARY 14, 2020
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DX 473
DX 474
DX 475 Video:                                If offered to prove the truth of facts       F.R.E. 801/802 – (1) Plaintiff fails
          http://www.nbcnews.com/video/msn   stated therein, inadmissible hearsay and     to state what portion of exhibit is
          bc2/56804549#56804549              no exception is applicable (F.R.E. 801,      hearsay; (2) statements not offered
          (ATL006503)                        802); Improper lay opinion (F.R.E.           for the truth, but rather to show
                                             701); No evidence sufficient to support      information acted upon/state of
                                             a finding as to the identity of the author   mind of parties or individuals
                                             or that he/she has personal knowledge        identified in exhibits; (3) several
                                             of the factual matter stated (F.R.E.         statements made by party-
                                             602); Irrelevant (F.R.E. 401, 402); Any      opponent, NBC, or agents
                                             probative value is substantially             affiliated with NBC and operating
                                             outweighed by risk of unfair prejudice,      within the scope of their agency
                                             confusing the issues, misleading the         (e.g. Aon) and, therefore, are not
                                             jury, undue delay, wasting time, or          hearsay under F.R.E. 801.
                                             needlessly presenting cumulative
                                             evidence (F.R.E. 403); Lacks                 F.R.E. 602 – Witnesses has
                                             authentication and none of the               personal knowledge of what
                                             witnesses have personal knowledge to         information NBC or ASIC
                                             authenticate the video footage, in           received before, during, and after
                                             particular as to the means of obtaining,     the events giving rise to the claim,
                                             location, and timing of the footage          including this exhibit. Witness
                                             (F.R.E. 901).                                does not need personally to have
                                                                                          been in Israel in order to testify
                                                                                          regarding what information ASIC
  Error! Unknown document                                             672
  property name.                        ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 873 of 1099 Page ID
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                                                                                or NBC received regarding what
                                                                                was going on in Israel.


                                                                                F.R.E. 701 – Unclear what
                                                                                opinions are offered by any
                                                                                declarant in exhibit; all testimony
                                                                                rationally based on information
                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702; information relied
                                                                                upon by experts as basis for
                                                                                opinions or by ASIC as basis for
                                                                                claims handling decisions.
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


Error! Unknown document                                        673
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.

                                                                                F.R.E. 901 - Self-authenticating
                                                                                under F.R.E. 902(6); produced by
                                                                                Plaintiffs; witnesses are able to
                                                                                authenticate film to the extent that
                                                                                the film is information they viewed
                                                                                and acted upon it, and that the film
                                                                                is a true and correct copy of the
                                                                                film as they perceived it at the
                                                                                time; witness need not to have
Error! Unknown document                                        674
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
                        Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 875 of 1099 Page ID
                                                          #:25141




                                                                                         personally filmed the video in
                                                                                         order to authenticate the video for
                                                                                         its intended purpose.



DX 476 Video:                               If offered to prove the truth of facts       F.R.E. 801/802 – (1) Plaintiff fails
       http://www.msnbc.com/all-in-         stated therein, inadmissible hearsay and     to state what portion of exhibit is
       with-chris-hayes/watch/day-          no exception is applicable (F.R.E. 801,      hearsay; (2) statements not offered
       breaks-in-gaza-following-            802); Improper lay opinion (F.R.E.           for the truth, but rather to show
       invasion-307348035939                701); No evidence sufficient to support      information acted upon/state of
       (ATL006509)                          a finding as to the identity of the author   mind of parties or individuals
                                            or that he/she has personal knowledge        identified in exhibits; (3) several
                                            of the factual matter stated (F.R.E.         statements made by party-
                                            602); Irrelevant (F.R.E. 401, 402); Any      opponent, NBC, or agents
                                            probative value is substantially             affiliated with NBC and operating
                                            outweighed by risk of unfair prejudice,      within the scope of their agency
                                            confusing the issues, misleading the         (e.g. Aon) and, therefore, are not
                                            jury, undue delay, wasting time, or          hearsay under F.R.E. 801.
                                            needlessly presenting cumulative
                                            evidence (F.R.E. 403); Lacks                 F.R.E. 602 – Witnesses has
                                            authentication and none of the               personal knowledge of what
                                            witnesses have personal knowledge to         information NBC or ASIC
                                            authenticate the video footage, in           received before, during, and after
                                            particular as to the means of obtaining,     the events giving rise to the claim,
                                            location, and timing of the footage          including this exhibit. Witness
                                            (F.R.E. 901).                                does not need personally to have
   Error! Unknown document                                           675
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
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                                                       #:25142




                                                                                been in Israel in order to testify
                                                                                regarding what information ASIC
                                                                                or NBC received regarding what
                                                                                was going on in Israel.


                                                                                F.R.E. 701 – Unclear what
                                                                                opinions are offered by any
                                                                                declarant in exhibit; all testimony
                                                                                rationally based on information
                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702; information relied
                                                                                upon by experts as basis for
                                                                                opinions or by ASIC as basis for
                                                                                claims handling decisions.
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).
Error! Unknown document                                        676
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 877 of 1099 Page ID
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                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.

                                                                                F.R.E. 901 - Self-authenticating
                                                                                under F.R.E. 902(6); produced by
                                                                                Plaintiffs; witnesses are able to
                                                                                authenticate film to the extent that
                                                                                the film is information they viewed
                                                                                and acted upon it, and that the film
                                                                                is a true and correct copy of the
Error! Unknown document                                        677
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                       Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 878 of 1099 Page ID
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                                                                                        film as they perceived it at the
                                                                                        time; witness need not to have
                                                                                        personally filmed the video in
                                                                                        order to authenticate the video for
                                                                                        its intended purpose.



DX 477 Video:                              If offered to prove the truth of facts       F.R.E. 801/802 – (1) Plaintiff fails
       http://www.nbcnews.com/video        stated therein, inadmissible hearsay and     to state what portion of exhibit is
       /from/aug-2/2014-ayman-             no exception is applicable (F.R.E. 801,      hearsay; (2) statements not offered
       mohyeldin-reports-on-gaza-          802); Improper lay opinion (F.R.E.           for the truth, but rather to show
       war-469303875925                    701); No evidence sufficient to support      information acted upon/state of
       (ATL006511)                         a finding as to the identity of the author   mind of parties or individuals
                                           or that he/she has personal knowledge        identified in exhibits; (3) several
                                           of the factual matter stated (F.R.E.         statements made by party-
                                           602); Irrelevant (F.R.E. 401, 402); Any      opponent, NBC, or agents
                                           probative value is substantially             affiliated with NBC and operating
                                           outweighed by risk of unfair prejudice,      within the scope of their agency
                                           confusing the issues, misleading the         (e.g. Aon) and, therefore, are not
                                           jury, undue delay, wasting time, or          hearsay under F.R.E. 801.
                                           needlessly presenting cumulative
                                           evidence (F.R.E. 403); Lacks                 F.R.E. 602 – Witnesses has
                                           authentication and none of the               personal knowledge of what
                                           witnesses have personal knowledge to         information NBC or ASIC
                                           authenticate the video footage, in           received before, during, and after
                                           particular as to the means of obtaining,     the events giving rise to the claim,
  Error! Unknown document                                           678
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         location, and timing of the footage    including this exhibit. Witness
                                         (F.R.E. 901).                          does not need personally to have
                                                                                been in Israel in order to testify
                                                                                regarding what information ASIC
                                                                                or NBC received regarding what
                                                                                was going on in Israel.


                                                                                F.R.E. 701 – Unclear what
                                                                                opinions are offered by any
                                                                                declarant in exhibit; all testimony
                                                                                rationally based on information
                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702; information relied
                                                                                upon by experts as basis for
                                                                                opinions or by ASIC as basis for
                                                                                claims handling decisions.
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
Error! Unknown document                                          679
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.

                                                                                F.R.E. 901 - Self-authenticating
                                                                                under F.R.E. 902(6); witnesses are
                                                                                able to authenticate film to the
                                                                                extent that the film is information
                                                                                they viewed and acted upon it, and
Error! Unknown document                                        680
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
                        Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 881 of 1099 Page ID
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                                                                                         that the film is a true and correct
                                                                                         copy of the film as they perceived
                                                                                         it at the time; witness need not to
                                                                                         have personally filmed the video in
                                                                                         order to authenticate the video for
                                                                                         its intended purpose.



DX 478 Video:                               If offered to prove the truth of facts       F.R.E. 801/802 – (1) Plaintiff fails
       http://www.nbcnews.com/watch         stated therein, inadmissible hearsay and     to state what portion of exhibit is
       /nightly-news-bloddiest-day-in-      no exception is applicable (F.R.E. 801,      hearsay; (2) statements not offered
       israels-fight-in-gaza-kills-more-    802); Improper lay opinion (F.R.E.           for the truth, but rather to show
       than-70-309590595847                 701); No evidence sufficient to support      information acted upon/state of
       (ATL006007)                          a finding as to the identity of the author   mind of parties or individuals
                                            or that he/she has personal knowledge        identified in exhibits; (3) several
                                            of the factual matter stated (F.R.E.         statements made by party-
                                            602); Irrelevant (F.R.E. 401, 402); Any      opponent, NBC, or agents
                                            probative value is substantially             affiliated with NBC and operating
                                            outweighed by risk of unfair prejudice,      within the scope of their agency
                                            confusing the issues, misleading the         (e.g. Aon) and, therefore, are not
                                            jury, undue delay, wasting time, or          hearsay under F.R.E. 801.
                                            needlessly presenting cumulative
                                            evidence (F.R.E. 403); Lacks                 F.R.E. 602 – Witnesses has
                                            authentication and none of the               personal knowledge of what
                                            witnesses have personal knowledge to         information NBC or ASIC
                                            authenticate the video footage, in           received before, during, and after
   Error! Unknown document                                           681
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 882 of 1099 Page ID
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                                         particular as to the means of obtaining,   the events giving rise to the claim,
                                         location, and timing of the footage        including this exhibit. Witness
                                         (F.R.E. 901).                              does not need personally to have
                                                                                    been in Israel in order to testify
                                                                                    regarding what information ASIC
                                                                                    or NBC received regarding what
                                                                                    was going on in Israel.


                                                                                    F.R.E. 701 – Unclear what
                                                                                    opinions are offered by any
                                                                                    declarant in exhibit; all testimony
                                                                                    rationally based on information
                                                                                    received and acted upon; no
                                                                                    testimony based on scientific,
                                                                                    technical, or other specialized
                                                                                    knowledge within the scope of
                                                                                    F.R.E. 702; information relied
                                                                                    upon by experts as basis for
                                                                                    opinions or by ASIC as basis for
                                                                                    claims handling decisions.
                                                                                    F.R.E. 401 – Objection is
                                                                                    conditional, and therefore not
                                                                                    binding as to general admissibility.
                                                                                    Objection also fails to state why or
                                                                                    in what context exhibit is
                                                                                    irrelevant. Furthermore, exhibit is
Error! Unknown document                                          682
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                       #:25149




                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.

                                                                                F.R.E. 901 - Self-authenticating
                                                                                under F.R.E. 902(6); witnesses are
                                                                                able to authenticate film to the
                                                                                extent that the film is information
Error! Unknown document                                        683
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
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                                                                                        they viewed and acted upon it, and
                                                                                        that the film is a true and correct
                                                                                        copy of the film as they perceived
                                                                                        it at the time; witness need not to
                                                                                        have personally filmed the video in
                                                                                        order to authenticate the video for
                                                                                        its intended purpose.



DX 479 Video:                              If offered to prove the truth of facts       F.R.E. 801/802 – (1) Plaintiff fails
       http://www.nbcnews.com/watch        stated therein, inadmissible hearsay and     to state what portion of exhibit is
       /nightly-news/israeli-              no exception is applicable (F.R.E. 801,      hearsay; (2) statements not offered
       palestinian-conflict-brings-        802); Improper lay opinion (F.R.E.           for the truth, but rather to show
       heaviest-fighting-in-years-         701); No evidence sufficient to support      information acted upon/state of
       299767363744                        a finding as to the identity of the author   mind of parties or individuals
       (ATL006254)                         or that he/she has personal knowledge        identified in exhibits; (3) several
                                           of the factual matter stated (F.R.E.         statements made by party-
                                           602); Irrelevant (F.R.E. 401, 402); Any      opponent, NBC, or agents
                                           probative value is substantially             affiliated with NBC and operating
                                           outweighed by risk of unfair prejudice,      within the scope of their agency
                                           confusing the issues, misleading the         (e.g. Aon) and, therefore, are not
                                           jury, undue delay, wasting time, or          hearsay under F.R.E. 801.
                                           needlessly presenting cumulative
                                           evidence (F.R.E. 403); Lacks                 F.R.E. 602 – Witnesses has
                                           authentication and none of the               personal knowledge of what
                                           witnesses have personal knowledge to         information NBC or ASIC
  Error! Unknown document                                           684
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         authenticate the video footage, in         received before, during, and after
                                         particular as to the means of obtaining,   the events giving rise to the claim,
                                         location, and timing of the footage        including this exhibit. Witness
                                         (F.R.E. 901).                              does not need personally to have
                                                                                    been in Israel in order to testify
                                                                                    regarding what information ASIC
                                                                                    or NBC received regarding what
                                                                                    was going on in Israel.


                                                                                    F.R.E. 701 – Unclear what
                                                                                    opinions are offered by any
                                                                                    declarant in exhibit; all testimony
                                                                                    rationally based on information
                                                                                    received and acted upon; no
                                                                                    testimony based on scientific,
                                                                                    technical, or other specialized
                                                                                    knowledge within the scope of
                                                                                    F.R.E. 702; information relied
                                                                                    upon by experts as basis for
                                                                                    opinions or by ASIC as basis for
                                                                                    claims handling decisions.
                                                                                    F.R.E. 401 – Objection is
                                                                                    conditional, and therefore not
                                                                                    binding as to general admissibility.
                                                                                    Objection also fails to state why or
                                                                                    in what context exhibit is
Error! Unknown document                                          685
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.

                                                                                F.R.E. 901 - Self-authenticating
                                                                                under F.R.E. 902(6); produced by
                                                                                Plaintiffs; witnesses are able to
Error! Unknown document                                        686
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                   authenticate film to the extent that
                                                                                   the film is information they viewed
                                                                                   and acted upon it, and that the film
                                                                                   is a true and correct copy of the
                                                                                   film as they perceived it at the
                                                                                   time; witness need not to have
                                                                                   personally filmed the video in
                                                                                   order to authenticate the video for
                                                                                   its intended purpose.



DX 480
DX 481
DX 482 Demonstrative: Timeline      Atlantic has not provided this proposed        N/A
                                    exhibit to Universal. Universal
                                    reserves its right to object to this
                                    exhibit once disclosed.
DX 483 Dkt. No. 124 – Minutes (In   Irrelevant (F.R.E. 401, 402); Any              F.R.E. 401 – Exhibit relevant to
       Chambers) Court Order by J.  Probative Value Is Substantially               show reasonableness and good
       Anderson Granting ASIC’s     Outweighed By Risk Of Unfair                   faith on the part of ASIC, state of
       Motion for Summary Judgment. Prejudice, Confusing The Issues,               mind of all parties involved at time
                                    Misleading The Jury, Undue Delay,              of claim (NBC, ASIC, Aon, etc.).
                                    Wasting Time, Or Needlessly
                                    Presenting Cumulative Evidence

   Error! Unknown document                                        687
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                         #:25154




                                           (F.R.E. 403). Subject of a pending     F.R.E. 403 – Objection also fails to
                                           Motion in Limine.                      state why exhibit is unfairly
                                                                                  prejudicial; or why such alleged
                                                                                  unfair prejudice outweighs its
                                                                                  probative value; or why exhibit
                                                                                  confuses the issue, misleads the
                                                                                  jury, wastes time, or is cumulative.
                                                                                  Furthermore, high probative value
                                                                                  re: state of mind of all parties
                                                                                  involved at the time of the claim.
                                                                                  Finally, jury is entitled to know
                                                                                  what information NBC, ASIC, and
                                                                                  other parties had at time of the
                                                                                  facts giving rise to Plaintiffs’
                                                                                  claims, and to know that other
                                                                                  learned parties agreed with ASIC’s
                                                                                  claims position.


DX 484 Dkt. No. 128 –In Chambers –         Irrelevant (F.R.E. 401, 402); Any      F.R.E. 401 – Exhibit relevant to
       Court Order by J. Anderson          Probative Value Is Substantially       show reasonableness and good
       Granting ASIC’s Motion for          Outweighed By Risk Of Unfair           faith on the part of ASIC, state of
       Summary Judgment.                   Prejudice, Confusing The Issues,       mind of all parties involved at time
                                           Misleading The Jury, Undue Delay,      of claim (NBC, ASIC, Aon, etc.).
                                           Wasting Time, Or Needlessly
                                           Presenting Cumulative Evidence
                                                                                  F.R.E. 403 – Objection also fails to
                                                                                  state why exhibit is unfairly
  Error! Unknown document                                         688
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                            (F.R.E. 403). Subject of a pending     prejudicial; or why such alleged
                                            Motion in Limine.                      unfair prejudice outweighs its
                                                                                   probative value; or why exhibit
                                                                                   confuses the issue, misleads the
                                                                                   jury, wastes time, or is cumulative.
                                                                                   Furthermore, high probative value
                                                                                   re: state of mind of all parties
                                                                                   involved at the time of the claim.
                                                                                   Finally, jury is entitled to know
                                                                                   what information NBC, ASIC, and
                                                                                   other parties had at time of the
                                                                                   facts giving rise to Plaintiffs’
                                                                                   claims, and to know that other
                                                                                   learned parties agreed with ASIC’s
                                                                                   claims position.


DX 485 Dkt. No. 129 – Court Order by Irrelevant (F.R.E. 401, 402); Any             F.R.E. 401 – Exhibit relevant to
       J. Anderson Granting ASIC’s   Probative Value Is Substantially              show reasonableness and good
       Motion for Summary Judgment. Outweighed By Risk Of Unfair                   faith on the part of ASIC, state of
                                     Prejudice, Confusing The Issues,              mind of all parties involved at time
                                     Misleading The Jury, Undue Delay,             of claim (NBC, ASIC, Aon, etc.).
                                     Wasting Time, Or Needlessly
                                     Presenting Cumulative Evidence
                                     (F.R.E. 403). Subject of a pending            F.R.E. 403 – Objection also fails to
                                     Motion in Limine.                             state why exhibit is unfairly
                                                                                   prejudicial; or why such alleged
                                                                                   unfair prejudice outweighs its
   Error! Unknown document                                         689
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     probative value; or why exhibit
                                                                                     confuses the issue, misleads the
                                                                                     jury, wastes time, or is cumulative.
                                                                                     Furthermore, high probative value
                                                                                     re: state of mind of all parties
                                                                                     involved at the time of the claim.
                                                                                     Finally, jury is entitled to know
                                                                                     what information NBC, ASIC, and
                                                                                     other parties had at time of the
                                                                                     facts giving rise to Plaintiffs’
                                                                                     claims, and to know that other
                                                                                     learned parties agreed with ASIC’s
                                                                                     claims position.


DX 486 Dkt. No. 133 – NBC’s Notice          Depending on the reason offered,         F.R.E. 401 – Exhibit relevant to
       of Appeal to the Ninth Circuit       Irrelevant (F.R.E. 401, 402); F.R.E.     show reasonableness and good
       Court of Appeals                     403, Substantially More Prejudicial      faith on the part of ASIC, state of
                                            than Probative, Likely to Confuse the    mind of all parties involved at time
                                            Jury. Issues of law decided by the       of claim (NBC, ASIC, Aon, etc.).
                                            Ninth Circuit should be included in
                                            properly worded jury instructions, not
                                            introduced as an exhibit. Subject of a   F.R.E. 403 – Objection also fails to
                                            pending Motion in Limine.                state why exhibit is unfairly
                                                                                     prejudicial; or why such alleged
                                                                                     unfair prejudice outweighs its
                                                                                     probative value; or why exhibit
                                                                                     confuses the issue, misleads the
   Error! Unknown document                                          690
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                    jury, wastes time, or is cumulative.
                                                                                    Furthermore, high probative value
                                                                                    re: state of mind of all parties
                                                                                    involved at the time of the claim.
                                                                                    Finally, jury is entitled to know
                                                                                    what information NBC, ASIC, and
                                                                                    other parties had at time of the
                                                                                    facts giving rise to Plaintiffs’
                                                                                    claims, and to know that other
                                                                                    learned parties agreed with ASIC’s
                                                                                    claims position.


DX 487 ASIC/NBC Dig Electronic             If offered to prove the truth thereof,   F.R.E. 801/802 – (1) Plaintiff fails
       Claim Notes – Bates No. ATL         inadmissible hearsay and no exception    to state what portion of exhibit is
       00001 – ATL 00161                   is applicable (F.R.E. 801, 802).         hearsay; (2) statements not offered
                                                                                    for the truth, but rather to show
                                                                                    information acted upon/state of
                                                                                    mind of parties or individuals
                                                                                    identified in exhibits; (3) several
                                                                                    statements made by party-
                                                                                    opponent, NBC, and agents
                                                                                    affiliated with NBC and operating
                                                                                    within the scope of their agency
                                                                                    (e.g. Aon) and, therefore, are not
                                                                                    hearsay under F.R.E. 801; (4) all
                                                                                    communications of OneBeacon are
  Error! Unknown document                                         691
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                    records made at or near to the time
                                                                                    of the events or conditions at issue
                                                                                    in this case by persons with
                                                                                    knowledge of those events or
                                                                                    conditions; these communications
                                                                                    are also made and kept in the
                                                                                    regular course of business and,
                                                                                    therefore, are an exception to
                                                                                    hearsay under F.R.E. 803(6).


DX 488 ASIC/NBC Dig Claim File –           If offered to prove the truth thereof,   F.R.E. 801/802 – (1) Plaintiff fails
       Bates No. ATL 000162 – ATL          inadmissible hearsay and no exception    to state what portion of exhibit is
       4101                                is applicable (F.R.E. 801, 802).         hearsay; (2) statements not offered
                                                                                    for the truth, but rather to show
                                                                                    information acted upon/state of
                                                                                    mind of parties or individuals
                                                                                    identified in exhibits; (3) several
                                                                                    statements made by party-
                                                                                    opponent, NBC, and agents
                                                                                    affiliated with NBC and operating
                                                                                    within the scope of their agency
                                                                                    (e.g. Aon) and, therefore, are not
                                                                                    hearsay under F.R.E. 801; (4) all
                                                                                    communications of OneBeacon are
                                                                                    records made at or near to the time
                                                                                    of the events or conditions at issue
  Error! Unknown document                                         692
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                    in this case by persons with
                                                                                    knowledge of those events or
                                                                                    conditions; these communications
                                                                                    are also made and kept in the
                                                                                    regular course of business and,
                                                                                    therefore, are an exception to
                                                                                    hearsay under F.R.E. 803(6).


DX 489 Claim Notes – Bates No. ATL         If offered to prove the truth thereof,   F.R.E. 801/802 – (1) Plaintiff fails
       000733-0734 (Stone Exhibit          inadmissible hearsay and no exception    to state what portion of exhibit is
       No. 11)                             is applicable (F.R.E. 801, 802).         hearsay; (2) statements not offered
                                                                                    for the truth, but rather to show
                                                                                    information acted upon/state of
                                                                                    mind of parties or individuals
                                                                                    identified in exhibits; (3) several
                                                                                    statements made by party-
                                                                                    opponent, NBC, and agents
                                                                                    affiliated with NBC and operating
                                                                                    within the scope of their agency
                                                                                    (e.g. Aon) and, therefore, are not
                                                                                    hearsay under F.R.E. 801; (4) all
                                                                                    communications of OneBeacon are
                                                                                    records made at or near to the time
                                                                                    of the events or conditions at issue
                                                                                    in this case by persons with
                                                                                    knowledge of those events or
  Error! Unknown document                                         693
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                   conditions; these communications
                                                                                   are also made and kept in the
                                                                                   regular course of business and,
                                                                                   therefore, are an exception to
                                                                                   hearsay under F.R.E. 803(6).


DX 490
DX 491 04/25/17 Report of Jay Shapiro, Irrelevant (F.R.E. 401, 402); Any           This is not proper objection to
       CPA                             Probative Value Is Substantially            evidence, but rather to expert
                                       Outweighed By Risk Of Unfair                opinions. Such should properly be
                                       Prejudice, Confusing The Issues,            addressed in either a Daubert
                                       Misleading The Jury, Undue Delay,           motion or in a Motion in Limine.
                                       Wasting Time, Or Needlessly                 Arguments go to weight, not
                                       Presenting Cumulative Evidence              admissibility.
                                       (F.R.E. 403). Subject of a pending          The qualifications of an expert to
                                       Motion in Limine. If offered to prove       testify is always relevant and the
                                       the truth thereof, inadmissible hearsay     conclusions of Shapiro are relevant
                                       and no exception is applicable (F.R.E.      because they make facts asserted
                                       801, 802).                                  by the Plaintiffs’ in their claim for
                                                                                   damages more or less likely.

                                                                                   The probative value of Shapiro’s
                                                                                   expert report to aid the jury in its
                                                                                   assessment and ultimate
                                                                                   determination of damages is not
   Error! Unknown document                                        694
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                       #:25161




                                                                                substantial outweighed by its
                                                                                prejudicial effect, further the
                                                                                Plaintiff offers absolutely no legal
                                                                                authority or precedent to exclude
                                                                                this evidence for their stated basis,
                                                                                only offering broad, conclusory
                                                                                allegations.

                                                                                Cumulative evidence is defined as
                                                                                evidence that replicates other
                                                                                admitted evidence. United States v.
                                                                                Ives, 609 F.2d 930, 933 (9th Cir.
                                                                                1979), cert. denied, 445 U.S. 919
                                                                                (1980). There is no replication of
                                                                                this evidence, the information
                                                                                contained in this exhibit constitutes
                                                                                evidence of reasonable conduct by
                                                                                the Defendant which is an issue the
                                                                                jury must decide. For these same
                                                                                reasons, introduction of this
                                                                                evidence in no way constitutes a
                                                                                waste of time.

                                                                                This evidence should not be
                                                                                excluded on the bases of hearsay
                                                                                under Fed. R. Evid. 801 or 802.
                                                                                Fed. R. Evid. 703 permits an
Error! Unknown document                                        695
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                    expert witness to “base an opinion
                                                                                    on facts or data in the case that the
                                                                                    expert has been made aware of or
                                                                                    personally observed” and if the
                                                                                    facts or data are the type that
                                                                                    experts in the same field would
                                                                                    reasonably rely on to form similar
                                                                                    opinions, the facts or data do not
                                                                                    have be admissible in order for
                                                                                    thewitness’ opinion to be
                                                                                    admissible. Indeed, inadmissible
                                                                                    facts or data may be disclosed to
                                                                                    the jury “if their probative value in
                                                                                    helping the jury evaluate the
                                                                                    opinion substantially outweighs
                                                                                    their prejudicial effect.”


DX 492 Schedule A to the 04/25/17           Irrelevant (F.R.E. 401, 402); Any       This is not proper objection to
       Report of Jay Shapiro, CPA:          Probative Value Is Substantially        evidence, but rather to expert
       Summary of Maximum Claim             Outweighed By Risk Of Unfair            opinions. Such should properly be
       for Possible Extra Expenses –        Prejudice, Confusing The Issues,        addressed in either a Daubert
       Five Episodes                        Misleading The Jury, Undue Delay,       motion or in a Motion in Limine.
                                            Wasting Time, Or Needlessly             Arguments go to weight, not
                                            Presenting Cumulative Evidence          admissibility.
                                            (F.R.E. 403). Subject of a pending      The qualifications of an expert to
                                            Motion in Limine. If offered to prove   testify is always relevant and the
   Error! Unknown document                                         696
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         the truth thereof, inadmissible hearsay   conclusions of Shapiro are relevant
                                         and no exception is applicable (F.R.E.    because they make facts asserted
                                         801, 802).                                by the Plaintiffs’ in their claim for
                                                                                   damages more or less likely.

                                                                                   The probative value of Shapiro’s
                                                                                   expert report to aid the jury in its
                                                                                   assessment and ultimate
                                                                                   determination of damages is not
                                                                                   substantial outweighed by its
                                                                                   prejudicial effect, further the
                                                                                   Plaintiff offers absolutely no legal
                                                                                   authority or precedent to exclude
                                                                                   this evidence for their stated basis,
                                                                                   only offering broad, conclusory
                                                                                   allegations.

                                                                                   Cumulative evidence is defined as
                                                                                   evidence that replicates other
                                                                                   admitted evidence. United States v.
                                                                                   Ives, 609 F.2d 930, 933 (9th Cir.
                                                                                   1979), cert. denied, 445 U.S. 919
                                                                                   (1980). There is no replication of
                                                                                   this evidence, the information
                                                                                   contained in this exhibit constitutes
                                                                                   evidence of reasonable conduct by
                                                                                   the Defendant which is an issue the
Error! Unknown document                                          697
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                jury must decide. For these same
                                                                                reasons, introduction of this
                                                                                evidence in no way constitutes a
                                                                                waste of time.

                                                                                This evidence should not be
                                                                                excluded on the bases of hearsay
                                                                                under Fed. R. Evid. 801 or 802.
                                                                                Fed. R. Evid. 703 permits an
                                                                                expert witness to “base an opinion
                                                                                on facts or data in the case that the
                                                                                expert has been made aware of or
                                                                                personally observed” and if the
                                                                                facts or data are the type that
                                                                                experts in the same field would
                                                                                reasonably rely on to form similar
                                                                                opinions, the facts or data do not
                                                                                have be admissible in order for
                                                                                thewitness’ opinion to be
                                                                                admissible. Indeed, inadmissible
                                                                                facts or data may be disclosed to
                                                                                the jury “if their probative value in
                                                                                helping the jury evaluate the
                                                                                opinion substantially outweighs
                                                                                their prejudicial effect.”


Error! Unknown document                                        698
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 493 Schedule B to the 04/25/17           Irrelevant (F.R.E. 401, 402); Any         This is not proper objection to
       Report of Jay Shapiro, CPA:          Probative Value Is Substantially          evidence, but rather to expert
       Possible Incremental Costs –         Outweighed By Risk Of Unfair              opinions. Such should properly be
       Five Episodes                        Prejudice, Confusing The Issues,          addressed in either a Daubert
                                            Misleading The Jury, Undue Delay,         motion or in a Motion in Limine.
                                            Wasting Time, Or Needlessly               Arguments go to weight, not
                                            Presenting Cumulative Evidence            admissibility.
                                            (F.R.E. 403). Subject of a pending        The qualifications of an expert to
                                            Motion in Limine. If offered to prove     testify is always relevant and the
                                            the truth thereof, inadmissible hearsay   conclusions of Shapiro are relevant
                                            and no exception is applicable (F.R.E.    because they make facts asserted
                                            801, 802).                                by the Plaintiffs’ in their claim for
                                                                                      damages more or less likely.

                                                                                      The probative value of Shapiro’s
                                                                                      expert report to aid the jury in its
                                                                                      assessment and ultimate
                                                                                      determination of damages is not
                                                                                      substantial outweighed by its
                                                                                      prejudicial effect, further the
                                                                                      Plaintiff offers absolutely no legal
                                                                                      authority or precedent to exclude
                                                                                      this evidence for their stated basis,
                                                                                      only offering broad, conclusory
                                                                                      allegations.


   Error! Unknown document                                          699
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                Cumulative evidence is defined as
                                                                                evidence that replicates other
                                                                                admitted evidence. United States v.
                                                                                Ives, 609 F.2d 930, 933 (9th Cir.
                                                                                1979), cert. denied, 445 U.S. 919
                                                                                (1980). There is no replication of
                                                                                this evidence, the information
                                                                                contained in this exhibit constitutes
                                                                                evidence of reasonable conduct by
                                                                                the Defendant which is an issue the
                                                                                jury must decide. For these same
                                                                                reasons, introduction of this
                                                                                evidence in no way constitutes a
                                                                                waste of time.

                                                                                This evidence should not be
                                                                                excluded on the bases of hearsay
                                                                                under Fed. R. Evid. 801 or 802.
                                                                                Fed. R. Evid. 703 permits an
                                                                                expert witness to “base an opinion
                                                                                on facts or data in the case that the
                                                                                expert has been made aware of or
                                                                                personally observed” and if the
                                                                                facts or data are the type that
                                                                                experts in the same field would
                                                                                reasonably rely on to form similar
                                                                                opinions, the facts or data do not
Error! Unknown document                                        700
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                   have be admissible in order for
                                                                                   thewitness’ opinion to be
                                                                                   admissible. Indeed, inadmissible
                                                                                   facts or data may be disclosed to
                                                                                   the jury “if their probative value in
                                                                                   helping the jury evaluate the
                                                                                   opinion substantially outweighs
                                                                                   their prejudicial effect.”


DX 494 Schedule C to the 04/25/17           Irrelevant (F.R.E. 401, 402); Any      This is not proper objection to
       Report of Jay Shapiro, CPA:          Probative Value Is Substantially       evidence, but rather to expert
       Additional Film Tax Credit – 5       Outweighed By Risk Of Unfair           opinions. Such should properly be
       Episodes                             Prejudice, Confusing The Issues,       addressed in either a Daubert
                                            Misleading The Jury, Undue Delay,      motion or in a Motion in Limine.
                                            Wasting Time, Or Needlessly            Arguments go to weight, not
                                            Presenting Cumulative Evidence         admissibility.
                                            (F.R.E. 403). Subject of a pending     The qualifications of an expert to
                                            Motion in Limine.                      testify is always relevant and the
                                                                                   conclusions of Shapiro are relevant
                                                                                   because they make facts asserted
                                                                                   by the Plaintiffs’ in their claim for
                                                                                   damages more or less likely.

                                                                                   The probative value of Shapiro’s
                                                                                   expert report to aid the jury in its
                                                                                   assessment and ultimate
   Error! Unknown document                                        701
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                determination of damages is not
                                                                                substantial outweighed by its
                                                                                prejudicial effect, further the
                                                                                Plaintiff offers absolutely no legal
                                                                                authority or precedent to exclude
                                                                                this evidence for their stated basis,
                                                                                only offering broad, conclusory
                                                                                allegations.

                                                                                Cumulative evidence is defined as
                                                                                evidence that replicates other
                                                                                admitted evidence. United States v.
                                                                                Ives, 609 F.2d 930, 933 (9th Cir.
                                                                                1979), cert. denied, 445 U.S. 919
                                                                                (1980). There is no replication of
                                                                                this evidence, the information
                                                                                contained in this exhibit constitutes
                                                                                evidence of reasonable conduct by
                                                                                the Defendant which is an issue the
                                                                                jury must decide. For these same
                                                                                reasons, introduction of this
                                                                                evidence in no way constitutes a
                                                                                waste of time.

                                                                                This evidence should not be
                                                                                excluded on the bases of hearsay
                                                                                under Fed. R. Evid. 801 or 802.
Error! Unknown document                                        702
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                  Fed. R. Evid. 703 permits an
                                                                                  expert witness to “base an opinion
                                                                                  on facts or data in the case that the
                                                                                  expert has been made aware of or
                                                                                  personally observed” and if the
                                                                                  facts or data are the type that
                                                                                  experts in the same field would
                                                                                  reasonably rely on to form similar
                                                                                  opinions, the facts or data do not
                                                                                  have be admissible in order for
                                                                                  thewitness’ opinion to be
                                                                                  admissible. Indeed, inadmissible
                                                                                  facts or data may be disclosed to
                                                                                  the jury “if their probative value in
                                                                                  helping the jury evaluate the
                                                                                  opinion substantially outweighs
                                                                                  their prejudicial effect.”


DX 495 CV of Jay Shapiro, CPA              Irrelevant (F.R.E. 401, 402); Any      This is not proper objection to
                                           Probative Value Is Substantially       evidence, but rather to expert
                                           Outweighed By Risk Of Unfair           opinions. Such should properly be
                                           Prejudice, Confusing The Issues,       addressed in either a Daubert
                                           Misleading The Jury, Undue Delay,      motion or in a Motion in Limine.
                                           Wasting Time, Or Needlessly            Arguments go to weight, not
                                           Presenting Cumulative Evidence         admissibility.
                                           (F.R.E. 403). Subject of a pending
  Error! Unknown document                                        703
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         Motion in Limine. If offered to prove     F.R.E. 401 – Objection is
                                         the truth thereof, inadmissible hearsay   conditional, and therefore not
                                         and no exception is applicable (F.R.E.    binding as to general admissibility.
                                         801, 802).                                Objection also fails to state why or
                                                                                   in what context exhibit is
                                                                                   irrelevant. Furthermore, exhibit is
                                                                                   relevant to establish state of mind
                                                                                   of all parties involved at time of
                                                                                   claim (NBC, AON, etc.).


                                                                                   F.R.E. 403 – Objection fails to
                                                                                   state what prejudice exhibit
                                                                                   contains, or why such alleged
                                                                                   prejudice outweighs its probative
                                                                                   value. Also, high probative value
                                                                                   re: state of mind of all parties
                                                                                   involved at the time of the claim.
                                                                                   Objection further fails to state what
                                                                                   information will mislead or
                                                                                   confuse jury. Finally, jury must
                                                                                   know what information NBC,
                                                                                   AON, and ASIC had at time of
                                                                                   claim.




Error! Unknown document                                          704
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 496 02/10/16 Email between Wanda If offered to prove the truth thereof,         F.R.E. 801/802 – (1) Plaintiff fails
       Phillips and Joseph S.       inadmissible hearsay and no exception          to state what portion of exhibit is
       Fitzgerald (ATL005998-6006) is applicable (F.R.E. 801, 802).                hearsay; (2) statements not offered
                                                                                   for the truth, but rather to show
                                                                                   information acted upon/state of
                                                                                   mind of parties or individuals
                                                                                   identified in exhibits; (3) several
                                                                                   statements made by party-
                                                                                   opponent, NBC, or agents
                                                                                   affiliated with NBC and operating
                                                                                   within the scope of their agency
                                                                                   (e.g. Aon) and, therefore, are not
                                                                                   hearsay under F.R.E. 801; (4) all
                                                                                   communications of OneBeacon are
                                                                                   records made at or near to the time
                                                                                   of the events or conditions at issue
                                                                                   in this case by persons with
                                                                                   knowledge of those events or
                                                                                   conditions; these communications
                                                                                   are also made and kept in the
                                                                                   regular course of business and,
                                                                                   therefore, are an exception to
                                                                                   hearsay under F.R.E. 803(6).
DX 497 Plaintiff’s Damages Evidence –       No objection                           No response
       Bates No. UCP 004067-
       UCP018002
   Error! Unknown document                                        705
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
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DX 498 Plaintiff’s Damages Evidence –       No objection                           No response
       Bates No. UCP 18003-18124
DX 499 Plaintiff’s Damages Evidence – No objection                                 No response
       Bates No. UCP 018125-018127
DX 500 Plaintiff’s Damages Evidence – No objection                                 No response
       Bates No. UCP 018228-020052
DX 501 Plaintiff’s Damages Evidence – No objection                                 No response
       Bates No. UCP 020063-032854
DX 502 Plaintiff’s Damages Evidence –       No objection                           No response
       Bates No. UCP 0004971
DX 503 Plaintiff’s Damages Evidence –       No objection                           No response
       Bates No. UCP 004504
DX 504
DX 505
DX 506
DX 507
DX 508 Plaintiff’s Damages Evidence –       No objection                           No response
       Bates No. UCP 004971
       (Shapiro Depo Ex 6)


   Error! Unknown document                                        706
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
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DX 509 Plaintiff’s Damages Evidence –       No objection                              No response
       Bates No UCP 014836-014881
       (Shapiro Depo Ex 7)
DX 510
DX 511 DUPLICATIVE OF MARKUS
       DEPO EXHIBIT NO 344                  No objection.                             No response.
       (Plaintiff’s Damages Evidence
       – Bates No. UCP 018226-
       18227 (Shapiro Depo Ex 9))
DX 512
DX 513 03/16/17 Report of Frank G.          Irrelevant (F.R.E. 401, 402); Any         This is not proper objection to
       Lowenstein                           Probative Value Is Substantially          evidence, but rather to expert
                                            Outweighed By Risk Of Unfair              opinions. Such should properly be
                                            Prejudice, Confusing The Issues,          addressed in either a Daubert
                                            Misleading The Jury, Undue Delay,         motion or in a Motion in Limine.
                                            Wasting Time, Or Needlessly               Arguments go to weight, not
                                            Presenting Cumulative Evidence            admissibility.
                                            (F.R.E. 403). Subject of a pending        The qualifications of an expert to
                                            Motion in Limine. If offered to prove     testify is always relevant and the
                                            the truth thereof, inadmissible hearsay   conclusions of Lowenstein are
                                            and no exception is applicable (F.R.E.    relevant because they make facts
                                            801, 802).                                asserted by the Plaintiffs’ in their
                                                                                      claim for damages more or less
                                                                                      likely.
   Error! Unknown document                                          707
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
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                                                       #:25174




                                                                                The probative value of
                                                                                Lowenstein’s expert report to aid
                                                                                the jury in its assessment and
                                                                                ultimate determination of damages
                                                                                is not substantial outweighed by its
                                                                                prejudicial effect, further the
                                                                                Plaintiff offers absolutely no legal
                                                                                authority or precedent to exclude
                                                                                this evidence for their stated basis,
                                                                                only offering broad, conclusory
                                                                                allegations.

                                                                                Cumulative evidence is defined as
                                                                                evidence that replicates other
                                                                                admitted evidence. United States v.
                                                                                Ives, 609 F.2d 930, 933 (9th Cir.
                                                                                1979), cert. denied, 445 U.S. 919
                                                                                (1980). There is no replication of
                                                                                this evidence, the information
                                                                                contained in this exhibit constitutes
                                                                                evidence of reasonable conduct by
                                                                                the Defendant which is an issue the
                                                                                jury must decide. For these same
                                                                                reasons, introduction of this
                                                                                evidence in no way constitutes a
                                                                                waste of time.
Error! Unknown document                                        708
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
                       Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 909 of 1099 Page ID
                                                         #:25175




                                                                                  This evidence should not be
                                                                                  excluded on the bases of hearsay
                                                                                  under Fed. R. Evid. 801 or 802.
                                                                                  Fed. R. Evid. 703 permits an
                                                                                  expert witness to “base an opinion
                                                                                  on facts or data in the case that the
                                                                                  expert has been made aware of or
                                                                                  personally observed” and if the
                                                                                  facts or data are the type that
                                                                                  experts in the same field would
                                                                                  reasonably rely on to form similar
                                                                                  opinions, the facts or data do not
                                                                                  have be admissible in order for
                                                                                  thewitness’ opinion to be
                                                                                  admissible. Indeed, inadmissible
                                                                                  facts or data may be disclosed to
                                                                                  the jury “if their probative value in
                                                                                  helping the jury evaluate the
                                                                                  opinion substantially outweighs
                                                                                  their prejudicial effect.”


DX 514 CV of Frank G. Lowenstein           Irrelevant (F.R.E. 401, 402); Any      This is not proper objection to
                                           Probative Value Is Substantially       evidence, but rather to expert
                                           Outweighed By Risk Of Unfair           opinions. Such should properly be
                                           Prejudice, Confusing The Issues,       addressed in either a Daubert
  Error! Unknown document                                         709
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                         AS OF JANUARY 14, 2020
                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 910 of 1099 Page ID
                                                       #:25176




                                         Misleading The Jury, Undue Delay,         motion or in a Motion in Limine.
                                         Wasting Time, Or Needlessly               Arguments go to weight, not
                                         Presenting Cumulative Evidence            admissibility.
                                         (F.R.E. 403). Subject of a pending        The qualifications of an expert to
                                         Motion in Limine. If offered to prove     testify is always relevant and the
                                         the truth thereof, inadmissible hearsay   conclusions of Lowenstein are
                                         and no exception is applicable (F.R.E.    relevant because they make facts
                                         801, 802).                                asserted by the Plaintiffs’ in their
                                                                                   claim for damages more or less
                                                                                   likely.

                                                                                   The probative value of
                                                                                   Lowenstein’s expert report to aid
                                                                                   the jury in its assessment and
                                                                                   ultimate determination of damages
                                                                                   is not substantial outweighed by its
                                                                                   prejudicial effect, further the
                                                                                   Plaintiff offers absolutely no legal
                                                                                   authority or precedent to exclude
                                                                                   this evidence for their stated basis,
                                                                                   only offering broad, conclusory
                                                                                   allegations.

                                                                                   Cumulative evidence is defined as
                                                                                   evidence that replicates other
                                                                                   admitted evidence. United States v.
                                                                                   Ives, 609 F.2d 930, 933 (9th Cir.
Error! Unknown document                                          710
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 911 of 1099 Page ID
                                                       #:25177




                                                                                1979), cert. denied, 445 U.S. 919
                                                                                (1980). There is no replication of
                                                                                this evidence, the information
                                                                                contained in this exhibit constitutes
                                                                                evidence of reasonable conduct by
                                                                                the Defendant which is an issue the
                                                                                jury must decide. For these same
                                                                                reasons, introduction of this
                                                                                evidence in no way constitutes a
                                                                                waste of time.

                                                                                This evidence should not be
                                                                                excluded on the bases of hearsay
                                                                                under Fed. R. Evid. 801 or 802.
                                                                                Fed. R. Evid. 703 permits an
                                                                                expert witness to “base an opinion
                                                                                on facts or data in the case that the
                                                                                expert has been made aware of or
                                                                                personally observed” and if the
                                                                                facts or data are the type that
                                                                                experts in the same field would
                                                                                reasonably rely on to form similar
                                                                                opinions, the facts or data do not
                                                                                have be admissible in order for
                                                                                thewitness’ opinion to be
                                                                                admissible. Indeed, inadmissible
                                                                                facts or data may be disclosed to
Error! Unknown document                                        711
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
                        Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 912 of 1099 Page ID
                                                          #:25178




                                                                                      the jury “if their probative value in
                                                                                      helping the jury evaluate the
                                                                                      opinion substantially outweighs
                                                                                      their prejudicial effect.”


DX 515 04/26/17 Rebuttal Report of          Irrelevant (F.R.E. 401, 402); Any         This is not proper objection to
       Frank G. Lowenstein                  Probative Value Is Substantially          evidence, but rather to expert
                                            Outweighed By Risk Of Unfair              opinions. Such should properly be
                                            Prejudice, Confusing The Issues,          addressed in either a Daubert
                                            Misleading The Jury, Undue Delay,         motion or in a Motion in Limine.
                                            Wasting Time, Or Needlessly               Arguments go to weight, not
                                            Presenting Cumulative Evidence            admissibility.
                                            (F.R.E. 403). Subject of a pending        The qualifications of an expert to
                                            Motion in Limine. If offered to prove     testify is always relevant and the
                                            the truth thereof, inadmissible hearsay   conclusions of Lowenstein are
                                            and no exception is applicable (F.R.E.    relevant because they make facts
                                            801, 802).                                asserted by the Plaintiffs’ in their
                                                                                      claim for damages more or less
                                                                                      likely.

                                                                                      The probative value of
                                                                                      Lowenstein’s expert report to aid
                                                                                      the jury in its assessment and
                                                                                      ultimate determination of damages
                                                                                      is not substantial outweighed by its
                                                                                      prejudicial effect, further the
   Error! Unknown document                                          712
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 913 of 1099 Page ID
                                                       #:25179




                                                                                Plaintiff offers absolutely no legal
                                                                                authority or precedent to exclude
                                                                                this evidence for their stated basis,
                                                                                only offering broad, conclusory
                                                                                allegations.

                                                                                Cumulative evidence is defined as
                                                                                evidence that replicates other
                                                                                admitted evidence. United States v.
                                                                                Ives, 609 F.2d 930, 933 (9th Cir.
                                                                                1979), cert. denied, 445 U.S. 919
                                                                                (1980). There is no replication of
                                                                                this evidence, the information
                                                                                contained in this exhibit constitutes
                                                                                evidence of reasonable conduct by
                                                                                the Defendant which is an issue the
                                                                                jury must decide. For these same
                                                                                reasons, introduction of this
                                                                                evidence in no way constitutes a
                                                                                waste of time.

                                                                                This evidence should not be
                                                                                excluded on the bases of hearsay
                                                                                under Fed. R. Evid. 801 or 802.
                                                                                Fed. R. Evid. 703 permits an
                                                                                expert witness to “base an opinion
                                                                                on facts or data in the case that the
Error! Unknown document                                        713
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
                        Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 914 of 1099 Page ID
                                                          #:25180




                                                                                   expert has been made aware of or
                                                                                   personally observed” and if the
                                                                                   facts or data are the type that
                                                                                   experts in the same field would
                                                                                   reasonably rely on to form similar
                                                                                   opinions, the facts or data do not
                                                                                   have be admissible in order for
                                                                                   thewitness’ opinion to be
                                                                                   admissible. Indeed, inadmissible
                                                                                   facts or data may be disclosed to
                                                                                   the jury “if their probative value in
                                                                                   helping the jury evaluate the
                                                                                   opinion substantially outweighs
                                                                                   their prejudicial effect.”


DX 516 ASIC Policy No. MP 00163-04          No objection                           No response
       (UCP000056-000110)
DX 517 07/28/14 Letter from Pamela          No objection                           No response
       Johnson to Andrea Garber
       (Gutterman Depo Ex 18)
       (ATL000094-101)
DX 518 NBC Claim File Material –            Depending on the reason offered,       F.R.E. 801/802 – (1) Plaintiff fails
       Bates No. UCP 000162 –               Irrelevant (F.R.E. 401, 402); Any      to state what portion of exhibit is
       000245                               Probative Value Is Substantially       hearsay; (2) statements not offered
                                            Outweighed By Risk Of Unfair           for the truth, but rather to show
   Error! Unknown document                                         714
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 915 of 1099 Page ID
                                                       #:25181




                                         Prejudice, Confusing The Issues,       information acted upon/state of
                                         Misleading The Jury, Undue Delay,      mind of parties or individuals
                                         Wasting Time, Or Needlessly            identified in exhibits; (3) several
                                         Presenting Cumulative Evidence         statements made by party-
                                         (F.R.E. 403). Subject of a pending     opponent, NBC, and agents
                                         Motion in Limine.                      affiliated with NBC and operating
                                                                                within the scope of their agency
                                                                                (e.g. Aon) and, therefore, are not
                                                                                hearsay under F.R.E. 801; (4) all
                                                                                communications of OneBeacon are
                                                                                records made at or near to the time
                                                                                of the events or conditions at issue
                                                                                in this case by persons with
                                                                                knowledge of those events or
                                                                                conditions; these communications
                                                                                are also made and kept in the
                                                                                regular course of business and,
                                                                                therefore, are an exception to
                                                                                hearsay under F.R.E. 803(6). All
                                                                                necessary for expert witness to form
                                                                                opinions in this case.
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
Error! Unknown document                                        715
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                       Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 916 of 1099 Page ID
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                                                                                  relevant to establish state of mind
                                                                                  of all parties involved at time of
                                                                                  claim (NBC, ASIC, Aon, etc.).


                                                                                  F.R.E. 403 – Objection is
                                                                                  conditional, and therefore not
                                                                                  binding as to general admissibility.
                                                                                  Objection also fails to state why
                                                                                  exhibit is unfairly prejudicial; or
                                                                                  why such alleged unfair prejudice
                                                                                  outweighs its probative value; or
                                                                                  why exhibit confuses the issue,
                                                                                  misleads the jury, wastes time, or
                                                                                  is cumulative. Furthermore, high
                                                                                  probative value re: state of mind of
                                                                                  all parties involved at the time of
                                                                                  the claim. Finally, jury is entitled
                                                                                  to know what information NBC,
                                                                                  ASIC, and other parties had at time
                                                                                  of the facts giving rise to Plaintiffs’
                                                                                  claims.


DX 519 Lowenstein Expert Report            Irrelevant (F.R.E. 401, 402); Any      This is not proper objection to
       (Lowenstein Depo Ex 1)              Probative Value Is Substantially       evidence, but rather to expert
                                           Outweighed By Risk Of Unfair           opinions. Such should properly be
                                           Prejudice, Confusing The Issues,       addressed in either a Daubert
  Error! Unknown document                                           716
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                         AS OF JANUARY 14, 2020
                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 917 of 1099 Page ID
                                                       #:25183




                                         Misleading The Jury, Undue Delay,         motion or in a Motion in Limine.
                                         Wasting Time, Or Needlessly               Arguments go to weight, not
                                         Presenting Cumulative Evidence            admissibility.
                                         (F.R.E. 403). Subject of a pending        The qualifications of an expert to
                                         Motion in Limine. If offered to prove     testify is always relevant and the
                                         the truth thereof, inadmissible hearsay   conclusions of Clark are relevant
                                         and no exception is applicable (F.R.E.    because they make facts asserted
                                         801, 802).                                by the Plaintiffs’ in their claim for
                                                                                   damages more or less likely.

                                                                                   The probative value of Clark’s
                                                                                   expert report to aid the jury in its
                                                                                   assessment and ultimate
                                                                                   determination of damages is not
                                                                                   substantial outweighed by its
                                                                                   prejudicial effect, further the
                                                                                   Plaintiff offers absolutely no legal
                                                                                   authority or precedent to exclude
                                                                                   this evidence for their stated basis,
                                                                                   only offering broad, conclusory
                                                                                   allegations.

                                                                                   Cumulative evidence is defined as
                                                                                   evidence that replicates other
                                                                                   admitted evidence. United States v.
                                                                                   Ives, 609 F.2d 930, 933 (9th Cir.
                                                                                   1979), cert. denied, 445 U.S. 919
Error! Unknown document                                          717
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 918 of 1099 Page ID
                                                       #:25184




                                                                                (1980). There is no replication of
                                                                                this evidence, the information
                                                                                contained in this exhibit constitutes
                                                                                evidence of reasonable conduct by
                                                                                the Defendant which is an issue the
                                                                                jury must decide. For these same
                                                                                reasons, introduction of this
                                                                                evidence in no way constitutes a
                                                                                waste of time. The only way this is
                                                                                cumulative is to the extent that
                                                                                ASIC inadvertently duplicated this
                                                                                exhibit in other places.

                                                                                This evidence should not be
                                                                                excluded on the bases of hearsay
                                                                                under Fed. R. Evid. 801 or 802.
                                                                                Fed. R. Evid. 703 permits an
                                                                                expert witness to “base an opinion
                                                                                on facts or data in the case that the
                                                                                expert has been made aware of or
                                                                                personally observed” and if the
                                                                                facts or data are the type that
                                                                                experts in the same field would
                                                                                reasonably rely on to form similar
                                                                                opinions, the facts or data do not
                                                                                have be admissible in order for
                                                                                thewitness’ opinion to be
Error! Unknown document                                        718
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
                        Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 919 of 1099 Page ID
                                                          #:25185




                                                                                      admissible. Indeed, inadmissible
                                                                                      facts or data may be disclosed to
                                                                                      the jury “if their probative value in
                                                                                      helping the jury evaluate the
                                                                                      opinion substantially outweighs
                                                                                      their prejudicial effect.”




DX 520 03/17/17 Report of Anthony           Irrelevant (F.R.E. 401, 402); Any         This is not proper objection to
       Clark, AIC (Clark Depo Ex 4)         Probative Value Is Substantially          evidence, but rather to expert
                                            Outweighed By Risk Of Unfair              opinions. Such should properly be
                                            Prejudice, Confusing The Issues,          addressed in either a Daubert
                                            Misleading The Jury, Undue Delay,         motion or in a Motion in Limine.
                                            Wasting Time, Or Needlessly               Arguments go to weight, not
                                            Presenting Cumulative Evidence            admissibility.
                                            (F.R.E. 403). Subject of a pending        The qualifications of an expert to
                                            Motion in Limine. If offered to prove     testify is always relevant and the
                                            the truth thereof, inadmissible hearsay   conclusions of Clark are relevant
                                            and no exception is applicable (F.R.E.    because they make facts asserted
                                            801, 802).                                by the Plaintiffs’ in their claim for
                                                                                      damages more or less likely.

                                                                                      The probative value of Clark’s
                                                                                      expert report to aid the jury in its
                                                                                      assessment and ultimate
   Error! Unknown document                                          719
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 920 of 1099 Page ID
                                                       #:25186




                                                                                determination of damages is not
                                                                                substantial outweighed by its
                                                                                prejudicial effect, further the
                                                                                Plaintiff offers absolutely no legal
                                                                                authority or precedent to exclude
                                                                                this evidence for their stated basis,
                                                                                only offering broad, conclusory
                                                                                allegations.

                                                                                Cumulative evidence is defined as
                                                                                evidence that replicates other
                                                                                admitted evidence. United States v.
                                                                                Ives, 609 F.2d 930, 933 (9th Cir.
                                                                                1979), cert. denied, 445 U.S. 919
                                                                                (1980). There is no replication of
                                                                                this evidence, the information
                                                                                contained in this exhibit constitutes
                                                                                evidence of reasonable conduct by
                                                                                the Defendant which is an issue the
                                                                                jury must decide. For these same
                                                                                reasons, introduction of this
                                                                                evidence in no way constitutes a
                                                                                waste of time.

                                                                                This evidence should not be
                                                                                excluded on the bases of hearsay
                                                                                under Fed. R. Evid. 801 or 802.
Error! Unknown document                                        720
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
                       Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 921 of 1099 Page ID
                                                         #:25187




                                                                                  Fed. R. Evid. 703 permits an
                                                                                  expert witness to “base an opinion
                                                                                  on facts or data in the case that the
                                                                                  expert has been made aware of or
                                                                                  personally observed” and if the
                                                                                  facts or data are the type that
                                                                                  experts in the same field would
                                                                                  reasonably rely on to form similar
                                                                                  opinions, the facts or data do not
                                                                                  have be admissible in order for
                                                                                  thewitness’ opinion to be
                                                                                  admissible. Indeed, inadmissible
                                                                                  facts or data may be disclosed to
                                                                                  the jury “if their probative value in
                                                                                  helping the jury evaluate the
                                                                                  opinion substantially outweighs
                                                                                  their prejudicial effect.”




DX 521 CV or Anthony Clark, AIC            Irrelevant (F.R.E. 401, 402); Any      This is not proper objection to
                                           Probative Value Is Substantially       evidence, but rather to expert
                                           Outweighed By Risk Of Unfair           opinions. Such should properly be
                                           Prejudice, Confusing The Issues,       addressed in either a Daubert
                                           Misleading The Jury, Undue Delay,      motion or in a Motion in Limine.
                                           Wasting Time, Or Needlessly
  Error! Unknown document                                        721
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                         AS OF JANUARY 14, 2020
                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 922 of 1099 Page ID
                                                       #:25188




                                         Presenting Cumulative Evidence            Arguments go to weight, not
                                         (F.R.E. 403). Subject of a pending        admissibility.
                                         Motion in Limine. If offered to prove     The qualifications of an expert to
                                         the truth thereof, inadmissible hearsay   testify is always relevant and the
                                         and no exception is applicable (F.R.E.    conclusions of Clark are relevant
                                         801, 802).                                because they make facts asserted
                                                                                   by the Plaintiffs’ in their claim for
                                                                                   damages more or less likely.

                                                                                   The probative value of Clark’s
                                                                                   expert report to aid the jury in its
                                                                                   assessment and ultimate
                                                                                   determination of damages is not
                                                                                   substantial outweighed by its
                                                                                   prejudicial effect, further the
                                                                                   Plaintiff offers absolutely no legal
                                                                                   authority or precedent to exclude
                                                                                   this evidence for their stated basis,
                                                                                   only offering broad, conclusory
                                                                                   allegations.

                                                                                   Cumulative evidence is defined as
                                                                                   evidence that replicates other
                                                                                   admitted evidence. United States v.
                                                                                   Ives, 609 F.2d 930, 933 (9th Cir.
                                                                                   1979), cert. denied, 445 U.S. 919
                                                                                   (1980). There is no replication of
Error! Unknown document                                          722
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 923 of 1099 Page ID
                                                       #:25189




                                                                                this evidence, the information
                                                                                contained in this exhibit constitutes
                                                                                evidence of reasonable conduct by
                                                                                the Defendant which is an issue the
                                                                                jury must decide. For these same
                                                                                reasons, introduction of this
                                                                                evidence in no way constitutes a
                                                                                waste of time.

                                                                                This evidence should not be
                                                                                excluded on the bases of hearsay
                                                                                under Fed. R. Evid. 801 or 802.
                                                                                Fed. R. Evid. 703 permits an
                                                                                expert witness to “base an opinion
                                                                                on facts or data in the case that the
                                                                                expert has been made aware of or
                                                                                personally observed” and if the
                                                                                facts or data are the type that
                                                                                experts in the same field would
                                                                                reasonably rely on to form similar
                                                                                opinions, the facts or data do not
                                                                                have be admissible in order for
                                                                                thewitness’ opinion to be
                                                                                admissible. Indeed, inadmissible
                                                                                facts or data may be disclosed to
                                                                                the jury “if their probative value in
                                                                                helping the jury evaluate the
Error! Unknown document                                        723
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
                        Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 924 of 1099 Page ID
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                                                                                      opinion substantially outweighs
                                                                                      their prejudicial effect.”




DX 522 Rebuttal Report of Anthony           Irrelevant (F.R.E. 401, 402); Any         This is not proper objection to
       Clark, AIC (Clark Depo Ex 5)         Probative Value Is Substantially          evidence, but rather to expert
                                            Outweighed By Risk Of Unfair              opinions. Such should properly be
                                            Prejudice, Confusing The Issues,          addressed in either a Daubert
                                            Misleading The Jury, Undue Delay,         motion or in a Motion in Limine.
                                            Wasting Time, Or Needlessly               Arguments go to weight, not
                                            Presenting Cumulative Evidence            admissibility.
                                            (F.R.E. 403). Subject of a pending        The qualifications of an expert to
                                            Motion in Limine. If offered to prove     testify is always relevant and the
                                            the truth thereof, inadmissible hearsay   conclusions of Clark are relevant
                                            and no exception is applicable (F.R.E.    because they make facts asserted
                                            801, 802).                                by the Plaintiffs’ in their claim for
                                                                                      damages more or less likely.

                                                                                      The probative value of Clark’s
                                                                                      expert report to aid the jury in its
                                                                                      assessment and ultimate
                                                                                      determination of damages is not
                                                                                      substantial outweighed by its
                                                                                      prejudicial effect, further the
                                                                                      Plaintiff offers absolutely no legal
   Error! Unknown document                                          724
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 925 of 1099 Page ID
                                                       #:25191




                                                                                authority or precedent to exclude
                                                                                this evidence for their stated basis,
                                                                                only offering broad, conclusory
                                                                                allegations.

                                                                                Cumulative evidence is defined as
                                                                                evidence that replicates other
                                                                                admitted evidence. United States v.
                                                                                Ives, 609 F.2d 930, 933 (9th Cir.
                                                                                1979), cert. denied, 445 U.S. 919
                                                                                (1980). There is no replication of
                                                                                this evidence, the information
                                                                                contained in this exhibit constitutes
                                                                                evidence of reasonable conduct by
                                                                                the Defendant which is an issue the
                                                                                jury must decide. For these same
                                                                                reasons, introduction of this
                                                                                evidence in no way constitutes a
                                                                                waste of time.

                                                                                This evidence should not be
                                                                                excluded on the bases of hearsay
                                                                                under Fed. R. Evid. 801 or 802.
                                                                                Fed. R. Evid. 703 permits an
                                                                                expert witness to “base an opinion
                                                                                on facts or data in the case that the
                                                                                expert has been made aware of or
Error! Unknown document                                        725
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
                        Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 926 of 1099 Page ID
                                                          #:25192




                                                                                   personally observed” and if the
                                                                                   facts or data are the type that
                                                                                   experts in the same field would
                                                                                   reasonably rely on to form similar
                                                                                   opinions, the facts or data do not
                                                                                   have be admissible in order for
                                                                                   thewitness’ opinion to be
                                                                                   admissible. Indeed, inadmissible
                                                                                   facts or data may be disclosed to
                                                                                   the jury “if their probative value in
                                                                                   helping the jury evaluate the
                                                                                   opinion substantially outweighs
                                                                                   their prejudicial effect.”




DX 523 ASIC Policy No. MP 00163-04          No objection                           No response
DX 524 ASIC/NBC Dig Claim File –   If offered to prove the truth thereof,          F.R.E. 801/802 – (1) Plaintiff fails
       Bates No. ATL 000294-000319 inadmissible hearsay and no exception           to state what portion of exhibit is
                                   is applicable (F.R.E. 801, 802).                hearsay; (2) statements not offered
                                                                                   for the truth, but rather to show
                                                                                   information acted upon/state of
                                                                                   mind of parties or individuals
                                                                                   identified in exhibits; (3) several
                                                                                   statements made by party-
                                                                                   opponent, NBC, and agents
   Error! Unknown document                                        726
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 927 of 1099 Page ID
                                                       #:25193




                                                                                affiliated with NBC and operating
                                                                                within the scope of their agency
                                                                                (e.g. Aon) and, therefore, are not
                                                                                hearsay under F.R.E. 801; (4) all
                                                                                communications of OneBeacon are
                                                                                records made at or near to the time
                                                                                of the events or conditions at issue
                                                                                in this case by persons with
                                                                                knowledge of those events or
                                                                                conditions; these communications
                                                                                are also made and kept in the
                                                                                regular course of business and,
                                                                                therefore, are an exception to
                                                                                hearsay under F.R.E. 803(6).
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
Error! Unknown document                                        727
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
                        Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 928 of 1099 Page ID
                                                          #:25194




                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why
                                                                                   exhibit is unfairly prejudicial; or
                                                                                   why such alleged unfair prejudice
                                                                                   outweighs its probative value; or
                                                                                   why exhibit confuses the issue,
                                                                                   misleads the jury, wastes time, or
                                                                                   is cumulative. Furthermore, high
                                                                                   probative value re: state of mind of
                                                                                   all parties involved at the time of
                                                                                   the claim. Finally, jury is entitled
                                                                                   to know what information NBC,
                                                                                   ASIC, and other parties had at time
                                                                                   of the facts giving rise to Plaintiffs’
                                                                                   claims.


DX 525 ASIC/NBC Dig Claim File –   If offered to prove the truth thereof,          F.R.E. 801/802 – (1) Plaintiff fails
       Bates No. ATL 000322-000328 inadmissible hearsay and no exception           to state what portion of exhibit is
                                   is applicable (F.R.E. 801, 802).                hearsay; (2) statements not offered
                                                                                   for the truth, but rather to show
                                                                                   information acted upon/state of
                                                                                   mind of parties or individuals
                                                                                   identified in exhibits; (3) several
                                                                                   statements made by party-
                                                                                   opponent, NBC, and agents
                                                                                   affiliated with NBC and operating
   Error! Unknown document                                        728
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 929 of 1099 Page ID
                                                       #:25195




                                                                                within the scope of their agency
                                                                                (e.g. Aon) and, therefore, are not
                                                                                hearsay under F.R.E. 801; (4) all
                                                                                communications of OneBeacon are
                                                                                records made at or near to the time
                                                                                of the events or conditions at issue
                                                                                in this case by persons with
                                                                                knowledge of those events or
                                                                                conditions; these communications
                                                                                are also made and kept in the
                                                                                regular course of business and,
                                                                                therefore, are an exception to
                                                                                hearsay under F.R.E. 803(6). All
                                                                                necessary for expert to form
                                                                                opinions in this case.
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).



Error! Unknown document                                        729
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
                        Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 930 of 1099 Page ID
                                                          #:25196




                                                                                   F.R.E. 403 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why
                                                                                   exhibit is unfairly prejudicial; or
                                                                                   why such alleged unfair prejudice
                                                                                   outweighs its probative value; or
                                                                                   why exhibit confuses the issue,
                                                                                   misleads the jury, wastes time, or
                                                                                   is cumulative. Furthermore, high
                                                                                   probative value re: state of mind of
                                                                                   all parties involved at the time of
                                                                                   the claim. Finally, jury is entitled
                                                                                   to know what information NBC,
                                                                                   ASIC, and other parties had at time
                                                                                   of the facts giving rise to Plaintiffs’
                                                                                   claims.


DX 526 Expert Report of Anthony Clark Irrelevant (F.R.E. 401, 402); Any            This is not proper objection to
       (Clark Depo Ex 4)              Probative Value Is Substantially             evidence, but rather to expert
                                      Outweighed By Risk Of Unfair                 opinions. Such should properly be
                                      Prejudice, Confusing The Issues,             addressed in either a Daubert
                                      Misleading The Jury, Undue Delay,            motion or in a Motion in Limine.
                                      Wasting Time, Or Needlessly                  Arguments go to weight, not
                                      Presenting Cumulative Evidence               admissibility.
                                      (F.R.E. 403). Subject of a pending
   Error! Unknown document                                        730
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 931 of 1099 Page ID
                                                       #:25197




                                         Motion in Limine. If offered to prove     The qualifications of an expert to
                                         the truth thereof, inadmissible hearsay   testify is always relevant and the
                                         and no exception is applicable (F.R.E.    conclusions of Clark are relevant
                                         801, 802).                                because they make facts asserted
                                                                                   by the Plaintiffs’ in their claim for
                                                                                   damages more or less likely.

                                                                                   The probative value of Clark’s
                                                                                   expert report to aid the jury in its
                                                                                   assessment and ultimate
                                                                                   determination of damages is not
                                                                                   substantial outweighed by its
                                                                                   prejudicial effect, further the
                                                                                   Plaintiff offers absolutely no legal
                                                                                   authority or precedent to exclude
                                                                                   this evidence for their stated basis,
                                                                                   only offering broad, conclusory
                                                                                   allegations.

                                                                                   Cumulative evidence is defined as
                                                                                   evidence that replicates other
                                                                                   admitted evidence. United States v.
                                                                                   Ives, 609 F.2d 930, 933 (9th Cir.
                                                                                   1979), cert. denied, 445 U.S. 919
                                                                                   (1980). There is no replication of
                                                                                   this evidence, the information
                                                                                   contained in this exhibit constitutes
Error! Unknown document                                          731
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 932 of 1099 Page ID
                                                       #:25198




                                                                                evidence of reasonable conduct by
                                                                                the Defendant which is an issue the
                                                                                jury must decide. For these same
                                                                                reasons, introduction of this
                                                                                evidence in no way constitutes a
                                                                                waste of time. Only way
                                                                                cumulative is if this exhibit is
                                                                                duplicated other places.

                                                                                This evidence should not be
                                                                                excluded on the bases of hearsay
                                                                                under Fed. R. Evid. 801 or 802.
                                                                                Fed. R. Evid. 703 permits an
                                                                                expert witness to “base an opinion
                                                                                on facts or data in the case that the
                                                                                expert has been made aware of or
                                                                                personally observed” and if the
                                                                                facts or data are the type that
                                                                                experts in the same field would
                                                                                reasonably rely on to form similar
                                                                                opinions, the facts or data do not
                                                                                have be admissible in order for
                                                                                thewitness’ opinion to be
                                                                                admissible. Indeed, inadmissible
                                                                                facts or data may be disclosed to
                                                                                the jury “if their probative value in
                                                                                helping the jury evaluate the
Error! Unknown document                                        732
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
                        Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 933 of 1099 Page ID
                                                          #:25199




                                                                                      opinion substantially outweighs
                                                                                      their prejudicial effect.”




DX 527 Rebuttal Report of Anthony           Irrelevant (F.R.E. 401, 402); Any         This is not proper objection to
       Clark (Clark Depo Ex 5)              Probative Value Is Substantially          evidence, but rather to expert
                                            Outweighed By Risk Of Unfair              opinions. Such should properly be
                                            Prejudice, Confusing The Issues,          addressed in either a Daubert
                                            Misleading The Jury, Undue Delay,         motion or in a Motion in Limine.
                                            Wasting Time, Or Needlessly
                                            Presenting Cumulative Evidence
                                            (F.R.E. 403). Subject of a pending
                                            Motion in Limine. If offered to prove
                                            the truth thereof, inadmissible hearsay
                                            and no exception is applicable (F.R.E.
                                            801, 802).
DX 528 03/17/17 Report of Professor         Irrelevant (F.R.E. 401, 402); Any         This is not proper objection to
       Dr. Ingrid Detter de Frankopan       Probative Value Is Substantially          evidence, but rather to expert
                                            Outweighed By Risk Of Unfair              opinions. Such should properly be
                                            Prejudice, Confusing The Issues,          addressed in either a Daubert
                                            Misleading The Jury, Undue Delay,         motion or in a Motion in Limine.
                                            Wasting Time, Or Needlessly               Arguments go to weight, not
                                            Presenting Cumulative Evidence            admissibility.
                                            (F.R.E. 403). Subject of a pending        The qualifications of an expert to
                                            Motion in Limine. If offered to prove     testify is always relevant and the
   Error! Unknown document                                          733
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 934 of 1099 Page ID
                                                       #:25200




                                         the truth thereof, inadmissible hearsay   conclusions of de Frankopan are
                                         and no exception is applicable (F.R.E.    relevant because they make facts
                                         801, 802).                                asserted by the Plaintiffs’ in their
                                                                                   claim for damages more or less
                                                                                   likely.

                                                                                   The probative value of de
                                                                                   Frankopan’s expert report to aid
                                                                                   the jury in its assessment and
                                                                                   ultimate determination of damages
                                                                                   is not substantial outweighed by its
                                                                                   prejudicial effect, further the
                                                                                   Plaintiff offers absolutely no legal
                                                                                   authority or precedent to exclude
                                                                                   this evidence for their stated basis,
                                                                                   only offering broad, conclusory
                                                                                   allegations.

                                                                                   Cumulative evidence is defined as
                                                                                   evidence that replicates other
                                                                                   admitted evidence. United States v.
                                                                                   Ives, 609 F.2d 930, 933 (9th Cir.
                                                                                   1979), cert. denied, 445 U.S. 919
                                                                                   (1980). There is no replication of
                                                                                   this evidence, the information
                                                                                   contained in this exhibit constitutes
                                                                                   evidence of reasonable conduct by
Error! Unknown document                                          734
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 935 of 1099 Page ID
                                                       #:25201




                                                                                the Defendant which is an issue the
                                                                                jury must decide. For these same
                                                                                reasons, introduction of this
                                                                                evidence in no way constitutes a
                                                                                waste of time.

                                                                                This evidence should not be
                                                                                excluded on the bases of hearsay
                                                                                under Fed. R. Evid. 801 or 802.
                                                                                Fed. R. Evid. 703 permits an
                                                                                expert witness to “base an opinion
                                                                                on facts or data in the case that the
                                                                                expert has been made aware of or
                                                                                personally observed” and if the
                                                                                facts or data are the type that
                                                                                experts in the same field would
                                                                                reasonably rely on to form similar
                                                                                opinions, the facts or data do not
                                                                                have be admissible in order for
                                                                                thewitness’ opinion to be
                                                                                admissible. Indeed, inadmissible
                                                                                facts or data may be disclosed to
                                                                                the jury “if their probative value in
                                                                                helping the jury evaluate the
                                                                                opinion substantially outweighs
                                                                                their prejudicial effect.”

Error! Unknown document                                        735
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
                        Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 936 of 1099 Page ID
                                                          #:25202




DX 529 3/27/17 Amended Exhibit 2 to                                                This is not proper objection to
       de Frankopan’s Report                                                       evidence, but rather to expert
                                                                                   opinions. Such should properly be
                                                                                   addressed in either a Daubert
                                                                                   motion or in a Motion in Limine.
                                                                                   Arguments go to weight, not
                                                                                   admissibility.
                                                                                   The qualifications of an expert to
                                                                                   testify is always relevant and the
                                                                                   conclusions of de Frankopan are
                                                                                   relevant because they make facts
                                                                                   asserted by the Plaintiffs’ in their
                                                                                   claim for damages more or less
                                                                                   likely.

                                                                                   The probative value of de
                                                                                   Frankopan’s expert report to aid
                                                                                   the jury in its assessment and
                                                                                   ultimate determination of damages
                                                                                   is not substantial outweighed by its
                                                                                   prejudicial effect, further the
                                                                                   Plaintiff offers absolutely no legal
                                                                                   authority or precedent to exclude
                                                                                   this evidence for their stated basis,
   Error! Unknown document                                        736
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 937 of 1099 Page ID
                                                       #:25203




                                                                                only offering broad, conclusory
                                                                                allegations.

                                                                                Cumulative evidence is defined as
                                                                                evidence that replicates other
                                                                                admitted evidence. United States v.
                                                                                Ives, 609 F.2d 930, 933 (9th Cir.
                                                                                1979), cert. denied, 445 U.S. 919
                                                                                (1980). There is no replication of
                                                                                this evidence, the information
                                                                                contained in this exhibit constitutes
                                                                                evidence of reasonable conduct by
                                                                                the Defendant which is an issue the
                                                                                jury must decide. For these same
                                                                                reasons, introduction of this
                                                                                evidence in no way constitutes a
                                                                                waste of time.

                                                                                This evidence should not be
                                                                                excluded on the bases of hearsay
                                                                                under Fed. R. Evid. 801 or 802.
                                                                                Fed. R. Evid. 703 permits an
                                                                                expert witness to “base an opinion
                                                                                on facts or data in the case that the
                                                                                expert has been made aware of or
                                                                                personally observed” and if the
                                                                                facts or data are the type that
Error! Unknown document                                        737
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
                        Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 938 of 1099 Page ID
                                                          #:25204




                                                                                      experts in the same field would
                                                                                      reasonably rely on to form similar
                                                                                      opinions, the facts or data do not
                                                                                      have be admissible in order for
                                                                                      thewitness’ opinion to be
                                                                                      admissible. Indeed, inadmissible
                                                                                      facts or data may be disclosed to
                                                                                      the jury “if their probative value in
                                                                                      helping the jury evaluate the
                                                                                      opinion substantially outweighs
                                                                                      their prejudicial effect.”




DX 530 CV of Professor Dr. Ingrid           Irrelevant (F.R.E. 401, 402); Any         This is not proper objection to
       Detter de Frankopan                  Probative Value Is Substantially          evidence, but rather to expert
                                            Outweighed By Risk Of Unfair              opinions. Such should properly be
                                            Prejudice, Confusing The Issues,          addressed in either a Daubert
                                            Misleading The Jury, Undue Delay,         motion or in a Motion in Limine.
                                            Wasting Time, Or Needlessly               Arguments go to weight, not
                                            Presenting Cumulative Evidence            admissibility.
                                            (F.R.E. 403). Subject of a pending        The qualifications of an expert to
                                            Motion in Limine. If offered to prove     testify is always relevant and the
                                            the truth thereof, inadmissible hearsay   conclusions of de Frankopan are
                                            and no exception is applicable (F.R.E.    relevant because they make facts
                                            801, 802).                                asserted by the Plaintiffs’ in their
   Error! Unknown document                                          738
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 939 of 1099 Page ID
                                                       #:25205




                                                                                claim for damages more or less
                                                                                likely.

                                                                                The probative value of de
                                                                                Frankopan’s expert report to aid
                                                                                the jury in its assessment and
                                                                                ultimate determination of damages
                                                                                is not substantial outweighed by its
                                                                                prejudicial effect, further the
                                                                                Plaintiff offers absolutely no legal
                                                                                authority or precedent to exclude
                                                                                this evidence for their stated basis,
                                                                                only offering broad, conclusory
                                                                                allegations.

                                                                                Cumulative evidence is defined as
                                                                                evidence that replicates other
                                                                                admitted evidence. United States v.
                                                                                Ives, 609 F.2d 930, 933 (9th Cir.
                                                                                1979), cert. denied, 445 U.S. 919
                                                                                (1980). There is no replication of
                                                                                this evidence, the information
                                                                                contained in this exhibit constitutes
                                                                                evidence of reasonable conduct by
                                                                                the Defendant which is an issue the
                                                                                jury must decide. For these same
                                                                                reasons, introduction of this
Error! Unknown document                                        739
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 940 of 1099 Page ID
                                                       #:25206




                                                                                evidence in no way constitutes a
                                                                                waste of time.

                                                                                This evidence should not be
                                                                                excluded on the bases of hearsay
                                                                                under Fed. R. Evid. 801 or 802.
                                                                                Fed. R. Evid. 703 permits an
                                                                                expert witness to “base an opinion
                                                                                on facts or data in the case that the
                                                                                expert has been made aware of or
                                                                                personally observed” and if the
                                                                                facts or data are the type that
                                                                                experts in the same field would
                                                                                reasonably rely on to form similar
                                                                                opinions, the facts or data do not
                                                                                have be admissible in order for
                                                                                thewitness’ opinion to be
                                                                                admissible. Indeed, inadmissible
                                                                                facts or data may be disclosed to
                                                                                the jury “if their probative value in
                                                                                helping the jury evaluate the
                                                                                opinion substantially outweighs
                                                                                their prejudicial effect.”




Error! Unknown document                                        740
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
                        Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 941 of 1099 Page ID
                                                          #:25207




DX 531 03/17/17 Report of Professor  Irrelevant (F.R.E. 401, 402); Any             This is not proper objection to
       John Quigley (Quigley Depo Ex Probative Value Is Substantially              evidence, but rather to expert
       4)                            Outweighed By Risk Of Unfair                  opinions. Such should properly be
                                     Prejudice, Confusing The Issues,              addressed in either a Daubert
                                     Misleading The Jury, Undue Delay,             motion or in a Motion in Limine.
                                     Wasting Time, Or Needlessly                   Arguments go to weight, not
                                     Presenting Cumulative Evidence                admissibility.
                                     (F.R.E. 403). Subject of a pending            The qualifications of an expert to
                                     Motion in Limine. If offered to prove         testify is always relevant and the
                                     the truth thereof, inadmissible hearsay       conclusions of Quigley are relevant
                                     and no exception is applicable (F.R.E.        because they make facts asserted
                                     801, 802).                                    by the Plaintiffs’ in their claim for
                                                                                   damages more or less likely.

                                                                                   The probative value of Quigley’s
                                                                                   expert report to aid the jury in its
                                                                                   assessment and ultimate
                                                                                   determination of damages is not
                                                                                   substantial outweighed by its
                                                                                   prejudicial effect, further the
                                                                                   Plaintiff offers absolutely no legal
                                                                                   authority or precedent to exclude
                                                                                   this evidence for their stated basis,
                                                                                   only offering broad, conclusory
                                                                                   allegations.


   Error! Unknown document                                        741
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 942 of 1099 Page ID
                                                       #:25208




                                                                                Cumulative evidence is defined as
                                                                                evidence that replicates other
                                                                                admitted evidence. United States v.
                                                                                Ives, 609 F.2d 930, 933 (9th Cir.
                                                                                1979), cert. denied, 445 U.S. 919
                                                                                (1980). There is no replication of
                                                                                this evidence, the information
                                                                                contained in this exhibit constitutes
                                                                                evidence of reasonable conduct by
                                                                                the Defendant which is an issue the
                                                                                jury must decide. For these same
                                                                                reasons, introduction of this
                                                                                evidence in no way constitutes a
                                                                                waste of time.

                                                                                This evidence should not be
                                                                                excluded on the bases of hearsay
                                                                                under Fed. R. Evid. 801 or 802.
                                                                                Fed. R. Evid. 703 permits an
                                                                                expert witness to “base an opinion
                                                                                on facts or data in the case that the
                                                                                expert has been made aware of or
                                                                                personally observed” and if the
                                                                                facts or data are the type that
                                                                                experts in the same field would
                                                                                reasonably rely on to form similar
                                                                                opinions, the facts or data do not
Error! Unknown document                                        742
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
                        Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 943 of 1099 Page ID
                                                          #:25209




                                                                                   have be admissible in order for
                                                                                   thewitness’ opinion to be
                                                                                   admissible. Indeed, inadmissible
                                                                                   facts or data may be disclosed to
                                                                                   the jury “if their probative value in
                                                                                   helping the jury evaluate the
                                                                                   opinion substantially outweighs
                                                                                   their prejudicial effect.”




DX 532 3/27/17 Amended Exhibit 2 to                                                This is not proper objection to
       Report of John Quigley                                                      evidence, but rather to expert
                                                                                   opinions. Such should properly be
                                                                                   addressed in either a Daubert
                                                                                   motion or in a Motion in Limine.
                                                                                   Arguments go to weight, not
                                                                                   admissibility.
                                                                                   The qualifications of an expert to
                                                                                   testify is always relevant and the
                                                                                   conclusions of Quigley are
                                                                                   relevant because they make facts
                                                                                   asserted by the Plaintiffs’ in their
                                                                                   claim for damages more or less
                                                                                   likely.

   Error! Unknown document                                        743
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 944 of 1099 Page ID
                                                       #:25210




                                                                                The probative value of de
                                                                                Quigley’s expert report to aid the
                                                                                jury in its assessment and ultimate
                                                                                determination of damages is not
                                                                                substantial outweighed by its
                                                                                prejudicial effect, further the
                                                                                Plaintiff offers absolutely no legal
                                                                                authority or precedent to exclude
                                                                                this evidence for their stated basis,
                                                                                only offering broad, conclusory
                                                                                allegations.

                                                                                Cumulative evidence is defined as
                                                                                evidence that replicates other
                                                                                admitted evidence. United States v.
                                                                                Ives, 609 F.2d 930, 933 (9th Cir.
                                                                                1979), cert. denied, 445 U.S. 919
                                                                                (1980). There is no replication of
                                                                                this evidence, the information
                                                                                contained in this exhibit constitutes
                                                                                evidence of reasonable conduct by
                                                                                the Defendant which is an issue the
                                                                                jury must decide. For these same
                                                                                reasons, introduction of this
                                                                                evidence in no way constitutes a
                                                                                waste of time.

Error! Unknown document                                        744
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
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                                                          #:25211




                                                                                   This evidence should not be
                                                                                   excluded on the bases of hearsay
                                                                                   under Fed. R. Evid. 801 or 802.
                                                                                   Fed. R. Evid. 703 permits an
                                                                                   expert witness to “base an opinion
                                                                                   on facts or data in the case that the
                                                                                   expert has been made aware of or
                                                                                   personally observed” and if the
                                                                                   facts or data are the type that
                                                                                   experts in the same field would
                                                                                   reasonably rely on to form similar
                                                                                   opinions, the facts or data do not
                                                                                   have be admissible in order for
                                                                                   thewitness’ opinion to be
                                                                                   admissible. Indeed, inadmissible
                                                                                   facts or data may be disclosed to
                                                                                   the jury “if their probative value in
                                                                                   helping the jury evaluate the
                                                                                   opinion substantially outweighs
                                                                                   their prejudicial effect.”




DX 533 CV of Professor John Quigley         Irrelevant (F.R.E. 401, 402); Any      This is not proper objection to
                                            Probative Value Is Substantially       evidence, but rather to expert
                                            Outweighed By Risk Of Unfair           opinions. Such should properly be
   Error! Unknown document                                         745
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 946 of 1099 Page ID
                                                       #:25212




                                         Prejudice, Confusing The Issues,          addressed in either a Daubert
                                         Misleading The Jury, Undue Delay,         motion or in a Motion in Limine.
                                         Wasting Time, Or Needlessly               Arguments go to weight, not
                                         Presenting Cumulative Evidence            admissibility.
                                         (F.R.E. 403). Subject of a pending        The qualifications of an expert to
                                         Motion in Limine. If offered to prove     testify is always relevant and the
                                         the truth thereof, inadmissible hearsay   conclusions of Quigley are relevant
                                         and no exception is applicable (F.R.E.    because they make facts asserted
                                         801, 802).                                by the Plaintiffs’ in their claim for
                                                                                   damages more or less likely.

                                                                                   The probative value of Quigley’s
                                                                                   expert report to aid the jury in its
                                                                                   assessment and ultimate
                                                                                   determination of damages is not
                                                                                   substantial outweighed by its
                                                                                   prejudicial effect, further the
                                                                                   Plaintiff offers absolutely no legal
                                                                                   authority or precedent to exclude
                                                                                   this evidence for their stated basis,
                                                                                   only offering broad, conclusory
                                                                                   allegations.

                                                                                   Cumulative evidence is defined as
                                                                                   evidence that replicates other
                                                                                   admitted evidence. United States v.
                                                                                   Ives, 609 F.2d 930, 933 (9th Cir.
Error! Unknown document                                          746
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 947 of 1099 Page ID
                                                       #:25213




                                                                                1979), cert. denied, 445 U.S. 919
                                                                                (1980). There is no replication of
                                                                                this evidence, the information
                                                                                contained in this exhibit constitutes
                                                                                evidence of reasonable conduct by
                                                                                the Defendant which is an issue the
                                                                                jury must decide. For these same
                                                                                reasons, introduction of this
                                                                                evidence in no way constitutes a
                                                                                waste of time.

                                                                                This evidence should not be
                                                                                excluded on the bases of hearsay
                                                                                under Fed. R. Evid. 801 or 802.
                                                                                Fed. R. Evid. 703 permits an
                                                                                expert witness to “base an opinion
                                                                                on facts or data in the case that the
                                                                                expert has been made aware of or
                                                                                personally observed” and if the
                                                                                facts or data are the type that
                                                                                experts in the same field would
                                                                                reasonably rely on to form similar
                                                                                opinions, the facts or data do not
                                                                                have be admissible in order for
                                                                                thewitness’ opinion to be
                                                                                admissible. Indeed, inadmissible
                                                                                facts or data may be disclosed to
Error! Unknown document                                        747
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                        Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 948 of 1099 Page ID
                                                          #:25214




                                                                                      the jury “if their probative value in
                                                                                      helping the jury evaluate the
                                                                                      opinion substantially outweighs
                                                                                      their prejudicial effect.”




DX 534 04/14/17 Rebuttal Report of          Irrelevant (F.R.E. 401, 402); Any         This is not proper objection to
       Professor John Quigley               Probative Value Is Substantially          evidence, but rather to expert
       (Quigley Depo Ex 3)                  Outweighed By Risk Of Unfair              opinions. Such should properly be
                                            Prejudice, Confusing The Issues,          addressed in either a Daubert
                                            Misleading The Jury, Undue Delay,         motion or in a Motion in Limine.
                                            Wasting Time, Or Needlessly               Arguments go to weight, not
                                            Presenting Cumulative Evidence            admissibility.
                                            (F.R.E. 403). Subject of a pending        The qualifications of an expert to
                                            Motion in Limine. If offered to prove     testify is always relevant and the
                                            the truth thereof, inadmissible hearsay   conclusions of Quigley are relevant
                                            and no exception is applicable (F.R.E.    because they make facts asserted
                                            801, 802).                                by the Plaintiffs’ in their claim for
                                                                                      damages more or less likely.

                                                                                      The probative value of Quigley’s
                                                                                      expert report to aid the jury in its
                                                                                      assessment and ultimate
                                                                                      determination of damages is not
                                                                                      substantial outweighed by its
   Error! Unknown document                                          748
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 949 of 1099 Page ID
                                                       #:25215




                                                                                prejudicial effect, further the
                                                                                Plaintiff offers absolutely no legal
                                                                                authority or precedent to exclude
                                                                                this evidence for their stated basis,
                                                                                only offering broad, conclusory
                                                                                allegations.

                                                                                Cumulative evidence is defined as
                                                                                evidence that replicates other
                                                                                admitted evidence. United States v.
                                                                                Ives, 609 F.2d 930, 933 (9th Cir.
                                                                                1979), cert. denied, 445 U.S. 919
                                                                                (1980). There is no replication of
                                                                                this evidence, the information
                                                                                contained in this exhibit constitutes
                                                                                evidence of reasonable conduct by
                                                                                the Defendant which is an issue the
                                                                                jury must decide. For these same
                                                                                reasons, introduction of this
                                                                                evidence in no way constitutes a
                                                                                waste of time.

                                                                                This evidence should not be
                                                                                excluded on the bases of hearsay
                                                                                under Fed. R. Evid. 801 or 802.
                                                                                Fed. R. Evid. 703 permits an
                                                                                expert witness to “base an opinion
Error! Unknown document                                        749
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
                        Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 950 of 1099 Page ID
                                                          #:25216




                                                                                   on facts or data in the case that the
                                                                                   expert has been made aware of or
                                                                                   personally observed” and if the
                                                                                   facts or data are the type that
                                                                                   experts in the same field would
                                                                                   reasonably rely on to form similar
                                                                                   opinions, the facts or data do not
                                                                                   have be admissible in order for
                                                                                   thewitness’ opinion to be
                                                                                   admissible. Indeed, inadmissible
                                                                                   facts or data may be disclosed to
                                                                                   the jury “if their probative value in
                                                                                   helping the jury evaluate the
                                                                                   opinion substantially outweighs
                                                                                   their prejudicial effect.”




DX 535 ASIC Objections to Depo              Irrelevant (F.R.E. 401, 402); Any      This is not proper objection to
       Notice for de Frankopan (de          Probative Value Is Substantially       evidence, but rather to expert
       Frankopan Depo Ex 401)               Outweighed By Risk Of Unfair           opinions. Such should properly be
                                            Prejudice, Confusing The Issues,       addressed in either a Daubert
                                            Misleading The Jury, Undue Delay,      motion or in a Motion in Limine.
                                            Wasting Time, Or Needlessly            Arguments go to weight, not
                                            Presenting Cumulative Evidence         admissibility.
                                            (F.R.E. 403). Subject of a pending
   Error! Unknown document                                        750
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 951 of 1099 Page ID
                                                       #:25217




                                         Motion in Limine. If offered to prove     The qualifications of an expert to
                                         the truth thereof, inadmissible hearsay   testify is always relevant and the
                                         and no exception is applicable (F.R.E.    conclusions of de Frankopan are
                                         801, 802).                                relevant because they make facts
                                                                                   asserted by the Plaintiffs’ in their
                                                                                   claim for damages more or less
                                                                                   likely.

                                                                                   The probative value of de
                                                                                   Frankopan’s expert report to aid
                                                                                   the jury in its assessment and
                                                                                   ultimate determination of damages
                                                                                   is not substantial outweighed by its
                                                                                   prejudicial effect, further the
                                                                                   Plaintiff offers absolutely no legal
                                                                                   authority or precedent to exclude
                                                                                   this evidence for their stated basis,
                                                                                   only offering broad, conclusory
                                                                                   allegations.

                                                                                   Cumulative evidence is defined as
                                                                                   evidence that replicates other
                                                                                   admitted evidence. United States v.
                                                                                   Ives, 609 F.2d 930, 933 (9th Cir.
                                                                                   1979), cert. denied, 445 U.S. 919
                                                                                   (1980). There is no replication of
                                                                                   this evidence, the information
Error! Unknown document                                          751
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 952 of 1099 Page ID
                                                       #:25218




                                                                                contained in this exhibit constitutes
                                                                                evidence of reasonable conduct by
                                                                                the Defendant which is an issue the
                                                                                jury must decide. For these same
                                                                                reasons, introduction of this
                                                                                evidence in no way constitutes a
                                                                                waste of time.

                                                                                This evidence should not be
                                                                                excluded on the bases of hearsay
                                                                                under Fed. R. Evid. 801 or 802.
                                                                                Fed. R. Evid. 703 permits an
                                                                                expert witness to “base an opinion
                                                                                on facts or data in the case that the
                                                                                expert has been made aware of or
                                                                                personally observed” and if the
                                                                                facts or data are the type that
                                                                                experts in the same field would
                                                                                reasonably rely on to form similar
                                                                                opinions, the facts or data do not
                                                                                have be admissible in order for
                                                                                thewitness’ opinion to be
                                                                                admissible. Indeed, inadmissible
                                                                                facts or data may be disclosed to
                                                                                the jury “if their probative value in
                                                                                helping the jury evaluate the

Error! Unknown document                                        752
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
                        Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 953 of 1099 Page ID
                                                          #:25219




                                                                                   opinion substantially outweighs
                                                                                   their prejudicial effect.”




DX 536 Expert Report of de Frankopan        Irrelevant (F.R.E. 401, 402); Any      This is not proper objection to
       (de Frankopan Dep Ex 402)            Probative Value Is Substantially       evidence, but rather to expert
                                            Outweighed By Risk Of Unfair           opinions. Such should properly be
                                            Prejudice, Confusing The Issues,       addressed in either a Daubert
                                            Misleading The Jury, Undue Delay,      motion or in a Motion in Limine.
                                            Wasting Time, Or Needlessly            Arguments go to weight, not
                                            Presenting Cumulative Evidence         admissibility.
                                            (F.R.E. 403). Subject of a pending     The qualifications of an expert to
                                            Motion in Limine.                      testify is always relevant and the
                                                                                   conclusions of de Frankopan are
                                                                                   relevant because they make facts
                                                                                   asserted by the Plaintiffs’ in their
                                                                                   claim for damages more or less
                                                                                   likely.

                                                                                   The probative value of de
                                                                                   Frankopan’s expert report to aid
                                                                                   the jury in its assessment and
                                                                                   ultimate determination of damages
                                                                                   is not substantial outweighed by its
                                                                                   prejudicial effect, further the
   Error! Unknown document                                        753
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 954 of 1099 Page ID
                                                       #:25220




                                                                                Plaintiff offers absolutely no legal
                                                                                authority or precedent to exclude
                                                                                this evidence for their stated basis,
                                                                                only offering broad, conclusory
                                                                                allegations.

                                                                                Cumulative evidence is defined as
                                                                                evidence that replicates other
                                                                                admitted evidence. United States v.
                                                                                Ives, 609 F.2d 930, 933 (9th Cir.
                                                                                1979), cert. denied, 445 U.S. 919
                                                                                (1980). There is no replication of
                                                                                this evidence, the information
                                                                                contained in this exhibit constitutes
                                                                                evidence of reasonable conduct by
                                                                                the Defendant which is an issue the
                                                                                jury must decide. For these same
                                                                                reasons, introduction of this
                                                                                evidence in no way constitutes a
                                                                                waste of time.

                                                                                This evidence should not be
                                                                                excluded on the bases of hearsay
                                                                                under Fed. R. Evid. 801 or 802.
                                                                                Fed. R. Evid. 703 permits an
                                                                                expert witness to “base an opinion
                                                                                on facts or data in the case that the
Error! Unknown document                                        754
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                        Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 955 of 1099 Page ID
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                                                                                     expert has been made aware of or
                                                                                     personally observed” and if the
                                                                                     facts or data are the type that
                                                                                     experts in the same field would
                                                                                     reasonably rely on to form similar
                                                                                     opinions, the facts or data do not
                                                                                     have be admissible in order for
                                                                                     thewitness’ opinion to be
                                                                                     admissible. Indeed, inadmissible
                                                                                     facts or data may be disclosed to
                                                                                     the jury “if their probative value in
                                                                                     helping the jury evaluate the
                                                                                     opinion substantially outweighs
                                                                                     their prejudicial effect.”




DX 537 Jim Zanotti, Cong. Research          If offered to prove the truth thereof,   F.R.E. 801/802 – (1) Plaintiff fails
       Serv., RL34074, The                  inadmissible hearsay and no exception    to state what portion of exhibit is
       Palestinians: Background and         is applicable (F.R.E. 801, 802).         hearsay; (2) statements not offered
       U.S. Relations (2015)                Irrelevant (F.R.E. 401, 402); Any        for the truth, but rather to show
       (ATL005135-5183) (de                 Probative Value Is Substantially         information acted upon/state of
       Frankopan Depo Ex 403)               Outweighed By Risk Of Unfair             mind of parties or individuals
                                            Prejudice, Confusing The Issues,         identified in exhibits.
                                            Misleading The Jury, Undue Delay,        F.R.E. 401 – Objection is
                                            Wasting Time, Or Needlessly              conditional, and therefore not
   Error! Unknown document                                         755
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 956 of 1099 Page ID
                                                       #:25222




                                         Presenting Cumulative Evidence         binding as to general admissibility.
                                         (F.R.E. 403). Subject of a pending     Objection also fails to state why or
                                         Motion in Limine.                      in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.


Error! Unknown document                                         756
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                          #:25223




DX 538 Upsala Conflict Data Program         Irrelevant (F.R.E. 401, 402); Any         F.R.E. 801/802 – (1) Plaintiff fails
       Information – Government of          Probative Value Is Substantially          to state what portion of exhibit is
       Israel and Hamas (de                 Outweighed By Risk Of Unfair              hearsay; (2) statements not offered
       Frankopan Depo Ex 404)               Prejudice, Confusing The Issues,          for the truth, but rather to show
                                            Misleading The Jury, Undue Delay,         information acted upon/state of
                                            Wasting Time, Or Needlessly               mind of parties or individuals
                                            Presenting Cumulative Evidence            identified in exhibits;. Information
                                            (F.R.E. 403). Subject of a pending        relied upon by experts in course of
                                            Motion in Limine. If offered to prove     forming opinions.
                                            the truth thereof, inadmissible hearsay
                                            and no exception is applicable (F.R.E.    F.R.E. 602 – Witnesses has
                                            801, 802).                                personal knowledge of what
                                                                                      information NBC or ASIC
                                                                                      received before, during, and after
                                                                                      the events giving rise to the claim,
                                                                                      including this exhibit. Witness
                                                                                      does not need personally to have
                                                                                      been in Israel in order to testify
                                                                                      regarding what information ASIC
                                                                                      or NBC received regarding what
                                                                                      was going on in Israel, or to testify
                                                                                      about certain conclusions
                                                                                      concerning the conflict at issue in
                                                                                      this case.



   Error! Unknown document                                          757
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                       #:25224




                                                                                F.R.E. 701 – Unclear what
                                                                                opinions are offered by any
                                                                                declarant in exhibit; all testimony
                                                                                rationally based on information
                                                                                received and acted upon; no
                                                                                testimony based on scientific,
                                                                                technical, or other specialized
                                                                                knowledge within the scope of
                                                                                F.R.E. 702; information relied
                                                                                upon by experts as basis for
                                                                                opinions or by ASIC as basis for
                                                                                claims handling decisions.
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
Error! Unknown document                                        758
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                        Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 959 of 1099 Page ID
                                                          #:25225




                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.


DX 539 Sokolow v. PLO, Cause No 04-         Irrelevant (F.R.E. 401, 402); Any         F.R.E. 801/802 – (1) Plaintiff fails to state what p
       CV-397 (GBD), in the United          Probative Value Is Substantially          rather to show information acted upon/state of mi
       States District Court for the        Outweighed By Risk Of Unfair              upon by experts in course of forming opinions.
       Southern District of New York,       Prejudice, Confusing The Issues,
       9/30/08 (Quigley Depo Ex 2)          Misleading The Jury, Undue Delay,
                                                                                      F.R.E. 602 – Witnesses has personal knowledge o
                                            Wasting Time, Or Needlessly
                                                                                      events giving rise to the claim, including this exhi
                                            Presenting Cumulative Evidence
                                                                                      testify regarding what information ASIC or NBC
                                            (F.R.E. 403). Subject of a pending
                                                                                      certain conclusions concerning the conflict at issu
                                            Motion in Limine. If offered to prove
                                            the truth thereof, inadmissible hearsay
                                            and no exception is applicable (F.R.E.
                                            801, 802).
   Error! Unknown document                                          759
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
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                                                                                   F.R.E. 701 – Unclear what opinions are offered b
                                                                                   received and acted upon; no testimony based on s
                                                                                   F.R.E. 702; information relied upon by experts as
                                                                                   F.R.E. 401 – Objection is conditional, and therefo
                                                                                   why or in what context exhibit is irrelevant. Furth
                                                                                   involved at time of claim (NBC, ASIC, Aon, etc.)


                                                                                   F.R.E. 403 – Objection is conditional, and therefo
                                                                                   why exhibit is unfairly prejudicial; or why such al
                                                                                   confuses the issue, misleads the jury, wastes time
                                                                                   all parties involved at the time of the claim. Finall
                                                                                   parties had at time of the facts giving rise to Plain


DX 540 Email Communication (Quigley Irrelevant (F.R.E. 401, 402); Any              F.R.E. 801/802 – (1) Plaintiff fails
       Depo Ex 5) (JQ 000012 –      Probative Value Is Substantially               to state what portion of exhibit is
       000014)                      Outweighed By Risk Of Unfair                   hearsay; (2) statements not offered
                                    Prejudice, Confusing The Issues,               for the truth, but rather to show
                                    Misleading The Jury, Undue Delay,              information acted upon/state of
                                    Wasting Time, Or Needlessly                    mind of parties or individuals
                                    Presenting Cumulative Evidence                 identified in exhibits; (3) several
                                    (F.R.E. 403). If offered to prove the          statements made by party-
                                    truth thereof, inadmissible hearsay and        opponent, NBC, and agents
                                    no exception is applicable (F.R.E. 801,        affiliated with NBC and operating
                                    802). Subject of a pending Motion in           within the scope of their agency
                                    Limine.                                        (e.g. Aon) and, therefore, are not
   Error! Unknown document                                        760
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                hearsay under F.R.E. 801; (4) all
                                                                                communications of OneBeacon are
                                                                                records made at or near to the time
                                                                                of the events or conditions at issue
                                                                                in this case by persons with
                                                                                knowledge of those events or
                                                                                conditions; these communications
                                                                                are also made and kept in the
                                                                                regular course of business and,
                                                                                therefore, are an exception to
                                                                                hearsay under F.R.E. 803(6). All
                                                                                necessary for expert to form
                                                                                opinions in this case.
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
Error! Unknown document                                        761
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     Objection also fails to state why
                                                                                     exhibit is unfairly prejudicial; or
                                                                                     why such alleged unfair prejudice
                                                                                     outweighs its probative value; or
                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.


DX 541 Various Email Communications        This is not a proper exhibit. This is     F.R.E. 801/802 – (1) Plaintiff fails
       contained in NBC Claim File         apparently a compilation of 17            to state what portion of exhibit is
       Material (Bates No. UCP             unrelated, separate documents. It is      hearsay; (2) statements not offered
       000137-000245)                      unclear which documents Atlantic          for the truth, but rather to show
                                           intends to use as exhibits. Plaintiffs    information acted upon/state of
                                           object on grounds of F.R.E. 401, 402,     mind of parties or individuals
                                           403, 801, 802, and subject of a pending   identified in exhibits; (3) several
                                           Motion in Limine. Plaintiffs reserve      statements made by party-
                                           the right to raise any other objection    opponent, NBC, and agents
                                           when Atlantic identifies which specific   affiliated with NBC and operating
                                           documents it actually intends to          within the scope of their agency
  Error! Unknown document                                         762
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 963 of 1099 Page ID
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                                         introduce. If offered to prove the truth   (e.g. Aon) and, therefore, are not
                                         thereof, inadmissible hearsay and no       hearsay under F.R.E. 801; (4) all
                                         exception is applicable (F.R.E. 801,       communications of OneBeacon are
                                         802).                                      records made at or near to the time
                                                                                    of the events or conditions at issue
                                                                                    in this case by persons with
                                                                                    knowledge of those events or
                                                                                    conditions; these communications
                                                                                    are also made and kept in the
                                                                                    regular course of business and,
                                                                                    therefore, are an exception to
                                                                                    hearsay under F.R.E. 803(6). All
                                                                                    necessary for expert to form
                                                                                    opinions in this case.
                                                                                    F.R.E. 401 – Objection is
                                                                                    conditional, and therefore not
                                                                                    binding as to general admissibility.
                                                                                    Objection also fails to state why or
                                                                                    in what context exhibit is
                                                                                    irrelevant. Furthermore, exhibit is
                                                                                    relevant to establish state of mind
                                                                                    of all parties involved at time of
                                                                                    claim (NBC, ASIC, Aon, etc.).


                                                                                    F.R.E. 403 – Objection is
                                                                                    conditional, and therefore not
Error! Unknown document                                           763
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                  binding as to general admissibility.
                                                                                  Objection also fails to state why
                                                                                  exhibit is unfairly prejudicial; or
                                                                                  why such alleged unfair prejudice
                                                                                  outweighs its probative value; or
                                                                                  why exhibit confuses the issue,
                                                                                  misleads the jury, wastes time, or
                                                                                  is cumulative. Furthermore, high
                                                                                  probative value re: state of mind of
                                                                                  all parties involved at the time of
                                                                                  the claim. Finally, jury is entitled
                                                                                  to know what information NBC,
                                                                                  ASIC, and other parties had at time
                                                                                  of the facts giving rise to Plaintiffs’
                                                                                  claims.


DX 542
DX 543
DX 544
DX 545
DX 546



  Error! Unknown document                                        764
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 547


DX 548
DX 549
DX 550
DX 551 Washington Post News Article         Irrelevant (F.R.E. 401, 402); Any         F.R.E. 801/802 – (1) Plaintiff fails to state what p
       on Armed Conflict between            Probative Value Is Substantially          rather to show information acted upon/state of mi
       Hamas and the State of Israel        Outweighed By Risk Of Unfair              upon by experts in course of forming opinions.
       (https://www.washingtonpost.c        Prejudice, Confusing The Issues,
       om/world/israel-accepts-truce-       Misleading The Jury, Undue Delay,
                                                                                      F.R.E. 602 – Witnesses has personal knowledge o
       plan-hamas-                          Wasting Time, Or Needlessly
                                                                                      events giving rise to the claim, including this exhi
       balks/2014/07/15/04373008-           Presenting Cumulative Evidence
                                                                                      testify regarding what information ASIC or NBC
       0bf5-11e4-8c9a-                      (F.R.E. 403). If offered to prove the
                                                                                      certain conclusions concerning the conflict at issu
       923ecc0c7d23_story.html?utm_         truth thereof, inadmissible hearsay and
       term=.e99302eb1314.)                 no exception is applicable (F.R.E. 801,
                                            802). Subject of a pending Motion in      F.R.E. 701 – Unclear what opinions are offered b
                                            Limine.                                   received and acted upon; no testimony based on s
                                                                                      F.R.E. 702; information relied upon by experts as
                                                                                      F.R.E. 401 – Objection is conditional, and therefo
                                                                                      why or in what context exhibit is irrelevant. Furth
                                                                                      involved at time of claim (NBC, ASIC, Aon, etc.)



   Error! Unknown document                                          765
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                        Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 966 of 1099 Page ID
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                                                                                      F.R.E. 403 – Objection is conditional, and therefo
                                                                                      why exhibit is unfairly prejudicial; or why such al
                                                                                      confuses the issue, misleads the jury, wastes time
                                                                                      all parties involved at the time of the claim. Finall
                                                                                      parties had at time of the facts giving rise to Plain


DX 552
DX 553
DX 554 7/16/14 Email chain from             Irrelevant (F.R.E. 401, 402); Any         F.R.E. 801/802 – (1) Plaintiff fails
       Pamela Johnson to Daniel             Probative Value Is Substantially          to state what portion of exhibit is
       Gutterman re: References to          Outweighed By Risk Of Unfair              hearsay; (2) statements not offered
       Foreign Travel Advice (ATL           Prejudice, Confusing The Issues,          for the truth, but rather to show
       001458 – 1463)                       Misleading The Jury, Undue Delay,         information acted upon/state of
                                            Wasting Time, Or Needlessly               mind of parties or individuals
                                            Presenting Cumulative Evidence            identified in exhibits; (3) several
                                            (F.R.E. 403). If offered to prove the     statements made by party-
                                            truth thereof, inadmissible hearsay and   opponent, NBC, or agents
                                            no exception is applicable (F.R.E. 801,   affiliated with NBC and operating
                                            802). Subject of a pending Motion in      within the scope of their agency
                                            Limine.                                   (e.g. Aon) and, therefore, are not
                                                                                      hearsay under F.R.E. 801; (4) all
                                                                                      communications of OneBeacon are
                                                                                      records made at or near to the time
                                                                                      of the events or conditions at issue
                                                                                      in this case by persons with
   Error! Unknown document                                          766
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
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                                                                                knowledge of those events or
                                                                                conditions; these communications
                                                                                are also made and kept in the
                                                                                regular course of business and,
                                                                                therefore, are an exception to
                                                                                hearsay under F.R.E. 803(6).
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
Error! Unknown document                                        767
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.



DX 555 7/16/14 Email chain from             Irrelevant (F.R.E. 401, 402); Any         F.R.E. 801/802 – (1) Plaintiff fails
       Pamela Johnson to Peter              Probative Value Is Substantially          to state what portion of exhibit is
       Williams re: Reference to U.S.       Outweighed By Risk Of Unfair              hearsay; (2) statements not offered
       Travel Warning (ATL 001199 –         Prejudice, Confusing The Issues,          for the truth, but rather to show
       001204)                              Misleading The Jury, Undue Delay,         information acted upon/state of
                                            Wasting Time, Or Needlessly               mind of parties or individuals
                                            Presenting Cumulative Evidence            identified in exhibits; (3) several
                                            (F.R.E. 403). If offered to prove the     statements made by party-
                                            truth thereof, inadmissible hearsay and   opponent, NBC, or agents
                                            no exception is applicable (F.R.E. 801,   affiliated with NBC and operating
                                            802). Subject of a pending Motion in      within the scope of their agency
                                            Limine.                                   (e.g. Aon) and, therefore, are not
                                                                                      hearsay under F.R.E. 801; (4) all
                                                                                      communications of OneBeacon are
                                                                                      records made at or near to the time
                                                                                      of the events or conditions at issue
                                                                                      in this case by persons with
   Error! Unknown document                                          768
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                knowledge of those events or
                                                                                conditions; these communications
                                                                                are also made and kept in the
                                                                                regular course of business and,
                                                                                therefore, are an exception to
                                                                                hearsay under F.R.E. 803(6).
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
Error! Unknown document                                        769
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      probative value re: state of mind of
                                                                                      all parties involved at the time of
                                                                                      the claim. Finally, jury is entitled
                                                                                      to know what information NBC,
                                                                                      ASIC, and other parties had at time
                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.

DX 556 7/16/14 Email communication          Irrelevant (F.R.E. 401, 402); Any         F.R.E. 801/802 – (1) Plaintiff fails
       from Pamela Johnson to Daniel        Probative Value Is Substantially          to state what portion of exhibit is
       Gutterman re: References to          Outweighed By Risk Of Unfair              hearsay; (2) statements not offered
       News Stories specified in links      Prejudice, Confusing The Issues,          for the truth, but rather to show
       stated (ATL 001562 – 001563)         Misleading The Jury, Undue Delay,         information acted upon/state of
                                            Wasting Time, Or Needlessly               mind of parties or individuals
                                            Presenting Cumulative Evidence            identified in exhibits; (3) several
                                            (F.R.E. 403). If offered to prove the     statements made by party-
                                            truth thereof, inadmissible hearsay and   opponent, NBC, or agents
                                            no exception is applicable (F.R.E. 801,   affiliated with NBC and operating
                                            802). Subject of a pending Motion in      within the scope of their agency
                                            Limine.                                   (e.g. Aon) and, therefore, are not
                                                                                      hearsay under F.R.E. 801.
                                                                                      F.R.E. 401 – Objection is
                                                                                      conditional, and therefore not
                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why or
                                                                                      in what context exhibit is
   Error! Unknown document                                          770
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                   irrelevant. Furthermore, exhibit is
                                                                                   relevant to establish state of mind
                                                                                   of all parties involved at time of
                                                                                   claim (NBC, ASIC, Aon, etc.).


                                                                                   F.R.E. 403 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why
                                                                                   exhibit is unfairly prejudicial; or
                                                                                   why such alleged unfair prejudice
                                                                                   outweighs its probative value; or
                                                                                   why exhibit confuses the issue,
                                                                                   misleads the jury, wastes time, or
                                                                                   is cumulative. Furthermore, high
                                                                                   probative value re: state of mind of
                                                                                   all parties involved at the time of
                                                                                   the claim. Finally, jury is entitled
                                                                                   to know what information NBC,
                                                                                   ASIC, and other parties had at time
                                                                                   of the facts giving rise to Plaintiffs’
                                                                                   claims.

DX 557 7/18/14 Email from Daniel     Irrelevant (F.R.E. 401, 402); Any             F.R.E. 801/802 – (1) Plaintiff fails
       Gutterman to Daniel Gutterman Probative Value Is Substantially              to state what portion of exhibit is
                                     Outweighed By Risk Of Unfair                  hearsay; (2) statements not offered
   Error! Unknown document                                        771
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 972 of 1099 Page ID
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        re: Reference to News Article    Prejudice, Confusing The Issues,          for the truth, but rather to show
        (ATL 000502)                     Misleading The Jury, Undue Delay,         information acted upon/state of
                                         Wasting Time, Or Needlessly               mind of parties or individuals
                                         Presenting Cumulative Evidence            identified in exhibits; (3) all
                                         (F.R.E. 403). If offered to prove the     communications of OneBeacon are
                                         truth thereof, inadmissible hearsay and   records made at or near to the time
                                         no exception is applicable (F.R.E. 801,   of the events or conditions at issue
                                         802). Subject of a pending Motion in      in this case by persons with
                                         Limine.                                   knowledge of those events or
                                                                                   conditions; these communications
                                                                                   are also made and kept in the
                                                                                   regular course of business and,
                                                                                   therefore, are an exception to
                                                                                   hearsay under F.R.E. 803(6).
                                                                                   F.R.E. 401 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why or
                                                                                   in what context exhibit is
                                                                                   irrelevant. Furthermore, exhibit is
                                                                                   relevant to establish state of mind
                                                                                   of all parties involved at time of
                                                                                   claim (NBC, ASIC, Aon, etc.).


                                                                                   F.R.E. 403 – Objection is
                                                                                   conditional, and therefore not
Error! Unknown document                                          772
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     binding as to general admissibility.
                                                                                     Objection also fails to state why
                                                                                     exhibit is unfairly prejudicial; or
                                                                                     why such alleged unfair prejudice
                                                                                     outweighs its probative value; or
                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.

DX 558 7/24/14 Email from Daniel            If offered to prove the truth thereof,   F.R.E. 801/802 – (1) Plaintiff fails
       Gutterman to Pamela Johnson          inadmissible hearsay and no exception    to state what portion of exhibit is
       re: reporting on facts and           is applicable (F.R.E. 801, 802).         hearsay; (2) statements not offered
       developments and mentions of                                                  for the truth, but rather to show
       DIG (ATL 001828)                                                              information acted upon/state of
                                                                                     mind of parties or individuals
                                                                                     identified in exhibits; (3) all
                                                                                     communications of OneBeacon are
                                                                                     records made at or near to the time
                                                                                     of the events or conditions at issue
                                                                                     in this case by persons with
   Error! Unknown document                                         773
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                knowledge of those events or
                                                                                conditions; these communications
                                                                                are also made and kept in the
                                                                                regular course of business and,
                                                                                therefore, are an exception to
                                                                                hearsay under F.R.E. 803(6).
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
Error! Unknown document                                        774
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                        Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 975 of 1099 Page ID
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                                                                                   probative value re: state of mind of
                                                                                   all parties involved at the time of
                                                                                   the claim. Finally, jury is entitled
                                                                                   to know what information NBC,
                                                                                   ASIC, and other parties had at time
                                                                                   of the facts giving rise to Plaintiffs’
                                                                                   claims.

DX 559 7/28/14 Letter from ASIC to   If offered to prove the truth thereof,        F.R.E. 801/802 – (1) Plaintiff fails
       NBCUniversal re: coverage and inadmissible hearsay and no exception         to state what portion of exhibit is
       References to Facts (ATL      is applicable (F.R.E. 801, 802).              hearsay; (2) statements not offered
       00385 – 00392)                                                              for the truth, but rather to show
                                                                                   information acted upon/state of
                                                                                   mind of parties or individuals
                                                                                   identified in exhibits; (3) all
                                                                                   communications of OneBeacon are
                                                                                   records made at or near to the time
                                                                                   of the events or conditions at issue
                                                                                   in this case by persons with
                                                                                   knowledge of those events or
                                                                                   conditions; these communications
                                                                                   are also made and kept in the
                                                                                   regular course of business and,
                                                                                   therefore, are an exception to
                                                                                   hearsay under F.R.E. 803(6).


   Error! Unknown document                                        775
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 701 – F.R.E. 701 – Unclear
                                                                                what opinions are offered by any
                                                                                declarant in exhibit or, if any,
                                                                                which opinions are objectionable;
                                                                                all testimony rationally based on
                                                                                information received and acted
                                                                                upon; no testimony based on
                                                                                scientific, technical, or other
                                                                                specialized knowledge within the
                                                                                scope of F.R.E. 702.


                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
Error! Unknown document                                        776
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     Objection also fails to state why or
                                                                                     in what context exhibit is
                                                                                     irrelevant. Furthermore, exhibit is
                                                                                     relevant to establish state of mind
                                                                                     of all parties involved at time of
                                                                                     claim (NBC, AON, etc.).


                                                                                     F.R.E. 403 – Objection fails to
                                                                                     state what prejudice exhibit
                                                                                     contains, or why such alleged
                                                                                     prejudice outweighs its probative
                                                                                     value. Also, high probative value
                                                                                     re: state of mind of all parties
                                                                                     involved at the time of the claim.
                                                                                     Objection further fails to state what
                                                                                     information will mislead or
                                                                                     confuse jury. Finally, jury must
                                                                                     know what information NBC,
                                                                                     AON, and ASIC had at time of
                                                                                     claim.


DX 560 7/28/14 Email from Pamela            If offered to prove the truth thereof,   F.R.E. 801/802 – (1) Plaintiff fails
       Johnson to Pamela Johnson re:        inadmissible hearsay and no exception    to state what portion of exhibit is
       References to Articles (ATL          is applicable (F.R.E. 801, 802).         hearsay; (2) statements not offered
       001877)                                                                       for the truth, but rather to show
   Error! Unknown document                                         777
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     information acted upon/state of
                                                                                     mind of parties or individuals
                                                                                     identified in exhibits; (3) all
                                                                                     communications of OneBeacon are
                                                                                     records made at or near to the time
                                                                                     of the events or conditions at issue
                                                                                     in this case by persons with
                                                                                     knowledge of those events or
                                                                                     conditions; these communications
                                                                                     are also made and kept in the
                                                                                     regular course of business and,
                                                                                     therefore, are an exception to
                                                                                     hearsay under F.R.E. 803(6).
DX 561 9/19/14 Email from Pamela            If offered to prove the truth thereof,   F.R.E. 801/802 – (1) Plaintiff fails
       Johnson to Susan Weiss re:           inadmissible hearsay and no exception    to state what portion of exhibit is
       References to Facts (ATL             is applicable (F.R.E. 801, 802).         hearsay; (2) statements not offered
       002171 – 2175)                                                                for the truth, but rather to show
                                                                                     information acted upon/state of
                                                                                     mind of parties or individuals
                                                                                     identified in exhibits; (4) all
                                                                                     communications of OneBeacon are
                                                                                     records made at or near to the time
                                                                                     of the events or conditions at issue
                                                                                     in this case by persons with
                                                                                     knowledge of those events or
                                                                                     conditions; these communications
                                                                                     are also made and kept in the
   Error! Unknown document                                         778
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                regular course of business and,
                                                                                therefore, are an exception to
                                                                                hearsay under F.R.E. 803(6).
                                                                                F.R.E. 602 – Witnesses has
                                                                                personal knowledge of what
                                                                                information NBC received before,
                                                                                during, and after the events giving
                                                                                rise to the claim, including this
                                                                                exhibit. Witness does not need
                                                                                personally to have been in Israel in
                                                                                order to testify regarding what
                                                                                information NBC received
                                                                                regarding what was going on in
                                                                                Israel.


                                                                                F.R.E. 701 – F.R.E. 701 – Unclear
                                                                                what opinions are offered by any
                                                                                declarant in exhibit or, if any,
                                                                                which opinions are objectionable;
                                                                                all testimony rationally based on
                                                                                information received and acted
                                                                                upon; no testimony based on
                                                                                scientific, technical, or other
                                                                                specialized knowledge within the
                                                                                scope of F.R.E. 702.

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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
Error! Unknown document                                        780
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.

DX 562 “War,” Blacks Law Dictionary        Irrelevant (F.R.E. 401, 402); Any         F.R.E. 801/802 – (1) Plaintiff fails
                                           Probative Value Is Substantially          to state what portion of exhibit is
                                           Outweighed By Risk Of Unfair              hearsay; (2) statements not offered
                                           Prejudice, Confusing The Issues,          for the truth, but rather to show
                                           Misleading The Jury, Undue Delay,         information acted upon/state of
                                           Wasting Time, Or Needlessly               mind of parties or individuals
                                           Presenting Cumulative Evidence            identified in exhibits; (3) several
                                           (F.R.E. 403). If offered to prove the     statements made by party-
                                           truth thereof, inadmissible hearsay and   opponent, NBC, or agents
                                           no exception is applicable (F.R.E. 801,   affiliated with NBC and operating
                                           802). Subject of a pending Motion in      within the scope of their agency
                                           Limine.                                   (e.g. Aon) and, therefore, are not
                                                                                     hearsay under F.R.E. 801.
                                                                                     Information relied upon by experts
                                                                                     in course of forming opinions.
                                                                                     F.R.E. 401 – Objection is
                                                                                     conditional, and therefore not
                                                                                     binding as to general admissibility.
                                                                                     Objection also fails to state why or
                                                                                     in what context exhibit is
                                                                                     irrelevant. Furthermore, exhibit is
                                                                                     relevant to establish state of mind


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  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                   of all parties involved at time of
                                                                                   claim (NBC, ASIC, Aon, etc.).


                                                                                   F.R.E. 403 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why
                                                                                   exhibit is unfairly prejudicial; or
                                                                                   why such alleged unfair prejudice
                                                                                   outweighs its probative value; or
                                                                                   why exhibit confuses the issue,
                                                                                   misleads the jury, wastes time, or
                                                                                   is cumulative. Furthermore, high
                                                                                   probative value re: state of mind of
                                                                                   all parties involved at the time of
                                                                                   the claim. Finally, jury is entitled
                                                                                   to know what information NBC,
                                                                                   ASIC, and other parties had at time
                                                                                   of the facts giving rise to Plaintiffs’
                                                                                   claims.

DX 563 “War,” Dictionary of                                                        F.R.E. 801/802 – (1) Plaintiff fails
       International and Comparative                                               to state what portion of exhibit is
       Law                                                                         hearsay; (2) statements not offered
                                                                                   for the truth, but rather to show
                                                                                   information acted upon/state of
   Error! Unknown document                                        782
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                mind of parties or individuals
                                                                                identified in exhibits; (3) several
                                                                                statements made by party-
                                                                                opponent, NBC, or agents
                                                                                affiliated with NBC and operating
                                                                                within the scope of their agency
                                                                                (e.g. Aon) and, therefore, are not
                                                                                hearsay under F.R.E. 801.
                                                                                Information relied upon by experts
                                                                                in course of forming opinions.
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
Error! Unknown document                                        783
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     outweighs its probative value; or
                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.

DX 564 “War,” Handbook of                  Irrelevant (F.R.E. 401, 402); Any         F.R.E. 801/802 – (1) Plaintiff fails
       Humanitarian Law in Armed           Probative Value Is Substantially          to state what portion of exhibit is
       Conflicts                           Outweighed By Risk Of Unfair              hearsay; (2) statements not offered
                                           Prejudice, Confusing The Issues,          for the truth, but rather to show
                                           Misleading The Jury, Undue Delay,         information acted upon/state of
                                           Wasting Time, Or Needlessly               mind of parties or individuals
                                           Presenting Cumulative Evidence            identified in exhibits; (3) several
                                           (F.R.E. 403). If offered to prove the     statements made by party-
                                           truth thereof, inadmissible hearsay and   opponent, NBC, or agents
                                           no exception is applicable (F.R.E. 801,   affiliated with NBC and operating
                                           802). Subject of a pending Motion in      within the scope of their agency
                                           Limine.                                   (e.g. Aon) and, therefore, are not
                                                                                     hearsay under F.R.E. 801.
                                                                                     Information relied upon by experts
                                                                                     in course of forming opinions.
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  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time


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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      of the facts giving rise to Plaintiffs’
                                                                                      claims.

DX 565 United States Travel Warning         Irrelevant (F.R.E. 401, 402); Any         F.R.E. 801/802 – (1) Plaintiff fails
       2/3/14                               Probative Value Is Substantially          to state what portion of exhibit is
                                            Outweighed By Risk Of Unfair              hearsay; (2) statements not offered
                                            Prejudice, Confusing The Issues,          for the truth, but rather to show
                                            Misleading The Jury, Undue Delay,         information acted upon/state of
                                            Wasting Time, Or Needlessly               mind of parties or individuals
                                            Presenting Cumulative Evidence            identified in exhibits; (3) several
                                            (F.R.E. 403). If offered to prove the     statements made by party-
                                            truth thereof, inadmissible hearsay and   opponent, NBC, or agents
                                            no exception is applicable (F.R.E. 801,   affiliated with NBC and operating
                                            802). Subject of a pending Motion in      within the scope of their agency
                                            Limine.                                   (e.g. Aon) and, therefore, are not
                                                                                      hearsay under F.R.E. 801.
                                                                                      Information relied upon by experts
                                                                                      in course of forming opinions.
                                                                                      F.R.E. 401 – Objection is
                                                                                      conditional, and therefore not
                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why or
                                                                                      in what context exhibit is
                                                                                      irrelevant. Furthermore, exhibit is
                                                                                      relevant to establish state of mind


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   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                   of all parties involved at time of
                                                                                   claim (NBC, ASIC, Aon, etc.).


                                                                                   F.R.E. 403 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why
                                                                                   exhibit is unfairly prejudicial; or
                                                                                   why such alleged unfair prejudice
                                                                                   outweighs its probative value; or
                                                                                   why exhibit confuses the issue,
                                                                                   misleads the jury, wastes time, or
                                                                                   is cumulative. Furthermore, high
                                                                                   probative value re: state of mind of
                                                                                   all parties involved at the time of
                                                                                   the claim. Finally, jury is entitled
                                                                                   to know what information NBC,
                                                                                   ASIC, and other parties had at time
                                                                                   of the facts giving rise to Plaintiffs’
                                                                                   claims.

DX 566 United Kingdom’s website             Irrelevant (F.R.E. 401, 402); Any      F.R.E. 801/802 – (1) Plaintiff fails
       regarding travel to Israel, as it    Probative Value Is Substantially       to state what portion of exhibit is
       existed on 7/15/14                   Outweighed By Risk Of Unfair           hearsay; (2) statements not offered
       (https://www.gov.uk/foreign-         Prejudice, Confusing The Issues,       for the truth, but rather to show
       travel-advice/israel)                Misleading The Jury, Undue Delay,      information acted upon/state of
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   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         Wasting Time, Or Needlessly               mind of parties or individuals
                                         Presenting Cumulative Evidence            identified in exhibits; (3) several
                                         (F.R.E. 403). If offered to prove the     statements made by party-
                                         truth thereof, inadmissible hearsay and   opponent, NBC, or agents
                                         no exception is applicable (F.R.E. 801,   affiliated with NBC and operating
                                         802). Subject of a pending Motion in      within the scope of their agency
                                         Limine.                                   (e.g. Aon) and, therefore, are not
                                                                                   hearsay under F.R.E. 801.
                                                                                   Information relied upon by experts
                                                                                   in course of forming opinions.
                                                                                   F.R.E. 401 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why or
                                                                                   in what context exhibit is
                                                                                   irrelevant. Furthermore, exhibit is
                                                                                   relevant to establish state of mind
                                                                                   of all parties involved at time of
                                                                                   claim (NBC, ASIC, Aon, etc.).


                                                                                   F.R.E. 403 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why
                                                                                   exhibit is unfairly prejudicial; or
                                                                                   why such alleged unfair prejudice
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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                     outweighs its probative value; or
                                                                                     why exhibit confuses the issue,
                                                                                     misleads the jury, wastes time, or
                                                                                     is cumulative. Furthermore, high
                                                                                     probative value re: state of mind of
                                                                                     all parties involved at the time of
                                                                                     the claim. Finally, jury is entitled
                                                                                     to know what information NBC,
                                                                                     ASIC, and other parties had at time
                                                                                     of the facts giving rise to Plaintiffs’
                                                                                     claims.

DX 567 Placeholder for Rusnak CV            Vague; does not provide Plaintiffs       This is not proper objection to
                                            adequate notice of the exhibits          evidence, but rather to expert
                                            Defendant intends to offer. Subject to   opinions. Such should properly be
                                            Defendant’s pending motion to amend      addressed in either a Daubert
                                            schedule.                                motion or in a Motion in Limine.
DX 568 Placeholder for Rusnak               Vague; does not provide Plaintiffs       This is not proper objection to
       Opinions/Report                      adequate notice of the exhibits          evidence, but rather to expert
                                            Defendant intends to offer. Subject to   opinions. Such should properly be
                                            Defendant’s pending motion to amend      addressed in either a Daubert
                                            schedule.                                motion or in a Motion in Limine.
DX 569 ASIC’s Expert Witness                Irrelevant (F.R.E. 401, 402); Any        This is not proper objection to
       Disclosure dated 3/17/17             Probative Value Is Substantially         evidence, but rather to expert
                                            Outweighed By Risk Of Unfair             opinions. Such should properly be
                                            Prejudice, Confusing The Issues,         addressed in either a Daubert
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   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         Misleading The Jury, Undue Delay,         motion or in a Motion in Limine.
                                         Wasting Time, Or Needlessly               Arguments go to weight, not
                                         Presenting Cumulative Evidence            admissibility.
                                         (F.R.E. 403). Subject of a pending        The qualifications of an expert to
                                         Motion in Limine.. If offered to prove    testify is always relevant and the
                                         the truth thereof, inadmissible hearsay   conclusions of experts are relevant
                                         and no exception is applicable (F.R.E.    because they make facts asserted
                                         801, 802).                                by the Plaintiffs’ in their claim for
                                                                                   damages more or less likely.

                                                                                   The probative value of expert
                                                                                   report to aid the jury in its
                                                                                   assessment and ultimate
                                                                                   determination of damages is not
                                                                                   substantial outweighed by its
                                                                                   prejudicial effect, further the
                                                                                   Plaintiff offers absolutely no legal
                                                                                   authority or precedent to exclude
                                                                                   this evidence for their stated basis,
                                                                                   only offering broad, conclusory
                                                                                   allegations.

                                                                                   Cumulative evidence is defined as
                                                                                   evidence that replicates other
                                                                                   admitted evidence. United States v.
                                                                                   Ives, 609 F.2d 930, 933 (9th Cir.
                                                                                   1979), cert. denied, 445 U.S. 919
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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                (1980). There is no replication of
                                                                                this evidence, the information
                                                                                contained in this exhibit constitutes
                                                                                evidence of reasonable conduct by
                                                                                the Defendant which is an issue the
                                                                                jury must decide. For these same
                                                                                reasons, introduction of this
                                                                                evidence in no way constitutes a
                                                                                waste of time.

                                                                                This evidence should not be
                                                                                excluded on the bases of hearsay
                                                                                under Fed. R. Evid. 801 or 802.
                                                                                Fed. R. Evid. 703 permits an
                                                                                expert witness to “base an opinion
                                                                                on facts or data in the case that the
                                                                                expert has been made aware of or
                                                                                personally observed” and if the
                                                                                facts or data are the type that
                                                                                experts in the same field would
                                                                                reasonably rely on to form similar
                                                                                opinions, the facts or data do not
                                                                                have be admissible in order for
                                                                                thewitness’ opinion to be
                                                                                admissible. Indeed, inadmissible
                                                                                facts or data may be disclosed to
                                                                                the jury “if their probative value in
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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                      helping the jury evaluate the
                                                                                      opinion substantially outweighs
                                                                                      their prejudicial effect.”




DX 570 ASIC’s Rebuttal Expert               Irrelevant (F.R.E. 401, 402); Any         This is not proper objection to
       Witness Disclosure dated             Probative Value Is Substantially          evidence, but rather to expert
       4/28/17                              Outweighed By Risk Of Unfair              opinions. Such should properly be
                                            Prejudice, Confusing The Issues,          addressed in either a Daubert
                                            Misleading The Jury, Undue Delay,         motion or in a Motion in Limine.
                                            Wasting Time, Or Needlessly               Arguments go to weight, not
                                            Presenting Cumulative Evidence            admissibility.
                                            (F.R.E. 403). Subject of a pending        The qualifications of an expert to
                                            Motion in Limine. If offered to prove     testify is always relevant and the
                                            the truth thereof, inadmissible hearsay   conclusions of experts are relevant
                                            and no exception is applicable (F.R.E.    because they make facts asserted
                                            801, 802).                                by the Plaintiffs’ in their claim for
                                                                                      damages more or less likely.

                                                                                      The probative value of expert
                                                                                      report to aid the jury in its
                                                                                      assessment and ultimate
                                                                                      determination of damages is not
                                                                                      substantial outweighed by its
                                                                                      prejudicial effect, further the
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   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                Plaintiff offers absolutely no legal
                                                                                authority or precedent to exclude
                                                                                this evidence for their stated basis,
                                                                                only offering broad, conclusory
                                                                                allegations.

                                                                                Cumulative evidence is defined as
                                                                                evidence that replicates other
                                                                                admitted evidence. United States v.
                                                                                Ives, 609 F.2d 930, 933 (9th Cir.
                                                                                1979), cert. denied, 445 U.S. 919
                                                                                (1980). There is no replication of
                                                                                this evidence, the information
                                                                                contained in this exhibit constitutes
                                                                                evidence of reasonable conduct by
                                                                                the Defendant which is an issue the
                                                                                jury must decide. For these same
                                                                                reasons, introduction of this
                                                                                evidence in no way constitutes a
                                                                                waste of time.

                                                                                This evidence should not be
                                                                                excluded on the bases of hearsay
                                                                                under Fed. R. Evid. 801 or 802.
                                                                                Fed. R. Evid. 703 permits an
                                                                                expert witness to “base an opinion
                                                                                on facts or data in the case that the
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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                   expert has been made aware of or
                                                                                   personally observed” and if the
                                                                                   facts or data are the type that
                                                                                   experts in the same field would
                                                                                   reasonably rely on to form similar
                                                                                   opinions, the facts or data do not
                                                                                   have be admissible in order for
                                                                                   thewitness’ opinion to be
                                                                                   admissible. Indeed, inadmissible
                                                                                   facts or data may be disclosed to
                                                                                   the jury “if their probative value in
                                                                                   helping the jury evaluate the
                                                                                   opinion substantially outweighs
                                                                                   their prejudicial effect.”




DX 571 PM Shapiro Exhibit 01           If offered to prove the truth thereof,      F.R.E. 801/802 – (1) Plaintiff fails
       Williams (Exhibit 1 to Williams inadmissible hearsay and no exception       to state what portion of exhibit is
       depo – ATL003073-003127)        is applicable (F.R.E. 801, 802).            hearsay; (2) statements not offered
                                                                                   for the truth, but rather to show
                                                                                   information acted upon/state of
                                                                                   mind of parties or individuals
                                                                                   identified in exhibits; (3) several
                                                                                   statements made by party-
                                                                                   opponent, NBC, or agents
   Error! Unknown document                                        794
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 995 of 1099 Page ID
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                                                                                affiliated with NBC and operating
                                                                                within the scope of their agency
                                                                                (e.g. Aon) and, therefore, are not
                                                                                hearsay under F.R.E. 801.
                                                                                Information relied upon by experts
                                                                                in course of forming opinions.
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
Error! Unknown document                                        795
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
                        Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 996 of 1099 Page ID
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                                                                                   probative value re: state of mind of
                                                                                   all parties involved at the time of
                                                                                   the claim. Finally, jury is entitled
                                                                                   to know what information NBC,
                                                                                   ASIC, and other parties had at time
                                                                                   of the facts giving rise to Plaintiffs’
                                                                                   claims.


DX 572 Shapiro (5-23-17) - Depo             Irrelevant (F.R.E. 401, 402); Any      F.R.E. 801/802 – (1) Plaintiff fails
       transcript                           Probative Value Is Substantially       to state what portion of exhibit is
                                            Outweighed By Risk Of Unfair           hearsay; (2) statements not offered
                                            Prejudice, Confusing The Issues,       for the truth, but rather to show
                                            Misleading The Jury, Undue Delay,      information acted upon/state of
                                            Wasting Time, Or Needlessly            mind of parties or individuals
                                            Presenting Cumulative Evidence         identified in exhibits; (3) several
                                            (F.R.E. 403). Subject of a pending     statements made by party-
                                            Motion in Limine.                      opponent, NBC, or agents
                                                                                   affiliated with NBC and operating
                                                                                   within the scope of their agency
                                                                                   (e.g. Aon) and, therefore, are not
                                                                                   hearsay under F.R.E. 801.
                                                                                   Information relied upon by experts
                                                                                   in course of forming opinions.
                                                                                   F.R.E. 401 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
   Error! Unknown document                                        796
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
                     Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 997 of 1099 Page ID
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                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims.



Error! Unknown document                                        797
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                          #:25264




DX 573 Shapiro Exhibit 01 (Notice of        Irrelevant (F.R.E. 401, 402); Any      F.R.E. 801/802 – (1) Plaintiff fails
       Taking Depo of Jay Shapiro)          Probative Value Is Substantially       to state what portion of exhibit is
                                            Outweighed By Risk Of Unfair           hearsay; (2) statements not offered
                                            Prejudice, Confusing The Issues,       for the truth, but rather to show
                                            Misleading The Jury, Undue Delay,      information acted upon/state of
                                            Wasting Time, Or Needlessly            mind of parties or individuals
                                            Presenting Cumulative Evidence         identified in exhibits; (3) several
                                            (F.R.E. 403).                          statements made by party-
                                                                                   opponent, NBC, or agents
                                                                                   affiliated with NBC and operating
                                                                                   within the scope of their agency
                                                                                   (e.g. Aon) and, therefore, are not
                                                                                   hearsay under F.R.E. 801.
                                                                                   Information relied upon by experts
                                                                                   in course of forming opinions.
                                                                                   F.R.E. 401 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why or
                                                                                   in what context exhibit is
                                                                                   irrelevant. Furthermore, exhibit is
                                                                                   relevant to establish state of mind
                                                                                   of all parties involved at time of
                                                                                   claim (NBC, ASIC, Aon, etc.).




   Error! Unknown document                                        798
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                   F.R.E. 403 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why
                                                                                   exhibit is unfairly prejudicial; or
                                                                                   why such alleged unfair prejudice
                                                                                   outweighs its probative value; or
                                                                                   why exhibit confuses the issue,
                                                                                   misleads the jury, wastes time, or
                                                                                   is cumulative. Furthermore, high
                                                                                   probative value re: state of mind of
                                                                                   all parties involved at the time of
                                                                                   the claim. Finally, jury is entitled
                                                                                   to know what information NBC,
                                                                                   ASIC, and other parties had at time
                                                                                   of the facts giving rise to Plaintiffs’
                                                                                   claims.
                                                                                   .
DX 574 Shapiro Exhibit 03 (ASIC’s           Irrelevant (F.R.E. 401, 402); Any      This is not proper objection to
       Rebuttal Expert Witness              Probative Value Is Substantially       evidence, but rather to expert
       Disclosures dated 4/28/17)           Outweighed By Risk Of Unfair           opinions. Such should properly be
                                            Prejudice, Confusing The Issues,       addressed in either a Daubert
                                            Misleading The Jury, Undue Delay,      motion or in a Motion in Limine.
                                            Wasting Time, Or Needlessly            Arguments go to weight, not
                                            Presenting Cumulative Evidence         admissibility.


   Error! Unknown document                                        799
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                       #:25266




                                         (F.R.E. 403). Subject of a pending     The qualifications of an expert to
                                         Motion in Limine.                      testify is always relevant and the
                                                                                conclusions of Shapiro are relevant
                                                                                because they make facts asserted
                                                                                by the Plaintiffs’ in their claim for
                                                                                damages more or less likely.

                                                                                The probative value of Shapiro’s
                                                                                expert report to aid the jury in its
                                                                                assessment and ultimate
                                                                                determination of damages is not
                                                                                substantial outweighed by its
                                                                                prejudicial effect, further the
                                                                                Plaintiff offers absolutely no legal
                                                                                authority or precedent to exclude
                                                                                this evidence for their stated basis,
                                                                                only offering broad, conclusory
                                                                                allegations.

                                                                                Cumulative evidence is defined as
                                                                                evidence that replicates other
                                                                                admitted evidence. United States v.
                                                                                Ives, 609 F.2d 930, 933 (9th Cir.
                                                                                1979), cert. denied, 445 U.S. 919
                                                                                (1980). There is no replication of
                                                                                this evidence, the information
                                                                                contained in this exhibit constitutes
Error! Unknown document                                         800
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
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                                                                                evidence of reasonable conduct by
                                                                                the Defendant which is an issue the
                                                                                jury must decide. For these same
                                                                                reasons, introduction of this
                                                                                evidence in no way constitutes a
                                                                                waste of time.

                                                                                This evidence should not be
                                                                                excluded on the bases of hearsay
                                                                                under Fed. R. Evid. 801 or 802.
                                                                                Fed. R. Evid. 703 permits an
                                                                                expert witness to “base an opinion
                                                                                on facts or data in the case that the
                                                                                expert has been made aware of or
                                                                                personally observed” and if the
                                                                                facts or data are the type that
                                                                                experts in the same field would
                                                                                reasonably rely on to form similar
                                                                                opinions, the facts or data do not
                                                                                have be admissible in order for
                                                                                thewitness’ opinion to be
                                                                                admissible. Indeed, inadmissible
                                                                                facts or data may be disclosed to
                                                                                the jury “if their probative value in
                                                                                helping the jury evaluate the
                                                                                opinion substantially outweighs
                                                                                their prejudicial effect.”
Error! Unknown document                                        801
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 575 Shapiro Exhibit 04 (UCP              No objection                              No response
       003732-3734)
DX 576 Shapiro Exhibit 05                   No objection                              No response
       (AONNBCU 1748-1750)
DX 577 Shapiro Exhibit 06 (UCP 4971-        No objection                              No response
       4972)
DX 578 Shapiro Exhibit 07 (UCP              No objection                              No response
       14836-14881)
DX 579 Shapiro Exhibit 08 (Expert           Irrelevant (F.R.E. 401, 402); Any         This is not proper objection to
       Report of Jay Shapiro dated          Probative Value Is Substantially          evidence, but rather to expert
       4/25/17)                             Outweighed By Risk Of Unfair              opinions. Such should properly be
                                            Prejudice, Confusing The Issues,          addressed in either a Daubert
                                            Misleading The Jury, Undue Delay,         motion or in a Motion in Limine.
                                            Wasting Time, Or Needlessly               Arguments go to weight, not
                                            Presenting Cumulative Evidence            admissibility.
                                            (F.R.E. 403). Subject of a pending        The qualifications of an expert to
                                            Motion in Limine. If offered to prove     testify is always relevant and the
                                            the truth thereof, inadmissible hearsay   conclusions of Shapiro are relevant
                                            and no exception is applicable (F.R.E.    because they make facts asserted
                                            801, 802).                                by the Plaintiffs’ in their claim for
                                                                                      damages more or less likely.


   Error! Unknown document                                          802
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                       #:25269




                                                                                The probative value of Shapiro’s
                                                                                expert report to aid the jury in its
                                                                                assessment and ultimate
                                                                                determination of damages is not
                                                                                substantial outweighed by its
                                                                                prejudicial effect, further the
                                                                                Plaintiff offers absolutely no legal
                                                                                authority or precedent to exclude
                                                                                this evidence for their stated basis,
                                                                                only offering broad, conclusory
                                                                                allegations.

                                                                                Cumulative evidence is defined as
                                                                                evidence that replicates other
                                                                                admitted evidence. United States v.
                                                                                Ives, 609 F.2d 930, 933 (9th Cir.
                                                                                1979), cert. denied, 445 U.S. 919
                                                                                (1980). There is no replication of
                                                                                this evidence, the information
                                                                                contained in this exhibit constitutes
                                                                                evidence of reasonable conduct by
                                                                                the Defendant which is an issue the
                                                                                jury must decide. For these same
                                                                                reasons, introduction of this
                                                                                evidence in no way constitutes a
                                                                                waste of time.

Error! Unknown document                                        803
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
                      Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 1004 of 1099 Page ID
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                                                                                  This evidence should not be
                                                                                  excluded on the bases of hearsay
                                                                                  under Fed. R. Evid. 801 or 802.
                                                                                  Fed. R. Evid. 703 permits an
                                                                                  expert witness to “base an opinion
                                                                                  on facts or data in the case that the
                                                                                  expert has been made aware of or
                                                                                  personally observed” and if the
                                                                                  facts or data are the type that
                                                                                  experts in the same field would
                                                                                  reasonably rely on to form similar
                                                                                  opinions, the facts or data do not
                                                                                  have be admissible in order for
                                                                                  thewitness’ opinion to be
                                                                                  admissible. Indeed, inadmissible
                                                                                  facts or data may be disclosed to
                                                                                  the jury “if their probative value in
                                                                                  helping the jury evaluate the
                                                                                  opinion substantially outweighs
                                                                                  their prejudicial effect.”
                                                                                  .


DX 580 Shapiro Exhibit 09 (UCP             No objection                           No response
       18226-18227)


  Error! Unknown document                                        804
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                         AS OF JANUARY 14, 2020
                       Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 1005 of 1099 Page ID
                                                          #:25271




DX 581 Shapiro Exhibit 11 (signed non- Irrelevant (F.R.E. 401, 402); Any           This is not proper objection to
       disclosure agreement dated      Probative Value Is Substantially            evidence, but rather to expert
       3/27/17)                        Outweighed By Risk Of Unfair                opinions. Such should properly be
                                       Prejudice, Confusing The Issues,            addressed in either a Daubert
                                       Misleading The Jury, Undue Delay,           motion or in a Motion in Limine.
                                       Wasting Time, Or Needlessly                 Arguments go to weight, not
                                       Presenting Cumulative Evidence              admissibility.
                                       (F.R.E. 403). Subject of a pending          The qualifications of an expert to
                                       Motion in Limine.                           testify is always relevant and the
                                                                                   conclusions of Shapiro are relevant
                                                                                   because they make facts asserted
                                                                                   by the Plaintiffs’ in their claim for
                                                                                   damages more or less likely.

                                                                                   The probative value of Shapiro
                                                                                   expert report to aid the jury in its
                                                                                   assessment and ultimate
                                                                                   determination of damages is not
                                                                                   substantial outweighed by its
                                                                                   prejudicial effect, further the
                                                                                   Plaintiff offers absolutely no legal
                                                                                   authority or precedent to exclude
                                                                                   this evidence for their stated basis,
                                                                                   only offering broad, conclusory
                                                                                   allegations.


   Error! Unknown document                                        805
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
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                                                                                Cumulative evidence is defined as
                                                                                evidence that replicates other
                                                                                admitted evidence. United States v.
                                                                                Ives, 609 F.2d 930, 933 (9th Cir.
                                                                                1979), cert. denied, 445 U.S. 919
                                                                                (1980). There is no replication of
                                                                                this evidence, the information
                                                                                contained in this exhibit constitutes
                                                                                evidence of reasonable conduct by
                                                                                the Defendant which is an issue the
                                                                                jury must decide. For these same
                                                                                reasons, introduction of this
                                                                                evidence in no way constitutes a
                                                                                waste of time.

                                                                                This evidence should not be
                                                                                excluded on the bases of hearsay
                                                                                under Fed. R. Evid. 801 or 802.
                                                                                Fed. R. Evid. 703 permits an
                                                                                expert witness to “base an opinion
                                                                                on facts or data in the case that the
                                                                                expert has been made aware of or
                                                                                personally observed” and if the
                                                                                facts or data are the type that
                                                                                experts in the same field would
                                                                                reasonably rely on to form similar
                                                                                opinions, the facts or data do not
Error! Unknown document                                        806
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
                      Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 1007 of 1099 Page ID
                                                         #:25273




                                                                                  have be admissible in order for
                                                                                  thewitness’ opinion to be
                                                                                  admissible. Indeed, inadmissible
                                                                                  facts or data may be disclosed to
                                                                                  the jury “if their probative value in
                                                                                  helping the jury evaluate the
                                                                                  opinion substantially outweighs
                                                                                  their prejudicial effect.”




DX 582 Wunderlich - Exhibit 259            No objection                           No response
       (Summary of Claim for Extra
       Expenses)
DX 583 Wunderlich - Exhibit 260            No objection                           No response
       (Extra Expenses – New Mexico
       Prep)
DX 584 Wunderlich - Exhibit 261            No objection                           No response
       (Extra Expenses – New Mexico
       Wrap)
DX 585 Wunderlich - Exhibit 262            No objection                           No response
       (Extra Expenses – New Mexico
       All Series)


  Error! Unknown document                                        807
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                         AS OF JANUARY 14, 2020
                       Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 1008 of 1099 Page ID
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DX 586 Wunderlich Exhibit 263 (Extra        No objection                           No response
       Expenses – New Mexico
       Compensation)
DX 587 Wunderlich Exhibit 264               No objection                           No response
       (Summary of Extra Expenses –
       Croatia)
DX 588 Wunderlich Exhibit 265 (Extra        No objection                           No response
       Expenses – Croatia Prep, Wrap
       & All Series and Extra
       Compensation)
DX 589 Wunderlich Exhibit 266               No objection                           No response
       (Croatia Shoot Expenses)
DX 590 Wunderlich Exhibit 267               No objection                           No response
       (Croatia – Daily Shoot Budget)
DX 591 Wunderlich Exhibit 271               No objection                           No response
       (Summary of Claim for Extra
       Expenses)
DX 592 Wunderlich Exhibit 272 (Extra        No objection                           No response
       Expenses – New Mexico
       Compensation)




   Error! Unknown document                                        808
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
                       Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 1009 of 1099 Page ID
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DX 593 Wunderlich Exhibit 273               No objection                           No response
       (Additional Documents, Data
       and Materials Reviewed)
DX 594 Wunderlich Exhibit 274 (Extra        No objection                           No response
       Expenses – Israel Push Costs)
DX 595 Wunderlich Exhibit 275 (Israel       No objection                           No response
       Salaries)
DX 596 Wunderlich Exhibit 276 (Excel        No objection                           No response
       spreadsheet: Cost Bible – 602
       pages)
DX 597 Wunderlich Exhibit 277 (Excel        No objection                           No response
       spreadsheet: NM Prep – 82
       pages)
DX 598 Wunderlich Exhibit 278 (Excel        No objection                           No response
       spreadsheet: NM Wrap – 46
       pages)
DX 599 Wunderlich Exhibit 279 (Excel        No objection                           No response
       spreadsheet: 01086 – 121
       pages)
DX 600 Wunderlich Exhibit 280 (NM           No objection                           No response
       All Series 01086 – 106 pages)


   Error! Unknown document                                        809
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
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                                                          #:25276




DX 601 Wunderlich Exhibit 281 (Excel        No objection                           No response
       spreadsheet: Excl NM All
       Series 010816 – 16 pages)
DX 602 Wunderlich Exhibit 282 (Excel        No objection                           No response
       spreadsheet: Net NM All Series
       010816 – 102 pages)
DX 603 Wunderlich Exhibit 283               No objection                           No response
       (UCP014569-014704)
DX 604 Wunderlich Exhibit 284               No objection                           No response
       (Estimated Shooting Day Cost
       Summary – Dig Croatia Unit –
       10 pages)
DX 605 Wunderlich Exhibit 285 (Excel        No objection                           No response
       Spreadsheet: 01086 – 9 pages)
DX 606 Wunderlich Exhibit 286 (Excel        No objection                           No response
       spreadsheet: Net Croatia – 101
       pages)
DX 607 Wunderlich Exhibit 287 (Excel        No objection                           No response
       spreadsheet: Croatia Paid in
       Israel – 1 page)




   Error! Unknown document                                        810
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
                      Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 1011 of 1099 Page ID
                                                         #:25277




DX 608 Wunderlich Exhibit 288 (Excel No objection                                    No response
       spreadsheet: DIG Croatia Part 1
       – 14 pages)
DX 609 Wunderlich Exhibit 289              Irrelevant (F.R.E. 401, 402); Any         F.R.E. 801/802 – (1) Plaintiff fails
       (RW000001-000029)                   Probative Value Is Substantially          to state what portion of exhibit is
                                           Outweighed By Risk Of Unfair              hearsay; (2) statements not offered
                                           Prejudice, Confusing The Issues,          for the truth, but rather to show
                                           Misleading The Jury, Undue Delay,         information acted upon/state of
                                           Wasting Time, Or Needlessly               mind of parties or individuals
                                           Presenting Cumulative Evidence            identified in exhibits; (3) several
                                           (F.R.E. 403). If offered to prove the     statements made by party-
                                           truth thereof, inadmissible hearsay and   opponent, NBC, or agents
                                           no exception is applicable (F.R.E. 801,   affiliated with NBC and operating
                                           802).                                     within the scope of their agency
                                                                                     (e.g. Aon) and, therefore, are not
                                                                                     hearsay under F.R.E. 801.
                                                                                     Information relied upon by experts
                                                                                     in course of forming opinions.
                                                                                     F.R.E. 401 – Objection is
                                                                                     conditional, and therefore not
                                                                                     binding as to general admissibility.
                                                                                     Objection also fails to state why or
                                                                                     in what context exhibit is
                                                                                     irrelevant. Furthermore, exhibit is
                                                                                     relevant to establish state of mind


  Error! Unknown document                                          811
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                         AS OF JANUARY 14, 2020
                       Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 1012 of 1099 Page ID
                                                          #:25278




                                                                                   of all parties involved at time of
                                                                                   claim (NBC, ASIC, Aon, etc.).


                                                                                   F.R.E. 403 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why
                                                                                   exhibit is unfairly prejudicial; or
                                                                                   why such alleged unfair prejudice
                                                                                   outweighs its probative value; or
                                                                                   why exhibit confuses the issue,
                                                                                   misleads the jury, wastes time, or
                                                                                   is cumulative. Furthermore, high
                                                                                   probative value re: state of mind of
                                                                                   all parties involved at the time of
                                                                                   the claim. Finally, jury is entitled
                                                                                   to know what information NBC,
                                                                                   ASIC, and other parties had at time
                                                                                   of the facts giving rise to Plaintiffs’
                                                                                   claims.


DX 610 Protective Order (Doc 25) dated No objection                                No response
       9/14/16
DX 611

   Error! Unknown document                                        812
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
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                                                          #:25279




DX 612 CONFIDENTIAL-
       UCP018019.XLS
DX 613 DIG Croatia - Cast                   No objection                           No response
       (UCP018228-18236)
DX 614 DIG Croatia - Fringe                 No objection                           No response
       (UCP018237-18238)
DX 615 DIG Croatia - Stunts                 No objection                           No response
       (UCP018239-18243)
DX 616 Dig Extra Expense Categories         No objection                           No response
       (UCP018022-018026)
DX 617
DX 618
DX 619
DX 620
DX 621
DX 622
DX 623
DX 624

   Error! Unknown document                                        813
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
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DX 625
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  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 641
DX 642
DX 643 8/11/2016 DIG – New Mexico          No objection                           No response
       Season 1 – First 5 episodes
       Production Recap Report
       2014/2015 Season 1 Period
       Ending: 8/11/2016
       (UCP004503)
DX 644 8/11/2016 DIG – Season One          No objection                           No response
       Amort 01086 (Episodes 102-
       106) Cost Report 9
       (UCP004505)
DX 645 8/6/2016 DIG – Season One           No objection                           No response
       Amort 01091 Cost Report 10
       (UCP004513)
DX 646 8/7/2016 DIG Season One New No objection                                   No response
       Mexico Unit Prep – 01085 Cost
       Report 8 (UCP004521)
DX 647 8/7/2016 DIG Season One New         No objection                           No response
       Mexico Unit Wrap – 01088
       Cost Report 9 (UCP004530)


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  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 648 Email from BJ Markus to Randi No objection                                 No response
       Richmond re: Emailing: DIG
       Israel Series recap 12 30
       14.xlsx (UCP004538)
DX 649
DX 650
DX 651
DX 652 10/22/2014 Email from Joshua        No objection                           No response
       P. Dease to Randi Richmond ,
       BJ Markus, Mark Winemaker,
       and Ryan Greig re: DIG –
       Croatia Cost Report 4
       Documents – Period Ending
       10/18/2014 (UCP004613)
DX 653
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DX 658

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  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 659
DX 660
DX 661
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DX 664
DX 665
DX 666
DX 667
DX 668
DX 669
DX 670 12/02/2015 email from Joshua        No objection                           No response
       Dease to Randi Richmond and
       BJ Markus re: DIG – New
       Mexico Recap and Cost Report
       Documents
       (01085/01086/01088/01091) –
       PE 11/22/2015 (UCP004786)
DX 671
  Error! Unknown document                                        817
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 672 11/23/2015 DIG – New Mexico No objection                                    No response
       Season 1 – First 5 Episodes
       Production Recap Report
       (UCP004797)
DX 673
DX 674
DX 675
DX 676 10/3/2014 email from Debbie          No objection                           No response
       Cleaver to BJ Markus, Randi
       Richmond, Alton, and “MW”
       re: DIG Budget 102 & 103
       (UCP004826)
DX 677
DX 678
DX 679 5/10/2014 emails exchanged           No objection                           No response
       between BJ Markus, Randi
       Richmond, Meryle Sellinger,
       and Richard Winnie re: Post
       Budgets for Review
       (UCP004829)
DX 680

   Error! Unknown document                                        818
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 681
DX 682
DX 683 5/4/2014 “DIG” Pattern: 5            No objection                           No response
       Episode (8) Days in Israel
       (UCP004839)
DX 684
DX 685
DX 686
DX 687
DX 688
DX 689
DX 690
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DX 692
DX 693 3/11/2014 – 3/12/2014 emails         No objection                           No response
       exchanged between John
       Gaskin, Mark Winemaker,
       Ryan Greig, Randi Richmond,
       and BJ Markus re: DIG –
   Error! Unknown document                                        819
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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          Budgets as at 3/11/2014
          (UCP004971)
DX 694 DIG Amort (UCP004972)               No objection                           No response
DX 695
DX 696
DX 697
DX 698
DX 699
DX 700
DX 701
DX 702
DX 703
DX 704
DX 705 4/20/2015 email from Joshua         No objection                           No response
       Dease to Randi Richmond and
       BJ Markus re; DIG – Croatia
       (102-106) Cost Report 9
       Documents – PE 4/10/2015
       (UCP005161)
  Error! Unknown document                                        820
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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  Error! Unknown document                                        821
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                         AS OF JANUARY 14, 2020
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  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                         AS OF JANUARY 14, 2020
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  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 770
DX 771
DX 772
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DX 776
DX 777
DX 778
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DX 780
DX 781 6/1/2014 “DIG” Locked Budget No objection                                  No response
       Pattern: 5 Episode – (8) Days in
       Israel (UCP014836)
DX 782
DX 783
DX 784


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  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 785
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  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 801
DX 802
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  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                         AS OF JANUARY 14, 2020
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DX 817
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  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 880

  Error! Unknown document                                        831
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 896

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  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 911
DX 912

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  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 944

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  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 993
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DX 995
DX 996
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DX 999
DX 1000
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  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 1009
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DX 1022
DX 1023 Hribar, Director Payment           Irrelevant (F.R.E. 401, 402); Any      F.R.E. 801/802 – (1) Plaintiff fails
        Decision Letter – English          Probative Value Is Substantially       to state what portion of exhibit is
        (UCP018006 - UCP018008)            Outweighed By Risk Of Unfair           hearsay; (2) statements not offered
                                           Prejudice, Confusing The Issues,       for the truth, but rather to show
  Error! Unknown document                                         840
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         Misleading The Jury, Undue Delay,      information acted upon/state of
                                         Wasting Time, Or Needlessly            mind of parties or individuals
                                         Presenting Cumulative Evidence         identified in exhibits; (3) several
                                         (F.R.E. 403). Subject of a pending     statements made by party-
                                         Motion in Limine                       opponent, NBC, or agents
                                                                                affiliated with NBC and operating
                                                                                within the scope of their agency
                                                                                (e.g. Aon) and, therefore, are not
                                                                                hearsay under F.R.E. 801.
                                                                                Information relied upon by experts
                                                                                in course of forming opinions.
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
Error! Unknown document                                        841
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                  why such alleged unfair prejudice
                                                                                  outweighs its probative value; or
                                                                                  why exhibit confuses the issue,
                                                                                  misleads the jury, wastes time, or
                                                                                  is cumulative. Furthermore, high
                                                                                  probative value re: state of mind of
                                                                                  all parties involved at the time of
                                                                                  the claim. Finally, jury is entitled
                                                                                  to know what information NBC,
                                                                                  ASIC, and other parties had at time
                                                                                  of the facts giving rise to Plaintiffs’
                                                                                  claims.
                                                                                  ?
DX 1024
DX 1025
DX 1026
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DX 1029
DX 1030
DX 1031

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  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 1032
DX 1033
DX 1034 Document Produced Natively          No objection                           No response
        (UCP018019)
DX 1035 Audit & Compliance Division  Irrelevant (F.R.E. 401, 402); Any             F.R.E. 801/802 – (1) Plaintiff fails
        October 27, 2016 (UCP018020) Probative Value Is Substantially              to state what portion of exhibit is
                                     Outweighed By Risk Of Unfair                  hearsay; (2) statements not offered
                                     Prejudice, Confusing The Issues,              for the truth, but rather to show
                                     Misleading The Jury, Undue Delay,             information acted upon/state of
                                     Wasting Time, Or Needlessly                   mind of parties or individuals
                                     Presenting Cumulative Evidence                identified in exhibits; (3) several
                                     (F.R.E. 403). Subject of a pending            statements made by party-
                                     Motion in Limine.                             opponent, NBC, or agents
                                                                                   affiliated with NBC and operating
                                                                                   within the scope of their agency
                                                                                   (e.g. Aon) and, therefore, are not
                                                                                   hearsay under F.R.E. 801.
                                                                                   Information relied upon by experts
                                                                                   in course of forming opinions.
                                                                                   F.R.E. 401 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why or
                                                                                   in what context exhibit is
                                                                                   irrelevant. Furthermore, exhibit is
   Error! Unknown document                                        843
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                   relevant to establish state of mind
                                                                                   of all parties involved at time of
                                                                                   claim (NBC, ASIC, Aon, etc.).


                                                                                   F.R.E. 403 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why
                                                                                   exhibit is unfairly prejudicial; or
                                                                                   why such alleged unfair prejudice
                                                                                   outweighs its probative value; or
                                                                                   why exhibit confuses the issue,
                                                                                   misleads the jury, wastes time, or
                                                                                   is cumulative. Furthermore, high
                                                                                   probative value re: state of mind of
                                                                                   all parties involved at the time of
                                                                                   the claim. Finally, jury is entitled
                                                                                   to know what information NBC,
                                                                                   ASIC, and other parties had at time
                                                                                   of the facts giving rise to Plaintiffs’
                                                                                   claims.

DX 1036 Application for Film Production Irrelevant (F.R.E. 401, 402); Any          F.R.E. 801/802 – (1) Plaintiff fails
        Tax Credit UCP018021            Probative Value Is Substantially           to state what portion of exhibit is
                                        Outweighed By Risk Of Unfair               hearsay; (2) statements not offered
                                        Prejudice, Confusing The Issues,           for the truth, but rather to show
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   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         Misleading The Jury, Undue Delay,      information acted upon/state of
                                         Wasting Time, Or Needlessly            mind of parties or individuals
                                         Presenting Cumulative Evidence         identified in exhibits; (3) several
                                         (F.R.E. 403). Subject of a pending     statements made by party-
                                         Motion in Limine.                      opponent, NBC, or agents
                                                                                affiliated with NBC and operating
                                                                                within the scope of their agency
                                                                                (e.g. Aon) and, therefore, are not
                                                                                hearsay under F.R.E. 801.
                                                                                Information relied upon by experts
                                                                                in course of forming opinions.
                                                                                F.R.E. 401 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why or
                                                                                in what context exhibit is
                                                                                irrelevant. Furthermore, exhibit is
                                                                                relevant to establish state of mind
                                                                                of all parties involved at time of
                                                                                claim (NBC, ASIC, Aon, etc.).


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                   why such alleged unfair prejudice
                                                                                   outweighs its probative value; or
                                                                                   why exhibit confuses the issue,
                                                                                   misleads the jury, wastes time, or
                                                                                   is cumulative. Furthermore, high
                                                                                   probative value re: state of mind of
                                                                                   all parties involved at the time of
                                                                                   the claim. Finally, jury is entitled
                                                                                   to know what information NBC,
                                                                                   ASIC, and other parties had at time
                                                                                   of the facts giving rise to Plaintiffs’
                                                                                   claims.

DX 1037
DX 1038 Excel Worksheets (UCP018222 No objection                                   No response
        – CONFIDENTIAL)
DX 1039
DX 1040 DIG - CROATIA PART 1        No objection                                   No response
        Excel Worksheet (UCP018224-
        CONFIDENTIAL)
DX 1041 Ledger Detail Excel Worksheet       No objection                           No response
        (UCP018225-
        CONFIDENTIAL)


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   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                          #:25313




DX 1042 Cost Detail - DIG (Season One) No objection                                No response
        Dates Represented: All Open
        Detail (Committed Costs) /
        Inception Through 08/31/2015
        (Posted Items) (UCP000001)
DX 1043
DX 1044
DX 1045
DX 1046
DX 1047
DX 1048
DX 1049
DX 1050
DX 1051
DX 1052
DX 1053
DX 1054
DX 1055

   Error! Unknown document                                        847
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 1056
DX 1057
DX 1058
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DX 1068
DX 1069
DX 1070
DX 1071

  Error! Unknown document                                        848
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 1072
DX 1073
DX 1074
DX 1075
DX 1076
DX 1077
DX 1078
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DX 1080
DX 1081
DX 1082
DX 1083
DX 1084
DX 1085
DX 1086
DX 1087

  Error! Unknown document                                        849
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 1088
DX 1089
DX 1090
DX 1091
DX 1092
DX 1093
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DX 1097
DX 1098
DX 1099
DX 1100
DX 1101
DX 1102
DX 1103

  Error! Unknown document                                        850
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 1104
DX 1105
DX 1106 10/21/2015 DIG – Season One         No objection                           No response
        Israel All Series – 01096 Cost
        Report 8 – Period Ending:
        10/21/2015 (UCP006098)
DX 1107 10/16/2016 DIG – Season One,        No objection                           No response
        Israel Hiatus – 01097, Cost
        Report 8 – Period Ending:
        10/16/2015 (UCP006104)
DX 1108 10/22/2015 DIG – Season One,        No objection                           No response
        Pilot – Episode 01001, Cost
        Report 8 – Period Ending:
        10/22/2015 (UCP006109)
DX 1109 10/15/2015 DIG – Season One         No objection                           No response
        Israel Prep – 01095, Cost
        Report 8 – Period Ending:
        10/15/2015 (UCP006117)
DX 1110 10/23/2015 DIG Production      No objection                                No response
        Recap Report 2014/2015
        Season 1 – Israel Unit, Period
        Ending: 10/22/15 (UCP006123)

   Error! Unknown document                                        851
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 1111
DX 1112
DX 1113
DX 1114
DX 1115
DX 1116
DX 1117
DX 1118
DX 1119
DX 1120
DX 1121
DX 1122
DX 1123
DX 1124
DX 1125
DX 1126

  Error! Unknown document                                        852
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 1127
DX 1128
DX 1129
DX 1130
DX 1131
DX 1132
DX 1133
DX 1134
DX 1135
DX 1136
DX 1137
DX 1138
DX 1139
DX 1140
DX 1141
DX 1142 11/12/14 EMAIL: Joshua Dease No objection                                 No response
        to Randi Richmond RE: DIG-
  Error! Unknown document                                        853
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                         AS OF JANUARY 14, 2020
                       Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 1054 of 1099 Page ID
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           Croatia Cost Report 5
           Documents – PE 11/08/2014
           (UCP008188)
DX 1143
DX 1144
DX 1145
DX 1146
DX 1147
DX 1148
DX 1149
DX 1150
DX 1151
DX 1152
DX 1153
DX 1154
DX 1155
DX 1156 Dig season 1 #01004                 No objection                           No response
        (UCP008419)
   Error! Unknown document                                        854
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
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DX 1157
DX 1158
DX 1159
DX 1160
DX 1161
DX 1162
DX 1163
DX 1164
DX 1165
DX 1166
DX 1167
DX 1168
DX 1169
DX 1170
DX 1171
DX 1172

  Error! Unknown document                                        855
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 1173
DX 1174
DX 1175
DX 1176
DX 1177
DX 1178
DX 1179
DX 1180
DX 1181
DX 1182
DX 1183
DX 1184
DX 1185
DX 1186
DX 1187
DX 1188

  Error! Unknown document                                        856
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 1189
DX 1190
DX 1191
DX 1192
DX 1193
DX 1194
DX 1195
DX 1196
DX 1197
DX 1198
DX 1199
DX 1200
DX 1201
DX 1202
DX 1203
DX 1204

  Error! Unknown document                                        857
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 1205
DX 1206
DX 1207
DX 1208
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DX 1210
DX 1211
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DX 1214
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DX 1216
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DX 1218
DX 1219
DX 1220

  Error! Unknown document                                        858
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 1221
DX 1222
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DX 1224
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DX 1226
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DX 1231
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DX 1233
DX 1234
DX 1235
DX 1236

  Error! Unknown document                                        859
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 1237
DX 1238
DX 1239
DX 1240
DX 1241
DX 1242
DX 1243
DX 1244
DX 1245
DX 1246
DX 1247
DX 1248
DX 1249
DX 1250
DX 1251 6/8/14 Email From Meryle            No objection                           No response
        Selinger to Randi Richmond;
        Re: DIG – NIS BUDGETS
        (UCP010593)
   Error! Unknown document                                        860
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
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DX 1252 6/8/14 “DIG” Locked Budget –        No objection                           No response
        NIS ONLY All Episodes: 5
        Episode – (8) Days in Israel
        (UCP010594)
DX 1253 6/8/14 DIG Locked Budget –          No objection                           No response
        NIS ONLY Holiday Hiatus: 5
        Episode – (8) Days in Israel
        (UCP010607)
DX 1254 6/8/14 DIG Locked Budget –          No objection                           No response
        NIS ONLY Prep & Push: 5
        Episode – (8) Days in Israel
        (UCP010622)
DX 1255 6/8/14 DIG Locked Budget –          No objection                           No response
        Total Amort NIS ONLY All
        Episodes: 5 Episode – (8) Days
        in Israel (UCP010645)
DX 1256 6/1/14 DIG Locked Budget –     No objection                                No response
        NIS ONLY Wrap: 5 Episode –
        (8) Days in Israel (UCP010679)
DX 1257
DX 1258
DX 1259

   Error! Unknown document                                        861
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 1260
DX 1261
DX 1262
DX 1263
DX 1264
DX 1265
DX 1266
DX 1267
DX 1268
DX 1269
DX 1270
DX 1271
DX 1272
DX 1273
DX 1274
DX 1275

  Error! Unknown document                                        862
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 1276
DX 1277
DX 1278
DX 1279
DX 1280
DX 1281
DX 1282 5/1/2015 8:14pm                    No objection                           No response
          EMAIL: Joshua Dease to Randi
          Richmond
          RE: DIG – New Mexico Series
          Recap and Amort 01091 Cost
          Report Documents – PE
          4/29/15
          UCP010946
DX 1283
DX 1284
DX 1285
DX 1286


  Error! Unknown document                                        863
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 1287
DX 1288
DX 1289
DX 1290
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DX 1292
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DX 1298
DX 1299
DX 1300
DX 1301
DX 1302

  Error! Unknown document                                        864
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 1303
DX 1304
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DX 1311
DX 1312
DX 1313
DX 1314
DX 1315
DX 1316
DX 1317
DX 1318

  Error! Unknown document                                        865
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 1319
DX 1320
DX 1321
DX 1322
DX 1323
DX 1324
DX 1325
DX 1326
DX 1327
DX 1328
DX 1329
DX 1330
DX 1331
DX 1332
DX 1333
DX 1334

  Error! Unknown document                                        866
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 1335
DX 1336
DX 1337
DX 1338
DX 1339
DX 1340
DX 1341
DX 1342
DX 1343
DX 1344
DX 1345
DX 1346
DX 1347
DX 1348
DX 1349
DX 1350

  Error! Unknown document                                        867
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 1351
DX 1352
DX 1353
DX 1354
DX 1355
DX 1356
DX 1357
DX 1358
DX 1359
DX 1360
DX 1361
DX 1362
DX 1363
DX 1364
DX 1365
DX 1366

  Error! Unknown document                                        868
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 1367
DX 1368
DX 1369
DX 1370
DX 1371
DX 1372
DX 1373
DX 1374
DX 1375
DX 1376
DX 1377
DX 1378
DX 1379
DX 1380
DX 1381
DX 1382

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  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 1383
DX 1384
DX 1385 Expert Report of Jay Shapiro        Irrelevant (F.R.E. 401, 402); Any         F.R.E. 401 – Objection is
        Analysis of Economic                Probative Value Is Substantially          conditional, and therefore not
        Damages: Rebuttal dated             Outweighed By Risk Of Unfair              binding as to general admissibility.
        4/25/2017                           Prejudice, Confusing The Issues,          Objection also fails to state why or
                                            Misleading The Jury, Undue Delay,         in what context exhibit is
                                            Wasting Time, Or Needlessly               irrelevant. Furthermore, exhibit is
                                            Presenting Cumulative Evidence            relevant to establish state of mind
                                            (F.R.E. 403). Subject of a pending        of all parties involved at time of
                                            Motion in Limine. If offered to prove     claim (NBC, ASIC, Aon, etc.);
                                            the truth thereof, inadmissible hearsay   also relevant to calculation of
                                            and no exception is applicable (F.R.E.    damages and evidence to be
                                            801, 802).                                considered by the finder of fact.


                                                                                      F.R.E. 403 – Objection is
                                                                                      conditional, and therefore not
                                                                                      binding as to general admissibility.
                                                                                      Objection also fails to state why
                                                                                      exhibit is unfairly prejudicial; or
                                                                                      why such alleged unfair prejudice
                                                                                      outweighs its probative value; or
                                                                                      why exhibit confuses the issue,
                                                                                      misleads the jury, wastes time, or
                                                                                      is cumulative. Furthermore, high
   Error! Unknown document                                          870
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                   probative value re: state of mind of
                                                                                   all parties involved at the time of
                                                                                   the claim. Finally, jury is entitled
                                                                                   to know what information NBC,
                                                                                   ASIC, and other parties had at time
                                                                                   of the facts giving rise to Plaintiffs’
                                                                                   claims, and should consider this
                                                                                   evidence when evaluating
                                                                                   Plaintiffs’ alleged damages.

                                                                                   FRE 801 – Cannot be hearsay
                                                                                   because documents are all created,
                                                                                   curated, and provided by Plaintiff.
                                                                                   All documents were made by
                                                                                   Plaintiffs (i.e. persons with
                                                                                   knowledge) of the data contained
                                                                                   therein in the ordinary course of
                                                                                   business and were included as a
                                                                                   part of records made and kept in
                                                                                   the ordinary course of business.
                                                                                   Also, authored by Plaintiffs.

DX 1386 Expert Report of Jay Shapiro        Irrelevant (F.R.E. 401, 402); Any      F.R.E. 401 – Objection is
        Analysis of Economic                Probative Value Is Substantially       conditional, and therefore not
        Damages: Rebuttal dated             Outweighed By Risk Of Unfair           binding as to general admissibility.
        4/25/2017                           Prejudice, Confusing The Issues,       Objection also fails to state why or
                                            Misleading The Jury, Undue Delay,      in what context exhibit is
   Error! Unknown document                                        871
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         Wasting Time, Or Needlessly               irrelevant. Furthermore, exhibit is
                                         Presenting Cumulative Evidence            relevant to establish state of mind
                                         (F.R.E. 403). Subject of a pending        of all parties involved at time of
                                         Motion in Limine. If offered to prove     claim (NBC, ASIC, Aon, etc.);
                                         the truth thereof, inadmissible hearsay   also relevant to calculation of
                                         and no exception is applicable (F.R.E.    damages and evidence to be
                                         801, 802).                                considered by the finder of fact.


                                                                                   F.R.E. 403 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why
                                                                                   exhibit is unfairly prejudicial; or
                                                                                   why such alleged unfair prejudice
                                                                                   outweighs its probative value; or
                                                                                   why exhibit confuses the issue,
                                                                                   misleads the jury, wastes time, or
                                                                                   is cumulative. Furthermore, high
                                                                                   probative value re: state of mind of
                                                                                   all parties involved at the time of
                                                                                   the claim. Finally, jury is entitled
                                                                                   to know what information NBC,
                                                                                   ASIC, and other parties had at time
                                                                                   of the facts giving rise to Plaintiffs’
                                                                                   claims, and should consider this


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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                   evidence when evaluating
                                                                                   Plaintiffs’ alleged damages.

                                                                                   FRE 801 – Cannot be hearsay
                                                                                   because documents are all created,
                                                                                   curated, and provided by Plaintiff.
                                                                                   All documents were made by
                                                                                   Plaintiffs (i.e. persons with
                                                                                   knowledge) of the data contained
                                                                                   therein in the ordinary course of
                                                                                   business and were included as a
                                                                                   part of records made and kept in
                                                                                   the ordinary course of business.
                                                                                   Also, authored by Plaintiffs.

DX 1387
DX 1388
DX 1389
DX 1390
DX 1391 Financial Spreadsheet               No objection                           No response
        (UCP018222 –
        CONFIDENTIAL)



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   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 1392 Spreadsheets (UCP018223 No objection                                           No response
        CONFIDENTIAL -UCP018225
        CONFIDENTIAL)
DX 1393
DX 1394
DX 1395
DX 1396 Plaintiff’s financial data and       This is not a proper exhibit. This is     F.R.E. 401 – Objection is
        communications – part 8              apparently a compilation of 42            conditional, and therefore not
        (UCP032750-32854)                    unrelated, separate documents. It is      binding as to general admissibility.
                                             unclear which documents Atlantic          Objection also fails to state why or
                                             intends to use as exhibits. Plaintiffs    in what context exhibit is
                                             object on grounds of F.R.E. 401, 402,     irrelevant. Furthermore, exhibit is
                                             403, 801, 802, and subject of a pending   relevant to establish state of mind
                                             Motion in Limine. Plaintiffs reserve      of all parties involved at time of
                                             the right to raise any other objection    claim (NBC, ASIC, Aon, etc.);
                                             when Atlantic identifies which specific   also relevant to calculation of
                                             documents it actually intends to          damages and evidence to be
                                             introduce.                                considered by the finder of fact.


                                                                                       F.R.E. 403 – Objection is
                                                                                       conditional, and therefore not
                                                                                       binding as to general admissibility.
                                                                                       Objection also fails to state why
                                                                                       exhibit is unfairly prejudicial; or
   Error! Unknown document                                          874
   property name.                        ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims, and should consider this
                                                                                evidence when evaluating
                                                                                Plaintiffs’ alleged damages.

                                                                                FRE 801 – Cannot be hearsay
                                                                                because documents are all created,
                                                                                curated, and provided by Plaintiff.
                                                                                All documents were made by
                                                                                Plaintiffs (i.e. persons with
                                                                                knowledge) of the data contained
                                                                                therein in the ordinary course of
                                                                                business and were included as a
                                                                                part of records made and kept in
                                                                                the ordinary course of business.
                                                                                Also, authored by Plaintiffs.

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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 1397 12/10/2013 e-mail from Andrea No objection                                      No response
        Garber to Randi Richmond re
        “Dig” - “cast” insurance
        concerns (UCP_003732)
DX 1398 12/10/2013 e-mail from Randi        No objection                                No response
        Richmond to Andrea Garber
        and Kurt Ford re “Dig” - “cast”
        insurance concerns
        (UCP_003733)
DX 1399 12/06/2013 e-mail from Andrea No objection                                      No response
        Garber to Kurt Ford, Randi
        Richmond, and Curt Williams
        re “Dig” - “cast” insurance
        concerns (UCP_003734)
DX 1400 UCP 019728-019929                   Vague, does not provide adequate            Vague is not a proper objection to
                                            notice of the exhibit that Defendant        physical evidence. Documents are
                                            intends to offer. Vague as to what          readily identifiable, and authored
                                            pages Defendant intends to include as       by Plaintiffs.
                                            this exhibit. This document is within
                                            UCP018009, which has a bates range
                                            from UCP018009-8017. Further, the
                                            description provided does not include a
                                            narrative explanation of the document.
                                            Plaintiffs reserve the right to object to

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   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                            with more precision upon clarification
                                            from Defendant.
DX 1401 UCP 019930-020042                   Vague, does not provide adequate            Vague is not a proper objection to
                                            notice of the exhibit that Defendant        physical evidence. Documents are
                                            intends to offer. Vague as to what          readily identifiable, and authored
                                            pages Defendant intends to include as       by Plaintiffs.
                                            this exhibit. This document is within
                                            UCP018009, which has a bates range
                                            from UCP018009-8017. Further, the
                                            description provided does not include a
                                            narrative explanation of the document.
                                            Plaintiffs reserve the right to object to
                                            with more precision upon clarification
                                            from Defendant.
DX 1402 Spreadsheet - DIG Production        No objection                                No response
        Costs (UCP 018222)
DX 1403 Spreadsheet - DIG Season One        No objection                                No response
        Cost Report 11 (UCP 018223)
DX 1404 Spreadsheet - DIG Croatia           No objection                                No response
        Summary and Detail (UCP
        018224)
DX 1405 Spreadsheet - Ledger Detail         No objection                                No response
        (UCP 018225)


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   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 1406 Spreadsheet - Israel Salary and     No objection                           No response
        Recap (UCP 035216)
DX 1407 Spreadsheet (UCP 035222             No objection                           No response
        (NATIVE EXCEL)
DX 1408 Spreadsheet (Confidential) –        No objection                           No response
        Cost Bible (UCP 036901)
DX 1409 Spreadsheet – DIG Extra      No objection                                  No response
        Expense Insurance Claim (UCP
        000001)
DX 1410
DX 1411 Letters from Mark Binke to          Irrelevant (F.R.E. 401, 402); Any      F.R.E. 401 – Objection is
        Mickey Levy, Anna Oliker, Nir       Probative Value Is Substantially       conditional, and therefore not
        Barkat, Hilik Bar, Uzi Landau,      Outweighed By Risk Of Unfair           binding as to general admissibility.
        Naftali Bennett, and Ron            Prejudice, Confusing The Issues,       Objection also fails to state why or
        Huldai re filming in Israel;        Misleading The Jury, Undue Delay,      in what context exhibit is
        02/19/2014 e-mail from Jay          Wasting Time, Or Needlessly            irrelevant. Furthermore, exhibit is
        Footlik to Rick Smotkin re          Presenting Cumulative Evidence         relevant to establish state of mind
        following up; (UCP 001141-          (F.R.E. 403). Subject of a pending     of all parties involved at time of
        001151)                             Motion in Limine.                      claim (NBC, ASIC, Aon, etc.);
                                                                                   also relevant to calculation of
                                                                                   damages and evidence to be
                                                                                   considered by the finder of fact.


   Error! Unknown document                                        878
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                   F.R.E. 403 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why
                                                                                   exhibit is unfairly prejudicial; or
                                                                                   why such alleged unfair prejudice
                                                                                   outweighs its probative value; or
                                                                                   why exhibit confuses the issue,
                                                                                   misleads the jury, wastes time, or
                                                                                   is cumulative. Furthermore, high
                                                                                   probative value re: state of mind of
                                                                                   all parties involved at the time of
                                                                                   the claim. Finally, jury is entitled
                                                                                   to know what information NBC,
                                                                                   ASIC, and other parties had at time
                                                                                   of the facts giving rise to Plaintiffs’
                                                                                   claims, and should consider this
                                                                                   evidence when evaluating
                                                                                   Plaintiffs’ alleged damages.

DX 1412 07/08/2014 e-mail from Paige        Irrelevant (F.R.E. 401, 402); Any      F.R.E. 401 – Objection is
        Potter to Randi Richmond re         Probative Value Is Substantially       conditional, and therefore not
        New Mexico Tax Credit (UCP          Outweighed By Risk Of Unfair           binding as to general admissibility.
        001363)                             Prejudice, Confusing The Issues,       Objection also fails to state why or
                                            Misleading The Jury, Undue Delay,      in what context exhibit is
                                            Wasting Time, Or Needlessly            irrelevant. Furthermore, exhibit is
                                            Presenting Cumulative Evidence         relevant to establish state of mind
   Error! Unknown document                                        879
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         (F.R.E. 403). Subject of a pending     of all parties involved at time of
                                         Motion in Limine.                      claim (NBC, ASIC, Aon, etc.);
                                                                                also relevant to calculation of
                                                                                damages and evidence to be
                                                                                considered by the finder of fact.


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims, and should consider this
                                                                                evidence when evaluating
                                                                                Plaintiffs’ alleged damages.


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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 1413 07/14/2014 e-mail from Mark         Irrelevant (F.R.E. 401, 402); Any      F.R.E. 401 – Objection is
        Binke to Randi Richmond and         Probative Value Is Substantially       conditional, and therefore not
        BJ Markus re DIG costs (UCP         Outweighed By Risk Of Unfair           binding as to general admissibility.
        001480-001481)                      Prejudice, Confusing The Issues,       Objection also fails to state why or
                                            Misleading The Jury, Undue Delay,      in what context exhibit is
                                            Wasting Time, Or Needlessly            irrelevant. Furthermore, exhibit is
                                            Presenting Cumulative Evidence         relevant to establish state of mind
                                            (F.R.E. 403). Subject of a pending     of all parties involved at time of
                                            Motion in Limine.                      claim (NBC, ASIC, Aon, etc.);
                                                                                   also relevant to calculation of
                                                                                   damages and evidence to be
                                                                                   considered by the finder of fact.


                                                                                   F.R.E. 403 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why
                                                                                   exhibit is unfairly prejudicial; or
                                                                                   why such alleged unfair prejudice
                                                                                   outweighs its probative value; or
                                                                                   why exhibit confuses the issue,
                                                                                   misleads the jury, wastes time, or
                                                                                   is cumulative. Furthermore, high
                                                                                   probative value re: state of mind of
                                                                                   all parties involved at the time of
                                                                                   the claim. Finally, jury is entitled
   Error! Unknown document                                        881
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                  to know what information NBC,
                                                                                  ASIC, and other parties had at time
                                                                                  of the facts giving rise to Plaintiffs’
                                                                                  claims, and should consider this
                                                                                  evidence when evaluating
                                                                                  Plaintiffs’ alleged damages.

DX 1414
DX 1415
DX 1416 Spreadsheet (UCP 018018)           Irrelevant (F.R.E. 401, 402); Any      F.R.E. 401 – Objection is
                                           Probative Value Is Substantially       conditional, and therefore not
                                           Outweighed By Risk Of Unfair           binding as to general admissibility.
                                           Prejudice, Confusing The Issues,       Objection also fails to state why or
                                           Misleading The Jury, Undue Delay,      in what context exhibit is
                                           Wasting Time, Or Needlessly            irrelevant. Furthermore, exhibit is
                                           Presenting Cumulative Evidence         relevant to establish state of mind
                                           (F.R.E. 403). Subject of a pending     of all parties involved at time of
                                           Motion in Limine                       claim (NBC, ASIC, Aon, etc.);
                                                                                  also relevant to calculation of
                                                                                  damages and evidence to be
                                                                                  considered by the finder of fact.


                                                                                  F.R.E. 403 – Objection is
                                                                                  conditional, and therefore not
                                                                                  binding as to general admissibility.
  Error! Unknown document                                        882
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                       Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 1083 of 1099 Page ID
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                                                                                   Objection also fails to state why
                                                                                   exhibit is unfairly prejudicial; or
                                                                                   why such alleged unfair prejudice
                                                                                   outweighs its probative value; or
                                                                                   why exhibit confuses the issue,
                                                                                   misleads the jury, wastes time, or
                                                                                   is cumulative. Furthermore, high
                                                                                   probative value re: state of mind of
                                                                                   all parties involved at the time of
                                                                                   the claim. Finally, jury is entitled
                                                                                   to know what information NBC,
                                                                                   ASIC, and other parties had at time
                                                                                   of the facts giving rise to Plaintiffs’
                                                                                   claims, and should consider this
                                                                                   evidence when evaluating
                                                                                   Plaintiffs’ alleged damages.

DX 1417 Spreadsheet – Credit Index          Irrelevant (F.R.E. 401, 402); Any      F.R.E. 401 – Objection is
        (UCP 018019)                        Probative Value Is Substantially       conditional, and therefore not
                                            Outweighed By Risk Of Unfair           binding as to general admissibility.
                                            Prejudice, Confusing The Issues,       Objection also fails to state why or
                                            Misleading The Jury, Undue Delay,      in what context exhibit is
                                            Wasting Time, Or Needlessly            irrelevant. Furthermore, exhibit is
                                            Presenting Cumulative Evidence         relevant to establish state of mind
                                            (F.R.E. 403). Subject of a pending     of all parties involved at time of
                                            Motion in Limine                       claim (NBC, ASIC, Aon, etc.);
                                                                                   also relevant to calculation of
   Error! Unknown document                                        883
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                   damages and evidence to be
                                                                                   considered by the finder of fact.


                                                                                   F.R.E. 403 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why
                                                                                   exhibit is unfairly prejudicial; or
                                                                                   why such alleged unfair prejudice
                                                                                   outweighs its probative value; or
                                                                                   why exhibit confuses the issue,
                                                                                   misleads the jury, wastes time, or
                                                                                   is cumulative. Furthermore, high
                                                                                   probative value re: state of mind of
                                                                                   all parties involved at the time of
                                                                                   the claim. Finally, jury is entitled
                                                                                   to know what information NBC,
                                                                                   ASIC, and other parties had at time
                                                                                   of the facts giving rise to Plaintiffs’
                                                                                   claims, and should consider this
                                                                                   evidence when evaluating
                                                                                   Plaintiffs’ alleged damages.

DX 1418 10/27/2016 letter from New          Irrelevant (F.R.E. 401, 402); Any      F.R.E. 401 – Objection is
        Mexico Taxation & Revenue to        Probative Value Is Substantially       conditional, and therefore not
        NBC Universal re film               Outweighed By Risk Of Unfair           binding as to general admissibility.
   Error! Unknown document                                         884
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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        production tax credit (UCP       Prejudice, Confusing The Issues,       Objection also fails to state why or
        018020-018021)                   Misleading The Jury, Undue Delay,      in what context exhibit is
                                         Wasting Time, Or Needlessly            irrelevant. Furthermore, exhibit is
                                         Presenting Cumulative Evidence         relevant to establish state of mind
                                         (F.R.E. 403). Subject of a pending     of all parties involved at time of
                                         Motion in Limine.                      claim (NBC, ASIC, Aon, etc.);
                                                                                also relevant to calculation of
                                                                                damages and evidence to be
                                                                                considered by the finder of fact.


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
Error! Unknown document                                        885
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                   claims, and should consider this
                                                                                   evidence when evaluating
                                                                                   Plaintiffs’ alleged damages.

DX 1419 Spreadsheet – DIG – Episodes        No objection                           No response
        102-106, Croatia Unit, Locked
        Budget (UCP 018125-018221)
DX 1420 Spreadsheet –DIG Production         No objection                           No response
        Costs (UCP 018222)
DX 1421 Spreadsheet - DIG Season One        No objection                           No response
        Cost Report 11 (UCP 018223)
DX 1422 Spreadsheet - DIG Croatia           No objection                           No response
        Summary and Detail (UCP
        018224)
DX 1423 Spreadsheet - Ledger Detail         No objection                           No response
        (UCP 018225)
DX 1424 Spreadsheet – DIG Croatia -         No objection                           No response
        Cast (UCP 018228-018236)
DX 1425 Spreadsheet – DIG Croatia –         No objection                           No response
        Fringe (UCP 018237-018238)
DX 1426 Spreadsheet – DIG Croatia –         No objection                           No response
        Stunts (UCP 018239-018243)

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   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 1427 File: DIG (UCP 018244-             Vague, does not provide adequate           Vague is not an appropriate
        019008)                            notice of the exhibit that Defendant       response to physical evidence. To
                                           intends to offer. Vague as to what         the extent Plaintiffs’ object to their
                                           pages Defendant intends to include as      own evidence, ASIC argues that
                                           this exhibit because Defendant has not     the jury should be able to consider
                                           included a valid bates range. Plaintiffs   all relevant damages evidence
                                           reserve the right to object to with more   when considering Plaintiffs’
                                           precision upon clarification from          damages, if any.
                                           Defendant.
DX 1428 File: DIG – ISRAEL (UCP            Vague, does not provide adequate           Vague is not an appropriate
        019009-019333)                     notice of the exhibit that Defendant       response to physical evidence. To
                                           intends to offer. Vague as to what         the extent Plaintiffs’ object to their
                                           pages Defendant intends to include as      own evidence, ASIC argues that
                                           this exhibit because Defendant has not     the jury should be able to consider
                                           included a valid bates range. Plaintiffs   all relevant damages evidence
                                           reserve the right to object to with more   when considering Plaintiffs’
                                           precision upon clarification from          damages, if any.
                                           Defendant.
DX 1429 File: DIG – NEW MEXICO             Vague, does not provide adequate           Vague is not an appropriate
        (UCP 019334-019727)                notice of the exhibit that Defendant       response to physical evidence. To
                                           intends to offer. Vague as to what         the extent Plaintiffs’ object to their
                                           pages Defendant intends to include as      own evidence, ASIC argues that
                                           this exhibit because Defendant has not     the jury should be able to consider
                                           included a valid bates range. Plaintiffs   all relevant damages evidence
                                           reserve the right to object to with more   when considering Plaintiffs’
                                                                                      damages, if any.

  Error! Unknown document                                          887
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                           precision upon clarification from
                                           Defendant.
DX 1430 File: DIG CROATIA (UCP             Vague, does not provide adequate           Vague is not an appropriate
        019728-019929)                     notice of the exhibit that Defendant       response to physical evidence. To
                                           intends to offer. Vague as to what         the extent Plaintiffs’ object to their
                                           pages Defendant intends to include as      own evidence, ASIC argues that
                                           this exhibit because Defendant has not     the jury should be able to consider
                                           included a valid bates range. Plaintiffs   all relevant damages evidence
                                           reserve the right to object to with more   when considering Plaintiffs’
                                           precision upon clarification from          damages, if any.
                                           Defendant.
DX 1431 File: DIG – BACK 4                 Vague, does not provide adequate           Vague is not an appropriate
        BUDGETS (UCP 019930-               notice of the exhibit that Defendant       response to physical evidence. To
        020042)                            intends to offer. Vague as to what         the extent Plaintiffs’ object to their
                                           pages Defendant intends to include as      own evidence, ASIC argues that
                                           this exhibit because Defendant has not     the jury should be able to consider
                                           included a valid bates range. Plaintiffs   all relevant damages evidence
                                           reserve the right to object to with more   when considering Plaintiffs’
                                           precision upon clarification from          damages, if any.
                                           Defendant.
DX 1432
DX 1433
DX 1434


  Error! Unknown document                                          888
  property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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DX 1435 Insurance Cost Bible                Vague; does not provide Plaintiffs     Vague is not an appropriate
                                            adequate notice of the exhibits        response to physical evidence. To
                                            Defendant intends to offer.            the extent Plaintiffs’ object to their
                                                                                   own evidence, ASIC argues that
                                                                                   the jury should be able to consider
                                                                                   all relevant damages evidence
                                                                                   when considering Plaintiffs’
                                                                                   damages, if any.
DX 1436 Full Cost Bible                     Vague; does not provide Plaintiffs     Vague is not an appropriate
                                            adequate notice of the exhibits        response to physical evidence. To
                                            Defendant intends to offer.            the extent Plaintiffs’ object to their
                                                                                   own evidence, ASIC argues that
                                                                                   the jury should be able to consider
                                                                                   all relevant damages evidence
                                                                                   when considering Plaintiffs’
                                                                                   damages, if any.
DX 1437 NBCUniversal Tax Credit data        Irrelevant (F.R.E. 401, 402); Any      F.R.E. 401 – Objection is
        (UCP 001811 – 001817)               Probative Value Is Substantially       conditional, and therefore not
                                            Outweighed By Risk Of Unfair           binding as to general admissibility.
                                            Prejudice, Confusing The Issues,       Objection also fails to state why or
                                            Misleading The Jury, Undue Delay,      in what context exhibit is
                                            Wasting Time, Or Needlessly            irrelevant. Furthermore, exhibit is
                                            Presenting Cumulative Evidence         relevant to establish state of mind
                                            (F.R.E. 403). Subject of a pending     of all parties involved at time of
                                            Motion in Limine.                      claim (NBC, ASIC, Aon, etc.);
                                                                                   also relevant to calculation of

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   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                   damages and evidence to be
                                                                                   considered by the finder of fact.


                                                                                   F.R.E. 403 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why
                                                                                   exhibit is unfairly prejudicial; or
                                                                                   why such alleged unfair prejudice
                                                                                   outweighs its probative value; or
                                                                                   why exhibit confuses the issue,
                                                                                   misleads the jury, wastes time, or
                                                                                   is cumulative. Furthermore, high
                                                                                   probative value re: state of mind of
                                                                                   all parties involved at the time of
                                                                                   the claim. Finally, jury is entitled
                                                                                   to know what information NBC,
                                                                                   ASIC, and other parties had at time
                                                                                   of the facts giving rise to Plaintiffs’
                                                                                   claims, and should consider this
                                                                                   evidence when evaluating
                                                                                   Plaintiffs’ alleged damages.

DX 1438 NBCUniversal Tax Credit data        Irrelevant (F.R.E. 401, 402); Any      F.R.E. 401 – Objection is
        (UCP 000543 – 000547)               Probative Value Is Substantially       conditional, and therefore not
                                            Outweighed By Risk Of Unfair           binding as to general admissibility.
   Error! Unknown document                                         890
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                         Prejudice, Confusing The Issues,       Objection also fails to state why or
                                         Misleading The Jury, Undue Delay,      in what context exhibit is
                                         Wasting Time, Or Needlessly            irrelevant. Furthermore, exhibit is
                                         Presenting Cumulative Evidence         relevant to establish state of mind
                                         (F.R.E. 403). Subject of a pending     of all parties involved at time of
                                         Motion in Limine.                      claim (NBC, ASIC, Aon, etc.);
                                                                                also relevant to calculation of
                                                                                damages and evidence to be
                                                                                considered by the finder of fact.


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
                                                                                of the facts giving rise to Plaintiffs’
Error! Unknown document                                        891
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                   claims, and should consider this
                                                                                   evidence when evaluating
                                                                                   Plaintiffs’ alleged damages.

DX 1439 NBCUniversal Tax Credit data        Irrelevant (F.R.E. 401, 402); Any      F.R.E. 401 – Objection is
        (UCP 001183)                        Probative Value Is Substantially       conditional, and therefore not
                                            Outweighed By Risk Of Unfair           binding as to general admissibility.
                                            Prejudice, Confusing The Issues,       Objection also fails to state why or
                                            Misleading The Jury, Undue Delay,      in what context exhibit is
                                            Wasting Time, Or Needlessly            irrelevant. Furthermore, exhibit is
                                            Presenting Cumulative Evidence         relevant to establish state of mind
                                            (F.R.E. 403). Subject of a pending     of all parties involved at time of
                                            Motion in Limine.                      claim (NBC, ASIC, Aon, etc.);
                                                                                   also relevant to calculation of
                                                                                   damages and evidence to be
                                                                                   considered by the finder of fact.


                                                                                   F.R.E. 403 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why
                                                                                   exhibit is unfairly prejudicial; or
                                                                                   why such alleged unfair prejudice
                                                                                   outweighs its probative value; or
                                                                                   why exhibit confuses the issue,
                                                                                   misleads the jury, wastes time, or
   Error! Unknown document                                        892
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                   is cumulative. Furthermore, high
                                                                                   probative value re: state of mind of
                                                                                   all parties involved at the time of
                                                                                   the claim. Finally, jury is entitled
                                                                                   to know what information NBC,
                                                                                   ASIC, and other parties had at time
                                                                                   of the facts giving rise to Plaintiffs’
                                                                                   claims, and should consider this
                                                                                   evidence when evaluating
                                                                                   Plaintiffs’ alleged damages.

DX 1440 NBCUniversal Tax Credit data        Irrelevant (F.R.E. 401, 402); Any      F.R.E. 401 – Objection is
        (UCP 004400-004404)                 Probative Value Is Substantially       conditional, and therefore not
                                            Outweighed By Risk Of Unfair           binding as to general admissibility.
                                            Prejudice, Confusing The Issues,       Objection also fails to state why or
                                            Misleading The Jury, Undue Delay,      in what context exhibit is
                                            Wasting Time, Or Needlessly            irrelevant. Furthermore, exhibit is
                                            Presenting Cumulative Evidence         relevant to establish state of mind
                                            (F.R.E. 403). Subject of a pending     of all parties involved at time of
                                            Motion in Limine.                      claim (NBC, ASIC, Aon, etc.);
                                                                                   also relevant to calculation of
                                                                                   damages and evidence to be
                                                                                   considered by the finder of fact.


                                                                                   F.R.E. 403 – Objection is
                                                                                   conditional, and therefore not
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   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why
                                                                                   exhibit is unfairly prejudicial; or
                                                                                   why such alleged unfair prejudice
                                                                                   outweighs its probative value; or
                                                                                   why exhibit confuses the issue,
                                                                                   misleads the jury, wastes time, or
                                                                                   is cumulative. Furthermore, high
                                                                                   probative value re: state of mind of
                                                                                   all parties involved at the time of
                                                                                   the claim. Finally, jury is entitled
                                                                                   to know what information NBC,
                                                                                   ASIC, and other parties had at time
                                                                                   of the facts giving rise to Plaintiffs’
                                                                                   claims, and should consider this
                                                                                   evidence when evaluating
                                                                                   Plaintiffs’ alleged damages.

DX 1441 NBCUniversal Tax Credit data        Irrelevant (F.R.E. 401, 402); Any      F.R.E. 401 – Objection is
        (UCP 004408-004409)                 Probative Value Is Substantially       conditional, and therefore not
                                            Outweighed By Risk Of Unfair           binding as to general admissibility.
                                            Prejudice, Confusing The Issues,       Objection also fails to state why or
                                            Misleading The Jury, Undue Delay,      in what context exhibit is
                                            Wasting Time, Or Needlessly            irrelevant. Furthermore, exhibit is
                                            Presenting Cumulative Evidence         relevant to establish state of mind
                                            (F.R.E. 403). Subject of a pending     of all parties involved at time of
                                            Motion in Limine.                      claim (NBC, ASIC, Aon, etc.);
   Error! Unknown document                                        894
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
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                                                                                   also relevant to calculation of
                                                                                   damages and evidence to be
                                                                                   considered by the finder of fact.


                                                                                   F.R.E. 403 – Objection is
                                                                                   conditional, and therefore not
                                                                                   binding as to general admissibility.
                                                                                   Objection also fails to state why
                                                                                   exhibit is unfairly prejudicial; or
                                                                                   why such alleged unfair prejudice
                                                                                   outweighs its probative value; or
                                                                                   why exhibit confuses the issue,
                                                                                   misleads the jury, wastes time, or
                                                                                   is cumulative. Furthermore, high
                                                                                   probative value re: state of mind of
                                                                                   all parties involved at the time of
                                                                                   the claim. Finally, jury is entitled
                                                                                   to know what information NBC,
                                                                                   ASIC, and other parties had at time
                                                                                   of the facts giving rise to Plaintiffs’
                                                                                   claims, and should consider this
                                                                                   evidence when evaluating
                                                                                   Plaintiffs’ alleged damages.

DX 1442 NBCUniversal Tax Credit data        Irrelevant (F.R.E. 401, 402); Any      F.R.E. 401 – Objection is
        (UCP 004410-004467)                 Probative Value Is Substantially       conditional, and therefore not
   Error! Unknown document                                         895
   property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                          AS OF JANUARY 14, 2020
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                                         Outweighed By Risk Of Unfair           binding as to general admissibility.
                                         Prejudice, Confusing The Issues,       Objection also fails to state why or
                                         Misleading The Jury, Undue Delay,      in what context exhibit is
                                         Wasting Time, Or Needlessly            irrelevant. Furthermore, exhibit is
                                         Presenting Cumulative Evidence         relevant to establish state of mind
                                         (F.R.E. 403). Subject of a pending     of all parties involved at time of
                                         Motion in Limine.                      claim (NBC, ASIC, Aon, etc.);
                                                                                also relevant to calculation of
                                                                                damages and evidence to be
                                                                                considered by the finder of fact.


                                                                                F.R.E. 403 – Objection is
                                                                                conditional, and therefore not
                                                                                binding as to general admissibility.
                                                                                Objection also fails to state why
                                                                                exhibit is unfairly prejudicial; or
                                                                                why such alleged unfair prejudice
                                                                                outweighs its probative value; or
                                                                                why exhibit confuses the issue,
                                                                                misleads the jury, wastes time, or
                                                                                is cumulative. Furthermore, high
                                                                                probative value re: state of mind of
                                                                                all parties involved at the time of
                                                                                the claim. Finally, jury is entitled
                                                                                to know what information NBC,
                                                                                ASIC, and other parties had at time
Error! Unknown document                                        896
property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
                    Case 2:16-cv-04435-PA-MRW Document 192 Filed 01/15/20 Page 1097 of 1099 Page ID
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                                                                                of the facts giving rise to Plaintiffs’
                                                                                claims, and should consider this
                                                                                evidence when evaluating
                                                                                Plaintiffs’ alleged damages.




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property name.                       ATLANTIC SPECIALTY INSURANCE COMPANY’S TRIAL EXHIBIT LIST
                                                       AS OF JANUARY 14, 2020
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                                   #:25364



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                                   #:25365


    1
                                       Attestation Regarding Signatures
    2
                I, Kalpana Srinivasan, attest that all signatories listed, and on whose behalf
    3
        the filing is submitted, concur in the filing’s content and have authorized the filing.
    4
    5
                                                           /s/ Kalpana Srinivasan
    6                                                      Kalpana Srinivasan
    7
    8
    9
  10                                    CERTIFICATE OF SERVICE
  11            I certify that on January 15, 2020, I filed the foregoing with the Clerk of the
  12 United States District Court for the Central District of California by using the
  13 Court’s CM/ECF system, which will send notifications of such filing to all counsel
  14 of record.
  15                                                       /s/ Kalpana Srinivasan
  16                                                       Kalpana Srinivasan
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